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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                  )
 UNITED STATES SECURITIES                         )
 AND EXCHANGE COMMISSION,                         )
                                                  )
                       Plaintiff,                 )       Civil Action No. 18-cv-5587
                                                  )
        v.                                        )       Hon. John Z. Lee
                                                  )
 EQUITYBUILD, INC., EQUITYBUILD                   )       Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                   )
 and SHAUN D. COHEN,                              )
                                                  )
                       Defendants.                )
                                                  )

         RECEIVER’S SIXTEENTH INTERIM APPLICATION AND MOTION
         FOR COURT APPROVAL OF PAYMENT OF FEES AND EXPENSES
          OF RECEIVER AND RECEIVER’S RETAINED PROFESSIONALS

       Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Dkt. 16),

as supplemented by Order entered March 14, 2019 (Dkt. 290) and Order entered February 21, 2020

(Dkt. 634) (collectively, the “Receivership Defendants”), and pursuant to the powers vested in him

by Order of this Court, respectfully submits this Sixteenth Interim Application (“Application”) for

the Second Quarter 2022, and moves this Court for an order approving payment of the fees and

expenses of the Receiver, the Receiver’s counsel, Rachlis Duff & Peel, LLC (“RDP”), the

Receiver’s accountants KMA S.C. f/k/a BrookWeiner, LLC (“KMA”) and Miller Kaplan Arase

LLP (“Miller Kaplan”), and the Receiver’s forensic IT consultant, Prometheum. In support of his

Application and Motion, the Receiver states as follows:




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I.     BACKGROUND

       On August 15, 2018, the United States Securities and Exchange Commission (“SEC”) filed

a civil Complaint against Jerome Cohen, Shaun Cohen, EquityBuild Inc., and EquityBuild Finance

LLC (collectively the “Defendants”) alleging violations of federal securities laws, along with a

motion for entry of an asset freeze, preliminary injunction, and other ancillary relief. (Dkts. 1 &

3, respectively)

       In their Complaint against the Defendants, the SEC alleged violations of Section 10(b) of

the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b), and Rule 10b-5

promulgated thereunder, 17 C.F.R. § 240.10b-5, Section 20(a) of the Exchange Act, 15 U.S.C.

§78t(a), Sections 5(a) and 5(c) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C.

§77e(a) and (c), and Section 17(a) of the Securities Act, 15 U.S.C. §§77q(a). (Dkt. 1)

       The Complaint further alleged that the Defendants operated a Ponzi-scheme that raised at

least $135 million from more than 900 investors by, among other things, making untrue statements

of material fact in connection with the sale of promissory notes allegedly secured by residential

real estate primarily located on the south side of Chicago. (Id. ¶¶ 1-7, 17, 20-51)

       On August 28, 2018, the Court entered a judgment against defendants Jerome Cohen and

Shaun Cohen which, among other things, enjoined future violations of federal securities laws.

(Dkt. 40)

       In connection with its civil action, the SEC sought and obtained Court approval for the

appointment of a Receiver, and on August 17, 2018, this Court entered an Order Appointing

Receiver. (Dkt. 16)




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         Under the Order Appointing Receiver, the Receiver was authorized to engage and employ

persons and entities in his discretion to assist him in carrying out the duties and responsibilities set

forth in the Order. (Id., Order Appointing Receiver, ¶ 54)

         Accordingly, the Receiver retained RDP as special counsel, and, on August 20, 2018, the

Court entered an Order approving RDP’s rates. (Dkt. 19) On August 23, 2018, the Receiver

retained BrookWeiner, which recently became KMA, to provide accounting services and to

perform tax and related work regarding the assets of the Receivership Defendants, and Miller

Kaplan to serve as Tax Administrator of the Settlement Fund. (Dkt. 32) On August 28, 2018, the

Court entered an Order approving KMA’s and Miller Kaplan’s rates. (Dkt. 39 & 45) On August

31, 2018, the Receiver retained Prometheum to access and preserve data within EquityBuild’s

cloud-based storage systems and provide related IT services, and, on September 6, 2018, the Court

entered an order approving Prometheum’s rates. (Dkt. 56)

         Pursuant to the Order Appointing Receiver, the Receiver and his retained personnel are

entitled to “reasonable compensation and expense reimbursement” from the Receivership Estate,

as described in the “Billing Instructions for Receivers in Civil Actions Commenced by the U.S.

Securities and Exchange Commission” (the “Billing Instructions”) agreed to by the Receiver.

(Dkt. 16, ¶ 69)

II.      SIXTEENTH INTERIM APPLICATION

         Pursuant to the Billing Instructions, the Receiver provides the following information

regarding this Application:

      a. The Application covers the period from April 1, 2022, through June 30, 2022.

      b. The names or job titles and hourly rates of all professionals for RDP and KMA, and Miller

         Kaplan, as well as Prometheum’s hourly rates, are attached as Exhibit A.



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       c. This is the Receiver’s Sixteenth Interim Application. The dates and amounts of the

          Receiver’s prior interim fee applications, the orders and amounts allowed, and the amounts

          paid and unpaid, are attached hereto as Exhibit B.

III.      CASE STATUS

          Pursuant to the Billing Instructions, the Receiver provides the following information

regarding the status of the case, and activities performed specifically for the period covered by this

Application. See also Receiver’s Sixteenth Status Report (Second Quarter 2022) for additional

information. (Dkt. 1280)

          a.     Cash on Hand and Funds Received and Disbursed During the Quarter

          The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Second Quarter

2022 is attached as Exhibit C. The SFAR sets forth the funds received and disbursed from the

Receivership estate during this reporting period. As reported in the SFAR, the amount of cash on

hand as of June 30, 2022 was $1,052,458.75. The information reflected in the SFAR was based

on records and information currently available to the Receiver. The Receiver and his advisors are

continuing with their evaluation and analysis.

          b.     Receiver’s Administration of the Case

          Upon his appointment, the Receiver began making efforts to determine the nature, location,

and value of all property interests of the Receivership Defendants, including monies, funds,

securities, credits, effects, goods, chattels, lands, premises, leases, claims, choses in action, rights

and other assets, together with all profits, interest, or other income attributable thereto, which the

Receivership Defendants owned, possessed, retained a beneficial interest in, or controlled directly

or indirectly, and to preserve and maintain those assets. In furtherance of such, the Receiver took,

inter alia, the following actions:



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              i.       Identification and Preservation of Assets

       During the Second Quarter 2022, the Receiver performed post-sale reconciliation of funds

relating to the sale of 7109 S Calumet, which closed near the end of the first quarter. This work

led to a post-sale distribution of funds from the property manager in the amount of $166,931.69,

which was added to the separate account established for this property.

             ii.       Financial Reporting and Funds Restoration

       During the quarter, the Receiver’s counsel has continued working with third parties to

obtain the complete information needed to allocate insurance expenses and refunds to properties

and provide final accounting reports to the Court and the claimants. Once this process is

completed, the Receiver will seek the Court’s approval to reimburse the Receiver’s Account for

any funds that the Receiver expended on the properties and/or credit the separate property accounts

for their pro-rata share of any net refunds.

            iii.       Open Litigation

       During the Second Quarter 2022, the Receiver and his retained counsel devoted efforts to

two lawsuits prosecuting claims asserted against former EquityBuild professionals including, inter

alia: (1) the law firm Rock Fusco & Connelly LLC (“Rock Fusco”), (2) Ioana Salajanu, a lawyer

formerly at Rock Fusco, (3) the law firm Bregman, Berbert, Schwartz & Gilday, LLC and (4)

lawyer Mark L. Rosenberg. These claims are for professional malpractice and aiding and abetting

the Cohen’s breaches of their fiduciary duties. During the quarter, the Receiver continued to

address written discovery issues, continued review and analysis of EquityBuild records and records

produced in discovery, and engaged in deposition discovery. The Receiver also served multiple

subpoenas for records related to his claims and potential claims, and reviewed records that were

produced pursuant to these and previously-served subpoenas. Additionally, in Duff v. Rosenberg,



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Civil Action No.21-cv-6756 (N D. Ill), briefing was completed on the defendant’s motion for

summary judgment on the grounds that the claims asserted by the Receiver were time-barred, and

defendants’ motion was denied following a June 22, 2022 hearing. On May 25, 2022, the Receiver

filed a Motion for Rule 11 Sanctions on the basis that the defendants’ summary judgment motion

was not well-grounded in either fact or law, which remains pending.

       Also during the quarter, the Receiver communicated with counsel for class plaintiffs in the

matter captioned Chang v. Wells Fargo Bank, N.A., Case No. 4:19-cv-01973-HSG (N.D. Calif)

regarding the settlement reached in that case and the logistics of sending notice and settlement

claim forms to the investor-lenders and equity-investors who have submitted claims in this case

and may be entitled to a recovery in the Chang class action.

            iv.        Notice of Appointment of Receiver

       During the Second Quarter 2022, the Receiver continued his efforts to notify all necessary

and relevant individuals and entities of the appointment and to protect and preserve the assets of

the Receivership Estate. To that end, as they are identified, the Receiver continues to deliver

notices to individuals or entities which have been identified as potentially having possession of the

property, business, books, records, or accounts of the Receivership Defendants, or who may have

retained, managed, held, insured, or encumbered, or had otherwise been involved with any of the

assets of the Receivership Defendants.

             v.        Control of Receivership Property and Records

       During the Second Quarter 2022, the Receiver continued efforts to locate and preserve all

EquityBuild property and records. The Receiver maintained two platforms of records and data

during the Second Quarter 2022, and worked with vendor CloudNine and counsel for the

institutional lenders with respect to the export of the documents in the database of EquityBuild



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internal documents, and worked with counsel for certain of the institutional lenders to re-process

the documents to a format that can be maintained, preserved, and utilized during the pendency of

this matter, as well as used for document productions and investigations in the matters brought by

the Receiver against the former EquityBuild professionals.

            vi.        Factual Investigation

       During the Second Quarter 2022, the Receiver and his retained professionals continued to

review and analyze the following: (i) documents and correspondence sent to or received from the

EquityBuild principals, to whose email accounts the Receiver has access; (ii) bank records from

EquityBuild and its affiliate entities; (iii) other EquityBuild documents that were previously stored

in the CloudNine database; (iv) available underlying transaction documents received to date from

former Chicago-based EquityBuild counsel; (v) files produced by former EquityBuild counsel,

accountants, and employees, and (vi) documents obtained pursuant to various subpoenas.

            vii.       Tax Issues

       KMA f/k/a BrookWeiner was retained to perform accounting, tax, and related work in

connection with winding down the business operations of the Receivership Defendants. During

the quarter, KMA worked on property statements and property spreadsheets, assisted with cash

flow analysis matters, and corresponded with the IRS regarding old partnership income tax returns.

       Miller Kaplan was retained to serve as the Tax Administrator to take all necessary steps to

enable the Settlement Fund to obtain and maintain the status of a taxable Qualified Settlement

Fund (“QSF”), including the filing of all required elections and statements contemplated by those

provisions, and to pay taxes in a manner consistent with treatment of the Settlement Fund as a

QSF. During the quarter, Miller Kaplan worked on the 2021 Qualified Settlement Fund Income

Tax return, which is due on October 18, 2022, and worked with Receiver to gather information on



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property sales and to conduct an analysis of gains and losses on property sales to calculate any

potential tax liabilities.

             viii.       Accounts Established by Receiver for the Benefit of the Receivership Estate

        The Receiver established custodial accounts at a federally insured financial institution to

hold all cash equivalent Receivership property. The interest-bearing checking accounts are used

by the Receiver to collect liquid assets of the estate and to pay the portfolio-related and

administrative expenses. For each property encumbered by secured debt that has sold, the Receiver

also has established a separate interest-bearing account for the purpose of depositing and holding

funds until such time as the Court orders otherwise and for ultimate distribution, following a claims

process and upon Court approval, to the creditors of the Estate, including the defrauded investors.

(Dkt. 230, 311, 344 & 346)

        c.       Creditors and Claims Against the Receivership Estate

        During the Second Quarter 2022, the Receiver and his retained professionals continued to

improve the accuracy and completeness of the “Master Claims Exhibit,” preliminarily identifying

on a property-by-property basis for each of the nearly 2400 claims the following: (i) claimant

name, (ii) total amount claimed, (iii) claimant category, and (iv) the amount loaned or invested in

the particular property (where it could be determined from the face of the claim form). The

Receiver has encouraged claimants to review this exhibit and bring any discrepancies to the

attention of the Receiver, and the Receiver and his retained professionals have updated the exhibit

where appropriate. The most recent version of the Master Claims Exhibit was submitted with the

Second Quarter 2022 Status Report filed on August 1, 2022. (Dkt. 1280 at Ex. 5) This work was

reasonable, necessary, and beneficial to the Receivership estate, and has allowed the Receiver’s

claims vendors (1) to organize, on a property-by-property basis, the claim forms and supporting



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documentation that claimants have submitted to the Receiver, and (2) to provide each claimant

who did not opt out of the Confidentiality Order with digital links for the transfer of the claim

forms and supporting documentation of other claimants asserting claims against the same property

or properties in the receivership estate, consistent with Court orders. The Receiver also worked to

update and confirm the accuracy of claimants’ email, address, and counsel records, both for the

preparation of framing reports, and for use in the creation of email distribution lists for claimants

to use in discovery and the claims process.

       During the quarter, the Receiver and his counsel and staff devoted substantial time to the

review and analysis of claimants’ proof of claim forms related to their claims against properties in

upcoming claims groups, and the supporting documents submitted with those claims. This is an

ongoing process with much remaining to be completed, and the Receiver is working toward being

in a position to make timely recommendations on upcoming groups of claims.

       The Receiver and his counsel also devoted substantial effort during the quarter to the

Single-Claims Process. The Receiver’s counsel completed the review and analysis of the extensive

productions served in response to subpoenas to third-party title companies Primary Title Services

LLC, OS National LLC, Avenue 365 Title Company, and Chicago Title Insurance Company, and

by loan originator CBRE Capital Markets Inc, and also reviewed and analyzed the substantial

document production received during the quarter from CoreVest, the originator of the Midland

loans. The Receiver filed his Initial Position Statement Regarding Single-Claim Properties on

April 29, 2022 (Dkt. 1244), notifying the Court and the claimants that he would not pursue an

avoidance claim regarding two of the properties—6749-59 S. Merrill Avenue (property #65) and

7110-16 S Cornell Avenue (property #66)—and made recommendations to the Court regarding

distributions to claimant U.S. Bank on its claims against those two properties. Id. Because the



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discovery from the originator of the Midland loans secured by the other 26 of the single-claim

properties was not received until just days before the position statement was filed, the Receiver

was not in a position to advise the Court as to whether or not he would assert an avoidance claim

against Midland. Id. at 4-5. However, a review of those documents was then undertaken which

involved a significant amount of time.

       Subsequently, the Receiver entered settlement discussions with both U.S. Bank and

Midland regarding the single-claim properties. In connection with these discussions, the Receiver

and his retained professionals undertook a post-closing reconciliation for the 28 single claim

properties involved in the negotiation with claimants U.S. Bank, Trustee and Midland Loan

Services. This required extensive analysis of potential tax liabilities, insurance premiums and

refunds, the financial records of the Receiver and property managers, and the Receiver’s allocation

of attorneys’ fees to these properties pursuant to the receiver’s lien, both in prior fee applications

and during the current period.

       The Receiver reached an agreement with U.S. Bank, a joint motion to approve the

distribution of the proceeds of sale was filed by the parties on July 12, 2022 (Dkt. 1272), and the

Court set a July 29, 2022 deadline for objections (Dkt. 1274). Discussions with Midland have led

to an agreement in principal and the parties anticipate filing a motion to approve distribution of

the proceeds from the sale of the 26 properties impacted in the coming weeks.

       Additionally, during the Second Quarter 2022, the Receiver and his professionals drafted

communications to all claimants regarding the court proceedings and responded to approximately

140 claimant inquiries, in addition to numerous oral and other written communications with

claimants and certain claimants’ counsel regarding the claims process and the receivership; and




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engaged in various other activities relating to the claims process as reflected in the submitted

invoices.

         The Receiver is continuously updating all claimants on the developments in this matter,

and responding in a timely manner to the hundreds of emails and voicemails from investors and

others, many if not most of which related to the claims submitted against the Estate and the status

of the Court’s process for resolving those claims and distributing the Estate’s assets. To ease the

burden        and    provide   basic   information,        the   Receiver   established   a   web   page

(http://rdaplaw.net/receivership-for-equitybuild) for claimants and other interested parties to

obtain information and certain court filings related to the Receivership estate, which remains in

place today and continues to be best and most cost-effective mean of providing information

regarding the status of this action.

         d.         Assets in Receivership Estate

         All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit D. The Master Asset List identifies 56 checking accounts in the names

of the affiliates and affiliate entities included as Receivership Defendants, reflecting a combined

balance in the Receiver’s accounts as of June 30, 2022 of $1,052,458.75. (See also Dkt. 258 at 21,

and Dkt. 348 at 23-24, for additional information relating to these funds.) Additionally, 103

separate interest-bearing accounts established by the Receiver to hold the proceeds from sold real

estate are identified on Exhibit E, which collectively contained $70,613,902.80 as of June 30,

2022.

         The Master Asset List does not include funds received or recovered after June 30, 2022.

Nor does it include potentially recoverable assets for which the Receiver is still evaluating the




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value, potential value, and/or ownership interests. The Receiver is in the process of evaluating

certain other types of assets that may be recoverable by the Receivership Estate.

IV.    BILLING ADDRESSED IN THIS APPLICATION

       Pursuant to the Billing Instructions, the Receiver provides the following information

regarding current billing:

       a.         Total Compensation and Expenses Requested.

              i.        In connection with his duties, the Receiver respectfully requests

                        compensation for services rendered, totaling $21,567.00 for the period of

                        this Application. Copies of the Receiver’s invoices for April, May and June,

                        2022 are attached as Exhibit F.

             ii.        In connection with the legal services provided to the Receiver by RDP, the

                        Receiver respectfully requests compensation for services rendered, along

                        with reimbursement of expenses, totaling $125,080.39 for the period of this

                        Application. Copies of RDP’s invoices for April, May and June, 2022 are

                        attached as Exhibit G.

            iii.        In connection with the accounting provided to the Receiver by KMA, the

                        Receiver respectfully requests compensation for services rendered, along

                        with reimbursement of expenses, totaling $6,868.00 for the period of this

                        Application. Copies of KMA’s invoices for April, May and June, 2022, are

                        attached as Exhibit H.

            iv.         In connection with the accounting provided to the Receiver by Miller

                        Kaplan, the Receiver respectfully requests compensation for services

                        rendered, along with reimbursement of expenses, totaling $2,975.00. These



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                         fees relate to services rendered during the Second Quarter 2022. A copy of

                         Miller Kaplan’s invoice is attached as Exhibit I.

             v.          In connection with the IT services provided to the Receiver by Prometheum,

                         the Receiver respectfully requests compensation for services rendered,

                         which is an expense in the amount of $440.00 for the period of this

                         Application. A copy of Prometheum’s invoice is attached as Exhibit J.

       b.      Source of Funds for Requested Compensation and Expenses.

       The Receiver requests that the above compensation and expenses be paid from the

Receiver’s operating account to the extent there are sufficient funds now or in the future. To the

extent funds are insufficient, Receiver requests that a subset of the above compensation and

expenses be paid pursuant to the receiver’s lien that the Court established in order that receivership

property may be used to compensate the Receiver and his counsel for their work. (See Court’s

10/26/20 Order granting Receiver’s lien (Dkt. 824) and Court’s Order Approving Receiver’s Lien

for Certain Categories of Expenses (Dkt. 1030). See also discussion in Section V, infra.)

       c.         Sixteenth Application for Payment of Professional Fees and Expenses.

       This is the Receiver’s Sixteenth Interim Application.

       d.      Summary of Activity.

       A “Summary of Activity,” providing the total hours billed and the amount of billing for

each person who billed time during the Application period (April 1, 2022 through June 30, 2022)

can be found at the end of the Receiver’s invoices (Exhibit F) and RDP’s invoices (Exhibit G) and

on the first page of the KMA invoices (Exhibit H).




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V.      REQUEST FOR RECEIVER’S LIEN

        The Receiver again requests that the Court authorize the interim payment of certain of the

amounts set forth in this fee petition pursuant to the Receiver’s first-priority lien previously

ordered and affirmed by the Court. (See Dkts. 824, 1031) Specifically, the Receiver requests

authorization for the interim payment of fees for two categories of activity: (1) the preservation,

management, and liquidation of certain real estate belonging to the Receivership Estate; and (2)

the implementation and management of an orderly summary claim-priority adjudication process,

as previously ordered with respect to the Receiver’s prior fee applications. (Dkt. 1030)

        In its March 14, 2022 Order granting the Receiver’s 12th fee application, the Court directed

that: “To the extent the Receiver requests that the Court authorize payments of his fees and

expenses pursuant to the first-priority receiver’s lien in the future, he should include details in each

fee application concerning which line items he believes should be covered by the first-priority lien,

and the Court will consider them together with the fee applications.” (Dkt. 1213 at 8, n.3)

Accordingly, the Receiver submits as Exhibit K-N1 to this fee application his proposed allocations

of the fees for the Asset Disposition, Business Operations, and Claims billing categories incurred

during the Second Quarter 2022 to properties in the Estate, which have been made in accordance

with the methodology approved by the Court, and requests approval of an interim payment of the

approved amount from the accounts established from the sale of the property, subject to any

holdback ordered by the Court.



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  Exhibit K contains a summary by property of the specific and general allocations to each
property during the quarter. Exhibit L contains the general allocations which are allocated to the
properties pro rata based on their gross sales prices. ExhibitV 0 DQG 1 ERWK FRQWDLQ WKH
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        The Receiver’s proposed allocations apply the methodology previously authorized by the

Court to the invoices comprising the Receiver’s and his special counsel’s invoices comprising this

Sixteenth Fee Application. See Dkt. 824 at 5 (finding that “the Receiver’s proposed methodology

to allocate fees and expenses to individual properties is reasonable”).               In summary, this

methodology, which the Receiver first submitted with his 7th fee application provides: (i) first,

allocate by property; (ii) second, do not allocate certain billing categories; (iii) third, do not allocate

third-party claims by the Receiver; and (iv) fourth, allocate all remaining fees and expenses to the

properties as a percentage of their gross sales prices. (Dkt. 755 at 23-24) The institutional lenders

have acknowledged that this methodology has been approved by the Court. (Dkt. 1188 at 2) (“On

October 26, 2020, the Court awarded the Receiver a receiver’s lien and approved the Receiver’s

methodology of allocating that lien among the Properties”).

        In support of this fee application, the Receiver further incorporates by reference the

arguments and legal authority offered in support of his pending Motion for Approval of

Allocations of Fees to Properties for Payment Pursuant to Receiver’s Lien. (Dkt. 1107)

VI.     CONCLUSION

        WHEREFORE, the Receiver respectfully requests that the Court approve the Receiver’s

Sixteenth Interim Fee Application and enter an Order as follows:

        a.      finding the fees and expenses of the Receiver and Receiver’s retained professionals,

Rachlis Duff & Peel, LLC, KMA S.C., Miller Kaplan Arase LLP, and Prometheum, as described

in Exhibits F-J, respectively, to be reasonable and necessary to the Receivership;

        b.      granting the Receiver and his retained professional a first priority administrative

lien against each of the real estate properties in the Receivership Estate and their sales proceeds

for payment of fees and costs;



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        c.      approve the proposed allocation and payment methodology with respect to a

Receiver’s lien for all fees and expenses of the Receivership Estate as described and recommended

in this fee application;

        d.      approving the Receiver’s payment of such fees and expenses to the Receiver and to

Receiver’s retained professionals from sales proceeds for each of the properties in the Receivership

Estate as described and recommended in this fee application; and

        e.      granting the Receiver all other relief which this Court deems just and proper.

Dated: August 15, 2022                                Kevin B. Duff, Receiver

                                              By:     /s/    Michael Rachlis

                                                      Michael Rachlis
                                                      Jodi Rosen Wine
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                               RECEIVER’S CERTIFICATION
         1.     Pursuant to the Billing Instructions, the Receiver certifies as follows regarding the

Receiver’s Sixteenth Interim Application and Motion for Court Approval of Payment of Fees and

Expenses of Receiver and Receiver’s Retained Professionals:

         a.     The Receiver has read the foregoing Application and Motion;

         b.      To the best of the Receiver’s knowledge, information and belief formed after
 reasonable inquiry, the Application and Motion and all fees and expenses therein are true and
 accurate and comply with the Billing Instructions (with any exceptions specifically noted in this
 Certification, Application, and Motion);

       c.     All fees contained in the Application and Motion are based on the rates listed in the
 Fee Schedule attached hereto as Exhibit A, and such fees are reasonable, necessary, and
 commensurate with the skill and experience required for the activity performed;

        d.      The Application and Motion does not include in the amount for which
 reimbursement is sought, the amortization of the cost of any investment, equipment, or capital
 outlay (except to the extent any such amortization is included within the permitted allowable
 amounts set forth herein); and

         e.     In seeking reimbursement for a service which the Receiver or the Receiver’s
 Retained Professionals justifiably purchased or contracted for from a third party (such as copying,
 imaging, bulk mail, messenger service, overnight courier, computerized research, or title and lien
 searches), reimbursement is requested only for the amount billed to the Receiver or Receiver’s
 Retained Professionals by the third-party vendor and paid by the Receiver or Receiver’s Retained
 Professionals to such vendor. If such services were performed by the Receiver or Receiver’s
 Retained Professionals, the Receiver certifies that no profit has been made on such reimbursable
 service.

         2.     On July 23, July 28, and August 2, 2022, the Receiver provided to Mr. Benjamin

 Hanauer, of the SEC, a complete draft copy of this Application and Motion, and exhibits A-J,

 which include the relevant billing statements in a format specified by the SEC.

 Dated: August 15, 2022                              /s/ Kevin B. Duff
                                              Kevin B. Duff, Receiver
                                              EquityBuild, Inc., et al.
                                              c/o Rachlis Duff & Peel, LLC
                                              542 S. Dearborn Street, Suite 900
                                              Chicago, IL 60605
                                              (312) 733-3390 - kduff@rdaplaw.net


                                                 17
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                              CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Sixteenth Interim

Application and Motion for Court Approval of Payment of Fees and Expenses of Receiver and

Receiver’s Retained Professionals, via the Court’s CM/ECF system, to all counsel of record on

August 15, 2022.


                                                  /s/ Michael Rachlis

                                                  Michael Rachlis
                                                  Rachlis Duff & Peel, LLC
                                                  542 South Dearborn Street, Suite 900
                                                  Chicago, IL 60605
                                                  Phone (312) 733-3950
                                                  Fax (312) 733-3952
                                                  mrachlis@rdaplaw.net




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                Exhibit $
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Rachlis Duff & Peel, LLC Rates

      Professional/        Position               2022           2022
      Paraprofessional                            Standard       Discounted
                                                  Hourly Rates   Hourly Rates
      Michael Rachlis      RDP Member             $650           $390
      Drew G.A. Peel       RDP Member             $650           $390
      Ellen Duff           RDP Of Counsel         $600           $390
      Andrew E. Porter     RDP Of Counsel         $600           $390
      Jodi Rosen Wine      RDP Of Counsel         $600           $260
      Kathleen Pritchard   RDP Paralegal          $225           $140
      Ania Watychowicz     RDP Paralegal          $225           $140
      Justyna Rak          RDP Paralegal          $225           $140
      Stoja Zjalic         RDP Legal Assistant    $190           $110
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 KMA S.C. (f/k/a
                                    20% discount from
 BrookWeiner) Billing Rates
                                    current standard rates

 Staff Accountant                           $110/hour
 Manager                                    $210/hour
 Partner                                   $275/hour
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                                       MILLER KAPLAN ARASE LLP
                                        CERTIFIED PUBLIC ACCOUNTANTS SINCE 1941




                              Schedule of Current Fees
                               With SEC Discounted Rates
                                             March 1, 2018


Service provider                      Rate, per hour               SEC Discounted rate at
                                                                   80% of standard, per hour
Administrative Staff              $35 - $125                       $28 - $100
Accounting Staff                  $100 - $200                      $80 - $160
Senior Accounting Staff           $225 - $275                      $180 - $220
Attorney                          $250 - $350                      $200 - $280
Partner                           $400 - $550                      $320 - $440




Los Angeles     •     San Francisco     •     Seattle   •   Las Vegas   •   Denver    •       Sun Valley

         ~A~rnm;
           INTERNAT I ONAL
                                            www.millerkaplan.com                     ......
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Prometheum’s Hourly Rate

      Position                        Hourly Rate
      Senior Technical Consultant     $110
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                Exhibit %
                          Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 25 of 2195 PageID #:70941


                                                                                                           Amount                                 Approved
                          Docket No.                        Amount of      Docket No.                      Approved          Amount Paid         Amount Unpaid
Interim Fee Application   Application   Date Filed          Application    Order        Date of Order      (less holdback)   (as of 6/30/22)     (as of 6/30/22)




                                                                           I
First (3d Q 2018)         411           June 12, 2019       $ 413,298.44   546          October 15, 2019    $ 413,298.44      $ 413,298.44        $              -
Second (4th Q 2018)       487           August 21, 2019     $ 553,968.43   547          October 15, 2019    $ 553,968.43      $ 553,968.43        $              -
Third (1st Q 2019)        569           November 1, 2019    $ 547,711.44   614          January 7, 2020     $ 547,711.04      $ 547,711.04        $              -
Fourth (2d Q 2019)        576           November 15, 2019   $ 510,056.64   614          January 7, 2020     $ 510,056.64      $     27,679.64     $ 482,377.00
Fifth (3d Q 2019)         608           December 20, 2019   $ 485,094.92   710          June 9, 2020        $ 485,094.92      $     25,661.92     $ 459,433.00
Sixth (4th Q 2019)        626           February 14, 2020   $ 297,791.41   710          June 9, 2020        $ 297,791.41      $     25,439.41     $ 272,352.00
Seventh (1st Q 2020)      755           July 28, 2020       $ 362,102.16   824          October 26, 2020    $ 362,102.16      $     16,363.41     $ 345,738.75
Eighth (2d Q 2020)        778           August 28, 2020     $ 451,944.97   824          October 25, 2020    $ 451,944.97      $     15,920.97     $ 436,024.00
Ninth (3d Q 2020)         885           November 30, 2020   $ 403,064.48   1031         August 17, 2021     $ 324,959.92      $     18,907.33     $ 306,052.59
Tenth (4Q2020)            945           February 23, 2021   $ 379,388.01   1031         August 17, 2021     $ 304,579.67      $     19,097.51     $ 285,482.16
Eleventh (1Q2021)         993           May 17, 2021        $ 261,601.20   1031         August 17, 2021     $ 210,660.10      $     17,596.50     $ 193,063.60
Twelfth (2Q2021)          1026          August 16, 2021     $ 185,528.04   1213         March 14, 2022      $ 149,092.26      $       6,128.76    $ 142,963.50
Thirteenth (3Q2021)       1087          November 15, 2021   $ 155,709.74   n/a
Fourteenth (4Q2021)       1181          February 14, 2022   $ 151,828.35   n/a
Fifteenth (1Q2022)        1251          May 16, 2022        $ 241,175.84   n/a
                                                                                                                                                 $ 2,923,486.60
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                Exhibit &
         Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 27 of 2195 PageID #:70943

                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                   Receivership; Civil Court Docket No. 18-cv-05587
                                      Reporting Period 4/1/2022 to 6/30/2022

Fund Accounting (See Instructions):
                                                                             Detail        Subtotal       Grand Total
Line 1        Beginning Balance (As of 4/1/2022):                         $1,125,649.01                   $1,125,649.01
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                         $685.96
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous - Other
                Total Funds Available (Line 1-8):                                                         $1,126,334.97
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals                 ($73,876.22)
   Line 10b Business Asset Expenses²
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third-Party Litigation Expenses                                             $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($73,876.22)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                  $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                Receivership; Civil Court Docket No. 18-cv-05587
                                   Reporting Period 4/1/2022 to 6/30/2022

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund                          $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1-12):                                                                    ($73,876.22)
Line 13         Ending Balance (As of 6/30/2022):                                                                 $1,052,458.75
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents                                                                            $1,052,458.75
   Line 14b    Investments (unliquidated EquityBuild investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund - Net Assets                                                          $1,052,458.75




                                                               Receiver:
                                                                                              /s/ Kevin B. Duff
                                                                                (Signature)

                                                                            Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                                                (Printed Name)

                                                                    Date:                     July 22, 2022
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                Exhibit '
    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 30 of 2195 PageID #:70946



                                                    Master Asset List
                                        Receiver’s Account (as of 6/30/2022)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking #0181                                                         $936,705.85
AXOS Fiduciary Services                      Checking #0348                                                       $115,752.90
                                                                                                                        Total:
                                                                                                                $1,052,458.75

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,852.15³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
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                Exhibit (
   Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 32 of 2195 PageID #:70948
                                                             SEC v. EquityBuild, Inc., et al.
                                                                     No. 18-cv-5587
                                          Balances of Funds in Property Specific Accounts as of June 30, 2022




                                                     Account Balance                                             Reason for Change (if any)
 Account Number          Account Name                                        Date of Settlement
                                                   (as of June 30, 2022)                                              4/1/22 - 6/30/22
0025              7301 S Stewart Ave                           $303,808.84              11/4/2019   Interest earned, $189.30
0033              5001-05 S Drexel                           $2,729,511.99              5/22/2019   Interest earned, $1,700.74
0041              7927-49 S Essex                              $645,277.42               5/1/2019   Interest earned, $402.06
0058              8100-14 S Essex                              $930,071.30              4/30/2019   Interest earned, $579.51
0066              6160-6212 S King                             $430,463.41              4/30/2019   Interest earned, $268.22
0074              1102 Bingham                                 $702,015.27              10/6/2021   Interest earned, $437.42
0108              8047 S. Manistee                             $806,962.37               2/5/2020   Interest earned, $502.81
0116              5955 S. Sacramento                           $450,669.19              11/5/2019   Interest earned, $280.81
0124              6001-05 S. Sacramento                        $329,565.52              11/5/2019   Interest earned, $205.35
0132              7026-42 S. Cornell                           $869,233.15              11/6/2019   Interest earned, $541.61
0140              7237-43 S. Bennett                           $684,088.38              6/30/2021   Interest earned, $426.24
0157              7834-44 S. Ellis                           $1,638,648.83              11/4/2019   Interest earned, $1,021.03
0165              701-13 S. 5th Avenue                         $617,213.81              3/31/2020   Interest earned, $384.58
0199              7625 S. East End                           $1,243,303.26             12/20/2019   Interest earned, $774.69
0207              7635 S. East End                           $1,050,190.46             12/20/2019   Interest earned, $654.36
0215              7748 S. Essex                              $1,195,971.91             12/18/2019   Refund from title company of holdback for
                                                                                                    administrative judgment, $7,927.00; interest
                                                                                                    earned, $743.84
0223              7750 S. Muskegon                          $410,069.20                12/18/2019   Interest earned, $255.51
0231              7749-59 S. Yates                          $639,888.35                 4/22/2020   Interest earned, $398.71
0249              7450 S. Luella                            $198,627.60                  5/7/2020   Interest earned, $123.76
0256              4520-26 S. Drexel                        $6,212,249.76                5/21/2020   Interest earned, $3,870.80
0264              6749-59 S. Merrill                       $1,411,777.33                4/28/2020   Interest earned, $879.66
0272              7110 S. Cornell                          $1,171,574.54                8/13/2020   Interest earned, $730.00
0280              7109 S. Calumet                          $1,582,149.25                2/28/2022   Property manager's post-sale distribution of funds,
                                                                                                    $166,931.69; refund for insurance payments,
                                                                                                    $7,955.00; interest earned, $920.77
0298              7600 S. Kingston                         $1,409,610.12                12/3/2020   Interest earned, $878.32
0306              7656 S. Kingston                           $235,369.12                12/2/2020   Interest earned, $146.66
0314              8201 S. Kingston                           $275,404.23                5/21/2020   Interest earned, $171.60
0322              8326-58 S. Ellis                         $1,335,361.97                6/11/2020   Interest earned, $832.05
0330              6949-59 S. Merrill                       $1,544,687.70                12/1/2020   Interest earned, $962.48
0355              7546 S. Saginaw                            $523,881.40                5/13/2020   Interest earned, $322.63
0363              638 N. Avers                               $629,295.73               10/15/2021   Interest earned, $392.11
0371              5450 S. Indiana                          $1,795,590.52                6/25/2020   Interest earned, $1,118.82
0389              6437 S. Kenwood                          $1,344,777.25                6/25/2020   Interest earned, $837.92
0397              7300 S. St. Lawrence                       $310,759.13                7/27/2020   Interest earned, $193.63
0405              7760 S. Coles                              $123,302.48                6/26/2020   Interest earned, $76.83
0413              8000 S. Justine                            $193,660.77                6/26/2020   Interest earned, $120.66
0421              8107-09 S. Ellis                          $111,287.18                 6/30/2020   Interest earned, $69.34
0439              8209 S. Ellis                             $264,293.43                  7/1/2020   Interest earned, $164.68
0447              8214-16 S. Ingleside                       $209,641.50                6/30/2020   Interest earned, $130.62
0454              11117 S. Longwood                        $1,695,949.77                 7/8/2020   Interest earned, $1,056.73
0462              1700 Juneway                             $2,778,729.92               10/20/2020   Interest earned, $1,731.40
0470              1131-41 E. 79th                          $1,181,702.85               12/22/2020   Interest earned, $736.31
0488              2736 W. 64th                               $380,923.95                9/29/2020   Interest earned, $237.35
0496              3074 Cheltenham                          $1,016,626.05                9/24/2020   Interest earned, $633.45
0504              5618 S. Martin Luther King                $628,186.10                 9/29/2020   Interest earned, $391.42
0512              6250 S. Mozart                             $910,179.14               12/22/2020   Interest earned, $567.12
0520              6355 S. Talman                             $480,075.13                9/29/2020   Interest earned, $299.13
0538              6356 S. California                        $316,199.93                 9/29/2020   Interest earned, $197.02
0546              6554-58 S. Vernon                          $542,230.40               10/15/2020   Interest earned, $337.86
0553              7051 S. Bennett                            $477,726.26                9/23/2020   Interest earned, $297.67
0561              7201 S. Constance                          $964,303.36                9/30/2020   Interest earned, $600.85
0579              7201-07 S. Dorchester                      $422,191.33               10/20/2020   Interest earned, $263.06
0587              7508 S. Essex                              $749,753.56               10/28/2020   Interest earned, $467.16
0595              7957 S. Marquette                          $285,373.08                9/21/2020   Interest earned, $177.82
0603              4533 S. Calumet                          $2,202,060.74                12/1/2020   Interest earned, $1,372.08
0611              1017 W. 102nd                              $105,929.28                5/26/2021   Interest earned, $66.00
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                                                           SEC v. EquityBuild, Inc., et al.
                                                                   No. 18-cv-5587
                                        Balances of Funds in Property Specific Accounts as of June 30, 2022




                                                   Account Balance                                             Reason for Change (if any)
 Account Number         Account Name                                       Date of Settlement
                                                 (as of June 30, 2022)                                              4/1/22 - 6/30/22
0629              1516 E. 85th                               $110,114.24              5/26/2021   Interest earned, $68.61
0637              417 Oglesby                               $101,787.34               5/26/2021   Interest earned, $63.42
0645              7922 S. Luella                            $143,092.65               5/26/2021   Interest earned, $89.16
0652              7925 S. Kingston                            $88,207.77              5/26/2021   Interest earned, $54.96
0660              8030 S. Marquette                           $81,025.08              5/26/2021   Interest earned, $50.48
0678              8104 S. Kingston                          $150,417.25               5/26/2021   Interest earned, $93.73
0686              8403 S. Aberdeen                          $115,708.25               5/26/2021   Interest earned, $72.10
0694              8405 S. Marquette                          $113,349.28              5/26/2021   Interest earned, $70.63
0702              8529 S. Rhodes                             $134,595.68              5/26/2021   Interest earned, $83.86
0710              9212 S. Parnell                             $98,578.63              5/26/2021   Interest earned, $61.42
0728              10012 S. LaSalle                            $87,614.72              5/26/2021   Interest earned, $54.59
0736              11318 S. Church                           $126,636.26               5/26/2021   Interest earned, $78.90
0744              6554 S. Rhodes                              $87,330.46              5/26/2021   Interest earned, $54.42
0751              6825 S. Indiana                            $127,580.04              5/26/2021   Interest earned, $79.50
0769              7210 S. Vernon                              $61,573.13              5/26/2021   Interest earned, $38.37
0777              7712 S. Euclid                            $131,086.96               5/26/2021   Interest earned, $81.68
0785              8107 S. Kingston                            $98,269.38              5/26/2021   Interest earned, $61.23
0793              8346 S. Constance                         $136,300.80               5/26/2021   Interest earned, $84.92
0801              8432 S. Essex                             $134,487.54               5/26/2021   Interest earned, $83.80
0819              8517 S. Vernon                             $133,307.73              5/26/2021   Interest earned, $83.07
0827              2129 W. 71st                                $64,151.87              5/26/2021   Interest earned, $39.97
0835              9610 S. Woodlawn                            $87,848.29              5/26/2021   Interest earned, $54.73
0843              1401 W. 109th                               $56,504.71              5/26/2021   Interest earned, $35.21
0850              1139 E. 79th                                 $3,719.93                    n/a   Interest earned, $2.32
0868              4611 S. Drexel                           $4,939,231.22              5/14/2021   Interest earned, $3,077.59
0876              6217 S. Dorchester                       $2,214,166.26               7/6/2021   Interest earned, $1,379.63
0884              7255 S. Euclid                           $1,070,667.89              6/29/2021   Interest earned, $667.12
0892              7024 S. Paxton                           $1,835,428.30              4/22/2021   Interest earned, $1,143.64
0900              4317 S. Michigan                          $814,333.79               12/2/2020   Interest earned, $507.40
0918              7701 S. Essex                             $733,747.76              11/16/2020   Interest earned, $457.19
0926              816 E. Marquette                         $824,031.02               11/18/2020   Interest earned, $513.45
0934              1422 E. 68th                             $450,252.85                6/23/2021   Interest earned, $280.55
0942              2800 E. 81st                             $445,609.17                4/30/2021   Interest earned, $277.65
0959              4750 S. Indiana                          $740,396.90                4/21/2021   Interest earned, $461.33
0967              7840 S. Yates                            $364,854.66                4/23/2021   Interest earned, $227.34
0975              7442-48 S. Calumet                       $542,204.59               11/16/2020   Interest earned, $337.84
0983              431 E. 42nd Place                         $65,028.40                11/5/2020   Interest earned, $40.52
0991              1414 E. 62nd Place                        $35,180.29                5/26/2021   Interest earned, $21.92
1007              2136 W. 83rd Street                      $101,907.95                5/26/2021   Interest earned, $63.50
1015              7933 S. Kingston                          $95,780.36                5/26/2021   Interest earned, $59.68
1023              8800 S. Ada                              $127,226.74                5/26/2021   Interest earned, $79.27
1031              3213 S. Throop                           $137,731.37                5/26/2021   Interest earned, $85.82
1049              3723 W. 68th Place                       $124,362.72                5/26/2021   Interest earned, $77.49
1056              406 E. 87th Place                         $99,855.06                5/26/2021   Interest earned, $62.22
1064              61 E. 92nd Street                        $103,515.21                5/26/2021   Interest earned, $64.50
1072              7953 S. Woodlawn                         $128,772.95                5/26/2021   Interest earned, $80.23
1080              5437 S. Laflin                            $45,836.04                5/26/2021   Interest earned, $28.56
1098              6759 S Indiana                            $90,364.82                5/26/2021   Interest earned, $56.30
1106              310 E 50th Street                        $189,383.67                5/26/2021   Interest earned, $118.00
1114              6807 S. Indiana                          $122,350.30                5/26/2021   Interest earned, $76.23

                  TOTAL FUNDS HELD:                     $70,613,902.80
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 34 of 2195 PageID #:70950




                Exhibit )
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 35 of 2195 PageID #:70951
                                 Rachlis Duff & Peel, LLC
                                       542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                               Suite 900                                     fax (312) 733-3952
                                        Chicago, Illinois 60605




June 22, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No.6621145
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



Legal Fees for April 2022                                                     $8,463.00

 Expenses Disbursed                                                              $0.00


 Due this Invoice                                                             $8,463.00
   Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 36 of 2195 PageID #:70952
    Kevin B. Duff, Receiver                                                                               Page    2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         4/3/2022   KBD       0.10 Exchange correspondence with A. Porter regarding potential deposition
                                   and related communication.

                                   Asset Analysis & Recovery

         4/8/2022   KBD       0.30 Exchange correspondence and telephone conference with government
                                   representative regarding subpoena regarding criminal proceeding
                                   where EB is victim.

                                   Asset Analysis & Recovery

         4/15/2022 KBD        0.10 Draft correspondence to government representative regarding trial
                                   schedule.

                                   Asset Analysis & Recovery

         4/18/2022 KBD        0.30 Exchange correspondence with government representatives (.1); telephone
                                   conference with SEC and M. Rachlis (.2).

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                  [ 0.80            312.00]

Asset Disposition

         4/2/2022   KBD       0.10 Draft correspondence to A. Porter and J. Rak and post-sale accounting
                                   reconciliation (638 Avers).

                                   Asset Disposition

         4/5/2022   KBD       0.10 Exchange correspondence with K. Pritchard and J. Rak regarding recovery of
                                   funds following post-closing reconciliation (638 Avers).

                                   Asset Disposition

         4/11/2022 KBD        0.10 Draft correspondence to K. Pritchard and J. Rak regarding attention to final
                                   property manager distribution (7109 Calumet).

                                   Asset Disposition

         4/18/2022 KBD        0.20 Exchange correspondence with A. Porter and J. Rak regarding recovery of
                                   closing funds from title company and related issues (7748 Essex).

                                   Asset Disposition

         4/19/2022 KBD        0.10 Exchange correspondence with A. Porter and J. Rak regarding recovery of
                                   closing funds from title company (7748 Essex).
  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 37 of 2195 PageID #:70953
    Kevin B. Duff, Receiver                                                                                   Page   3



         Date         Indiv Hours Description


                                   Asset Disposition


SUBTOTAL:                                                                                    [ 0.60            234.00]

Business Operations

         4/7/2022     KBD     0.10 Exchange correspondence with J. Wine regarding state court lawsuit
                                   involving former property (defer).

                                   Business Operations

         4/8/2022     KBD     0.30 Exchange correspondence with J. Wine, M. Rachlis, and A. Porter regarding
                                   state court lawsuit involving former property (defer).

                                   Business Operations

         4/11/2022 KBD        0.30 Exchange correspondence and telephone conference with M. Rachlis and J.
                                   Wine regarding procedural issues involving former property (defer).

                                   Business Operations

         4/13/2022 KBD        0.10 Attention to state court action involving former EB property and related
                                   correspondence (defer).

                                   Business Operations

         4/18/2022 KBD        0.20 Exchange correspondence with M. Rachlis and J. Wine regarding procedural
                                   issues and communications with counsel relating to state court action
                                   involving former EB property (defer).

                                   Business Operations

         4/20/2022 KBD        0.10 Attention to disposition of state court action (7748 Essex).

                                   Business Operations

         4/28/2022 KBD        0.10 Exchange correspondence with K. Pritchard and J. Rak regarding account
                                   reconciliation and water account issue (7109 Calumet).

                                   Business Operations


SUBTOTAL:                                                                                    [ 1.20            468.00]

Case Administration

         4/4/2022     KBD     0.10 Study correspondence from J. Wine regarding obtaining information about
                                   third party class action settlement and communication with claimants' counsel.

                                   Case Administration

         4/5/2022     KBD     0.10 Telephone conference with government representative and exchange
                                   related correspondence with A. Watychowicz.

                                   Case Administration
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    Kevin B. Duff, Receiver                                                                              Page   4



         Date       Indiv Hours Description




         4/15/2022 KBD        0.10 Exchange correspondence with J. Wine and K. Pritchard regarding vendor
                                   invoice for database services.

                                     Case Administration

         4/16/2022 KBD        0.10 Draft correspondence to A. Watychowicz and K. Pritchard regarding pending
                                   motions and unresolved filings.

                                     Case Administration

         4/18/2022 KBD        0.40 Telephone conference with SEC and M. Rachlis (.3); attention to pending
                                   and unresolved motions (.1).

                                     Case Administration

         4/21/2022 KBD        0.40 Exchange correspondence with J. Wine regarding recurring and other costs
                                   (.2); attention to case administrator invoice issue (.2).

                                     Case Administration

         4/25/2022 KBD        0.20 Confer with J. Wine regarding EB documents preservation and database
                                   termination.

                                     Case Administration

         4/27/2022 KBD        0.20 Exchange correspondence regarding case administrator invoice issue.

                                     Case Administration


SUBTOTAL:                                                                               [ 1.60            624.00]

Claims Administration & Objections

         4/4/2022   KBD       0.10 Attention to communication from claimant (all).

                                     Claims Administration & Objections

         4/5/2022   KBD       0.10 Attention to claimants' communications and exchange related
                                   correspondence with A. Watychowicz (all).

                                     Claims Administration & Objections

         4/6/2022   KBD       0.40 Exchange correspondence with J. Wine and J. Rak regarding claims analysis
                                   (1700 Juneway; 5450 Indiana; 7749 Yates; 6160 MLK; 6949 Merrill) (.3);
                                   exchange correspondence with A. Watychowicz and J. Wine regarding
                                   communication with claimants regarding claims process (all) (.1).

                                     Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                 Page     5



     Date        Indiv Hours Description

     4/7/2022    KBD       0.10 Exchange correspondence with J. Wine regarding communication with
                                claimants regarding status of claims process (all).

                                Claims Administration & Objections

     4/11/2022 KBD         0.20 Exchange correspondence with representative for claimant regarding power of
                                attorney (all) (.1); exchange correspondence with J. Wine regarding custodial
                                account issue for claimants (all) (.1).

                                Claims Administration & Objections

     4/12/2022 KBD         0.10 Attention to discovery and subpoena compliance issues (1017 W 102nd; 1516
                                E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 8030 Marquette; 8104
                                Kingston; 8403 Aberdeen; 8529 Rhodes; 11318 Church; 2129 W 71st; 7925
                                Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406 E 87th; 6554 Rhodes;
                                7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston; 8346 Constance; 10012
                                LaSalle; 9610 Woodlawn; 6759 Indiana; 8517 Vernon).


                                Claims Administration & Objections

     4/14/2022 KBD         0.10 Exchange correspondence with A. Watychowicz regarding correspondence
                                with claimant relating to claim against former property and communication
                                (defer).

                                Claims Administration & Objections

     4/15/2022 KBD         0.30 Attention to correspondence from claimant's representative regarding power
                                of attorney for claim (all) (.2); attention to order setting hearing, notice to
                                claimants, and exchange related correspondence (all108) (.1).

                                Claims Administration & Objections

     4/18/2022 KBD         0.50 Telephone conference with SEC and M. Rachlis (sole lien) (.2); exchange
                                correspondence with A. Watychowicz regarding communication with
                                claimants regarding claims process and timing (all) (.1); review list of pending
                                claims matters before the Court in preparation for hearing (all108) (.1);
                                review status of efforts to obtain third party documents and exchange related
                                correspondence (1017 W 102nd; 10012 LaSalle; 11318 Church; 1516 E
                                85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E 87th; 417 Oglesby;
                                6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922
                                Luella; 7925 Kingston; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346
                                Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212
                                Parnell; 9610 Woodlawn) (.1).

                                Claims Administration & Objections

     4/19/2022 KBD         2.30 Confer with M. Rachlis and J. Wine regarding hearing before Judge Lee and
                                consideration of issues that may be presented to the Court, analysis of
                                claims, and review of issues based on interim discovery obtained (sole lien)
                                (1.4); confer with M. Rachlis and J. Wine regarding potential evidentiary
                                hearing before Judge Lee (Group 1) (.2); exchange correspondence with A.
                                Porter regarding release issue (Group 1) (.2); attention to communication with
                                claimants and courtroom deputy regarding upcoming claims hearing (all) (.1);
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 40 of 2195 PageID #:70956
 Kevin B. Duff, Receiver                                                                                Page       6



     Date        Indiv Hours Description

                                exchange correspondence with J. Wine and M. Rachlis regarding information
                                available to claimant regarding loans and claims and impact on analysis of
                                claims (6749 Merrill; 7110 Cornell) (.2); attention to efforts to obtain records
                                from third party and exchange related correspondence (1017 W 102nd;
                                10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd;
                                3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825
                                Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030
                                Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen;
                                8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn)
                                (.1); review correspondence from claimant and exchange related
                                correspondence J. Wine (all) (.1).

                                Claims Administration & Objections

     4/20/2022 KBD         0.10 Attention to communication with claimants regarding hearing before Judge
                                Lee and exchange related correspondence with A. Watychowicz (all).

                                Claims Administration & Objections

     4/21/2022 KBD         0.70 Revise communications to claimants regarding upcoming hearing before
                                Judge Lee and related order and exchange related correspondence with A.
                                Watychowicz and J. Wine (all) (.3); attention to communications from
                                claimant regarding status of claims process related to property (1102
                                Bingham) (.2); study correspondence from J. Wine and M. Rachlis regarding
                                claims process tasks requiring attention and preparation for hearing before
                                Judge Lee (all) (.2).

                                Claims Administration & Objections

     4/22/2022 KBD         1.50 Prepare for hearing before Judge Lee regarding claims process status and
                                pending motions (all) (.4); appear before Judge Lee for status hearing on
                                claims process and pending motions (all) (.5); telephone conference with
                                SEC (all) (.2); telephone conference with M. Rachlis and J. Wine regarding
                                further efforts to obtain documents from claimant's counsel (1017 W 102nd;
                                10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd;
                                3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825
                                Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030
                                Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen;
                                8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn)
                                (.2); telephone conference with M. Rachlis and J. Wine regarding issues
                                regarding claims analysis and position statements (sole lien) (.2).

                                Claims Administration & Objections

     4/24/2022 KBD         0.60 Attention to claimants' counsel's request for claimants' information (defer)
                                (.1); study claimant loan histories (1017 W 102nd; 10012 LaSalle; 11318
                                Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E 87th;
                                417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon; 7712
                                Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette; 8104 Kingston; 8107
                                Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon;
                                8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.3); study frame work for
                                position statement and related correspondence from M. Rachlis (sole lien)
                                (.2).


                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                Page   7



     Date        Indiv Hours Description




     4/25/2022 KBD         1.40 Study and revise initial submission on sole lien claims (sole lien) (.8); study
                                claims analysis and various relating correspondence from M. Rachlis and J.
                                Wine (1017 W 102nd; 10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W
                                71st; 2136 W 83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes;
                                6759 Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925
                                Kingston; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance;
                                8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610
                                Woodlawn) (.4); confer with J. Wine regarding preparation of submission (sole
                                lien) (.1); attention to communication with claimants regarding hearing before
                                Judge Lee (all) (.1).

                                Claims Administration & Objections

     4/26/2022 KBD         2.30 Confer with M. Rachlis and J. Wine regarding claims analysis, claim
                                components, cross collateralization issues, setoff, and form of submission
                                (1017 W 102nd; 10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W 71st;
                                2136 W 83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6759
                                Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925
                                Kingston; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance;
                                8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610
                                Woodlawn) (.5); confer with M. Rachlis and J. Wine regarding claims
                                analysis, setoff, and form of submission and exchange related
                                correspondence (7110 Cornell; 6751 Merrill) (.3); legal research regarding
                                claims analysis issue and draft related correspondence to J. Wine and M.
                                Rachlis (all) (1.5).

                                Claims Administration & Objections

     4/27/2022 KBD         1.00 Exchange correspondence with J. Wine, M. Rachlis, and J. Rak regarding
                                revisions to exhibit related to claims analysis, escrow reserve, and real estate
                                tax payment issues (6749 Merrill; 7110 Cornell) (.6); work on analysis of
                                claims, position statement, and exchange related correspondence (1017 W
                                102nd; 10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W
                                83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030
                                Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen;
                                8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.4).


                                Claims Administration & Objections

     4/28/2022 KBD         3.50 Study and revise single claim submission and exchange various related
                                correspondence with J. Wine and M. Rachlis (sole lien).

                                Claims Administration & Objections

     4/29/2022 KBD         0.40 Study revised single claim submission and exchange related correspondence
                                with J. Wine and M. Rachlis (sole lien).

                                Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                               Page    8



         Date       Indiv Hours Description


SUBTOTAL:                                                                                   [ 15.70        6123.00]

Status Reports

         4/6/2022   KBD       0.10 Review correspondence from J. Wine regarding status report preparation.

                                   Status Reports

         4/19/2022 KBD        0.10 Exchange correspondence with J. Wine regarding status report content.

                                   Status Reports

         4/20/2022 KBD        0.10 Exchange correspondence with J. Wine regarding status report content.

                                   Status Reports

         4/21/2022 KBD        0.60 Study and revise draft status report.

                                   Status Reports

         4/25/2022 KBD        0.50 Study revised status report and related correspondence (.4); confer with J.
                                   Wine regarding changes to status report and preparation for filing of status
                                   report (.1).

                                   Status Reports

         4/26/2022 KBD        0.20 Study revisions to status report and related correspondence.

                                   Status Reports


SUBTOTAL:                                                                                   [ 1.60          624.00]

Tax Issues

         4/8/2022   KBD       0.20 Exchange correspondence with tax administrator regarding extension to file
                                   tax returns.

                                   Tax Issues


SUBTOTAL:                                                                                   [ 0.20            78.00]




                                                                                             21.70       $8,463.00



                                                Summary of Activity
                                                                                    Hours       Rate
Kevin B. Duff                                                                       21.70     390.00     $8,463.00
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 Kevin B. Duff, Receiver                                                      Page    9




                                   SUMMARY


               Legal Services                                   $8,463.00
               Other Charges                                        $0.00

                  TOTAL DUE                                     $8,463.00
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 44 of 2195 PageID #:70960
                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                              Suite 900                                      fax (312) 733-3952
                                       Chicago, Illinois 60605




July 22, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No. 6621146
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



 Legal Fees for May 2022                                                      $8,775.00

 Expenses Disbursed                                                              $0.00

 Due this Invoice
                                                                              $8,775.00
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    Kevin B. Duff, Receiver                                                                                       Page   2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         5/2/2022   KBD       0.10 Attention to communication with bank regarding preservation of records and
                                   exchange related correspondence with S. Zjalic.

                                    Asset Analysis & Recovery

         5/5/2022   KBD       0.40 Participate in trial preparation session.

                                    Asset Analysis & Recovery

         5/12/2022 KBD        0.20 Exchange correspondence with government representative regarding
                                   logistics for trial and further attention to same.

                                    Asset Analysis & Recovery

         5/15/2022 KBD        0.20 Exchange correspondence with government representative regarding
                                   logistics for trial attendance.

                                    Asset Analysis & Recovery

         5/16/2022 KBD        8.50 Confer and exchange correspondence with government representative
                                   regarding trial (.4); appear at courthouse for trial (3.1); travel for trial (5.0).

                                    Asset Analysis & Recovery

         5/17/2022 KBD        0.10 Exchange correspondence with A. Watychowicz regarding records
                                   preservation issue.

                                    Asset Analysis & Recovery

         5/26/2022 KBD        0.20 Exchange correspondence with government representative.

                                    Asset Analysis & Recovery


SUBTOTAL:                                                                                        [ 9.70            3783.00]

Asset Disposition

         5/13/2022 KBD        0.20 Exchange correspondence with K. Pritchard and J. Rak regarding post-sale
                                   reconciliation of property manager account (7109 Calumet).

                                    Asset Disposition

         5/16/2022 KBD        0.10 Exchange correspondence with J. Rak regarding property manager
                                   reconciliation of account (7109 Calumet).

                                    Asset Disposition


SUBTOTAL:                                                                                        [ 0.30             117.00]
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    Kevin B. Duff, Receiver                                                                               Page    3



         Date         Indiv Hours Description

Business Operations

         5/4/2022     KBD     0.30 Confer with J. Wine regarding reimbursement motion and related issues (all).

                                     Business Operations

         5/13/2022 KBD        0.70 Telephone conference with E. Duff, J. Wine, and accounting firm
                                   representative regarding calculation of insurance premium reimbursement
                                   amount (6751 Merrill; 7110 Cornell).

                                     Business Operations

         5/17/2022 KBD        0.10 Telephone conference with E. Duff regarding analysis of premium refunds
                                   (6751 Merrill; 7110 Cornell).

                                     Business Operations

         5/25/2022 KBD        0.20 Exchange correspondence with M. Rachlis regarding communication with
                                   claimant's counsel regarding analysis of issues impacting potential distribution
                                   and resolution of related issues (6749 Merrill; 7110 Cornell).

                                     Business Operations


SUBTOTAL:                                                                                   [ 1.30           507.00]

Case Administration

         5/5/2022     KBD     0.20 Exchange correspondence with J. Wine regarding professional invoice.

                                     Case Administration


         5/6/2022     KBD     0.10 Exchange correspondence with accounting firm regarding professional
                                   invoice.

                                     Case Administration

         5/12/2022 KBD        0.10 Attention to vendor invoice and exchange related correspondence with J. Wine.


                                     Case Administration


SUBTOTAL:                                                                                   [ 0.40           156.00]

Claims Administration & Objections

         5/2/2022     KBD     0.80 Exchange correspondence with claimant's counsel and exchange related
                                   correspondence (all108) (.3); review court order, study and revise
                                   correspondence to claimants relating to same, and exchange additional
                                   related correspondence (all108) (.3); exchange correspondence regarding
                                   communication with unsecured claimant (defer) (.2).
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 47 of 2195 PageID #:70963
 Kevin B. Duff, Receiver                                                                              Page       4



     Date        Indiv Hours Description


                                Claims Administration & Objections

     5/3/2022    KBD       0.90 Exchange correspondence with A. Watychowicz and J. Wine regarding
                                various communications with claimants regarding claims process, timing, and
                                custodian issues (all108) (.7); review correspondence from claimant's
                                counsel and exchange related correspondence with M. Rachlis and J. Wine
                                (6749 Merrill; 7110 Cornell) (.2).


                                Claims Administration & Objections

     5/4/2022    KBD       0.80 Work on communication with claimants regarding hearing before Judge Lee,
                                claimants requesting opportunity to participate at hearing, and exchange
                                related correspondence with A. Watychowicz and J. Wine (all108) (.4);
                                attention to communication with claimant relating to former property (defer)
                                (.2); exchange correspondence with M. Rachlis regarding communication
                                from claimant's counsel regarding potential distribution timing (6749 Merrill;
                                7110 Cornell) (.2).


                                Claims Administration & Objections

     5/5/2022    KBD       1.90 Exchange correspondence with A. Watychowicz regarding communication
                                with claimants regarding hearing before Judge Lee regarding claims (all108)
                                (.3); confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee
                                regarding claims process and hearing (all108) (1.1); exchange
                                correspondence with A. Watychowicz and J. Wine regarding third party action
                                (defer) (.1); prepare for hearing before Judge Lee regarding claims process
                                and exchange related correspondence with M. Rachlis and J. Wine (all108)
                                (.4).

                                Claims Administration & Objections

                 KBD       0.10 Study correspondence from J. Wine regarding property groupings (10012
                                LaSalle; 1017 W 102nd; 1102 Bingham; 11117 Longwood; 1131 E 79th;
                                11318 Church; 1401 W 109th; 1414 E 62nd; 1422 E 68th; 1516 E 85th; 1700
                                W Juneway; 2129 W 71st; 2136 W 83rd; 2736 W 64th; 2800 E 81st; 2909 E
                                78th; 3030 E 79th; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417
                                Oglesby; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611
                                Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK;
                                5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217
                                Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437
                                Kenwood; 6554 Rhodes; 6554 Vernon; 6749 Merrill; 6759 Indiana; 6807
                                Indiana; 6825 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell;
                                7051 Bennett; 7109 Calumet; 7110 Cornell; 7201 Dorchester; 7210 Vernon;
                                7237 Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet;
                                7450 Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600
                                Kingston; 7656 Kingston; 7701 Essex; 7712 Euclid; 7748 Essex; 7749 Yates;
                                7760 Coles; 7834 Ellis; 7840 Yates; 7922 Luella; 7925 Kingston; 7927 Essex;
                                7933 Kingston; 7953 Woodlawn; 7957 Marquette; 8000 Justine; 8030
                                Marquette; 8047 Manistee; 8100 Essex; 8104 Kingston; 8107 Ellis; 8107
                                Kingston; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326
                                Ellis; 8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517
                                Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn).

                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                               Page    5



     Date        Indiv Hours Description


     5/6/2022    KBD       1.40 Prepare for hearing on claims status before Judge Lee (all108) (.3);
                                telephone conference with SEC and J. Wine regarding hearing before Judge
                                Lee (all108) (.2); appear before Judge Lee (all108) (.7); exchange
                                correspondence with M. Rachlis and J. Wine regarding claims groups and
                                claims process (10012 LaSalle; 1017 W 102nd; 1102 Bingham; 11117
                                Longwood; 1131 E 79th; 11318 Church; 1401 W 109th; 1414 E 62nd;
                                1422 E 68th; 1516 E 85th; 1700 W Juneway; 2129 W 71st; 2136 W 83rd;
                                2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3213
                                Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 431 E 42nd; 4315 Michigan;
                                4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437
                                Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E
                                92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355 Talman; 6356
                                California; 638 N Avers; 6437 Kenwood; 6554 Rhodes; 6554 Vernon; 6749
                                Merrill; 6759 Indiana; 6807 Indiana; 6825 Indiana; 6949 Merrill; 701 S 5th;
                                7024 Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet; 7110 Cornell; 7201
                                Dorchester; 7210 Vernon; 7237 Bennett; 7255 Euclid; 7300 St Lawrence;
                                7301 Stewart; 7442 Calumet; 7450 Luella; 7500 Eggleston; 7508 Essex; 7546
                                Saginaw; 7549 Essex; 7600 Kingston; 7656 Kingston; 7701 Essex; 7712
                                Euclid; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7922
                                Luella; 7925 Kingston; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957
                                Marquette; 8000 Justine; 8030 Marquette; 8047 Manistee; 8100 Essex; 8104
                                Kingston; 8107 Ellis; 8107 Kingston; 816 E Marquette; 8201 Kingston; 8209
                                Ellis; 8214 Ingleside; 8326 Ellis; 8346 Constance; 8403 Aberdeen; 8405
                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell;
                                9610 Woodlawn) (.2).

                                Claims Administration & Objections

                 KBD       0.20 Attention to communication with claimant regarding hearing before Judge Lee
                                on claims (all) (.1); study correspondence from J. Wine regarding claims
                                amounts (all108) (.1).

                                Claims Administration & Objections

     5/9/2022    KBD       1.10 Exchange correspondence with A. Porter regarding entities owning properties
                                in relation to potential claims and distribution issues (3074 Cheltenham; 7201
                                Constance; 7625 East End; 7635 East End; 7750 Muskegon) (.1); exchange
                                correspondence with A. Porter regarding entities owning properties in relation
                                to potential claims and distribution issues (6749 Merrill; 7110 Cornell) (.1);
                                analysis of potential distribution and exchange related correspondence with M.
                                Rachlis and J. Wine (6749 Merrill; 7110 Cornell) (.3); draft correspondence to
                                tax advisors regarding analysis of issues related to distribution planning (6749
                                Merrill; 7110 Cornell) (.4); draft correspondence to E. Duff regarding analysis
                                of insurance premium issues (6749 Merrill; 7110 Cornell) (.2).


                                Claims Administration & Objections

                 KBD       0.50 Exchange correspondence with A. Watychowicz regarding communications
                                with claimants regarding hearing before Judge Lee relating to claims process
                                (all) (.3); exchange correspondence with A. Watychowicz and J. Wine
                                regarding communication with claimant regarding claim against former EB
                                property (defer) (.2).


                               Claims Administration & Objections
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       Date        Indiv Hours Description


       5/10/2022 KBD         0.20 Exchange correspondence with J. Wine and A. Watychowicz regarding
                                  communication with claimants regarding claims process and timing (1102
                                  Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422
                                  E 68th; 1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E
                                  79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel;
                                  4533 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450
                                  Indiana; 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160
                                  MLK; 6217 Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N
                                  Avers; 6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th;
                                  7024 Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester;
                                  7237 Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet;
                                  7450 Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600
                                  Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles;
                                  7834 Ellis; 7840 Yates; 7927 Essex; 7933 Essex; 7933 Kingston; 7937
                                  Essex; 7943 Essex; 7947 Essex; 7953 Woodlawn; 7957 Marquette; 8000
                                  Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201
                                  Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8352
                                  Ellis; 8405 Marquette; 8800 Ada).

                                  Claims Administration & Objections

       5/23/2022 KBD         0.10 Attention to communications relating to hearing transcript (all).

                                  Claims Administration & Objections

       5/24/2022 KBD         0.40 Work with A. Watychowicz on communication with claimants regarding
                                  claims position statement and remaining groups (1102 Bingham; 11117
                                  Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W
                                  Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th;
                                  3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611
                                  Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK;
                                  5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217
                                  Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437
                                  Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton;
                                  7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett;
                                  7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella;
                                  7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston;
                                  7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834
                                  Ellis; 7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957
                                  Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E
                                  Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405
                                  Marquette; 8800 Ada) (.2); exchange correspondence with M. Rachlis
                                  regarding communication with counsel for claimant regarding potential
                                  distribution and related analysis (6749 Merrill; 7110 Cornell) (.2).

                                  Claims Administration & Objections


SUBTOTAL:                                                                                   [ 8.40        3276.00]
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Status Reports

        Date        Indiv Hours Description

        5/2/2022    KBD       0.20 Telephone conference with SEC.

                                   Status Reports

        5/5/2022    KBD       0.10 Draft correspondence to counsel regarding information relating to state
                                   court action for status report.

                                   Status Reports


SUBTOTAL:                                                                                  [ 0.30            117.00]

Tax Issues

        5/9/2022    KBD       0.20 Exchange correspondence with K. Pritchard and accounting firm
                                   representative regarding notice from IRS regarding alleged tax and
                                   collection.

                                   Tax Issues

        5/17/2022 KBD         1.20 Confer with tax advisors regarding tax analysis relating to properties (1.0);
                                   exchange correspondence with J. Rak regarding records for tax advisors (.1);
                                   exchange correspondence regarding notice from collection agency regarding
                                   receivership entity and exchange related correspondence with J. Wine (.1).

                                   Tax Issues

        5/23/2022 KBD         0.20 Attention to correspondence from IRS and exchange related correspondence
                                   with K. Pritchard.

                                   Tax Issues

        5/25/2022 KBD         0.30 Work on information for tax advisors regarding property sales and valuation
                                   information and exchange related correspondence.

                                   Tax Issues

        5/26/2022 KBD         0.20 Exchange correspondence with J. Rak regarding information for tax advisors
                                   regarding property sales and valuation information.

                                   Tax Issues


SUBTOTAL:                                                                                  [ 2.10            819.00]




                                                                                            22.50        $8,775.00
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                                    Summary of Activity
                                                               Hours     Rate
Kevin B. Duff                                                  22.50   390.00   $8,775.00
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                                   SUMMARY


               Legal Services                                   $8,775.00
               Other Charges                                        $0.00

                  TOTAL DUE                                     $8,775.00
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                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                              Suite 900                                      fax (312) 733-3952
                                       Chicago, Illinois 60605




July 22, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No. 6621147
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



 Legal Fees for June 2022                                                     $4,329.00

 Expenses Disbursed                                                              $0.00


 Due this Invoice                                                             $4,329.00
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         Date          Indiv ----
                       ---   Hours -------------------------------------------
                                   Description

Asset Analysis & Recovery

         6/21/2022 KBD 0.50 Study motion to approve settlement in third party action (.3); telephone conference
                               with SEC (.2).

                                   Asset Analysis & Recovery

         6/23/2022 KBD        0.10 Exchange correspondence with A. Watychowicz regarding information
                                   regarding third party action.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                  [ 0.60            234.00]

Business Operations

         6/13/2022 KBD        0.10 Correspondence with J. Wine regarding municipal code violation notice and
                                   related communication with City ownership dispute division (4533 Calumet).

                                   Business Operations

         6/26/2022 KBD        0.10 Exchange correspondence with E. Duff regarding insurance premium
                                   analysis (all).

                                   Business Operations

         6/27/2022 KBD        0.60 Confer and exchange correspondence with E. Duff regarding cost and
                                   reimbursement analysis for properties (6749 Merrill; 7110 Cornell).

                                   Business Operations

         6/29/2022 KBD        0.40 Telephone conference with E. Duff regarding calculation and analysis of
                                   insurance premium allocations (6749 Merrill; 7110 Cornell).

                                   Business Operations


SUBTOTAL:                                                                                  [ 1.20            468.00]

Case Administration

         6/7/2022     KBD     0.20 Attention to EB records hard drive, change of custody, and communication
                                   with vendor.

                                   Case Administration

         6/9/2022     KBD     0.20 Review information regarding receivership expenses.

                                   Case Administration

         6/15/2022 KBD        0.80 Telephone conference with M. Rachlis receivership expense issues (.4);
                                   telephone conference with J. Wine regarding receivership expenses, request
                                   for information relating to third party litigation, and EB documents database
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    Kevin B. Duff, Receiver                                                                               Page   3



         Date       Indiv Hours Description

                                   review and related issues (.4).

                                   Case Administration

         6/21/2022 KBD        0.20 Exchange correspondence regarding database training (.1); attention to
                                   communication from claimant regarding various receivership issues (.1).


                                   Case Administration

         6/28/2022 KBD        0.10 Exchange correspondence with J. Wine regarding potential response to
                                   communication regarding third party litigation.

                                   Case Administration

         6/30/2022 KBD        0.20 Confer with J. Wine regarding document database and cost issues and related
                                   communications with claimants’ counsel.

                                   Case Administration


SUBTOTAL:                                                                                  [ 1.70            663.00]

Claims Administration & Objections

         6/1/2022   KBD       0.10 Attention to correspondence with claimant regarding supplemental
                                   documentation (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W
                                   109th; 1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E
                                   81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315
                                   Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001
                                   Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001
                                   Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355
                                   Talman; 6356 California; 638 N Avers; 6437 Kenwood; 6554 Vernon; 6807
                                   Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett;
                                   7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255 Euclid; 7300 St
                                   Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500 Eggleston; 7508
                                   Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656 Kingston; 7701
                                   Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927
                                   Essex; 7933 Kingston; 7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047
                                   Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston; 8209
                                   Ellis; 8214 Ingleside; 8326 Ellis; 8405 Marquette; 8800 Ada).

                                   Claims Administration & Objections

         6/6/2022   KBD       0.10 Confer with M. Rachlis regarding gathering information for claimant's counsel
                                   regarding potential distribution and cost allocation issues (7110 Cornell; 6571
                                   Merrill).

                                   Claims Administration & Objections

         6/13/2022 KBD        0.10 Study correspondence from J. Wine regarding analysis of produced records
                                   and related claims issues (10012 LaSalle; 1017 W 102nd; 11318 Church;
                                   1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213
                                   Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554
                                   Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St
                                   Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
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     Date        Indiv Hours Description

                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston; 8107
                                Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen;
                                8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 9610 Woodlawn).

                                Claims Administration & Objections

     6/15/2022 KBD         0.10 Telephone conference with J. Wine regarding analysis of claims (1102
                                Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422
                                E 68th; 1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E
                                79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel;
                                4533 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450
                                Indiana; 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160
                                MLK; 6217 Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N
                                Avers; 6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th;
                                7024 Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester;
                                7237 Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet;
                                7450 Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600
                                Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles;
                                7834 Ellis; 7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957
                                Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E
                                Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405
                                Marquette; 8800 Ada).

                                Claims Administration & Objections

                 KBD       1.20 Confer with M. Rachlis and J. Wine regarding analysis of claims against
                                institutional lender claimant properties and potential procedures for resolution
                                of claims (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th;
                                1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W
                                68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759
                                Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712
                                Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953
                                Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107
                                Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405
                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell;
                                9610 Woodlawn).

                                Claims Administration & Objections

                 KBD       0.10 Attention to communication with counsel for claimant regarding produced
                                records (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516
                                E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th;
                                406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759
                                Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712
                                Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953
                                Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107
                                Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405
                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 9610 Woodlawn).

                                Claims Administration & Objections

     6/17/2022 KBD         1.10 Telephone conference with A. Watychowicz regarding claims against property
                                and (8326 Ellis) (.1); attention to multiple communications from claimant
                                regarding claims documentation (all108) (.2); telephone conference and
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     Date        Indiv Hours Description

                                exchange correspondence with M. Rachlis regarding resolution of issues
                                relating to distribution and communication with claimant's counsel (6749
                                Merrill; 7110 Cornell) (.8).

                                Claims Administration & Objections

     6/21/2022 KBD         0.20 Exchange correspondence with A. Watychowicz regarding communication
                                with claimant regarding claims process issues (all108).

                                Claims Administration & Objections

     6/22/2022 KBD         0.40 Telephone conference with M. Rachlis regarding settlement of third party
                                action and related issues (all108) (.2); telephone conference and exchange
                                correspondence with M. Rachlis regarding resolution of issues relating to
                                distribution and communication with claimant's counsel (6749 Merrill; 7110
                                Cornell) (.1); exchange correspondence with E. Duff regarding resolution of
                                issues relating to distribution for properties (6749 Merrill; 7110 Cornell) (.1).


                                Claims Administration & Objections

     6/23/2022 KBD         0.60 Draft correspondence to K. Pritchard regarding requested information relating
                                to potential distribution for properties (6749 Merrill; 7110 Cornell) (.1);
                                exchange correspondence with M. Rachlis regarding analysis of issues
                                relating to potential distribution (6749 Merrill; 7110 Cornell) (.2); exchange
                                correspondence with E. Duff and accounting firm representative regarding
                                analysis of insurance premium issues in relation to potential distribution
                                (6749 Merrill; 7110 Cornell) (.2); exchange correspondence with tax advisors
                                regarding analysis of potential tax issues impacting distribution (6749 Merrill;
                                7110 Cornell) (.1).

                                Claims Administration & Objections

     6/25/2022 KBD         0.20 Exchange correspondence with tax advisors regarding analysis of potential
                                tax issues impacting distribution and timing for response (6749 Merrill; 7110
                                Cornell) (.1); draft correspondence to E. Duff regarding analysis of insurance
                                allocation issues impacting potential distribution (6749 Merrill; 7110 Cornell)
                                (.1).

                                Claims Administration & Objections

     6/26/2022 KBD         0.10 Exchange correspondence with E. Duff regarding insurance refund analysis
                                (7110 Cornell).

                                Claims Administration & Objections

     6/27/2022 KBD         0.20 Exchange correspondence with counsel for claimants regarding status pf
                                claims process (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th;
                                1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909
                                E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan;
                                4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437
                                Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E
                                92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355 Talman; 6356
                                California; 638 N Avers; 6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949
                                Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet;
                                7201 Dorchester; 7237 Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart;
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     Date        Indiv Hours Description

                                7442 Calumet; 7450 Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549
                                Essex; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates;
                                7760 Coles; 7834 Ellis; 7840 Yates; 7927 Essex; 7933 Kingston; 7953
                                Woodlawn; 7957 Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107
                                Ellis; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis;
                                8405 Marquette; 8800 Ada).


                                Claims Administration & Objections

     6/27/2022 KBD         0.10 Review correspondence from A. Watychowicz regarding communication with
                                counsel for investor regarding status pf claims process (1102 Bingham;
                                11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th;
                                1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310
                                E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533
                                Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana;
                                5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217
                                Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437
                                Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton;
                                7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett;
                                7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella;
                                7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston;
                                7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis;
                                7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957 Marquette;
                                8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201
                                Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405 Marquette; 8800 Ada).


                                Claims Administration & Objections

     6/28/2022 KBD         1.10 Telephone conference with counsel for lender regarding potential distribution
                                and timing for response (6749 Merrill; 7110 Cornell) (.2); further confer with
                                M. Rachlis regarding issues impacting potential distribution and timing for
                                response (6749 Merrill; 7110 Cornell) (.3); exchange correspondence with J.
                                Wine regarding hearing before Judge Kim regarding properties (6749 Merrill;
                                7110 Cornell) (.1); confer with E. Duff regarding analysis of insurance
                                premium and cost reimbursement issues impacting distribution (6749 Merrill;
                                7110 Cornell) (.3); draft correspondence to M. Rachlis and J. Wine regarding
                                issues impacting potential distribution (6749 Merrill; 7110 Cornell) (.2).


                                Claims Administration & Objections

     6/29/2022 KBD         0.20 Exchange correspondence regarding analysis of single claim properties and
                                related communication with claimant's counsel (10012 LaSalle; 1017 W 102nd;
                                11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E
                                50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E
                                92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon;
                                7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston; 8107
                                Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403
                                Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn).

                                Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                              Page       7



         Date       Indiv Hours Description

         6/30/2022 KBD        0.70 Confer with J. Wine and M. Rachlis regarding analysis of single claim
                                   properties in relation to properties involving same lender and other claims
                                   (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th;
                                   2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E
                                   87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana;
                                   6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid;
                                   7760 Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn;
                                   8000 Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston;
                                   8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405
                                   Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212
                                   Parnell; 9610 Woodlawn) (.4); confer with E. Duff regarding analysis of
                                   insurance premium refunds and allocation to properties (6749 Merrill; 7110
                                   Cornell) (.3).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                   [ 6.60        2574.00]

Tax Issues

         6/3/2022   KBD       0.90 Telephone conference with tax advisors regarding potential tax issues relating
                                   to property sales (.4); exchange correspondence with tax advisors regarding
                                   property valuation information (.3); exchange correspondence with asset
                                   manager regarding property valuation information (.1); exchange
                                   correspondence with K. Pritchard regarding notice from collection firm (.1).

                                   Tax Issues

         6/22/2022 KBD        0.10 Draft correspondence to tax advisors regarding analysis relating to
                                   properties.

                                   Tax Issues


SUBTOTAL:                                                                                   [ 1.00          390.00]




                                                                                            11.10        $4,329.00



                                                Summary of Activity
                                                                                    Hours       Rate
Kevin B. Duff                                                                       11.10     390.00     $4,329.00
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                                   SUMMARY


               Legal Services                                   $4,329.00
               Other Charges                                        $0.00

                  TOTAL DUE                                     $4,329.00
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                Exhibit *
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                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                           tel (312) 733-3950
                                              Suite 900                                    fax (312) 733-3952
                                       Chicago, Illinois 60605




July 22, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                          Invoice No. 6622145
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



 Legal Fees for April 2022                                                $50,478.00

 Expenses Disbursed                                                           $680.38


 Due this Invoice                                                         $51,158.38
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    Kevin B. Duff, Receiver                                                                             Page 2




         Date         Indiv Hours Description

Accounting/Auditing

         4/5/2022     KMP     0.20 Communicate with J. Rak regarding issues concerning schedules of receipts
                                   and disbursements for 2021 in connection with her review of net property
                                   income (6749 Merrill; 4520 Drexel).

                                   Accounting/Auditing

         4/6/2022     KMP     0.90 Further communication with J. Rak regarding issues concerning schedules of
                                   receipts and disbursements for 2021 in connection with her review of net
                                   property income (1401 W 109th; 7237 Bennett) (.2); prepare schedules of
                                   receipts and disbursements for Receiver's accounts for March 2022 (defer)
                                   (.7).

                                   Accounting/Auditing


SUBTOTAL:                                                                                 [ 1.10          154.00]

Asset Analysis & Recovery

         4/4/2022     KMP     0.10 Communicate with K. Duff and J. Wine regarding annual statement for life
                                   insurance policy.

                                   Asset Analysis & Recovery

         4/15/2022 AW         0.50 Research emails and related communications with K. Duff.


                                   Asset Analysis & Recovery

         4/18/2022 MR         0.20 Telephone conference with SEC and K. Duff.



                                   Asset Analysis & Recovery

         4/26/2022 KMP        0.10 Attention to email regarding trial date change and update docket.


                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                 [ 0.90          176.00]

Asset Disposition

         4/3/2022     AEP     0.40 Review title indemnity associated with receivership property, review
                                   administrative judgment and purported release thereof, and prepare e-mail
                                   to outside counsel for City of Chicago requesting preparation and recording
                                   of amended release containing correct legal description (7748 Essex).

                                   Asset Disposition
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     Date        Indiv Hours Description

     4/4/2022    JR        0.20 Review email from K. Duff requesting information for post-closing
                                reconciliation for property and provide detailed information regarding same
                                (638 Avers).

                                Asset Disposition

     4/5/2022    JR        0.40 Review emails related to water credit refund and exchange communication
                                with A. Porter and property management requesting status of water credit
                                refund (7109 Calumet).

                                Asset Disposition

                 KMP       0.40 Review prior correspondence with property manager regarding
                                post-closing reconciliation for sold property, and related communications with
                                K. Duff and J. Rak (638 Avers) (.3); prepare correspondence to property
                                manager requesting disbursement of post-closing funds (638 Avers) (.1).

                                Asset Disposition

     4/11/2022 KMP         0.20 Review property bank account relating to post-sale distribution by property
                                manager and related communications with K. Duff and J. Rak (7109
                                Calumet).

                                Asset Disposition

     4/18/2022 JR          0.40 Review email from K. Duff regarding a refund check received from the title
                                company related to a post-closing holdback and refund of same (7748
                                Essex) (.1); further communication with the title company, K. Pritchard and
                                K. Duff related to a discrepancy regarding amount refunded and further
                                investigate same (7748 Essex) (.3).

                                Asset Disposition

                 KMP       0.20 Communicate with K. Duff, A. Porter, and J. Rak regarding title company's
                                post-sale release of funds (7748 Essex).

                                Asset Disposition

     4/19/2022 KMP         0.20 Further communication with K. Duff, A. Porter, and J. Rak regarding title
                                company's post-sale release of funds (7748 Essex).

                                Asset Disposition

     4/20/2022 JR          0.50 Review email from buyer's attorney requesting subsidy payments received for
                                previously sold property (7109 Calumet) (.1); further correspondence with
                                buyer's attorney and property management requesting information requested
                                by buyer's counsel pertaining to subsidy payments for March 2022 and after
                                property sold (7109 Calumet) (.4).

                                Asset Disposition

     4/22/2022 JR          0.60 Review email from K. Pritchard requesting closed property spreadsheet which
                                included account numbers, research same and provide requested information
                                to K. Pritchard (all) (.3); communication with buyer's counsel and property
                                management regarding March rent payment for previously sold property
                                (7109 Calumet) (.3).

                                Asset Disposition
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    Kevin B. Duff, Receiver                                                                                 Page 4



        Date          Indiv Hours Description


        4/22/2022 KMP         0.80 Prepare spreadsheet identifying properties for which sales proceeds were
                                   deposited to Receiver's accounts and related communications with EB team
                                   (7500 Eggleston; 7549 Essex; 7301 Stewart; 3030 E 79th; 2909 E 78th).


                                   Asset Disposition

        4/27/2022 JR          0.10 Exchange communication with the management company requesting an
                                   update on the water refund from the City of Chicago (7109 Calumet).


                                   Asset Disposition

        4/28/2022 JR          1.30 Review communication from property management regarding the water
                                   application and refund status, respond accordingly and further communicate
                                   with the City of Chicago water department requesting status of water refund
                                   and request to expedite same the process and issue refund check (7109
                                   Calumet) (1.1); further correspondence with K. Duff, K. Pritchard and property
                                   management company providing information regarding the water refund check
                                   (7109 Calumet) (.2).

                                   Asset Disposition

                      KMP     0.30 Review financial records relating to payment of water bills for property in
                                   connection with post-sale refund and related communications with K. Duff
                                   and J. Wine (7109 Calumet).

                                   Asset Disposition


SUBTOTAL:                                                                                    [ 6.00            940.00]

Business Operations

        4/1/2022      JR      1.30 Extensive review monthly reporting and compare and analyze with tax firm
                                   reports (all) (.5); exchange correspondence with tax consultant and request
                                   missing property reports (7450 Luella; 4520 Drexel; 5450 Indiana; 6437
                                   Kenwood; 11117 Longwood; 7110 Cornell; 7051 Bennett; 3074 Cheltenham;
                                   7201 Constance; 1700 Juneway; 7508 Essex) (.5); follow up correspondence
                                   with insurance firm requesting confirmation of property refunds (7201
                                   Constance; 7110 Cornell; 5618 MLK; 6356 California; 7201 Constance) (.3).

                                   Business Operations

                      MR      0.20 Attention to issues regarding new foreclosure suit (defer).

                                   Business Operations

        4/4/2022      JR      5.40 Extensive review of monthly property reports for all of 2021 (all) (4.8); review
                                   emails from accountant pertaining to missing property reports and
                                   spreadsheet and further exchange communication (all) (.6).


                                   Business Operations
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     Date        Indiv Hours Description


     4/4/2022    JRW       0.30 Exchange correspondence regarding counsel's request to accept service in
                                state court foreclosure action (defer) (.2); review notice of violation and related
                                correspondence with K. Duff (8209 Ellis) (.1).

                                Business Operations

                 KMP       0.10 Communicate with K. Duff and J. Wine regarding notice of violation regarding
                                EB property (8209 Ellis).

                                Business Operations

     4/5/2022    JR        6.40 Extensive review of monthly property reports for all of 2021 (all) (4.8);
                                communication with K. Pritchard pertaining to various property allocation of
                                funds relating to funds wired out and confirmation of same (6751 Merrill; 4520
                                Drexel; 1401 W 109th; 7237 Bennett) (.5); review and confirm on December
                                2020 reporting discrepancies related to properties (7255 Euclid; 7109
                                Calumet) (.8); exchange correspondence with E. Duff and accountant
                                requesting corrections to be made to reporting spreadsheet (7255 Euclid;
                                7109 Calumet) (.3).

                                Business Operations

     4/6/2022    JR        3.50 Extensive review of monthly property reports for all of 2021 (all) (2.8); review
                                email communication from K. Pritchard pertaining to various property
                                allocation of funds relating to funds wired out and confirmation of same (1401
                                W 109th; 7237 Bennett) (.1); exchange correspondence with property
                                management requesting property reports and save in electronic files (7109
                                Calumet) (.2); draft and update email communication related to status of all
                                property reporting to accounting firm (all) (.4).

                                Business Operations

     4/7/2022    AW        0.10 Attention to new lawsuit, related email to K. Duff, and docket update (defer).


                                Business Operations

                 MR        0.10 Attention to new lawsuit and responsive pleading date (defer).

                                Business Operations

     4/8/2022    JRW       0.30 Confer with K. Duff, M. Rachlis and A. Porter regarding state foreclosure
                                actions, stipulated order, and voice message from lenders' counsel regarding
                                removal (defer).

                                Business Operations

                 MR        0.30 Attention to various issues regarding foreclosure action (defer).

                                Business Operations
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     Date        Indiv Hours Description

     4/11/2022 JRW         0.60 Telephone conference with claimants' counsel regarding request for consent to
                                removal, legal research regarding statute, and related communications with M.
                                Rachlis and K. Duff (defer).

                                Business Operations

     4/12/2022 KMP         0.20 Communicate with J. Rak to follow up on spreadsheet from insurance broker
                                identifying premium refunds for sold properties (all).

                                Business Operations

     4/13/2022 JRW         0.10 Telephone conference with E. Duff regarding restoration and reimbursement
                                motion (all).

                                Business Operations

     4/15/2022 AW          0.10 Call with J. Wine regarding pending deadlines to answer new complaints
                                (defer).

                                Business Operations

     4/17/2022 MR          0.40 Attention to appearance in state court matter and related follow up (defer).


                                Business Operations

     4/18/2022 AW          0.10 Communicate with M. Rachlis regarding filed complaints and related plan
                                (defer).

                                Business Operations

                 JRW       0.10 Exchange correspondence with M. Rachlis regarding state court action (defer).


                                Business Operations

                 MR        0.30 Attention to emails and follow up regarding filed state court complaints (defer).


                                Business Operations

     4/27/2022 JR          0.20 Review emails from K. Duff and J. Wine requesting information related to the
                                lender escrow reserves and real estate tax payment and respond accordingly
                                (all).

                                Business Operations

                 JRW       0.60 Review order and transcript in state court matter (7748 Essex) (.2);
                                correspondence with counsel for class action litigants regarding claim and
                                contact information (defer) (.4).

                                Business Operations

     4/29/2022 JR          0.30 Continued follow up correspondence with insurance firm requesting
                                confirmation of property refunds (7201 Constance; 7110 Cornell; 5618 MLK;
                                6356 California; 7201 Constance) (.2); exchange communication with E. Duff
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         Date         Indiv Hours Description

                                   regarding property insurance refunds (all) (.1).

                                   Business Operations


SUBTOTAL:                                                                                  [ 21.00        3505.00]

Case Administration

         4/5/2022     AW      0.70 Prepare update to receivership website and related email exchange with IT
                                   vendor (.5); communicate with K. Duff regarding drive and accounting
                                   software (.2).

                                   Case Administration

         4/6/2022     JRW     0.10 Telephone conference with claimants' counsel regarding database export.


                                   Case Administration

         4/14/2022 AW         0.10 Communicate with IT vendor regarding billing.

                                   Case Administration

         4/15/2022 AW         0.40 Attention to entered order and related email to counsel (.1); communicate with
                                   J. Wine regarding email to claimants and send out email notifying about
                                   change of hearing date (.3).

                                   Case Administration

                      JRW     0.30 Research and exchange correspondence with K. Duff and K. Pritchard
                                   regarding vendor invoice (.2); telephone conference with A. Watychowicz
                                   regarding deadline to answer state court complaint (.1).


                                   Case Administration

         4/18/2022 AW         0.50 Communicate with K. Duff regarding update to website (.1); prepare list of
                                   pending motions and related email exchanges with J. Wine, K. Pritchard,
                                   and K. Duff (.4).

                                   Case Administration

                      JRW     0.40 Review docket and update list of pending motions (.3); correspondence to
                                   vendor regarding duplicative invoices (.1).

                                   Case Administration

                      MR      0.30 Telephone conference with SEC and K. Duff.


                                   Case Administration

         4/22/2022 AW         0.20 Attention to entered order, related communication with K. Duff, and docket
                                   update.


                                   Case Administration
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    Kevin B. Duff, Receiver                                                                                 Page 8



         Date       Indiv Hours Description




         4/24/2022 JRW        0.10 Exchange correspondence regarding notice to claimants.

                                     Case Administration

         4/25/2022 AW         2.60 Attention to and start extensive revisions to email service list and related
                                   communication with J. Wine.

                                     Case Administration

         4/28/2022 AW         0.30 Review EB web page and request revisions to EB web page.

                                     Case Administration

         4/29/2022 AW         0.30 Attention to filed status report and serve as per service list.

                                     Case Administration

                    AW        0.10 Attention to filed status report and communicate with counsel regarding
                                   service email.

                                     Case Administration

         4/30/2022 AW         0.40 Attention to filed position statement and serve as per service list.

                                     Case Administration


SUBTOTAL:                                                                                     [ 6.80          1135.00]

Claims Administration & Objections

         4/4/2022   JR        0.20 Review email from J. Wine relating to Group 1 property excerpts and saving
                                   additional excerpts for various claimants (3074 Cheltenham; 7625 East
                                   End; 7635 East End; 7750 Muskegon; 7201 Constance).

                                   Claims Administration & Objections

                    JRW       1.30 Telephone conference with counsel for claimants regarding potential
                                   settlement and claimant contact list, related review of draft exhibits, and
                                   prepare summary of call (defer) (.6): prepare materials supporting
                                   Receiver's position on claims and related correspondence to J. Rak (Group
                                   1) (.7).

                                   Claims Administration & Objections

         4/5/2022   AW        0.50 Respond to claimants requesting claims process update (all) (.4);
                                   attention to emails from claimants and communicate with J. Wine
                                   regarding updated response regarding claims process (all) (.1).

                                   Claims Administration & Objections
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     Date        Indiv Hours Description

     4/5/2022    JRW       0.60 Research and draft response to claimant inquiries regarding valuation of
                                investment, change in ownership, or transfer of IRA custodian (all) (.4);
                                telephone conference with A. Watychowicz regarding standard response to
                                claimant inquiries regarding claims process (all) (.1); correspondence
                                regarding response to claimant inquiry (all) (.1).

                                Claims Administration & Objections

     4/6/2022    AW        0.30 Upload claims files for J. Rak review (1700 Juneway; 5450 Indiana; 7749
                                Yates; 6160 MLK; 6949 Merrill).

                                Claims Administration & Objections

                 JR        0.80 Conference with J. Wine and K. Duff related to claimant document review and
                                next steps pertaining to same (1700 Juneway; 5450 Indiana; 7749 Yates;
                                6160 MLK; 6949 Merrill).

                                Claims Administration & Objections

                 JRW       1.20 Conference with J. Rak and K. Duff regarding claims analysis and related
                                preparation for same (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401
                                W 109th; 1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E
                                81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315
                                Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001
                                Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001
                                Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355
                                Talman; 6356 California; 638 N Avers; 6437 Kenwood; 6554 Vernon; 6807
                                Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett;
                                7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255 Euclid; 7300 St
                                Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500 Eggleston; 7508
                                Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656 Kingston; 7701
                                Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927
                                Essex; 7933 Essex; 7933 Kingston; 7937 Essex; 7943 Essex; 7947 Essex;
                                7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047 Manistee; 8100 Essex;
                                8107 Ellis; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326
                                Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 8405 Marquette; 8800 Ada).

                                Claims Administration & Objections

     4/7/2022    AW        0.50 Respond to emails from claimants requesting update (all).


                                Claims Administration & Objections

                 JR        6.60 Review email from J. Wine requesting the consolidation of additional claimant
                                documents related to properties (3074 Cheltenham; 7625 East End; 7635
                                East End; 7750 Muskegon; 7201 Constance) (1.2); further communication
                                with J. Wine regarding additional proof of claim documents (3074
                                Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                                Constance) (.1); update excel spreadsheets related to claimant supporting
                                document review for properties (1700 Juneway; 5450 Indiana; 7749 Yates;
                                6160 MLK; 6949 Merrill) (.5); extensive review of claims (1700 Juneway) (4.8).

                                Claims Administration & Objections
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     Date        Indiv Hours Description

     4/7/2022    JRW       0.20 Revise standard response to claimant inquiries regarding claims process and
                                related correspondence with K. Duff and A. Watychowicz (all).

                                Claims Administration & Objections

     4/8/2022    JR        3.30 Extensive review of claims for property, update spreadsheet, compile proof of
                                claim documents, save in electronic file (1700 Juneway).

                                Claims Administration & Objections

                 JRW       0.40 Review third party productions, correspondence with A. Porter regarding
                                releases, and correspondence to counsel for loan originator regarding status of
                                document production in response to subpoena (1017 W 102nd; 10012 LaSalle;
                                11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E
                                87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon;
                                7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette; 8104 Kingston; 8107
                                Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529
                                Rhodes; 9212 Parnell; 9610 Woodlawn).


                                Claims Administration & Objections

     4/11/2022 MR          0.20 Send claims status on sole lien review to J. Wine (sole lien).

                                Claims Administration & Objections

     4/12/2022 JR          4.50 Extensive review of claims for property, update spreadsheet, compile proof of
                                claim documents, save in electronic file (1700 Juneway).

                                Claims Administration & Objections

                 JRW       3.70 Correspond with M. Rachlis regarding discovery status and planning and
                                related review of notes, orders and discovery materials (sole lien) (.9); review
                                and analysis of document production (1017 W 102nd; 1516 E 85th; 2136 W
                                83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston;
                                8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529
                                Rhodes; 8800 Ada; 9212 Parnell) (2.0); begin review and analysis of
                                document production (10012 LaSalle; 11318 Church; 3213 Throop; 3723 W
                                68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon;
                                7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance;
                                8432 Essex; 8517 Vernon) (.8).

                                Claims Administration & Objections

                 MR        0.20 Attention to status update on claims (sole lien).

                                Claims Administration & Objections

     4/13/2022 AW          0.40 Review claim and related email response to claimants' representative (6355
                                Talman) (.2); email claimant regarding his request to be removed from mailing
                                list (defer) (.1); review claims and communicate with J. Rak regarding same
                                (all) (.1).

                                Claims Administration & Objections
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     Date        Indiv Hours Description

     4/13/2022 JR          3.80 Extensive review of claims for property, update spreadsheet, compile proof of
                                claim documents, save in electronic file (1700 Juneway).

                                Claims Administration & Objections

                 JRW       2.20 Telephone message to counsel for third party regarding response to
                                subpoena and related correspondence with M. Rachlis (10012 LaSalle; 1017
                                W 102nd; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213
                                Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana;
                                7210 Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette;
                                8104 Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen; 8432
                                Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.1);
                                continued review of production documents (10012 LaSalle; 11318 Church;
                                3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825
                                Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346
                                Constance; 8432 Essex; 8517 Vernon) (2.1).

                                Claims Administration & Objections

     4/14/2022 AW          0.40 Attention to filed motions to withdraw and related orders and updates to
                                emailing list (all).

                                Claims Administration & Objections

                 JR        1.60 Review and update damage analysis spreadsheet pertaining to property or
                                fund (11117 Longwood; 7500 Eggleston; 3030 E 79th; 7301 Stewart).

                                Claims Administration & Objections

                 JRW       4.80 Review and analyze documents produced pursuant to subpoena (2129 W
                                71st; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760 Coles; 9610
                                Woodlawn).

                                Claims Administration & Objections

     4/15/2022 AW          0.20 Attention to received power of attorney and related email to claimant (all)
                                (.1); communicate with J. Wine regarding claims process (1700 Juneway;
                                5450 Indiana; 7749 Yates; 6160 MLK; 6949 Merrill) (.1).

                                Claims Administration & Objections

                 JR        6.30 Review and update pertinent information related to damage analysis
                                spreadsheet pertaining to property or fund (7500 Eggleston; 3030 E 79th;
                                7301 Stewart; 2909 E 78th; 7549 Essex; 8047 Manistee).

                                Claims Administration & Objections

                 JRW       4.40 Review and analyze documents produced pursuant to subpoena (7110
                                Cornell; 6749 Merrill) (2.5); begin review and analyze of documents produced
                                pursuant to subpoena (7110 Cornell; 6749 Merrill) (1.4); review court order
                                regarding status hearing and related correspondence with team and revision
                                of notice email to claimants (all108) (.2); review documentation from claimant
                                and related correspondence with K. Duff (all) (.3).


                                Claims Administration & Objections
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     Date        Indiv Hours Description


     4/15/2022 KMP         0.20 Communications with K. Duff and J. Wine regarding claims database fees
                                (all108).

                                Claims Administration & Objections

     4/18/2022 AW          0.60 Correspond with J. Wine regarding change of custodian issue and related
                                emails to claimants (all) (.3); attention to voice messages and emails
                                requesting updates and provide email responses to claimants (all) (.3).


                                Claims Administration & Objections

                 JR        6.30 Review damage analysis spreadsheet pertaining to property (2909 E 78th;
                                7549 Essex; 8047 Manistee) (3.0); extensive review of claims for property,
                                update claimant spreadsheet with pertinent information and save various
                                supporting documents in electronic files (1700 Juneway) (3.3).

                                Claims Administration & Objections

                 JRW       6.90 Attention to claimant inquiries and related telephone conference with A.
                                Watychowicz regarding notices from IRA custodians (all) (.5); exchange
                                correspondence with third party regarding production in response to
                                subpoena (1017 W 102nd; 10012 LaSalle; 11318 Church; 1516 E 85th; 2129
                                W 71st; 2136 W 83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes;
                                6759 Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925
                                Kingston; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance;
                                8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610
                                Woodlawn) (.1); review and analyze documents produced pursuant to
                                subpoena (6749 Merrill; 7110 Cornell) (5.5); review and analyze documents
                                produced pursuant to subpoena (5450 Indiana; 6217 Dorchester; 6356
                                California; 6949 Merrill; 701 S 5th; 7600 Kingston) (.8).


                                Claims Administration & Objections

                 MR        0.40 Attention to calls regarding investor claims (all) (.1); telephone conference
                                with SEC and K. Duff (sole lien) (.3).


                                Claims Administration & Objections

     4/19/2022 AW          0.20 Attention to voice message requesting updates and provide email response
                                to claimant (all) (.1); communicate with counsel regarding claimants'
                                requests for dial info for next hearing (all108) (.1).

                                Claims Administration & Objections

                 JRW       5.90 Review releases and related analysis from A. Porter (2129 W 71st; 5437
                                Laflin; 9610 Woodlawn) (.2); continued analysis of claims and discovery
                                materials (sole lien) (2.4); confer with A. Watychowicz regarding
                                correspondence with claimants regarding rescheduled hearing (all108) (.1);
                                correspondence to court clerk regarding call-in information for upcoming
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     Date        Indiv Hours Description

                                hearing (all108) (.1); confer with M. Rachlis and K. Duff regarding upcoming
                                hearing (Group 1) (.2); confer with M. Rachlis and K. Duff regarding upcoming
                                hearing, analysis of claims and discovery materials (sole lien) (1.2); exchange
                                correspondence with claimants' counsel regarding production documents (1017
                                W 102nd; 10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W
                                83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825
                                Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette;
                                8104 Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex;
                                8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.1); prepare bullet
                                points for M. Rachlis regarding upcoming hearing (1017 W 102nd; 10012
                                LaSalle; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop;
                                406 E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210
                                Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette; 8104
                                Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex; 8517
                                Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.4); study financial
                                statements and related analysis to M. Rachlis and K. Duff (7710 Cornell; 6749
                                Merrill) (1.2).

                                Claims Administration & Objections

     4/19/2022 JRW         0.90 Review proofs of claim and prior correspondence and notes regarding loan
                                histories (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516
                                E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th;
                                406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759
                                Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712
                                Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953
                                Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107
                                Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405
                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell;
                                9610 Woodlawn).

                                Claims Administration & Objections

                 MR        2.40 Confer with K. Duff and J. Wine regarding hearing before Judge Lee and
                                consideration of issues that may be presented to the Court, analysis of
                                claims, and review of issues based on interim discovery obtained (sole lien)
                                (1.4); attention to various materials regarding claims analysis (sole lien) (.5);
                                confer with K. Duff and J. Wine regarding potential evidentiary hearing before
                                Judge Lee (Group 1) (.5).

                                Claims Administration & Objections

     4/20/2022 AW          0.60 Attention to entered order providing dial-in info for upcoming hearing and
                                related email exchanges with counsel (all108) (.2); communicate with J. Wine
                                regarding email to claimants and send out email notifying about change of
                                date (all108) (.3); confirm hearing details with claimants (all108) (.1).

                                Claims Administration & Objections

                 JRW       0.30 Exchange correspondence with court clerk regarding hearing link and related
                                communications with A. Watychowicz regarding notice to claimants (all108)
                                (.2); exchange correspondence with M. Rachlis regarding single claim
                                process (sole lien) (.1).

                                Claims Administration & Objections
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     Date        Indiv Hours Description


     4/20/2022 MR          0.60 Review order and email regarding status conference (all108) (.1); review
                                notes and materials from J. Wine regarding reviews of productions and
                                issues to prepare for upcoming hearing (sole lien) (.5).

                                Claims Administration & Objections

     4/21/2022 AW          1.50 Attention to email responses related to hearing and work on responses to
                                same (all108) (.2); confirm hearing details with claimants (all108) (.1); prepare
                                materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).


                                Claims Administration & Objections

                 JRW       2.30 Attention to claimant inquiries and related correspondence and drafts of
                                response to claimant inquiries regarding upcoming hearing (all108) (.6);
                                correspondence with claimants' counsel and vendor regarding EB document
                                database export (all108) (.1); prepare spreadsheet regarding claims and
                                offsets (1131 E 79th; 6749 Merrill; 7024 Paxton; 7110 Cornell) (.4); analysis
                                of issues related to single claim process and related correspondence to M.
                                Rachlis and K. Duff (sole lien) (.7); confer with A. Watychowicz regarding
                                notice to potential lienholders and related review of spreadsheets (10012
                                LaSalle; 1017 W 102nd; 3213 Throop; 406 E 87th; 6554 Rhodes; 6759
                                Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7925 Kingston; 8107
                                Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 9212 Parnell; 9610
                                Woodlawn) (.3); confer with M. Rachlis regarding upcoming hearing (sole
                                lien) (.2).

                                Claims Administration & Objections

                 MR        1.90 Prepare for hearing (sole lien) (1.7): attention to communications to investor
                                (1102 Bingham) (.2).

                                Claims Administration & Objections

     4/22/2022 AW          2.10 Review claims and service lists to obtain contact information for potential lien
                                holders and related email to J. Wine (sole lien) (1.4); communicate with K.
                                Duff regarding hearing and prepared materials (all108) (.1); prepare
                                spreadsheets illustrating lender's loan histories (10012 LaSalle; 1017 W
                                102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st;
                                2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417
                                Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana;
                                6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles;
                                7922 Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine;
                                8030 Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214
                                Ingleside; 8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex;
                                8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (.6).

                                Claims Administration & Objections

                 JRW       1.40 Appearance at status hearing on issues related to single claim process and
                                Group 1 proceedings (3074 Cheltenham; 7625 East End; 7635 East End;
                                7750 Muskegon; 7201 Constance; 1017 W 102nd; 10012 LaSalle; 11318
                                Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E 87th;
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                                417 Oglesby; 6554 Rhodes; 6749 Merrill; 6759 Indiana; 6825 Indiana; 7110
                                Cornell; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030
                                Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen;
                                8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.6);
                                telephone conference with claimants' counsel regarding status of document
                                production (1017 W 102nd; 10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W
                                71st; 2136 W 83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6759
                                Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston;
                                8030 Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance; 8403
                                Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610
                                Woodlawn) (.1); telephone conference with M. Rachlis and K. Duff regarding
                                position statement on single claim properties (sole lien) (.5); confer with A.
                                Watychowicz regarding creation of spreadsheets (1017 W 102nd; 10012 LaSalle;
                                11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E
                                87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon;
                                7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette; 8104 Kingston;
                                8107 Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon;
                                8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.2).

                                Claims Administration & Objections

     4/22/2022 KMP         0.20 Calculate total funds held in accounts for Group 1 properties and related
                                communication with K. Duff (Group 1).

                                Claims Administration & Objections

                 MR        2.20 Further prepare for and participate in hearing (3074 Cheltenham; 7625 East
                                End; 7635 East End; 7750 Muskegon; 7201 Constance; 1017 W 102nd;
                                10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd;
                                3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6749 Merrill; 6759
                                Indiana; 6825 Indiana; 7110 Cornell; 7210 Vernon; 7712 Euclid; 7922 Luella;
                                7925 Kingston; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346
                                Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212
                                Parnell; 9610 Woodlawn) (.9); telephone conference with K. Duff and J. Wine
                                regarding further efforts to obtain documents from claimant's counsel, review
                                related materials and possible structure for position statement (1017 W
                                102nd; 10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W
                                83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030
                                Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen;
                                8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn)
                                (.8); telephone conference with K. Duff and J. Wine regarding claims
                                analysis and position statements (sole lien) (.2); review materials regarding
                                claims analysis and for position statement (sole lien) (.3).

                                Claims Administration & Objections

     4/24/2022 JRW         2.50 Attention to analysis of claims and related correspondence regarding
                                analysis and production documents (1017 W 102nd; 10012 LaSalle;
                                11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406
                                E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210
                                Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette; 8104
                                Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex;
                                8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn).

                                Claims Administration & Objections
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     Date        Indiv Hours Description


     4/24/2022 MR          2.70 Review materials and prepare draft of initial submission and related
                                exchanges with J. Wine (sole lien).

                                Claims Administration & Objections

     4/25/2022 AW          0.50 Attention to production of documents from institutional lender, upload, and
                                related communication with counsel (10012 LaSalle; 1017 W 102nd;
                                11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd;
                                310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437
                                Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana;
                                7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925
                                Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette;
                                8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346
                                Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon;
                                8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (.3); attention to
                                document production from institutional lender and related email to J. Wine
                                (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516
                                E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th;
                                406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759
                                Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712
                                Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953
                                Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107
                                Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405
                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell;
                                9610 Woodlawn) (.1); communicate with J. Wine regarding past hearing
                                potential update to claimants (all108) (.1).

                                Claims Administration & Objections

                 JR        1.30 Extensive review of claims property, update claimant spreadsheet with
                                pertinent information and save various supporting documents in electronic
                                files (1700 Juneway).

                                Claims Administration & Objections

                 JRW       5.70 Drafting and revision of position statement for single claim properties (sole
                                lien) (2.1); conference call with counsel in class action regarding claims data
                                and claimant contact information (defer) (.2); email to K. Duff and A.
                                Watychowicz regarding claims data and claimant contact information (defer)
                                (.1); continued analysis of Midland claims and related conference with A.
                                Watychowicz regarding spreadsheets (10012 LaSalle; 1017 W 102nd; 11318
                                Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 3723 W 68th;
                                406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana;
                                6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles;
                                7922 Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8030 Marquette;
                                8104 Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen; 8405
                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell;
                                9610 Woodlawn) (2.0); correspond with K. Duff, M. Rachlis and telephone
                                conference with A. Watychowicz regarding court hearing and notice to
                                claimants regarding order (all108) (.2); begin reviewing loan originator
                                document production pursuant to subpoena and related correspondence
                                regarding same (1017 W 102nd; 10012 LaSalle; 11318 Church; 1516 E 85th;
                                2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554
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                                Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella;
                                7925 Kingston; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346
                                Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212
                                Parnell; 9610 Woodlawn) (1.1).


                                Claims Administration & Objections

     4/25/2022 MR          2.20 Further review of materials associated with claims analysis disclosure and
                                several related exchanges (sole lien) (2.0); attention to communications
                                regarding next hearing (all108) (.1); attention to class action related
                                communications and identification of claimants (defer) (.1).

                                Claims Administration & Objections

     4/26/2022 AW          1.30 Complete revisions to email service list and related communication with J.
                                Wine (all) (1.2); communicate with J. Wine regarding potential update to
                                claimants (all) (.1).

                                Claims Administration & Objections

                 JRW       5.90 Preparation of exhibits for position statement (6749 Merrill; 7110 Cornell)
                                (2.4); conference with K. Duff and M. Rachlis regarding analysis of claims and
                                position statement (sole lien) (.6); analyze claims and preparation of exhibits
                                for position statement (1017 W 102nd; 10012 LaSalle; 11318 Church; 1516 E
                                85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E 87th; 417 Oglesby;
                                6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922
                                Luella; 7925 Kingston; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346
                                Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212
                                Parnell; 9610 Woodlawn) (2.6); exchange correspondence regarding claim
                                analysis and further revise exhibits (sole lien) (.3).

                                Claims Administration & Objections

                 MR        1.00 Conferences regarding analysis of claims and position statement with K. Duff
                                and J. Wine related to properties (1017 W 102nd; 10012 LaSalle; 11318
                                Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E
                                87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon;
                                7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette; 8104 Kingston;
                                8107 Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon;
                                8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.6); conference regarding
                                claims and position statement (6749 Merrill; 7110 Cornell) (.3); attention to
                                issues on providing claims information in class action (defer) (.1).

                                Claims Administration & Objections

     4/27/2022 AW          0.20 Attention to institutional lender production and related email to counsel (sole
                                lien).

                                Claims Administration & Objections

                 ED        0.60 Telephone conference with J. Wine regarding reserve funds held by lenders
                                (sole lien) (.1); review documents and correspondence regarding reserve
                                funds held by lenders (sole lien) (.4); email correspondence with J. Wine, M.
                                Rachlis, and K. Duff regarding reserve funds held by lenders (sole lien) (.1).


                                Claims Administration & Objections
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     4/27/2022 JR          0.70 Exchange communication and review emails from J. Wine requesting a
                                review of lender exhibits and all the supporting documents related to the
                                sole lien claims regarding position statements (sole lien).

                                Claims Administration & Objections

                 JRW       8.10 Confer with A. Watychowicz regarding claimant inquiries regarding hearing
                                and prepare draft response (all) (.2); telephone conference and various email
                                exchanges with E. Duff, J. Rak and K. Duff regarding evidence relating to tax
                                payments and reserve accounts and related review of pleadings (sole lien)
                                (.6); legal research related to position statement (sole lien) (1.9); multiple
                                email exchanges and analysis regarding positions and arguments related to
                                single claim properties (sole lien) (1.5); further refine analysis and exhibit
                                (6749 Merrill; 7110 Cornell) (1.0); telephone conference with J. Rak
                                regarding project related to position statement exhibits (sole lien) (.4);
                                prepare chart of source material for exhibits (sole lien) (.9); further
                                refinement of spreadsheet analysis of claims for position statement (1017 W
                                102nd; 10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W
                                83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030
                                Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen;
                                8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.7);
                                review and revise draft position statement (sole lien) (.9).

                                Claims Administration & Objections

                 MR        3.30 Further work on charts and claims position submission and legal research
                                regarding same (sole lien).

                                Claims Administration & Objections

     4/28/2022 AW          1.30 Communicate with J. Wine regarding claims position submission (sole lien)
                                (.1); call with K. Pritchard regarding work on claims position submission on
                                single claim properties (sole lien) (.1); review claims against single claims
                                properties and related email to J. Wine (sole lien) (.4); review legal citations
                                in submission on single claim properties and related email to J. Wine (sole
                                lien) (.4); review statement concerning receivership assets, attention to
                                statements submitted during receivership, and related email to J. Wine (sole
                                lien) (.3).

                                Claims Administration & Objections

                 ED        0.90 Review and analysis of documents regarding reserve funds held by lenders
                                (sole lien) (.3); email correspondence with J. Wine and M. Rachlis regarding
                                reserve funds held by lenders and analysis of effect on claims (sole lien) (.6).

                                Claims Administration & Objections

                 JR        6.90 Exchange communication and review emails from J. Wine requesting a
                                review of lender exhibits and all the supporting documents related to the
                                sole lien claims regarding position statements and conduct review and
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                                analysis of same (sole lien) (1.2); review institutional lender exhibits and
                                their supporting document and compile all supporting documents and
                                produce to J. Wine (sole lien) (5.7).

                                Claims Administration & Objections

     4/28/2022 JRW 10.00 Analyze claimant loans and properties with liens of record and related
                         revision of exhibit to position statement (1017 W 102nd; 10012 LaSalle;
                         11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop;
                         406 E 87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210
                         Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette; 8104
                         Kingston; 8107 Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex;
                          8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (2.4); continued
                          drafting and revision of position statement for single claim properties and
                          review multiple redlines and communications regarding same (sole lien) (5.4);
                          confer with E. Duff regarding tax escrows and review documents regarding
                          same (1017 W 102nd; 10012 LaSalle; 11318 Church; 1516 E 85th; 2129 W
                          71st; 2136 W 83rd; 3213 Throop; 406 E 87th; 417 Oglesby; 6554 Rhodes;
                          6759 Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925
                          Kingston; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance;
                          8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212 Parnell; 9610
                          Woodlawn) (.3); confer with J. Rak regarding exhibits to position statement
                          and review comments regarding same (sole lien) (.6); review and revise
                          exhibits to position statement (sole lien) (1.2); confer with A. Watychowicz
                          regarding claims (8517 Vernon; 9610 Woodlawn) (.1).

                                Claims Administration & Objections

                 KMP       0.30 Review language of claims form approved by the court and related
                                communication with K. Duff (all108).

                                Claims Administration & Objections

                 MR        4.50 Work on drafts of position statement and exhibits and various related
                                exchanges (sole lien).

                                Claims Administration & Objections

     4/29/2022 AW          1.20 Respond to claimants' emails regarding status hearing (all) (.3); prepare
                                service email list for single claim position statement and related email to J.
                                Wine (sole lien) (.6); research regarding investors/possible lien holders and
                                email M. Rachlis regarding no records found (sole lien) (3).

                                Claims Administration & Objections

                 JRW       7.80 Review redlines, further revise and finalize position statement (sole lien) (3.1);
                                work on compiling supporting material for position statement (sole lien) (2.8);
                                further revise spreadsheet exhibits for position statement (sole lien) (1.3);
                                confer with A. Watychowicz regarding service on lienholders of record (10012
                                LaSalle; 1017 W 102nd; 11318 Church; 1516 E 85th; 2129 W 71st; 2136 W
                                83rd; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E
                                92nd; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon; 7300 St
                                Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8030 Marquette; 8104 Kingston; 8107 Kingston;
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    Kevin B. Duff, Receiver                                                                                  Page 20



        Date        Indiv Hours Description

                                   8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517
                                   Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (.2); work
                                   with K. Pritchard on revisions to certificate of service and final edits to
                                   statement (sole lien) (.3); work with A. Watychowicz on notice to claimants
                                   (all108) (.1).

                                   Claims Administration & Objections

        4/29/2022 KMP         3.90 Review, revise, finalize, and file Receiver's initial position statement on single
                                   claim properties and related exhibits, and numerous related communications
                                   with EB team (sole lien).

                                   Claims Administration & Objections

                    MR        4.70 Work on various portions of position report and exhibits on claims and
                                   numerous related exchanges with J. Wine, A. Watychowicz and K. Pritchard
                                   (sole lien).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                     1[63.00        38950.00]

Status Reports


         4/6/2022   JRW       0.30 Correspondence to team regarding items needed for upcoming status report
                                   (.2); review information from J. Rak for status report (.1).

                                   Status Reports

                    KMP       3.10 Prepare financial schedules for 1Q2022 status report.

                                   Status Reports

         4/7/2022   JRW       0.20 Review and revise exhibit 1 to status report and related correspondence with
                                   J. Rak.

                                   Status Reports

                    KMP       1.60 Continue working on financial schedules for 1Q2022 status report.

                                   Status Reports

         4/8/2022   KMP       2.30 Continue working on financial schedules for 1Q2022 status report.

                                   Status Reports

         4/11/2022 KMP        2.80 Continue working on financial schedules for 1Q2022 status report.

                                   Status Reports
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 Kevin B. Duff, Receiver                                                                                 Page 21



     Date        Indiv Hours Description

     4/12/2022 JRW         0.50 Begin drafting first quarter 2022 status report.

                                Status Reports

                 KMP       2.60 Complete initial drafts of financial schedules for 1Q2022 status report and
                                related communication with J. Wine.

                                Status Reports

     4/14/2022 AW          0.30 Review emails and report to J. Wine regarding email traffic in first quarter of
                                2022.

                                Status Reports

     4/20/2022 JRW         5.00 Exchange correspondence with accountant regarding invoices and status
                                update (.2); continue drafting status report for first quarter of 2022 (4.8).


                                Status Reports

                 KMP       0.30 Communicate with J. Wine regarding issues relating to financial information
                                for 1Q2022 status report.

                                Status Reports

     4/21/2022 AEP         0.50 Review pleadings files from state and federal court lawyers' lawsuits and
                                prepare insert to status report for J. Wine regarding status of litigation.

                                Status Reports

                 JRW       1.20 Continue drafting first quarter status report and related correspondence with
                                A. Porter and K. Duff.

                                Status Reports

     4/24/2022 JRW         0.40 Review revisions to status report for first quarter 2022, further revise same
                                and related correspondence.

                                Status Reports

                 MR        1.00 Review and comment on status report.

                                Status Reports

     4/25/2022 AW          0.60 Attention to status report and communicate with J. Wine regarding proposed
                                revisions.

                                Status Reports

                 JRW       1.00 Additional revisions to draft status report and related conference with K. Duff.

                                Status Reports

                 KMP       0.10 Communicate with J. Wine regarding issues relating to continuing efforts to
                                obtain records from certain financial institutions.


                                Status Reports
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    Kevin B. Duff, Receiver                                                                                  Page 22



        Date        Indiv Hours Description




        4/26/2022 AW          0.40 Prepare current master claims list and related email to J. Wine.

                                   Status Reports

                    JRW       0.50 Review redline and send draft status report to SEC (.2); confer with A.
                                   Watychowicz and K. Pritchard regarding finalizing exhibits to status report
                                   (.1); exchange correspondence with SEC and further redline of draft status
                                   report (.2).

                                   Status Reports

                    KMP       1.30 Revise and finalize exhibits to status report and related communicate with J.
                                   Wine.

                                   Status Reports

                    MR        0.20 Attention to status report edits.

                                   Status Reports

        4/27/2022 KMP         0.20 Review and exhibits to draft status report to verify accuracy and related
                                   communicate with J. Wine.

                                   Status Reports

                    MR        0.10 Attention to emails regarding status and filing.

                                   Status Reports

        4/28/2022 JRW         0.20 Confer with K. Duff and K. Pritchard regarding finalization and filing of status
                                   report for first quarter 2022.

                                   Status Reports

        4/29/2022 JRW         0.40 Finalize status report and exhibits for filing (.3); confer with A. Watychowicz
                                   regarding notice to claimants (.1).

                                   Status Reports

                    KMP       1.10 Review, revise, finalize, and file Receiver's fifteenth status report and related
                                   exhibits, and numerous related communications with EB team.

                                   Status Reports


SUBTOTAL:                                                                                     [ 28.20          5562.00]

Tax Issues

        4/7/2022    KMP       0.20 Add information relating to notice from collection agency for alleged
                                   Internal Revenue Service tax debt to spreadsheet.

                                   Tax Issues
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   Kevin B. Duff, Receiver                                                                              Page 23



       Date        Indiv Hours Description


       4/8/2022    KMP       0.20 Attention to communications with tax administrator regarding preparation of
                                  2021 Receivership taxes.

                                  Tax Issues


SUBTOTAL:                                                                                [ 0.40            56.00]




                                                                                         227.40       $50,478.00
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    Kevin B. Duff, Receiver                                                                  Page 24




Other Charges

                                      Description

Business Operations

                                      Software license fees for April 2022 (Summit             302.41
                                      Hosting, $206.41; Google Suite, $96)



SUBTOTAL:                                                                             [        302.41]

Claims Administration & Objections

                                      Online research for April 2022 relating to               377.97
                                      position statement (sole lien)



SUBTOTAL:                                                                             [        377.97]


Total Other Charges                                                                           $680.38




                                     Summary of Activity
                                                                         Hours       Rate
Jodi Wine                                                                89.10     260.00   $23,166.00
Ania Watychowicz                                                         19.50     140.00    $2,730.00
Justyna Rak                                                              62.90     140.00    $8,806.00
Kathleen M. Pritchard                                                    24.10     140.00    $3,374.00
Andrew E. Porter                                                          0.90     390.00     $351.00
Ellen Duff                                                                1.50     390.00     $585.00
Michael Rachlis                                                          29.40     390.00   $11,466.00
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 Kevin B. Duff, Receiver                                                      Page 25




                                   SUMMARY


               Legal Services                                  $50,478.00
               Other Charges                                      $680.38

                  TOTAL DUE                                    $51,158.38
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                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                              Suite 900                                   fax (312) 733-3952
                                       Chicago, Illinois 60605




July 22, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                          Invoice No. 6622146
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



 Legal Fees for May 2022                                                  $28,350.00

 Expenses Disbursed                                                           $303.01


 Due this Invoice                                                         $28,653.01
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    Kevin B. Duff, Receiver                                                                               Page 2




         Date         Indiv Hours Description

Accounting/Auditing

         5/23/2022 KMP        0.70 Prepare schedules of receipts and disbursements for Receivership accounts
                                   for April 2022.

                                   Accounting/Auditing


SUBTOTAL:                                                                                   [ 0.70              98.00]

Asset Analysis & Recovery

         5/5/2022     AW      0.30 Review docket and correspond with K. Duff regarding extended status and
                                   entered stipulation (.1); review document production and related email with
                                   K. Duff (.2).

                                   Asset Analysis & Recovery

         5/9/2022     AW      0.10 Attention to email regarding rescheduled trial and related docket update.


                                   Asset Analysis & Recovery

         5/17/2022 AW         0.30 Review records preserved from phone application and related email
                                   exchanges with K. Duff.

                                   Asset Analysis & Recovery

         5/18/2022 AW         0.10 Follow up email to K. Duff regarding preserved records from phone
                                   application and notice of receivership.

                                   Asset Analysis & Recovery

         5/25/2022 AW         0.10 Communicate with S. Zjalic regarding hard drive and related email
                                   exchanges with K. Duff.

                                   Asset Analysis & Recovery

         5/26/2022 AW         0.20 Follow up communications with S. Zjalic regarding hard drive and related
                                   email exchanges with K. Duff.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                   [ 1.10             154.00]

Asset Disposition

         5/5/2022     KMP     0.40 Review banking records to verify receipt of post-sale reconciliation funds and
                                   related communications with E. Duff and J. Rak (11117 Longwood; 1700
                                   Juneway; 3074 Cheltenham; 4520 Drexel; 5450 Indiana; 6437 Kenwood;
                                   7051 Bennett; 7110 Cornell; 7021 Constance; 7450 Luella; 7508 Essex).

                                   Asset Disposition
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    Kevin B. Duff, Receiver                                                                              Page 3



        Date          Indiv Hours Description

        5/13/2022 JR          0.30 Review email from K. Pritchard regarding post-closing reconciliation for sold
                                   property and further communicate with K. Pritchard providing additional water
                                   reimbursement information related to the post-closing reconciliation (7109
                                   Calumet) (.2); further communication with property management requesting
                                   update of the water reimbursement from the City of Chicago (7109 Calumet)
                                   (.1).

                                   Asset Disposition

                      KMP     0.20 Communications with K. Duff and J. Rak regarding status of post-sale
                                   reconciliation for sold property and review related correspondence with
                                   property manager (7109 Calumet).

                                   Asset Disposition

        5/16/2022 JR          0.20 Communication with K. Duff and property management relating to the status
                                   and progress regarding post-closing final reconciliation (7109 Calumet).


                                   Asset Disposition

        5/18/2022 JR          0.10 Communication with management company regarding instructions related to
                                   post-closing reconciliation for property (7109 Calumet).

                                   Asset Disposition

        5/23/2022 KMP         0.40 Communicate with property manager to inquire as to status of distribution of
                                   post-sale reconciliation funds for sold property (638 Avers) (.2); communicate
                                   with property manager to provide information relating to distribution of post-
                                   sale reconciliation funds (7109 Calumet) (.2)

                                   Asset Disposition

        5/24/2022 KMP         0.20 Communicate with property manager to confirm receipt of post-sale
                                   reconciliation funds (7109 Calumet).

                                   Asset Disposition


SUBTOTAL:                                                                                  [ 1.80            252.00]

Business Operations

        5/2/2022      JR      0.30 Follow up communication with the insurance firm requesting property refund
                                   information and confirmation of property insurance refunds (10012 LaSalle;
                                   1017 E 102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136
                                   W 83rd; 2800 E 81st; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417
                                   Oglesby; 4611 Drexel; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana;
                                   6807 Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922 Luella; 7925
                                   Kingston; 7933 Kingston; 7953 Woodlawn; 8030 Marquette; 8104 Kingston;
                                   8107 Kingston; 8346 Constance; 8405 Marquette; 8432 Essex; 8517 Vernon;
                                   8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (.2); exchange
                                   communication with E. Duff regarding status of refunds and set up conference
                                   call regarding same (10012 LaSalle; 1017 E 102nd; 11318 Church; 1401 W
                                   109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 2800 E 81st; 310 E 50th; 3213
                                   Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 4611 Drexel; 5437 Laflin;
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 Kevin B. Duff, Receiver                                                                                   Page 4



     Date        Indiv Hours Description

                                61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210
                                Vernon; 7712 Euclid; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953
                                Woodlawn; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346 Constance;
                                8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 9610 Woodlawn) (.1).

                                Business Operations

     5/3/2022    ED        1.00 Telephone conference with J. Rak to discuss reporting for all properties,
                                including final reconciliation amounts, through 12/31/2021 (all) (.6); telephone
                                conference with J. Rak to discuss remaining items needed for review of
                                insurance refunds for terminated policies for all properties sold (all) (.2); email
                                correspondence with insurance agent following up on requested information
                                regarding refunds for prepaid premium on cancelled policies (1422 E 68th;
                                2800 E 81st; 6217 Dorchester; 638 Avers; 7237 Bennett) (.2).

                                Business Operations

                 JR        4.50 Exchange communication with E. Duff relating to general property reporting
                                information and expense reimbursement analysis (all) (.8); further
                                communication with E. Duff regarding insurance reconciliation of refund of
                                property insurance premiums (1422 E 68th; 2800 E 81st; 6217 Dorchester;
                                638 Avers; 7237 Bennett) (.2); review and consolidate monthly bank
                                property statements for February, March and April 2022 (all) (3.5).

                                Business Operations

                 KMP       0.20 Attention to communications with insurance broker regarding issues
                                relating to refunds for property and GL insurance on final properties sold
                                and missing endorsements (1102 Bingham; 1422 E 68th; 6217
                                Dorchester, 638 Avers; 7109 Calumet; 7237 Bennett; 7255 Euclid).

                                Business Operations

     5/4/2022    JR        3.80 Review and consolidate monthly bank property statements for February,
                                March and April 2022 (all) (2.9); review master property reporting
                                spreadsheet for all of 2021 and further communication with E. Duff and K.
                                Pritchard regarding post-closing reconciliation, review bank statements for
                                same and request confirmation of post-consolidation funds as they relate to
                                property reporting from K. Pritchard (1700 Juneway; 3074 Cheltenham; 4520
                                Drexel; 5450 Indiana; 6437 Kenwood; 7051 Bennett; 7110 Cornell; 7201
                                Constance; 7450 Luella; 7508 Essex) (.9).

                                Business Operations

                 JRW       0.30 Confer with K. Duff regarding restoration and reimbursement motion and
                                property reports (all).

                                Business Operations

                 KMP       0.10 Attention to further communications with insurance broker regarding
                                issues relating to refunds for property and GL insurance on final
                                properties sold and missing endorsements (1102 Bingham; 1422 E 68th;
                                6217 Dorchester, 638 Avers; 7109 Calumet; 7237 Bennett; 7255 Euclid).
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     Date        Indiv Hours Description


                                Business Operations

     5/5/2022    ED        0.90 Call with J. Wine to discuss content of property accounting reports, and
                                attribution of insurance refunds to properties sold (all) (.3); meet with J. Rak
                                to discuss review of accounting reports, information received from insurance
                                agent and gathering information to supply to accountants in order to
                                calculate allocation of refunds by property (all) (.6).

                                Business Operations

                 JR        0.70 Meeting with E. Duff regarding property insurance status and next steps
                                relating to request for accounting firm to finalize the property insurance
                                refunds (all) (.6); communication with K. Pritchard requesting to provide the
                                total amount of property insurance premium refunds that was deposited into
                                the receiver's account (all) (.1).

                                Business Operations

                 JRW       0.40 Review spreadsheet and confer with E. Duff regarding property reports (all).

                                Business Operations

                 KMP       0.30 Review and revise list of refunds for terminated insurance on sold properties
                                and related communications with J. Rak and E. Duff (all).

                                Business Operations

     5/9/2022    JRW       0.60 Conference call with counsel for parties in class action and related review of
                                claims in preparation for same (defer).

                                Business Operations

     5/10/2022 ED          0.60 Review and analysis of documents supporting allocation of property expenses
                                advanced by Receiver, insurance refunds, and other bookkeeping entries
                                allocable to properties (6749 Merrill; 7110 Cornell) (.4); email correspondence
                                to accountant regarding calculation of final reimbursable amounts for two
                                properties (6749 Merrill; 7110 Cornell) (.2).

                                Business Operations

                 JR        0.30 Review email from E. Duff pertaining to property insurance refunds and
                                confirm the requesting refund information (6749 Merrill; 7110 Cornell).

                                Business Operations

     5/11/2022 ED          0.40 Telephone conference with accountant to discuss process and timing for
                                calculation of final reimbursable amounts for two properties (6749 Merrill;
                                7110 Cornell) (.2); review and analysis of documents relating to calculation
                                of final reimbursable amounts for two properties in preparation for call with
                                accountant (6749 Merrill; 7110 Cornell) (.1); confer by telephone with
                                J. Rak regarding additional documentation requested by accountant in
                                connection with calculation of final reimbursable amounts for two properties
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 Kevin B. Duff, Receiver                                                                                 Page 6



     Date       Indiv Hours Description

                                (6749 Merrill; 7110 Cornell) (.1).

                                Business Operations

     5/11/2022 KMP         0.20 Communications with J. Rak regarding spreadsheet tracking insurance
                                refunds for all sold properties (all).

                                Business Operations

     5/12/2022 ED          0.30 Email insurance agent requesting clarification of information provided
                                relating to premium refunds (7255 Euclid; 1422 E 68th; 4611 Drexel) (.1);
                                call with accountant to discuss questions relating to premium refund
                                reporting from insurance agent (all) (.2).

                                Business Operations

     5/13/2022 ED          1.20 Review draft calculations from accountant regarding calculation of
                                reimbursable amounts for two sold properties (6749 Merrill; 7110 Cornell)
                                (.1); telephone conference with accountant to discuss methodology for
                                allocation of insurance refunds received to sold properties (all) (.3);
                                conference call with accountant, K. Duff, and J. Wine to discuss
                                methodology for calculations of reimbursable amounts owed by sold
                                properties and steps necessary to permit accountants to finalize
                                calculations, including reconciliation of insurance premium refunds owed to
                                amounts received (all) (.6); preparation for discussion with accountant, K.
                                Duff, and J. Wine to regarding steps necessary to finalize calculations of
                                reimbursable amounts owed by sold properties.(all) (.2).

                                Business Operations

                 JR        0.80 Review paper copy of a violation notice related to sold property, communicate
                                with title company providing notice, telephone the City of Houston requesting
                                additional information, and related draft letter to the City of Houston providing
                                notice (1102 Bingham).

                                Business Operations

                 JRW       0.70 Conference call with E. Duff, K. Duff and accountant regarding insurance
                                premium and refund allocations to properties and related review of
                                spreadsheet (all).

                                Business Operations

     5/16/2022 ED          1.40 Email correspondence with accountant with respect to insurance refund
                                allocation analysis (all) (.2); review of draft reports from accountant
                                summarizing insurance refunds due and insurance refunds received (all)
                                (.3); call with accountant to discuss accountant summarizing insurance
                                refunds due and insurance refunds received (all) (.4); prepare and send
                                email to K. Duff and J. Wine regarding status and open items required for
                                completion of insurance cost allocation (all) (.5).

                                Business Operations
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    Kevin B. Duff, Receiver                                                                                  Page 7



         Date         Indiv Hours Description

         5/17/2022 JR         0.70 Review email from E. Duff relating to property insurance premium refunds
                                   and confirm property information related to same (all) (.5); further
                                   communication with J. Wine requesting spreadsheets produced as a result of
                                   the property insurance premiums and provide to J. Wine (all) (.2).

                                   Business Operations

                      JRW     0.50 Telephone conference with E. Duff regarding insurance analysis (all) (.3);
                                   review insurance expense reconciliation and spreadsheet regarding
                                   endorsements and related correspondence with J. Rak (all) (.2).

                                   Business Operations


SUBTOTAL:                                                                                    [ 20.20          4578.00]

Case Administration

         5/2/2022     AW      0.60 Attention to entered order regarding next hearing and related email to counsel
                                   (.1); draft transmittal email to claimants regarding scheduled hearing, related
                                   emails with counsel, and email claimants regarding scheduled hearing (.5).


                                   Case Administration

                      JRW     0.10 Telephone conference with claimant's counsel regarding database export.


                                   Case Administration

         5/3/2022     AW      0.10 Attention to order providing dial-in info to next hearing and related email to
                                   counsel.

                                   Case Administration

         5/5/2022     AW      0.90 Prepare update to receivership web page and related email to IT vendor.


                                   Case Administration

         5/6/2022     AW      0.10 Follow up with IT vendor regarding update to web page.

                                   Case Administration

         5/9/2022     AW      0.10 Communicate with counsel regarding update to web page.

                                   Case Administration

         5/12/2022 AW         0.30 Attention to vendor agreement and email J. Wine regarding revisions.


                                   Case Administration
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    Kevin B. Duff, Receiver                                                                                   Page 8



         Date       Indiv Hours Description

         5/12/2022 JRW        0.10 Review vendor invoice and confer with K. Duff regarding same.

                                   Case Administration

         5/16/2022 JRW        0.20 Attention to vendor billing (.1); exchange correspondence with E. Duff regarding
                                   spreadsheet from accountant (.1).

                                   Case Administration

         5/19/2022 AW         0.40 Prepare pleadings for upload to web page and related email to IT vendor.


                                   Case Administration

         5/20/2022 AW         0.20 Communicate with IT vendor regarding necessary revisions to web page.


                                   Case Administration

         5/23/2022 KMP        0.10 Communicate with J. Wine regarding vendor contract for hosting of claims
                                   database.

                                   Case Administration

         5/26/2022 SZ         0.60 Attention to drives received from vendor and related communication with J.
                                   Wine, vendor representative, and A. Watychowicz.


                                   Case Administration

         5/31/2022 JRW        0.30 Work with vendor and K. Duff to ship hard drive.

                                   Case Administration


SUBTOTAL:                                                                                      [ 4.10            640.00]

Claims Administration & Objections

         5/2/2022   AW        0.20 Review master claims list regarding claimant's question and related email to
                                   K. Duff (all) (.1); attention to emails in response to fifteenth status report and
                                   related exchange with K. Duff and J. Wine (all) (.1).


                                   Claims Administration & Objections

                    JRW       2.20 Attention to claimant inquiries and related review of claim (all) (.4); revise draft
                                   email to claimants regarding upcoming hearing (all) (.1); review and summarize
                                   production documents (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W
                                   109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723
                                   W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759
                                   Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712
                                   Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953
                                   Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107
                                   Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405
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 Kevin B. Duff, Receiver                                                                                 Page 9



     Date        Indiv Hours Description

                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell;
                                9610 Woodlawn) (1.7).

                                Claims Administration & Objections

     5/2/2022    MR        0.20 Attention to upcoming status conference and communication regarding same
                                (all108).

                                Claims Administration & Objections

     5/3/2022    AW        1.20 Attention to emails in response to fifteenth status report and related email
                                exchanges with K. Duff and J. Wine (all) (.2); draft emails to claimants
                                regarding their claims and custodian issues, related email exchanges with J.
                                Wine, and responses to claimants (all) (.4); respond to email regarding
                                hearing and follow up regarding email deliveries (all) (.2); update mailing
                                address and confirm same with claimants (all) (.1); respond and follow up
                                email with claimant regarding follow up (all) (.1); responses to claimants
                                regarding claims process and timing (all) (.2).

                                Claims Administration & Objections

                 JRW       3.40 Confer with A. Watychowicz regarding standard response to claimant
                                inquiries (all) (.1); attention to drafting responses to claimant inquiries (all)
                                (.6); correspondence regarding interim distributions and related research
                                regarding proposals submitted and potential restoration (6749 Merrill, 7110
                                Cornell) (.4); review court order regarding objections to magistrate order and
                                related correspondence (1131 E 79th; 7024 Paxton) (.1); continued review of
                                third-party documents (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401
                                W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop;
                                3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554
                                Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St
                                Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403
                                Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn) (2.2).


                                Claims Administration & Objections

                 MR        0.40 Attention to emails on sole lien status and email from claimant's counsel (6749
                                Merrill; 7110 Cornell) (.2); attention to order and upcoming hearing (all108) (.2).


                                Claims Administration & Objections

     5/4/2022    AW        1.80 Review claim and email exchanges with J. Wine regarding retirement
                                accounts (all) (.3); email K. Duff and J. Wine regarding claimant's request
                                (defer) (.1); email claimants regarding claims process (all) (.4); review emails
                                to claimants and communicate with claimant regarding past correspondence
                                (all) (.2); correspond with J. Wine regarding entered order providing hearing
                                dial-in info (all108) (.1); correspond with counsel regarding claimants who
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                                wish to participate in hearing and our procedure (all) (.2); provide copies of
                                emails to counsel from claimants to courtroom deputy (all) (.1);
                                communicate with J. Wine regarding topics claimants wish to discuss with
                                Judge Lee (all) (.2); draft email to claimants and related exchanges with
                                counsel (all) (.2).

                                Claims Administration & Objections

     5/4/2022    JRW       1.40 Further attention to claimant inquiries and confer regarding standard
                                response to additional inquiries and confer with A. Watychowicz regarding
                                same (all) (.8); review notices from claimants regarding addressing court at
                                upcoming hearing and related correspondence to court clerk (all) (.6).

                                Claims Administration & Objections

                 MR        0.20 Exchanges with K. Duff regarding issues on possible distribution regarding
                                sole lien properties (6749 Merrill; 7110 Cornell).

                                Claims Administration & Objections

     5/5/2022    AW        3.80 Attention to emails, voice messages, and calls from claimant's counsel and
                                work on related email responses (all) (.3); follow up emails with claimant
                                regarding hearing (all) (.2); email claimants regarding upcoming hearing,
                                claims process, sold properties, and timing issues (all) (.4); call with J. Wine
                                regarding hearing and materials for same (all) (.2); prepare materials for
                                upcoming hearing (all) (.9); update materials for upcoming hearing and
                                related email with counsel (all) (.8); email claimants regarding access to
                                hearing (all108) (.3); email individual claimants regarding addressing the
                                court (all) (.7).

                                Claims Administration & Objections

                 JRW       2.30 Confer with A. Watychowicz regarding notice to claimants (all) (.1); attention
                                to responding to claimant inquiries (all) (.3); telephone conference with
                                claimant regarding upcoming hearing (all) (.1); conference call with K. Duff
                                and M. Rachlis regarding claims analysis, property groupings, and
                                preparation for hearing (all) (.8); confer with K. Duff and M. Rachlis regarding
                                analysis of third party documents (10012 LaSalle; 1017 W 102nd; 11318
                                Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th;
                                3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd;
                                6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300
                                St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403
                                Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn) (.3); confer with M. Rachlis regarding
                                clamant notices (all) (.3); confer with A. Watychowicz regarding claimant
                                notices regarding hearing and preparation of chart and review and revise
                                same (all) (.4).

                                Claims Administration & Objections
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     5/5/2022    JRW       0.60 Review property groupings and prepare notes regarding potential
                                adjustments to same (10012 LaSalle; 1017 W 102nd; 1102 Bingham; 11117
                                Longwood; 1131 E 79th; 11318 Church; 1401 W 109th; 1414 E 62nd; 1422 E
                                68th; 1516 E 85th; 1700 W Juneway; 2129 W 71st; 2136 W 83rd; 2736 W
                                64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3213 Throop; 3723
                                W 68th; 406 E 87th; 417 Oglesby; 431 E 42nd; 4315 Michigan; 4520 Drexel;
                                4533 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450
                                Indiana; 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160
                                MLK; 6217 Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N
                                Avers; 6437 Kenwood; 6554 Rhodes; 6554 Vernon; 6749 Merrill; 6759
                                Indiana; 6807 Indiana; 6825 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton;
                                7026 Cornell; 7051 Bennett; 7109 Calumet; 7110 Cornell; 7201 Dorchester;
                                7210 Vernon; 7237 Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart;
                                7442 Calumet; 7450 Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw;
                                7549 Essex; 7600 Kingston; 7656 Kingston; 7701 Essex; 7712 Euclid; 7748
                                Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7922 Luella; 7925
                                Kingston; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957 Marquette;
                                8000 Justine; 8030 Marquette; 8047 Manistee; 8100 Essex; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214
                                Ingleside; 8326 Ellis; 8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432
                                Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610
                                Woodlawn).

                                Claims Administration & Objections

                 MR        3.80 Review materials for upcoming hearing (all108) (2.4); call with J. Wine and K.
                                Duff regarding various issues on claims process and upcoming hearing
                                (all108) (.8); conference with J. Wine regarding notice to claimants (all) (.3);
                                conferences regarding claimant's documents (1017 W 102nd; 10012 LaSalle;
                                11318 Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E
                                87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon;
                                7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette; 8104 Kingston;
                                8107 Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon;
                                8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.3).

                                Claims Administration & Objections

     5/6/2022    AW        1.20 Participate in hearing on claims (all108) (.7); email exchanges with claimant
                                regarding access to hearing (all) (.2); call with J. Wine regarding hearing and
                                connection issues claimants' experienced (all) (.2); communicate with J. Wine
                                regarding claims (all108) (.1).

                                Claims Administration & Objections

                 JR        5.30 Extensive review of claims for property, update claimant spreadsheet with
                                pertinent information and save various supporting documents in electronic
                                files (1700 Juneway).

                                Claims Administration & Objections

                 JRW       3.10 Prepare for hearing and related correspondence with court clerk and
                                claimants' counsel regarding claimants who provided notice of intention to
                                address court at hearing (all108) (.8); telephone conference with SEC and
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                                K. Duff regarding upcoming court hearing (all108) (.2); exchange
                                correspondence with M. Rachlis regarding property groupings (1102
                                Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd;
                                1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th;
                                3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan; 4520
                                Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin;
                                5450 Indiana; 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd;
                                6160 MLK; 6217 Dorchester; 6250 Mozart; 6355 Talman; 6356 California;
                                638 N Avers; 6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S
                                5th; 7024 Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet; 7201
                                Dorchester; 7237 Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart;
                                7442 Calumet; 7450 Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw;
                                7549 Essex; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7749
                                Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927 Essex; 7933 Essex; 7933
                                Kingston; 7937 Essex; 7943 Essex; 7947 Essex; 7953 Woodlawn; 7957
                                Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E
                                Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis;
                                8342 Ellis; 8352 Ellis; 8405 Marquette; 8800 Ada) (.2); appearance at status
                                hearing before Judge Lee (all108) (.7); confer with A. Watychowicz regarding
                                court hearing and amount of total claims submitted (all108) (.3); telephone
                                conference with claimant and related review of Proof of Claim and
                                correspondence with K. Duff (all) (.4); conduct analysis of related
                                correspondence to K. Duff and M. Rachlis regarding total amount of claims
                                (all108) (.5).

                                Claims Administration & Objections

     5/6/2022    MR        1.50 Prepare for and participate in hearing (all108) (1.4); attention to various follow
                                up matters relating to hearing (all108) (.1).

                                Claims Administration & Objections

     5/9/2022    AW        1.50 Call with J. Wine regarding review of claims (all108) (.3); work with K. Duff
                                and J. Wine on responses to claimants and email claimants regarding
                                hearing, claims process, and follow up questions (all) (.6); communicate
                                with J. Wine regarding claimant's custodian issues (all) (.1); email J. Wine
                                regarding proposed update to response regarding claims after hearing
                                before Judge Lee (all) (.1); email exchanges regarding update to claimants
                                about last hearing and send correspondence to claimants (all) (.4).

                                Claims Administration & Objections

                 JR    6.50 Extensive review of claims for property, update claimant spreadsheet with
                             pertinent information and save various supporting documents in electronic
                             files (1700 Juneway; 5450 Indiana).

                                Claims Administration & Objections

                 JRW       3.00 Various correspondence with M. Rachlis. K. Duff, E. Duff, and accountants
                                regarding potential resolution of claims and related data (7110 Cornell; 6749
                                Merrill) (.7); confer with A. Watychowicz regarding notice to claimants of
                                court order (all) (.1); continue reviewing third-party production (10012
                                LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W
                                71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417
                                Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana;
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                                6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922
                                Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030
                                Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside;
                                8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon;
                                8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (1.2); attention to
                                various claimant inquiries (all) (1.0).

                                Claims Administration & Objections

     5/9/2022    MR        0.30 Attention to issues regarding resolution of claims and distributions for sole
                                lien properties (6749 Merrill; 7110 Cornell).

                                Claims Administration & Objections

     5/10/2022 AW          2.80 Attention to emails from claimants and work on responses to emails
                                regarding claims process and proposed grouping of properties (all) (.4); call
                                with J. Wine and J. Rak regarding review of claims (1102 Bingham; 11117
                                Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W
                                Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th;
                                3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet;
                                4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618
                                MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217
                                Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437
                                Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024
                                Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237
                                Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet;
                                7450 Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex;
                                7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760
                                Coles; 7834 Ellis; 7840 Yates; 7927 Essex; 7933 Essex; 7933 Kingston;
                                7937 Essex; 7943 Essex; 7947 Essex; 7953 Woodlawn; 7957 Marquette;
                                8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette;
                                8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis;
                                8352 Ellis; 8405 Marquette; 8800 Ada) (.7); access claims and share same
                                with J. Wine (all108) (.2); communicate with J. Wine regarding revisions to
                                claims review chart (all) (.1); start working on review of claims (8100 Essex)
                                (1.3); communicate with K. Duff and J. Wine regarding transcript of
                                proceedings (all) (.1).

                                Claims Administration & Objections

                 JR        6.10 Conference call with J. Wine and A. Watychowicz related to review of all
                                claims (all) (.6); extensive review of claims for property, update claimant
                                spreadsheet with pertinent information (5450 Indiana) (5.3); review email from
                                J. Wine related to follow up instructions related to review of claims and
                                respond accordingly (all) (.2).

                                Claims Administration & Objections

                 JRW       4.20 Attention to claimant inquiry (all) (.1); confer with J. Rak and A.
                                Watychowicz regarding claims review process, related correspondence with
                                A. Porter regarding mortgagee spreadsheets, and attention to development of
                                new claims review protocol (1102 Bingham; 11117 Longwood; 1131 E 79th;
                                1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th;
                                2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E
                                42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750
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                                 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955
                                 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester;
                                 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437 Kenwood;
                                 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026
                                 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255
                                 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500
                                 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656
                                 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840
                                 Yates; 7927 Essex; 7933 Essex; 7933 Kingston; 7937 Essex; 7943 Essex;
                                 7947 Essex; 7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047 Manistee;
                                 8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214
                                 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 8405 Marquette; 8800
                                 Ada) (2.4); review and analyze claims (7927 Essex) (1.7).

                                 Claims Administration & Objections

      5/10/2022 KMP         1.20 Review account records to identify expenditures for certain properties and
                                 related communications with E. Duff and J. Rak (6749 Merrill; 7110 Cornell).

                                 Claims Administration & Objections

                  MR        0.30 Follow up on May 6, 2022 hearing (all108) (.1); attention to emails regarding
                                 sole lien properties (6749 Merrill; 7110 Cornell) (.2).

                                 Claims Administration & Objections

      5/11/2022 AW          2.80 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham;
                                 11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th;
                                 1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310
                                 E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533
                                 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana;
                                 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217
                                 Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437
                                 Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton;
                                 7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett;
                                 7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella;
                                 7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston;
                                 7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis;
                                 7840 Yates; 7927 Essex; 7933 Essex; 7933 Kingston; 7937 Essex; 7943
                                 Essex; 7947 Essex; 7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047
                                 Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston; 8209
                                 Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 8405
                                 Marquette; 8800 Ada) (.9); review claims (8100 Essex) (1.9).

                                 Claims Administration & Objections

                  JRW       1.40 Conference call with J. Rak and A. Watychowicz regarding review protocol
                                 and related conference with K. Duff (1102 Bingham; 11117 Longwood; 1131
                                 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W
                                 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431
                                 E 42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750
                                 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955
                                 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester;
                                 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437 Kenwood;
                                 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026
                                 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255
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                                 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500
                                 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656
                                 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840
                                 Yates; 7927 Essex; 7933 Essex; 7933 Kingston; 7937 Essex; 7943 Essex;
                                 7947 Essex; 7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047 Manistee;
                                 8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214
                                 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 8405 Marquette; 8800
                                 Ada).

                                 Claims Administration & Objections

      5/13/2022 JR          3.60 Conference call with J. Wine related to review of claims related to funds,
                                 request instructions related to review of same (3030 E 79th; 7301 Stewart;
                                 7500 Eggleston; 7549 Essex; 8047 Manistee; 2909 E 78th) (.3); extensive
                                 review of claims for properties, update claimant spreadsheet with pertinent
                                 information (5450 Indiana; 3030 E 79th; 7301 Stewart; 7500 Eggleston; 7549
                                 Essex; 8047 Manistee; 2909 E 78th) (3.3).

                                 Claims Administration & Objections

      5/16/2022 JR          6.90 Extensive review of claims for properties, update claimant spreadsheet with
                                 pertinent claimant's information for properties (5450 Indiana; 3030 E 79th;
                                 7301 Stewart; 7500 Eggleston; 7549 Essex; 8047 Manistee; 2909 E 78th;
                                 7750 Muskegon; 6558 Vernon; 7300 Lawrence; 7635 East End; 7026 Cornell;
                                 7600 Kingston; 7546 Saginaw; 4317 Michigan; 7748 Essex; 7201 Dorchester;
                                 7255 Euclid; 3074 Cheltenham; 4533 Calumet; 638 Avers; 4611 Drexel; 6160
                                 MLK; 8326 Ellis; 6217 Dorchester; 1700 Juneway; 11117 Longwood; 816
                                 Marquette; 7927 Essex).

                                 Claims Administration & Objections

      5/17/2022 JR          4.80 Extensive review of claims for properties, update claimant spreadsheet with
                                 pertinent claimant's information for properties (6558 Vernon; 7300 Lawrence;
                                 7635 East End; 7026 Cornell; 7600 Kingston; 7546 Saginaw; 4317 Michigan;
                                 7748 Essex; 7201 Dorchester; 7255 Euclid; 3074 Cheltenham; 4533
                                 Calumet; 638 Avers; 4611 Drexel; 6160 MLK; 8326 Ellis; 6217 Dorchester;
                                 1700 Juneway; 11117 Longwood; 816 Marquette; 7927 Essex; 5955
                                 Sacramento; 7442 Calumet; 8100 Essex; 4615 Drexel; 6217 Dorchester;
                                 11117 Longwood; 7927 Essex).

                                 Claims Administration & Objections

      5/18/2022 AW          0.40 Communicate with J. Wine regarding counsel for institutional lender (1700
                                 Juneway; 6949 Merrill) (.1); prepare files for download and email exchanges
                                 with counsel regarding same (1700 Juneway) (.3).

                                 Claims Administration & Objections

                  JR        3.90 Extensive review of claims for properties, update claimant spreadsheet with
                                 pertinent claimant's information for properties (5450 Indiana; 6355 Talman;
                                 6160 MLK; 11117 Longwood; 7201 Dorchester; 7024 Paxton; 6437 Kenwood;
                                 6217 Dorchester; 7750 Muskegon; 7656 Kingston; 7749 Yates; 1102
                                 Bingham).

                                 Claims Administration & Objections
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      5/18/2022 JRW         0.20 Confer with counsel for claimants, confer with A. Watychowicz and related
                                 correspondence to counsel regarding claim forms (all).


                                 Claims Administration & Objections

      5/19/2022 AW          0.60 Review claim and respond to claimant's inquiry regarding claims process and
                                 proposed grouping (all) (.2); attention to email from claimant requesting
                                 update to her contact information, update spreadsheets, and related
                                 response to claimant (all) (.2); call with J. Wine regarding submitted claims
                                 (all) (.2).

                                 Claims Administration & Objections

                  JR        2.10 Extensive review of claims for property, update claimant spreadsheet with
                                 pertinent claimant's information for property (5450 Indiana).

                                 Claims Administration & Objections

      5/20/2022 JR          4.90 Extensive review of claims for properties, update claimant spreadsheet with
                                 pertinent claimant's information for properties (5450 Indiana; 7750 Muskegon;
                                 7656 Kingston; 7749 Yates; 1102 Bingham; 7024 Paxton; 7201 Constance;
                                 8100 Essex; 8326 Ellis; 6217 Dorchester; 6001 Sacramento; 638 Avers; 8201
                                 Kingston; 1131 E 79th; 6437 Kenwood; 7051 Bennett; 7600 Kingston; 7749
                                 Yates; 6250 Mozart; 4533 Calumet; 701 S 5th; 7237 Bennett; 4611 Drexel;
                                 7026 Cornell; 7546 Saginaw; 7600 Kingston; 7748 Essex; 6355 Talman).

                                 Claims Administration & Objections

      5/23/2022 AW          0.40 Communicate with K. Duff regarding claimants' request for transcript (all108)
                                 (.1); communicate with K. Duff regarding database files and review files
                                 (all108) (.2); attention to transcript of proceedings (all) (.1).

                                 Claims Administration & Objections

                  JR        0.80 Extensive review of claims for properties, update claimant spreadsheet with
                                 pertinent claimant's information for properties (6250 Mozart; 4533 Calumet;
                                 701 S 5th; 7237 Bennett; 4611 Drexel; 8326 Ellis; 7026 Cornell; 7546
                                 Saginaw; 7600 Kingston; 7748 Essex; 6355 Talman; 7051 Bennett; 6437
                                 Kenwood; 5450 Indiana).

                                 Claims Administration & Objections

                  JRW       0.40 Exchange correspondence with K. Duff and A. Watychowicz regarding
                                 claimant inquiries about hearing before Judge Lee (all) (.1); telephone
                                 conference with claimant (all) (.3).


                                 Claims Administration & Objections

      5/24/2022 JR          6.80 Extensive review of claims for properties, update claimant spreadsheet with
                                 pertinent claimant's information for properties (5450 Indiana; 7748 Essex;
                                 8326 Ellis; 7026 Cornell; 7546 Saginaw; 7600 Kingston; 7051 Bennett; 6355
                                 Talman; 6437 Kenwood; 4533 Calumet; 7844 Ellis; 4611 Drexel; 4611 Drexel;
                                 6160 MLK; 1700 Juneway; 11117 Longwood; 638 Avers; 7237 Bennett; 5450
                                 Indiana; 6217 Dorchester; 9212 Parnell).

                                 Claims Administration & Objections
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  Kevin B. Duff, Receiver                                                                                Page 17



      Date        Indiv Hours Description


      5/24/2022 JRW         0.30 Correspondence regarding response to claimant inquiries regarding hearing
                                 and transfer of investments (all).

                                 Claims Administration & Objections

                  MR        0.60 Attention to email correspondence regarding issues on sole lien properties
                                 and related communication with K. Duff (6749 Merrill; 7110 Cornell).


                                 Claims Administration & Objections

      5/25/2022 JR          5.30 Extensive review of claims for properties, update claimant spreadsheet with
                                 pertinent claimant's information for properties (5450 Indiana; 4615 Drexel;
                                 4520 Drexel; 7549 Saginaw; 7748 Essex; 816 Marquette; 11117 Longwood;
                                 2909 E 78th; 7549 Essex; 8047 Manistee; 7549 Essex; 8047 Manistee; 6217
                                 Dorchester; 8326 Ellis; 7749 Yates).

                                 Claims Administration & Objections

                  MR        0.90 Further analysis regarding sole lien and related exchanges with K. Duff (6749
                                 Merrill; 7110 Cornell).

                                 Claims Administration & Objections

      5/26/2022 JR          4.90 Extensive review of claims for properties, update claimant spreadsheet with
                                 pertinent claimant's information for properties (5450 Indiana; 8326 Ellis; 7749
                                 Yates; 7442 Calumet; 4533 Calumet; 4611 Drexel; 701 S 5th; 7237 Bennett).

                                 Claims Administration & Objections

                  JRW       0.20 Confer with vendor regarding chain of custody (all108) (.1); exchange
                                 correspondence with claimants' counsel regarding EB documents (all108)
                                 (.1).

                                 Claims Administration & Objections

                  MR        0.40 Exchanges and follow up with K. Duff on various issues (6749 Merrill; 7110
                                 Cornell) (.3); exchanges with claimant's counsel regarding sole lien properties
                                 (6749 Merrill; 7110 Cornell) (.1).

                                 Claims Administration & Objections

      5/27/2022 JR          4.90 Extensive review of claims for properties, update claimant spreadsheet with
                                 pertinent claimant's information for properties (7749 Yates; 7442 Calumet;
                                 4533 Calumet; 4611 Drexel; 6801 East End; 701 S 5th. 7237 Bennett; 7500
                                 Eggleston; 3030 E 79th; 7301 Stewart).

                                 Claims Administration & Objections

      5/31/2022 JRW         3.00 Continued review of documents produced by loan originator (10012 LaSalle;
                                 1017 W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st;
                                 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417
                                 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana;
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    Kevin B. Duff, Receiver                                                                               Page 18



        Date        Indiv Hours Description

                                   6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922
                                   Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030
                                   Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside;
                                   8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon;
                                   8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                  1[19.00        21894.00]

Tax Issues


        5/9/2022    KMP       0.60 Attention to receipt of federal agency tax notice and related communications
                                   with K. Duff and accountant (.2); prepare draft response letter to federal
                                   agency and collection agency regarding tax notice (.3); updated chart
                                   tracking tax notices (.1).

                                   Tax Issues

        5/17/2022 AW          0.10 Email accountant regarding claim from IRS.


                                   Tax Issues

                    JR        0.20 Review email from K. Duff related to a request to provide accounting firm
                                   appraisal reports conducted for property (.1); prepare appraisal report and
                                   further related communication with K. Duff (.1).


                                   Tax Issues

                    JRW       0.40 Confer with A. Watychowicz regarding properties owned by funds (.1);
                                   correspondence with K. Duff regarding tax notices and related review of prior
                                   correspondence regarding potentially related issues (.3).


                                   Tax Issues

        5/18/2022 JR          0.10 Exchange communication with accounting firm providing requested appraisal
                                   report.

                                   Tax Issues

        5/23/2022 KMP         1.00 Study notices from tax authority regarding prior year tax issues, related
                                   communications with accountants, and update spreadsheet tracking tax
                                   notices (.4); prepare correspondence to collection agency in response to
                                   notice regarding past due prior year taxes (.4); communicate with tax
                                   administrator to respond to request for account schedules for first quarter
                                   2022 in connection with preparation of QSF tax return (.2).


                                   Tax Issues
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   Kevin B. Duff, Receiver                                                                              Page 19



       Date       Indiv Hours Description


       5/24/2022 KMP         0.60 Communicate with accountant regarding notices from tax authority relating
                                  to prior year tax issues and further update spreadsheet tracking tax notices
                                   (.2); revise correspondence to collection agency in response to notice
                                  regarding past due prior year taxes (.2); communicate with tax administrator
                                  to respond to request for account schedules for first quarter 2022 in
                                  connection with preparation of QSF tax return (.2).

                                  Tax Issues

       5/26/2022 JR          1.70 Review email from K. Duff relating to providing requested closing statements
                                  from property closings to accounting firm (.1); consolidate all closing
                                  statements from all properties (1.2); further communication with accounting
                                  firm producing closing statements (.4).

                                  Tax Issues

                   KMP       0.10 Attention to communication with tax administrator regarding issues relating
                                  to property portfolio summaries in connection with preparation of tax
                                  returns.

                                  Tax Issues

       5/31/2022 KMP         0.10 Attention to further communications with tax administrator regarding issues
                                  relating to property portfolio summaries in connection with preparation of
                                  tax returns.

                                  Tax Issues


SUBTOTAL:                                                                                 [ 4.90           734.00]




                                                                                         151.80       $28,350.00
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    Kevin B. Duff, Receiver                                                              Page 20




Other Charges

                                      Description

Business Operations

                                      Software license fees for May 2022 (Summit           302.41
                                      Hosting, $206.41; Google Suite, $96)



SUBTOTAL:                                                                          [       302.41]

Tax Issues

                                      Photocopies for May 2022                                0.60


SUBTOTAL:                                                                          [         0.60]


Total Other Charges                                                                       $303.01




                                    Summary of Activity
                                                                      Hours      Rate
Jodi Wine                                                             29.30    260.00    $7,618.00
Ania Watychowicz                                                      20.60    140.00    $2,884.00
Justyna Rak                                                           80.50    140.00   $11,270.00
Kathleen M. Pritchard                                                  6.40    140.00      $896.00
Stoja Zjalic                                                           0.60    110.00       $66.00
Ellen Duff                                                             5.80    390.00    $2,262.00
Michael Rachlis                                                        8.60    390.00    $3,354.00
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  Kevin B. Duff, Receiver                                                     Page 21




                                    SUMMARY


                Legal Services                                 $28,350.00
                Other Charges                                     $303.01

                   TOTAL DUE                                   $28,653.01
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                                  Rachlis Duff & Peel, LLC
                                       542 South Dearborn Street
                                                                                           tel (312) 733-3950
                                               Suite 900                                   fax (312) 733-3952
                                        Chicago, Illinois 60605




 July 28, 2022

 Kevin B. Duff, Receiver
 c/o Rachlis Duff & Peel, LLC
 542 S. Dearborn Street, Suite 900
 Chicago, IL 60605




  Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
      Cohen, and Shaun D. Cohen                                                         Invoice No. 66221
      No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



 Legal Fees for June 2022                                                  $45,173.00

 Expenses Disbursed                                                            $96.00


  Due this Invoice                                                         $45,269.00
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    Kevin B. Duff, Receiver                                                                                 Page 2




        Date          Indiv Hours Description

Asset Analysis & Recovery

        6/14/2022 AW          0.10 Call with J. Wine regarding claimants contact information.

                                   Asset Analysis & Recovery


        6/26/2022 AW          0.10 Attention to verdict, related email to K. Duff and update to docket.


                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                    [ 0.20             28.00]

Business Operations

        6/13/2022 JRW         0.20 Correspondence with K. Duff regarding notice of municipal code violation and
                                   related correspondence to city ownership dispute division (4533 Calumet).

                                   Business Operations

                      KMP     0.20 Study correspondence relating to refunds for insurance payments for
                                   cancellation of umbrella and property insurance endorsements (7109
                                   Calumet).

                                   Business Operations

        6/20/2022 KMP         0.20 Confer with A. Watychowicz regarding deposit for refunds of insurance policy
                                   payments for sold property (7109 Calumet).

                                   Business Operations

        6/23/2022 ED          1.00 Email correspondence and telephone call with accountant to discuss
                                   finalizing insurance refund allocations for two properties (6749 Merrill; 7110
                                   Cornell) (.2); telephone conference with J. Rak regarding steps necessary to
                                   finalize insurance refund allocations for all sold properties (all) (.8).

                                   Business Operations

                      JR      0.80 Exchange communication with E. Duff relating to property insurance
                                   premium refund issues, review previously submitted documents related to
                                   premium refunds and provide same to E. Duff (7110 Cornell; 6749 Merrill).

                                   Business Operations

        6/24/2022 ED          0.60 Telephone conference with accountant regarding steps necessary to finalize
                                   insurance refund allocations for all sold properties (all) (.3); review of draft
                                   report from accountant summarizing information received regarding
                                   premium refunds earned by property (all) (.2); email correspondence with
                                   accountant relating to draft premium refunds summary report (all) (.1).
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 Kevin B. Duff, Receiver                                                                               Page 3


     Date        Indiv Hours Description


                                Business Operations

     6/24/2022 SZ          2.70 Worked with accounting reports relating to property and allocation and
                                reimbursement (all) (2.4); phone call with E. Duff about property expense
                                allocation and reimbursement reports (all) (.3).

                                Business Operations

     6/25/2022 ED          5.40 Review and analysis of draft reports, email correspondence, policy
                                endorsements, and related documents regarding refunds of prepaid
                                insurance premium amounts (all) (3.6); prepare draft spreadsheet
                                synthesizing available and missing information necessary to properly allocate
                                credits for premium refund amounts received to sold properties (1.8).

                                Business Operations

     6/26/2022 ED          7.30 Further revisions to spreadsheet relating to allocation of insurance refunds
                                (all) (2.8); email correspondence with K. Duff regarding additional steps
                                required to complete insurance refund analysis (all) (.2); prepare and send
                                email correspondence to J. Rak regarding additional steps required to
                                complete insurance refund analysis (all) (.3); prepare outline of additional
                                information required from accountants to complete insurance refund
                                allocations (all) (.5); continue review of documents and correspondence
                                relating to receipt and allocation of insurance refunds (all) (3.5).

                                Business Operations

     6/27/2022 ED          4.30 Meet with K. Duff to discuss calculation of amounts reimbursable from
                                separate accounts for two properties (6749 Merrill; 7110 Cornell) (.5);
                                discussion by telephone with K. Duff regarding calculation of amounts
                                reimbursable from two properties (6749 Merrill; 7110 S Cornell) (.1); prepare
                                summaries of amounts reimbursable to receivership from sale proceeds of
                                two properties (6749 Merrill; 7110 S Cornell) (.8); send email to K. Duff and
                                M. Rachlis with summaries of amounts reimbursable to receivership from
                                sale proceeds of two properties, with supporting documents (6749 Merrill;
                                7110 S Cornell) (.5); email correspondence with accountant relating to
                                requested work to finalize insurance allocation adjustments (all) (.7); calls
                                with accountant to discuss status of work on additional information requested
                                and follow-up questions relating to reconciling summary information provided
                                by insurance agent, bank records, and policy coverage termination
                                endorsements to property allocation results (all) (.9); email correspondence
                                with J. Rak regarding review of items noted in June 26 spreadsheet and
                                email (all) (.2); begin review of data from accountant reflecting entries for
                                refunds received by Receivership (all) (.6).

                                Business Operations

                 JR        6.20 Review email from E. Duff related to property insurance refunds, request for
                                information in anticipation of a hearing, and respond accordingly to E. Duff
                                and K. Duff (6749 Merrill; 7110 Cornell) (.2); research emails related to
                                various inquiries and requests pertaining to property termination insurance,
                                endorsements and refunds (7110 Cornell; 5450 Indiana; 3074 Cheltenham;
                                2736 W 64th; 6356 California; 6355 Talman; 5618 MLK; 7201 Constance;
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 Kevin B. Duff, Receiver                                                                                Page 4


     Date        Indiv Hours Description

                                7201 Dorchester; 6949 Merrill; 4533 Calumet; 1422 E 68th; 7255 Euclid;
                                7237 Bennett; 6217 Dorchester; 638 Avers; 7109 Calumet) (5.8); further
                                communication with E. Duff related to property insurance requested
                                information (7110 Cornell; 5450 Indiana; 3074 Cheltenham; 2736 W 64th;
                                6356 California; 6355 Talman; 5618 MLK; 7201 Constance; 7201
                                Dorchester; 6949 Merrill; 4533 Calumet; 1422 E 68th; 7255 Euclid; 7237
                                Bennett; 6217 Dorchester; 638 Avers; 7109 Calumet) (.2).

                                Business Operations

     6/27/2022 KMP         2.20 Review various financial schedules and statements to compile information
                                relating to disbursements made to property manager for certain properties,
                                prepare spreadsheet detailing same, and related communications with K.
                                Duff and E. Duff (7110 Cornell; 6749 Merrill).

                                Business Operations

     6/28/2022 ED          4.80 Draft and send email correspondence to K. Duff, K. Pritchard, and J. Rak
                                regarding documentation of insurance policy endorsements relating so
                                closing of property sale (7110 Cornell) (.3); phone call with K. Pritchard and
                                J. Rak regarding documentation of insurance policy endorsements relating
                                so closing of property sale (7110 Cornell) (.1); draft and send
                                correspondence to K. Duff and M. Rachlis in reply to questions regarding
                                reimbursable amount calculations for two properties (6749 Merrill; 7110
                                Cornell) (.3); confer with J. Rak regarding premium refund details relating to
                                two properties (6749 Merrill; 7110 Cornell) (.3); discuss additional questions
                                regarding reimbursable amounts with K. Duff (6749 Merrill; 7110 Cornell)
                                (.1); review of notes and documents to confirm remaining necessary
                                corrections to drafts of Receiver's property reports (6749 Merrill; 7110
                                Cornell) (1.8); confer with J. Rak regarding review of information necessary
                                to allocate insurance refunds to properties (all) (.8); update insurance refund
                                spreadsheet for further revision based on J. Rak document review (all) (.5);
                                email correspondence with J. Rak regarding updates to insurance refund
                                spreadsheet (all) (.1); email correspondence to accountant transmitting
                                questions and comments relating to preparation of Receiver's property
                                reports for sold properties (all) (.5).

                                Business Operations

                 JR        4.80 Review email from E. Duff relating to reconciliation of property endorsements
                                and refunds related to properties (6749 Merrill; 7110 Cornell) in anticipation
                                of conference call with institutional lender (.6); further review and discussion
                                with E. Duff related to the property insurance refund information (6749
                                Merrill) (.4); discussion related to review of property endorsements and
                                update of spreadsheet as it relates to refund amounts and cancellation of
                                property as it relates to the insurance policy (all) (1.0); review property
                                endorsements for properties (6749 Merrill; 4520 Drexel; 7110 Cornell; 6250
                                Mozart; 7109 Calumet; 6217 Dorchester; 4611 Drexel; 7024 Paxton; 7255
                                Euclid; 638 Avers) (2.8).

                                Business Operations
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 Kevin B. Duff, Receiver                                                                                Page 5


     Date        Indiv Hours Description

     6/28/2022 KMP         0.20 Communications with E. Duff regarding insurance refunds for sold properties
                                and efforts to confirm date that insurer was notified of sale (7110 Cornell;
                                6749 Merrill).

                                Business Operations

     6/29/2022 ED          2.00 Telephone conference with accountant to discuss questions and comments
                                on draft report (6749 Merrill) (.4); telephone conference with accountant to
                                discuss questions and comments on draft report (7110 Cornell) (.1); review
                                of documents relating to insurance refunds (6749 Merrill; 7110 Cornell) (.2);
                                review revised reports from accountant and forward to K. Duff, M. Rachlis, J.
                                Wine and J. Rak for review and comment (6749 Merrill; 7110 Cornell) (.1);
                                begin preparation of outline of questions for discussion with insurance agent
                                regarding missing information and apparent inconsistencies in information
                                provided regarding premium refunds attributable to sold properties (all) (.4);
                                telephone conference with accountant to discuss and resolve questions
                                regarding reporting relating to allocation of insurance premium refunds,
                                calculation of net amounts reimbursable from sale proceeds of certain
                                properties, and related issues (all) (.5); telephone conference with K. Duff
                                regarding calculation and presentation of net reimbursable amounts from
                                sold properties (all) (.3).

                                Business Operations

                 JR        6.50 Review email correspondence from E. Duff related to property endorsement
                                28 and provide requested information (7110 Cornell; 5618 MLK; 6356
                                California; 7201 Constance) (.1); review files for properties related to
                                institutional lenders, review endorsements and refunds, update spreadsheet
                                and update files with the requested information (1131 E 79th; 2736 W 64th;
                                4315 Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 6160 MLK; 6217
                                Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 Avers; 6749
                                Merrill; 7109 Calumet; 7110 Cornell; 7201 Dorchester; 7255 Euclid; 7442
                                Calumet; 7508 Essex; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748
                                Essex; 7953 Marquette; 8100 Essex; 816 Marquette; 8201 Kingston; 8326
                                Ellis) (6.4).

                                Business Operations

                 KMP       0.20 Further efforts to confirm date that insurer was notified of property sale and
                                related conference with K. Duff (7110 Cornell).

                                Business Operations

     6/30/2022 ED          6.70 Review of support for insurance reimbursement receipts and calculation of
                                net reimbursable amount from property (6749 Merrill) (.8); email
                                correspondence and telephone discussion with accountant regarding
                                calculation of net reimbursable amounts for property (6749 Merrill) (.7);
                                review drafts and revisions to report regarding net reimbursable amounts
                                (6749 Merrill) (.3); review of support for insurance reimbursement receipts
                                and calculation of net reimbursable amount from property (7110 Cornell) (.8);
                                email correspondence and telephone discussions with accountant regarding
                                calculation of net reimbursable amounts for property (7110 Cornell) (1.3);
                                review drafts and revisions to report regarding net reimbursable amounts
                                (7110 Cornell) (.5); telephone conference with accountant to discuss and
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    Kevin B. Duff, Receiver                                                                              Page 6


         Date         Indiv Hours Description

                                   confirm allocation methodology and sources of data with respect to
                                   allocation of insurance refunds received, and revisions required to draft
                                   report (7110 Cornell) (.4); analysis of process and content necessary for
                                   calculation of reimbursable amounts by all sold properties (all) (.7); confer
                                   with J. Rak to confirm data and documents relating to calculations of
                                   reimbursable amounts for sold properties (all) (.9); meet with K. Duff to
                                   discuss process and content of confirming and reporting on calculation of net
                                   reimbursable amounts from sold properties (all) (.3).

                                   Business Operations

        6/30/2022 JR          4.90 Review files for properties related to institutional lenders, review
                                   endorsements and refunds, update spreadsheet and update files with the
                                   requested information (5450 Indiana; 6437 Kenwood; 7749 Yates; 1700
                                   Juneway; 6949 Merrill; 1422 E 68th; 2800 E 81st; 4750 Indiana; 7840 Yates;
                                   5618 MLK; 6558 Vernon; 7450 Luella; 5001 Drexel; 3074 Cheltenham; 7201
                                   Constance; 7625 East End; 7635 East End; 7750 Muskegon) (4.3); further
                                   communication with E. Duff related to reconciliation of refunds for various
                                   properties (5618 MLK; 7110 Cornell; 7201 Constance; 6356 California) (.6).

                                   Business Operations


SUBTOTAL:                                                                                 [61.20         16536.00]

Case Administration

         6/2/2022     AW      0.30 Prepare pleadings for upload to web page and related email to IT vendor.

                                   Case Administration

         6/7/2022     KMP     0.20 Review voice mail message from database vendor regarding chain of
                                   custody letter and related communications with K. Duff and J. Wine.

                                   Case Administration

         6/8/2022     KMP     0.10 Review invoice from database vendor and related communications with K.
                                   Duff and J. Wine.

                                   Case Administration

         6/15/2022 JRW        0.40 Telephone conference with K. Duff regarding receivership expenses, request
                                   for information relating to third party litigation, and EB document database
                                   review and related issues.

                                   Case Administration

                      MR      0.40 Telephone conference with K. Duff regarding receivership expense issues.

                                   Case Administration
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    Kevin B. Duff, Receiver                                                                              Page 7



         Date       Indiv Hours Description

         6/21/2022 KMP        0.20 Confer with A. Watychowicz regarding bank contacts.

                                   Case Administration

         6/28/2022 JRW        0.70 Review motion for approval of class action settlement, supporting declaration
                                   and proposed order and related analysis to K. Duff and M. Rachlis (defer).


                                   Case Administration

                    KMP       0.10 Attention to communications with bank representatives relating to new
                                   customer service representative.

                                   Case Administration

                    MR        0.20 Attention to correspondence regarding settlement.

                                   Case Administration

         6/29/2022 JRW        0.70 Email exchange with vendor and telephone conference regarding past due
                                   invoices and compile materials relating to same.


                                   Case Administration

         6/30/2022 KMP        0.20 Review balances for property accounts and related communications with K.
                                   Duff (6749 Merrill; 7110 Cornell).

                                   Case Administration


SUBTOTAL:                                                                                  [ 3.50          856.00]

Claims Administration & Objections

         6/1/2022   AW        0.10 Communicate with J. Wine regarding claims review (all).

                                   Claims Administration & Objections

                    JRW       1.40 Prepare list of key documents for claims analysis and related
                                   correspondence with A. Watychowicz and J. Rak (1102 Bingham; 11117
                                   Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W
                                   Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th;
                                   3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611
                                   Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK;
                                   5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217
                                   Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437
                                   Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton;
                                   7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett;
                                   7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella;
                                   7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston;
                                   7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834
                                   Ellis; 7840 Yates; 7927 Essex; 7933 Essex; 7933 Kingston; 7937 Essex;
                                   7943 Essex; 7947 Essex; 7953 Woodlawn; 7957 Marquette; 8000 Justine;
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 Kevin B. Duff, Receiver                                                                                Page 8


     Date        Indiv Hours Description

                                8047 Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston;
                                8209 Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 8405
                                Marquette; 8800 Ada) (.6); review proof of claim and draft response to inquiry
                                regarding change of custodian (all) (.5); draft response to claimant inquiry
                                regarding submission of additional supporting documentation and related
                                correspondence with K. Duff (all) (.3).

                                Claims Administration & Objections

      6/1/2022    JRW       1.60 Continued review of production documents (10012 LaSalle; 1017 W 102nd;
                                11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310
                                E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61
                                E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210
                                Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925
                                Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette;
                                8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346
                                Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon;
                                8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn).

                                Claims Administration & Objections

     6/2/2022    AW        0.20 Email response to claimant regarding custodian issues (all) (.1); follow up
                                email to J. Wine regarding claims review (all) (.1).

                                Claims Administration & Objections

                 JR        2.70 Extensive review of claims for properties, update claimant spreadsheet with
                                pertinent claimant’s information for properties (5201 Washington; 7616
                                Phillips; 109 Laramie: 5450 Indiana; 7750 Muskegon; 2736 W 64th; 7201
                                Constance; 7635 East End; 6001 Sacramento).

                                Claims Administration & Objections

                 JRW       0.40 Confer with J. Rak and A. Watychowicz regarding claims review process and
                                progress (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th;
                                1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E 81st;
                                2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315
                                Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001
                                Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001
                                Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355
                                Talman; 6356 California; 638 N Avers; 6437 Kenwood; 6554 Vernon; 6807
                                Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett;
                                7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255 Euclid; 7300 St
                                Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500 Eggleston; 7508
                                Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656 Kingston; 7701
                                Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927
                                Essex; 7933 Essex; 7933 Kingston; 7937 Essex; 7943 Essex; 7947 Essex;
                                7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047 Manistee; 8100 Essex;
                                8107 Ellis; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326
                                Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 8405 Marquette; 8800 Ada) (.3);
                                attention to claimant inquiries (all) (.1).

                                Claims Administration & Objections
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     6/2/2022    JRW       4.20 Continued review and analysis of production documents (10012 LaSalle; 1017
                                W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W
                                83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437
                                Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana;
                                7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925
                                Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette;
                                8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346
                                Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529
                                Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (1.7); review claim and
                                update claims analysis spreadsheet (5437 Laflin) (.4); review claim and update
                                claims analysis spreadsheet (8107 Ellis) (.3); review claims against property
                                and update claims analysis spreadsheet (6807 S Indiana) (1.2); study emails
                                and related analysis concerning inquiry notice (all) (.6).



                                Claims Administration & Objections

     6/3/2022    JR        6.20 Extensive review of claims for properties, update claimant spreadsheet with
                                pertinent claimant's information for properties (5450 Indiana; 7109 Calumet;
                                6160 MLK; 7026 Cornell; 7201 Dorchester; 3074 Cheltenham; 4533
                                Calumet; 4520 Drexel; 6751 Merrill; 7110 Cornell; 638 Avers; 7834 Ellis;
                                4611 Drexel; 7237 Bennett; 6217 Dorchester; 7749 Yates; 8326 Ellis; 6437
                                Kenwood; 4315 Michigan; 6355 Talman; 701 S 5th; 7051 Bennett; 7442
                                Calumet; 7546 Saginaw; 7600 Kingston; 7701 Essex; 7748 Essex; 7957
                                Marquette; 8100 Essex).

                                Claims Administration & Objections

                 JRW       3.30 Confer with A. Watychowicz regarding claimant inquiries regarding
                                distributions (all) (.2); continued review and analysis of production documents
                                (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th;
                                1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W
                                68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759
                                Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712
                                Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953
                                Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107
                                Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405
                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 9610 Woodlawn) (3.1).

                                Claims Administration & Objections

     6/6/2022    AW        0.80 Work on responses to claimants regarding claims process, grouping of
                                properties, and potential distributions (all) (.5); communicate with J. Wine and
                                K. Duff regarding standard response to claimants regarding potential
                                distributions (all) (.2); call with J. Wine regarding review of documents
                                produced by institutional lender (10012 LaSalle; 1017 W 102nd; 11318
                                Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th;
                                3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd;
                                6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300
                                St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance;
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                                8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn) (.1).

                                Claims Administration & Objections

     6/6/2022    JR        2.70 Extensive review of claims for properties, update claimant spreadsheet with
                                pertinent claimant's information for properties (5450 Indiana; 5955
                                Sacramento; 4615 Drexel; 7237 Bennett; 6437 Kenwood; 7201 Dorchester;
                                701 S 5th; 6160 MLK; 7024 Paxton; 6217 Dorchester; 6250 Mozart; 638
                                Avers; 2909 E 78th; 7549 Essex; 8047 Manistee).

                                Claims Administration & Objections

                 JRW       3.10 Attention to claimant inquiries (all) (.1); continued review and analysis of
                                production documents and related conference with A. Watychowicz (10012
                                LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W
                                71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417
                                Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana;
                                6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles;
                                7922 Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine;
                                8030 Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214
                                Ingleside; 8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex;
                                8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (2.9);
                                telephone conference with claimants' counsel regarding documents from
                                vendor (all) (.1).

                                Claims Administration & Objections

     6/7/2022    AW        2.10 Communicate with J. Wine regarding and extract key documents from
                                institutional lender production (10012 LaSalle; 1017 W 102nd; 11318
                                Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310
                                E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61
                                E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210
                                Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925
                                Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette;
                                8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346
                                Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon;
                                8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn).

                                Claims Administration & Objections

                 JR        6.20 Extensive review of claims for properties, update claimant spreadsheet with
                                pertinent claimant's information for properties (5450 Indiana; 7546 Saginaw;
                                1700 Juneway; 6250 Mozart; 4533 Calumet; 8201 Kingston; 4611 Drexel;
                                7760 Coles; 7500 Eggleston; 3030 E. 79th; 7301 Stewart; 8100 Essex; 7748
                                Essex; 7927 Essex; 6001 Sacramento; 701 S 5th; 7600 Kingston; 6160 MLK;
                                2909 E 78th; 7549 Essex; 8047 Manistee; 7420 Colfax) (5.8); communication
                                with J. Wine relating to progress of claim review and additional instructions
                                regarding same (5450 Indiana) (.4).

                                Claims Administration & Objections
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     6/7/2022 JRW          7.10 Attention to responding to claimant inquiry (all) (.1); continued review and
                                analysis of production documents and update notes regarding same (10012
                                LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129
                                W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th;
                                417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807
                                Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760
                                Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000
                                Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209
                                Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405 Marquette;
                                8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610
                                Woodlawn) (3.9); conduct claims analysis for property (7051 Bennett) (3.1).

                                Claims Administration & Objections

     6/8/2022    AW        1.80 Prepare claimants' checklist and share with J. Wine and J. Rak (all) (.4); call
                                with J. Wine and J. Rak regarding review of claims (1102 Bingham; 11117
                                Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W
                                Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th;
                                3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611
                                Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK;
                                5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217
                                Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437
                                Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton;
                                7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett;
                                7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella;
                                7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston;
                                7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834
                                Ellis; 7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957
                                Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E
                                Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405
                                Marquette; 8800 Ada) (1.1); call with J. Wine regarding review of claims
                                (8100 Essex) (.3).

                                Claims Administration & Objections

                 AW        1.10 Response emails to claimants regarding claims process (all) (.2); complete
                                extraction of key documents from institutional lender production and related
                                communication with J. Wine (10012 LaSalle; 1017 W 102nd; 11318 Church;
                                1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213
                                Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd;
                                6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300
                                St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403
                                Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn) (.7); further communications with J.
                                Wine regarding produced documents (10012 LaSalle; 1017 W 102nd; 11318
                                Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th;
                                3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E
                                92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210
                                Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925
                                Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette;
                                8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside;
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                                  8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon;
                                  8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (.2).

                                  Claims Administration & Objections

     6/8/2022    AW        0.40 Attention to error messages on a number of produced documents and locate
                                working files of same (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401
                                W 109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop;
                                3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554
                                Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St
                                Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403
                                Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn).

                                  Claims Administration & Objections

                 JR        7.10 Extensive review of claims for properties, update claimant spreadsheet with
                                pertinent claimant's information for properties (5450 Indiana; 7546 Saginaw;
                                1700 Juneway; 6250 Mozart; 4533 Calumet; 8201 Kingston; 4611 Drexel;
                                7760 Coles; 7500 Eggleston; 3030 E. 79th; 7301 Stewart; 8100 Essex; 7748
                                Essex; 7927 Essex; 6001 Sacramento; 701 S 5th; 7600 Kingston; 6160 MLK;
                                2909 E 78th; 7549 Essex; 8047 Manistee; 7420 Colfax) (4.8); communication
                                with J. Wine and A. Watychowicz regarding progress of claim review and
                                additional instructions regarding updates to claim numbers pertaining to an
                                EBF Mortgagee spreadsheet for property (5450 Indiana) (.9); update claim
                                numbers including property numbers for all claims related to EBF Mortgagee
                                spreadsheet (5450 Indiana) (1.4).

                                  Claims Administration & Objections

                 JRW       4.70     Continued analysis of production documents (10012 LaSalle; 1017 W
                                  102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W
                                  83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby;
                                  5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825
                                  Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922
                                  Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030
                                  Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214
                                  Ingleside; 8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex;
                                  8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (2.4);
                                  work with A. Watychowicz and J. Rak on streamlining claims review process
                                  (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E
                                  62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E
                                  78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan;
                                  4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437
                                  Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E
                                  92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355 Talman; 6356
                                  California; 638 N Avers; 6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949
                                  Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet;
                                  7201 Dorchester; 7237 Bennett; 7255 Euclid; 7300 St Lawrence; 7301
                                  Stewart; 7442 Calumet; 7450 Luella; 7500 Eggleston; 7508 Essex; 7546
                                  Saginaw; 7549 Essex; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748
                                  Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927 Essex; 7933
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                                Essex; 7933 Kingston; 7937 Essex; 7943 Essex; 7947 Essex; 7953
                                Woodlawn; 7957 Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107
                                Ellis; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis;
                                8334 Ellis; 8342 Ellis; 8352 Ellis; 8405 Marquette; 8800 Ada) (1.7); review
                                claims and confer with J. Rak regarding updates to claims review
                                spreadsheet (5450 S Indiana) (.6).

                                Claims Administration & Objections

     6/9/2022    AW        4.50 Call with J. Wine regarding review of claims (8100 Essex) (.4); work on
                                review of claims (8100 Essex Avenue; 7834 Ellis; 7024 Paxton; 6160 MLK;
                                6801 East End; 7749 Yates; 6250 Mozart; 7760 Coles; 6001 Sacramento;
                                4317 Michigan; 7748 Essex; 1700 Juneway) (3.6); communicate with J. Rak
                                regarding non-receivership properties (defer) (.1); email exchanges with J.
                                Wine and J. Rak regarding consistency of claims review and agreed upon
                                format of spreadsheets (1102 Bingham; 11117 Longwood; 1131 E 79th;
                                1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 Juneway; 2736 W 64th;
                                2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E
                                42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750
                                Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955
                                Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester;
                                6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437 Kenwood;
                                6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026
                                Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255
                                Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500
                                Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656
                                Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis;
                                7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957 Marquette;
                                8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201
                                Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405 Marquette; 8800 Ada)
                                (.4).

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                 JR        3.90 Continue working on claims review project and the modification and
                                standardization of Receiver's claims review spreadsheets (1102 Bingham;
                                11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th;
                                1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310
                                E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533
                                Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana;
                                5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK;
                                6217 Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers;
                                6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024
                                Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237
                                Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450
                                Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600
                                Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles;
                                7834 Ellis; 7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957
                                Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E
                                Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405
                                Marquette; 8800 Ada).

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     6/9/2022    JR        0.80 Exchange communication with A. Watychowicz and J. Wine regarding
                                restructuring of EBF Mortgagee spreadsheet relating to pertinent information
                                for the remainder of the proof of claims review for properties (1102 Bingham;
                                11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th;
                                1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310
                                E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533
                                Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana;
                                5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK;
                                6217 Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers;
                                6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024
                                Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237
                                Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450
                                Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600
                                Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles;
                                7834 Ellis; 7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957
                                Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E
                                Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405
                                Marquette; 8800 Ada).

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                 JRW       2.10 Attention to claims review procedures and related telephone and email
                                communications with J. Rak and A. Watychowicz (1102 Bingham; 11117
                                Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W
                                Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th;
                                3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611
                                Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK;
                                5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217
                                Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437
                                Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton;
                                7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett;
                                7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella;
                                7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston;
                                7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834
                                Ellis; 7840 Yates; 7927 Essex; 7933 Essex; 7933 Kingston; 7937 Essex;
                                7943 Essex; 7947 Essex; 7953 Woodlawn; 7957 Marquette; 8000 Justine;
                                8047 Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston;
                                8209 Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 8405
                                Marquette; 8800 Ada) (1.4); continued review of production documents
                                (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th;
                                2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E
                                87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807
                                Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760
                                Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000
                                Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209
                                Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405 Marquette;
                                8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610
                                Woodlawn) (.7).

                                Claims Administration & Objections

     6/10/2022 AW          6.10 Work on review of claims (8100 Essex; 7026 Cornell; 701 S 5th; 7442
                                Calumet; 7508 Essex; 1700 Juneway; 5001 Drexel; 6437 Kenwood; 6001
                                Sacramento; 7834 Ellis; 4520 Drexel; 6250 Mozart; 7255 Euclid; 7625 East
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                                End; 6160 MLK; 7201 Dorchester; 7546 Saginaw; 7600 Kingston; 7748
                                Essex; 11117 Longwood; 7616 Phillips; 6801 East End; 7301 Stewart; 7500
                                Eggleston; 3030 E 79th; 7927 Essex; 7549 Essex; 2909 E 78th; 8047
                                Manistee; 7749 Yates) (4.1); attention to emails from trust and related
                                exchange with J. Wine (all) (.3); attention to issue regarding error in proof of
                                claims and related communication with J. Wine (8326 Ellis) (.3); review
                                claims and draft communications to claimants regarding errors (8326 Ellis)
                                (1.4).

                                Claims Administration & Objections

     6/10/2022 JR          1.20 Exchange communication with J. Wine regarding restructuring of EBF
                                Mortgagee spreadsheet relating to pertinent information for the remainder of
                                the proof of claims review (1102 Bingham; 11117 Longwood; 1131 E 79th;
                                1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th;
                                2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E
                                42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750
                                Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955
                                Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester;
                                6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437 Kenwood;
                                6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026
                                Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255
                                Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500
                                Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656
                                Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis;
                                7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957 Marquette;
                                8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201
                                Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405 Marquette; 8800 Ada)
                                (.7); exchange communication with A. Watychowicz regarding a property
                                address error found as it relates to various claimants, corrected property
                                address and claimant information (8326 Ellis) (.5).

                                Claims Administration & Objections

                 JR        5.50 Continue working on claims review project and the modification and
                                standardization of Receiver's claims review spreadsheets (1102 Bingham;
                                11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th;
                                1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310
                                E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533
                                Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana;
                                5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK;
                                6217 Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 N Avers;
                                6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024
                                Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237
                                Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450
                                Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600
                                Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles;
                                7834 Ellis; 7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957
                                Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E
                                Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405
                                Marquette; 8800 Ada).

                                Claims Administration & Objections
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     6/10/2022 JRW         1.00 Telephone conference with J. Rak regarding claims review procedures and
                                related correspondence regarding standardized format of analysis
                                spreadsheets (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W
                                109th; 1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E
                                81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315
                                Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001
                                Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001
                                Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355
                                Talman; 6356 California; 638 N Avers; 6437 Kenwood; 6554 Vernon; 6807
                                Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett;
                                7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255 Euclid; 7300 St
                                Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500 Eggleston; 7508
                                Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656 Kingston; 7701
                                Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927
                                Essex; 7933 Essex; 7933 Kingston; 7937 Essex; 7943 Essex; 7947 Essex;
                                7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047 Manistee; 8100 Essex;
                                8107 Ellis; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326
                                Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 8405 Marquette; 8800 Ada) (.7);
                                confer with A. Watychowicz regarding misidentified claims (8326 Ellis) (.1);
                                review and revise notice to claimants regarding corrections to Master Claims
                                sheet and related correspondence with A. Watychowicz (8326 Ellis) (.2).

                                Claims Administration & Objections

                 JRW       4.10 Analyze and prepare chronology of production documents and claims
                                (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516 E
                                85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th;
                                406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759
                                Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712
                                Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953
                                Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107
                                Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405
                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 9610 Woodlawn) (1.7); analyze claims against properties (1401 W
                                109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214
                                Ingleside) (2.4).

                                Claims Administration & Objections

     6/13/2022 AW          3.80 Work on review of claims (1700 Juneway; 5001 Drexel; 6437 Kenwood; 8100
                                Essex; 6001 Sacramento; 7026 Cornell; 7834 Ellis; 4520 Drexel; 6250
                                Mozart; 7255 Euclid; 7625 East End; 6160 MLK; 7201 Dorchester; 7508
                                Essex; 7546 Saginaw; 7600 Kingston; 7748 Essex; 11117 Longwood; 7616
                                Phillips; 6801 East End; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 7927
                                Essex; 7549 Essex; 2909 E 78th; 8047 Manistee; 7749 Yates) (3.4); follow
                                up with J. Wine regarding email to claimants and counsel (8326 Ellis) (.1);
                                communicate with K. Duff regarding late amendment to claim (all) (.1);
                                communicate with J. Wine regarding classification of claims (4520 Drexel;
                                5001 Drexel) (.2).

                                Claims Administration & Objections
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     6/13/2022 JR          2.00 Update claim information for all claims related to EBF Mortgagee
                                spreadsheet (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th;
                                1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E 81st;
                                2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315
                                Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001
                                Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001
                                Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355
                                Talman; 6356 California; 638 N Avers; 6437 Kenwood; 6554 Vernon; 6807
                                Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett;
                                7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255 Euclid; 7300 St
                                Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500 Eggleston; 7508
                                Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656 Kingston; 7701
                                Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927
                                Essex; 7933 Kingston; 7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047
                                Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston; 8209
                                Ellis; 8214 Ingleside; 8326 Ellis; 8405 Marquette; 8800 Ada).

                                Claims Administration & Objections

                 JRW       5.20 Correspondence regarding claims and contact data (all) (.3); finish
                                preparation of chronology regarding claims and related analysis to K. Duff
                                and M. Rachlis (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W
                                109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop;
                                3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554
                                Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St
                                Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403
                                Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn) (1.5); telephone conference with
                                counsel for class action plaintiffs regarding identification of class members
                                (defer) (.3); confer with A. Watychowicz regarding claims against properties
                                and related review of prior analysis (4520 Drexel; 5001 Drexel) (.3); analyze
                                claims against property (8209 Ellis) (2.1); analyze claim against properties
                                (1102 Bingham; 2736 W 64th) (.7).

                                Claims Administration & Objections

                 MR        0.50 Attention to notes and issues on claimant's production (10012 LaSalle; 1017
                                W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W
                                83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437
                                Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana;
                                7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella;
                                7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030
                                Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214
                                Ingleside; 8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex;
                                8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn).

                                Claims Administration & Objections

     6/14/2022 AW          2.00 Response email to claimants regarding custodian issues (all) (.1); attention
                                to email from potential claimant, review Receiver's correspondence and
                                records regarding claim, and related communications with J. Wine (all) (.6);
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                                reach out to claims vendor regarding possible claim (all) (.1); work on review
                                of claims (1700 Juneway; 5001 Drexel; 6437 Kenwood; 8100 Essex; 6001
                                Sacramento; 7026 Cornell; 7834 Ellis; 4520 Drexel; 6250 Mozart; 7255
                                Euclid; 7625 East End; 6160 MLK; 7201 Dorchester; 7508 Essex; 7546
                                Saginaw; 7600 Kingston; 7748 Essex; 11117 Longwood; 7616 Phillips; 6801
                                East End; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 7927 Essex; 7549
                                Essex; 2909 E 78th; 8047 Manistee; 7749 Yates) (1.2).

                                Claims Administration & Objections

     6/14/2022 JRW         2.70 Analyze claims against property (7107 Bennett; 7255 Euclid; 7508 Essex;
                                7748 Essex; 7749 Yates; 8209 S Ellis) (2.3); confer with A. Watychowicz
                                regarding missing claim (3074 Cheltenham; 7750 Muskegon; 8100 Essex)
                                (.1); exchange correspondence with claimants' counsel and vendor
                                regarding EB documents (all) (.1); exchange correspondence with class
                                plaintiff's counsel and related conference with A. Watychowicz regarding
                                Receiver's efforts to identify potential claimants (defer) (.2).

                                Claims Administration & Objections

                 MR        0.20 Attention to email and status regarding claimant (10012 LaSalle; 1017 W
                                102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st;
                                2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417
                                Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana;
                                6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles;
                                7922 Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine;
                                8030 Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214
                                Ingleside; 8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex;
                                8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn).

                                Claims Administration & Objections

     6/15/2022 AW          0.70 Communicate with J. Wine and J. Rak regarding progress in review of claims
                                (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E
                                62nd; 1422 E 68th; 1700 Juneway; 2736 W 64th; 2800 E 81st; 2909 E 78th;
                                3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan; 4520
                                Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin;
                                5450 Indiana; 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E 92nd;
                                6160 MLK; 6217 Dorchester; 6250 Mozart; 6355 Talman; 6356 California;
                                638 N Avers; 6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949 Merrill; 701
                                S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet; 7201
                                Dorchester; 7237 Bennett; 7255 Euclid; 7300 St Lawrence; 7301 Stewart;
                                7442 Calumet; 7450 Luella; 7500 Eggleston; 7508 Essex; 7546 Saginaw;
                                7549 Essex; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7749
                                Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927 Essex; 7933 Kingston; 7953
                                Woodlawn; 7957 Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107
                                Ellis; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis;
                                8405 Marquette; 8800 Ada) (.3); review brief insert and related
                                communication with J. Wine (defer) (.4).

                                Claims Administration & Objections
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     Date        Indiv Hours Description

     6/15/2022 JRW         1.60 Analyze claims against property (7051 Bennett) (.2); correspondence with
                                class counsel regarding amount of settlement and notice to class (defer)
                                (.1); study notes regarding Midland claims and claims against properties
                                securing notes (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W
                                109th; 1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th;
                                2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E
                                42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750
                                Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955
                                Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester;
                                6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437 Kenwood;
                                6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026
                                Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255
                                Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500
                                Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656
                                Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis;
                                7840 Yates; 7927 Essex; 7933 Essex; 7933 Kingston; 7937 Essex; 7943
                                Essex; 7947 Essex; 7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047
                                Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston; 8209
                                Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 8405
                                Marquette; 8800 Ada) (1.1); draft correspondence to claimants' counsel
                                regarding single claim process (10012 LaSalle; 1017 W 102nd; 11318
                                Church; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E
                                87th; 417 Oglesby; 6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon;
                                7712 Euclid; 7922 Luella; 7925 Kingston; 8030 Marquette; 8104 Kingston;
                                8107 Kingston; 8346 Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon;
                                8529 Rhodes; 9212 Parnell; 9610 Woodlawn) (.2).

                                Claims Administration & Objections

                 JRW       1.50 Confer with M. Rachlis and K. Duff regarding analysis of claims against
                                institutional lender claimant properties and potential procedures for resolution
                                of claims (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th;
                                1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop;
                                3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554
                                Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St
                                Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403
                                Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn).

                                Claims Administration & Objections

                 MR        1.90 Conferences with K. Duff and J. Wine regarding various issues on claimant's
                                properties (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W
                                109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop;
                                3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554
                                Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St
                                Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403
                                Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn) (1.5); further attention to various
                                materials regarding various issues on Midland properties (10012 LaSalle;
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                                1017 W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st;
                                2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417
                                Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana;
                                6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles;
                                7922 Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine;
                                8030 Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214
                                Ingleside; 8346 Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex;
                                8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (.4).

                                Claims Administration & Objections

     6/16/2022 AW          1.10 Communicate with J. Wine regarding claims review and attention to claims
                                spreadsheet (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th;
                                1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E 81st;
                                2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315
                                Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001
                                Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001
                                Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355
                                Talman; 6356 California; 638 N Avers; 6437 Kenwood; 6554 Vernon; 6807
                                Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett;
                                7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255 Euclid; 7300 St
                                Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500 Eggleston; 7508
                                Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656 Kingston; 7701
                                Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927
                                Essex; 7933 Kingston; 7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047
                                Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston; 8209
                                Ellis; 8214 Ingleside; 8326 Ellis; 8405 Marquette; 8800 Ada) (.6);
                                communicate with claimants regarding update to claims documents for
                                property (8326 Ellis) (.2); respond to emails regarding update to claims
                                documents (8326 Ellis) (.2); communicate with J. Wine regarding motion to
                                approve settlement (defer) (.1).

                                Claims Administration & Objections

                 JR        0.30 Review email correspondence from J. Wine and respond accordingly
                                regarding claims process (1102 Bingham; 11117 Longwood; 1131 E 79th;
                                1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th;
                                2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E
                                42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel; 4750
                                Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955
                                Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester;
                                6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437 Kenwood;
                                6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026
                                Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett; 7255
                                Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500
                                Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7656
                                Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834 Ellis;
                                7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957 Marquette;
                                8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E Marquette; 8201
                                Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405 Marquette; 8800 Ada).

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     6/16/2022 JRW         0.70 Review and comment on language for draft declaration and related
                                correspondence with A. Watychowicz regarding notice to claimants (defer)
                                (.3); review claims analysis and provide comments to J. Rak and A.
                                Watychowicz (8100 Essex) (.4).

                                Claims Administration & Objections

     6/17/2022 AW          1.80 Review emails, claims, and documents and communicate with claims vendor
                                regarding claimant) (all) (.5); call with claimant regarding update to claims
                                documents (8326 Ellis) (.2); communicate with K. Duff and M. Rachlis
                                regarding and responses to multiple emails and voice messages from
                                claimant regarding property (8326 Ellis) (1.1).


                                Claims Administration & Objections

                 MR        1.20 Attention to issues raised by claimant and follow up regarding same (8326
                                Ellis) (.3); various exchanges and correspondence with K. Duff regarding
                                issues associated with possible resolution of U.S. Bank claims (7110 Cornell;
                                6749 Merrill) (.9).

                                Claims Administration & Objections

     6/21/2022 AW          0.60 Communicate with K. Pritchard regarding claims vendor contact (all) (.1);
                                reach out to claims vendor regarding claim (all) (.1); communicate with K.
                                Duff regarding response email from claimant (all) (.1); draft email to potential
                                claimant and related exchange with K. Duff (all) (.2); attention to filed
                                settlement motion and related email to K. Duff (defer) (.1).


                                Claims Administration & Objections

                 MR        0.20 Review materials regarding claim (all).

                                Claims Administration & Objections

     6/22/2022 AW          1.70 Continued work on review of claims and related email to J. Wine (1700
                                Juneway; 5001 Drexel; 6437 Kenwood; 8100 Essex; 6001 Sacramento; 7026
                                Cornell; 7834 Ellis; 4520 Drexel; 6250 Mozart; 7255 Euclid; 7625 East End;
                                6160 MLK; 7201 Dorchester; 7508 Essex; 7546 Saginaw; 7600 Kingston;
                                7748 Essex; 11117 Longwood; 7616 Phillips; 6801 East End; 7301 Stewart;
                                7500 Eggleston; 3030 E 79th; 7927 Essex; 7549 Essex; 2909 E 78th; 8047
                                Manistee; 7749 Yates).

                                Claims Administration & Objections

                 MR        0.50 Telephone conference with K. Duff regarding settlement of third party action
                                and related issues (all) (.2); telephone conference with K. Duff regarding
                                resolution of issues relating to distribution regarding claimant (7110 Cornell;
                                6749 Merrill) (.1); attention to correspondence regarding resolution of issues
                                relating to distribution regarding claimant (7110 Cornell; 6749 Merrill) (.2).
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 129 of 2195 PageID #:71045
 Kevin B. Duff, Receiver                                                                                Page 22


     Date        Indiv Hours Description


                                Claims Administration & Objections

     6/23/2022 MR          0.60 Attention to e-mails and follow up regarding various issues associated with
                                distribution and resolution of claims (6749 Merrill; 7110 Cornell).

                                Claims Administration & Objections

     6/24/2022 MR          0.20 Exchanges and follow up regarding court order on property (6749 Merrill).


                                Claims Administration & Objections

     6/26/2022 AW          0.10 Email claims vendor regarding claim information (all).

                                Claims Administration & Objections

     6/27/2022 AW          2.20 Continue review of claims (1700 Juneway; 5001 Drexel; 6437 Kenwood;
                                8100 Essex; 6001 Sacramento; 7026 Cornell; 7834 Ellis; 4520 Drexel; 6250
                                Mozart; 7255 Euclid; 7625 East End; 6160 MLK; 7201 Dorchester; 7508
                                Essex; 7546 Saginaw; 7600 Kingston; 7748 Essex; 11117 Longwood; 7616
                                Phillips; 6801 East End; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 7927
                                Essex; 7549 Essex; 2909 E 78th; 8047 Manistee; 7749 Yates) (2.1); respond
                                to claimant's representative regarding notice of receivership (all) (.1).


                                Claims Administration & Objections

                 MR        0.30 Attention to issues on claimant’s items including issues on reimbursement
                                (7110 Cornell; 6749 Merrill).

                                Claims Administration & Objections

     6/28/2022 AW          1.30 Review claims (1700 Juneway; 5001 Drexel; 6437 Kenwood; 8100 Essex;
                                6001 Sacramento; 7026 Cornell; 7834 Ellis; 4520 Drexel; 6250 Mozart; 7255
                                Euclid; 7625 East End; 6160 MLK; 7201 Dorchester; 7508 Essex; 7546
                                Saginaw; 7600 Kingston; 7748 Essex; 11117 Longwood; 7616 Phillips; 6801
                                East End; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 7927 Essex; 7549
                                Essex; 2909 E 78th; 8047 Manistee; 7749 Yates) (1.2); attention to
                                claimants' status report on single claim properties and related email to
                                counsel (sole lien) (.1).

                                Claims Administration & Objections

                 JRW       0.80 Review status report identifying single claim properties, review exhibits to
                                Receiver's status reports (sole lien) (.1); correspondence with Judge Kim
                                regarding property address (6749 Merrill) (.3); exchange correspondence
                                with K. Duff regarding status of claims and related review of claimant
                                inquiries and responses (defer) (.2); review and provide comments on
                                spreadsheet regarding potential distribution (6749 Merrill; 7110 Cornell) (.2).
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 130 of 2195 PageID #:71046
 Kevin B. Duff, Receiver                                                                               Page 23


     Date        Indiv Hours Description


                                Claims Administration & Objections

     6/28/2022 MR          1.10 Attention to issues and correspondence impacting analysis of distributions to
                                claimant (7110 Cornell; 6749 Merrill) (.4); participate in conferences with K.
                                Duff and claimant's counsel (7110 Cornell; 6749 Merrill) (.2); various
                                conferences and follow up with K. Duff regarding potential distribution to
                                claimant (7110 Cornell; 6749 Merrill) (.5).

                                Claims Administration & Objections

     6/29/2022 AW          4.00 Review claims (8100 Essex; 7834 Ellis; 4317 Michigan; 7237 Bennett; 7508
                                Essex; 8326 Ellis; 5001 Drexel; 2736 W 64th; 6355 Talman) (3.9); email
                                claimant's regarding claims process (all) (.1).

                                Claims Administration & Objections

                 JRW       0.90 Telephone conference with claimants' counsel regarding EB document
                                database export and related correspondence to vendor (all108) (.3);
                                conference call with claimants' counsel and vendors regarding reprocessing
                                of data (all108) (.5); follow up call with T. Gale regarding document database
                                and data (all108) (.1).


                                Claims Administration & Objections

                 MR        0.40 Attention to various issues regarding reports and items for resolution of
                                issues with claimant (7110 Cornell; 6749 Merrill) (.2); attention to issues on
                                claimant's properties (10012 LaSalle; 1017 W 102nd; 11318 Church; 1401 W
                                109th; 1516 E 85th; 2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop;
                                3723 W 68th; 406 E 87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554
                                Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St
                                Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette; 8104 Kingston;
                                8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346 Constance; 8403
                                Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800
                                Ada; 9212 Parnell; 9610 Woodlawn) (.2).

                                Claims Administration & Objections

     6/30/2022 AW          5.40 Review claims (8100 Essex; 7508 Essex; 2736 W 64th; 6355 Talman; 7549
                                Essex; 2909 E 78th; 8047 Manistee) (4.8); respond to claimant regarding
                                former EB property (defer) (.1); respond to claimant regarding anticipated
                                ruling (Group 1) (.1); email exchanges and calls with J. Wine and J. Rak
                                regarding hard drive (all) (.4).

                                Claims Administration & Objections

                 JRW       1.30 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012
                                LaSalle; 1017 W 102nd; 11318 Church; 1401 W 109th; 1516 E 85th;
                                2129 W 71st; 2136 W 83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E
                                87th; 417 Oglesby; 5437 Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana;
                                6807 Indiana; 6825 Indiana; 7210 Vernon; 7300 St Lawrence; 7712 Euclid;
                                7760 Coles; 7922 Luella; 7925 Kingston; 7933 Kingston; 7953 Woodlawn;
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 131 of 2195 PageID #:71047
 Kevin B. Duff, Receiver                                                                                Page 24


     Date        Indiv Hours Description

                                8000 Justine; 8030 Marquette; 8104 Kingston; 8107 Ellis; 8107 Kingston;
                                8209 Ellis; 8214 Ingleside; 8346 Constance; 8403 Aberdeen; 8405
                                Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 9610 Woodlawn) (.4); confer with claimants' counsel and related
                                conference with K. Duff and M. Rachlis regarding document database and
                                export issues and related communications with A. Watychowicz and J. Rak
                                regarding hard drive (all) (.8); review and comment on spreadsheet and
                                correspondence to claimants' counsel (6749 Merrill; 7110 Cornell) (.1).

                                Claims Administration & Objections

     6/30/2022 JRW         0.20 Telephone conference with A. Watychowicz regarding claims review issues
                                (1102 Bingham; 11117 Longwood; 1131 E 79th; 1401 W 109th; 1414 E
                                62nd; 1422 E 68th; 1700 W Juneway; 2736 W 64th; 2800 E 81st; 2909 E
                                78th; 3030 E 79th; 310 E 50th; 3723 W 68th; 431 E 42nd; 4315 Michigan;
                                4520 Drexel; 4533 Calumet; 4611 Drexel; 4750 Indiana; 5001 Drexel; 5437
                                Laflin; 5450 Indiana; 5618 MLK; 5955 Sacramento; 6001 Sacramento; 61 E
                                92nd; 6160 MLK; 6217 Dorchester; 6250 Mozart; 6355 Talman; 6356
                                California; 638 N Avers; 6437 Kenwood; 6554 Vernon; 6807 Indiana; 6949
                                Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell; 7051 Bennett; 7109 Calumet;
                                7201 Dorchester; 7237 Bennett; 7255 Euclid; 7300 St Lawrence; 7301
                                Stewart; 7442 Calumet; 7450 Luella; 7500 Eggleston; 7508 Essex; 7546
                                Saginaw; 7549 Essex; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748
                                Essex; 7749 Yates; 7760 Coles; 7834 Ellis; 7840 Yates; 7927 Essex; 7933
                                Kingston; 7953 Woodlawn; 7957 Marquette; 8000 Justine; 8047 Manistee;
                                8100 Essex; 8107 Ellis; 816 E Marquette; 8201 Kingston; 8209 Ellis; 8214
                                Ingleside; 8326 Ellis; 8405 Marquette; 8800 Ada).

                                Claims Administration & Objections

                 JRW       1.50 Research in document database regarding rollovers and return of principal
                                and other claims review issues (1102 Bingham; 11117 Longwood; 1131 E
                                79th; 1401 W 109th; 1414 E 62nd; 1422 E 68th; 1700 W Juneway; 2736 W
                                64th; 2800 E 81st; 2909 E 78th; 3030 E 79th; 310 E 50th; 3723 W 68th;
                                431 E 42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611 Drexel;
                                4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK; 5955
                                Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester;
                                6250 Mozart; 6355 Talman; 6356 California; 638 N Avers; 6437 Kenwood;
                                6554 Vernon; 6807 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026
                                Cornell; 7051 Bennett; 7109 Calumet; 7201 Dorchester; 7237 Bennett;
                                7255 Euclid; 7300 St Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella;
                                7500 Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston;
                                7656 Kingston; 7701 Essex; 7748 Essex; 7749 Yates; 7760 Coles; 7834
                                Ellis; 7840 Yates; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 7957
                                Marquette; 8000 Justine; 8047 Manistee; 8100 Essex; 8107 Ellis; 816 E
                                Marquette; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8405
                                Marquette; 8800 Ada).

                                Claims Administration & Objections

                 MR        1.40 Attention to various issues regarding claimant's potential distribution (7110
                                Cornell; 6749 Merrill) (.3); conferences with K. Duff regarding potential
                                distribution (7110 Cornell; 6749 Merrill) (.7); conferences regarding
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    Kevin B. Duff, Receiver                                                                                 Page 25


        Date        Indiv Hours Description

                                   claimant's properties with K. Duff and J. Wine (10012 LaSalle; 1017 W
                                   102nd; 11318 Church; 1401 W 109th; 1516 E 85th; 2129 W 71st; 2136 W
                                   83rd; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 5437
                                   Laflin; 61 E 92nd; 6554 Rhodes; 6759 Indiana; 6807 Indiana; 6825 Indiana;
                                   7210 Vernon; 7300 St Lawrence; 7712 Euclid; 7760 Coles; 7922 Luella; 7925
                                   Kingston; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030 Marquette;
                                   8104 Kingston; 8107 Ellis; 8107 Kingston; 8209 Ellis; 8214 Ingleside; 8346
                                   Constance; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517 Vernon;
                                   8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn) (.4).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                   [138.20         27389.00]

Tax Issues

        6/1/2022    KMP       0.30 Revise, finalize, and prepare transmittal of response letter to tax authority
                                   regarding notice relating to 2017 entity tax return.


                                   Tax Issues

        6/3/2022    AW        0.10 Attention to notice from IRS and related email to counsel (6217 Dorchester;
                                   7255 Euclid; 6250 Mozart; 7024 Paxton; 638 Avers).


                                   Tax Issues

                    KMP       0.40 Study collection notice for 2017 past due taxes for EB entity and related
                                   communications with K. Duff, tax accountant and tax administrator (6949
                                   Merrill) (.2); update spreadsheet tracking tax notices (6949 Merrill) (.2).


                                   Tax Issues

        6/14/2022 KMP         0.30 Draft response to collection notice relating to overdue entity taxes (6949
                                   Merrill).

                                   Tax Issues

        6/15/2022 KMP         0.30 Finalize response to collection notice relating to overdue entity taxes and
                                   prepare transmittal (6949 Merrill).

                                   Tax Issues

        6/24/2022 KMP         1.20 Attention to receipt of notice from tax authority and related communications
                                   with accountant and tax administrator (.2); update spreadsheet tracking tax-
                                   related notices (.2); review and compile prior notices and response letters
                                   and forward to tax administrator at her request (.8).
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   Kevin B. Duff, Receiver                                                     Page 26


       Date        Indiv Hours Description


                               Tax Issues


SUBTOTAL:                                                           [ 2.60       364.00]




                                                                    205.70    $45,173.00
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    Kevin B. Duff, Receiver                                                              Page 27




Other Charges

                                      Description

Business Operations

                                      Software license fees for June 2022 (Google           96.00
                                      Suite, $96)



SUBTOTAL:                                                                           [       96.00]


Total Other Charges                                                                        $96.00




                                    Summary of Activity
                                                                      Hours      Rate
Jodi Wine                                                             51.30    260.00   $13,338.00
Ania Watychowicz                                                      42.40    140.00    $5,936.00
Justyna Rak                                                           61.80    140.00    $8,652.00
Kathleen M. Pritchard                                                  6.30    140.00     $882.00
Stoja Zjalic                                                           2.70    110.00     $297.00
Ellen Duff                                                            32.10    390.00   $12,519.00
Michael Rachlis                                                        9.10    390.00    $3,549.00
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    Kevin B. Duff, Receiver                                                       Page 28




                                      SUMMARY


                   Legal Services                                $45,173.00
                   Other Charges                                     $96.00

                      TOTAL DUE                                  $45,269.00




Previous balance                                                              $2,384,460.00


Balance due                                                                   $2,429,729.00
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                  Exhibit +
 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 137 of 2195 PageID #:71053

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Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 140 of 2195 PageID #:71056




                 Exhibit ,
       Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 141 of 2195 PageID #:71057



~
                                                                                                4123 Lankershim Boulevard
                                                                                                 North Hollywood, CA 91602


MILLER
KAPLAN

Kevin B. Duff
Receiver for EquityBuild Inc
Rachlis Duff Adler Peel & Kaplan LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605

Invoice:       556023                                                                                  SEC E.A. reference:
ID:            3077400                                                                   SEC/DC Case Number: 1:18-cv-05587
Date:                                                                                 Responsible Party for Payment:
Due Date:      0/2022                                                    Tax Administrator Appointment Date:


For professional services rendered as follows:                                                 SEC
                                                                                            DISCOUNT
             DATE           SERVICE                                               STAFF       RATE   HOURS          AMOUNT




General Consulting Services - General Consulting
           05/17/2022       Tax Planning                                            JD        440.000       1.00      440.00
                               conference with Kevin Duff and Julia
                               Damasco re tax planning
           06/03/2022       Discussions/Meetings                                    JD        440.000       0.25      110.00
                               Conference call: K. Duff and J. Corbin
Qualified Settlement Fund Services - Tax Return
           04/08/2022       Review                                                 JAC        180.000       0.70      126.00
                               Review 2021 tax returns.
           04/08/2022       Assemble                                                ER        160.000       0.25       40.00
                               Extension transmittal and communication to
                               client.
           05/25/2022       Preparation                                            JAC        180.000       4.50      810.00
                               Preparation of income tax returns.
           05/27/2022       Preparation                                            JAC        180.000       0.30       54.00
                               Preparation of income tax returns.
           05/31/2022       Preparation                                            JAC        180.000       0.30       54.00
                               Preparation of income tax returns.
           06/03/2022       Discussions/Meetings                                   JAC        180.000       0.80      144.00
                               Preparation of income tax returns.
Notices - Tax Agency Notice
           06/24/2022       Discussions/Meetings                                   JAC         180.00       0.30       54.00
                               Review and respond to client re: IRS letter
                               received on behalf of 3400 Newkirk LLC for
                               the 2013 tax year.
Qualified Settlement Fund Services - Tax Return
           05/20/2022       Discussions/Meetings                                    JD        440.000       0.25      110.00


                                     O. 818.769.2010 / F. 818.769.3100 / FED EIN XX-XXXXXXX
                                                       MILLERKAPLAN.COM
      Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 142 of 2195 PageID #:71058
Miller Kaplan Arase LLP                                                                                                Page 2 of 2

                             Discussion with J. Corbin re gain/loss project
        05/25/2022        Preparation                                                 KS          92.000    1.50      138.00
                             Preparation of income tax returns.
        05/27/2022        Discussions/Meetings                                        JD         440.000    0.50      220.00
                             Discuss status of gain/loss calculations with J.
                             Corbin
        06/02/2022        Preparation                                                 JAC        180.000    0.60      108.00
                             Preparation of income tax returns.
        06/02/2022        Preparation                                                 JAC        180.000    3.15      567.00
                             Preparation of income tax returns. Status
                             update w/ JPD.
                                                                                      Total for Services            2,975.00
                                                                                      Invoice Total                 $2,975.00


                               PLEASE REMIT PAYMENT VIA WIRE TRANSFER OR CHECK
                                    ACCORDING TO THE INSTRUCTIONS BELOW:
                                                WIRE FUNDS TO:

                                               CITY NATIONAL BANK
                                        400 N. ROXBURY DRIVE, 5TH FLOOR
                                             BEVERLY HILLS, CA 90210
                                  ABA NUMBER 122016066 SWIFT CODE CINAUS6L
                                    BENEFICIARY ACCOUNT NUMBER 113-238313
                              BENEFICIARY ACCOUNT NAME: MILLER KAPLAN ARASE LLP

                                                MAKE CHECK PAYABLE TO:

                                          MILLER KAPLAN ARASE LLP
                            4123 LANKERSHIM BLVD, NORTH HOLLYWOOD, CA 91602-2828




        07/22/2022           06/30/2022            05/31/2022            04/30/2022          03/31/2022+                Total
          2,975.00                  0.00                  0.00             9,594.60                  0.00          $12,569.60
                                  O. 818.769.2010 / F. 818.769.3100 / FED EIN XX-XXXXXXX
                                                      MILLERKAPLAN.COM
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 143 of 2195 PageID #:71059




                 Exhibit -
           Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 144 of 2195 PageID #:71060



                        Prometheum Technologies, Inc.
                           2639 Lewndele Ave        •   Ev1mston, llllnols 6020 I
                               ph: 3 I 2-.(105-3B36 •    www.prometheum.net




                                                                                                       Invoice
        BILL TO
                                                                                           DATE              INVOICE #
      EquityBuild
      Kevin Duff                                                                          7/13/2022            15059




                                                                    TERMS              PROJECT




QUANTITY SERVICED                                                        DESCRIPTION                  RATE    AMOUNT

           1   4/8/2022        Updated website for Ania.                                            110.00        110.00
         0.5   4/29/2022       Moved some files on website for Ania.                                110.00         55.00
           1   5/9/2022        Updated website with info from Ania.                                 110.00        110.00
         0.5   5/20/2022       Fixed website errors for Ania.                                       110.00         55.00
         0.5   5/23/2022       Updated website with entries from Ania.                              110.00         55.00
         0.5   6/6/2022        Updated website for Ania.                                            110.00         55.00
                               Illinois Sales Tax                                                 10.25%            0.00




Thank you for your business.
                                                                                                 Total           $440.00
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 145 of 2195 PageID #:71061




                 Exhibit .
                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 146 of 2195 PageID #:71062


                                                                                     EquityBuildͲPropertyAllocationSummary
                                                                                      16thFeeApplication(2ndQuarter2022)

                                                                                                                       GeneralAllocation(s)[1]                                             SpecificAllocation(s)[2]                                           TotalAllocation(s)[3]
                                                                          AllocationPercent(1/29/2021
Prop#                   PropertyAddress          AllocationPercent                                                 Hours                         Fees                       SpecificHours                   SpecificFees                    TotalHours                        TotalFees
                                                                            andOnward,ClaimsOnly)
  1      1700Ͳ08WJunewayTerrace                       3.50940296270%               3.77036053601% 3.29        $ 805.28  33.40 $4,746.44  36.69 $5,551.72
          AssetDisposition[4]                                                                      0.01   $1.47 0.04 $5.09 0.05 $6.56
          BusinessOperations[5]                                                                    1.95   $509.00 0.37 $52.41 2.32 $561.41
          ClaimsAdministration&Objections[6]                                                     1.33   $294.80 32.99 $4,688.94 34.32 $4,983.75
  2      4533Ͳ47SCalumetAvenue                        2.65711938604%               2.85470154870% 2.49        $ 609.71 4.35 $ 713.89 6.84 $1,323.60
          AssetDisposition[4]                                                                      0.01   $1.12 Ͳ $Ͳ 0.01 $1.12
          BusinessOperations[5]                                                                    1.47   $385.39 0.88 $172.41 2.36 $557.80
          ClaimsAdministration&Objections[6]                                                     1.01   $223.21 3.47 $541.47 4.48 $764.68
  3      5001SDrexelBoulevard                         3.50940296270%               3.77036053601% 3.29        $ 805.28 2.03 $ 358.18 5.32 $1,163.47
          AssetDisposition[4]                                                                      0.01   $1.47 Ͳ $Ͳ 0.01 $1.47
          BusinessOperations[5]                                                                    1.95   $509.00 0.24 $33.44 2.19 $542.45
          ClaimsAdministration&Objections[6]                                                     1.33   $294.80 1.79 $324.74 3.12 $619.54
  4      5450Ͳ52SIndianaAvenue                        2.25604476173%               2.42380320172% 2.11        $ 517.68  19.71 $2,918.23  21.82 $3,435.91
          AssetDisposition[4]                                                                      0.01   $0.95 0.04 $5.09 0.04 $6.04
          BusinessOperations[5]                                                                    1.25   $327.22 0.73 $101.82 1.98 $429.04
          ClaimsAdministration&Objections[6]                                                     0.86   $189.52 18.95 $2,811.32 19.80 $3,000.84
  5      7749Ͳ59SYatesBoulevard                       1.41002797608%               1.51487700108% 1.32        $ 323.55 4.67 $ 770.43 5.99 $1,093.98
          AssetDisposition[4]                                                                      0.00   $0.59 Ͳ $Ͳ 0.00 $0.59
          BusinessOperations[5]                                                                    0.78   $204.51 0.24 $33.44 1.02 $237.95
          ClaimsAdministration&Objections[6]                                                     0.53   $118.45 4.43 $736.98 4.96 $855.43
  6      6437Ͳ41SKenwoodAvenue                        1.77350185436%               1.90537862802% 1.66        $ 406.96 2.84 $ 453.69 4.50 $ 860.65
          AssetDisposition[4]                                                                      0.01   $0.74 0.04 $5.09 0.04 $5.84
          BusinessOperations[5]                                                                    0.98   $257.23 0.37 $52.41 1.36 $309.64
          ClaimsAdministration&Objections[6]                                                     0.67   $148.98 2.43 $396.19 3.10 $545.17
  7      7109Ͳ19SCalumetAvenue                        1.87834526787%               2.01801814903% 1.76        $ 431.01 7.70 $1,258.48 9.46 $1,689.49
          AssetDisposition[4]                                                                      0.01   $0.79 4.70 $758.00 4.71 $758.79
          BusinessOperations[5]                                                                    1.04   $272.44 2.15 $326.61 3.20 $599.05
          ClaimsAdministration&Objections[6]                                                     0.71   $157.79 0.84 $173.87 1.55 $331.66
  8      1414Ͳ18East62ndPlace                         0.06921545329%               0.07436228223% 0.06        $ 15.88 0.63 $ 143.94 0.69 $ 159.82
          AssetDisposition[4]                                                                      0.00   $0.03 Ͳ  $Ͳ 0.00 $0.03
          BusinessOperations[5]                                                                    0.04   $10.04 Ͳ   $Ͳ 0.04 $10.04
          ClaimsAdministration&Objections[6]                                                     0.03   $5.81 0.63 $143.94 0.65 $149.75
  9      8100SEssexAvenue                             1.37869402106%               1.48121306772% 1.29        $ 316.36 8.17 $1,252.18 9.46 $1,568.54
          AssetDisposition[4]                                                                      0.00   $0.58 Ͳ $Ͳ 0.00 $0.58
          BusinessOperations[5]                                                                    0.77   $199.97 0.23 $32.00 0.99 $231.97
          ClaimsAdministration&Objections[6]                                                     0.52   $115.82 7.94 $1,220.18 8.47 $1,335.99
 10      7301Ͳ09SStewartAvenue                        0.81468283063%               0.87526226729% 0.76        $ 186.94 4.45 $ 678.84 5.21 $ 865.78
          AssetDisposition[4]                                                                      0.00   $0.34 0.16 $22.40 0.16 $22.74
          BusinessOperations[5]                                                                    0.45   $118.16 Ͳ     $Ͳ 0.45 $118.16
          ClaimsAdministration&Objections[6]                                                     0.31   $68.44 4.29 $656.44 4.60 $724.87
 11      7500Ͳ06SEgglestonAvenue                      1.20322387292%               1.29269504092% 1.13        $ 276.10 4.45 $ 678.84 5.58 $ 954.93
          AssetDisposition[4]                                                                      0.00   $0.51 0.16 $22.40 0.16 $22.91
          BusinessOperations[5]                                                                    0.67   $174.52 Ͳ     $Ͳ 0.67 $174.52
          ClaimsAdministration&Objections[6]                                                     0.46   $101.08 4.29 $656.44 4.75 $757.51
 12      3030Ͳ32E79thStreet                           0.50134328039%               0.53862293372% 0.47        $ 115.04 4.45 $ 678.84 4.92 $ 793.88
          AssetDisposition[4]                                                                      0.00   $0.21 0.16 $22.40 0.16 $22.61
          BusinessOperations[5]                                                                    0.28   $72.71 Ͳ   $Ͳ 0.28 $72.71
          ClaimsAdministration&Objections[6]                                                     0.19   $42.11 4.29 $656.44 4.48 $698.55
 13      2909Ͳ19E78thStreet                           1.78728879457%               1.92019075870% 1.68        $ 410.12 5.83 $ 872.51 7.51 $1,282.63
          AssetDisposition[4]                                                                      0.01   $0.75 0.16 $22.40 0.17 $23.15
          BusinessOperations[5]                                                                    0.99   $259.23 Ͳ     $Ͳ 0.99 $259.23
          ClaimsAdministration&Objections[6]                                                     0.68   $150.14 5.67 $850.11 6.35 $1,000.25
 14      7549Ͳ59SEssexAvenue                          1.47269588613%               1.58220486779% 1.38        $ 337.93 5.83 $ 872.51 7.21 $1,210.44
          AssetDisposition[4]                                                                      0.00   $0.62 0.16 $22.40 0.16 $23.02
          BusinessOperations[5]                                                                    0.82   $213.60 Ͳ     $Ͳ 0.82 $213.60
          ClaimsAdministration&Objections[6]                                                     0.56   $123.71 5.67 $850.11 6.23 $973.83
 15      8047Ͳ55SManisteeAvenue                       1.22202424594%               1.31289340093% 1.15        $ 280.41 5.67 $ 850.11 6.82 $1,130.52
          AssetDisposition[4]                                                                      0.00   $0.51 Ͳ   $Ͳ   0.00 $0.51




                                                                                                             1of6
                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 147 of 2195 PageID #:71063


                                                                                     EquityBuildͲPropertyAllocationSummary
                                                                                      16thFeeApplication(2ndQuarter2022)

                                                                                                                          GeneralAllocation(s)[1]                                                SpecificAllocation(s)[2]                                           TotalAllocation(s)[3]
                                                                          AllocationPercent(1/29/2021
Prop#                   PropertyAddress          AllocationPercent                                                  Hours                               Fees                       SpecificHours                  SpecificFees                    TotalHours                        TotalFees
                                                                            andOnward,ClaimsOnly)
          BusinessOperations[5]                                                                            0.68 $177.24 Ͳ  $Ͳ 0.68 $177.24
          ClaimsAdministration&Objections[6]                                                             0.46 $102.66 5.67 $850.11 6.14 $952.77
 22      7933SKingstonAvenue                          0.11472614293%               0.12325712559% 0.11               $ 26.33 1.80 $ 451.89 1.91 $ 478.22
          AssetDisposition[4]                                                                      0.00          $0.05 Ͳ  $Ͳ 0.00 $0.05
          BusinessOperations[5]                                                                    0.06          $16.64 0.01 $1.14 0.07 $17.78
          ClaimsAdministration&Objections[6]                                                     0.04          $9.64 1.80 $450.76 1.84 $460.40
 26      8405SMarquetteAvenue                         0.14234514424%               0.15292986301% 0.13               $ 32.66 1.80 $ 451.89 1.94 $ 484.56
          AssetDisposition[4]                                                                      0.00          $0.06 Ͳ $Ͳ  0.00 $0.06
          BusinessOperations[5]                                                                    0.08          $20.65 0.01 $1.14 0.09 $21.78
          ClaimsAdministration&Objections[6]                                                     0.05          $11.96 1.80 $450.76 1.85 $462.72
 28      8800SAdaStreet                               0.16465366686%               0.17689723701% 0.15               $ 37.78 1.80 $ 451.89 1.96 $ 489.67
          AssetDisposition[4]                                                                      0.00          $0.07 Ͳ $Ͳ  0.00 $0.07
          BusinessOperations[5]                                                                    0.09          $23.88 0.01 $1.14 0.10 $25.02
          ClaimsAdministration&Objections[6]                                                     0.06          $13.83 1.80 $450.76 1.86 $464.59
 33      3723W68thPlace                               0.16146637696%               0.17347294170% 0.15               $ 37.05 1.85 $ 465.02 2.01 $ 502.07
          AssetDisposition[4]                                                                              0.00 $0.07 Ͳ $Ͳ  0.00 $0.07
          BusinessOperations[5]                                                                            0.09 $23.42 0.01 $1.14 0.10 $24.55
          ClaimsAdministration&Objections[6]                                                             0.06 $13.56 1.85 $463.88 1.91 $477.45
 35      61E92ndStreet                                0.13405919317%               0.14402777248% 0.13               $ 30.76 1.85 $ 465.02 1.98 $ 495.78
          AssetDisposition[4]                                                                              0.00 $0.06 Ͳ $Ͳ  0.00 $0.06
          BusinessOperations[5]                                                                            0.07 $19.44 0.01 $1.14 0.08 $20.58
          ClaimsAdministration&Objections[6]                                                             0.05 $11.26 1.85 $463.88 1.90 $475.14
 40      7953SWoodlawnAvenue                          0.16571526126%                                      0.16 $ 38.27 1.85 $ 465.02 2.01 $ 503.29
          AssetDisposition[4]                                                                              0.00 $0.07 Ͳ $Ͳ  0.00 $0.07
          BusinessOperations[5]                                                                            0.09 $24.19 0.01 $1.14 0.10 $25.32
          ClaimsAdministration&Objections[6]                                                             0.06 $14.01 1.85 $463.88 1.91 $477.89
 47      5437SLaflinStreet                            0.10728996872%                                      0.05 $ 13.02 2.93 $ 744.08 2.98 $ 757.11
          AssetDisposition[4]                                                                              0.00 $0.02 Ͳ  $Ͳ  0.00 $0.02
          BusinessOperations[5]                                                                            0.03 $8.23 0.01 $1.14 0.04 $9.37
          ClaimsAdministration&Objections[6]                                                             0.02 $4.77 2.92 $742.95 2.94 $747.72
 49      7300Ͳ04SStLawrenceAvenue                    0.12481818316%                                      0.39 $ 94.91 2.89 $ 682.93 3.28 $ 777.83
          AssetDisposition[4]                                                                              0.00 $0.17 Ͳ $Ͳ 0.00 $0.17
          BusinessOperations[5]                                                                            0.23 $59.99 Ͳ  $Ͳ 0.23 $59.99
          ClaimsAdministration&Objections[6]                                                             0.16 $34.74 2.89 $682.93 3.05 $717.67
 50      7760SColesAvenue                             0.41360820632%               0.44436392032% 0.31               $ 74.78 3.23 $ 731.07 3.54 $ 805.85
          AssetDisposition[4]                                                                              0.00 $0.14 Ͳ $Ͳ 0.00 $0.14
          BusinessOperations[5]                                                                            0.18 $47.26 Ͳ  $Ͳ 0.18 $47.26
          ClaimsAdministration&Objections[6]                                                             0.12 $27.37 3.23 $731.07 3.36 $758.44
 51      1401W109thPlace                              0.32587313225%               0.35010490692% 0.08               $ 18.77 2.12 $ 512.05 2.19 $ 530.82
          AssetDisposition[4]                                                                              0.00 $0.03 Ͳ  $Ͳ 0.00 $0.03
          BusinessOperations[5]                                                                            0.05 $11.86 0.18 $25.64 0.23 $37.50
          ClaimsAdministration&Objections[6]                                                             0.03 $6.87 1.93 $486.41 1.96 $493.29
 52      310E50thStreet                               0.08180167634%               0.08788441098% 0.24               $ 57.89 1.94 $ 487.55 2.18 $ 545.44
          AssetDisposition[4]                                                                              0.00 $0.11 Ͳ $Ͳ  0.00 $0.11
          BusinessOperations[5]                                                                            0.14 $36.59 0.01 $1.14 0.15 $37.72
          ClaimsAdministration&Objections[6]                                                             0.10 $21.19 1.93 $486.41 2.03 $507.61
 53      6807SIndianaAvenue                           0.25226465847%               0.27102294123% 0.15               $ 36.08 3.14 $ 799.55 3.29 $ 835.63
          AssetDisposition[4]                                                                              0.00 $0.07 Ͳ $Ͳ  0.00 $0.07
          BusinessOperations[5]                                                                            0.09 $22.80 0.01 $1.14 0.10 $23.94
          ClaimsAdministration&Objections[6]                                                             0.06 $13.21 3.13 $798.41 3.19 $811.62
 54      8000Ͳ02SJustineStreet                        0.15721749265%               0.16890811234% 0.44               $ 107.85 1.93 $ 486.41 2.37 $ 594.27
          AssetDisposition[4]                                                                              0.00 $0.20 Ͳ $Ͳ 0.00 $0.20
          BusinessOperations[5]                                                                            0.26 $68.17 Ͳ  $Ͳ 0.26 $68.17
          ClaimsAdministration&Objections[6]                                                             0.18 $39.48 1.93 $486.41 2.11 $525.90
 55      8107Ͳ09SEllisAvenue                          0.47000932536%               0.50495900036% 0.26               $ 63.27 2.23 $ 564.41 2.49 $ 627.69
          AssetDisposition[4]                                                                              0.00 $0.12 Ͳ   $Ͳ   0.00 $0.12




                                                                                                             2of6
                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 148 of 2195 PageID #:71064


                                                                                     EquityBuildͲPropertyAllocationSummary
                                                                                      16thFeeApplication(2ndQuarter2022)

                                                                                                                        GeneralAllocation(s)[1]                                                SpecificAllocation(s)[2]                                           TotalAllocation(s)[3]
                                                                          AllocationPercent(1/29/2021
Prop#                   PropertyAddress          AllocationPercent                                                Hours                               Fees                       SpecificHours                  SpecificFees                    TotalHours                        TotalFees
                                                                            andOnward,ClaimsOnly)
          BusinessOperations[5]                                                                          0.15 $39.99 Ͳ  $Ͳ 0.15 $39.99
          ClaimsAdministration&Objections[6]                                                           0.10 $23.16 2.23 $564.41 2.34 $587.58
 56      8209SEllisAvenue                             0.27573880421%               0.29624261354% 0.44             $ 107.85 4.62 $1,172.08 5.06 $1,279.93
          AssetDisposition[4]                                                                            0.00 $0.20 Ͳ $Ͳ 0.00 $0.20
          BusinessOperations[5]                                                                          0.26 $68.17 0.20 $40.00 0.46 $108.17
          ClaimsAdministration&Objections[6]                                                           0.18 $39.48 4.42 $1,132.08 4.59 $1,171.56
 57      8214Ͳ16SInglesideAvenue                      0.47000932536%               0.50495900036% 0.41             $ 100.66 1.93 $ 486.41 2.34 $ 587.08
          AssetDisposition[4]                                                                            0.00 $0.18 Ͳ $Ͳ 0.00 $0.18
          BusinessOperations[5]                                                                          0.24 $63.63 Ͳ  $Ͳ 0.24 $63.63
          ClaimsAdministration&Objections[6]                                                           0.17 $36.85 1.93 $486.41 2.10 $523.27
 58      5955SSacramentoAvenue                        0.43867537034%               0.47129506700% 0.67             $ 163.93 1.01 $ 197.14 1.68 $ 361.07
          AssetDisposition[4]                                                                            0.00 $0.30 Ͳ $Ͳ 0.00 $0.30
          BusinessOperations[5]                                                                          0.40 $103.62 Ͳ    $Ͳ 0.40 $103.62
          ClaimsAdministration&Objections[6]                                                           0.27 $60.01 1.01 $197.14 1.28 $257.15
 59      6001Ͳ05SSacramentoAvenue                     0.71441417455%               0.76753768055% 0.51             $ 125.11 2.38 $ 388.91 2.89 $ 514.02
          AssetDisposition[4]                                                                            0.00 $0.23 Ͳ $Ͳ 0.00 $0.23
          BusinessOperations[5]                                                                          0.30 $79.08 Ͳ  $Ͳ 0.30 $79.08
          ClaimsAdministration&Objections[6]                                                           0.21 $45.80 2.38 $388.91 2.58 $434.71
 60      7026Ͳ42SCornellAvenue                        0.54521081742%               0.58575244042% 1.30             $ 319.24 2.36 $ 386.80 3.67 $ 706.04
          AssetDisposition[4]                                                                            0.00 $0.58 Ͳ $Ͳ 0.00 $0.58
          BusinessOperations[5]                                                                          0.77 $201.78 Ͳ    $Ͳ 0.77 $201.78
          ClaimsAdministration&Objections[6]                                                           0.53 $116.87 2.36 $386.80 2.89 $503.67
 61      7237Ͳ43SBennettAvenue                        1.39122760307%               1.49467864106% 0.99             $ 241.58 3.81 $ 599.69 4.80 $ 841.27
          AssetDisposition[4]                                                                            0.00 $0.44 Ͳ $Ͳ 0.00 $0.44
          BusinessOperations[5]                                                                          0.58 $152.70 0.65 $101.11 1.24 $253.81
          ClaimsAdministration&Objections[6]                                                           0.40 $88.44 3.16 $498.58 3.56 $587.02
 62      7834Ͳ44SEllisAvenue                          1.05282088881%               1.13110816080% 2.09             $ 511.07 2.41 $ 393.77 4.50 $ 904.84
          AssetDisposition[4]                                                                            0.01 $0.94 Ͳ $Ͳ 0.01 $0.94
          BusinessOperations[5]                                                                          1.24 $323.04 Ͳ    $Ͳ 1.24 $323.04
          ClaimsAdministration&Objections[6]                                                           0.84 $187.10 2.41 $393.77 3.26 $580.87
 63      4520Ͳ26SDrexelBoulevard                      2.22721752311%               2.39283238303% 7.18             $1,757.24 2.78 $ 463.83 9.96 $2,221.08
          AssetDisposition[4]                                                                            0.02 $3.22 0.04 $5.09 0.06 $8.31
          BusinessOperations[5]                                                                          4.25 $1,110.72 0.77 $107.66 5.02 $1,218.38
          ClaimsAdministration&Objections[6]                                                           2.90 $643.31 1.98 $351.08 4.88 $994.39
 64      4611Ͳ17SDrexelBoulevard                      7.65801860788%               8.22746531251% 5.76             $1,409.24 4.61 $ 709.09  10.36 $2,118.33
          AssetDisposition[4]                                                                            0.02 $2.58 Ͳ $Ͳ 0.02 $2.58
          BusinessOperations[5]                                                                          3.41 $890.76 0.55 $85.34 3.96 $976.09
          ClaimsAdministration&Objections[6]                                                           2.33 $515.91 4.06 $623.75 6.38 $1,139.66
 67      1131Ͳ41E79thPlace                            1.55416416919%                                    1.35 $ 330.74 1.20 $ 241.32 2.55 $ 572.06
          AssetDisposition[4]                                                                            0.00 $0.61 Ͳ $Ͳ 0.00 $0.61
          BusinessOperations[5]                                                                          0.80 $209.06 0.23 $32.00 1.03 $241.06
          ClaimsAdministration&Objections[6]                                                           0.55 $121.08 0.97 $209.32 1.51 $330.40
 68      6217Ͳ27SDorchesterAvenue                     1.44136193111%               1.54854093443% 2.49             $ 608.56 3.86 $ 621.93 6.34 $1,230.49
          AssetDisposition[4]                                                                            0.01 $1.11 Ͳ $Ͳ 0.01 $1.11
          BusinessOperations[5]                                                                          1.47 $384.66 0.98 $147.81 2.46 $532.47
          ClaimsAdministration&Objections[6]                                                           1.01 $222.79 2.87 $474.11 3.88 $696.90
 69      6250SMozartStreet                            2.65210595324%               2.84931531936% 1.09             $ 266.03 2.82 $ 451.31 3.91 $ 717.34
          AssetDisposition[4]                                                                            0.00 $0.49 Ͳ $Ͳ 0.00 $0.49
          BusinessOperations[5]                                                                          0.64 $168.15 0.51 $71.20 1.15 $239.35
          ClaimsAdministration&Objections[6]                                                           0.44 $97.39 2.32 $380.11 2.75 $477.50
 70      638Ͳ40NAversAvenue                           1.15935633589%               1.24556553422% 0.43             $ 106.41 3.99 $ 674.68 4.43 $ 781.09
          AssetDisposition[4]                                                                            0.00 $0.19 1.00 $190.00 1.00 $190.19
          BusinessOperations[5]                                                                          0.26 $67.26 0.98 $147.81 1.24 $215.07
          ClaimsAdministration&Objections[6]                                                           0.18 $38.96 2.01 $336.87 2.18 $375.83
 71      701Ͳ13S5thAvenue                             0.46374253436%               0.49822621369% 1.15             $ 280.41 3.12 $ 509.06 4.27 $ 789.47
          AssetDisposition[4]                                                                            0.00 $0.51 Ͳ   $Ͳ   0.00 $0.51




                                                                                                           3of6
                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 149 of 2195 PageID #:71065


                                                                                     EquityBuildͲPropertyAllocationSummary
                                                                                      16thFeeApplication(2ndQuarter2022)

                                                                                                                        GeneralAllocation(s)[1]                                                SpecificAllocation(s)[2]                                           TotalAllocation(s)[3]
                                                                          AllocationPercent(1/29/2021
Prop#                   PropertyAddress          AllocationPercent                                                Hours                               Fees                       SpecificHours                  SpecificFees                    TotalHours                        TotalFees
                                                                            andOnward,ClaimsOnly)
          BusinessOperations[5]                                                                          0.68 $177.24 Ͳ  $Ͳ 0.68 $177.24
          ClaimsAdministration&Objections[6]                                                           0.46 $102.66 3.12 $509.06 3.59 $611.71
 72      7024Ͳ32SPaxtonAvenue                         1.22202424594%               1.31289340093% 2.09             $ 510.49 2.05 $ 361.22 4.14 $ 871.71
          AssetDisposition[4]                                                                            0.01 $0.93 Ͳ $Ͳ 0.01 $0.93
          BusinessOperations[5]                                                                          1.23 $322.67 0.28 $39.20 1.51 $361.87
          ClaimsAdministration&Objections[6]                                                           0.84 $186.88 1.77 $322.02 2.62 $508.91
 73      7255Ͳ57SEuclidAvenue                         2.22471080671%               2.39013926837% 1.14             $ 278.97 3.42 $ 588.66 4.56 $ 867.63
          AssetDisposition[4]                                                                            0.00 $0.51 Ͳ $Ͳ 0.00 $0.51
          BusinessOperations[5]                                                                          0.67 $176.33 1.49 $216.61 2.16 $392.95
          ClaimsAdministration&Objections[6]                                                           0.46 $102.13 1.93 $372.05 2.39 $474.18
 74      3074ECheltenhamPlace                         1.21575745493%               1.30616061426% 1.25             $ 304.86 2.29 $ 419.96 3.54 $ 724.82
          AssetDisposition[4]                                                                            0.00 $0.56 0.04 $5.09 0.04 $5.65
          BusinessOperations[5]                                                                          0.74 $192.69 0.73 $101.82 1.46 $294.51
          ClaimsAdministration&Objections[6]                                                           0.50 $111.60 1.53 $313.05 2.03 $424.66
 75      7625Ͳ33SEastEndAvenue                       1.32855969302%               1.42735077435% 1.47             $ 359.50 1.56 $ 313.72 3.03 $ 673.22
          AssetDisposition[4]                                                                            0.00 $0.66 Ͳ $Ͳ 0.00 $0.66
          BusinessOperations[5]                                                                          0.87 $227.23 0.24 $33.44 1.11 $260.68
          ClaimsAdministration&Objections[6]                                                           0.59 $131.61 1.32 $280.28 1.92 $411.89
 76      7635Ͳ43SEastEndAvenue                       1.56669775120%               1.68319666786% 1.37             $ 336.49 1.82 $ 349.90 3.19 $ 686.39
          AssetDisposition[4]                                                                            0.00 $0.62 Ͳ $Ͳ 0.00 $0.62
          BusinessOperations[5]                                                                          0.81 $212.69 0.24 $33.44 1.05 $246.14
          ClaimsAdministration&Objections[6]                                                           0.56 $123.19 1.58 $316.46 2.14 $439.64
 77      7750Ͳ58SMuskegonAvenue                       1.46642909513%               1.57547208112% 0.82             $ 201.32 2.17 $ 402.45 2.99 $ 603.77
          AssetDisposition[4]                                                                            0.00 $0.37 Ͳ $Ͳ 0.00 $0.37
          BusinessOperations[5]                                                                          0.49 $127.25 0.24 $33.44 0.73 $160.70
          ClaimsAdministration&Objections[6]                                                           0.33 $73.70 1.93 $369.01 2.26 $442.71
 78      7201SConstanceAvenue                         0.87735074067%               0.94259013400% 1.29             $ 316.36 2.40 $ 430.44 3.69 $ 746.80
          AssetDisposition[4]                                                                            0.00 $0.58 0.04 $5.09 0.04 $5.67
          BusinessOperations[5]                                                                          0.77 $199.97 1.03 $143.82 1.79 $343.79
          ClaimsAdministration&Objections[6]                                                           0.52 $115.82 1.33 $281.53 1.85 $397.35
 79      6160Ͳ6212SMartinLutherKingDrive            1.37869402106%               1.48121306772% 0.92             $ 225.77 4.03 $ 635.57 4.95 $ 861.34
          AssetDisposition[4]                                                                            0.00 $0.41 Ͳ $Ͳ 0.00 $0.41
          BusinessOperations[5]                                                                          0.55 $142.70 0.23 $32.00 0.77 $174.70
          ClaimsAdministration&Objections[6]                                                           0.37 $82.65 3.80 $603.57 4.18 $686.22
 80      2736Ͳ44W64thStreet                           0.98388618776%               1.05704750742% 0.49             $ 120.22 2.98 $ 515.02 3.47 $ 635.23
          AssetDisposition[4]                                                                            0.00 $0.22 Ͳ $Ͳ 0.00 $0.22
          BusinessOperations[5]                                                                          0.29 $75.99 0.58 $81.41 0.87 $157.40
          ClaimsAdministration&Objections[6]                                                           0.20 $44.01 2.40 $433.61 2.60 $477.62
 81      4315Ͳ19SMichiganAvenue                       0.52390372800%               0.56286096573% 1.00             $ 244.46 2.24 $ 369.85 3.24 $ 614.31
          AssetDisposition[4]                                                                            0.00 $0.45 Ͳ $Ͳ 0.00 $0.45
          BusinessOperations[5]                                                                          0.59 $154.52 0.23 $32.00 0.82 $186.52
          ClaimsAdministration&Objections[6]                                                           0.40 $89.49 2.01 $337.85 2.42 $427.34
 82      6355Ͳ59STalmanAvenue                         1.00895335177%               1.08397865410% 0.68             $ 165.95 3.67 $ 569.94 4.35 $ 735.88
          AssetDisposition[4]                                                                            0.00 $0.30 Ͳ $Ͳ 0.00 $0.30
          BusinessOperations[5]                                                                          0.40 $104.89 0.58 $81.41 0.98 $186.30
          ClaimsAdministration&Objections[6]                                                           0.27 $60.75 3.09 $488.53 3.36 $549.28
 83      6356SCaliforniaAvenue                        1.06535447082%               1.14457373415% 0.44             $ 107.85 1.64 $ 302.02 2.08 $ 409.87
          AssetDisposition[4]                                                                            0.00 $0.20 Ͳ $Ͳ 0.00 $0.20
          BusinessOperations[5]                                                                          0.26 $68.17 0.88 $123.41 1.14 $191.58
          ClaimsAdministration&Objections[6]                                                           0.18 $39.48 0.76 $178.61 0.94 $218.09
 84      7051SBennettAvenue                           0.72318768196%               0.77696358189% 0.70             $ 172.56 4.92 $1,140.41 5.62 $1,312.97
          AssetDisposition[4]                                                                            0.00 $0.32 0.04 $5.09 0.04 $5.41
          BusinessOperations[5]                                                                          0.42 $109.07 0.14 $18.96 0.55 $128.04
          ClaimsAdministration&Objections[6]                                                           0.29 $63.17 4.75 $1,116.36 5.03 $1,179.53
 85      7201Ͳ07SDorchesterAvenue                     0.47000932536%               0.50495900036% 0.58             $ 142.36 2.85 $ 454.43 3.43 $ 596.79
          AssetDisposition[4]                                                                            0.00 $0.26 Ͳ   $Ͳ   0.00 $0.26




                                                                                                           4of6
                                   Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 150 of 2195 PageID #:71066


                                                                                      EquityBuildͲPropertyAllocationSummary
                                                                                       16thFeeApplication(2ndQuarter2022)

                                                                                                                         GeneralAllocation(s)[1]                                                SpecificAllocation(s)[2]                                           TotalAllocation(s)[3]
                                                                           AllocationPercent(1/29/2021
 Prop#                   PropertyAddress          AllocationPercent                                                Hours                               Fees                       SpecificHours                  SpecificFees                    TotalHours                        TotalFees
                                                                             andOnward,ClaimsOnly)
           BusinessOperations[5]                                                                          0.34 $89.98 0.58 $81.41 0.93 $171.40
           ClaimsAdministration&Objections[6]                                                           0.24 $52.12 2.26 $373.01 2.50 $425.13
  86      7442Ͳ54SCalumetAvenue                        0.75201492058%               0.80793440057% 0.66             $ 162.49 2.51 $ 407.35 3.17 $ 569.85
           AssetDisposition[4]                                                                            0.00 $0.30 Ͳ $Ͳ 0.00 $0.30
           BusinessOperations[5]                                                                          0.39 $102.71 0.23 $32.00 0.62 $134.71
           ClaimsAdministration&Objections[6]                                                           0.27 $59.49 2.28 $375.35 2.55 $434.84
  87      7508SEssexAvenue                             0.62041230948%               0.66654588047% 0.89             $ 217.14 3.01 $ 523.46 3.90 $ 740.60
           AssetDisposition[4]                                                                            0.00 $0.40 0.04 $5.09 0.04 $5.49
           BusinessOperations[5]                                                                          0.53 $137.25 0.36 $50.96 0.89 $188.21
           ClaimsAdministration&Objections[6]                                                           0.36 $79.49 2.61 $467.41 2.97 $546.90
  88      7546Ͳ48SSaginawAvenue                        0.70814738354%               0.76080489387% 0.73             $ 179.75 3.25 $ 511.33 3.99 $ 691.09
           AssetDisposition[4]                                                                            0.00 $0.33 Ͳ $Ͳ 0.00 $0.33
           BusinessOperations[5]                                                                          0.43 $113.62 Ͳ    $Ͳ 0.43 $113.62
           ClaimsAdministration&Objections[6]                                                           0.30 $65.80 3.25 $511.33 3.55 $577.14
  89      7600Ͳ10SKingstonAvenue                       0.94628544173%               1.01665078739% 1.80             $ 440.03 3.21 $ 520.92 5.00 $ 960.95
           AssetDisposition[4]                                                                            0.01 $0.81 Ͳ $Ͳ 0.01 $0.81
           BusinessOperations[5]                                                                          1.06 $278.13 0.23 $32.00 1.29 $310.13
           ClaimsAdministration&Objections[6]                                                           0.73 $161.09 2.98 $488.92 3.71 $650.01
  90      7656Ͳ58SKingstonAvenue                       0.78334887560%               0.84159833393% 0.38             $ 92.03 1.37 $ 247.82 1.75 $ 339.86
           AssetDisposition[4]                                                                            0.00 $0.17 Ͳ $Ͳ 0.00 $0.17
           BusinessOperations[5]                                                                          0.22 $58.17 0.23 $32.00 0.45 $90.17
           ClaimsAdministration&Objections[6]                                                           0.15 $33.69 1.14 $215.82 1.29 $249.52
  91      7701Ͳ03SEssexAvenue                          1.91763804747%               2.06023272146% 0.82             $ 201.32 1.07 $ 205.87 1.89 $ 407.19
           AssetDisposition[4]                                                                            0.00 $0.37 Ͳ $Ͳ 0.00 $0.37
           BusinessOperations[5]                                                                          0.49 $127.25 0.23 $32.00 0.72 $159.25
           ClaimsAdministration&Objections[6]                                                           0.33 $73.70 0.84 $173.87 1.17 $247.57
  92      7748Ͳ52SEssexAvenue                          0.40107462431%               0.43089834697% 1.59             $ 388.26 5.96 $1,161.00 7.55 $1,549.26
           AssetDisposition[4]                                                                            0.01 $0.71 1.50 $385.00 1.51 $385.71
           BusinessOperations[5]                                                                          0.94 $245.41 0.53 $123.00 1.47 $368.41
           ClaimsAdministration&Objections[6]                                                           0.64 $142.14 3.94 $653.00 4.58 $795.14
  93      7957Ͳ59SMarquetteRoad                        0.87735074067%               0.94259013400% 0.41             $ 100.95 1.07 $ 205.87 1.48 $ 306.82
           AssetDisposition[4]                                                                            0.00 $0.18 Ͳ $Ͳ 0.00 $0.18
           BusinessOperations[5]                                                                          0.24 $63.81 0.23 $32.00 0.47 $95.81
           ClaimsAdministration&Objections[6]                                                           0.17 $36.96 0.84 $173.87 1.01 $210.83
  94      816Ͳ22EMarquetteRoad                         1.69203357130%               1.81785240129% 0.95             $ 231.52 1.70 $ 294.33 2.65 $ 525.84
           AssetDisposition[4]                                                                            0.00 $0.42 Ͳ $Ͳ 0.00 $0.42
           BusinessOperations[5]                                                                          0.56 $146.34 0.23 $32.00 0.79 $178.34
           ClaimsAdministration&Objections[6]                                                           0.38 $84.76 1.47 $262.33 1.86 $347.08
  95      8201SKingstonAvenue                          0.43992872854%               0.47264162434% 0.47             $ 115.04 1.53 $ 269.78 2.00 $ 384.82
           AssetDisposition[4]                                                                            0.00 $0.21 Ͳ $Ͳ 0.00 $0.21
           BusinessOperations[5]                                                                          0.28 $72.71 0.23 $32.00 0.51 $104.71
           ClaimsAdministration&Objections[6]                                                           0.19 $42.11 1.30 $237.78 1.49 $279.89
 96Ͳ99    8326Ͳ58SEllisAvenue                          0.50134328039%               0.53862293372% 1.89             $ 463.04 8.27 $1,349.16  10.16 $1,812.20
           AssetDisposition[4]                                                                            0.01 $0.85 Ͳ $Ͳ 0.01 $0.85
           BusinessOperations[5]                                                                          1.12 $292.68 0.23 $32.00 1.35 $324.68
           ClaimsAdministration&Objections[6]                                                           0.77 $169.51 8.04 $1,317.16 8.80 $1,486.68
  100     11117Ͳ11119SLongwoodDrive                    2.01790670355%               2.16795730821% 2.06             $ 503.30 3.12 $ 492.52 5.17 $ 995.82
           AssetDisposition[4]                                                                            0.01 $0.92 0.04 $5.09 0.04 $6.01
           BusinessOperations[5]                                                                          1.22 $318.13 0.05 $6.36 1.26 $324.49
           ClaimsAdministration&Objections[6]                                                           0.83 $184.25 3.04 $481.06 3.87 $665.32
  101     6949Ͳ59SMerrillAvenue                        2.19337685168%               2.35647533501% 1.79             $ 437.15 1.80 $ 339.46 3.59 $ 776.61
           AssetDisposition[4]                                                                            0.01 $0.80 Ͳ $Ͳ 0.01 $0.80
           BusinessOperations[5]                                                                          1.06 $276.32 0.59 $82.86 1.65 $359.17
           ClaimsAdministration&Objections[6]                                                           0.72 $160.04 1.21 $256.61 1.93 $416.64
102Ͳ106   7927Ͳ49SEssexAvenue                          1.09668842584%               1.17823766750% 1.03             $ 251.65 3.73 $ 781.84 4.76 $1,033.49
           AssetDisposition[4]                                                                            0.00 $0.46 Ͳ   $Ͳ   0.00 $0.46




                                                                                                            5of6
                                          Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 151 of 2195 PageID #:71067


                                                                                                                       EquityBuildͲPropertyAllocationSummary
                                                                                                                        16thFeeApplication(2ndQuarter2022)

                                                                                                                                                          GeneralAllocation(s)[1]                                                SpecificAllocation(s)[2]                                               TotalAllocation(s)[3]
                                                                                                          AllocationPercent(1/29/2021
     Prop#                         PropertyAddress                           AllocationPercent                                                       Hours                               Fees                      SpecificHours                      SpecificFees                   TotalHours                        TotalFees
                                                                                                            andOnward,ClaimsOnly)
                    BusinessOperations[5]                                                                                                  0.61 $159.06 Ͳ    $Ͳ 0.61 $159.06
                    ClaimsAdministration&Objections[6]                                                                                   0.42 $92.13 3.73 $781.84 4.14 $873.96
      107         1422Ͳ24East68thStreet                                             0.50134328039%                   0.53862293372% 0.47              $ 115.04 1.38 $ 266.99 1.85 $ 382.04
                    AssetDisposition[4]                                                                                                    0.00 $0.21 Ͳ $Ͳ 0.00 $0.21
                    BusinessOperations[5]                                                                                                  0.28 $72.71 0.75 $123.06 1.03 $195.77
                    ClaimsAdministration&Objections[6]                                                                                   0.19 $42.11 0.63 $143.94 0.82 $186.05
      108         2800Ͳ06E81stStreet                                                0.53894402641%                   0.57901965374% 0.51              $ 123.67 0.96 $ 199.72 1.46 $ 323.39
                    AssetDisposition[4]                                                                                                    0.00 $0.23 Ͳ $Ͳ 0.00 $0.23
                    BusinessOperations[5]                                                                                                  0.30 $78.17 0.33 $55.78 0.63 $133.95
                    ClaimsAdministration&Objections[6]                                                                                   0.20 $45.27 0.63 $143.94 0.83 $189.21
      109         4750Ͳ52SIndianaAvenue                                             0.87359066607%                   0.93855046200% 0.82              $ 200.46 0.87 $ 177.38 1.69 $ 377.84
                    AssetDisposition[4]                                                                                                    0.00 $0.37 Ͳ $Ͳ 0.00 $0.37
                    BusinessOperations[5]                                                                                                  0.48 $126.71 0.24 $33.44 0.72 $160.15
                    ClaimsAdministration&Objections[6]                                                                                   0.33 $73.39 0.63 $143.94 0.96 $217.32
      110         5618Ͳ20SMartinLutherKingDrive                                   0.80966939782%                   0.86987603795% 0.76              $ 185.79 1.52 $ 268.79 2.28 $ 454.58
                    AssetDisposition[4]                                                                                                    0.00 $0.34 Ͳ $Ͳ 0.00 $0.34
                    BusinessOperations[5]                                                                                                  0.45 $117.43 0.89 $124.86 1.34 $242.29
                    ClaimsAdministration&Objections[6]                                                                                   0.31 $68.02 0.63 $143.94 0.94 $211.95
      111         6554Ͳ58SVernonAvenue                                              0.72193432375%                   0.77561702455% 0.68              $ 165.66 1.31 $ 238.69 1.98 $ 404.35
                    AssetDisposition[4]                                                                                                    0.00 $0.30 Ͳ $Ͳ 0.00 $0.30
                    BusinessOperations[5]                                                                                                  0.40 $104.71 0.24 $33.44 0.64 $138.15
                    ClaimsAdministration&Objections[6]                                                                                   0.27 $60.65 1.07 $205.25 1.34 $265.89
      112         7450SLuellaAvenue                                                 0.34843357987%                   0.37434293893% 0.33              $ 79.95 1.04 $ 201.44 1.37 $ 281.39
                    AssetDisposition[4]                                                                                                    0.00 $0.15 0.04 $5.09 0.04 $5.24
                    BusinessOperations[5]                                                                                                  0.19 $50.54 0.37 $52.41 0.57 $102.94
                    ClaimsAdministration&Objections[6]                                                                                   0.13 $29.27 0.63 $143.94 0.76 $173.21
      113         7840Ͳ42SYatesAvenue                                               0.43867537034%                   0.47129506700% 0.41              $ 100.66 0.87 $ 177.38 1.28 $ 278.04
                    AssetDisposition[4]                                                                                                    0.00 $0.18 Ͳ $Ͳ 0.00 $0.18
                    BusinessOperations[5]                                                                                                  0.24 $63.63 0.24 $33.44 0.48 $97.07
                    ClaimsAdministration&Objections[6]                                                                                   0.17 $36.85 0.63 $143.94 0.79 $180.79
      115         431E42ndPlace                                                     0.10340205158%                   0.11109098008% 0.10              $ 23.73 0.63 $ 143.94 0.73 $ 167.67
                    AssetDisposition[4]                                                                                                    0.00 $0.04 Ͳ  $Ͳ 0.00 $0.04
                    BusinessOperations[5]                                                                                                  0.06 $15.00 Ͳ   $Ͳ 0.06 $15.00
                    ClaimsAdministration&Objections[6]                                                                                   0.04 $8.69 0.63 $143.94 0.67 $152.62
      116         1102Bingham(Houston,TX)                                           1.11862219436%                   1.20180242085% 1.05              $ 256.68 2.73 $ 580.82 3.78 $ 837.51
                    AssetDisposition[4]                                                                                                    0.00 $0.47 Ͳ $Ͳ 0.00 $0.47
                    BusinessOperations[5]                                                                                                  0.62 $162.24 0.84 $118.00 1.46 $280.24
                    ClaimsAdministration&Objections[6]                                                                                   0.42 $93.97 1.89 $462.82 2.32 $556.79
Total                                                                                                                                         87.24     21,358.23       277.40       48,721.40    364.63       70,079.63
 AssetDisposition[4]                                                                                                                        0.28    39.09    8.36    1,495.91    8.64    1,535.00
 BusinessOperations[5]                                                                                                                      51.66     13,500.14        25.07     3,719.35    76.73     17,219.48
 ClaimsAdministration&Objections[6]                                                                                                       35.30     7,819.00      243.97       43,506.15    279.27       51,325.15




[1] TaskentriesdeterminedasgeneraltimehavebeenallocatedtoallpropertiesinaccordancewithcourtͲapprovedallocationmethodology.
[2] Taskentriesspecificallyidentifiedasrelatingtorespectiveproperty.Specificallocationshavebeendeterminedviaanalysisoftaskdescriptionsanddetailscanbefoundin
[3] SummationofGeneralandSpecificAllocationhours/fees.Bothallocationpopulationshavebeenlimitedtoentriesoccuringonorbefore6/30/2020.
[4] Time/Taskentriesrelatingto"AssetDisposition"BillingCategory
[5] Time/Taskentriesrelatingto"BusinessOperations"BillingCategory
[6] Time/Taskentriesrelatingto"ClaimsAdministration&Objections"BillingCategory




                                                                                                                                            6of6
Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 152 of 2195 PageID #:71068




                 Exhibit /
                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 153 of 2195 PageID #:71069
                                                                                EquityBuildͲGeneralAllocationTaskDetail
                                                                                 16thFeeApplication(2ndQuarter2022)

Invoice                                       Time     TimeKeeper          Task
           BillingCategory     EntryDate                                                                                      TaskDescription                                                           TaskCost
Month                                         Keeper            Rate           Hours
   AprͲ22 Claims                  4/4/2022 KBD        $390.00         0.1 Attentiontocommunicationfromclaimant(all).                                                           $39.00
          Administration&
          Objections
   AprͲ22 Claims                  4/5/2022 KBD        $390.00        0.1 Attentiontoclaimants'communicationsandexchangerelatedcorrespondencewithA.                        $39.00
          Administration&                                                              Watychowicz(all).
          Objections
   AprͲ22 Claims                  4/6/2022 KBD        $390.00        0.1 exchangecorrespondencewithA.WatychowiczandJ.Wineregardingcommunicationwith                     $39.00
          Administration&                                                              claimantsregardingclaimsprocess(all)(.1).
          Objections
   AprͲ22 Claims                  4/7/2022 KBD        $390.00        0.1 ExchangecorrespondencewithJ.Wineregardingcommunicationwithclaimantsregardingstatusof $39.00
          Administration&                                                              claimsprocess(all).
          Objections
   AprͲ22 Claims                 4/11/2022 KBD        $390.00        0.1 exchangecorrespondencewithJ.Wineregardingcustodialaccountissueforclaimants(all)(.1).          $39.00
          Administration&
          Objections
   AprͲ22 Claims                 4/11/2022 KBD        $390.00        0.1 Exchangecorrespondencewithrepresentativeforclaimantregardingpowerofattorney(all)(.1)            $39.00
          Administration&
          Objections
   AprͲ22 Claims                 4/15/2022 KBD        $390.00        0.2 Attentiontocorrespondencefromclaimant'srepresentativeregardingpowerofattorneyforclaim $78.00
          Administration&                                                              (all)(.2)
          Objections
   AprͲ22 Claims                 4/18/2022 KBD        $390.00        0.1 exchangecorrespondencewithA.Watychowiczregardingcommunicationwithclaimantsregarding $39.00
          Administration&                                                              claimsprocessandtiming(all)(.1)
          Objections
   AprͲ22 Claims                 4/19/2022 KBD        $390.00        0.1 attentiontocommunicationwithclaimantsandcourtroomdeputyregardingupcomingclaims                 $39.00
          Administration&                                                              hearing(all)(.1)
          Objections
   AprͲ22 Claims                 4/19/2022 KBD        $390.00        0.1 reviewcorrespondencefromclaimantandexchangerelatedcorrespondenceJ.Wine(all)(.1).              $39.00
          Administration&
          Objections
   AprͲ22 Claims                 4/20/2022 KBD        $390.00        0.1 AttentiontocommunicationwithclaimantsregardinghearingbeforeJudgeLeeandexchange                 $39.00
          Administration&                                                              relatedcorrespondencewithA.Watychowicz(all).
          Objections
   AprͲ22 Claims                 4/21/2022 KBD        $390.00        0.2 studycorrespondencefromJ.WineandM.Rachlisregardingclaimsprocesstasksrequiring                $78.00
          Administration&                                                              attentionandpreparationforhearingbeforeJudgeLee(all)(.2).
          Objections
   AprͲ22 Claims                 4/21/2022 KBD        $390.00        0.3 RevisecommunicationstoclaimantsregardingupcominghearingbeforeJudgeLeeandrelated                $117.00
          Administration&                                                              orderandexchangerelatedcorrespondencewithA.WatychowiczandJ.Wine(all)(.3)
          Objections
   AprͲ22 Claims                 4/22/2022 KBD        $390.00        0.2 telephoneconferencewithSEC(all)(.2)                                                                  $78.00
          Administration&
          Objections
   AprͲ22 Claims                 4/22/2022 KBD        $390.00        0.4 PrepareforhearingbeforeJudgeLeeregardingclaimsprocessstatusandpendingmotions(all)(.4) $156.00
          Administration&
          Objections
   AprͲ22 Claims                 4/22/2022 KBD        $390.00        0.5 appearbeforeJudgeLeeforstatushearingonclaimsprocessandpendingmotions(all)(.5)               $195.00
          Administration&
          Objections




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                                                                                 16thFeeApplication(2ndQuarter2022)

Invoice                                       Time     TimeKeeper          Task
           BillingCategory     EntryDate                                                                                       TaskDescription                                                          TaskCost
Month                                         Keeper            Rate           Hours
   AprͲ22 Claims                 4/25/2022 KBD        $390.00         0.1 attentiontocommunicationwithclaimantsregardinghearingbeforeJudgeLee(all)(.1).                 $39.00
          Administration&
          Objections
   AprͲ22 Claims                 4/26/2022 KBD        $390.00        1.5 legalresearchregardingclaimsanalysisissueanddraftrelatedcorrespondencetoJ.WineandM.        $585.00
          Administration&                                                              Rachlis(all)(1.5).
          Objections
   AprͲ22 AssetDisposition       4/22/2022 JR         $140.00        0.3 ReviewemailfromK.Pritchardrequestingclosedpropertyspreadsheetwhichincludedaccount              $42.00
                                                                                         numbers,researchsameandproviderequestedinformationtoK.Pritchard(all)(.3)

   AprͲ22 Business                4/1/2022 JR         $140.00        0.5 Extensivereviewmonthlyreportingandcompareandanalyzewithtaxfirmreports(all)(.5)                $70.00
          Operations
   AprͲ22 Business                4/4/2022 JR         $140.00        0.6 reviewemailsfromaccountantpertainingtomissingpropertyreportsandspreadsheetandfurther $84.00
          Operations                                                                     exchangecommunication(all)(.6).
   AprͲ22 Business                4/4/2022 JR         $140.00        4.8 Extensivereviewofmonthlypropertyreportsforallof2021(all)(4.8)                           $672.00
          Operations
   AprͲ22 Business                4/5/2022 JR         $140.00        4.8 Extensivereviewofmonthlypropertyreportsforallof2021(all)(4.8)                                   $672.00
          Operations
   AprͲ22 Business                4/6/2022 JR         $140.00        0.4 draftandupdateemailcommunicationrelatedtostatusofallpropertyreportingtoaccounting           $56.00
          Operations                                                                     firm(all)(.4).
   AprͲ22 Business                4/6/2022 JR         $140.00        2.8 Extensivereviewofmonthlypropertyreportsforallof2021(all)(2.8)                                   $392.00
          Operations
   AprͲ22 Business               4/12/2022 KMP        $140.00        0.2 CommunicatewithJ.Raktofollowuponspreadsheetfrominsurancebrokeridentifyingpremium             $28.00
          Operations                                                                     refundsforsoldproperties(all).
   AprͲ22 Business               4/13/2022 JRW        $260.00        0.1 TelephoneconferencewithE.Duffregardingrestorationandreimbursementmotion(all).                    $26.00
          Operations
   AprͲ22 Business               4/27/2022 JR         $140.00        0.2 ReviewemailsfromK.DuffandJ.Winerequestinginformationrelatedtothelenderescrow                $28.00
          Operations                                                                     reservesandrealestatetaxpaymentandrespondaccordingly(all).
   AprͲ22 Business               4/29/2022 JR         $140.00        0.1 exchangecommunicationwithE.Duffregardingpropertyinsurancerefunds(all)(.1).                     $14.00
          Operations
   AprͲ22 Claims                  4/5/2022 AW         $140.00        0.1 attentiontoemailsfromclaimantsandcommunicatewithJ.Wineregardingupdatedresponse               $14.00
          Administration&                                                              regardingclaimsprocess(all)(.1).
          Objections
   AprͲ22 Claims                  4/5/2022 AW         $140.00        0.4 Respondtoclaimantsrequestingclaimsprocessupdate(all)(.4)                                           $56.00
          Administration&
          Objections
   AprͲ22 Claims                  4/5/2022 JRW        $260.00        0.1 correspondenceregardingresponsetoclaimantinquiry(all)(.1).                                         $26.00
          Administration&
          Objections
   AprͲ22 Claims                  4/5/2022 JRW        $260.00        0.1 telephoneconferencewithA.Watychowiczregardingstandardresponsetoclaimantinquiries               $26.00
          Administration&                                                              regardingclaimsprocess(all)(.1)
          Objections
   AprͲ22 Claims                  4/5/2022 JRW        $260.00        0.4 Researchanddraftresponsetoclaimantinquiriesregardingvaluationofinvestment,changein            $104.00
          Administration&                                                              ownership,ortransferofIRAcustodian(all)(.4)
          Objections
   AprͲ22 Claims                  4/7/2022 AW         $140.00        0.5 Respondtoemailsfromclaimantsrequestingupdate(all).                                                  $70.00
          Administration&
          Objections
   AprͲ22 Claims                  4/7/2022 JRW        $260.00        0.2 Revisestandardresponsetoclaimantinquiriesregardingclaimsprocessandrelated                       $52.00
          Administration&                                                              correspondencewithK.DuffandA.Watychowicz(all).
          Objections



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                                                                               EquityBuildͲGeneralAllocationTaskDetail
                                                                                16thFeeApplication(2ndQuarter2022)

Invoice                                      Time     TimeKeeper          Task
           BillingCategory     EntryDate                                                                                       TaskDescription                                                   TaskCost
Month                                        Keeper            Rate           Hours
   AprͲ22 Claims                 4/13/2022 AW        $140.00         0.1 reviewclaimsandcommunicatewithJ.Rakregardingsame(all)(.1).                               $14.00
          Administration&
          Objections
   AprͲ22 Claims                 4/14/2022 AW        $140.00        0.4 Attentiontofiledmotionstowithdrawandrelatedordersandupdatestoemailinglist(all).        $56.00
          Administration&
          Objections
   AprͲ22 Claims                 4/15/2022 AW        $140.00        0.1 Attentiontoreceivedpowerofattorneyandrelatedemailtoclaimant(all)(.1)                     $14.00
          Administration&
          Objections
   AprͲ22 Claims                 4/15/2022 JRW       $260.00        0.3 reviewdocumentationfromclaimantandrelatedcorrespondencewithK.Duff(all)(.3).              $78.00
          Administration&
          Objections
   AprͲ22 Claims                 4/18/2022 AW        $140.00        0.3 attentiontovoicemessagesandemailsrequestingupdatesandprovideemailresponsesto           $42.00
          Administration&                                                             claimants(all)(.3).
          Objections
   AprͲ22 Claims                 4/18/2022 AW        $140.00        0.3 CorrespondwithJ.Wineregardingchangeofcustodianissueandrelatedemailstoclaimants(all)   $42.00
          Administration&                                                             (.3)
          Objections
   AprͲ22 Claims                 4/18/2022 JRW       $260.00        0.5 AttentiontoclaimantinquiriesandrelatedtelephoneconferencewithA.Watychowiczregarding      $130.00
          Administration&                                                             noticesfromIRAcustodians(all)(.5)
          Objections
   AprͲ22 Claims                 4/18/2022 MR        $390.00        0.1 Attentiontocallsregardinginvestorclaims(all)(.1)                                              $39.00
          Administration&
          Objections
   AprͲ22 Claims                 4/19/2022 AW        $140.00        0.1 Attentiontovoicemessagerequestingupdatesandprovideemailresponsetoclaimant(all)(.1)      $14.00
          Administration&
          Objections
   AprͲ22 Claims                 4/26/2022 AW        $140.00        0.1 communicatewithJ.Wineregardingpotentialupdatetoclaimants(all)(.1).                        $14.00
          Administration&
          Objections
   AprͲ22 Claims                 4/26/2022 AW        $140.00        1.2 CompleterevisionstoemailservicelistandrelatedcommunicationwithJ.Wine(all)(1.2)          $168.00
          Administration&
          Objections
   AprͲ22 Claims                 4/27/2022 JRW       $260.00        0.2 ConferwithA.Watychowiczregardingclaimantinquiriesregardinghearingandpreparedraft         $52.00
          Administration&                                                             response(all)(.2)
          Objections
   MayͲ22 Business                5/4/2022 KBD       $390.00        0.3 ConferwithJ.Wineregardingreimbursementmotionandrelatedissues(all).                         $117.00
          Operations
   MayͲ22 Claims                  5/6/2022 KBD       $390.00        0.1 AttentiontocommunicationwithclaimantregardinghearingbeforeJudgeLeeonclaims(all)(.1)     $39.00
          Administration&
          Objections
   MayͲ22 Claims                  5/9/2022 KBD       $390.00        0.3 ExchangecorrespondencewithA.Watychowiczregardingcommunicationswithclaimants                 $117.00
          Administration&                                                             regardinghearingbeforeJudgeLeerelatingtoclaimsprocess(all)(.3)
          Objections
   MayͲ22 Claims                 5/23/2022 KBD       $390.00        0.1 Attentiontocommunicationsrelatingtohearingtranscript(all).                                    $39.00
          Administration&
          Objections
   MayͲ22 Business                5/3/2022 ED        $390.00        0.2 telephoneconferencewithJ.Raktodiscussremainingitemsneededforreviewofinsurance         $78.00
          Operations                                                                    refundsforterminatedpoliciesforallpropertiessold(all)(.2)




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                                                                                EquityBuildͲGeneralAllocationTaskDetail
                                                                                 16thFeeApplication(2ndQuarter2022)

Invoice                                       Time     TimeKeeper          Task
           BillingCategory     EntryDate                                                                                          TaskDescription                                                         TaskCost
Month                                         Keeper            Rate           Hours
   MayͲ22 Business                5/3/2022 ED         $390.00         0.6 TelephoneconferencewithJ.Raktodiscussreportingforallproperties,includingfinal                  $234.00
          Operations                                                                      reconciliationamounts,through12/31/2021(all)(.6)
   MayͲ22 Business                5/3/2022 JR         $140.00         0.8 ExchangecommunicationwithE.Duffrelatingtogeneralpropertyreportinginformationand                 $112.00
          Operations                                                                      expensereimbursementanalysis(all)(.8)
   MayͲ22 Business                5/3/2022 JR         $140.00         3.5 reviewandconsolidatemonthlybankpropertystatementsforFebruary,MarchandApril2022(all)          $490.00
          Operations                                                                      (3.5).
   MayͲ22 Business                5/4/2022 JR         $140.00         2.9 ReviewandconsolidatemonthlybankpropertystatementsforFebruary,MarchandApril2022(all)           $406.00
          Operations                                                                      (2.9)
   MayͲ22 Business                5/4/2022 JRW        $260.00         0.3 ConferwithK.Duffregardingrestorationandreimbursementmotionandpropertyreports(all).              $78.00
          Operations
   MayͲ22 Business                5/5/2022 ED         $390.00        0.3 CallwithJ.Winetodiscusscontentofpropertyaccountingreports,andattributionofinsurance    $117.00
          Operations                                                                     refundstopropertiessold(all)(.3)
   MayͲ22 Business                5/5/2022 ED         $390.00        0.6 meetwithJ.Raktodiscussreviewofaccountingreports,informationreceivedfrominsurance       $234.00
          Operations                                                                     agentandgatheringinformationtosupplytoaccountantsinordertocalculateallocationofrefunds
                                                                                         by property (all) (.6).
  MayͲ22 Business                 5/5/2022 JR         $140.00        0.1 communicationwithK.Pritchardrequestingtoprovidethetotalamountofpropertyinsurance        $14.00
         Operations                                                                      premiumrefundsthatwasdepositedintothereceiver'saccount(all)(.1).
  MayͲ22 Business                 5/5/2022 JR         $140.00        0.6 MeetingwithE.Duffregardingpropertyinsurancestatusandnextstepsrelatingtorequestfor      $84.00
         Operations                                                                      accountingfirmtofinalizethepropertyinsurancerefunds(all)(.6)
  MayͲ22 Business                 5/5/2022 JRW        $260.00        0.4 ReviewspreadsheetandconferwithE.Duffregardingpropertyreports(all).                          $104.00
         Operations
  MayͲ22 Business                 5/5/2022 KMP        $140.00        0.3 Reviewandreviselistofrefundsforterminatedinsuranceonsoldpropertiesandrelated                   $42.00
         Operations                                                                      communicationswithJ.RakandE.Duff(all).
  MayͲ22 Business                5/11/2022 KMP        $140.00        0.2 CommunicationswithJ.Rakregardingspreadsheettrackinginsurancerefundsforallsold                    $28.00
         Operations                                                                      properties(all).
  MayͲ22 Business                5/12/2022 ED         $390.00        0.2 callwithaccountanttodiscussquestionsrelatingtopremiumrefundreportingfrominsurance              $78.00
         Operations                                                                      agent(all)(.2).
  MayͲ22 Business                5/13/2022 ED         $390.00        0.2 preparationfordiscussionwithaccountant,K.Duff,andJ.Winetoregardingstepsnecessaryto           $78.00
         Operations                                                                      finalizecalculationsofreimbursableamountsowedbysoldproperties.(all)(.2).

  MayͲ22 Business                5/13/2022 ED         $390.00        0.3 telephoneconferencewithaccountanttodiscussmethodologyforallocationofinsurancerefunds            $117.00
         Operations                                                                      receivedtosoldproperties(all)(.3)
  MayͲ22 Business                5/13/2022 ED         $390.00        0.6 conferencecallwithaccountant,K.Duff,andJ.Winetodiscussmethodologyforcalculationsof           $234.00
         Operations                                                                      reimbursableamountsowedbysoldpropertiesandstepsnecessarytopermitaccountantsto
                                                                                         finalizecalculations,includingreconciliationofinsurancepremiumrefundsowedtoamounts
                                                                                         received (all) ( 6)
  MayͲ22 Business                5/13/2022 JRW        $260.00        0.7 ConferencecallwithE.Duff,K.Duffandaccountantregardinginsurancepremiumandrefund                 $182.00
         Operations                                                                      allocationstopropertiesandrelatedreviewofspreadsheet(all).
  MayͲ22 Business                5/16/2022 ED         $390.00        0.2 Emailcorrespondencewithaccountantwithrespecttoinsurancerefundallocationanalysis(all)(.2)         $78.00
         Operations
  MayͲ22 Business                5/16/2022 ED         $390.00        0.3 reviewofdraftreportsfromaccountantsummarizinginsurancerefundsdueandinsurancerefunds            $117.00
         Operations                                                                      received(all)(.3)
  MayͲ22 Business                5/16/2022 ED         $390.00        0.4 callwithaccountanttodiscussaccountantsummarizinginsurancerefundsdueandinsurance                 $156.00
         Operations                                                                      refundsreceived(all)(.4)
  MayͲ22 Business                5/16/2022 ED         $390.00        0.5 prepareandsendemailtoK.DuffandJ.Wineregardingstatusandopenitemsrequiredfor                 $195.00
         Operations                                                                      completionofinsurancecostallocation(all)(.5).
  MayͲ22 Business                5/17/2022 JR         $140.00        0.2 furthercommunicationwithJ.Winerequestingspreadsheetsproducedasaresultoftheproperty            $28.00
         Operations                                                                      insurancepremiumsandprovidetoJ.Wine(all)(.2).
  MayͲ22 Business                5/17/2022 JR         $140.00        0.5 ReviewemailfromE.Duffrelatingtopropertyinsurancepremiumrefundsandconfirmproperty               $70.00
         Operations                                                                      informationrelatedtosame(all)(.5)



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                                                                                 16thFeeApplication(2ndQuarter2022)

Invoice                                       Time     TimeKeeper          Task
           BillingCategory     EntryDate                                                                                         TaskDescription                                                           TaskCost
Month                                         Keeper            Rate           Hours
   MayͲ22 Business               5/17/2022 JRW        $260.00         0.2 reviewinsuranceexpensereconciliationandspreadsheetregardingendorsementsandrelated                 $52.00
          Operations                                                                      correspondencewithJ.Rak(all)(.2).
   MayͲ22 Business               5/17/2022 JRW        $260.00         0.3 TelephoneconferencewithE.Duffregardinginsuranceanalysis(all)(.3)                                    $78.00
          Operations
   MayͲ22 Claims                  5/2/2022 AW         $140.00        0.1 attentiontoemailsinresponsetofifteenthstatusreportandrelatedexchangewithK.DuffandJ. $14.00
          Administration&                                                              Wine(all)(.1).
          Objections
   MayͲ22 Claims                  5/2/2022 AW         $140.00        0.1 Reviewmasterclaimslistregardingclaimant'squestionandrelatedemailtoK.Duff(all)(.1)               $14.00
          Administration&
          Objections
   MayͲ22 Claims                  5/2/2022 JRW        $260.00        0.1 revisedraftemailtoclaimantsregardingupcominghearing(all)(.1)                                        $26.00
          Administration&
          Objections
   MayͲ22 Claims                  5/2/2022 JRW        $260.00        0.4 Attentiontoclaimantinquiriesandrelatedreviewofclaim(all)(.4)                                        $104.00
          Administration&
          Objections
   MayͲ22 Claims                  5/3/2022 AW         $140.00        0.1 respondandfollowupemailwithclaimantregardingfollowup(all)(.1)                                     $14.00
          Administration&
          Objections
   MayͲ22 Claims                  5/3/2022 AW         $140.00        0.1 updatemailingaddressandconfirmsamewithclaimants(all)(.1)                                            $14.00
          Administration&
          Objections
   MayͲ22 Claims                  5/3/2022 AW         $140.00        0.2 respondtoemailregardinghearingandfollowupregardingemaildeliveries(all)(.2)                       $28.00
          Administration&
          Objections
   MayͲ22 Claims                  5/3/2022 AW         $140.00        0.2 responsestoclaimantsregardingclaimsprocessandtiming(all)(.2).                                       $28.00
          Administration&
          Objections
   MayͲ22 Claims                  5/3/2022 AW         $140.00        0.2 AttentiontoemailsinresponsetofifteenthstatusreportandrelatedemailexchangeswithK.Duff $28.00
          Administration&                                                              andJ.Wine(all)(.2)
          Objections
   MayͲ22 Claims                  5/3/2022 AW         $140.00        0.4 draftemailstoclaimantsregardingtheirclaimsandcustodianissues,relatedemailexchangeswith $56.00
          Administration&                                                              J.Wine,andresponsestoclaimants(all)(.4)
          Objections
   MayͲ22 Claims                  5/3/2022 JRW        $260.00        0.1 ConferwithA.Watychowiczregardingstandardresponsetoclaimantinquiries(all)(.1)                       $26.00
          Administration&
          Objections
   MayͲ22 Claims                  5/3/2022 JRW        $260.00        0.6 attentiontodraftingresponsestoclaimantinquiries(all)(.6)                                             $156.00
          Administration&
          Objections
   MayͲ22 Claims                  5/4/2022 AW         $140.00        0.1 providecopiesofemailstocounselfromclaimantstocourtroomdeputy(all)(.1)                            $14.00
          Administration&
          Objections
   MayͲ22 Claims                  5/4/2022 AW         $140.00        0.2 communicatewithJ.WineregardingtopicsclaimantswishtodiscusswithJudgeLee(all)(.2)                $28.00
          Administration&
          Objections
   MayͲ22 Claims                  5/4/2022 AW         $140.00        0.2 correspondwithcounselregardingclaimantswhowishtoparticipateinhearingandourprocedure $28.00
          Administration&                                                              (all)(.2)
          Objections




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Invoice                                      Time     TimeKeeper          Task
           BillingCategory     EntryDate                                                                                         TaskDescription                                                           TaskCost
Month                                        Keeper            Rate           Hours
   MayͲ22 Claims                  5/4/2022 AW        $140.00         0.2 draftemailtoclaimantsandrelatedexchangeswithcounsel(all)(.2).                                     $28.00
          Administration&
          Objections
   MayͲ22 Claims                  5/4/2022 AW        $140.00         0.2 reviewemailstoclaimantsandcommunicatewithclaimantregardingpastcorrespondence(all)(.2) $28.00
          Administration&
          Objections
   MayͲ22 Claims                  5/4/2022 AW        $140.00         0.3 ReviewclaimandemailexchangeswithJ.Wineregardingretirementaccounts(all)(.3)                        $42.00
          Administration&
          Objections
   MayͲ22 Claims                  5/4/2022 AW        $140.00         0.4 emailclaimantsregardingclaimsprocess(all)(.4)                                                          $56.00
          Administration&
          Objections
   MayͲ22 Claims                  5/4/2022 JRW       $260.00         0.6 reviewnoticesfromclaimantsregardingaddressingcourtatupcominghearingandrelated                    $156.00
          Administration&                                                              correspondencetocourtclerk(all)(.6).
          Objections
   MayͲ22 Claims                  5/4/2022 JRW       $260.00         0.8 Furtherattentiontoclaimantinquiriesandconferregardingstandardresponsetoadditional                 $208.00
          Administration&                                                              inquiriesandconferwithA.Watychowiczregardingsame(all)(.8)
          Objections
   MayͲ22 Claims                  5/5/2022 AW        $140.00         0.2 callwithJ.Wineregardinghearingandmaterialsforsame(all)(.2)                                        $28.00
          Administration&
          Objections
   MayͲ22 Claims                  5/5/2022 AW        $140.00         0.2 followupemailswithclaimantregardinghearing(all)(.2)                                                  $28.00
          Administration&
          Objections
   MayͲ22 Claims                  5/5/2022 AW        $140.00         0.3 Attentiontoemails,voicemessages,andcallsfromclaimant'scounselandworkonrelatedemail             $42.00
          Administration&                                                              responses(all)(.3)
          Objections
   MayͲ22 Claims                  5/5/2022 AW        $140.00         0.4 emailclaimantsregardingupcominghearing,claimsprocess,soldproperties,andtimingissues(all) $56.00
          Administration&                                                              (.4)
          Objections
   MayͲ22 Claims                  5/5/2022 AW        $140.00         0.7 emailindividualclaimantsregardingaddressingthecourt(all)(.7).                                        $98.00
          Administration&
          Objections
   MayͲ22 Claims                  5/5/2022 AW        $140.00         0.8 updatematerialsforupcominghearingandrelatedemailwithcounsel(all)(.8)                              $112.00
          Administration&
          Objections
   MayͲ22 Claims                  5/5/2022 AW        $140.00         0.9 preparematerialsforupcominghearing(all)(.9)                                                            $126.00
          Administration&
          Objections
   MayͲ22 Claims                  5/5/2022 JRW       $260.00         0.1 telephoneconferencewithclaimantregardingupcominghearing(all)(.1)                                     $26.00
          Administration&
          Objections
   MayͲ22 Claims                  5/5/2022 JRW       $260.00         0.1 ConferwithA.Watychowiczregardingnoticetoclaimants(all)(.1)                                           $26.00
          Administration&
          Objections
   MayͲ22 Claims                  5/5/2022 JRW       $260.00         0.3 attentiontorespondingtoclaimantinquiries(all)(.3)                                                     $78.00
          Administration&
          Objections




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                                                                                 16thFeeApplication(2ndQuarter2022)

Invoice                                       Time     TimeKeeper          Task
           BillingCategory     EntryDate                                                                                         TaskDescription                                                        TaskCost
Month                                         Keeper            Rate           Hours
   MayͲ22 Claims                  5/5/2022 JRW        $260.00         0.3 conferwithM.Rachlisregardingclamantnotices(all)(.3)                                              $78.00
          Administration&
          Objections
   MayͲ22 Claims                  5/5/2022 JRW        $260.00         0.4 conferwithA.Watychowiczregardingclaimantnoticesregardinghearingandpreparationofchart $104.00
          Administration&                                                               andreviewandrevisesame(all)(.4).
          Objections
   MayͲ22 Claims                  5/5/2022 JRW        $260.00         0.8 conferencecallwithK.DuffandM.Rachlisregardingclaimsanalysis,propertygroupings,and          $208.00
          Administration&                                                               preparationforhearing(all)(.8)
          Objections
   MayͲ22 Claims                  5/5/2022 MR         $390.00         0.3 conferencewithJ.Wineregardingnoticetoclaimants(all)(.3)                                         $117.00
          Administration&
          Objections
   MayͲ22 Claims                  5/6/2022 AW         $140.00         0.2 callwithJ.Wineregardinghearingandconnectionissuesclaimants'experienced(all)(.2)              $28.00
          Administration&
          Objections
   MayͲ22 Claims                  5/6/2022 AW         $140.00         0.2 emailexchangeswithclaimantregardingaccesstohearing(all)(.2)                                     $28.00
          Administration&
          Objections
   MayͲ22 Claims                  5/6/2022 JRW        $260.00         0.4 telephoneconferencewithclaimantandrelatedreviewofProofofClaimandcorrespondencewith $104.00
          Administration&                                                               K.Duff(all)(.4)
          Objections
   MayͲ22 Claims                  5/9/2022 AW         $140.00         0.1 communicatewithJ.Wineregardingclaimant'scustodianissues(all)(.1)                                $14.00
          Administration&
          Objections
   MayͲ22 Claims                  5/9/2022 AW         $140.00         0.1 emailJ.WineregardingproposedupdatetoresponseregardingclaimsafterhearingbeforeJudge $14.00
          Administration&                                                               Lee(all)(.1)
          Objections
   MayͲ22 Claims                  5/9/2022 AW         $140.00         0.4 emailexchangesregardingupdatetoclaimantsaboutlasthearingandsendcorrespondenceto             $56.00
          Administration&                                                               claimants(all)(.4).
          Objections
   MayͲ22 Claims                  5/9/2022 AW         $140.00         0.6 workwithK.DuffandJ.Wineonresponsestoclaimantsandemailclaimantsregardinghearing,          $84.00
          Administration&                                                               claimsprocess,andfollowupquestions(all)(.6)
          Objections
   MayͲ22 Claims                  5/9/2022 JRW        $260.00         0.1 conferwithA.Watychowiczregardingnoticetoclaimantsofcourtorder(all)(.1)                       $26.00
          Administration&
          Objections
   MayͲ22 Claims                  5/9/2022 JRW        $260.00           1 attentiontovariousclaimantinquiries(all)(1.0).                                                    $260.00
          Administration&
          Objections
   MayͲ22 Claims                 5/10/2022 AW         $140.00         0.1 communicatewithJ.Wineregardingrevisionstoclaimsreviewchart(all)(.1)                           $14.00
          Administration&
          Objections
   MayͲ22 Claims                 5/10/2022 AW         $140.00         0.1 communicatewithK.DuffandJ.Wineregardingtranscriptofproceedings(all)(.1).                     $14.00
          Administration&
          Objections
   MayͲ22 Claims                 5/10/2022 AW         $140.00         0.4 Attentiontoemailsfromclaimantsandworkonresponsestoemailsregardingclaimsprocessand $56.00
          Administration&                                                               proposedgroupingofproperties(all)(.4)
          Objections




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                                                                                 EquityBuildͲGeneralAllocationTaskDetail
                                                                                  16thFeeApplication(2ndQuarter2022)

Invoice                                        Time     TimeKeeper          Task
            BillingCategory     EntryDate                                                                                            TaskDescription                                                        TaskCost
Month                                          Keeper            Rate           Hours
   MayͲ22 Claims                  5/10/2022 JRW        $260.00         0.1 Attentiontoclaimantinquiry(all)(.1)                                                                     $26.00
           Administration&
           Objections
   MayͲ22 Claims                  5/18/2022 JRW        $260.00         0.2 Conferwithcounselforclaimants,conferwithA.Watychowiczandrelatedcorrespondenceto                 $52.00
           Administration&                                                               counselregardingclaimforms(all).
           Objections
   MayͲ22 Claims                  5/19/2022 AW         $140.00         0.2 attentiontoemailfromclaimantrequestingupdatetohercontactinformation,update                      $28.00
           Administration&                                                               spreadsheets,andrelatedresponsetoclaimant(all)(.2)
           Objections
   MayͲ22 Claims                  5/19/2022 AW         $140.00         0.2 callwithJ.Wineregardingsubmittedclaims(all)(.2).                                                    $28.00
           Administration&
           Objections
   MayͲ22 Claims                  5/19/2022 AW         $140.00         0.2 Reviewclaimandrespondtoclaimant'sinquiryregardingclaimsprocessandproposedgrouping               $28.00
           Administration&                                                               (all)(.2)
           Objections
   MayͲ22 Claims                  5/23/2022 AW         $140.00         0.1 attentiontotranscriptofproceedings(all)(.1).                                                          $14.00
           Administration&
           Objections
   MayͲ22 Claims                  5/23/2022 JRW        $260.00         0.1 ExchangecorrespondencewithK.DuffandA.Watychowiczregardingclaimantinquiriesabout                  $26.00
           Administration&                                                               hearingbeforeJudgeLee(all)(.1)
           Objections
   MayͲ22 Claims                  5/23/2022 JRW        $260.00         0.3 telephoneconferencewithclaimant(all)(.3).                                                              $78.00
           Administration&
           Objections
   MayͲ22 Claims                  5/24/2022 JRW        $260.00         0.3 Correspondenceregardingresponsetoclaimantinquiriesregardinghearingandtransferof                   $78.00
           Administration&                                                               investments(all).
           Objections
    JunͲ22 Business               6/26/2022 KBD        $390.00         0.1 ExchangecorrespondencewithE.Duffregardinginsurancepremiumanalysis(all).                             $39.00
           Operations
    JunͲ22 Business               6/23/2022 ED         $390.00         0.8 telephoneconferencewithJ.Rakregardingstepsnecessarytofinalizeinsurancerefundallocations $312.00
           Operations                                                                      forallsoldproperties(all)(.8).
    JunͲ22 Business               6/24/2022 ED         $390.00         0.1 emailcorrespondencewithaccountantrelatingtodraftpremiumrefundssummaryreport(all)(.1). $39.00
           Operations
    JunͲ22 Business               6/24/2022 ED         $390.00         0.2 reviewofdraftreportfromaccountantsummarizinginformationreceivedregardingpremium                  $78.00
           Operations                                                                      refundsearnedbyproperty(all)(.2)
    JunͲ22 Business               6/24/2022 ED         $390.00         0.3 Telephoneconferencewithaccountantregardingstepsnecessarytofinalizeinsurancerefund                 $117.00
           Operations                                                                      allocationsforallsoldproperties(all)(.3)
    JunͲ22 Business               6/24/2022 SZ         $110.00         0.3 phonecallwithE.Duffaboutpropertyexpenseallocationandreimbursementreports(all)(.3).             $33.00
           Operations
    JunͲ22 Business               6/24/2022 SZ         $110.00         2.4 Workedwithaccountingreportsrelatingtopropertyandallocationandreimbursement(all)(2.4)             $264.00
           Operations
    JunͲ22 Business               6/25/2022 ED         $390.00         1.8 preparedraftspreadsheetsynthesizingavailableandmissinginformationnecessarytoproperly             $702.00
           Operations                                                                      allocatecreditsforpremiumrefundamountsreceivedtosoldproperties(1.8).
    JunͲ22 Business               6/25/2022 ED         $390.00         3.6 Reviewandanalysisofdraftreports,emailcorrespondence,policyendorsements,andrelated                $1,404.00
           Operations                                                                      documentsregardingrefundsofprepaidinsurancepremiumamounts(all)(3.6)
    JunͲ22 Business               6/26/2022 ED         $390.00         0.2 emailcorrespondencewithK.Duffregardingadditionalstepsrequiredtocompleteinsurance                $78.00
           Operations                                                                      refundanalysis(all)(.2)
    JunͲ22 Business               6/26/2022 ED         $390.00         0.3 prepareandsendemailcorrespondencetoJ.Rakregardingadditionalstepsrequiredtocomplete            $117.00
           Operations                                                                      insurancerefundanalysis(all)(.3)




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                                                                                 EquityBuildͲGeneralAllocationTaskDetail
                                                                                  16thFeeApplication(2ndQuarter2022)

Invoice                                        Time     TimeKeeper          Task
            BillingCategory     EntryDate                                                                                          TaskDescription                                                 TaskCost
Month                                          Keeper            Rate           Hours
    JunͲ22 Business               6/26/2022 ED         $390.00         0.5 prepareoutlineofadditionalinformationrequiredfromaccountantstocompleteinsurancerefund $195.00
           Operations                                                                      allocations(all)(.5)
    JunͲ22 Business               6/26/2022 ED         $390.00         2.8 Furtherrevisionstospreadsheetrelatingtoallocationofinsurancerefunds(all)(2.8)           $1,092.00
           Operations
    JunͲ22 Business               6/26/2022 ED         $390.00         3.5 continuereviewofdocumentsandcorrespondencerelatingtoreceiptandallocationofinsurance           $1,365.00
           Operations                                                                      refunds(all)(3.5).
    JunͲ22 Business               6/27/2022 ED         $390.00         0.2 emailcorrespondencewithJ.RakregardingreviewofitemsnotedinJune26spreadsheetand               $78.00
           Operations                                                                      email(all)(.2)
    JunͲ22 Business               6/27/2022 ED         $390.00         0.6 beginreviewofdatafromaccountantreflectingentriesforrefundsreceivedbyReceivership(all)        $234.00
           Operations                                                                      (.6).
    JunͲ22 Business               6/27/2022 ED         $390.00         0.7 emailcorrespondencewithaccountantrelatingtorequestedworktofinalizeinsuranceallocation          $273.00
           Operations                                                                      adjustments(all)(.7)
    JunͲ22 Business               6/27/2022 ED         $390.00         0.9 callswithaccountanttodiscussstatusofworkonadditionalinformationrequestedandfollowͲup         $351.00
           Operations                                                                      questionsrelatingtoreconcilingsummaryinformationprovidedbyinsuranceagent,bankrecords,
                                                                                           andpolicycoverageterminationendorsementstopropertyallocationresults(all)(.9)

   JunͲ22 Business                6/28/2022 ED         $390.00         0.1 emailcorrespondencewithJ.Rakregardingupdatestoinsurancerefundspreadsheet(all)(.1)              $39.00
          Operations
   JunͲ22 Business                6/28/2022 ED         $390.00         0.5 emailcorrespondencetoaccountanttransmittingquestionsandcommentsrelatingtopreparation $195.00
          Operations                                                                       ofReceiver'spropertyreportsforsoldproperties(all)(.5).
   JunͲ22 Business                6/28/2022 ED         $390.00         0.5 updateinsurancerefundspreadsheetforfurtherrevisionbasedonJ.Rakdocumentreview(all)(.5) $195.00
          Operations
   JunͲ22 Business                6/28/2022 ED         $390.00         0.8 conferwithJ.Rakregardingreviewofinformationnecessarytoallocateinsurancerefundsto             $312.00
          Operations                                                                       properties(all)(.8)
   JunͲ22 Business                6/28/2022 JR         $140.00           1 discussionrelatedtoreviewofpropertyendorsementsandupdateofspreadsheetasitrelatesto          $140.00
          Operations                                                                       refundamountsandcancellationofpropertyasitrelatestotheinsurancepolicy(all)(1.0)

   JunͲ22 Business                6/29/2022 ED         $390.00         0.3 telephoneconferencewithK.Duffregardingcalculationandpresentationofnetreimbursable              $117.00
          Operations                                                                       amountsfromsoldproperties(all)(.3).
   JunͲ22 Business                6/29/2022 ED         $390.00         0.4 beginpreparationofoutlineofquestionsfordiscussionwithinsuranceagentregardingmissing           $156.00
          Operations                                                                       informationandapparentinconsistenciesininformationprovidedregardingpremiumrefunds
                                                                                           attributable to sold properties (all) (.4)
   JunͲ22 Business                6/29/2022 ED         $390.00         0.5 telephoneconferencewithaccountanttodiscussandresolvequestionsregardingreporting                 $195.00
          Operations                                                                       relatingtoallocationofinsurancepremiumrefunds,calculationofnetamountsreimbursablefrom
                                                                                           sale proceeds of certain properties, and related issues (all) (.5)
   JunͲ22 Business                6/30/2022 ED         $390.00         0.3 meetwithK.Dufftodiscussprocessandcontentofconfirmingandreportingoncalculationofnet        $117.00
          Operations                                                                       reimbursableamountsfromsoldproperties(all)(.3).
   JunͲ22 Business                6/30/2022 ED         $390.00         0.7 analysisofprocessandcontentnecessaryforcalculationofreimbursableamountsbyallsold             $273.00
          Operations                                                                       properties(all)(.7)
   JunͲ22 Business                6/30/2022 ED         $390.00         0.9 conferwithJ.Raktoconfirmdataanddocumentsrelatingtocalculationsofreimbursableamounts         $351.00
          Operations                                                                       forsoldproperties(all)(.9)
   JunͲ22 Claims                   6/1/2022 AW         $140.00         0.1 CommunicatewithJ.Wineregardingclaimsreview(all).                                                     $14.00
          Administration&
          Objections
   JunͲ22 Claims                   6/1/2022 JRW        $260.00         0.3 draftresponsetoclaimantinquiryregardingsubmissionofadditionalsupportingdocumentation            $78.00
          Administration&                                                                andrelatedcorrespondencewithK.Duff(all)(.3).
          Objections
   JunͲ22 Claims                   6/1/2022 JRW        $260.00         0.5 reviewproofofclaimanddraftresponsetoinquiryregardingchangeofcustodian(all)(.5)               $130.00
          Administration&
          Objections



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                                                                                EquityBuildͲGeneralAllocationTaskDetail
                                                                                 16thFeeApplication(2ndQuarter2022)

Invoice                                       Time     TimeKeeper          Task
            BillingCategory     EntryDate                                                                                         TaskDescription                                               TaskCost
Month                                         Keeper            Rate           Hours
    JunͲ22 Claims                  6/2/2022 AW        $140.00         0.1 followupemailtoJ.Wineregardingclaimsreview(all)(.1).                                   $14.00
           Administration&
           Objections
    JunͲ22 Claims                  6/2/2022 AW        $140.00         0.1 Emailresponsetoclaimantregardingcustodianissues(all)(.1)                                  $14.00
           Administration&
           Objections
    JunͲ22 Claims                  6/2/2022 JRW       $260.00         0.1 attentiontoclaimantinquiries(all)(.1).                                                       $26.00
           Administration&
           Objections
    JunͲ22 Claims                  6/2/2022 JRW       $260.00         0.6 studyemailsandrelatedanalysisconcerninginquirynotice(all)(.6).                         $156.00
           Administration&
           Objections
    JunͲ22 Claims                  6/3/2022 JRW       $260.00         0.2 ConferwithA.Watychowiczregardingclaimantinquiriesregardingdistributions(all)(.2)        $52.00
           Administration&
           Objections
    JunͲ22 Claims                  6/6/2022 AW        $140.00         0.2 communicatewithJ.WineandK.Duffregardingstandardresponsetoclaimantsregarding         $28.00
           Administration&                                                              potentialdistributions(all)(.2)
           Objections
    JunͲ22 Claims                  6/6/2022 AW        $140.00         0.5 Workonresponsestoclaimantsregardingclaimsprocess,groupingofproperties,andpotential   $70.00
           Administration&                                                              distributions(all)(.5)
           Objections
    JunͲ22 Claims                  6/6/2022 JRW       $260.00         0.1 telephoneconferencewithclaimants'counselregardingdocumentsfromvendor(all)(.1).         $26.00
           Administration&
           Objections
    JunͲ22 Claims                  6/6/2022 JRW       $260.00         0.1 Attentiontoclaimantinquiries(all)(.1)                                                        $26.00
           Administration&
           Objections
    JunͲ22 Claims                  6/7/2022 JRW       $260.00         0.1 Attentiontorespondingtoclaimantinquiry(all)(.1)                                            $26.00
           Administration&
           Objections
    JunͲ22 Claims                  6/8/2022 AW        $140.00         0.2 Responseemailstoclaimantsregardingclaimsprocess(all)(.2)                                  $28.00
           Administration&
           Objections
    JunͲ22 Claims                  6/8/2022 AW        $140.00         0.4 Prepareclaimants'checklistandsharewithJ.WineandJ.Rak(all)(.4)                         $56.00
           Administration&
           Objections
    JunͲ22 Claims                 6/10/2022 AW        $140.00         0.3 attentiontoemailsfromtrustandrelatedexchangewithJ.Wine(all)(.3)                      $42.00
           Administration&
           Objections
    JunͲ22 Claims                 6/13/2022 AW        $140.00         0.1 communicatewithK.Duffregardinglateamendmenttoclaim(all)(.1)                            $14.00
           Administration&
           Objections
    JunͲ22 Claims                 6/13/2022 JRW       $260.00         0.3 Correspondenceregardingclaimsandcontactdata(all)(.3)                                       $78.00
           Administration&
           Objections
    JunͲ22 Claims                 6/14/2022 AW        $140.00         0.1 reachouttoclaimsvendorregardingpossibleclaim(all)(.1)                                   $14.00
           Administration&
           Objections




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                                                                                         EquityBuildͲGeneralAllocationTaskDetail
                                                                                          16thFeeApplication(2ndQuarter2022)

  Invoice                                         Time          TimeKeeper          Task
              BillingCategory      EntryDate                                                                                             TaskDescription                                                             TaskCost
  Month                                           Keeper                 Rate           Hours
      JunͲ22 Claims                   6/14/2022 AW             $140.00         0.1 Responseemailtoclaimantsregardingcustodianissues(all)(.1)                                             $14.00
             Administration&
             Objections
      JunͲ22 Claims                   6/14/2022 AW             $140.00         0.6 attentiontoemailfrompotentialclaimant,reviewReceiver'scorrespondenceandrecords                    $84.00
             Administration&                                                                     regardingclaim,andrelatedcommunicationswithJ.Wine(all)(.6)
             Objections
      JunͲ22 Claims                   6/14/2022 JRW            $260.00         0.1 exchangecorrespondencewithclaimants'counselandvendorregardingEBdocuments(all)(.1)                 $26.00
             Administration&
             Objections
      JunͲ22 Claims                   6/17/2022 AW             $140.00         0.5 Reviewemails,claims,anddocumentsandcommunicatewithclaimsvendorregardingclaimant)                  $70.00
             Administration&                                                                     (all)(.5)
             Objections
      JunͲ22 Claims                   6/21/2022 AW             $140.00         0.1 communicatewithK.Duffregardingresponseemailfromclaimant(all)(.1)                                   $14.00
             Administration&
             Objections
      JunͲ22 Claims                   6/21/2022 AW             $140.00         0.1 reachouttoclaimsvendorregardingclaim(all)(.1)                                                        $14.00
             Administration&
             Objections
      JunͲ22 Claims                   6/21/2022 AW             $140.00         0.1 CommunicatewithK.Pritchardregardingclaimsvendorcontact(all)(.1)                                      $14.00
             Administration&
             Objections
      JunͲ22 Claims                   6/21/2022 AW             $140.00         0.2 draftemailtopotentialclaimantandrelatedexchangewithK.Duff(all)(.2)                               $28.00
             Administration&
             Objections
      JunͲ22 Claims                   6/21/2022 MR             $390.00         0.2 Reviewmaterialsregardingclaim(all).                                                                       $78.00
             Administration&
             Objections
      JunͲ22 Claims                   6/22/2022 MR             $390.00         0.2 TelephoneconferencewithK.Duffregardingsettlementofthirdpartyactionandrelatedissues(all) $78.00
             Administration&                                                                     (.2)
             Objections
      JunͲ22 Claims                   6/26/2022 AW             $140.00         0.1 Emailclaimsvendorregardingclaiminformation(all).                                                        $14.00
             Administration&
             Objections
      JunͲ22 Claims                   6/27/2022 AW             $140.00         0.1 respondtoclaimant'srepresentativeregardingnoticeofreceivership(all)(.1).                            $14.00
             Administration&
             Objections
      JunͲ22 Claims                   6/29/2022 AW             $140.00         0.1 emailclaimant'sregardingclaimsprocess(all)(.1).                                                        $14.00
             Administration&
             Objections
      JunͲ22 Claims                   6/30/2022 AW             $140.00         0.4 emailexchangesandcallswithJ.WineandJ.Rakregardingharddrive(all)(.4).                           $56.00
             Administration&
             Objections
      JunͲ22 Claims                   6/30/2022 JRW            $260.00         0.8 conferwithclaimants'counselandrelatedconferencewithK.DuffandM.Rachlisregarding  $208.00
             Administration&                                                                     documentdatabaseandexportissuesandrelatedcommunicationswithA.WatychowiczandJ.Rak
             Objections                                                                            regarding hard drive (all) (.8)

                                                                  Total:                     91.1                                                                                                                 $ 22,365.00

[1] GeneralallocationhourshavebeenlimitedtoentrieswithAssetDisposition,BusinessOperations,orClaimsAdministration&Objectionsbillingcategories.
[2] TaskentriesdeterminedasgeneraltimehavebeenallocatedtoallpropertiesinaccordancewithcourtͲapprovedallocationmethodology.



                                                                                                               11of11
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                 Exhibit 0
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 165 of 2195 PageID #:71081


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                         TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                                Count
           AprilͲ22 AssetDisposition                         4/2/2022 KBD               390 53467.001        DraftcorrespondencetoA.PorterandJ.RakandpostͲsaleaccountingreconciliation(638Avers).          0.1 $39.00 638Ͳ40NAversAvenue                                                                                                                       1

           AprilͲ22 AssetDisposition                         4/5/2022 KBD               390 53468.001        ExchangecorrespondencewithK.PritchardandJ.RakregardingrecoveryoffundsfollowingpostͲ           0.1 $39.00 638Ͳ40NAversAvenue                                                                                                                       1
                                                                                                              closingreconciliation(638Avers).
           AprilͲ22 AssetDisposition                        4/11/2022 KBD               390 53469.001        DraftcorrespondencetoK.PritchardandJ.Rakregardingattentiontofinalpropertymanager             0.1 $39.00 7109Ͳ19SCalumetAvenue                                                                                                                    1
                                                                                                              distribution(7109Calumet).
           AprilͲ22 AssetDisposition                        4/18/2022 KBD               390 53470.001        ExchangecorrespondencewithA.PorterandJ.Rakregardingrecoveryofclosingfundsfromtitle          0.2 $78.00 7748Ͳ52SEssexAvenue                                                                                                                      1
                                                                                                              companyandrelatedissues(7748Essex).
           AprilͲ22 AssetDisposition                        4/19/2022 KBD               390 53471.001        ExchangecorrespondencewithA.PorterandJ.Rakregardingrecoveryofclosingfundsfromtitle          0.1 $39.00 7748Ͳ52SEssexAvenue                                                                                                                      1
                                                                                                              company(7748Essex).
           AprilͲ22 BusinessOperations                      4/20/2022 KBD               390 53477.001        Attentiontodispositionofstatecourtaction(7748Essex).                                               0.1 $39.00 7748Ͳ52SEssexAvenue                                                                                                                      1

           AprilͲ22 BusinessOperations                      4/28/2022 KBD               390 53478.001        ExchangecorrespondencewithK.PritchardandJ.Rakregardingaccountreconciliationandwater           0.1 $39.00 7109Ͳ19SCalumetAvenue                                                                                                                    1
                                                                                                              accountissue(7109Calumet).
           AprilͲ22 ClaimsAdministration&Objections        4/6/2022 KBD               390 53489.001        ExchangecorrespondencewithJ.WineandJ.Rakregardingclaimsanalysis(1700Juneway,5450             0.3 $117.00 1700Ͳ08WJunewayTerrace;5450Ͳ52SIndianaAvenue;6160Ͳ6212SMartinLutherKingDrive;6949Ͳ59SMerrillAvenue;                        5
                                                                                                              Indiana,7749Yates,6160MLK,6949Merrill)(.3)                                                                                7749Ͳ59SYatesBoulevard


           AprilͲ22 ClaimsAdministration&Objections       4/12/2022 KBD               390 53492.001        Attentiontodiscoveryandsubpoenacomplianceissues(1017W102nd,1516E85th,2136W83rd,            0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     26
                                                                                                              417Oglesby,7922Luella,8030Marquette,8104Kingston,8403Aberdeen,8529Rhodes,11318                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              Church,2129W71st,7925Kingston,9212Parnell,7210Vernon,6825Indiana,406E87th,6554                                    IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Rhodes,7712Euclid,8432Essex,3213Throop,8107Kingston,8346Constance,10012LaSalle,9610                                 MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              Woodlawn,6759Indiana,8517Vernon).                                                                                             8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue

           AprilͲ22 ClaimsAdministration&Objections       4/15/2022 KBD               390 53494.002        attentiontoordersettinghearing,noticetoclaimants,andexchangerelatedcorrespondence             0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              (all108)(.1).                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/18/2022 KBD               390 53495.001        TelephoneconferencewithSECandM.Rachlis(solelien)(.2)                                              0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                ParnellAvenue;9610SWoodlawnAvenue



           AprilͲ22 ClaimsAdministration&Objections       4/18/2022 KBD               390 53495.003        reviewlistofpendingclaimsmattersbeforetheCourtinpreparationforhearing(all108)(.1)           0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
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                                                                                                                                                                                                                                                CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                Avenue;9610SWoodlawnAvenue




                                                                                                                                                                                          1of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 166 of 2195 PageID #:71082


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                             TaskHours   TaskCost                                                          PropertyAllocation                                                        Property
                                                                                                                                                                                                                                                                                                                                                                                Allocation
                                                                                                                                                                                                                                                                                                                                                                                  Count
           AprilͲ22 ClaimsAdministration&Objections       4/18/2022 KBD               390 53495.004        reviewstatusofeffortstoobtainthirdpartydocumentsandexchangerelatedcorrespondence(1017          0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                    26
                                                                                                              W102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E                                     Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,                                  IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,                                         MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.1).                                                             8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 KBD               390 53496.001        ConferwithM.RachlisandJ.WineregardinghearingbeforeJudgeLeeandconsiderationofissues            1.4 $546.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              thatmaybepresentedtotheCourt,analysisofclaims,andreviewofissuesbasedoninterim                                      Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                              discoveryobtained(solelien)(1.4)                                                                                                IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                  Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                  ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                  ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 KBD               390 53496.002        conferwithM.RachlisandJ.WineregardingpotentialevidentiaryhearingbeforeJudgeLee(Group          0.2 $78.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                         5
                                                                                                              1)(.2)                                                                                                                              MuskegonAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 KBD               390 53496.003        exchangecorrespondencewithA.Porterregardingreleaseissue(Group1)(.2)                                0.2 $78.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                         5
                                                                                                                                                                                                                                                   MuskegonAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 KBD               390 53496.005        exchangecorrespondencewithJ.WineandM.Rachlisregardinginformationavailabletoclaimant             0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                            2
                                                                                                              regardingloansandclaimsandimpactonanalysisofclaims(6749Merrill,7110Cornell)(.2)




           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 KBD               390 53496.006        attentiontoeffortstoobtainrecordsfromthirdpartyandexchangerelatedcorrespondence(1017           0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                    26
                                                                                                              W102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E                                     Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,                                  IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,                                         MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.1)                                                              8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                       2of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 167 of 2195 PageID #:71083


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                                TaskDescription                                           TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 KBD               390 53498.002        attentiontocommunicationsfromclaimantregardingstatusofclaimsprocessrelatedtoproperty             0.2 $78.00 1102Bingham(Houston,TX)                                                                                                                  1
                                                                                                              (1102Bingham)(.2)




           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 KBD               390 53499.004        telephoneconferencewithM.RachlisandJ.Wineregardingfurthereffortstoobtaindocuments               0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     26
                                                                                                              fromclaimant'scounsel(1017W102nd,10012LaSalle,11318Church,1516E85th,2129W71st,                                        Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              2136W83rd,3213Throop,406E87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210                                     IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Vernon,7712Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,8107Kingston,                                       MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8346Constance,8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610                                              8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue
                                                                                                              Woodlawn)(.2)




           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 KBD               390 53499.005        telephoneconferencewithM.RachlisandJ.Wineregardingissuesregardingclaimsanalysisand              0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              positionstatements(solelien)(.2).                                                                                                 Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                    IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                    Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                    ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                    ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/24/2022 KBD               390 53500.002        studyclaimantloanhistories(1017W102nd,10012LaSalle,11318Church,1516E85th,2129W                0.3 $117.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      26
                                                                                                              71st,2136W83rd,3213Throop,406E87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              7210Vernon,7712Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,8107                                           IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212Parnell,                                        MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              9610Woodlawn)(.3)                                                                                                                  8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue


           AprilͲ22 ClaimsAdministration&Objections       4/24/2022 KBD               390 53500.003        studyframeworkforpositionstatementandrelatedcorrespondencefromM.Rachlis(solelien)(.2).          0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                    Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                    IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                    Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                    ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                    ParnellAvenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 KBD               390 53501.001        Studyandreviseinitialsubmissiononsolelienclaims(solelien)(.8)                                       0.8 $312.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                                                                                                                                                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                   IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                   Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                   ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                   ParnellAvenue;9610SWoodlawnAvenue


           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 KBD               390 53501.002        studyclaimsanalysisandvariousrelatingcorrespondencefromM.RachlisandJ.Wine(1017W                0.4 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      26
                                                                                                              102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,                                  IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,                                         MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.4)                                                              8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue



           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 KBD               390 53501.003        conferwithJ.Wineregardingpreparationofsubmission(solelien)(.1)                                      0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                    Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                    IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                    Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                    ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                    ParnellAvenue;9610SWoodlawnAvenue


           AprilͲ22 ClaimsAdministration&Objections       4/26/2022 KBD               390 53502.001        ConferwithM.RachlisandJ.Wineregardingclaimsanalysis,claimcomponents,cross                         0.5 $195.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      26
                                                                                                              collateralizationissues,setoff,andformofsubmission(1017W102nd,10012LaSalle,11318Church,                                Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              1516E85th,2129W71st,2136W83rd,3213Throop,406E87th,417Oglesby,6554Rhodes,6759                                      IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,7925Kingston,8030Marquette,8104                                   MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              Kingston,8107Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,                                       8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue
                                                                                                              9212Parnell,9610Woodlawn)(.5)




           AprilͲ22 ClaimsAdministration&Objections       4/26/2022 KBD               390 53502.002        conferwithM.RachlisandJ.Wineregardingclaimsanalysis,setoff,andformofsubmissionand             0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              exchangerelatedcorrespondence(7110Cornell,6751Merrill)(.3)




                                                                                                                                                                                          3of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 168 of 2195 PageID #:71084


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                                TaskHours   TaskCost                                                         PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 KBD               390 53503.001        ExchangecorrespondencewithJ.Wine,M.Rachlis,andJ.Rakregardingrevisionstoexhibitrelatedto          0.6 $234.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              claimsanalysis,escrowreserve,andrealestatetaxpaymentissues(6749Merrill,7110Cornell)(.6)




           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 KBD               390 53503.002        workonanalysisofclaims,positionstatement,andexchangerelatedcorrespondence(1017W                    0.4 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     26
                                                                                                              102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E                                         Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,                                    IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,                                           MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.4).                                                               8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue



           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 KBD               390 53504.001        StudyandrevisesingleclaimsubmissionandexchangevariousrelatedcorrespondencewithJ.Wine               3.5 $1,365.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              andM.Rachlis(solelien).                                                                                                            Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 KBD               390 53505.001        StudyrevisedsingleclaimsubmissionandexchangerelatedcorrespondencewithJ.WineandM.                   0.4 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              Rachlis(solelien).                                                                                                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 AssetDisposition                         4/3/2022 AEP               390 53585.001        Reviewtitleindemnityassociatedwithreceivershipproperty,reviewadministrativejudgmentand                0.4 $156.00 7748Ͳ52SEssexAvenue                                                                                                                      1
                                                                                                              purportedreleasethereof,andprepareeͲmailtooutsidecounselforCityofChicagorequesting
                                                                                                              preparationandrecordingofamendedreleasecontainingcorrectlegaldescription(7748Essex).

           AprilͲ22 AssetDisposition                         4/4/2022 JR                140 53586.001        ReviewemailfromK.DuffrequestinginformationforpostͲclosingreconciliationforpropertyand               0.2 $28.00 638Ͳ40NAversAvenue                                                                                                                      1
                                                                                                              providedetailedinformationregardingsame(638Avers).
           AprilͲ22 AssetDisposition                         4/5/2022 JR                140 53587.001        ReviewemailsrelatedtowatercreditrefundandexchangecommunicationwithA.Porterand                      0.4 $56.00 7109Ͳ19SCalumetAvenue                                                                                                                   1
                                                                                                              propertymanagementrequestingstatusofwatercreditrefund(7109Calumet).
           AprilͲ22 AssetDisposition                         4/5/2022 KMP               140 53588.001        ReviewpriorcorrespondencewithpropertymanagerregardingpostͲclosingreconciliationforsold                0.3 $42.00 638Ͳ40NAversAvenue                                                                                                                      1
                                                                                                              property,andrelatedcommunicationswithK.DuffandJ.Rak(638Avers)(.3)


           AprilͲ22 AssetDisposition                         4/5/2022 KMP               140 53588.002        preparecorrespondencetopropertymanagerrequestingdisbursementofpostͲclosingfunds(638                  0.1 $14.00 638Ͳ40NAversAvenue                                                                                                                      1
                                                                                                              Avers)(.1).


           AprilͲ22 AssetDisposition                        4/11/2022 KMP               140 53589.001        ReviewpropertybankaccountrelatingtopostͲsaledistributionbypropertymanagerandrelated                 0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                                   1
                                                                                                              communicationswithK.DuffandJ.Rak(7109Calumet).
           AprilͲ22 AssetDisposition                        4/18/2022 JR                140 53590.001        ReviewemailfromK.DuffregardingarefundcheckreceivedfromthetitlecompanyrelatedtoapostͲ            0.1 $14.00 7748Ͳ52SEssexAvenue                                                                                                                     1
                                                                                                              closingholdbackandrefundofsame(7748Essex)(.1)


           AprilͲ22 AssetDisposition                        4/18/2022 JR                140 53590.002        furthercommunicationwiththetitlecompany,K.PritchardandK.Duffrelatedtoadiscrepancy                0.3 $42.00 7748Ͳ52SEssexAvenue                                                                                                                     1
                                                                                                              regardingamountrefundedandfurtherinvestigatesame(7748Essex)(.3).


           AprilͲ22 AssetDisposition                        4/18/2022 KMP               140 53591.001        CommunicatewithK.Duff,A.Porter,andJ.Rakregardingtitlecompany'spostͲsalereleaseoffunds            0.2 $28.00 7748Ͳ52SEssexAvenue                                                                                                                     1
                                                                                                              (7748Essex).
           AprilͲ22 AssetDisposition                        4/19/2022 KMP               140 53592.001        FurthercommunicationwithK.Duff,A.Porter,andJ.Rakregardingtitlecompany'spostͲsalerelease           0.2 $28.00 7748Ͳ52SEssexAvenue                                                                                                                     1
                                                                                                              offunds(7748Essex).
           AprilͲ22 AssetDisposition                        4/20/2022 JR                140 53593.001        Reviewemailfrombuyer'sattorneyrequestingsubsidypaymentsreceivedforpreviouslysold                     0.1 $14.00 7109Ͳ19SCalumetAvenue                                                                                                                   1
                                                                                                              property(7109Calumet)(.1)


           AprilͲ22 AssetDisposition                        4/20/2022 JR                140 53593.002        furthercorrespondencewithbuyer'sattorneyandpropertymanagementrequestinginformation                    0.4 $56.00 7109Ͳ19SCalumetAvenue                                                                                                                   1
                                                                                                              requestedbybuyer'scounselpertainingtosubsidypaymentsforMarch2022andafterpropertysold
                                                                                                              (7109Calumet)(.4).

           AprilͲ22 AssetDisposition                        4/22/2022 JR                140 53594.002        communicationwithbuyer'scounselandpropertymanagementregardingMarchrentpaymentfor                    0.3 $42.00 7109Ͳ19SCalumetAvenue                                                                                                                   1
                                                                                                              previouslysoldproperty(7109Calumet)(.3).


           AprilͲ22 AssetDisposition                        4/22/2022 KMP               140 53595.001        PreparespreadsheetidentifyingpropertiesforwhichsalesproceedsweredepositedtoReceiver's                0.8 $112.00 2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;7301Ͳ09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7549Ͳ59SEssex                        5
                                                                                                              accountsandrelatedcommunicationswithEBteam(7500Eggleston,7549Essex,7301Stewart,3030                                      Avenue
                                                                                                              E79th,2909E78th).
           AprilͲ22 AssetDisposition                        4/27/2022 JR                140 53596.001        Exchangecommunicationwiththemanagementcompanyrequestinganupdateonthewaterrefund                     0.1 $14.00 7109Ͳ19SCalumetAvenue                                                                                                                   1
                                                                                                              fromtheCityofChicago(7109Calumet).
           AprilͲ22 AssetDisposition                        4/28/2022 JR                140 53597.001        Reviewcommunicationfrompropertymanagementregardingthewaterapplicationandrefund                        1.1 $154.00 7109Ͳ19SCalumetAvenue                                                                                                                    1
                                                                                                              status,respondaccordinglyandfurthercommunicatewiththeCityofChicagowaterdepartment
                                                                                                              requestingstatusofwaterrefundandrequesttoexpeditesametheprocessandissuerefundcheck
                                                                                                              (7109Calumet)(1.1)




                                                                                                                                                                                        4of72
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                              TaskHours   TaskCost                                                            PropertyAllocation                                                  Property
                                                                                                                                                                                                                                                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                                Count
           AprilͲ22 AssetDisposition                        4/28/2022 JR                140 53597.002        furthercorrespondencewithK.Duff,K.Pritchardandpropertymanagementcompanyproviding                   0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                               1
                                                                                                              informationregardingthewaterrefundcheck(7109Calumet)(.2).




           AprilͲ22 AssetDisposition                        4/28/2022 KMP               140 53598.001        ReviewfinancialrecordsrelatingtopaymentofwaterbillsforpropertyinconnectionwithpostͲsale          0.3 $42.00 7109Ͳ19SCalumetAvenue                                                                                                               1
                                                                                                              refundandrelatedcommunicationswithK.DuffandJ.Wine(7109Calumet).
           AprilͲ22 BusinessOperations                       4/1/2022 JR                140 53599.002        exchangecorrespondencewithtaxconsultantandrequestmissingpropertyreports(7450Luella,                0.5 $70.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;3074ECheltenhamPlace;4520Ͳ26SDrexelBoulevard;5450Ͳ52                 11
                                                                                                              4520Drexel,5450Indiana,6437Kenwood,11117Longwood,7110Cornell,7051Bennett,3074                                             SIndianaAvenue;6437Ͳ41SKenwoodAvenue;7051SBennettAvenue;7110SCornellAvenue;7201SConstanceAvenue;
                                                                                                              Cheltenham,7201Constance,1700Juneway,7508Essex)(.5)                                                                             7450SLuellaAvenue;7508SEssexAvenue



           AprilͲ22 BusinessOperations                       4/1/2022 JR                140 53599.003        followupcorrespondencewithinsurancefirmrequestingconfirmationofpropertyrefunds(7201                0.3 $42.00 5618Ͳ20SMartinLutherKingDrive;6356SCaliforniaAvenue;7110SCornellAvenue;7201SConstanceAvenue                           4
                                                                                                              Constance,7110Cornell,5618MLK,6356California,7201Constance)(.3).




           AprilͲ22 BusinessOperations                       4/4/2022 JRW               260 53602.002        reviewnoticeofviolationandrelatedcorrespondencewithK.Duff(8209Ellis)(.1).                          0.1 $26.00 8209SEllisAvenue                                                                                                                    1


           AprilͲ22 BusinessOperations                       4/4/2022 KMP               140 53603.001        CommunicatewithK.DuffandJ.WineregardingnoticeofviolationregardingEBproperty(8209                 0.1 $14.00 8209SEllisAvenue                                                                                                                    1
                                                                                                              Ellis).
           AprilͲ22 BusinessOperations                       4/5/2022 JR                140 53604.002        communicationwithK.Pritchardpertainingtovariouspropertyallocationoffundsrelatingtofunds          0.5 $70.00 1401W109thPlace;4520Ͳ26SDrexelBoulevard;6749Ͳ59SMerrillAvenue;7237Ͳ43SBennettAvenue                                     4
                                                                                                              wiredoutandconfirmationofsame(6751Merrill,4520Drexel,1401W109th,7237Bennett)(.5)




           AprilͲ22 BusinessOperations                       4/5/2022 JR                140 53604.003        reviewandconfirmonDecember2020reportingdiscrepanciesrelatedtoproperties(7255Euclid,               0.8 $112.00 7109Ͳ19SCalumetAvenue;7255Ͳ57SEuclidAvenue                                                                                       2
                                                                                                              7109Calumet)(.8)




           AprilͲ22 BusinessOperations                       4/5/2022 JR                140 53604.004        exchangecorrespondencewithE.Duffandaccountantrequestingcorrectionstobemadeto                      0.3 $42.00 7109Ͳ19SCalumetAvenue;7255Ͳ57SEuclidAvenue                                                                                      2
                                                                                                              reportingspreadsheet(7255Euclid,7109Calumet)(.3).




           AprilͲ22 BusinessOperations                       4/6/2022 JR                140 53605.002        reviewemailcommunicationfromK.Pritchardpertainingtovariouspropertyallocationoffunds               0.1 $14.00 1401W109thPlace;7237Ͳ43SBennettAvenue                                                                                           2
                                                                                                              relatingtofundswiredoutandconfirmationofsame(1401W109th,7237Bennett)(.1)




           AprilͲ22 BusinessOperations                       4/6/2022 JR                140 53605.003        exchangecorrespondencewithpropertymanagementrequestingpropertyreportsandsavein                      0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                               1
                                                                                                              electronicfiles(7109Calumet)(.2)




           AprilͲ22 BusinessOperations                      4/27/2022 JRW               260 53619.001        Revieworderandtranscriptinstatecourtmatter(7748Essex)(.2)                                             0.2 $52.00 7748Ͳ52SEssexAvenue                                                                                                                 1

           AprilͲ22 BusinessOperations                      4/29/2022 JR                140 53620.001        Continuedfollowupcorrespondencewithinsurancefirmrequestingconfirmationofproperty                     0.2 $28.00 5618Ͳ20SMartinLutherKingDrive;6356SCaliforniaAvenue;7110SCornellAvenue;7201SConstanceAvenue                           4
                                                                                                              refunds(7201Constance,7110Cornell,5618MLK,6356California,7201Constance)(.2)


           AprilͲ22 ClaimsAdministration&Objections        4/4/2022 JR                140 53636.001        ReviewemailfromJ.WinerelatingtoGroup1propertyexcerptsandsavingadditionalexcerptsfor             0.2 $28.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                     5
                                                                                                              variousclaimants(3074Cheltenham,7625EastEnd,7635EastEnd,7750Muskegon,7201                                                 MuskegonAvenue
                                                                                                              Constance).
           AprilͲ22 ClaimsAdministration&Objections        4/6/2022 AW                140 53640.001        UploadclaimsfilesforJ.Rakreview(1700Juneway,5450Indiana,7749Yates,6160MLK,6949                  0.3 $42.00 1700Ͳ08WJunewayTerrace;5450Ͳ52SIndianaAvenue;6160Ͳ6212SMartinLutherKingDrive;6949Ͳ59SMerrillAvenue;                  5
                                                                                                              Merrill).                                                                                                                              7749Ͳ59SYatesBoulevard
           AprilͲ22 ClaimsAdministration&Objections        4/6/2022 JR                140 53641.001        ConferencewithJ.WineandK.Duffrelatedtoclaimantdocumentreviewandnextstepspertaining              0.8 $112.00 1700Ͳ08WJunewayTerrace;5450Ͳ52SIndianaAvenue;6160Ͳ6212SMartinLutherKingDrive;6949Ͳ59SMerrillAvenue;                   5
                                                                                                              tosame(1700Juneway,5450Indiana,7749Yates,6160MLK,6949Merrill).                                                              7749Ͳ59SYatesBoulevard




                                                                                                                                                                                          5of72
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                                TaskDescription                                                  TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                         Allocation
                                                                                                                                                                                                                                                                                                                                                                                           Count
           AprilͲ22 ClaimsAdministration&Objections        4/6/2022 JRW               260 53642.001        ConferencewithJ.RakandK.Duffregardingclaimsanalysisandrelatedpreparationforsame(1102                  1.2 $312.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,                                              Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315                                              Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450                                             DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250                                            Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949                                           6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237                                           MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,                                           6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749                                           7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Essex,7933Kingston,7937Essex,7943                                         BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Essex,7947Essex,7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107                                            Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8334Ellis,8342Ellis,8352                                EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Ellis,8405Marquette,8800Ada).                                                                                                           7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                          7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                          Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                          Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           AprilͲ22 ClaimsAdministration&Objections        4/7/2022 JR                140 53644.001        ReviewemailfromJ.Winerequestingtheconsolidationofadditionalclaimantdocumentsrelatedto                   1.2 $168.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                           5
                                                                                                              properties(3074Cheltenham,7625EastEnd,7635EastEnd,7750Muskegon,7201Constance)(1.2)                                             MuskegonAvenue




           AprilͲ22 ClaimsAdministration&Objections        4/7/2022 JR                140 53644.002        furthercommunicationwithJ.Wineregardingadditionalproofofclaimdocuments(3074                              0.1 $14.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                          5
                                                                                                              Cheltenham,7625EastEnd,7635EastEnd,7750Muskegon,7201Constance)(.1)                                                                MuskegonAvenue




           AprilͲ22 ClaimsAdministration&Objections        4/7/2022 JR                140 53644.003        updateexcelspreadsheetsrelatedtoclaimantsupportingdocumentreviewforproperties(1700                       0.5 $70.00 1700Ͳ08WJunewayTerrace;5450Ͳ52SIndianaAvenue;6160Ͳ6212SMartinLutherKingDrive;6949Ͳ59SMerrillAvenue;                       5
                                                                                                              Juneway,5450Indiana,7749Yates,6160MLK,6949Merrill)(.5)                                                                              7749Ͳ59SYatesBoulevard




           AprilͲ22 ClaimsAdministration&Objections        4/7/2022 JR                140 53644.004        extensivereviewofclaims(1700Juneway)(4.8).                                                                     4.8 $672.00 1700Ͳ08WJunewayTerrace                                                                                                                    1




           AprilͲ22 ClaimsAdministration&Objections        4/8/2022 JR                140 53646.001        Extensivereviewofclaimsforproperty,updatespreadsheet,compileproofofclaimdocuments,save                  3.3 $462.00 1700Ͳ08WJunewayTerrace                                                                                                                    1
                                                                                                              inelectronicfile(1700Juneway).
           AprilͲ22 ClaimsAdministration&Objections        4/8/2022 JRW               260 53647.001        Reviewthirdpartyproductions,correspondencewithA.Porterregardingreleases,and                                0.4 $104.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      26
                                                                                                              correspondencetocounselforloanoriginatorregardingstatusofdocumentproductioninresponse                                          Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              tosubpoena(1017W102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,                                             IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              3213Throop,406E87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712                                           MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,                                          8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue
                                                                                                              8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn).

           AprilͲ22 ClaimsAdministration&Objections       4/11/2022 MR                390 53648.001        SendclaimsstatusonsolelienreviewtoJ.Wine(solelien).                                                        0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                           Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                           IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                           Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                           ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                           Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/12/2022 JR                140 53649.001        Extensivereviewofclaimsforproperty,updatespreadsheet,compileproofofclaimdocuments,save                  4.5 $630.00 1700Ͳ08WJunewayTerrace                                                                                                                    1
                                                                                                              inelectronicfile(1700Juneway).
           AprilͲ22 ClaimsAdministration&Objections       4/12/2022 JRW               260 53650.001        CorrespondwithM.Rachlisregardingdiscoverystatusandplanningandrelatedreviewofnotes,                      0.9 $234.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              ordersanddiscoverymaterials(solelien)(.9)                                                                                             Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                          IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                          Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                          ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                          ParnellAvenue;9610SWoodlawnAvenue


           AprilͲ22 ClaimsAdministration&Objections       4/12/2022 JRW               260 53650.002        reviewandanalysisofdocumentproduction(1017W102nd,1516E85th,2136W83rd,417                               2 $520.00 1017W102ndStreet;1516E85thPlace;2136W83rdStreet;417OglesbyAvenue;7922SLuellaAvenue;7925SKingston                       14
                                                                                                              Oglesby,7922Luella,7925Kingston,7933Kingston,8030Marquette,8104Kingston,8403Aberdeen,                                          Avenue;7933SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8403SAberdeenStreet;8405S
                                                                                                              8405Marquette,8529Rhodes,8800Ada,9212Parnell)(2.0)                                                                                  MarquetteAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue




                                                                                                                                                                                            6of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 171 of 2195 PageID #:71087


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                            TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                 Allocation
                                                                                                                                                                                                                                                                                                                                                                                   Count
           AprilͲ22 ClaimsAdministration&Objections       4/12/2022 JRW               260 53650.003        beginreviewandanalysisofdocumentproduction(10012LaSalle,11318Church,3213Throop,3723            0.8 $208.00 10012SLaSalleAvenue;11318SChurchStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;61E92ndStreet;                 15
                                                                                                              W68th,406E87th,61E92nd,6554Rhodes,6825Indiana,7210Vernon,7712Euclid,7953                                           6554SRhodesAvenue;6825SIndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7953SWoodlawnAvenue;
                                                                                                              Woodlawn,8107Kingston,8346Constance,8432Essex,8517Vernon)(.8).                                                             8107SKingstonAvenue;8346SConstanceAvenue;8432SEssexAvenue;8517SVernonAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/12/2022 MR                390 53651.001        Attentiontostatusupdateonclaims(solelien).                                                             0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                   IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                   Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                   ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                   Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/13/2022 AW                140 53652.001        Reviewclaimandrelatedemailresponsetoclaimants'representative(6355Talman)(.2)                       0.2 $28.00 6355Ͳ59STalmanAvenue                                                                                                                     1


           AprilͲ22 ClaimsAdministration&Objections       4/13/2022 JR                140 53653.001        Extensivereviewofclaimsforproperty,updatespreadsheet,compileproofofclaimdocuments,save          3.8 $532.00 1700Ͳ08WJunewayTerrace                                                                                                                    1
                                                                                                              inelectronicfile(1700Juneway).
           AprilͲ22 ClaimsAdministration&Objections       4/13/2022 JRW               260 53654.001        Telephonemessagetocounselforthirdpartyregardingresponsetosubpoenaandrelated                      0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     26
                                                                                                              correspondencewithM.Rachlis(10012LaSalle,1017W102nd,11318Church,1516E85th,2129W                                      Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              71st,2136W83rd,3213Throop,406E87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,                                   IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              7210Vernon,7712Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,8107                                           MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212Parnell,                                        8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue
                                                                                                              9610Woodlawn)(.1)



           AprilͲ22 ClaimsAdministration&Objections       4/13/2022 JRW               260 53654.002        continuedreviewofproductiondocuments(10012LaSalle,11318Church,3213Throop,3723W                  2.1 $546.00 10012SLaSalleAvenue;11318SChurchStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;61E92ndStreet;                 15
                                                                                                              68th,406E87th,61E92nd,6554Rhodes,6825Indiana,7210Vernon,7712Euclid,7953Woodlawn,                                   6554SRhodesAvenue;6825SIndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7953SWoodlawnAvenue;
                                                                                                              8107Kingston,8346Constance,8432Essex,8517Vernon)(2.1).                                                                      8107SKingstonAvenue;8346SConstanceAvenue;8432SEssexAvenue;8517SVernonAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/14/2022 JR                140 53656.001        Reviewandupdatedamageanalysisspreadsheetpertainingtopropertyorfund(11117Longwood,                1.6 $224.00 11117Ͳ11119SLongwoodDrive;3030Ͳ32E79thStreet;7301Ͳ09SStewartAvenue;7500Ͳ06SEgglestonAvenue                                    4
                                                                                                              7500Eggleston,3030E79th,7301Stewart).
           AprilͲ22 ClaimsAdministration&Objections       4/14/2022 JRW               260 53657.001        Reviewandanalyzedocumentsproducedpursuanttosubpoena(2129W71st,5437Laflin,6759                   4.8 $1,248.00 2129W71stStreet;5437SLaflinStreet;6759SIndianaAvenue;7300Ͳ04SStLawrenceAvenue;7760SColesAvenue;9610S                   6
                                                                                                              Indiana,7300StLawrence,7760Coles,9610Woodlawn).                                                                               WoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/15/2022 AW                140 53658.002        communicatewithJ.Wineregardingclaimsprocess(1700Juneway,5450Indiana,7749Yates,6160             0.1 $14.00 1700Ͳ08WJunewayTerrace;5450Ͳ52SIndianaAvenue;6160Ͳ6212SMartinLutherKingDrive;6949Ͳ59SMerrillAvenue;                       5
                                                                                                              MLK,6949Merrill)(.1).                                                                                                             7749Ͳ59SYatesBoulevard

           AprilͲ22 ClaimsAdministration&Objections       4/15/2022 JR                140 53659.001        Reviewandupdatepertinentinformationrelatedtodamageanalysisspreadsheetpertainingto                 6.3 $882.00 2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;7301Ͳ09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7549Ͳ59SEssex                         6
                                                                                                              propertyorfund(7500Eggleston,3030E79th,7301Stewart,2909E78th,7549Essex,8047                                         Avenue;8047Ͳ55SManisteeAvenue
                                                                                                              Manistee).
           AprilͲ22 ClaimsAdministration&Objections       4/15/2022 JRW               260 53660.001        Reviewandanalyzedocumentsproducedpursuanttosubpoena(7110Cornell,6749Merrill)(2.5)                 2.5 $650.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2




           AprilͲ22 ClaimsAdministration&Objections       4/15/2022 JRW               260 53660.002        beginreviewandanalyzeofdocumentsproducedpursuanttosubpoena(7110Cornell,6749Merrill)            1.4 $364.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              (1.4)



           AprilͲ22 ClaimsAdministration&Objections       4/15/2022 JRW               260 53660.003        reviewcourtorderregardingstatushearingandrelatedcorrespondencewithteamandrevisionof            0.2 $52.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              noticeemailtoclaimants(all108)(.2)                                                                                              Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                   1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                   E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                   406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                   CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                   52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                   92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                   Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                   VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                   MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                   CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                   7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                   CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                   59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                   Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                   MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                   KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                   8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                   Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                   Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                   MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                   Avenue;9610SWoodlawnAvenue




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 172 of 2195 PageID #:71088


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
           AprilͲ22 ClaimsAdministration&Objections       4/15/2022 KMP               140 53661.001        CommunicationswithK.DuffandJ.Wineregardingclaimsdatabasefees(all108).                               0.2 $28.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/18/2022 JR                140 53663.001        Reviewdamageanalysisspreadsheetpertainingtoproperty(2909E78th,7549Essex,8047                        3 $420.00 2909Ͳ19E78thStreet;7549Ͳ59SEssexAvenue;8047Ͳ55SManisteeAvenue                                                                 3
                                                                                                              Manistee)(3.0)


           AprilͲ22 ClaimsAdministration&Objections       4/18/2022 JR                140 53663.002        extensivereviewofclaimsforproperty,updateclaimantspreadsheetwithpertinentinformationand          3.3 $462.00 1700Ͳ08WJunewayTerrace                                                                                                                1
                                                                                                              savevarioussupportingdocumentsinelectronicfiles(1700Juneway)(3.3).


           AprilͲ22 ClaimsAdministration&Objections       4/18/2022 JRW               260 53664.002        exchangecorrespondencewiththirdpartyregardingproductioninresponsetosubpoena(1017W                0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                26
                                                                                                              102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E                                        Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,                                   IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,                                          MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.1)                                                               8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/18/2022 JRW               260 53664.003        reviewandanalyzedocumentsproducedpursuanttosubpoena(6749Merrill,7110Cornell)(5.5)                 5.5 $1,430.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                           2




           AprilͲ22 ClaimsAdministration&Objections       4/18/2022 JRW               260 53664.004        reviewandanalyzedocumentsproducedpursuanttosubpoena(5450Indiana,6217Dorchester,                   0.8 $208.00 5450Ͳ52SIndianaAvenue;6217Ͳ27SDorchesterAvenue;6356SCaliforniaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5th                 6
                                                                                                              6356California,6949Merrill,701S5th,7600Kingston)(.8).                                                                       Avenue;7600Ͳ10SKingstonAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/18/2022 MR                390 53665.002        telephoneconferencewithSECandK.Duff(solelien)(.3).                                                   0.3 $117.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                 28
                                                                                                                                                                                                                                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                   IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                   Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                   ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                   Parnell Avenue; 9610 S Woodlawn Avenue




                                                                                                                                                                                       8of72
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                            TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 AW                140 53666.002        communicatewithcounselregardingclaimants'requestsfordialinfofornexthearing(all108)(.1).          0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
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                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53667.001        ReviewreleasesandrelatedanalysisfromA.Porter(2129W71st,5437Laflin,9610Woodlawn)(.2)             0.2 $52.00 2129W71stStreet;5437SLaflinStreet;9610SWoodlawnAvenue                                                                        3




           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53667.002        continuedanalysisofclaimsanddiscoverymaterials(solelien)(2.4)                                        2.4 $624.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                 28
                                                                                                                                                                                                                                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                   IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 174 of 2195 PageID #:71090


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                           TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
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                                                                                                                                                                                                                                                                                                                                                                                 Count
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53667.003        conferwithA.Watychowiczregardingcorrespondencewithclaimantsregardingrescheduledhearing          0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              (all108)(.1)                                                                                                                      Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                 406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
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                                                                                                                                                                                                                                                 52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                 92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                 Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                 VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                 MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                 CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                 7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                 CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                 59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                 Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                 MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                 KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                 8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                 Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                 Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                 MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                 Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53667.004        correspondencetocourtclerkregardingcallͲininformationforupcominghearing(all108)(.1)             0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                                                                                                                                                                 Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                 1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                 E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                 406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                 CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                 52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                 92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                 Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                 VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                 MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                 CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                 7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                 CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                 59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                 Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                 MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                 KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                 8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                 Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                 Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                 MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                 Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53667.005        conferwithM.RachlisandK.Duffregardingupcominghearing(Group1)(.2)                               0.2 $52.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                      5
                                                                                                                                                                                                                                                 MuskegonAvenue




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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                                TaskHours   TaskCost                                                         PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                                                      Count
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53667.006        conferwithM.RachlisandK.Duffregardingupcominghearing,analysisofclaimsanddiscovery                 1.2 $312.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              materials(solelien)(1.2)                                                                                                             Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                      Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                      ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                      ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53667.007        exchangecorrespondencewithclaimants'counselregardingproductiondocuments(1017W102nd,                   0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                    26
                                                                                                              10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E87th,417                                        Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,7925                                           IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,8432                                             MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.1)                                                                       8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53667.008        preparebulletpointsforM.Rachlisregardingupcominghearing(1017W102nd,10012LaSalle,                   0.4 $104.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     26
                                                                                                              11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E87th,417Oglesby,6554                                        Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,7925Kingston,8030                                         IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,                                       MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8529Rhodes,9212Parnell,9610Woodlawn)(.4)                                                                                          8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53667.009        studyfinancialstatementsandrelatedanalysistoM.RachlisandK.Duff(7710Cornell,6749Merrill)          1.2 $312.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              (1.2).




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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                           TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                 Allocation
                                                                                                                                                                                                                                                                                                                                                                                   Count
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 JRW               260 53668.001        Reviewproofsofclaimandpriorcorrespondenceandnotesregardingloanhistories(10012LaSalle,           0.9 $234.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,                                       Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759                                       Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922                                  IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,                                  LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                         MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                            InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                  VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 MR                390 53669.001        ConferwithK.DuffandJ.WineregardinghearingbeforeJudgeLeeandconsiderationofissuesthat          1.4 $546.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              maybepresentedtotheCourt,analysisofclaims,andreviewofissuesbasedoninterimdiscovery                                 Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                              obtained(solelien)(1.4)                                                                                                          IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                  Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                  ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                  Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 MR                390 53669.002        attentiontovariousmaterialsregardingclaimsanalysis(solelien)(.5)                                    0.5 $195.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                                                                                                                                                                  Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                  IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                  Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                  ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                  Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/19/2022 MR                390 53669.003        conferwithK.DuffandJ.WineregardingpotentialevidentiaryhearingbeforeJudgeLee(Group1)          0.5 $195.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                           5
                                                                                                              (.5).                                                                                                                               MuskegonAvenue



           AprilͲ22 ClaimsAdministration&Objections       4/20/2022 AW                140 53670.001        AttentiontoenteredorderprovidingdialͲininfoforupcominghearingandrelatedemailexchanges           0.2 $28.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              withcounsel(all108)(.2)                                                                                                           Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                   1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                   E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                   406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                   CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                   52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                   92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
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           AprilͲ22 ClaimsAdministration&Objections       4/20/2022 AW                140 53670.002        communicatewithJ.Wineregardingemailtoclaimantsandsendoutemailnotifyingaboutchange             0.3 $42.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              ofdate(all108)(.3)                                                                                                                Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                          TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
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           AprilͲ22 ClaimsAdministration&Objections       4/20/2022 AW                140 53670.003        confirmhearingdetailswithclaimants(all108)(.1).                                                       0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
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           AprilͲ22 ClaimsAdministration&Objections       4/20/2022 JRW               260 53671.001        ExchangecorrespondencewithcourtclerkregardinghearinglinkandrelatedcommunicationswithA.          0.2 $52.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                              Watychowiczregardingnoticetoclaimants(all108)(.2)                                                                             Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                  92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                  Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 178 of 2195 PageID #:71094


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                           TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
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           AprilͲ22 ClaimsAdministration&Objections       4/20/2022 MR                390 53672.002        reviewnotesandmaterialsfromJ.Wineregardingreviewsofproductionsandissuestopreparefor          0.5 $195.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              upcominghearing(solelien)(.5).                                                                                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                   Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 AW                140 53673.001        Attentiontoemailresponsesrelatedtohearingandworkonresponsestosame(all108)(.2)                   0.2 $28.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                   Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 AW                140 53673.002        confirmhearingdetailswithclaimants(all108)(.1)                                                         0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
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           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 AW                140 53673.003        preparematerialsforupcominghearingandrelatedemailtoM.Rachlis(all108)(1.2).                       1.2 $168.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                  108
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                            TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
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           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 JRW               260 53674.001        Attentiontoclaimantinquiriesandrelatedcorrespondenceanddraftsofresponsetoclaimant                0.6 $156.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                  108
                                                                                                              inquiriesregardingupcominghearing(all108)(.6)                                                                                  Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                  406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                  CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                  52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                  92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                  Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                  VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
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                                                                                                                                                                                                                                                  7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
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                                                                                                                                                                                                                                                  8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
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                                                                                                                                                                                                                                                  MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                  Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 JRW               260 53674.002        correspondencewithclaimants'counselandvendorregardingEBdocumentdatabaseexport(all108)            0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                              (.1)                                                                                                                                 Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                   1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
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           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 JRW               260 53674.003        preparespreadsheetregardingclaimsandoffsets(1131E79th,6749Merrill,7024Paxton,7110              0.4 $104.00 1131Ͳ41E79thPlace;6749Ͳ59SMerrillAvenue;7024Ͳ32SPaxtonAvenue;7110SCornellAvenue                                           4
                                                                                                              Cornell)(.4)




           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 JRW               260 53674.004        analysisofissuesrelatedtosingleclaimprocessandrelatedcorrespondencetoM.RachlisandK.          0.7 $182.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                 28
                                                                                                              Duff(solelien)(.7)                                                                                                               Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                  IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                  Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                  ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                  ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 JRW               260 53674.005        conferwithA.Watychowiczregardingnoticetopotentiallienholdersandrelatedreviewof                  0.3 $78.00 10012SLaSalleAvenue;1017W102ndStreet;3213SThroopStreet;406E87thPlace;6554SRhodesAvenue;6759SIndiana             16
                                                                                                              spreadsheets(10012LaSalle,1017W102nd,3213Throop,406E87th,6554Rhodes,6759Indiana,                                      Avenue;6825SIndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7925SKingstonAvenue;8107SKingston
                                                                                                              6825Indiana,7210Vernon,7712Euclid,7925Kingston,8107Kingston,8346Constance,8432Essex,                                   Avenue;8346SConstanceAvenue;8432SEssexAvenue;8517SVernonAvenue;9212SParnellAvenue;9610SWoodlawn
                                                                                                              8517Vernon,9212Parnell,9610Woodlawn)(.3)                                                                                       Avenue




                                                                                                                                                                                         15of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 180 of 2195 PageID #:71096


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 JRW               260 53674.006        conferwithM.Rachlisregardingupcominghearing(solelien)(.2).                                           0.2 $52.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                    Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                    Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
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                                                                                                                                                                                                                                                    ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 MR                390 53675.001        Prepareforhearing(solelien)(1.7)                                                                          1.7 $663.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                                                                                                                                                                    Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                    Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/21/2022 MR                390 53675.002        attentiontocommunicationstoinvestor(1102Bingham)(.2).                                                   0.2 $78.00 1102Bingham(Houston,TX)                                                                                                                  1

           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 AW                140 53676.001        Reviewclaimsandserviceliststoobtaincontactinformationforpotentiallienholdersandrelated          1.4 $196.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              emailtoJ.Wine(solelien)(1.4)                                                                                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                   ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 AW                140 53676.002        communicatewithK.Duffregardinghearingandpreparedmaterials(all108)(.1)                               0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 AW                140 53676.003        preparespreadsheetsillustratinglender'sloanhistories(10012LaSalle,1017W102nd,11318                0.6 $84.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                     42
                                                                                                              Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W                                         Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825                                 Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933                                    IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,                                     LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517                                          MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.6).                                                                     InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                    VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue


           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 JRW               260 53677.001        AppearanceatstatushearingonissuesrelatedtosingleclaimprocessandGroup1proceedings                0.6 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      33
                                                                                                              (3074Cheltenham,7625EastEnd,7635EastEnd,7750Muskegon,7201Constance,1017W102nd,                                        Street;3074ECheltenhamPlace;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ
                                                                                                              10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E87th,417                                    59SMerrillAvenue;6759SIndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7201SConstanceAvenue;7210S
                                                                                                              Oglesby,6554Rhodes,6749Merrill,6759Indiana,6825Indiana,7110Cornell,7210Vernon,7712                                     VernonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7712SEuclidAvenue;7750Ͳ58SMuskegonAvenue;
                                                                                                              Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,                                   7922SLuellaAvenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;
                                                                                                              8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.6)                                               8346SConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;
                                                                                                                                                                                                                                                   9212SParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                         16of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 181 of 2195 PageID #:71097


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                              TaskHours   TaskCost                                                         PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                 Allocation
                                                                                                                                                                                                                                                                                                                                                                                   Count
           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 JRW               260 53677.002        telephoneconferencewithclaimants'counselregardingstatusofdocumentproduction(1017W                 0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                    26
                                                                                                              102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E                                        Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,                                   IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,                                          MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.1)                                                               8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 JRW               260 53677.003        telephoneconferencewithM.RachlisandK.Duffregardingpositionstatementonsingleclaim                0.5 $130.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              properties(solelien)(.5)                                                                                                          Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                   IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                   Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                   ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                   ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 JRW               260 53677.004        conferwithA.Watychowiczregardingcreationofspreadsheets(1017W102nd,10012LaSalle,                  0.2 $52.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                    26
                                                                                                              11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E87th,417Oglesby,6554                                      Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,7925Kingston,8030                                       IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,                                     MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8529Rhodes,9212Parnell,9610Woodlawn)(.2).                                                                                      8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 KMP               140 53678.001        CalculatetotalfundsheldinaccountsforGroup1propertiesandrelatedcommunicationwithK.Duff          0.2 $28.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                         5
                                                                                                              (Group1).                                                                                                                            MuskegonAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 MR                390 53679.001        Furtherprepareforandparticipateinhearing(3074Cheltenham,7625EastEnd,7635EastEnd,7750           0.9 $351.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     33
                                                                                                              Muskegon,7201Constance,1017W102nd,10012LaSalle,11318Church,1516E85th,2129W71st,                                       Street;3074ECheltenhamPlace;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ
                                                                                                              2136W83rd,3213Throop,406E87th,417Oglesby,6554Rhodes,6749Merrill,6759Indiana,6825                                     59SMerrillAvenue;6759SIndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7201SConstanceAvenue;7210S
                                                                                                              Indiana,7110Cornell,7210Vernon,7712Euclid,7922Luella,7925Kingston,8030Marquette,8104                                    VernonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7712SEuclidAvenue;7750Ͳ58SMuskegonAvenue;
                                                                                                              Kingston,8107Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,                                        7922SLuellaAvenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;
                                                                                                              9212Parnell,9610Woodlawn)(.9)                                                                                                     8346SConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;
                                                                                                                                                                                                                                                    9212SParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                       17of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 182 of 2195 PageID #:71098


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 MR                390 53679.002        telephoneconferencewithK.DuffandJ.Wineregardingfurthereffortstoobtaindocumentsfrom              0.8 $312.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      26
                                                                                                              claimant'scounsel,reviewrelatedmaterialsandpossiblestructureforpositionstatement(1017W                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E                                        IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,                                   MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,                                          8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue
                                                                                                              8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.8)




           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 MR                390 53679.003        telephoneconferencewithK.DuffandJ.Wineregardingclaimsanalysisandpositionstatements               0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              (solelien)(.2)                                                                                                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/22/2022 MR                390 53679.004        reviewmaterialsregardingclaimsanalysisandforpositionstatement(solelien)(.3).                        0.3 $117.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                                                                                                                                                                    Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                    IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                    Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                    ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                    ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/24/2022 JRW               260 53680.001        Attentiontoanalysisofclaimsandrelatedcorrespondenceregardinganalysisandproduction                   2.5 $650.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      26
                                                                                                              documents(1017W102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,                                         Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              3213Throop,406E87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712                                     IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,                                    MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn).                                                    8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue

           AprilͲ22 ClaimsAdministration&Objections       4/24/2022 MR                390 53681.001        ReviewmaterialsandpreparedraftofinitialsubmissionandrelatedexchangeswithJ.Wine(sole              2.7 $1,053.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                       28
                                                                                                              lien).                                                                                                                                 Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 AW                140 53682.001        Attentiontoproductionofdocumentsfrominstitutionallender,upload,andrelatedcommunication              0.3 $42.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                     42
                                                                                                              withcounsel(10012LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,                                      Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              2136W83rd,310E50th,3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,                                   Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,                                    IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7760Coles,7922Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030                                              LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403                                 MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610                                          InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                              Woodlawn)(.3)                                                                                                                         VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                          18of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 183 of 2195 PageID #:71099


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                            TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                Allocation
                                                                                                                                                                                                                                                                                                                                                                                  Count
           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 AW                140 53682.002        attentiontodocumentproductionfrominstitutionallenderandrelatedemailtoJ.Wine(10012             0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                     42
                                                                                                              LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E                                    Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              50th,3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759                                 Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922                                  IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,                                  LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                         MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.1)                                        InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                  VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 AW                140 53682.003        communicatewithJ.Wineregardingpasthearingpotentialupdatetoclaimants(all108)(.1).                0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                  Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                  1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                  E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                  406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                  CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                  52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                  92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                  Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                  VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                  MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                  CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                  7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                  CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                  59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                  Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                  MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                  KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                  8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                  Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                  Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                  MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                  Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 JR                140 53683.001        Extensivereviewofclaimsproperty,updateclaimantspreadsheetwithpertinentinformationand             1.3 $182.00 1700Ͳ08WJunewayTerrace                                                                                                                    1
                                                                                                              savevarioussupportingdocumentsinelectronicfiles(1700Juneway).
           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 JRW               260 53684.001        Draftingandrevisionofpositionstatementforsingleclaimproperties(solelien)(2.1)                    2.1 $546.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                                                                                                                                                                 Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                 IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                 Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                 ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                 ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 JRW               260 53684.004        continuedanalysisofMidlandclaimsandrelatedconferencewithA.Watychowiczregarding                    2 $520.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      35
                                                                                                              spreadsheets(10012LaSalle,1017W102nd,11318Church,1516E85th,2129W71st,2136W83rd,                                   Street;3213SThroopStreet;3723W68thPlace;406E87thPlace;417OglesbyAvenue;5437SLaflinStreet;61E92nd
                                                                                                              3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759                                      Street;6554SRhodesAvenue;6759SIndianaAvenue;6825SIndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrence
                                                                                                              Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925                                  Avenue;7712SEuclidAvenue;7760SColesAvenue;7922SLuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;
                                                                                                              Kingston,7933Kingston,7953Woodlawn,8030Marquette,8104Kingston,8107Kingston,8346                                        7953SWoodlawnAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstance
                                                                                                              Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212                                    Avenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodes
                                                                                                              Parnell,9610Woodlawn)(2.0)                                                                                                      Avenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 184 of 2195 PageID #:71100


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 JRW               260 53684.005        correspondwithK.Duff,M.RachlisandtelephoneconferencewithA.Watychowiczregardingcourt             0.2 $52.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              hearingandnoticetoclaimantsregardingorder(all108)(.2)                                                                         Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 JRW               260 53684.006        beginreviewingloanoriginatordocumentproductionpursuanttosubpoenaandrelated                         1.1 $286.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                 26
                                                                                                              correspondenceregardingsame(1017W102nd,10012LaSalle,11318Church,1516E85th,2129W                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              71st,2136W83rd,3213Throop,406E87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,                                   IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              7210Vernon,7712Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,8107                                           MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212Parnell,                                        8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue
                                                                                                              9610Woodlawn)(1.1).




           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 MR                390 53685.001        Furtherreviewofmaterialsassociatedwithclaimsanalysisdisclosureandseveralrelatedexchanges            2 $780.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                 28
                                                                                                              (solelien)(2.0)                                                                                                                     Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                    IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                    Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                    ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                    Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/25/2022 MR                390 53685.002        attentiontocommunicationsregardingnexthearing(all108)(.1)                                              0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/26/2022 JRW               260 53687.001        Preparationofexhibitsforpositionstatement(6749Merrill,7110Cornell)(2.4)                              2.4 $624.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                          2




                                                                                                                                                                                         20of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 185 of 2195 PageID #:71101


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                               TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                                                      Count
           AprilͲ22 ClaimsAdministration&Objections       4/26/2022 JRW               260 53687.002        conferencewithK.DuffandM.Rachlisregardinganalysisofclaimsandpositionstatement(sole               0.6 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              lien)(.6)                                                                                                                             Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     ParnellAvenue;9610SWoodlawnAvenue



           AprilͲ22 ClaimsAdministration&Objections       4/26/2022 JRW               260 53687.003        analyzeclaimsandpreparationofexhibitsforpositionstatement(1017W102nd,10012LaSalle,                2.6 $676.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      26
                                                                                                              11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E87th,417Oglesby,6554                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,7925Kingston,8030                                        IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,                                      MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8529Rhodes,9212Parnell,9610Woodlawn)(2.6)                                                                                        8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/26/2022 JRW               260 53687.004        exchangecorrespondenceregardingclaimanalysisandfurtherreviseexhibits(solelien)(.3).                  0.3 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                      Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                      Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                      ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                      ParnellAvenue;9610SWoodlawnAvenue



           AprilͲ22 ClaimsAdministration&Objections       4/26/2022 MR                390 53688.001        ConferencesregardinganalysisofclaimsandpositionstatementwithK.DuffandJ.Winerelatedto             0.6 $234.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      26
                                                                                                              properties(1017W102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,                                         Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              3213Throop,406E87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712                                      IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,                                     MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.6)                                                 8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue



           AprilͲ22 ClaimsAdministration&Objections       4/26/2022 MR                390 53688.002        conferenceregardingclaimsandpositionstatement(6749Merrill,7110Cornell)(.3)                            0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2




           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 AW                140 53689.001        Attentiontoinstitutionallenderproductionandrelatedemailtocounsel(solelien).                           0.2 $28.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                      Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                      Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                      ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                      Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 ED                390 53690.001        TelephoneconferencewithJ.Wineregardingreservefundsheldbylenders(solelien)(.1)                       0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                      Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                      Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                      ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                      Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 ED                390 53690.002        reviewdocumentsandcorrespondenceregardingreservefundsheldbylenders(solelien)(.4)                    0.4 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                                                                                                                                                                      Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                      Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                      ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                      Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 ED                390 53690.003        emailcorrespondencewithJ.Wine,M.Rachlis,andK.Duffregardingreservefundsheldbylenders             0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              (solelien)(.1).                                                                                                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                      Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                      ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                      Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 JR                140 53691.001        ExchangecommunicationandreviewemailsfromJ.Winerequestingareviewoflenderexhibitsand                0.7 $98.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              allthesupportingdocumentsrelatedtothesolelienclaimsregardingpositionstatements(solelien).                                 Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                      Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                      ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                      Parnell Avenue; 9610 S Woodlawn Avenue




                                                                                                                                                                                         21of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 186 of 2195 PageID #:71102


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                                TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 JRW               260 53692.002        telephoneconferenceandvariousemailexchangeswithE.Duff,J.RakandK.Duffregarding                    0.6 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              evidencerelatingtotaxpaymentsandreserveaccountsandrelatedreviewofpleadings(solelien)                                    Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                              (.6)                                                                                                                                   IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 JRW               260 53692.003        legalresearchrelatedtopositionstatement(solelien)(1.9)                                                  1.9 $494.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                     Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 JRW               260 53692.004        multipleemailexchangesandanalysisregardingpositionsandargumentsrelatedtosingleclaim                1.5 $390.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              properties(solelien)(1.5)                                                                                                           Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
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                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 JRW               260 53692.005        furtherrefineanalysisandexhibit(6749Merrill,7110Cornell)(1.0)                                            1 $260.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2




           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 JRW               260 53692.006        telephoneconferencewithJ.Rakregardingprojectrelatedtopositionstatementexhibits(solelien)          0.4 $104.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              (.4)                                                                                                                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 JRW               260 53692.007        preparechartofsourcematerialforexhibits(solelien)(.9)                                                  0.9 $234.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                     Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
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                                                                                                                                                                                                                                                     ParnellAvenue;9610SWoodlawnAvenue




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 187 of 2195 PageID #:71103


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                                 TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                       Allocation
                                                                                                                                                                                                                                                                                                                                                                                         Count
           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 JRW               260 53692.008        furtherrefinementofspreadsheetanalysisofclaimsforpositionstatement(1017W102nd,10012                  0.7 $182.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      26
                                                                                                              LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E87th,417                                               Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,7925                                            IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,8432                                              MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.7)                                                                        8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 JRW               260 53692.009        reviewandrevisedraftpositionstatement(solelien)(.9).                                                       0.9 $234.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                                                                                                                                                                        Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                        IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
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                                                                                                                                                                                                                                                        ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/27/2022 MR                390 53693.001        Furtherworkonchartsandclaimspositionsubmissionandlegalresearchregardingsame(solelien).                3.3 $1,287.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                       28
                                                                                                                                                                                                                                                         Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 AW                140 53694.001        CommunicatewithJ.Wineregardingclaimspositionsubmission(solelien)(.1)                                      0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                                                                                                                                                                         Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                         IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
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                                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 AW                140 53694.002        callwithK.Pritchardregardingworkonclaimspositionsubmissiononsingleclaimproperties(sole              0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              lien)(.1)                                                                                                                                 Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 AW                140 53694.003        reviewclaimsagainstsingleclaimspropertiesandrelatedemailtoJ.Wine(solelien)(.4)                       0.4 $56.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
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                                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 AW                140 53694.004        reviewlegalcitationsinsubmissiononsingleclaimpropertiesandrelatedemailtoJ.Wine(solelien)          0.4 $56.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              (.4)                                                                                                                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 AW                140 53694.005        reviewstatementconcerningreceivershipassets,attentiontostatementssubmittedduring                         0.3 $42.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              receivership,andrelatedemailtoJ.Wine(solelien)(.3).                                                                               Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 ED                390 53695.001        Reviewandanalysisofdocumentsregardingreservefundsheldbylenders(solelien)(.3)                           0.3 $117.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                                                                                                                                                                         Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 ED                390 53695.002        emailcorrespondencewithJ.WineandM.Rachlisregardingreservefundsheldbylendersand                      0.6 $234.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              analysisofeffectonclaims(solelien)(.6).                                                                                             Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
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                                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 JR                140 53696.001        ExchangecommunicationandreviewemailsfromJ.Winerequestingareviewoflenderexhibitsand                   1.2 $168.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              allthesupportingdocumentsrelatedtothesolelienclaimsregardingpositionstatementsand                                            Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                              conductreviewandanalysisofsame(solelien)(1.2)                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
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                                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 188 of 2195 PageID #:71104


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                               TaskHours   TaskCost                                                         PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 JR                140 53696.002        reviewinstitutionallenderexhibitsandtheirsupportingdocumentandcompileallsupporting                  5.7 $798.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              documentsandproducetoJ.Wine(solelien)(5.7).                                                                                   Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 JRW               260 53697.001        Analyzeclaimantloansandpropertieswithliensofrecordandrelatedrevisionofexhibittoposition          2.4 $624.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     26
                                                                                                              statement(1017W102nd,10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,                                          Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              3213Throop,406E87th,417Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712                                      IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,                                     MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(2.4)                                                8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 JRW               260 53697.002        continueddraftingandrevisionofpositionstatementforsingleclaimpropertiesandreviewmultiple          5.4 $1,404.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              redlinesandcommunicationsregardingsame(solelien)(5.4)                                                                          Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                    IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                    Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                    ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                    ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 JRW               260 53697.003        conferwithE.Duffregardingtaxescrowsandreviewdocumentsregardingsame(1017W102nd,                   0.3 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                    26
                                                                                                              10012LaSalle,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E87th,417                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              Oglesby,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,7925                                          IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Kingston,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,8432                                            MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              Essex,8517Vernon,8529Rhodes,9212Parnell,9610Woodlawn)(.3)                                                                      8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 JRW               260 53697.004        conferwithJ.Rakregardingexhibitstopositionstatementandreviewcommentsregardingsame                 0.6 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              (solelien)(.6)                                                                                                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                     IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                     Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                     ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                     ParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                         24of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 189 of 2195 PageID #:71105


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                   TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                         Allocation
                                                                                                                                                                                                                                                                                                                                                                           Count
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 JRW               260 53697.005        reviewandreviseexhibitstopositionstatement(solelien)(1.2)                                   1.2 $312.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                                                                                                                                                          Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                          IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                          Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                          ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                          ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 JRW               260 53697.006        conferwithA.Watychowiczregardingclaims(8517Vernon,9610Woodlawn)(.1).                       0.1 $26.00 8517SVernonAvenue;9610SWoodlawnAvenue                                                                                                2




           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 KMP               140 53698.001        ReviewlanguageofclaimsformapprovedbythecourtandrelatedcommunicationwithK.Duff          0.3 $42.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              (all108).                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                           1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                           E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                           406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                           CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                           52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                           92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                           Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                           VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                           MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                           CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                           7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                           CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                           59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                           Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                           MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                           KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                           8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                           Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                           Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                           MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                           Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/28/2022 MR                390 53699.001        Workondraftsofpositionstatementandexhibitsandvariousrelatedexchanges(solelien).          4.5 $1,755.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                       28
                                                                                                                                                                                                                                         Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                         IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                         Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                         ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                         Parnell Avenue; 9610 S Woodlawn Avenue




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 190 of 2195 PageID #:71106


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                                TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                      Allocation
                                                                                                                                                                                                                                                                                                                                                                                        Count
           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 AW                140 53700.001        Respondtoclaimants'emailsregardingstatushearing(all108)(.3)                                                0.3 $42.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                        Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                        1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                        E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                        406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                        CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                        52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                        92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                        Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                        VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                        MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                        CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                        7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                        CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                        59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                        Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                        MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                        KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                        8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                        Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                        Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                        MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                        Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 AW                140 53700.002        prepareserviceemaillistforsingleclaimpositionstatementandrelatedemailtoJ.Wine(solelien)          0.6 $84.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                28
                                                                                                              (.6)                                                                                                                                      Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                        IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                        Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                        ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                        Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 AW                140 53700.003        researchregardinginvestors/possiblelienholdersandemailM.Rachlisregardingnorecordsfound               0.3 $42.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                28
                                                                                                              (solelien)(.3).                                                                                                                         Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                        IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                        Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                        ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                        Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 JRW               260 53701.001        Reviewredlines,furtherreviseandfinalizepositionstatement(solelien)(3.1)                                  3.1 $806.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                 28
                                                                                                                                                                                                                                                        Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                        IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                        Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                        ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                        ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 JRW               260 53701.002        workoncompilingsupportingmaterialforpositionstatement(solelien)(2.8)                                    2.8 $728.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                 28
                                                                                                                                                                                                                                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                       IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                       Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                       ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                       ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 JRW               260 53701.003        furtherrevisespreadsheetexhibitsforpositionstatement(solelien)(1.3)                                      1.3 $338.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                 28
                                                                                                                                                                                                                                                       Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                       IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                       Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                       ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                       ParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                          26of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 191 of 2195 PageID #:71107


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                               TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                     Allocation
                                                                                                                                                                                                                                                                                                                                                                                       Count
           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 JRW               260 53701.004        conferwithA.Watychowiczregardingserviceonlienholdersofrecord(10012LaSalle,1017W                    0.2 $52.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     35
                                                                                                              102nd,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,3723W68th,406E                                             Street;3213SThroopStreet;3723W68thPlace;406E87thPlace;417OglesbyAvenue;5437SLaflinStreet;61E92nd
                                                                                                              87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6825Indiana,7210Vernon,                                        Street;6554SRhodesAvenue;6759SIndianaAvenue;6825SIndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrence
                                                                                                              7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                              Avenue;7712SEuclidAvenue;7760SColesAvenue;7922SLuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;
                                                                                                              Woodlawn,8030Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,8405                                             7953SWoodlawnAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstance
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.2)                                             Avenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodes
                                                                                                                                                                                                                                                       Avenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 JRW               260 53701.005        workwithK.Pritchardonrevisionstocertificateofserviceandfinaleditstostatement(solelien)          0.3 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     28
                                                                                                              (.3)                                                                                                                                     Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                       IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                       Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                       ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                       ParnellAvenue;9610SWoodlawnAvenue




           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 JRW               260 53701.006        workwithA.Watychowiczonnoticetoclaimants(all108)(.1).                                                  0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                       Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                       1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                       E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                       406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                       CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                       52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                       92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                       Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                       VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                       MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                       CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                       7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                       CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                       59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                       Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                       MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                       KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                       8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                       Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                       Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                       MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                       Avenue;9610SWoodlawnAvenue
           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 KMP               140 53702.001        Review,revise,finalize,andfileReceiver'sinitialpositionstatementonsingleclaimpropertiesand          3.9 $546.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              relatedexhibits,andnumerousrelatedcommunicationswithEBteam(solelien).                                                          Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                       IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                       Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                       ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                       Parnell Avenue; 9610 S Woodlawn Avenue
           AprilͲ22 ClaimsAdministration&Objections       4/29/2022 MR                390 53703.001        Workonvariousportionsofpositionreportandexhibitsonclaimsandnumerousrelatedexchanges                4.7 $1,833.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                       28
                                                                                                              withJ.Wine,A.WatychowiczandK.Pritchard(solelien).                                                                               Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                       IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                       Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                       ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                       Parnell Avenue; 9610 S Woodlawn Avenue
            MayͲ22 AssetDisposition                         5/13/2022 KBD               390 53520.001        ExchangecorrespondencewithK.PritchardandJ.RakregardingpostͲsalereconciliationofproperty              0.2 $78.00 7109Ͳ19SCalumetAvenue                                                                                                                    1
                                                                                                              manageraccount(7109Calumet).
            MayͲ22 AssetDisposition                         5/16/2022 KBD               390 53521.001        ExchangecorrespondencewithJ.Rakregardingpropertymanagerreconciliationofaccount(7109                   0.1 $39.00 7109Ͳ19SCalumetAvenue                                                                                                                    1
                                                                                                              Calumet).
            MayͲ22 BusinessOperations                       5/13/2022 KBD               390 53523.001        TelephoneconferencewithE.Duff,J.Wine,andaccountingfirmrepresentativeregardingcalculation             0.7 $273.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              ofinsurancepremiumreimbursementamount(6751Merrill,7110Cornell).
            MayͲ22 BusinessOperations                       5/17/2022 KBD               390 53524.001        TelephoneconferencewithE.Duffregardinganalysisofpremiumrefunds(6751Merrill,7110                      0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              Cornell).
            MayͲ22 BusinessOperations                       5/25/2022 KBD               390 53525.001        ExchangecorrespondencewithM.Rachlisregardingcommunicationwithclaimant'scounsel                          0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              regardinganalysisofissuesimpactingpotentialdistributionandresolutionofrelatedissues(6749
                                                                                                              Merrill,7110Cornell).




                                                                                                                                                                                           27of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 192 of 2195 PageID #:71108


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                            TaskDescription                                           TaskHours   TaskCost                                                          PropertyAllocation                                                        Property
                                                                                                                                                                                                                                                                                                                                                                             Allocation
                                                                                                                                                                                                                                                                                                                                                                               Count
            MayͲ22 ClaimsAdministration&Objections         5/2/2022 KBD               390 53529.001        Exchangecorrespondencewithclaimant'scounselandexchangerelatedcorrespondence(all108)(.3)          0.3 $117.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                               Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                               1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                               E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                               406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
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            MayͲ22 ClaimsAdministration&Objections         5/2/2022 KBD               390 53529.002        reviewcourtorder,studyandrevisecorrespondencetoclaimantsrelatingtosame,andexchange          0.3 $117.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                              additionalrelatedcorrespondence(all108)(.3)                                                                                  Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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            MayͲ22 ClaimsAdministration&Objections         5/3/2022 KBD               390 53530.001        ExchangecorrespondencewithA.WatychowiczandJ.Wineregardingvariouscommunicationswith             0.7 $273.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                              claimantsregardingclaimsprocess,timing,andcustodianissues(all108)(.7)                                                   Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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            MayͲ22 ClaimsAdministration&Objections         5/3/2022 KBD               390 53530.002        reviewcorrespondencefromclaimant'scounselandexchangerelatedcorrespondencewithM.                0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                        2
                                                                                                              RachlisandJ.Wine(6749Merrill,7110Cornell)(.2).




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 193 of 2195 PageID #:71109


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                            TaskHours   TaskCost                                                          PropertyAllocation                                                        Property
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            MayͲ22 ClaimsAdministration&Objections         5/4/2022 KBD               390 53531.001        WorkoncommunicationwithclaimantsregardinghearingbeforeJudgeLee,claimantsrequesting               0.4 $156.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              opportunitytoparticipateathearing,andexchangerelatedcorrespondencewithA.Watychowicz                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                              andJ.Wine(all108)(.4)                                                                                                          1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
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            MayͲ22 ClaimsAdministration&Objections         5/4/2022 KBD               390 53531.003        exchangecorrespondencewithM.Rachlisregardingcommunicationfromclaimant'scounsel                    0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                        2
                                                                                                              regardingpotentialdistributiontiming(6749Merrill,7110Cornell)(.2).




            MayͲ22 ClaimsAdministration&Objections         5/5/2022 KBD               390 53532.001        ExchangecorrespondencewithA.Watychowiczregardingcommunicationwithclaimantsregarding                0.3 $117.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                              hearingbeforeJudgeLeeregardingclaims(all108)(.3)                                                                            Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                 52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                 92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
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                                                                                                                                                                                                                                                 Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                 MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                 Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/5/2022 KBD               390 53532.002        conferwithM.RachlisandJ.WinetoprepareforhearingwithJudgeLeeregardingclaimsprocess          1.1 $429.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                              andhearing(all108)(1.1)                                                                                                         Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                 Avenue;9610SWoodlawnAvenue




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 194 of 2195 PageID #:71110


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                               TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                                                      Count
            MayͲ22 ClaimsAdministration&Objections         5/5/2022 KBD               390 53532.004        prepareforhearingbeforeJudgeLeeregardingclaimsprocessandexchangerelatedcorrespondence              0.4 $156.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                  108
                                                                                                              withM.RachlisandJ.Wine(all108)(.4).                                                                                             Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                     1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
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                                                                                                                                                                                                                                                     406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
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                                                                                                                                                                                                                                                     92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                     Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                     VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
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                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                     MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                     Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/5/2022 KBD               390 53533.001        StudycorrespondencefromJ.Wineregardingpropertygroupings(10012LaSalle,1017W102nd,                    0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                103
                                                                                                              1102Bingham,11117Longwood,1131E79th,11318Church,1401W109th,1414E62nd,1422E                                             Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                              68th,1516E85th,1700WJuneway,2129W71st,2136W83rd,2736W64th,2800E81st,2909E                                          1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                              78th,3030E79th,310E50th,3213Throop,3723W68th,406E87th,417Oglesby,431E42nd,4315                                     E78thStreet;3030Ͳ32E79thStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417
                                                                                                              Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450                                         OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ
                                                                                                              Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250                                        17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;
                                                                                                              Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Rhodes,6554Vernon,6749                                        5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212
                                                                                                              Merrill,6759Indiana,6807Indiana,6825Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,                                 SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalmanAvenue;6356SCalifornia
                                                                                                              7051Bennett,7109Calumet,7110Cornell,7201Dorchester,7210Vernon,7237Bennett,7255                                             Avenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58SVernonAvenue;6749Ͳ59S
                                                                                                              Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                    MerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7712Euclid,7748Essex,7749Yates,                                    5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7110S
                                                                                                              7760Coles,7834Ellis,7840Yates,7922Luella,7925Kingston,7927Essex,7933Kingston,7953                                        CornellAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;
                                                                                                              Woodlawn,7957Marquette,8000Justine,8030Marquette,8047Manistee,8100Essex,8104                                                7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumetAvenue;7450SLuellaAvenue;7500Ͳ06S
                                                                                                              Kingston,8107Ellis,8107Kingston,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326                                  EgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;7600Ͳ10SKingstonAvenue;
                                                                                                              Ellis,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,8800                                       7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYates
                                                                                                              Ada,9212Parnell,9610Woodlawn).                                                                                                      Boulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925SKingston
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                                                                                                                                                                                                                                                      Avenue
            MayͲ22 ClaimsAdministration&Objections         5/6/2022 KBD               390 53534.001        PrepareforhearingonclaimsstatusbeforeJudgeLee(all108)(.3)                                              0.3 $117.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                      Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                      1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                      E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                      406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                      CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                      52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                      92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                      Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                      VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                      MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                      CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                      7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                      CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                      59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
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                                                                                                                                                                                                                                                      MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                      KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                      8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                      Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                      Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                      MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                      Avenue;9610SWoodlawnAvenue




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 195 of 2195 PageID #:71111


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                               TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
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            MayͲ22 ClaimsAdministration&Objections         5/6/2022 KBD               390 53534.002        telephoneconferencewithSECandJ.WineregardinghearingbeforeJudgeLee(all108)(.2)                     0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                     Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                     1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
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                                                                                                                                                                                                                                                     92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
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                                                                                                                                                                                                                                                     7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
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                                                                                                                                                                                                                                                     Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/6/2022 KBD               390 53534.003        appearbeforeJudgeLee(all108)(.7)                                                                          0.7 $273.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
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                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/6/2022 KBD               390 53534.004        exchangecorrespondencewithM.RachlisandJ.Wineregardingclaimsgroupsandclaimsprocess                0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                103
                                                                                                              (10012LaSalle,1017W102nd,1102Bingham,11117Longwood,1131E79th,11318Church,1401W                                         Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                              109th,1414E62nd,1422E68th,1516E85th,1700WJuneway,2129W71st,2136W83rd,2736W                                        1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                              64th,2800E81st,2909E78th,3030E79th,310E50th,3213Throop,3723W68th,406E87th,417                                    E78thStreet;3030Ͳ32E79thStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417
                                                                                                              Oglesby,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001                                        OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ
                                                                                                              Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160                                        17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;
                                                                                                              MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554                                      5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212
                                                                                                              Rhodes,6554Vernon,6749Merrill,6759Indiana,6807Indiana,6825Indiana,6949Merrill,701S5th,                                 SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalmanAvenue;6356SCalifornia
                                                                                                              7024Paxton,7026Cornell,7051Bennett,7109Calumet,7110Cornell,7201Dorchester,7210                                            Avenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58SVernonAvenue;6749Ͳ59S
                                                                                                              Vernon,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500                                    MerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S
                                                                                                              Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7712                                       5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7110S
                                                                                                              Euclid,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7922Luella,7925Kingston,7927                                  CornellAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;
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                                                                                                              Manistee,8100Essex,8104Kingston,8107Ellis,8107Kingston,816EMarquette,8201Kingston,                                       EgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;7600Ͳ10SKingstonAvenue;
                                                                                                              8209Ellis,8214Ingleside,8326Ellis,8346Constance,8403Aberdeen,8405Marquette,8432Essex,                                    7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYates
                                                                                                              8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.2).                                                                 Boulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925SKingston
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                              TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
            MayͲ22 ClaimsAdministration&Objections         5/6/2022 KBD               390 53535.002        studycorrespondencefromJ.Wineregardingclaimsamounts(all108)(.1).                                      0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                     Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                     1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                     E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                     406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                     CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                     52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                     92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                     Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                     VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                     MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                     CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                     7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                     CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                     59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                     Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                     MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                     KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                     8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                     Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                     MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                     Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/9/2022 KBD               390 53536.001        ExchangecorrespondencewithA.Porterregardingentitiesowningpropertiesinrelationtopotential           0.1 $39.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                      5
                                                                                                              claimsanddistributionissues(3074Cheltenham,7201Constance,7625EastEnd,7635EastEnd,                                        MuskegonAvenue
                                                                                                              7750Muskegon)(.1)




            MayͲ22 ClaimsAdministration&Objections         5/9/2022 KBD               390 53536.002        exchangecorrespondencewithA.Porterregardingentitiesowningpropertiesinrelationtopotential          0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2
                                                                                                              claimsanddistributionissues(6749Merrill,7110Cornell)(.1)




            MayͲ22 ClaimsAdministration&Objections         5/9/2022 KBD               390 53536.003        analysisofpotentialdistributionandexchangerelatedcorrespondencewithM.RachlisandJ.Wine            0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                          2
                                                                                                              (6749Merrill,7110Cornell)(.3)




            MayͲ22 ClaimsAdministration&Objections         5/9/2022 KBD               390 53536.004        draftcorrespondencetotaxadvisorsregardinganalysisofissuesrelatedtodistributionplanning            0.4 $156.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                          2
                                                                                                              (6749Merrill,7110Cornell)(.4)




            MayͲ22 ClaimsAdministration&Objections         5/9/2022 KBD               390 53536.005        draftcorrespondencetoE.Duffregardinganalysisofinsurancepremiumissues(6749Merrill,7110            0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2
                                                                                                              Cornell)(.2).




                                                                                                                                                                                         32of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 197 of 2195 PageID #:71113


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                               TaskHours   TaskCost                                                          PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                                                      Count
            MayͲ22 ClaimsAdministration&Objections        5/10/2022 KBD               390 53538.001        ExchangecorrespondencewithJ.WineandA.Watychowiczregardingcommunicationwithclaimants                 0.2 $78.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              regardingclaimsprocessandtiming(1102Bingham,11117Longwood,1131E79th,1401W109th,                                         Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              1414E62nd,1422E68th,1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310                                     Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              E50th,3723W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750                                          DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E                                     Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              92nd,6160MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437                                         6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Kenwood,6554Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051                                          MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Bennett,7109Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,                                    6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7442Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,                                       7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,                                    BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7933Essex,7933Kingston,7937Essex,7943Essex,7947Essex,7953Woodlawn,7957Marquette,                                         Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214                                 EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Ingleside,8326Ellis,8334Ellis,8342Ellis,8352Ellis,8405Marquette,8800Ada).                                                  7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                     7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                     Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

            MayͲ22 ClaimsAdministration&Objections        5/24/2022 KBD               390 53540.001        WorkwithA.Watychowiczoncommunicationwithclaimantsregardingclaimspositionstatement                   0.2 $78.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              andremaininggroups(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,                                           Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              1422E68th,1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723                                     Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001                                         DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160                                        Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554                                      6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109                                          MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442                                             6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656                                       7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933                                    BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Kingston,7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816                                     Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800Ada)(.2)                                     EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                     7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                     7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                     Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

            MayͲ22 ClaimsAdministration&Objections        5/24/2022 KBD               390 53540.002        exchangecorrespondencewithM.Rachlisregardingcommunicationwithcounselforclaimant                     0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              regardingpotentialdistributionandrelatedanalysis(6749Merrill,7110Cornell)(.2).




            MayͲ22 AssetDisposition                          5/5/2022 KMP               140 53740.001        ReviewbankingrecordstoverifyreceiptofpostͲsalereconciliationfundsandrelated                         0.4 $56.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;3074ECheltenhamPlace;4520Ͳ26SDrexelBoulevard;5450Ͳ52                       11
                                                                                                              communicationswithE.DuffandJ.Rak(11117Longwood,1700Juneway,3074Cheltenham,4520                                           SIndianaAvenue;6437Ͳ41SKenwoodAvenue;7051SBennettAvenue;7110SCornellAvenue;7201SConstanceAvenue;
                                                                                                              Drexel,5450Indiana,6437Kenwood,7051Bennett,7110Cornell,7021Constance,7450Luella,7508                                     7450SLuellaAvenue;7508SEssexAvenue
                                                                                                              Essex).
            MayͲ22 AssetDisposition                         5/13/2022 JR                140 53741.001        ReviewemailfromK.PritchardregardingpostͲclosingreconciliationforsoldpropertyandfurther             0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                                     1
                                                                                                              communicatewithK.Pritchardprovidingadditionalwaterreimbursementinformationrelatedtothe
                                                                                                              postͲclosingreconciliation(7109Calumet)(.2)


            MayͲ22 AssetDisposition                         5/13/2022 JR                140 53741.002        furthercommunicationwithpropertymanagementrequestingupdateofthewaterreimbursement                   0.1 $14.00 7109Ͳ19SCalumetAvenue                                                                                                                     1
                                                                                                              fromtheCityofChicago(7109Calumet)(.1).



            MayͲ22 AssetDisposition                         5/13/2022 KMP               140 53742.001        CommunicationswithK.DuffandJ.RakregardingstatusofpostͲsalereconciliationforsoldproperty          0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                                     1
                                                                                                              andreviewrelatedcorrespondencewithpropertymanager(7109Calumet).
            MayͲ22 AssetDisposition                         5/16/2022 JR                140 53743.001        CommunicationwithK.Duffandpropertymanagementrelatingtothestatusandprogressregarding               0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                                     1
                                                                                                              postͲclosingfinalreconciliation(7109Calumet).
            MayͲ22 AssetDisposition                         5/18/2022 JR                140 53744.001        CommunicationwithmanagementcompanyregardinginstructionsrelatedtopostͲclosing                           0.1 $14.00 7109Ͳ19SCalumetAvenue                                                                                                                     1
                                                                                                              reconciliationforproperty(7109Calumet).
            MayͲ22 AssetDisposition                         5/23/2022 KMP               140 53745.001        CommunicatewithpropertymanagertoinquireastostatusofdistributionofpostͲsalereconciliation          0.2 $28.00 638Ͳ40NAversAvenue                                                                                                                        1
                                                                                                              fundsforsoldproperty(638Avers)(.2)


            MayͲ22 AssetDisposition                         5/23/2022 KMP               140 53745.002        communicatewithpropertymanagertoprovideinformationrelatingtodistributionofpostͲsale                0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                                     1
                                                                                                              reconciliationfunds(7109Calumet)(.2)


            MayͲ22 AssetDisposition                         5/24/2022 KMP               140 53746.001        CommunicatewithpropertymanagertoconfirmreceiptofpostͲsalereconciliationfunds(7109                   0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                                     1
                                                                                                              Calumet).




                                                                                                                                                                                       33of72
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                               TaskHours   TaskCost                                                          PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                                                      Count
            MayͲ22 BusinessOperations                        5/2/2022 JR                140 53747.001        Followupcommunicationwiththeinsurancefirmrequestingpropertyrefundinformationand                     0.2 $28.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      37
                                                                                                              confirmationofpropertyinsurancerefunds(10012LaSalle,1017E102nd,11318Church,1401W                                         Street;2136W83rdStreet;2800Ͳ06E81stStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87th
                                                                                                              109th,1516E85th,2129W71st,2136W83rd,2800E81st,310E50th,3213Throop,3723W68th,                                      Place;417OglesbyAvenue;4611Ͳ17SDrexelBoulevard;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759S
                                                                                                              406E87th,417Oglesby,4611Drexel,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807                                         IndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                              Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,7925Kingston,7933Kingston,7953                                      Avenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8030SMarquetteAvenue;8104S
                                                                                                              Woodlawn,8030Marquette,8104Kingston,8107Kingston,8346Constance,8405Marquette,8432                                          KingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                              Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.2)                                                           VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




            MayͲ22 BusinessOperations                        5/2/2022 JR                140 53747.002        exchangecommunicationwithE.Duffregardingstatusofrefundsandsetupconferencecall                    0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      37
                                                                                                              regardingsame(10012LaSalle,1017E102nd,11318Church,1401W109th,1516E85th,2129W                                          Street;2136W83rdStreet;2800Ͳ06E81stStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87th
                                                                                                              71st,2136W83rd,2800E81st,310E50th,3213Throop,3723W68th,406E87th,417Oglesby,                                        Place;417OglesbyAvenue;4611Ͳ17SDrexelBoulevard;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759S
                                                                                                              4611Drexel,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                      IndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                              Vernon,7712Euclid,7922Luella,7925Kingston,7933Kingston,7953Woodlawn,8030Marquette,                                        Avenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8030SMarquetteAvenue;8104S
                                                                                                              8104Kingston,8107Kingston,8346Constance,8405Marquette,8432Essex,8517Vernon,8529                                           KingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                              Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.1).                                                                                  VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




            MayͲ22 BusinessOperations                        5/3/2022 ED                390 53748.003        emailcorrespondencewithinsuranceagentfollowinguponrequestedinformationregarding                     0.2 $78.00 1422Ͳ24East68thStreet;2800Ͳ06E81stStreet;6217Ͳ27SDorchesterAvenue;638Ͳ40NAversAvenue;7237Ͳ43SBennett                      5
                                                                                                              refundsforprepaidpremiumoncancelledpolicies(1422E68th,2800E81st,6217Dorchester,638                                     Avenue
                                                                                                              Avers,7237Bennett)(.2).



            MayͲ22 BusinessOperations                        5/3/2022 JR                140 53749.002        furthercommunicationwithE.Duffregardinginsurancereconciliationofrefundofproperty                   0.2 $28.00 1422Ͳ24East68thStreet;2800Ͳ06E81stStreet;6217Ͳ27SDorchesterAvenue;638Ͳ40NAversAvenue;7237Ͳ43SBennett                      5
                                                                                                              insurancepremiums(1422E68th,2800E81st,6217Dorchester,638Avers,7237Bennett)(.2)                                           Avenue



            MayͲ22 BusinessOperations                        5/3/2022 KMP               140 53750.001        Attentiontocommunicationswithinsurancebrokerregardingissuesrelatingtorefundsforproperty            0.2 $28.00 1102Bingham(Houston,TX);1422Ͳ24East68thStreet;6217Ͳ27SDorchesterAvenue;638Ͳ40NAversAvenue;7109Ͳ19S                         7
                                                                                                              andGLinsuranceonfinalpropertiessoldandmissingendorsements(1102Bingham,1422E68th,                                        CalumetAvenue;7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue
                                                                                                              6217Dorchester,638Avers,7109Calumet,7237Bennett,7255Euclid).

            MayͲ22 BusinessOperations                        5/4/2022 JR                140 53751.002        reviewmasterpropertyreportingspreadsheetforallof2021andfurthercommunicationwithE.                0.9 $126.00 1700Ͳ08WJunewayTerrace;3074ECheltenhamPlace;4520Ͳ26SDrexelBoulevard;5450Ͳ52SIndianaAvenue;6437Ͳ41S                          10
                                                                                                              DuffandK.PritchardregardingpostͲclosingreconciliation,reviewbankstatementsforsameand                                     KenwoodAvenue;7051SBennettAvenue;7110SCornellAvenue;7201SConstanceAvenue;7450SLuellaAvenue;7508S
                                                                                                              requestconfirmationofpostͲconsolidationfundsastheyrelatetopropertyreportingfromK.                                        EssexAvenue
                                                                                                              Pritchard(1700Juneway,3074Cheltenham,4520Drexel,5450Indiana,6437Kenwood,7051
                                                                                                              Bennett,7110Cornell,7201Constance,7450Luella,7508Essex)(.9).


            MayͲ22 BusinessOperations                        5/4/2022 KMP               140 53753.001        Attentiontofurthercommunicationswithinsurancebrokerregardingissuesrelatingtorefundsfor             0.1 $14.00 1102Bingham(Houston,TX);1422Ͳ24East68thStreet;6217Ͳ27SDorchesterAvenue;638Ͳ40NAversAvenue;7109Ͳ19S                         7
                                                                                                              propertyandGLinsuranceonfinalpropertiessoldandmissingendorsements(1102Bingham,1422E                                     CalumetAvenue;7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue
                                                                                                              68th,6217Dorchester,638Avers,7109Calumet,7237Bennett,7255Euclid).

            MayͲ22 BusinessOperations                       5/10/2022 ED                390 53759.001        ReviewandanalysisofdocumentssupportingallocationofpropertyexpensesadvancedbyReceiver,              0.4 $156.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                               2
                                                                                                              insurancerefunds,andotherbookkeepingentriesallocabletoproperties(6749Merrill,7110Cornell)
                                                                                                              (.4)

            MayͲ22 BusinessOperations                       5/10/2022 ED                390 53759.002        emailcorrespondencetoaccountantregardingcalculationoffinalreimbursableamountsfortwo                0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              properties(6749Merrill,7110Cornell)(.2).


            MayͲ22 BusinessOperations                       5/10/2022 JR                140 53760.001        ReviewemailfromE.Duffpertainingtopropertyinsurancerefundsandconfirmtherequesting                  0.3 $42.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              refundinformation(6749Merrill,7110Cornell).
            MayͲ22 BusinessOperations                       5/11/2022 ED                390 53761.001        Telephoneconferencewithaccountanttodiscussprocessandtimingforcalculationoffinal                    0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              reimbursableamountsfortwoproperties(6749Merrill,7110Cornell)(.2)




            MayͲ22 BusinessOperations                       5/11/2022 ED                390 53761.002        reviewandanalysisofdocumentsrelatingtocalculationoffinalreimbursableamountsfortwo                0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              propertiesinpreparationforcallwithaccountant(6749Merrill,7110Cornell)(.1)




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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                              TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
            MayͲ22 BusinessOperations                       5/11/2022 ED                390 53761.003        conferbytelephonewithJ.Rakregardingadditionaldocumentationrequestedbyaccountantin                0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              connectionwithcalculationoffinalreimbursableamountsfortwoproperties(6749Merrill,7110
                                                                                                              Cornell)(.1).




            MayͲ22 BusinessOperations                       5/12/2022 ED                390 53763.001        Emailinsuranceagentrequestingclarificationofinformationprovidedrelatingtopremiumrefunds            0.1 $39.00 1422Ͳ24East68thStreet;4611Ͳ17SDrexelBoulevard;7255Ͳ57SEuclidAvenue                                                               3
                                                                                                              (7255Euclid,1422E68th,4611Drexel)(.1)

            MayͲ22 BusinessOperations                       5/13/2022 ED                390 53764.001        Reviewdraftcalculationsfromaccountantregardingcalculationofreimbursableamountsfortwo               0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              soldproperties(6749Merrill,7110Cornell)(.1)




            MayͲ22 BusinessOperations                       5/13/2022 JR                140 53765.001        Reviewpapercopyofaviolationnoticerelatedtosoldproperty,communicatewithtitlecompany              0.8 $112.00 1102Bingham(Houston,TX)                                                                                                                   1
                                                                                                              providingnotice,telephonetheCityofHoustonrequestingadditionalinformation,andrelateddraft
                                                                                                              lettertotheCityofHoustonprovidingnotice(1102Bingham).
            MayͲ22 ClaimsAdministration&Objections         5/2/2022 JRW               260 53785.003        reviewandsummarizeproductiondocuments(10012LaSalle,1017W102nd,11318Church,1401W                 1.7 $442.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,                                     Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                    Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                  IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214                                  LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,                                     MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8800Ada,9212Parnell,9610Woodlawn)(1.7).                                                                                       InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                   VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/2/2022 MR                390 53786.001        Attentiontoupcomingstatusconferenceandcommunicationregardingsame(all108).                             0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/3/2022 JRW               260 53788.003        correspondenceregardinginterimdistributionsandrelatedresearchregardingproposalssubmitted            0.4 $104.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              andpotentialrestoration(6749Merrill,7110Cornell)(.4)




            MayͲ22 ClaimsAdministration&Objections         5/3/2022 JRW               260 53788.004        reviewcourtorderregardingobjectionstomagistrateorderandrelatedcorrespondence(1131E               0.1 $26.00 1131Ͳ41E79thPlace;7024Ͳ32SPaxtonAvenue                                                                                               2
                                                                                                              79th,7024Paxton)(.1)




                                                                                                                                                                                       35of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 200 of 2195 PageID #:71116


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                               TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                                                      Count
            MayͲ22 ClaimsAdministration&Objections         5/3/2022 JRW               260 53788.005        continuedreviewofthirdͲpartydocuments(10012LaSalle,1017W102nd,11318Church,1401W                   2.2 $572.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,                                       Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                      Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                    IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214                                    LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,                                       MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8800Ada,9212Parnell,9610Woodlawn)(2.2).                                                                                          InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                     VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




            MayͲ22 ClaimsAdministration&Objections         5/3/2022 MR                390 53789.001        Attentiontoemailsonsolelienstatusandemailfromclaimant'scounsel(6749Merrill,7110Cornell)          0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              (.2)
            MayͲ22 ClaimsAdministration&Objections         5/3/2022 MR                390 53789.002        attentiontoorderandupcominghearing(all108)(.2).                                                          0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                      Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                      1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                      E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                      406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                      CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                      52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                      92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                      Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                      VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                      MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                      CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                      7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                      CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                      59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                      Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                      MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                      KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                      8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                      Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                      Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                      MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                      Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/4/2022 AW                140 53790.005        correspondwithJ.WineregardingenteredorderprovidinghearingdialͲininfo(all108)(.1)                    0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                      Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                      E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
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                                                                                                                                                                                                                                                      CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                      52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                      92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                      Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                      VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
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                                                                                                                                                                                                                                                      CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                      7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
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                                                                                                                                                                                                                                                      8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                      Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                      Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                      MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                      Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/4/2022 MR                390 53792.001        ExchangeswithK.Duffregardingissuesonpossibledistributionregardingsolelienproperties(6749           0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              Merrill,7110Cornell).




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 201 of 2195 PageID #:71117


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                              TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
            MayͲ22 ClaimsAdministration&Objections         5/5/2022 AW                140 53793.007        emailclaimantsregardingaccesstohearing(all108)(.3)                                                      0.3 $42.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                     Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                     1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                     E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                     406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                     CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                     52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                     92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                     Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                     VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
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                                                                                                                                                                                                                                                     7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                     CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                     59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                     Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                     MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                     KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                     8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                     Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                     MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                     Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/5/2022 JRW               260 53794.005        conferwithK.DuffandM.Rachlisregardinganalysisofthirdpartydocuments(10012LaSalle,1017           0.3 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                42
                                                                                                              W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213                                          Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,                                      Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,                                      IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107                                        LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,                                      MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.3)                                                      InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                     VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




            MayͲ22 ClaimsAdministration&Objections         5/5/2022 JRW               260 53795.001        Reviewpropertygroupingsandpreparenotesregardingpotentialadjustmentstosame(10012                     0.6 $156.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 103
                                                                                                              LaSalle,1017W102nd,1102Bingham,11117Longwood,1131E79th,11318Church,1401W109th,                                        Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                              1414E62nd,1422E68th,1516E85th,1700WJuneway,2129W71st,2136W83rd,2736W64th,                                        1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                              2800E81st,2909E78th,3030E79th,310E50th,3213Throop,3723W68th,406E87th,417                                         E78thStreet;3030Ͳ32E79thStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417
                                                                                                              Oglesby,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001                                       OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ
                                                                                                              Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160                                       17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;
                                                                                                              MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554                                     5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212
                                                                                                              Rhodes,6554Vernon,6749Merrill,6759Indiana,6807Indiana,6825Indiana,6949Merrill,701S5th,                                SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalmanAvenue;6356SCalifornia
                                                                                                              7024Paxton,7026Cornell,7051Bennett,7109Calumet,7110Cornell,7201Dorchester,7210                                           Avenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58SVernonAvenue;6749Ͳ59S
                                                                                                              Vernon,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500                                   MerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S
                                                                                                              Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7712                                      5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7110S
                                                                                                              Euclid,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7922Luella,7925Kingston,7927                                 CornellAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;
                                                                                                              Essex,7933Kingston,7953Woodlawn,7957Marquette,8000Justine,8030Marquette,8047                                              7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumetAvenue;7450SLuellaAvenue;7500Ͳ06S
                                                                                                              Manistee,8100Essex,8104Kingston,8107Ellis,8107Kingston,816EMarquette,8201Kingston,                                      EgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;7600Ͳ10SKingstonAvenue;
                                                                                                              8209Ellis,8214Ingleside,8326Ellis,8346Constance,8403Aberdeen,8405Marquette,8432Essex,                                   7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYates
                                                                                                              8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                                                     Boulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925SKingston
                                                                                                                                                                                                                                                    Avenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02S
                                                                                                                                                                                                                                                    JustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingstonAvenue;8107S
                                                                                                                                                                                                                                                    KingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                                                                                                                                                                    InglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432
                                                                                                                                                                                                                                                    SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawn
                                                                                                                                                                                                                                                    Avenue




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 202 of 2195 PageID #:71118


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                          TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                Allocation
                                                                                                                                                                                                                                                                                                                                                                                  Count
            MayͲ22 ClaimsAdministration&Objections         5/5/2022 MR                390 53796.001        Reviewmaterialsforupcominghearing(all108)(2.4)                                                         2.4 $936.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                  108
                                                                                                                                                                                                                                                 Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                 1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                 E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                 406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                 CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                 52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                 92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                 Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                 VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                 MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
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                                                                                                                                                                                                                                                 7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
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                                                                                                                                                                                                                                                 MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
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                                                                                                                                                                                                                                                 Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
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            MayͲ22 ClaimsAdministration&Objections         5/5/2022 MR                390 53796.002        callwithJ.WineandK.Duffregardingvariousissuesonclaimsprocessandupcominghearing              0.8 $312.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              (all108)(.8)                                                                                                                      Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                 92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
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                                                                                                                                                                                                                                                 CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
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                                                                                                                                                                                                                                                 59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                 Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
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                                                                                                                                                                                                                                                 KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
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                                                                                                                                                                                                                                                 Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
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                                                                                                                                                                                                                                                 Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/5/2022 MR                390 53796.004        conferencesregardingclaimant'sdocuments(1017W102nd,10012LaSalle,11318Church,1516E              0.3 $117.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                 26
                                                                                                              85th,2129W71st,2136W83rd,3213Throop,406E87th,417Oglesby,6554Rhodes,6759Indiana,                                  Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              6825Indiana,7210Vernon,7712Euclid,7922Luella,7925Kingston,8030Marquette,8104Kingston,                                IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              8107Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,8529Rhodes,9212                                          MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              Parnell,9610Woodlawn)(.3).                                                                                                      8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue



            MayͲ22 ClaimsAdministration&Objections         5/6/2022 AW                140 53797.001        Participateinhearingonclaims(all108)(.7)                                                               0.7 $98.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                                                                                                                                                                  Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                  1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                  E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                  406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
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                                                                                                                                                                                                                                                  52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                  92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                  Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                  VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
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                                                                                                                                                                                                                                                  CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
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                                                                                                                                                                                                                                                  8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
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                                                                                                                                                                                                                                                  Avenue;9610SWoodlawnAvenue




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 203 of 2195 PageID #:71119


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
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            MayͲ22 ClaimsAdministration&Objections         5/6/2022 AW                140 53797.004        communicatewithJ.Wineregardingclaims(all108)(.1).                                                     0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                   Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                                   CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
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                                                                                                                                                                                                                                                   92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
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                                                                                                                                                                                                                                                   Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/6/2022 JR                140 53798.001        Extensivereviewofclaimsforproperty,updateclaimantspreadsheetwithpertinentinformationand          5.3 $742.00 1700Ͳ08WJunewayTerrace                                                                                                                1
                                                                                                              savevarioussupportingdocumentsinelectronicfiles(1700Juneway).
            MayͲ22 ClaimsAdministration&Objections         5/6/2022 JRW               260 53799.001        Prepareforhearingandrelatedcorrespondencewithcourtclerkandclaimants'counselregarding             0.8 $208.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              claimantswhoprovidednoticeofintentiontoaddresscourtathearing(all108)(.8)                                                Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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            MayͲ22 ClaimsAdministration&Objections         5/6/2022 JRW               260 53799.002        telephoneconferencewithSECandK.Duffregardingupcomingcourthearing(all108)(.2)                     0.2 $52.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                                  TaskHours   TaskCost                                                         PropertyAllocation                                                           Property
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            MayͲ22 ClaimsAdministration&Objections         5/6/2022 JRW               260 53799.003        exchangecorrespondencewithM.Rachlisregardingpropertygroupings(1102Bingham,11117                          0.2 $52.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W64th,                                                Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520                                            Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,                                         DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355                                                  Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S                                         6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255                                            MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                        6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                         7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Essex,7933Kingston,7937Essex,7943Essex,7947Essex,                                         BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816E                                                  Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Marquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8334Ellis,8342Ellis,8352Ellis,8405                                 EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Marquette,8800Ada)(.2)                                                                                                                   7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                          7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                          Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                          Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet




            MayͲ22 ClaimsAdministration&Objections         5/6/2022 JRW               260 53799.004        appearanceatstatushearingbeforeJudgeLee(all108)(.7)                                                         0.7 $182.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                   108
                                                                                                                                                                                                                                                         Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                         1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                         E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                         406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                         CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                         52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                         92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
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                                                                                                                                                                                                                                                         VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
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                                                                                                                                                                                                                                                         8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
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                                                                                                                                                                                                                                                         Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/6/2022 JRW               260 53799.005        conferwithA.Watychowiczregardingcourthearingandamountoftotalclaimssubmitted(all108)                   0.3 $78.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                  108
                                                                                                              (.3)                                                                                                                                        Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 205 of 2195 PageID #:71121


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                       TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                             Allocation
                                                                                                                                                                                                                                                                                                                                                                               Count
            MayͲ22 ClaimsAdministration&Objections         5/6/2022 JRW               260 53799.007        conductanalysisofrelatedcorrespondencetoK.DuffandM.Rachlisregardingtotalamountof          0.5 $130.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                  108
                                                                                                              claims(all108)(.5).                                                                                                          Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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            MayͲ22 ClaimsAdministration&Objections         5/6/2022 MR                390 53800.001        Prepareforandparticipateinhearing(all108)(1.4)                                                     1.4 $546.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                              Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
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                                                                                                                                                                                                                                              CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                              7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                              CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                              59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                              Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                              MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                              KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                              8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                              Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                              Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                              MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                              Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/6/2022 MR                390 53800.002        attentiontovariousfollowupmattersrelatingtohearing(all108)(.1).                                0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                                                                                                                                                               Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                               1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                               E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                               406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                               CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                               52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                               92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                               Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                               VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                               MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                               CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                               7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                               CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                               59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                               Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                               MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                               KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                               8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                               Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                               Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                               MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                               Avenue;9610SWoodlawnAvenue




                                                                                                                                                                                           41of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 206 of 2195 PageID #:71122


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                                 TaskHours   TaskCost                                                         PropertyAllocation                                                           Property
                                                                                                                                                                                                                                                                                                                                                                                        Allocation
                                                                                                                                                                                                                                                                                                                                                                                          Count
            MayͲ22 ClaimsAdministration&Objections         5/9/2022 AW                140 53801.001        CallwithJ.Wineregardingreviewofclaims(all108)(.3)                                                          0.3 $42.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                  108
                                                                                                                                                                                                                                                         Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                         1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                         E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                         406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                         CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                         52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                         92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                         Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                         VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                         MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                         CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                         7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                         CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                         59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                         Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                         MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                         KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                         8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                         Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                         Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                         MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                         Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections         5/9/2022 JR                140 53802.001        Extensivereviewofclaimsforproperty,updateclaimantspreadsheetwithpertinentinformationand                6.5 $910.00 1700Ͳ08WJunewayTerrace;5450Ͳ52SIndianaAvenue                                                                                       2
                                                                                                              savevarioussupportingdocumentsinelectronicfiles(1700Juneway,5450Indiana).

            MayͲ22 ClaimsAdministration&Objections         5/9/2022 JRW               260 53803.001        VariouscorrespondencewithM.Rachlis.K.Duff,E.Duff,andaccountantsregardingpotential                      0.7 $182.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                           2
                                                                                                              resolutionofclaimsandrelateddata(7110Cornell,6749Merrill)(.7)




            MayͲ22 ClaimsAdministration&Objections         5/9/2022 JRW               260 53803.003        continuereviewingthirdͲpartyproduction(10012LaSalle,1017W102nd,11318Church,1401W                      1.2 $312.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                  42
                                                                                                              109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,                                          Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                         Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                       IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214                                       LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,                                          MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8800Ada,9212Parnell,9610Woodlawn)(1.2)                                                                                              InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                        VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue



            MayͲ22 ClaimsAdministration&Objections         5/9/2022 MR                390 53804.001        Attentiontoissuesregardingresolutionofclaimsanddistributionsforsolelienproperties(6749                0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                           2
                                                                                                              Merrill,7110Cornell).
            MayͲ22 ClaimsAdministration&Objections        5/10/2022 AW                140 53805.002        callwithJ.WineandJ.Rakregardingreviewofclaims(1102Bingham,11117Longwood,1131E79th,               0.7 $98.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                  75
                                                                                                              1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W64th,2800E81st,2909E78th,                                            Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611                                          Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001                                             DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638                                          Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026                                              6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,                                        MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,                                            6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,                                     7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7927Essex,7933Essex,7933Kingston,7937Essex,7943Essex,7947Essex,7953Woodlawn,7957                                            BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,                                           Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8209Ellis,8214Ingleside,8326Ellis,8334Ellis,8342Ellis,8352Ellis,8405Marquette,8800Ada)(.7)                                 EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                         7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                         7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                         Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                         Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 207 of 2195 PageID #:71123


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                           Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
            MayͲ22 ClaimsAdministration&Objections        5/10/2022 AW                140 53805.003        accessclaimsandsharesamewithJ.Wine(all108)(.2)                                                       0.2 $28.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                  108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections        5/10/2022 AW                140 53805.005        startworkingonreviewofclaims(8100Essex)(1.3)                                                          1.3 $182.00 8100SEssexAvenue                                                                                                                       1




            MayͲ22 ClaimsAdministration&Objections        5/10/2022 JR                140 53806.001        ConferencecallwithJ.WineandA.Watychowiczrelatedtoreviewofallclaims(all)(.6)                     0.6 $84.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                  75
                                                                                                                                                                                                                                                    Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                                                                                                                                                                    Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                                                                                                                                                                    DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                                                                                                                                                                    Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                                                                                                                                                                    6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                                                                                                                                                                    MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                                                                                                                                                                    6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                                                                                                                                                                    7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                                                                                                                                                                    BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                                                                                                                                                                    Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                                                                                                                                                                    EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                    7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                    7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                    Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

            MayͲ22 ClaimsAdministration&Objections        5/10/2022 JR                140 53806.002        extensivereviewofclaimsforproperty,updateclaimantspreadsheetwithpertinentinformation              5.3 $742.00 5450Ͳ52SIndianaAvenue                                                                                                                  1
                                                                                                              (5450Indiana)(5.3)


            MayͲ22 ClaimsAdministration&Objections        5/10/2022 JR                140 53806.003        reviewemailfromJ.Winerelatedtofollowupinstructionsrelatedtoreviewofclaimsandrespond          0.2 $28.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                  75
                                                                                                              accordingly(all)(.2).                                                                                                               Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                                                                                                                                                                    Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                                                                                                                                                                    DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                                                                                                                                                                    Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                                                                                                                                                                    6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                                                                                                                                                                    MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                                                                                                                                                                    6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                                                                                                                                                                    7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                                                                                                                                                                    BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                                                                                                                                                                    Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                                                                                                                                                                    EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                    7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                    7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                    Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet




                                                                                                                                                                                         43of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 208 of 2195 PageID #:71124


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                                 TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                       Allocation
                                                                                                                                                                                                                                                                                                                                                                                         Count
            MayͲ22 ClaimsAdministration&Objections        5/10/2022 JRW               260 53807.002        conferwithJ.RakandA.Watychowiczregardingclaimsreviewprocess,relatedcorrespondencewith                2.4 $624.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              A.Porterregardingmortgageespreadsheets,andattentiontodevelopmentofnewclaimsreview                                            Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              protocol(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,                                             Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431                                         DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437                                           Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217                                              6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,                                           MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201                                       6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,                                        7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,                                          BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Essex,7933Kingston,                                       Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              7937Essex,7943Essex,7947Essex,7953Woodlawn,7957Marquette,8000Justine,8047Manistee,                                          EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8334                                     7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                              Ellis,8342Ellis,8352Ellis,8405Marquette,8800Ada)(2.4)                                                                            7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                        Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                        Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

            MayͲ22 ClaimsAdministration&Objections        5/10/2022 JRW               260 53807.003        reviewandanalyzeclaims(7927Essex)(1.7).                                                                     1.7 $442.00 7927Ͳ49SEssexAvenue                                                                                                                       1




            MayͲ22 ClaimsAdministration&Objections        5/10/2022 KMP               140 53808.001        Reviewaccountrecordstoidentifyexpendituresforcertainpropertiesandrelatedcommunications                  1.2 $168.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              withE.DuffandJ.Rak(6749Merrill,7110Cornell).
            MayͲ22 ClaimsAdministration&Objections        5/10/2022 MR                390 53809.001        FollowuponMay6,2022hearing(all108)(.1)                                                                      0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                         Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                         1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                         E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                         406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                         CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                         52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                         92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                         Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                         VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                         MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                         CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                         7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                         CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                         59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                         Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                         MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                         KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                         8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                         Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                         Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                         MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                         Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections        5/10/2022 MR                390 53809.002        attentiontoemailsregardingsolelienproperties(6749Merrill,7110Cornell)(.2).                              0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2

            MayͲ22 ClaimsAdministration&Objections        5/11/2022 AW                140 53810.001        CallwithJ.WineandJ.Rakregardingreviewofclaims(1102Bingham,11117Longwood,1131E79th,                0.9 $126.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W64th,2800E81st,2909E78th,                                           Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611                                         Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001                                            DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638                                         Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026                                             6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,                                       MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,                                           6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,                                    7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7927Essex,7933Essex,7933Kingston,7937Essex,7943Essex,7947Essex,7953Woodlawn,7957                                           BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,                                          Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8209Ellis,8214Ingleside,8326Ellis,8334Ellis,8342Ellis,8352Ellis,8405Marquette,8800Ada)(.9)                                EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                        7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                        7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                        Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                        Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet




                                                                                                                                                                                          44of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 209 of 2195 PageID #:71125


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                                TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                     Allocation
                                                                                                                                                                                                                                                                                                                                                                                       Count
            MayͲ22 ClaimsAdministration&Objections        5/11/2022 AW                140 53810.002        reviewclaims(8100Essex)(1.9).                                                                                1.9 $266.00 8100SEssexAvenue                                                                                                                          1




            MayͲ22 ClaimsAdministration&Objections        5/11/2022 JRW               260 53811.001        ConferencecallwithJ.RakandA.Watychowiczregardingreviewprotocolandrelatedconference                  1.4 $364.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              withK.Duff(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,                                       Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431                                       Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437                                         DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217                                            Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,                                         6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201                                     MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,                                      6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,                                        7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Essex,7933Kingston,                                     BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7937Essex,7943Essex,7947Essex,7953Woodlawn,7957Marquette,8000Justine,8047Manistee,                                        Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8334                                   EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Ellis,8342Ellis,8352Ellis,8405Marquette,8800Ada).                                                                              7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                      7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                      Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                      Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

            MayͲ22 ClaimsAdministration&Objections        5/13/2022 JR                140 53812.001        ConferencecallwithJ.Winerelatedtoreviewofclaimsrelatedtofunds,requestinstructionsrelated          0.3 $42.00 2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;7301Ͳ09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7549Ͳ59SEssex                        6
                                                                                                              toreviewofsame(3030E79th,7301Stewart,7500Eggleston,7549Essex,8047Manistee,2909E                                         Avenue;8047Ͳ55SManisteeAvenue
                                                                                                              78th)(.3)


            MayͲ22 ClaimsAdministration&Objections        5/13/2022 JR                140 53812.002        extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentinformation               3.3 $462.00 2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;5450Ͳ52SIndianaAvenue;7301Ͳ09SStewartAvenue;7500Ͳ06SEggleston                       7
                                                                                                              (5450Indiana,3030E79th,7301Stewart,7500Eggleston,7549Essex,8047Manistee,2909E78th)                                      Avenue;7549Ͳ59SEssexAvenue;8047Ͳ55SManisteeAvenue
                                                                                                              (3.3).


            MayͲ22 ClaimsAdministration&Objections        5/16/2022 JR                140 53813.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's                 6.9 $966.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;3074E                               29
                                                                                                              informationforproperties(5450Indiana,3030E79th,7301Stewart,7500Eggleston,7549Essex,                                       CheltenhamPlace;4315Ͳ19SMichiganAvenue;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;5450Ͳ52SIndiana
                                                                                                              8047Manistee,2909E78th,7750Muskegon,6558Vernon,7300Lawrence,7635EastEnd,7026                                             Avenue;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;638Ͳ40NAversAvenue;6554Ͳ58SVernon
                                                                                                              Cornell,7600Kingston,7546Saginaw,4317Michigan,7748Essex,7201Dorchester,7255Euclid,3074                                    Avenue;7026Ͳ42SCornellAvenue;7201Ͳ07SDorchesterAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;
                                                                                                              Cheltenham,4533Calumet,638Avers,4611Drexel,6160MLK,8326Ellis,6217Dorchester,1700                                          7301Ͳ09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;7600Ͳ10S
                                                                                                              Juneway,11117Longwood,816Marquette,7927Essex).                                                                                    KingstonAvenue;7635Ͳ43SEastEndAvenue;7748Ͳ52SEssexAvenue;7750Ͳ58SMuskegonAvenue;7927Ͳ49SEssex
                                                                                                                                                                                                                                                      Avenue;8047Ͳ55SManisteeAvenue;816Ͳ22EMarquetteRoad;8326Ͳ58SEllisAvenue
            MayͲ22 ClaimsAdministration&Objections        5/17/2022 JR                140 53814.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's                 4.8 $672.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;3074ECheltenhamPlace;4315Ͳ19SMichiganAvenue;4533Ͳ47                        24
                                                                                                              informationforproperties(6558Vernon,7300Lawrence,7635EastEnd,7026Cornell,7600Kingston,                                    SCalumetAvenue;4611Ͳ17SDrexelBoulevard;5955SSacramentoAvenue;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27S
                                                                                                              7546Saginaw,4317Michigan,7748Essex,7201Dorchester,7255Euclid,3074Cheltenham,4533                                           DorchesterAvenue;638Ͳ40NAversAvenue;6554Ͳ58SVernonAvenue;7026Ͳ42SCornellAvenue;7201Ͳ07SDorchester
                                                                                                              Calumet,638Avers,4611Drexel,6160MLK,8326Ellis,6217Dorchester,1700Juneway,11117                                            Avenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7442Ͳ54SCalumetAvenue;7546Ͳ48SSaginawAvenue;
                                                                                                              Longwood,816Marquette,7927Essex,5955Sacramento,7442Calumet,8100Essex,4615Drexel,                                           7600Ͳ10SKingstonAvenue;7635Ͳ43SEastEndAvenue;7748Ͳ52SEssexAvenue;7927Ͳ49SEssexAvenue;8100SEssex
                                                                                                              6217Dorchester,11117Longwood,7927Essex).                                                                                           Avenue;816Ͳ22EMarquetteRoad;8326Ͳ58SEllisAvenue

            MayͲ22 ClaimsAdministration&Objections        5/18/2022 AW                140 53815.001        CommunicatewithJ.Wineregardingcounselforinstitutionallender(1700Juneway,6949Merrill)                 0.1 $14.00 1700Ͳ08WJunewayTerrace;6949Ͳ59SMerrillAvenue                                                                                         2
                                                                                                              (.1)

            MayͲ22 ClaimsAdministration&Objections        5/18/2022 AW                140 53815.002        preparefilesfordownloadandemailexchangeswithcounselregardingsame(1700Juneway)(.3).                  0.3 $42.00 1700Ͳ08WJunewayTerrace                                                                                                                   1


            MayͲ22 ClaimsAdministration&Objections        5/18/2022 JR                140 53816.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's                 3.9 $546.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;5450Ͳ52SIndianaAvenue;6160Ͳ6212SMartinLutherKing                          12
                                                                                                              informationforproperties(5450Indiana,6355Talman,6160MLK,11117Longwood,7201                                                  Drive;6217Ͳ27SDorchesterAvenue;6355Ͳ59STalmanAvenue;6437Ͳ41SKenwoodAvenue;7024Ͳ32SPaxtonAvenue;7201Ͳ
                                                                                                              Dorchester,7024Paxton,6437Kenwood,6217Dorchester,7750Muskegon,7656Kingston,7749                                             07SDorchesterAvenue;7656Ͳ58SKingstonAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58SMuskegonAvenue
                                                                                                              Yates, 1102 Bingham).
            MayͲ22 ClaimsAdministration&Objections        5/19/2022 JR                140 53819.001        Extensivereviewofclaimsforproperty,updateclaimantspreadsheetwithpertinentclaimant's                   2.1 $294.00 5450Ͳ52SIndianaAvenue                                                                                                                     1
                                                                                                              informationforproperty(5450Indiana).
            MayͲ22 ClaimsAdministration&Objections        5/20/2022 JR                140 53820.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's                 4.9 $686.00 1102Bingham(Houston,TX);1131Ͳ41E79thPlace;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;5450Ͳ52S                           26
                                                                                                              informationforproperties(5450Indiana,7750Muskegon,7656Kingston,7749Yates,1102Bingham,                                      IndianaAvenue;6001Ͳ05SSacramentoAvenue;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                              7024Paxton,7201Constance,8100Essex,8326Ellis,6217Dorchester,6001Sacramento,638Avers,                                      Avenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42S
                                                                                                              8201Kingston,1131E79th,6437Kenwood,7051Bennett,7600Kingston,7749Yates,6250Mozart,                                        CornellAvenue;7051SBennettAvenue;7201SConstanceAvenue;7237Ͳ43SBennettAvenue;7546Ͳ48SSaginawAvenue;
                                                                                                              4533Calumet,701S5th,7237Bennett,4611Drexel,7026Cornell,7546Saginaw,7600Kingston,                                         7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                              7748Essex,6355Talman).                                                                                                               MuskegonAvenue;8100SEssexAvenue;8201SKingstonAvenue;8326Ͳ58SEllisAvenue




                                                                                                                                                                                         45of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 210 of 2195 PageID #:71126


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
            MayͲ22 ClaimsAdministration&Objections        5/23/2022 AW                140 53821.001        CommunicatewithK.Duffregardingclaimants'requestfortranscript(all108)(.1)                             0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections        5/23/2022 AW                140 53821.002        communicatewithK.Duffregardingdatabasefilesandreviewfiles(all108)(.2)                              0.2 $28.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections        5/23/2022 JR                140 53822.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's              0.8 $112.00 4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;5450Ͳ52SIndianaAvenue;6250SMozartStreet;6355Ͳ59STalman                 14
                                                                                                              informationforproperties(6250Mozart,4533Calumet,701S5th,7237Bennett,4611Drexel,8326                                   Avenue;6437Ͳ41SKenwoodAvenue;701Ͳ13S5thAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7237Ͳ43S
                                                                                                              Ellis,7026Cornell,7546Saginaw,7600Kingston,7748Essex,6355Talman,7051Bennett,6437                                       BennettAvenue;7546Ͳ48SSaginawAvenue;7600Ͳ10SKingstonAvenue;7748Ͳ52SEssexAvenue;8326Ͳ58SEllisAvenue
                                                                                                              Kenwood, 5450 Indiana).
            MayͲ22 ClaimsAdministration&Objections        5/24/2022 JR                140 53824.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's              6.8 $952.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;5450Ͳ                    19
                                                                                                              informationforproperties(5450Indiana,7748Essex,8326Ellis,7026Cornell,7546Saginaw,7600                                  52SIndianaAvenue;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6355Ͳ59STalmanAvenue;638Ͳ40
                                                                                                              Kingston,7051Bennett,6355Talman,6437Kenwood,4533Calumet,7844Ellis,4611Drexel,4611                                      NAversAvenue;6437Ͳ41SKenwoodAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7237Ͳ43SBennettAvenue;
                                                                                                              Drexel,6160MLK,1700Juneway,11117Longwood,638Avers,7237Bennett,5450Indiana,6217                                         7546Ͳ48SSaginawAvenue;7600Ͳ10SKingstonAvenue;7748Ͳ52SEssexAvenue;7834Ͳ44SEllisAvenue;8326Ͳ58SEllis
                                                                                                              Dorchester 9212 Parnell)                                                                                                             Avenue; 9212 S Parnell Avenue
            MayͲ22 ClaimsAdministration&Objections        5/24/2022 MR                390 53826.001        Attentiontoemailcorrespondenceregardingissuesonsolelienpropertiesandrelated                        0.6 $234.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                          2
                                                                                                              communicationwithK.Duff(6749Merrill,7110Cornell).
            MayͲ22 ClaimsAdministration&Objections        5/25/2022 JR                140 53827.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's              5.3 $742.00 11117Ͳ11119SLongwoodDrive;2909Ͳ19E78thStreet;4520Ͳ26SDrexelBoulevard;4611Ͳ17SDrexelBoulevard;5450Ͳ52S                 13
                                                                                                              informationforproperties(5450Indiana,4615Drexel,4520Drexel,7549Saginaw,7748Essex,816                                   IndianaAvenue;6217Ͳ27SDorchesterAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Marquette,11117Longwood,2909E78th,7549Essex,8047Manistee,7549Essex,8047Manistee,                                       7749Ͳ59SYatesBoulevard;8047Ͳ55SManisteeAvenue;816Ͳ22EMarquetteRoad;8326Ͳ58SEllisAvenue
                                                                                                              6217 Dorchester, 8326 Ellis, 7749 Yates).
            MayͲ22 ClaimsAdministration&Objections        5/25/2022 MR                390 53828.001        FurtheranalysisregardingsolelienandrelatedexchangeswithK.Duff(6749Merrill,7110Cornell).          0.9 $351.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                          2

            MayͲ22 ClaimsAdministration&Objections        5/26/2022 JR                140 53829.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's              4.9 $686.00 4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;5450Ͳ52SIndianaAvenue;701Ͳ13S5thAvenue;7237Ͳ43SBennett                  8
                                                                                                              informationforproperties(5450Indiana,8326Ellis,7749Yates,7442Calumet,4533Calumet,4611                                  Avenue;7442Ͳ54SCalumetAvenue;7749Ͳ59SYatesBoulevard;8326Ͳ58SEllisAvenue
                                                                                                              Drexel,701S5th,7237Bennett).




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                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 211 of 2195 PageID #:71127


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                             TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
            MayͲ22 ClaimsAdministration&Objections        5/26/2022 JRW               260 53830.001        Conferwithvendorregardingchainofcustody(all108)(.1)                                                    0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections        5/26/2022 JRW               260 53830.002        exchangecorrespondencewithclaimants'counselregardingEBdocuments(all108)(.1).                         0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
            MayͲ22 ClaimsAdministration&Objections        5/26/2022 MR                390 53831.001        ExchangesandfollowupwithK.Duffonvariousissues(6749Merrill,7110Cornell)(.3)                       0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                          2


            MayͲ22 ClaimsAdministration&Objections        5/26/2022 MR                390 53831.002        exchangeswithclaimant'scounselregardingsolelienproperties(6749Merrill,7110Cornell)(.1).           0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2


            MayͲ22 ClaimsAdministration&Objections        5/27/2022 JR                140 53832.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's              4.9 $686.00 3030Ͳ32E79thStreet;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;701Ͳ13S5thAvenue;7237Ͳ43SBennett                    10
                                                                                                              informationforproperties(7749Yates,7442Calumet,4533Calumet,4611Drexel,6801EastEnd,701                                 Avenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumetAvenue;7500Ͳ06SEgglestonAvenue;7749Ͳ59SYatesBoulevard;
                                                                                                              S5th.,7237Bennett,7500Eggleston,3030E79th,7301Stewart).                                                                    FormerͲ6801SEastEnd
            MayͲ22 ClaimsAdministration&Objections        5/31/2022 JRW               260 53833.001        Continuedreviewofdocumentsproducedbyloanoriginator(10012LaSalle,1017W102nd,11318                   3 $780.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                 42
                                                                                                              Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W                                        Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825                                Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933                                   IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,                                    LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517                                         MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                                                        InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                   VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 BusinessOperations                       6/13/2022 KBD               390 53550.001        CorrespondencewithJ.Wineregardingmunicipalcodeviolationnoticeandrelatedcommunication               0.1 $39.00 4533Ͳ47SCalumetAvenue                                                                                                                1
                                                                                                              withCityownershipdisputedivision(4533Calumet).
           JuneͲ22 BusinessOperations                       6/27/2022 KBD               390 53552.001        ConferandexchangecorrespondencewithE.Duffregardingcostandreimbursementanalysisfor                 0.6 $234.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                          2
                                                                                                              properties(6749Merrill,7110Cornell).
           JuneͲ22 BusinessOperations                       6/29/2022 KBD               390 53553.001        TelephoneconferencewithE.Duffregardingcalculationandanalysisofinsurancepremium                     0.4 $156.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                          2
                                                                                                              allocations(6749Merrill,7110Cornell).




                                                                                                                                                                                         47of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 212 of 2195 PageID #:71128


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                               TaskHours   TaskCost                                                          PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                                                      Count
           JuneͲ22 ClaimsAdministration&Objections         6/1/2022 KBD               390 53560.001        Attentiontocorrespondencewithclaimantregardingsupplementaldocumentation(1102Bingham,                  0.1 $39.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W                                           Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,                                      Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618                                    DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355                                        Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S                                    6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255                                       MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                   6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                    7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,7957Marquette,8000Justine,                                       BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,                                    Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8326Ellis,8405Marquette,8800Ada).                                                                                                 EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                     7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                     7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                     Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections         6/6/2022 KBD               390 53561.001        ConferwithM.Rachlisregardinggatheringinformationforclaimant'scounselregardingpotential              0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              distributionandcostallocationissues(7110Cornell,6571Merrill).
           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 KBD               390 53562.001        StudycorrespondencefromJ.Wineregardinganalysisofproducedrecordsandrelatedclaimsissues             0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              (10012LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,                                      Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              310E50th,3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,                                   Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6759Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,                                     IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7922Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104                                          LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Kingston,8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                  MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                              InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                     VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 KBD               390 53563.001        TelephoneconferencewithJ.Wineregardinganalysisofclaims(1102Bingham,11117Longwood,                  0.1 $39.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W64th,2800E81st,                                        Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520Drexel,4533                                       Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,5955                                            DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355Talman,                                          Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S5th,                                       6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255Euclid,                                    MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                           6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                    7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,7957Marquette,8000Justine,                                       BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,                                    Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8326Ellis,8405Marquette,8800Ada).                                                                                                 EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                     7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                     7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                     Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 KBD               390 53564.001        ConferwithM.RachlisandJ.Wineregardinganalysisofclaimsagainstinstitutionallenderclaimant          1.2 $468.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              propertiesandpotentialproceduresforresolutionofclaims(10012LaSalle,1017W102nd,11318                                     Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W                                         Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825                                 IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933                                    LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,                                     MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517                                          InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                              Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                                                          VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 KBD               390 53565.001        Attentiontocommunicationwithcounselforclaimantregardingproducedrecords(10012LaSalle,                0.1 $39.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,                                          Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759                                          Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922                                     IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,                                     LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                            MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                               InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                     VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/17/2022 KBD               390 53566.001        TelephoneconferencewithA.Watychowiczregardingclaimsagainstpropertyand(8326Ellis)(.1)                0.1 $39.00 8326Ͳ58SEllisAvenue                                                                                                                       1




                                                                                                                                                                                       48of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 213 of 2195 PageID #:71129


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                              TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
           JuneͲ22 ClaimsAdministration&Objections        6/17/2022 KBD               390 53566.002        attentiontomultiplecommunicationsfromclaimantregardingclaimsdocumentation(all108)(.2)                0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                     Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                     1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                     E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                     406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                     CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                     52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                     92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                     Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                     VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                     MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                     CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                     7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                     CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                     59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                     Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                     MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                     KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                     8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                     Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                     MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                     Avenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/17/2022 KBD               390 53566.003        telephoneconferenceandexchangecorrespondencewithM.Rachlisregardingresolutionofissues               0.8 $312.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                          2
                                                                                                              relatingtodistributionandcommunicationwithclaimant'scounsel(6749Merrill,7110Cornell)(.8).



           JuneͲ22 ClaimsAdministration&Objections        6/21/2022 KBD               390 53567.001        ExchangecorrespondencewithA.Watychowiczregardingcommunicationwithclaimantregarding                    0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                              claimsprocessissues(all108).                                                                                                        Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                     1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                     E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                     406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                     CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                     52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                     92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                     Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                     VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                     MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                     CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                     7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                     CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                     59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                     Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                     MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                     KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                     8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                     Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                     MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                     Avenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/22/2022 KBD               390 53568.001        TelephoneconferencewithM.Rachlisregardingsettlementofthirdpartyactionandrelatedissues             0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                108
                                                                                                              (all108)(.2)                                                                                                                          Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                     1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                     E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                     406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                     CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                     52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                     92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                     Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                     VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                     MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                     CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                     7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                     CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                     59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                     Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                     MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                     KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                     8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                     Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                     MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                     Avenue;9610SWoodlawnAvenue




                                                                                                                                                                                        49of72
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                               TaskHours   TaskCost                                                          PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                     Allocation
                                                                                                                                                                                                                                                                                                                                                                                       Count
           JuneͲ22 ClaimsAdministration&Objections        6/22/2022 KBD               390 53568.002        telephoneconferenceandexchangecorrespondencewithM.Rachlisregardingresolutionofissues                0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              relatingtodistributionandcommunicationwithclaimant'scounsel(6749Merrill,7110Cornell)(.1)



           JuneͲ22 ClaimsAdministration&Objections        6/22/2022 KBD               390 53568.003        exchangecorrespondencewithE.Duffregardingresolutionofissuesrelatingtodistributionfor               0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              properties(6749Merrill,7110Cornell)(.1).



           JuneͲ22 ClaimsAdministration&Objections        6/23/2022 KBD               390 53569.001        DraftcorrespondencetoK.Pritchardregardingrequestedinformationrelatingtopotential                      0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              distributionforproperties(6749Merrill,7110Cornell)(.1)




           JuneͲ22 ClaimsAdministration&Objections        6/23/2022 KBD               390 53569.002        exchangecorrespondencewithM.Rachlisregardinganalysisofissuesrelatingtopotential                     0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              distribution(6749Merrill,7110Cornell)(.2)




           JuneͲ22 ClaimsAdministration&Objections        6/23/2022 KBD               390 53569.003        exchangecorrespondencewithE.Duffandaccountingfirmrepresentativeregardinganalysisof                  0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              insurancepremiumissuesinrelationtopotentialdistribution(6749Merrill,7110Cornell)(.2)




           JuneͲ22 ClaimsAdministration&Objections        6/23/2022 KBD               390 53569.004        exchangecorrespondencewithtaxadvisorsregardinganalysisofpotentialtaxissuesimpacting                 0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              distribution(6749Merrill,7110Cornell)(.1).




           JuneͲ22 ClaimsAdministration&Objections        6/25/2022 KBD               390 53570.001        Exchangecorrespondencewithtaxadvisorsregardinganalysisofpotentialtaxissuesimpacting                  0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              distributionandtimingforresponse(6749Merrill,7110Cornell)(.1)


           JuneͲ22 ClaimsAdministration&Objections        6/25/2022 KBD               390 53570.002        draftcorrespondencetoE.Duffregardinganalysisofinsuranceallocationissuesimpactingpotential          0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              distribution(6749Merrill,7110Cornell)(.1).


           JuneͲ22 ClaimsAdministration&Objections        6/26/2022 KBD               390 53571.001        ExchangecorrespondencewithE.Duffregardinginsurancerefundanalysis(7110Cornell).                         0.1 $39.00 7110SCornellAvenue                                                                                                                        1

           JuneͲ22 ClaimsAdministration&Objections        6/27/2022 KBD               390 53572.001        Exchangecorrespondencewithcounselforclaimantsregardingstatuspfclaimsprocess(1102                     0.2 $78.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,                                          Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315                                          Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450                                         DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250                                        Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949                                       6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237                                       MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,                                       6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749                                       7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,7957                                              BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,                                        Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800Ada).                                                                     EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                      7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                      7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                      Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                      Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/27/2022 KBD               390 53573.001        ReviewcorrespondencefromA.Watychowiczregardingcommunicationwithcounselforinvestor                     0.1 $39.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              regardingstatuspfclaimsprocess(1102Bingham,11117Longwood,1131E79th,1401W109th,                                           Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              1414E62nd,1422E68th,1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310                                      Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              E50th,3723W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750                                           DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E                                      Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              92nd,6160MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437                                          6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Kenwood,6554Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051                                           MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Bennett,7109Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,                                     6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7442Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,                                        7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,                                     BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7933Kingston,7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107                                            Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800                                    EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Ada).                                                                                                                                   7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                      7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                      Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                      Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet




                                                                                                                                                                                        50of72
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                            TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                 Allocation
                                                                                                                                                                                                                                                                                                                                                                                   Count
           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 KBD               390 53574.001        Telephoneconferencewithcounselforlenderregardingpotentialdistributionandtimingfor                 0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              response(6749Merrill,7110Cornell)(.2)




           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 KBD               390 53574.002        furtherconferwithM.Rachlisregardingissuesimpactingpotentialdistributionandtimingfor             0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              response(6749Merrill,7110Cornell)(.3)




           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 KBD               390 53574.003        exchangecorrespondencewithJ.WineregardinghearingbeforeJudgeKimregardingproperties                0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              (6749Merrill,7110Cornell)(.1)




           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 KBD               390 53574.004        conferwithE.Duffregardinganalysisofinsurancepremiumandcostreimbursementissues                   0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              impactingdistribution(6749Merrill,7110Cornell)(.3)




           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 KBD               390 53574.005        draftcorrespondencetoM.RachlisandJ.Wineregardingissuesimpactingpotentialdistribution            0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              (6749Merrill,7110Cornell)(.2).




           JuneͲ22 ClaimsAdministration&Objections        6/29/2022 KBD               390 53575.001        Exchangecorrespondenceregardinganalysisofsingleclaimpropertiesandrelatedcommunication              0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                     42
                                                                                                              withclaimant'scounsel(10012LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,                                      Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,417Oglesby,5437                                       Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210Vernon,7300St                                      IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Lawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953Woodlawn,8000                                   LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346                                 MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212                                      InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                              Parnell,9610Woodlawn).                                                                                                             VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 KBD               390 53576.001        ConferwithJ.WineandM.Rachlisregardinganalysisofsingleclaimpropertiesinrelationto              0.4 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              propertiesinvolvingsamelenderandotherclaims(10012LaSalle,1017W102nd,11318Church,1401                                 Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,                                  Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                   IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                 LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214                                 MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,                                    InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                              8800Ada,9212Parnell,9610Woodlawn)(.4)                                                                                         VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue


           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 KBD               390 53576.002        conferwithE.Duffregardinganalysisofinsurancepremiumrefundsandallocationtoproperties            0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              (6749Merrill,7110Cornell)(.3).




           JuneͲ22 BusinessOperations                       6/13/2022 JRW               260 53846.001        CorrespondencewithK.Duffregardingnoticeofmunicipalcodeviolationandrelated                         0.2 $52.00 4533Ͳ47SCalumetAvenue                                                                                                                    1
                                                                                                              correspondencetocityownershipdisputedivision(4533Calumet).
           JuneͲ22 BusinessOperations                       6/13/2022 KMP               140 53847.001        Studycorrespondencerelatingtorefundsforinsurancepaymentsforcancellationofumbrellaand             0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                                    1
                                                                                                              propertyinsuranceendorsements(7109Calumet).
           JuneͲ22 BusinessOperations                       6/20/2022 KMP               140 53848.001        ConferwithA.Watychowiczregardingdepositforrefundsofinsurancepolicypaymentsforsold               0.2 $28.00 7109Ͳ19SCalumetAvenue                                                                                                                    1
                                                                                                              property(7109Calumet).
           JuneͲ22 BusinessOperations                       6/23/2022 ED                390 53849.001        Emailcorrespondenceandtelephonecallwithaccountanttodiscussfinalizinginsurancerefund               0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              allocationsfortwoproperties(6749Merrill,7110Cornell)(.2)


           JuneͲ22 BusinessOperations                       6/23/2022 JR                140 53850.001        ExchangecommunicationwithE.Duffrelatingtopropertyinsurancepremiumrefundissues,review             0.8 $112.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              previouslysubmitteddocumentsrelatedtopremiumrefundsandprovidesametoE.Duff(7110
                                                                                                              Cornell,6749Merrill).




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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                               TaskHours   TaskCost                                                          PropertyAllocation                                                   Property
                                                                                                                                                                                                                                                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                                Count
           JuneͲ22 BusinessOperations                       6/27/2022 ED                390 53855.001        MeetwithK.Dufftodiscusscalculationofamountsreimbursablefromseparateaccountsfortwo                 0.5 $195.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                        2
                                                                                                              properties(6749Merrill,7110Cornell)(.5)




           JuneͲ22 BusinessOperations                       6/27/2022 ED                390 53855.002        discussionbytelephonewithK.Duffregardingcalculationofamountsreimbursablefromtwo                    0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                       2
                                                                                                              properties(6749Merrill,7110SCornell)(.1)




           JuneͲ22 BusinessOperations                       6/27/2022 ED                390 53855.003        preparesummariesofamountsreimbursabletoreceivershipfromsaleproceedsoftwoproperties                 0.8 $312.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                        2
                                                                                                              (6749Merrill,7110SCornell)(.8)




           JuneͲ22 BusinessOperations                       6/27/2022 ED                390 53855.004        sendemailtoK.DuffandM.Rachliswithsummariesofamountsreimbursabletoreceivershipfrom               0.5 $195.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                        2
                                                                                                              saleproceedsoftwoproperties,withsupportingdocuments(6749Merrill,7110SCornell)(.5)




           JuneͲ22 BusinessOperations                       6/27/2022 JR                140 53856.001        ReviewemailfromE.Duffrelatedtopropertyinsurancerefunds,requestforinformationin                     0.2 $28.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                       2
                                                                                                              anticipationofahearing,andrespondaccordinglytoE.DuffandK.Duff(6749Merrill,7110Cornell)
                                                                                                              (.2)




           JuneͲ22 BusinessOperations                       6/27/2022 JR                140 53856.002        researchemailsrelatedtovariousinquiriesandrequestspertainingtopropertytermination                   5.8 $812.00 1422Ͳ24East68thStreet;2736Ͳ44W64thStreet;3074ECheltenhamPlace;4533Ͳ47SCalumetAvenue;5450Ͳ52SIndiana                 17
                                                                                                              insurance,endorsementsandrefunds(7110Cornell,5450Indiana,3074Cheltenham,2736W64th,                                        Avenue;5618Ͳ20SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6355Ͳ59STalmanAvenue;6356SCalifornia
                                                                                                              6356California,6355Talman,5618MLK,7201Constance,7201Dorchester,6949Merrill,4533                                           Avenue;638Ͳ40NAversAvenue;6949Ͳ59SMerrillAvenue;7109Ͳ19SCalumetAvenue;7110SCornellAvenue;7201S
                                                                                                              Calumet,1422E68th,7255Euclid,7237Bennett,6217Dorchester,638Avers,7109Calumet)(5.8)                                       ConstanceAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue




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August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                     Property
                                                                                                                                                                                                                                                                                                                                                                            Allocation
                                                                                                                                                                                                                                                                                                                                                                              Count
           JuneͲ22 BusinessOperations                       6/27/2022 JR                140 53856.003        furthercommunicationwithE.Duffrelatedtopropertyinsurancerequestedinformation(7110                0.2 $28.00 1422Ͳ24East68thStreet;2736Ͳ44W64thStreet;3074ECheltenhamPlace;4533Ͳ47SCalumetAvenue;5450Ͳ52SIndiana                 17
                                                                                                              Cornell,5450Indiana,3074Cheltenham,2736W64th,6356California,6355Talman,5618MLK,7201                                   Avenue;5618Ͳ20SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6355Ͳ59STalmanAvenue;6356SCalifornia
                                                                                                              Constance,7201Dorchester,6949Merrill,4533Calumet,1422E68th,7255Euclid,7237Bennett,                                     Avenue;638Ͳ40NAversAvenue;6949Ͳ59SMerrillAvenue;7109Ͳ19SCalumetAvenue;7110SCornellAvenue;7201S
                                                                                                              6217Dorchester,638Avers,7109Calumet)(.2).                                                                                     ConstanceAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue




           JuneͲ22 BusinessOperations                       6/27/2022 KMP               140 53857.001        Reviewvariousfinancialschedulesandstatementstocompileinformationrelatingtodisbursements           2.2 $308.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2
                                                                                                              madetopropertymanagerforcertainproperties,preparespreadsheetdetailingsame,andrelated
                                                                                                              communicationswithK.DuffandE.Duff(7110Cornell,6749Merrill).

           JuneͲ22 BusinessOperations                       6/28/2022 ED                390 53858.001        DraftandsendemailcorrespondencetoK.Duff,K.Pritchard,andJ.Rakregardingdocumentationof          0.3 $117.00 7110SCornellAvenue                                                                                                                   1
                                                                                                              insurancepolicyendorsementsrelatingsoclosingofpropertysale(7110Cornell)(.3)




           JuneͲ22 BusinessOperations                       6/28/2022 ED                390 53858.002        phonecallwithK.PritchardandJ.Rakregardingdocumentationofinsurancepolicyendorsements            0.1 $39.00 7110SCornellAvenue                                                                                                                  1
                                                                                                              relatingsoclosingofpropertysale(7110Cornell)(.1)




           JuneͲ22 BusinessOperations                       6/28/2022 ED                390 53858.003        draftandsendcorrespondencetoK.DuffandM.Rachlisinreplytoquestionsregarding                     0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2
                                                                                                              reimbursableamountcalculationsfortwoproperties(6749Merrill,7110Cornell)(.3)




           JuneͲ22 BusinessOperations                       6/28/2022 ED                390 53858.004        conferwithJ.Rakregardingpremiumrefunddetailsrelatingtotwoproperties(6749Merrill,7110          0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2
                                                                                                              Cornell)(.3)




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August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                                 TaskHours   TaskCost                                                          PropertyAllocation                                                       Property
                                                                                                                                                                                                                                                                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                                                      Count
           JuneͲ22 BusinessOperations                       6/28/2022 ED                390 53858.005        discussadditionalquestionsregardingreimbursableamountswithK.Duff(6749Merrill,7110                     0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                           2
                                                                                                              Cornell)(.1)




           JuneͲ22 BusinessOperations                       6/28/2022 ED                390 53858.006        reviewofnotesanddocumentstoconfirmremainingnecessarycorrectionstodraftsofReceiver's                 1.8 $702.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                            2
                                                                                                              propertyreports(6749Merrill,7110Cornell)(1.8)




           JuneͲ22 BusinessOperations                       6/28/2022 JR                140 53859.001        ReviewemailfromE.Duffrelatingtoreconciliationofpropertyendorsementsandrefundsrelatedto              0.6 $84.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                           2
                                                                                                              properties(6749Merrill,7110Cornell)inanticipationofconferencecallwithinstitutionallender(.6)




           JuneͲ22 BusinessOperations                       6/28/2022 JR                140 53859.002        furtherreviewanddiscussionwithE.Duffrelatedtothepropertyinsurancerefundinformation                  0.4 $56.00 6749Ͳ59SMerrillAvenue                                                                                                                  1
                                                                                                              (6749Merrill)(.4)




           JuneͲ22 BusinessOperations                       6/28/2022 JR                140 53859.004        reviewpropertyendorsementsforproperties(6749Merrill,4520Drexel,7110Cornell,6250Mozart,               2.8 $392.00 4520Ͳ26SDrexelBoulevard;4611Ͳ17SDrexelBoulevard;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;638Ͳ40NAvers                 10
                                                                                                              7109Calumet,6217Dorchester,4611Drexel,7024Paxton,7255Euclid,638Avers)(2.8).                                                  Avenue;6749Ͳ59SMerrillAvenue;7024Ͳ32SPaxtonAvenue;7109Ͳ19SCalumetAvenue;7110SCornellAvenue;7255Ͳ57S
                                                                                                                                                                                                                                                       EuclidAvenue




           JuneͲ22 BusinessOperations                       6/28/2022 KMP               140 53860.001        CommunicationswithE.Duffregardinginsurancerefundsforsoldpropertiesandeffortstoconfirm                0.2 $28.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                           2
                                                                                                              datethatinsurerwasnotifiedofsale(7110Cornell,6749Merrill).
           JuneͲ22 BusinessOperations                       6/29/2022 ED                390 53861.001        Telephoneconferencewithaccountanttodiscussquestionsandcommentsondraftreport(6749                      0.4 $156.00 6749Ͳ59SMerrillAvenue                                                                                                                   1
                                                                                                              Merrill)(.4)




           JuneͲ22 BusinessOperations                       6/29/2022 ED                390 53861.002        telephoneconferencewithaccountanttodiscussquestionsandcommentsondraftreport(7110                     0.1 $39.00 7110SCornellAvenue                                                                                                                     1
                                                                                                              Cornell)(.1)




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August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                               TaskHours   TaskCost                                                          PropertyAllocation                                                     Property
                                                                                                                                                                                                                                                                                                                                                                                Allocation
                                                                                                                                                                                                                                                                                                                                                                                  Count
           JuneͲ22 BusinessOperations                       6/29/2022 ED                390 53861.003        reviewofdocumentsrelatingtoinsurancerefunds(6749Merrill,7110Cornell)(.2)                             0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2




           JuneͲ22 BusinessOperations                       6/29/2022 ED                390 53861.004        reviewrevisedreportsfromaccountantandforwardtoK.Duff,M.Rachlis,J.WineandJ.Rakfor              0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2
                                                                                                              reviewandcomment(6749Merrill,7110Cornell)(.1)




           JuneͲ22 BusinessOperations                       6/29/2022 JR                140 53862.001        ReviewemailcorrespondencefromE.Duffrelatedtopropertyendorsement28andprovide                         0.1 $14.00 5618Ͳ20SMartinLutherKingDrive;6356SCaliforniaAvenue;7110SCornellAvenue;7201SConstanceAvenue                            4
                                                                                                              requestedinformation(7110Cornell,5618MLK,6356California,7201Constance)(.1)




           JuneͲ22 BusinessOperations                       6/29/2022 JR                140 53862.002        reviewfilesforpropertiesrelatedtoinstitutionallenders,reviewendorsementsandrefunds,update          6.4 $896.00 1131Ͳ41E79thPlace;2736Ͳ44W64thStreet;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47SCalumet                   28
                                                                                                              spreadsheetandupdatefileswiththerequestedinformation(1131E79th,2736W64th,4315                                           Avenue;4611Ͳ17SDrexelBoulevard;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozart
                                                                                                              Michigan,4520Drexel,4533Calumet,4611Drexel,6160MLK,6217Dorchester,6250Mozart,6355                                        Street;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6749Ͳ59SMerrillAvenue;7109Ͳ19S
                                                                                                              Talman,6356California,638Avers,6749Merrill,7109Calumet,7110Cornell,7201Dorchester,7255                                   CalumetAvenue;7110SCornellAvenue;7201Ͳ07SDorchesterAvenue;7255Ͳ57SEuclidAvenue;7442Ͳ54SCalumetAvenue;
                                                                                                              Euclid,7442Calumet,7508Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7953                                          7508SEssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssex
                                                                                                              Marquette,8100Essex,816Marquette,8201Kingston,8326Ellis)(6.4).                                                                Avenue;7957Ͳ59SMarquetteRoad;8100SEssexAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8326Ͳ58SEllis
                                                                                                                                                                                                                                                     Avenue


           JuneͲ22 BusinessOperations                       6/29/2022 KMP               140 53863.001        Furthereffortstoconfirmdatethatinsurerwasnotifiedofpropertysaleandrelatedconferencewith          0.2 $28.00 7110SCornellAvenue                                                                                                                   1
                                                                                                              K.Duff(7110Cornell).
           JuneͲ22 BusinessOperations                       6/30/2022 ED                390 53864.001        Reviewofsupportforinsurancereimbursementreceiptsandcalculationofnetreimbursableamount               0.8 $312.00 6749Ͳ59SMerrillAvenue                                                                                                                 1
                                                                                                              fromproperty(6749Merrill)(.8)




           JuneͲ22 BusinessOperations                       6/30/2022 ED                390 53864.002        emailcorrespondenceandtelephonediscussionwithaccountantregardingcalculationofnet                     0.7 $273.00 6749Ͳ59SMerrillAvenue                                                                                                                 1
                                                                                                              reimbursableamountsforproperty(6749Merrill)(.7)




                                                                                                                                                                                        55of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 220 of 2195 PageID #:71136


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                            TaskHours   TaskCost                                  PropertyAllocation   Property
                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                    Count
           JuneͲ22 BusinessOperations                       6/30/2022 ED                390 53864.003        reviewdraftsandrevisionstoreportregardingnetreimbursableamounts(6749Merrill)(.3)                0.3 $117.00 6749Ͳ59SMerrillAvenue                                       1




           JuneͲ22 BusinessOperations                       6/30/2022 ED                390 53864.004        reviewofsupportforinsurancereimbursementreceiptsandcalculationofnetreimbursableamount          0.8 $312.00 7110SCornellAvenue                                          1
                                                                                                              fromproperty(7110Cornell)(.8)




           JuneͲ22 BusinessOperations                       6/30/2022 ED                390 53864.005        emailcorrespondenceandtelephonediscussionswithaccountantregardingcalculationofnet                1.3 $507.00 7110SCornellAvenue                                          1
                                                                                                              reimbursableamountsforproperty(7110Cornell)(1.3)




           JuneͲ22 BusinessOperations                       6/30/2022 ED                390 53864.006        reviewdraftsandrevisionstoreportregardingnetreimbursableamounts(7110Cornell)(.5)                0.5 $195.00 7110SCornellAvenue                                          1




           JuneͲ22 BusinessOperations                       6/30/2022 ED                390 53864.007        telephoneconferencewithaccountanttodiscussandconfirmallocationmethodologyandsources             0.4 $156.00 7110SCornellAvenue                                          1
                                                                                                              ofdatawithrespecttoallocationofinsurancerefundsreceived,andrevisionsrequiredtodraft
                                                                                                              report(7110Cornell)(.4)




                                                                                                                                                                                       56of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 221 of 2195 PageID #:71137


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                                  TaskHours   TaskCost                                                         PropertyAllocation                                                           Property
                                                                                                                                                                                                                                                                                                                                                                                         Allocation
                                                                                                                                                                                                                                                                                                                                                                                           Count
           JuneͲ22 BusinessOperations                       6/30/2022 JR                140 53865.001        Reviewfilesforpropertiesrelatedtoinstitutionallenders,reviewendorsementsandrefunds,update               4.3 $602.00 1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2800Ͳ06E81stStreet;3074ECheltenhamPlace;4750Ͳ52SIndiana                       18
                                                                                                              spreadsheetandupdatefileswiththerequestedinformation(5450Indiana,6437Kenwood,7749                                             Avenue;5001SDrexelBoulevard;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;6437Ͳ41SKenwood
                                                                                                              Yates,1700Juneway,6949Merrill,1422E68th,2800E81st,4750Indiana,7840Yates,5618MLK,                                          Avenue;6554Ͳ58SVernonAvenue;6949Ͳ59SMerrillAvenue;7201SConstanceAvenue;7450SLuellaAvenue;7625Ͳ33S
                                                                                                              6558Vernon,7450Luella,5001Drexel,3074Cheltenham,7201Constance,7625EastEnd,7635East                                          EastEndAvenue;7635Ͳ43SEastEndAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58SMuskegonAvenue;7840Ͳ42SYates
                                                                                                              End,7750Muskegon)(4.3)                                                                                                                  Avenue


           JuneͲ22 BusinessOperations                       6/30/2022 JR                140 53865.002        furthercommunicationwithE.Duffrelatedtoreconciliationofrefundsforvariousproperties(5618               0.6 $84.00 5618Ͳ20SMartinLutherKingDrive;6356SCaliforniaAvenue;7110SCornellAvenue;7201SConstanceAvenue                                 4
                                                                                                              MLK,7110Cornell,7201Constance,6356California)(.6).




           JuneͲ22 ClaimsAdministration&Objections         6/1/2022 JRW               260 53878.001        PreparelistofkeydocumentsforclaimsanalysisandrelatedcorrespondencewithA.Watychowicz                    0.6 $156.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                        75
                                                                                                              andJ.Rak(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,                                            Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431                                          Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437                                            DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217                                               Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,                                            6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201                                        MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,                                         6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,                                           7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Essex,7933Kingston,                                        BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7937Essex,7943Essex,7947Essex,7953Woodlawn,7957Marquette,8000Justine,8047Manistee,                                           Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8334                                      EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Ellis,8342Ellis,8352Ellis,8405Marquette,8800Ada)(.6)                                                                              7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                         7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                         Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                         Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections         6/1/2022 JRW               260 53879.001        Continuedreviewofproductiondocuments(10012LaSalle,1017W102nd,11318Church,1401W                         1.6 $416.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,                                           Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                          Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                        IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214                                        LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,                                           MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8800Ada,9212Parnell,9610Woodlawn).                                                                                                    InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                         VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections         6/2/2022 JR                140 53881.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant’s                    2.7 $378.00 2736Ͳ44W64thStreet;5450Ͳ52SIndianaAvenue;6001Ͳ05SSacramentoAvenue;7201SConstanceAvenue;7635Ͳ43SEast                        9
                                                                                                              informationforproperties(5201Washington,7616Phillips,109Laramie,5450Indiana,7750                                                EndAvenue;7750Ͳ58SMuskegonAvenue;FormerͲ109N.Laramie;FormerͲ5201Ͳ5207WWashingtonBlvd;FormerͲ7616Ͳ
                                                                                                              Muskegon,2736W64th,7201Constance,7635EastEnd,6001Sacramento).                                                                     7624SPhillipsAvenue
           JuneͲ22 ClaimsAdministration&Objections         6/2/2022 JRW               260 53882.001        ConferwithJ.RakandA.Watychowiczregardingclaimsreviewprocessandprogress(1102Bingham,                   0.3 $78.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W                                                Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,                                           Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618                                         DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355                                             Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S                                         6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255                                            MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                        6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                         7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Essex,7933Kingston,7937Essex,7943Essex,7947Essex,                                         BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816E                                                  Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Marquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8334Ellis,8342Ellis,8352Ellis,8405                                 EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Marquette,8800Ada)(.3)                                                                                                                   7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                          7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                          Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                          Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections         6/2/2022 JRW               260 53883.001        Continuedreviewandanalysisofproductiondocuments(10012LaSalle,1017W102nd,11318                           1.7 $442.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W                                              Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825                                      Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933                                         IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,                                          LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517                                               MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(1.7)                                                                          InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                         VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue



           JuneͲ22 ClaimsAdministration&Objections         6/2/2022 JRW               260 53883.002        reviewclaimandupdateclaimsanalysisspreadsheet(5437Laflin)(.4)                                              0.4 $104.00 5437SLaflinStreet                                                                                                                          1




                                                                                                                                                                                           57of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 222 of 2195 PageID #:71138


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                              TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
           JuneͲ22 ClaimsAdministration&Objections         6/2/2022 JRW               260 53883.003        reviewclaimandupdateclaimsanalysisspreadsheet(8107Ellis)(.3)                                          0.3 $78.00 8107Ͳ09SEllisAvenue                                                                                                                      1




           JuneͲ22 ClaimsAdministration&Objections         6/2/2022 JRW               260 53883.004        reviewclaimsagainstpropertyandupdateclaimsanalysisspreadsheet(6807SIndiana)(1.2)                   1.2 $312.00 6807SIndianaAvenue                                                                                                                        1




           JuneͲ22 ClaimsAdministration&Objections         6/3/2022 JR                140 53884.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's               6.2 $868.00 3074ECheltenhamPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17S                         29
                                                                                                              informationforproperties(5450Indiana,7109Calumet,6160MLK,7026Cornell,7201Dorchester,                                     DrexelBoulevard;5450Ͳ52SIndianaAvenue;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6355Ͳ59S
                                                                                                              3074Cheltenham,4533Calumet,4520Drexel,6751Merrill,7110Cornell,638Avers,7834Ellis,4611                                  TalmanAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6749Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7026Ͳ
                                                                                                              Drexel,7237Bennett,6217Dorchester,7749Yates,8326Ellis,6437Kenwood,4315Michigan,6355                                     42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7110SCornellAvenue;7201Ͳ07SDorchester
                                                                                                              Talman,701S5th,7051Bennett,7442Calumet,7546Saginaw,7600Kingston,7701Essex,7748                                         Avenue;7237Ͳ43SBennettAvenue;7442Ͳ54SCalumetAvenue;7546Ͳ48SSaginawAvenue;7600Ͳ10SKingstonAvenue;7701Ͳ
                                                                                                              Essex,7957Marquette,8100Essex).                                                                                                   03SEssexAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7834Ͳ44SEllisAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8100 S Essex Avenue; 8326 58 S Ellis Avenue
           JuneͲ22 ClaimsAdministration&Objections         6/3/2022 JRW               260 53885.002        continuedreviewandanalysisofproductiondocuments(10012LaSalle,1017W102nd,11318                     3.1 $806.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W                                         Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825                                 Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933                                    IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,                                     LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517                                          MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(3.1).                                                                    InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                    VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections         6/6/2022 AW                140 53886.003        callwithJ.Wineregardingreviewofdocumentsproducedbyinstitutionallender(10012LaSalle,              0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                     42
                                                                                                              1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,                                          Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759                                          Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922                                     IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,                                     LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                            MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.1).                                         InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                     VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue



           JuneͲ22 ClaimsAdministration&Objections         6/6/2022 JR                140 53887.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's               2.7 $378.00 2909Ͳ19E78thStreet;4611Ͳ17SDrexelBoulevard;5450Ͳ52SIndianaAvenue;5955SSacramentoAvenue;6160Ͳ6212S                          15
                                                                                                              informationforproperties(5450Indiana,5955Sacramento,4615Drexel,7237Bennett,6437                                           MartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;638Ͳ40NAversAvenue;6437Ͳ41SKenwood
                                                                                                              Kenwood,7201Dorchester,701S5th,6160MLK,7024Paxton,6217Dorchester,6250Mozart,638                                        Avenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43SBennettAvenue;7549Ͳ59S
                                                                                                              Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).                                                                                       Essex Avenue; 8047Ͳ55 S Manistee Avenue
           JuneͲ22 ClaimsAdministration&Objections         6/6/2022 JRW               260 53888.002        continuedreviewandanalysisofproductiondocumentsandrelatedconferencewithA.                          2.9 $754.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              Watychowicz(10012LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,                                      Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              2136W83rd,310E50th,3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,                                  Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,                                   IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7760Coles,7922Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030                                             LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403                                MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610                                         InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                              Woodlawn)(2.9)                                                                                                                       VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue


           JuneͲ22 ClaimsAdministration&Objections         6/7/2022 AW                140 53889.001        CommunicatewithJ.Wineregardingandextractkeydocumentsfrominstitutionallenderproduction              2.1 $294.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              (10012LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,                                     Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              310E50th,3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,                                  Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6759Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,                                    IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7922Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104                                         LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Kingston,8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                 MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                              InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                    VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections         6/7/2022 JR                140 53890.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's               5.8 $812.00 1700Ͳ08WJunewayTerrace;2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexel                         22
                                                                                                              informationforproperties(5450Indiana,7546Saginaw,1700Juneway,6250Mozart,4533Calumet,                                     Boulevard;5450Ͳ52SIndianaAvenue;6001Ͳ05SSacramentoAvenue;6160Ͳ6212SMartinLutherKingDrive;6250SMozart
                                                                                                              8201Kingston,4611Drexel,7760Coles,7500Eggleston,3030E.79th,7301Stewart,8100Essex,                                      Street;701Ͳ13S5thAvenue;7301Ͳ09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              7748Essex,7927Essex,6001Sacramento,701S5th,7600Kingston,6160MLK,2909E78th,7549                                       EssexAvenue;7600Ͳ10SKingstonAvenue;7748Ͳ52SEssexAvenue;7760SColesAvenue;7927Ͳ49SEssexAvenue;8047Ͳ55S
                                                                                                              Essex,8047Manistee,7420Colfax)(5.8)                                                                                              ManisteeAvenue;8100SEssexAvenue;8201SKingstonAvenue;FormerͲ7420SColfax




                                                                                                                                                                                       58of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 223 of 2195 PageID #:71139


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                             TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
           JuneͲ22 ClaimsAdministration&Objections         6/7/2022 JR                140 53890.002        communicationwithJ.Winerelatingtoprogressofclaimreviewandadditionalinstructions                   0.4 $56.00 5450Ͳ52SIndianaAvenue                                                                                                                    1
                                                                                                              regardingsame(5450Indiana)(.4).




           JuneͲ22 ClaimsAdministration&Objections         6/7/2022 JRW               260 53891.002        continuedreviewandanalysisofproductiondocumentsandupdatenotesregardingsame(10012                  3.9 $1,014.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E                                     Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              50th,3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759                                  Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922                                   IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,                                   LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                          MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(3.9)                                        InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                   VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue


           JuneͲ22 ClaimsAdministration&Objections         6/7/2022 JRW               260 53891.003        conductclaimsanalysisforproperty(7051Bennett)(3.1).                                                     3.1 $806.00 7051SBennettAvenue                                                                                                                        1




           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 AW                140 53892.002        callwithJ.WineandJ.Rakregardingreviewofclaims(1102Bingham,11117Longwood,1131E79th,           1.1 $154.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W64th,2800E81st,2909E78th,                                       Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611                                     Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001                                        DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638                                     Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026                                         6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,                                   MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,                                       6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,                                7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7927Essex,7933Kingston,7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100                                          BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8405                                      Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Marquette,8800Ada)(1.1)                                                                                                            EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                    7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                    7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                    Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 AW                140 53892.003        callwithJ.Wineregardingreviewofclaims(8100Essex)(.3).                                                0.3 $42.00 8100SEssexAvenue                                                                                                                         1




           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 AW                140 53893.002        completeextractionofkeydocumentsfrominstitutionallenderproductionandrelated                         0.7 $98.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                     42
                                                                                                              communicationwithJ.Wine(10012LaSalle,1017W102nd,11318Church,1401W109th,1516E                                           Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,417Oglesby,                                        Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210Vernon,7300St                                   IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Lawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953Woodlawn,8000                                     LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346                                   MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212                                        InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                              Parnell,9610Woodlawn)(.7)                                                                                                           VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                       59of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 224 of 2195 PageID #:71140


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                             TaskDescription                                              TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 AW                140 53893.003        furthercommunicationswithJ.Wineregardingproduceddocuments(10012LaSalle,1017W102nd,               0.2 $28.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                     42
                                                                                                              11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723                                     Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,                                    Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,                                    IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107                                          LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,                                     MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.2).                                                               InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                    VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 AW                140 53894.001        Attentiontoerrormessagesonanumberofproduceddocumentsandlocateworkingfilesofsame                0.4 $56.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                     42
                                                                                                              (10012LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,                                     Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              310E50th,3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,                                  Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6759Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,                                    IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7922Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104                                         LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Kingston,8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                 MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                              InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                    VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 JR                140 53895.001        Extensivereviewofclaimsforproperties,updateclaimantspreadsheetwithpertinentclaimant's              4.8 $672.00 1700Ͳ08WJunewayTerrace;2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexel                         22
                                                                                                              informationforproperties(5450Indiana,7546Saginaw,1700Juneway,6250Mozart,4533Calumet,                                    Boulevard;5450Ͳ52SIndianaAvenue;6001Ͳ05SSacramentoAvenue;6160Ͳ6212SMartinLutherKingDrive;6250SMozart
                                                                                                              8201Kingston,4611Drexel,7760Coles,7500Eggleston,3030E.79th,7301Stewart,8100Essex,                                     Street;701Ͳ13S5thAvenue;7301Ͳ09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              7748Essex,7927Essex,6001Sacramento,701S5th,7600Kingston,6160MLK,2909E78th,7549                                      EssexAvenue;7600Ͳ10SKingstonAvenue;7748Ͳ52SEssexAvenue;7760SColesAvenue;7927Ͳ49SEssexAvenue;8047Ͳ55S
                                                                                                              Essex,8047Manistee,7420Colfax)(4.8)                                                                                             ManisteeAvenue;8100SEssexAvenue;8201SKingstonAvenue;FormerͲ7420SColfax




           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 JR                140 53895.002        communicationwithJ.WineandA.Watychowiczregardingprogressofclaimreviewandadditional              0.9 $126.00 5450Ͳ52SIndianaAvenue                                                                                                                     1
                                                                                                              instructionsregardingupdatestoclaimnumberspertainingtoanEBFMortgageespreadsheetfor
                                                                                                              property(5450Indiana)(.9)




           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 JR                140 53895.003        updateclaimnumbersincludingpropertynumbersforallclaimsrelatedtoEBFMortgagee                      1.4 $196.00 5450Ͳ52SIndianaAvenue                                                                                                                     1
                                                                                                              spreadsheet(5450Indiana)(1.4).




           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 JRW               260 53896.001        Continuedanalysisofproductiondocuments(10012LaSalle,1017W102nd,11318Church,1401W                 2.4 $624.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,                                     Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                    Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                  IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214                                  LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,                                     MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8800Ada,9212Parnell,9610Woodlawn)(2.4)                                                                                         InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                   VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                      60of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 225 of 2195 PageID #:71141


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                                  TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                        Allocation
                                                                                                                                                                                                                                                                                                                                                                                          Count
           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 JRW               260 53896.002        workwithA.WatychowiczandJ.Rakonstreamliningclaimsreviewprocess(1102Bingham,11117                     1.7 $442.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W64th,                                               Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520                                           Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,                                        DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355                                                 Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S                                        6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255                                           MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                       6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                        7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Essex,7933Kingston,7937Essex,7943Essex,7947Essex,                                        BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816E                                                 Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Marquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8334Ellis,8342Ellis,8352Ellis,8405                                EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Marquette,8800Ada)(1.7)                                                                                                                 7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                         7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                         Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                         Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet




           JuneͲ22 ClaimsAdministration&Objections         6/8/2022 JRW               260 53896.003        reviewclaimsandconferwithJ.Rakregardingupdatestoclaimsreviewspreadsheet(5450S                        0.6 $156.00 5450Ͳ52SIndianaAvenue                                                                                                                     1
                                                                                                              Indiana)(.6).




           JuneͲ22 ClaimsAdministration&Objections         6/9/2022 AW                140 53897.001        CallwithJ.Wineregardingreviewofclaims(8100Essex)(.4)                                                       0.4 $56.00 8100SEssexAvenue                                                                                                                         1




           JuneͲ22 ClaimsAdministration&Objections         6/9/2022 AW                140 53897.002        workonreviewofclaims(8100EssexAvenue,7834Ellis,7024Paxton,6160MLK,6801EastEnd,                     3.6 $504.00 1700Ͳ08WJunewayTerrace;4315Ͳ19SMichiganAvenue;6001Ͳ05SSacramentoAvenue;6160Ͳ6212SMartinLutherKing                           12
                                                                                                              7749Yates,6250Mozart,7760Coles,6001Sacramento,4317Michigan,7748Essex,1700Juneway)                                            Drive;6250SMozartStreet;7024Ͳ32SPaxtonAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7760SColes
                                                                                                              (3.6)                                                                                                                                      Avenue;7834Ͳ44SEllisAvenue;8100SEssexAvenue;FormerͲ6801SEastEnd




                                                                                                                                                                                           61of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 226 of 2195 PageID #:71142


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                            TaskDescription                                              TaskHours   TaskCost                                                         PropertyAllocation                                                           Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
           JuneͲ22 ClaimsAdministration&Objections         6/9/2022 AW                140 53897.004        emailexchangeswithJ.WineandJ.Rakregardingconsistencyofclaimsreviewandagreedupon              0.4 $56.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              formatofspreadsheets(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,                                       Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              1422E68th,1700Juneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W                                   Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,                                 DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217                                    Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,                                      6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201                                  MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,                                   6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,                                     7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Kingston,7953                                         BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,                                     Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800Ada)(.4).                                               EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                   7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                   7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                   Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                   Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections         6/9/2022 JR                140 53898.001        ContinueworkingonclaimsreviewprojectandthemodificationandstandardizationofReceiver's             3.9 $546.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                        75
                                                                                                              claimsreviewspreadsheets(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E                                        Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              62nd,1422E68th,1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,                                 Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              3723W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,                                      DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              5001Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,                                     Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              6160MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,                                   6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              6554Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109                                  MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442                                          6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656                                    7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933                                 BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Kingston,7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816                                  Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800Ada).                                      EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                  7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                  7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                  Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                  Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections         6/9/2022 JR                140 53899.001        ExchangecommunicationwithA.WatychowiczandJ.WineregardingrestructuringofEBFMortgagee              0.8 $112.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                        75
                                                                                                              spreadsheetrelatingtopertinentinformationfortheremainderoftheproofofclaimsreviewfor                                  Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              properties(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,                                     Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431                                   DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437                                     Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217                                        6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,                                     MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201                                 6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,                                  7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,                                    BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Kingston,7953                                        Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,                                    EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800Ada).                                                   7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                  7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                  Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                  Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections         6/9/2022 JRW               260 53900.001        AttentiontoclaimsreviewproceduresandrelatedtelephoneandemailcommunicationswithJ.Rak             1.4 $364.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                        75
                                                                                                              andA.Watychowicz(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,                                          Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              1422E68th,1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723                                  Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001                                      DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160                                     Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554                                   6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109                                       MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442                                          6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656                                    7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933                                 BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Essex,7933Kingston,7937Essex,7943Essex,7947Essex,7953Woodlawn,7957Marquette,8000                                      Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214                                   EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Ingleside,8326Ellis,8334Ellis,8342Ellis,8352Ellis,8405Marquette,8800Ada)(1.4)                                          7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                  7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                  Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                  Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet




                                                                                                                                                                                      62of72
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                            TaskHours   TaskCost                                                         PropertyAllocation                                                           Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
           JuneͲ22 ClaimsAdministration&Objections         6/9/2022 JRW               260 53900.002        continuedreviewofproductiondocuments(10012LaSalle,1017W102nd,11318Church,1401W                 0.7 $182.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,                                    Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                   Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                 IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214                                 LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,                                    MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8800Ada,9212Parnell,9610Woodlawn)(.7).                                                                                        InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                  VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 AW                140 53901.001        Workonreviewofclaims(8100Essex,7026Cornell,701S5th,7442Calumet,7508Essex,1700                4.1 $574.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;4520Ͳ26SDrexel                      30
                                                                                                              Juneway,5001Drexel,6437Kenwood,6001Sacramento,7834Ellis,4520Drexel,6250Mozart,7255                                    Boulevard;5001SDrexelBoulevard;6001Ͳ05SSacramentoAvenue;6160Ͳ6212SMartinLutherKingDrive;6250SMozart
                                                                                                              Euclid,7625EastEnd,6160MLK,7201Dorchester,7546Saginaw,7600Kingston,7748Essex,11117                                   Street;6437Ͳ41SKenwoodAvenue;701Ͳ13S5thAvenue;7026Ͳ42SCornellAvenue;7201Ͳ07SDorchesterAvenue;7255Ͳ57S
                                                                                                              Longwood,7616Phillips,6801EastEnd,7301Stewart,7500Eggleston,3030E79th,7927Essex,7549                                EuclidAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumetAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;
                                                                                                              Essex,2909E78th,8047Manistee,7749Yates)(4.1)                                                                                7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7748Ͳ52SEssex
                                                                                                                                                                                                                                                  Avenue;7749Ͳ59SYatesBoulevard;7834Ͳ44SEllisAvenue;7927Ͳ49SEssexAvenue;8047Ͳ55SManisteeAvenue;8100S
                                                                                                                                                                                                                                                  EssexAvenue;FormerͲ6801SEastEnd;FormerͲ7616Ͳ7624SPhillipsAvenue


           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 AW                140 53901.003        attentiontoissueregardingerrorinproofofclaimsandrelatedcommunicationwithJ.Wine(8326          0.3 $42.00 8326Ͳ58SEllisAvenue                                                                                                                       1
                                                                                                              Ellis)(.3)




           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 AW                140 53901.004        reviewclaimsanddraftcommunicationstoclaimantsregardingerrors(8326Ellis)(1.4).                    1.4 $196.00 8326Ͳ58SEllisAvenue                                                                                                                        1




           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 JR                140 53902.001        ExchangecommunicationwithJ.WineregardingrestructuringofEBFMortgageespreadsheet                     0.7 $98.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              relatingtopertinentinformationfortheremainderoftheproofofclaimsreview(1102Bingham,                                    Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W                                         Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,                                    DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618                                  Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355                                      6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S                                  MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255                                     6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                 7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                  BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,7957Marquette,8000Justine,                                     Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,                                  EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              8326Ellis,8405Marquette,8800Ada)(.7)                                                                                           7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                   7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                   Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                   Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 JR                140 53902.002        exchangecommunicationwithA.Watychowiczregardingapropertyaddresserrorfoundasitrelates           0.5 $70.00 8326Ͳ58SEllisAvenue                                                                                                                       1
                                                                                                              tovariousclaimants,correctedpropertyaddressandclaimantinformation(8326Ellis)(.5).




                                                                                                                                                                                        63of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 228 of 2195 PageID #:71144


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                                 TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                       Allocation
                                                                                                                                                                                                                                                                                                                                                                                         Count
           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 JR                140 53903.001        ContinueworkingonclaimsreviewprojectandthemodificationandstandardizationofReceiver's                   5.5 $770.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              claimsreviewspreadsheets(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E                                              Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              62nd,1422E68th,1700WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,                                       Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              3723W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,                                            DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              5001Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,                                           Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              6160MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,                                         6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              6554Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109                                        MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442                                                6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656                                          7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933                                       BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Kingston,7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816                                        Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              EMarquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800Ada).                                            EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                        7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                        7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                        Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                        Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 JRW               260 53904.001        TelephoneconferencewithJ.Rakregardingclaimsreviewproceduresandrelatedcorrespondence                     0.7 $182.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              regardingstandardizedformatofanalysisspreadsheets(1102Bingham,11117Longwood,1131E                                             Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W64th,2800E81st,2909E                                           Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520Drexel,4533Calumet,                                        DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,5955Sacramento,6001                                       Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355Talman,6356California,638                                         6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S5th,7024Paxton,7026                                             MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255Euclid,7300StLawrence,                                       6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546Saginaw,7549Essex,                                           7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,7834Ellis,7840Yates,                                    BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7927Essex,7933Essex,7933Kingston,7937Essex,7943Essex,7947Essex,7953Woodlawn,7957                                           Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,                                          EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              8209Ellis,8214Ingleside,8326Ellis,8334Ellis,8342Ellis,8352Ellis,8405Marquette,8800Ada)(.7)                                7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                        7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                        Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                        Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 JRW               260 53904.002        conferwithA.Watychowiczregardingmisidentifiedclaims(8326Ellis)(.1)                                        0.1 $26.00 8326Ͳ58SEllisAvenue                                                                                                                      1




           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 JRW               260 53904.003        reviewandrevisenoticetoclaimantsregardingcorrectionstoMasterClaimssheetandrelated                    0.2 $52.00 8326Ͳ58SEllisAvenue                                                                                                                      1
                                                                                                              correspondencewithA.Watychowicz(8326Ellis)(.2).




           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 JRW               260 53905.001        Analyzeandpreparechronologyofproductiondocumentsandclaims(10012LaSalle,1017W102nd,                    1.7 $442.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723                                         Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,                                        Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,                                        IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107                                              LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,                                         MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(1.7)                                                                    InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                        VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                          64of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 229 of 2195 PageID #:71145


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                              TaskHours   TaskCost                                                              PropertyAllocation                                                      Property
                                                                                                                                                                                                                                                                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                                                      Count
           JuneͲ22 ClaimsAdministration&Objections        6/10/2022 JRW               260 53905.002        analyzeclaimsagainstproperties(1401W109th,310E50th,6807Indiana,8000Justine,8107Ellis,          2.4 $624.00 1401W109thPlace;310E50thStreet;6807SIndianaAvenue;8000Ͳ02SJustineStreet;8107Ͳ09SEllisAvenue;8209SEllis                 7
                                                                                                              8209Ellis,8214Ingleside)(2.4).                                                                                                    Avenue;8214Ͳ16SInglesideAvenue




           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 AW                140 53906.001        Workonreviewofclaims(1700Juneway,5001Drexel,6437Kenwood,8100Essex,6001Sacramento,                3.4 $476.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;4520Ͳ26SDrexel                      28
                                                                                                              7026Cornell,7834Ellis,4520Drexel,6250Mozart,7255Euclid,7625EastEnd,6160MLK,7201                                       Boulevard;5001SDrexelBoulevard;6001Ͳ05SSacramentoAvenue;6160Ͳ6212SMartinLutherKingDrive;6250SMozart
                                                                                                              Dorchester,7508Essex,7546Saginaw,7600Kingston,7748Essex,11117Longwood,7616Phillips,                                      Street;6437Ͳ41SKenwoodAvenue;7026Ͳ42SCornellAvenue;7201Ͳ07SDorchesterAvenue;7255Ͳ57SEuclidAvenue;7301Ͳ
                                                                                                              6801EastEnd,7301Stewart,7500Eggleston,3030E79th,7927Essex,7549Essex,2909E78th,8047                                  09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;
                                                                                                              Manistee,7749Yates)(3.4)                                                                                                           7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7834Ͳ44SEllis
                                                                                                                                                                                                                                                    Avenue;7927Ͳ49SEssexAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;FormerͲ6801SEastEnd;FormerͲ7616Ͳ
                                                                                                                                                                                                                                                    7624SPhillipsAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 AW                140 53906.002        followupwithJ.Wineregardingemailtoclaimantsandcounsel(8326Ellis)(.1)                              0.1 $14.00 8326Ͳ58SEllisAvenue                                                                                                                       1




           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 AW                140 53906.004        communicatewithJ.Wineregardingclassificationofclaims(4520Drexel,5001Drexel)(.2).                   0.2 $28.00 4520Ͳ26SDrexelBoulevard;5001SDrexelBoulevard                                                                                          2




           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 JR                140 53907.001        UpdateclaiminformationforallclaimsrelatedtoEBFMortgageespreadsheet(1102Bingham,11117                2 $280.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                        75
                                                                                                              Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W64th,                                          Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520                                      Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,                                   DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355                                            Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S                                   6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255                                      MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                  6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                   7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,7957Marquette,8000Justine,                                      BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,                                   Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8326Ellis,8405Marquette,8800Ada).                                                                                                EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                    7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                    7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                    Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 JRW               260 53908.002        finishpreparationofchronologyregardingclaimsandrelatedanalysistoK.DuffandM.Rachlis              1.5 $390.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              (10012LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,                                     Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              310E50th,3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,                                  Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6759Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,                                    IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7922Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104                                         LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Kingston,8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                 MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(1.5)                                         InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                    VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 JRW               260 53908.004        conferwithA.Watychowiczregardingclaimsagainstpropertiesandrelatedreviewofprioranalysis           0.3 $78.00 4520Ͳ26SDrexelBoulevard;5001SDrexelBoulevard                                                                                          2
                                                                                                              (4520Drexel,5001Drexel)(.3)




                                                                                                                                                                                         65of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 230 of 2195 PageID #:71146


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                            TaskHours   TaskCost                                                           PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 JRW               260 53908.005        analyzeclaimsagainstproperty(8209Ellis)(2.1)                                                            2.1 $546.00 8209SEllisAvenue                                                                                                                           1




           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 JRW               260 53908.006        analyzeclaimagainstproperties(1102Bingham,2736W64th)(.7).                                            0.7 $182.00 1102Bingham(Houston,TX);2736Ͳ44W64thStreet                                                                                             2




           JuneͲ22 ClaimsAdministration&Objections        6/13/2022 MR                390 53909.001        Attentiontonotesandissuesonclaimant'sproduction(10012LaSalle,1017W102nd,11318Church,            0.5 $195.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E                                    Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,                                   Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,                                  IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,                                  LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529                                        MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                                                                      InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                   VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/14/2022 AW                140 53910.004        workonreviewofclaims(1700Juneway,5001Drexel,6437Kenwood,8100Essex,6001Sacramento,              1.2 $168.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;4520Ͳ26SDrexel                      28
                                                                                                              7026Cornell,7834Ellis,4520Drexel,6250Mozart,7255Euclid,7625EastEnd,6160MLK,7201                                      Boulevard;5001SDrexelBoulevard;6001Ͳ05SSacramentoAvenue;6160Ͳ6212SMartinLutherKingDrive;6250SMozart
                                                                                                              Dorchester,7508Essex,7546Saginaw,7600Kingston,7748Essex,11117Longwood,7616Phillips,                                     Street;6437Ͳ41SKenwoodAvenue;7026Ͳ42SCornellAvenue;7201Ͳ07SDorchesterAvenue;7255Ͳ57SEuclidAvenue;7301Ͳ
                                                                                                              6801EastEnd,7301Stewart,7500Eggleston,3030E79th,7927Essex,7549Essex,2909E78th,8047                                 09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;
                                                                                                              Manistee,7749Yates)(1.2).                                                                                                        7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7834Ͳ44SEllis
                                                                                                                                                                                                                                                   Avenue;7927Ͳ49SEssexAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;FormerͲ6801SEastEnd;FormerͲ7616Ͳ
                                                                                                                                                                                                                                                   7624SPhillipsAvenue


           JuneͲ22 ClaimsAdministration&Objections        6/14/2022 JRW               260 53911.001        Analyzeclaimsagainstproperty(7107Bennett,7255Euclid,7508Essex,7748Essex,7749Yates,8209          2.3 $598.00 7255Ͳ57SEuclidAvenue;7508SEssexAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;8209SEllisAvenue;                        6
                                                                                                              SEllis)(2.3)                                                                                                                       FormerͲ7107Ͳ29SBennettAve




           JuneͲ22 ClaimsAdministration&Objections        6/14/2022 JRW               260 53911.002        conferwithA.Watychowiczregardingmissingclaim(3074Cheltenham,7750Muskegon,8100Essex)              0.1 $26.00 3074ECheltenhamPlace;7750Ͳ58SMuskegonAvenue;8100SEssexAvenue                                                                      3
                                                                                                              (.1)




           JuneͲ22 ClaimsAdministration&Objections        6/14/2022 MR                390 53912.001        Attentiontoemailandstatusregardingclaimant(10012LaSalle,1017W102nd,11318Church,1401             0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,                                    Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                     Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                   IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214                                   LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,                                      MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8800Ada,9212Parnell,9610Woodlawn).                                                                                               InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                    VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 AW                140 53913.001        CommunicatewithJ.WineandJ.Rakregardingprogressinreviewofclaims(1102Bingham,11117               0.3 $42.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700Juneway,2736W64th,2800                                       Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520Drexel,                                   Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,5955                                      DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355Talman,                                         Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S5th,                                      6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255Euclid,                                   MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                          6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                   7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,7957Marquette,8000Justine,                                      BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,                                   Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8326Ellis,8405Marquette,8800Ada)(.3)                                                                                            EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                    7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                    7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                    Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet




                                                                                                                                                                                      66of72
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EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                               TaskDescription                                                  TaskHours   TaskCost                                                         PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                        Allocation
                                                                                                                                                                                                                                                                                                                                                                                          Count
           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 JRW               260 53914.001        Analyzeclaimsagainstproperty(7051Bennett)(.2)                                                                  0.2 $52.00 7051SBennettAvenue                                                                                                                       1




           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 JRW               260 53914.003        studynotesregardingMidlandclaimsandclaimsagainstpropertiessecuringnotes(1102Bingham,                   1.1 $286.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W                                               Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,                                          Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618                                        DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355                                            Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S                                        6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255                                           MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                       6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                        7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Essex,7933Kingston,7937Essex,7943Essex,7947Essex,                                        BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7953Woodlawn,7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816E                                                 Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Marquette,8201Kingston,8209Ellis,8214Ingleside,8326Ellis,8334Ellis,8342Ellis,8352Ellis,8405                                EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                              Marquette,8800Ada)(1.1)                                                                                                                 7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                         7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                         Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                         Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet




           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 JRW               260 53914.004        draftcorrespondencetoclaimants'counselregardingsingleclaimprocess(10012LaSalle,1017W                   0.2 $52.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                     26
                                                                                                              102nd,11318Church,1516E85th,2129W71st,2136W83rd,3213Throop,406E87th,417Oglesby,                                          Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6759SIndianaAvenue;6825S
                                                                                                              6554Rhodes,6759Indiana,6825Indiana,7210Vernon,7712Euclid,7922Luella,7925Kingston,8030                                        IndianaAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuellaAvenue;7925SKingstonAvenue;8030S
                                                                                                              Marquette,8104Kingston,8107Kingston,8346Constance,8403Aberdeen,8432Essex,8517Vernon,                                           MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346SConstanceAvenue;8403SAberdeenStreet;
                                                                                                              8529Rhodes,9212Parnell,9610Woodlawn)(.2).                                                                                             8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212SParnellAvenue;9610SWoodlawnAvenue




           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 JRW               260 53915.001        ConferwithM.RachlisandK.Duffregardinganalysisofclaimsagainstinstitutionallenderclaimant               1.5 $390.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                      42
                                                                                                              propertiesandpotentialproceduresforresolutionofclaims(10012LaSalle,1017W102nd,11318                                          Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W                                              Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825                                      IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933                                         LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,                                          MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517                                               InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                              Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn).                                                                               VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




                                                                                                                                                                                           67of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 232 of 2195 PageID #:71148


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                               TaskHours   TaskCost                                                         PropertyAllocation                                                           Property
                                                                                                                                                                                                                                                                                                                                                                                     Allocation
                                                                                                                                                                                                                                                                                                                                                                                       Count
           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 MR                390 53916.001        ConferenceswithK.DuffandJ.Wineregardingvariousissuesonclaimant'sproperties(10012                   1.5 $585.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              LaSalle,1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E                                       Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              50th,3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759                                    Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922                                     IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,                                     LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                            MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(1.5)                                          InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                     VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




           JuneͲ22 ClaimsAdministration&Objections        6/15/2022 MR                390 53916.002        furtherattentiontovariousmaterialsregardingvariousissuesonMidlandproperties(10012LaSalle,          0.4 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              1017W102nd,11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,                                          Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              3213Throop,3723W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759                                          Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,6807Indiana,6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922                                     IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Luella,7925Kingston,7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,                                     LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8107Ellis,8107Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405                                            MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Marquette,8432Essex,8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.4).                                         InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                     VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




           JuneͲ22 ClaimsAdministration&Objections        6/16/2022 AW                140 53917.001        CommunicatewithJ.Wineregardingclaimsreviewandattentiontoclaimsspreadsheet(1102                      0.6 $84.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,                                          Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315                                          Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450                                         DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250                                        Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949                                       6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237                                       MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,                                       6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749                                       7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,7957                                              BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,                                        Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800Ada)(.6)                                                                  EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                      7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                      7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                      Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                      Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/16/2022 AW                140 53917.002        communicatewithclaimantsregardingupdatetoclaimsdocumentsforproperty(8326Ellis)(.2)                  0.2 $28.00 8326Ͳ58SEllisAvenue                                                                                                                       1




           JuneͲ22 ClaimsAdministration&Objections        6/16/2022 AW                140 53917.003        respondtoemailsregardingupdatetoclaimsdocuments(8326Ellis)(.2)                                        0.2 $28.00 8326Ͳ58SEllisAvenue                                                                                                                       1




                                                                                                                                                                                          68of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 233 of 2195 PageID #:71149


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                               TaskHours   TaskCost                                                          PropertyAllocation                                                          Property
                                                                                                                                                                                                                                                                                                                                                                                     Allocation
                                                                                                                                                                                                                                                                                                                                                                                       Count
           JuneͲ22 ClaimsAdministration&Objections        6/16/2022 JR                140 53918.001        ReviewemailcorrespondencefromJ.Wineandrespondaccordinglyregardingclaimsprocess(1102                 0.3 $42.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,                                          Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315                                          Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450                                         DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250                                        Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949                                       6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237                                       MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,                                       6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749                                       7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,7957                                              BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,                                        Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800Ada).                                                                      EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                      7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                      7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                      Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                      Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/16/2022 JRW               260 53919.002        reviewclaimsanalysisandprovidecommentstoJ.RakandA.Watychowicz(8100Essex)(.4).                     0.4 $104.00 8100SEssexAvenue                                                                                                                           1


           JuneͲ22 ClaimsAdministration&Objections        6/17/2022 AW                140 53920.002        callwithclaimantregardingupdatetoclaimsdocuments(8326Ellis)(.2)                                       0.2 $28.00 8326Ͳ58SEllisAvenue                                                                                                                       1



           JuneͲ22 ClaimsAdministration&Objections        6/17/2022 AW                140 53920.003        communicatewithK.DuffandM.Rachlisregardingandresponsestomultipleemailsandvoice                   1.1 $154.00 8326Ͳ58SEllisAvenue                                                                                                                        1
                                                                                                              messagesfromclaimantregardingproperty(8326Ellis)(1.1).


           JuneͲ22 ClaimsAdministration&Objections        6/17/2022 MR                390 53921.001        Attentiontoissuesraisedbyclaimantandfollowupregardingsame(8326Ellis)(.3)                            0.3 $117.00 8326Ͳ58SEllisAvenue                                                                                                                        1


           JuneͲ22 ClaimsAdministration&Objections        6/17/2022 MR                390 53921.002        variousexchangesandcorrespondencewithK.Duffregardingissuesassociatedwithpossible                    0.9 $351.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                               2
                                                                                                              resolutionofU.S.Bankclaims(7110Cornell,6749Merrill)(.9).

           JuneͲ22 ClaimsAdministration&Objections        6/22/2022 AW                140 53924.001        ContinuedworkonreviewofclaimsandrelatedemailtoJ.Wine(1700Juneway,5001Drexel,6437                1.7 $238.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;4520Ͳ26SDrexel                      28
                                                                                                              Kenwood,8100Essex,6001Sacramento,7026Cornell,7834Ellis,4520Drexel,6250Mozart,7255                                         Boulevard;5001SDrexelBoulevard;6001Ͳ05SSacramentoAvenue;6160Ͳ6212SMartinLutherKingDrive;6250SMozart
                                                                                                              Euclid,7625EastEnd,6160MLK,7201Dorchester,7508Essex,7546Saginaw,7600Kingston,7748                                        Street;6437Ͳ41SKenwoodAvenue;7026Ͳ42SCornellAvenue;7201Ͳ07SDorchesterAvenue;7255Ͳ57SEuclidAvenue;7301Ͳ
                                                                                                              Essex,11117Longwood,7616Phillips,6801EastEnd,7301Stewart,7500Eggleston,3030E79th,                                        09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;
                                                                                                              7927Essex,7549Essex,2909E78th,8047Manistee,7749Yates).                                                                        7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7834Ͳ44SEllis
                                                                                                                                                                                                                                                      Avenue;7927Ͳ49SEssexAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;FormerͲ6801SEastEnd;FormerͲ7616Ͳ
                                                                                                                                                                                                                                                      7624 S Phillips Avenue
           JuneͲ22 ClaimsAdministration&Objections        6/22/2022 MR                390 53925.002        telephoneconferencewithK.Duffregardingresolutionofissuesrelatingtodistributionregarding            0.1 $39.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              claimant(7110Cornell,6749Merrill)(.1)



           JuneͲ22 ClaimsAdministration&Objections        6/22/2022 MR                390 53925.003        attentiontocorrespondenceregardingresolutionofissuesrelatingtodistributionregarding                  0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              claimant(7110Cornell,6749Merrill)(.2).



           JuneͲ22 ClaimsAdministration&Objections        6/23/2022 MR                390 53926.001        AttentiontoeͲmailsandfollowupregardingvariousissuesassociatedwithdistributionand                    0.6 $234.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                               2
                                                                                                              resolutionofclaims(6749Merrill,7110Cornell).
           JuneͲ22 ClaimsAdministration&Objections        6/24/2022 MR                390 53927.001        Exchangesandfollowupregardingcourtorderonproperty(6749Merrill).                                        0.2 $78.00 6749Ͳ59SMerrillAvenue                                                                                                                     1

           JuneͲ22 ClaimsAdministration&Objections        6/27/2022 AW                140 53929.001        Continuereviewofclaims(1700Juneway,5001Drexel,6437Kenwood,8100Essex,6001Sacramento,                2.1 $294.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;4520Ͳ26SDrexel                      28
                                                                                                              7026Cornell,7834Ellis,4520Drexel,6250Mozart,7255Euclid,7625EastEnd,6160MLK,7201                                        Boulevard;5001SDrexelBoulevard;6001Ͳ05SSacramentoAvenue;6160Ͳ6212SMartinLutherKingDrive;6250SMozart
                                                                                                              Dorchester,7508Essex,7546Saginaw,7600Kingston,7748Essex,11117Longwood,7616Phillips,                                       Street;6437Ͳ41SKenwoodAvenue;7026Ͳ42SCornellAvenue;7201Ͳ07SDorchesterAvenue;7255Ͳ57SEuclidAvenue;7301Ͳ
                                                                                                              6801EastEnd,7301Stewart,7500Eggleston,3030E79th,7927Essex,7549Essex,2909E78th,8047                                   09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;
                                                                                                              Manistee,7749Yates)(2.1)                                                                                                            7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7834Ͳ44SEllis
                                                                                                                                                                                                                                                     Avenue;7927Ͳ49SEssexAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;FormerͲ6801SEastEnd;FormerͲ7616Ͳ
                                                                                                                                                                                                                                                     7624 S Phillips Avenue
           JuneͲ22 ClaimsAdministration&Objections        6/27/2022 MR                390 53930.001        Attentiontoissuesonclaimant’sitemsincludingissuesonreimbursement(7110Cornell,6749                   0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                               2
                                                                                                              Merrill).
           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 AW                140 53931.001        Reviewclaims(1700Juneway,5001Drexel,6437Kenwood,8100Essex,6001Sacramento,7026                       1.2 $168.00 11117Ͳ11119SLongwoodDrive;1700Ͳ08WJunewayTerrace;2909Ͳ19E78thStreet;3030Ͳ32E79thStreet;4520Ͳ26SDrexel                      28
                                                                                                              Cornell,7834Ellis,4520Drexel,6250Mozart,7255Euclid,7625EastEnd,6160MLK,7201Dorchester,                                  Boulevard;5001SDrexelBoulevard;6001Ͳ05SSacramentoAvenue;6160Ͳ6212SMartinLutherKingDrive;6250SMozart
                                                                                                              7508Essex,7546Saginaw,7600Kingston,7748Essex,11117Longwood,7616Phillips,6801EastEnd,                                     Street;6437Ͳ41SKenwoodAvenue;7026Ͳ42SCornellAvenue;7201Ͳ07SDorchesterAvenue;7255Ͳ57SEuclidAvenue;7301Ͳ
                                                                                                              7301Stewart,7500Eggleston,3030E79th,7927Essex,7549Essex,2909E78th,8047Manistee,                                         09SStewartAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59SEssexAvenue;
                                                                                                              7749Yates)(1.2)                                                                                                                       7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7834Ͳ44SEllis
                                                                                                                                                                                                                                                      Avenue;7927Ͳ49SEssexAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;FormerͲ6801SEastEnd;FormerͲ7616Ͳ
                                                                                                                                                                                                                                                      7624 S Phillips Avenue
           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 AW                140 53931.002        attentiontoclaimants'statusreportonsingleclaimpropertiesandrelatedemailtocounsel(sole            0.1 $14.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              lien)(.1).                                                                                                                             Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                      Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                      ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                      Parnell Avenue; 9610 S Woodlawn Avenue
           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 JRW               260 53932.001        Reviewstatusreportidentifyingsingleclaimproperties,reviewexhibitstoReceiver'sstatusreports          0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1516E85thPlace;2129W71stStreet;2136W83rd                      28
                                                                                                              (solelien)(.1)                                                                                                                        Street;3213SThroopStreet;406E87thPlace;417OglesbyAvenue;6554SRhodesAvenue;6749Ͳ59SMerrillAvenue;6759S
                                                                                                                                                                                                                                                      IndianaAvenue;6825SIndianaAvenue;7110SCornellAvenue;7210SVernonAvenue;7712SEuclidAvenue;7922SLuella
                                                                                                                                                                                                                                                      Avenue;7925SKingstonAvenue;8030SMarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8346S
                                                                                                                                                                                                                                                      ConstanceAvenue;8403SAberdeenStreet;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;9212S
                                                                                                                                                                                                                                                      Parnell Avenue; 9610 S Woodlawn Avenue




                                                                                                                                                                                           69of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 234 of 2195 PageID #:71150


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                              TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                                                     Count
           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 JRW               260 53932.002        correspondencewithJudgeKimregardingpropertyaddress(6749Merrill)(.3)                                   0.3 $78.00 6749Ͳ59SMerrillAvenue                                                                                                                    1




           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 JRW               260 53932.004        reviewandprovidecommentsonspreadsheetregardingpotentialdistribution(6749Merrill,7110               0.2 $52.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2
                                                                                                              Cornell)(.2).



           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 MR                390 53933.001        Attentiontoissuesandcorrespondenceimpactinganalysisofdistributionstoclaimant(7110Cornell,          0.4 $156.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              6749Merrill)(.4)


           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 MR                390 53933.002        participateinconferenceswithK.Duffandclaimant'scounsel(7110Cornell,6749Merrill)(.2)               0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                             2



           JuneͲ22 ClaimsAdministration&Objections        6/28/2022 MR                390 53933.003        variousconferencesandfollowupwithK.Duffregardingpotentialdistributiontoclaimant(7110             0.5 $195.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                              2
                                                                                                              Cornell,6749Merrill)(.5).


           JuneͲ22 ClaimsAdministration&Objections        6/29/2022 AW                140 53934.001        Reviewclaims(8100Essex,7834Ellis,4317Michigan,7237Bennett,7508Essex,8326Ellis,5001               3.9 $546.00 2736Ͳ44W64thStreet;4315Ͳ19SMichiganAvenue;5001SDrexelBoulevard;6355Ͳ59STalmanAvenue;7237Ͳ43SBennett                       9
                                                                                                              Drexel,2736W64th,6355Talman)(3.9)                                                                                               Avenue;7508SEssexAvenue;7834Ͳ44SEllisAvenue;8100SEssexAvenue;8326Ͳ58SEllisAvenue

           JuneͲ22 ClaimsAdministration&Objections        6/29/2022 JRW               260 53935.001        Telephoneconferencewithclaimants'counselregardingEBdocumentdatabaseexportandrelated                 0.3 $78.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                              correspondencetovendor(all108)(.3)                                                                                                 Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                     1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                     E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                     406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                     CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                     52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                     92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                     Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                     VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                     MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                     CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                     7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                     CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                     59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                     Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                     MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                     KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                     8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                     Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                     Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                     MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                     Avenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/29/2022 JRW               260 53935.002        conferencecallwithclaimants'counselandvendorsregardingreprocessingofdata(all108)(.5)               0.5 $130.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                  108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue




                                                                                                                                                                                         70of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 235 of 2195 PageID #:71151


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                             TaskHours   TaskCost                                                          PropertyAllocation                                                         Property
                                                                                                                                                                                                                                                                                                                                                                                  Allocation
                                                                                                                                                                                                                                                                                                                                                                                    Count
           JuneͲ22 ClaimsAdministration&Objections        6/29/2022 JRW               260 53935.003        followupcallwithT.Galeregardingdocumentdatabaseanddata(all108)(.1).                               0.1 $26.00 10012SLaSalleAvenue;1017W102ndStreet;1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79th                 108
                                                                                                                                                                                                                                                    Place;11318SChurchStreet;1401W109thPlace;1414Ͳ18East62ndPlace;1422Ͳ24East68thStreet;1516E85thPlace;
                                                                                                                                                                                                                                                    1700Ͳ08WJunewayTerrace;2129W71stStreet;2136W83rdStreet;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19
                                                                                                                                                                                                                                                    E78thStreet;3030Ͳ32E79thStreet;3074ECheltenhamPlace;310E50thStreet;3213SThroopStreet;3723W68thPlace;
                                                                                                                                                                                                                                                    406E87thPlace;417OglesbyAvenue;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26SDrexelBoulevard;4533Ͳ47S
                                                                                                                                                                                                                                                    CalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexelBoulevard;5437SLaflinStreet;5450Ͳ
                                                                                                                                                                                                                                                    52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;6001Ͳ05SSacramentoAvenue;61E
                                                                                                                                                                                                                                                    92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250SMozartStreet;6355Ͳ59STalman
                                                                                                                                                                                                                                                    Avenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;6554SRhodesAvenue;6554Ͳ58S
                                                                                                                                                                                                                                                    VernonAvenue;6749Ͳ59SMerrillAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825SIndianaAvenue;6949Ͳ59S
                                                                                                                                                                                                                                                    MerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19S
                                                                                                                                                                                                                                                    CalumetAvenue;7110SCornellAvenue;7201SConstanceAvenue;7201Ͳ07SDorchesterAvenue;7210SVernonAvenue;
                                                                                                                                                                                                                                                    7237Ͳ43SBennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54S
                                                                                                                                                                                                                                                    CalumetAvenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ
                                                                                                                                                                                                                                                    59SEssexAvenue;7600Ͳ10SKingstonAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7656Ͳ58SKingston
                                                                                                                                                                                                                                                    Avenue;7701Ͳ03SEssexAvenue;7712SEuclidAvenue;7748Ͳ52SEssexAvenue;7749Ͳ59SYatesBoulevard;7750Ͳ58S
                                                                                                                                                                                                                                                    MuskegonAvenue;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7922SLuellaAvenue;7925S
                                                                                                                                                                                                                                                    KingstonAvenue;7927Ͳ49SEssexAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;
                                                                                                                                                                                                                                                    8000Ͳ02SJustineStreet;8030SMarquetteAvenue;8047Ͳ55SManisteeAvenue;8100SEssexAvenue;8104SKingston
                                                                                                                                                                                                                                                    Avenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                    Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405S
                                                                                                                                                                                                                                                    MarquetteAvenue;8432SEssexAvenue;8517SVernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnell
                                                                                                                                                                                                                                                    Avenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/29/2022 MR                390 53936.001        Attentiontovariousissuesregardingreportsanditemsforresolutionofissueswithclaimant(7110          0.2 $78.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2
                                                                                                              Cornell,6749Merrill)(.2)




           JuneͲ22 ClaimsAdministration&Objections        6/29/2022 MR                390 53936.002        attentiontoissuesonclaimant'sproperties(10012LaSalle,1017W102nd,11318Church,1401W              0.2 $78.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                42
                                                                                                              109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W68th,406E87th,                                      Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825Indiana,7210                                     Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933Kingston,7953                                   IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,8209Ellis,8214                                   LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517Vernon,8529Rhodes,                                      MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8800Ada,9212Parnell,9610Woodlawn)(.2).                                                                                          InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                    VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue
           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 AW                140 53937.001        Reviewclaims(8100Essex,7508Essex,2736W64th,6355Talman,7549Essex,2909E78th,8047                4.8 $672.00 2736Ͳ44W64thStreet;2909Ͳ19E78thStreet;6355Ͳ59STalmanAvenue;7508SEssexAvenue;7549Ͳ59SEssexAvenue;8047Ͳ                7
                                                                                                              Manistee)(4.8)                                                                                                                      55SManisteeAvenue;8100SEssexAvenue


           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 AW                140 53937.003        respondtoclaimantregardinganticipatedruling(Group1)(.1)                                               0.1 $14.00 3074ECheltenhamPlace;7201SConstanceAvenue;7625Ͳ33SEastEndAvenue;7635Ͳ43SEastEndAvenue;7750Ͳ58S                      5
                                                                                                                                                                                                                                                    MuskegonAvenue


           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 JRW               260 53938.001        ConferwithK.DuffandM.Rachlisregardinganalysisofclaims(10012LaSalle,1017W102nd,11318           0.4 $104.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                 42
                                                                                                              Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723W                                        Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,6825                                Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,7933                                   IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107Kingston,                                    LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,8517                                         MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.4)                                                                     InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                   VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 JRW               260 53938.003        reviewandcommentonspreadsheetandcorrespondencetoclaimants'counsel(6749Merrill,7110               0.1 $26.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                         2
                                                                                                              Cornell)(.1).




                                                                                                                                                                                        71of72
                                                              Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 236 of 2195 PageID #:71152


EquityBuildͲFeeApplicationPropertyAllocationProject
FeeApplication16PropertyAllocationDetails
August112022

  InvoiceMonth                 BillingCategory            EntryDate   TimeKeeper   Rate   TaskEntryID                                              TaskDescription                                                 TaskHours   TaskCost                                                         PropertyAllocation                                                           Property
                                                                                                                                                                                                                                                                                                                                                                                       Allocation
                                                                                                                                                                                                                                                                                                                                                                                         Count
           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 JRW               260 53939.001        TelephoneconferencewithA.Watychowiczregardingclaimsreviewissues(1102Bingham,11117                      0.2 $52.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                       75
                                                                                                              Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700WJuneway,2736W64th,                                              Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E42nd,4315Michigan,4520                                          Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,5450Indiana,5618MLK,                                       DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,6250Mozart,6355                                                Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,6949Merrill,701S                                       6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,7237Bennett,7255                                          MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500Eggleston,7508Essex,7546                                      6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748Essex,7749Yates,7760Coles,                                       7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,7957Marquette,8000Justine,                                          BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              8047Manistee,8100Essex,8107Ellis,816EMarquette,8201Kingston,8209Ellis,8214Ingleside,                                       Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              8326Ellis,8405Marquette,8800Ada).                                                                                                    EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                        7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                        7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                        Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                        Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 JRW               260 53940.001        Researchindocumentdatabaseregardingrolloversandreturnofprincipalandotherclaimsreview                 1.5 $390.00 1102Bingham(Houston,TX);11117Ͳ11119SLongwoodDrive;1131Ͳ41E79thPlace;1401W109thPlace;1414Ͳ18East62nd                        75
                                                                                                              issues(1102Bingham,11117Longwood,1131E79th,1401W109th,1414E62nd,1422E68th,1700                                         Place;1422Ͳ24East68thStreet;1700Ͳ08WJunewayTerrace;2736Ͳ44W64thStreet;2800Ͳ06E81stStreet;2909Ͳ19E78th
                                                                                                              WJuneway,2736W64th,2800E81st,2909E78th,3030E79th,310E50th,3723W68th,431E                                           Street;3030Ͳ32E79thStreet;310E50thStreet;3723W68thPlace;431E42ndPlace;4315Ͳ19SMichiganAvenue;4520Ͳ26S
                                                                                                              42nd,4315Michigan,4520Drexel,4533Calumet,4611Drexel,4750Indiana,5001Drexel,5437Laflin,                                    DrexelBoulevard;4533Ͳ47SCalumetAvenue;4611Ͳ17SDrexelBoulevard;4750Ͳ52SIndianaAvenue;5001SDrexel
                                                                                                              5450Indiana,5618MLK,5955Sacramento,6001Sacramento,61E92nd,6160MLK,6217Dorchester,                                         Boulevard;5437SLaflinStreet;5450Ͳ52SIndianaAvenue;5618Ͳ20SMartinLutherKingDrive;5955SSacramentoAvenue;
                                                                                                              6250Mozart,6355Talman,6356California,638NAvers,6437Kenwood,6554Vernon,6807Indiana,                                        6001Ͳ05SSacramentoAvenue;61E92ndStreet;6160Ͳ6212SMartinLutherKingDrive;6217Ͳ27SDorchesterAvenue;6250S
                                                                                                              6949Merrill,701S5th,7024Paxton,7026Cornell,7051Bennett,7109Calumet,7201Dorchester,                                        MozartStreet;6355Ͳ59STalmanAvenue;6356SCaliforniaAvenue;638Ͳ40NAversAvenue;6437Ͳ41SKenwoodAvenue;
                                                                                                              7237Bennett,7255Euclid,7300StLawrence,7301Stewart,7442Calumet,7450Luella,7500                                              6554Ͳ58SVernonAvenue;6807SIndianaAvenue;6949Ͳ59SMerrillAvenue;701Ͳ13S5thAvenue;7024Ͳ32SPaxtonAvenue;
                                                                                                              Eggleston,7508Essex,7546Saginaw,7549Essex,7600Kingston,7656Kingston,7701Essex,7748                                         7026Ͳ42SCornellAvenue;7051SBennettAvenue;7109Ͳ19SCalumetAvenue;7201Ͳ07SDorchesterAvenue;7237Ͳ43S
                                                                                                              Essex,7749Yates,7760Coles,7834Ellis,7840Yates,7927Essex,7933Kingston,7953Woodlawn,                                        BennettAvenue;7255Ͳ57SEuclidAvenue;7300Ͳ04SStLawrenceAvenue;7301Ͳ09SStewartAvenue;7442Ͳ54SCalumet
                                                                                                              7957Marquette,8000Justine,8047Manistee,8100Essex,8107Ellis,816EMarquette,8201                                              Avenue;7450SLuellaAvenue;7500Ͳ06SEgglestonAvenue;7508SEssexAvenue;7546Ͳ48SSaginawAvenue;7549Ͳ59S
                                                                                                              Kingston,8209Ellis,8214Ingleside,8326Ellis,8405Marquette,8800Ada).                                                             EssexAvenue;7600Ͳ10SKingstonAvenue;7656Ͳ58SKingstonAvenue;7701Ͳ03SEssexAvenue;7748Ͳ52SEssexAvenue;
                                                                                                                                                                                                                                                       7749Ͳ59SYatesBoulevard;7760SColesAvenue;7834Ͳ44SEllisAvenue;7840Ͳ42SYatesAvenue;7927Ͳ49SEssexAvenue;
                                                                                                                                                                                                                                                       7933SKingstonAvenue;7953SWoodlawnAvenue;7957Ͳ59SMarquetteRoad;8000Ͳ02SJustineStreet;8047Ͳ55SManistee
                                                                                                                                                                                                                                                       Avenue;8100SEssexAvenue;8107Ͳ09SEllisAvenue;816Ͳ22EMarquetteRoad;8201SKingstonAvenue;8209SEllis
                                                                                                                                                                                                                                                       Avenue;8214Ͳ16SInglesideAvenue;8326Ͳ58SEllisAvenue;8405SMarquetteAvenue;8800SAdaStreet

           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 MR                390 53941.001        Attentiontovariousissuesregardingclaimant'spotentialdistribution(7110Cornell,6749Merrill)(.3)          0.3 $117.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                               2




           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 MR                390 53941.002        conferenceswithK.Duffregardingpotentialdistribution(7110Cornell,6749Merrill)(.7)                       0.7 $273.00 6749Ͳ59SMerrillAvenue;7110SCornellAvenue                                                                                               2




           JuneͲ22 ClaimsAdministration&Objections        6/30/2022 MR                390 53941.003        conferencesregardingclaimant'spropertieswithK.DuffandJ.Wine(10012LaSalle,1017W102nd,               0.4 $156.00 10012SLaSalleAvenue;1017W102ndStreet;11318SChurchStreet;1401W109thPlace;1516E85thPlace;2129W71st                       42
                                                                                                              11318Church,1401W109th,1516E85th,2129W71st,2136W83rd,310E50th,3213Throop,3723                                        Street;2136W83rdStreet;310E50thStreet;3213SThroopStreet;3723W68thPlace;406E87thPlace;417Oglesby
                                                                                                              W68th,406E87th,417Oglesby,5437Laflin,61E92nd,6554Rhodes,6759Indiana,6807Indiana,                                       Avenue;5437SLaflinStreet;61E92ndStreet;6554SRhodesAvenue;6759SIndianaAvenue;6807SIndianaAvenue;6825S
                                                                                                              6825Indiana,7210Vernon,7300StLawrence,7712Euclid,7760Coles,7922Luella,7925Kingston,                                       IndianaAvenue;7210SVernonAvenue;7300Ͳ04SStLawrenceAvenue;7712SEuclidAvenue;7760SColesAvenue;7922S
                                                                                                              7933Kingston,7953Woodlawn,8000Justine,8030Marquette,8104Kingston,8107Ellis,8107                                             LuellaAvenue;7925SKingstonAvenue;7933SKingstonAvenue;7953SWoodlawnAvenue;8000Ͳ02SJustineStreet;8030S
                                                                                                              Kingston,8209Ellis,8214Ingleside,8346Constance,8403Aberdeen,8405Marquette,8432Essex,                                        MarquetteAvenue;8104SKingstonAvenue;8107SKingstonAvenue;8107Ͳ09SEllisAvenue;8209SEllisAvenue;8214Ͳ16S
                                                                                                              8517Vernon,8529Rhodes,8800Ada,9212Parnell,9610Woodlawn)(.4).                                                                  InglesideAvenue;8346SConstanceAvenue;8403SAberdeenStreet;8405SMarquetteAvenue;8432SEssexAvenue;8517S
                                                                                                                                                                                                                                                       VernonAvenue;8529SRhodesAvenue;8800SAdaStreet;9212SParnellAvenue;9610SWoodlawnAvenue




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                 Exhibit 1
                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 238 of 2195 PageID #:71154
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                        1700-08 W Juneway Terrace
General Allocation % (Pre 01/29/21):                                                 3.5094030%
General Allocation % (01/29/21 Onward, Claims Only):                            3.7703605360%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     1        1700-08 W Juneway Terrace                                                      3.29     $                 805.28                          33.40    $            4,746.44                36.69    $              5,551.72
                 Asset Disposition [4]                                                        0.01    $                     1.47                          0.04   $                  5.09                0.05   $                     6.56
                 Business Operations [5]                                                      1.95    $                  509.00                           0.37   $                 52.41                2.32   $                   561.41
                 Claims Administration & Objections [6]                                       1.33    $                  294.80                          32.99   $               4,688.94              34.32   $                  4,983.75




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1700-08 W Juneway Terrace                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    33.40
Specific Allocation Fees:         $        4,746.44



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/06/22 KBD             390 Exchange correspondence with J. Wine and J. Rak regarding claims analysis (1700 Juneway,                 0.3         0.06      $23.40
               Administration                                          5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.3)
               & Objections

April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545          $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Claims                     04/06/22 AW              140 Upload claims files for J. Rak review (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK,                 0.3         0.06       $8.40
               Administration                                          6949 Merrill).
               & Objections

April 2022     Claims                     04/06/22 JR              140 Conference with J. Wine and K. Duff related to claimant document review and next steps                   0.8         0.16      $22.40
               Administration                                          pertaining to same (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill).
               & Objections




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
April 2022   Claims                  04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
             Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                  7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                  8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022   Claims                  04/07/22 JR              140 extensive review of claims (1700 Juneway) (4.8).                                                         4.8          4.8     $672.00
             Administration
             & Objections

April 2022   Claims                  04/07/22 JR              140 update excel spreadsheets related to claimant supporting document review for properties                  0.5          0.1      $14.00
             Administration                                       (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.5)
             & Objections

April 2022   Claims                  04/08/22 JR              140 Extensive review of claims for property, update spreadsheet, compile proof of claim                      3.3          3.3     $462.00
             Administration                                       documents, save in electronic file (1700 Juneway).
             & Objections

April 2022   Claims                  04/12/22 JR              140 Extensive review of claims for property, update spreadsheet, compile proof of claim                      4.5          4.5     $630.00
             Administration                                       documents, save in electronic file (1700 Juneway).
             & Objections

April 2022   Claims                  04/13/22 JR              140 Extensive review of claims for property, update spreadsheet, compile proof of claim                      3.8          3.8     $532.00
             Administration                                       documents, save in electronic file (1700 Juneway).
             & Objections

April 2022   Claims                  04/15/22 AW              140 communicate with J. Wine regarding claims process (1700 Juneway, 5450 Indiana, 7749                      0.1         0.02       $2.80
             Administration                                       Yates, 6160 MLK, 6949 Merrill) (.1).
             & Objections




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
April 2022   Claims                  04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                 0.2 0.0018519          $0.48
             Administration                                       revision of notice email to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                     0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                  04/18/22 JR              140 extensive review of claims for property, update claimant spreadsheet with pertinent                  3.3          3.3     $462.00
             Administration                                       information and save various supporting documents in electronic files (1700 Juneway) (3.3).
             & Objections

April 2022   Claims                  04/19/22 AW              140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259          $0.13
             Administration                                       (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW             260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259          $0.24
             Administration                                       hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW             260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259          $0.24
             Administration                                       (.1)
             & Objections

April 2022   Claims                  04/20/22 AW              140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519          $0.26
             Administration                                       exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW              140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778          $0.39
             Administration                                       change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW              140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW             260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519          $0.48
             Administration                                       communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
April 2022   Claims                  04/20/22 MR              390 Review order and email regarding status conference (all108) (.1)                                      0.1 0.0009259          $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW              140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW              140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW              140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111          $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW             260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556          $1.44
             Administration                                       claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/21/22 JRW             260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259          $0.24
             Administration                                       (all108) (.1)
             & Objections

April 2022   Claims                  04/22/22 AW              140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW              140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JR              140 Extensive review of claims property, update claimant spreadsheet with pertinent information           1.3          1.3     $182.00
             Administration                                       and save various supporting documents in electronic files (1700 Juneway).
             & Objections

April 2022   Claims                  04/25/22 JRW             260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519          $0.48
             Administration                                       regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections




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1700-08 W Juneway Terrace                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                    0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.              0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                 0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022    Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
            Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
            & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022    Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
            Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
            & Objections

May 2022    Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
            Administration                                    process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
            Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections




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1700-08 W Juneway Terrace                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022    Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
            Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
            & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022    Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
            Administration
            & Objections

May 2022    Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
            Administration
            & Objections

May 2022    Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
May 2022    Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
            Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
            & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                  2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
            Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                  (.2)

May 2022    Asset                    05/05/22 KMP             140 Review banking records to verify receipt of post-sale reconciliation funds and related               0.4 0.0363636          $5.09
            Disposition                                           communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                                  4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                                  7450 Luella, 7508 Essex).
May 2022    Business                 05/04/22 JR              140 review master property reporting spreadsheet for all of 2021 and further communication               0.9         0.09      $12.60
            Operations                                            with E. Duff and K. Pritchard regarding post-closing reconciliation, review bank statements
                                                                  for same and request confirmation of post-consolidation funds as they relate to property
                                                                  reporting from K. Pritchard (1700 Juneway, 3074 Cheltenham, 4520 Drexel, 5450 Indiana,
                                                                  6437 Kenwood, 7051 Bennett, 7110 Cornell, 7201 Constance, 7450 Luella, 7508 Essex) (.9).




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1700-08 W Juneway Terrace                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022    Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
            Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
            & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022    Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
            Administration
            & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 248 of 2195 PageID #:71164
1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
May 2022    Claims                   05/05/22 MR              390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074          $2.89
            Administration                                        hearing (all108) (.8)
            & Objections

May 2022    Claims                   05/06/22 AW              140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815          $0.91
            Administration
            & Objections

May 2022    Claims                   05/06/22 AW              140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259          $0.13
            Administration
            & Objections

May 2022    Claims                   05/06/22 JR              140 Extensive review of claims for property, update claimant spreadsheet with pertinent                     5.3          5.3     $742.00
            Administration                                        information and save various supporting documents in electronic files (1700 Juneway).
            & Objections

May 2022    Claims                   05/06/22 JRW             260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815          $1.69
            Administration
            & Objections

May 2022    Claims                   05/06/22 JRW             260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667          $0.69
            Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022    Claims                   05/06/22 JRW             260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074          $1.93
            Administration                                        regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections

May 2022    Claims                   05/06/22 JRW             260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519          $0.48
            Administration
            & Objections




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2022    Claims                   05/06/22 JRW             260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                0.3 0.0027778          $0.72
            Administration                                        (all108) (.3)
            & Objections

May 2022    Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296          $1.20
            Administration                                        of claims (all108) (.5).
            & Objections

May 2022    Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963        $5.06
            Administration
            & Objections

May 2022    Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259          $0.36
            Administration
            & Objections

May 2022    Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778          $0.39
            Administration
            & Objections

May 2022    Claims                   05/09/22 JR              140 Extensive review of claims for property, update claimant spreadsheet with pertinent                    6.5         3.25     $455.00
            Administration                                        information and save various supporting documents in electronic files (1700 Juneway, 5450
            & Objections                                          Indiana).

May 2022    Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333          $1.31
            Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022    Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519          $0.26
            Administration
            & Objections




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
May 2022    Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)               0.6       0.008       $1.12
            Administration
            & Objections

May 2022    Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and              0.2 0.0026667         $0.37
            Administration                                        respond accordingly (all) (.2).
            & Objections

May 2022    Claims                   05/10/22 JRW             260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
            Administration                                        correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
            & Objections                                          development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                  1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                  78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022    Claims                   05/10/22 MR              390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
            Administration
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022    Claims                   05/11/22 AW              140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.9       0.012       $1.68
            Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.9)

May 2022    Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
            Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931      $33.31
            Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
            & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                  Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                  Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                  Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                  Marquette, 7927 Essex).




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
May 2022    Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent               4.8          0.2      $28.00
            Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
            & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                  Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                  Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                  7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022    Claims                   05/18/22 AW              140 Communicate with J. Wine regarding counsel for institutional lender (1700 Juneway, 6949             0.1         0.05       $7.00
            Administration                                        Merrill) (.1)
            & Objections

May 2022    Claims                   05/18/22 AW              140 prepare files for download and email exchanges with counsel regarding same (1700                    0.3          0.3      $42.00
            Administration                                        Juneway) (.3).
            & Objections

May 2022    Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                  0.1 0.0009259          $0.13
            Administration
            & Objections

May 2022    Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                    0.2 0.0018519          $0.26
            Administration
            & Objections

May 2022    Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent               6.8 0.3578947         $50.11
            Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
            & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                  7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                  7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022    Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                         0.1 0.0009259          $0.24
            Administration
            & Objections

May 2022    Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).               0.1 0.0009259          $0.24
            Administration
            & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 253 of 2195 PageID #:71169
1700-08 W Juneway Terrace                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022   Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
            Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
            Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
            & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
            Administration                                    (all108) (.2)
            & Objections

June 2022   Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
            Administration                                    regarding claims process issues (all108).
            & Objections

June 2022   Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
            Administration                                    issues (all108) (.2)
            & Objections




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022   Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
            Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
            Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
            & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                  78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
            Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                  Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                  7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                  Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 255 of 2195 PageID #:71171
1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022   Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
            Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
            Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022   Claims                   06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364        $36.91
            Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
            & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2022   Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
            Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022   Claims                   06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818         $30.55
            Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
            & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022   Claims                   06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
            Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022   Claims                   06/09/22 AW              140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
            Administration                                        End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
            & Objections                                          1700 Juneway) (3.6)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022   Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
            Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
            & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022   Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
            Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
            & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022   Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
            Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
            Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022   Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
            Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
            & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                  Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                  Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                  (4.1)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022   Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
            Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
            Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
            & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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1700-08 W Juneway Terrace                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022   Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
            Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
            & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
            Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022   Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
            Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
            Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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1700-08 W Juneway Terrace                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022   Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
            Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
            & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022   Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
            Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022   Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
            Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
            Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
            & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
            Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
            & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                  Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                  Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                  7749 Yates).
June 2022   Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
            Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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1700-08 W Juneway Terrace                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022   Claims                   06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
            Administration                                    7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
            & Objections                                      7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                              7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                              Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022   Claims                   06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                   06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
            Administration                                    related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
            Administration                                    (.5)
            & Objections

June 2022   Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
            Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022   Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
            Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
            & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          4533-47 S Calumet Avenue
General Allocation % (Pre 01/29/21):                                                 2.6571194%
General Allocation % (01/29/21 Onward, Claims Only):                            2.8547015487%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     2        4533-47 S Calumet Avenue                                                       2.49     $                 609.71                            4.35     $             713.89              6.84    $              1,323.60
                 Asset Disposition [4]                                                        0.01    $                     1.12                               -   $                -                 0.01   $                    1.12
                 Business Operations [5]                                                      1.47    $                  385.39                           0.88     $             172.41               2.36   $                  557.80
                 Claims Administration & Objections [6]                                       1.01    $                  223.21                           3.47     $             541.47               4.48   $                  764.68




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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4533-47 S Calumet Avenue                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    4.35
Specific Allocation Fees:         $         713.89



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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4533-47 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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4533-47 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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4533-47 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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4533-47 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2022     Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                              2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                              3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                              (.2)

May 2022     Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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4533-47 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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4533-47 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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4533-47 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections




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4533-47 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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4533-47 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2022     Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                       claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                         Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                  Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                  Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                  Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                  Marquette, 7927 Essex).
May 2022     Claims                  05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                       claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                         Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                  Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                  Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                  7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                  05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
             Administration                                       claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                         Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                  6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                  7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                  Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections




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  Invoice                                           Time                                                                                                                      Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
May 2022     Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                      0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                  05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 0.8 0.0571429          $8.00
             Administration                                       claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                         4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                  7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                  05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947         $50.11
             Administration                                       claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                         7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                  7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                  7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022     Claims                  05/26/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 4.9      0.6125       $85.75
             Administration                                       claimant's information for properties (5450 Indiana, 8326 Ellis, 7749 Yates, 7442 Calumet,
             & Objections                                         4533 Calumet, 4611 Drexel, 701 S 5th, 7237 Bennett).

May 2022     Claims                  05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                           0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                 0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                  05/27/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 4.9         0.49      $68.60
             Administration                                       claimant's information for properties (7749 Yates, 7442 Calumet, 4533 Calumet, 4611 Drexel,
             & Objections                                         6801 East End, 701 S 5th., 7237 Bennett, 7500 Eggleston, 3030 E 79th, 7301 Stewart).

June 2022    Business                06/13/22 KBD             390 Correspondence with J. Wine regarding municipal code violation notice and related                     0.1          0.1      $39.00
             Operations                                           communication with City ownership dispute division (4533 Calumet).




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
June 2022    Claims                  06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667          $1.04
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333          $0.52
             Administration                                       investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                         1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                  78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                06/13/22 JRW             260 Correspondence with K. Duff regarding notice of municipal code violation and related                  0.2          0.2      $52.00
             Operations                                           correspondence to city ownership dispute division (4533 Calumet).
June 2022    Business                06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                0.2 0.0117647          $1.65
             Operations                                           (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                  5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                  Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022    Business                06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765         $47.76
             Operations                                           insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                  W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                  Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                  7109 Calumet) (5.8)




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4533-47 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Business                06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                           update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                  64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                  6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                  Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                  Kingston, 8326 Ellis) (6.4).

June 2022    Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.3)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.2 0.2137931        $29.93
             Administration                                       claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                         7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                  638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                  6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                  Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.8 0.2636364        $36.91
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)

June 2022    Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667         $2.05
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8 0.2181818        $30.55
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)




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4533-47 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                  06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                   upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                     1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                              79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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4533-47 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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4533-47 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                         W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                  Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                  5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                  Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                  Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                  7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                  7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                  Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                  Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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4533-47 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                  06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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4533-47 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                      0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                       related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                       (.5)
             & Objections

June 2022    Claims                  06/30/22 JRW             260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 289 of 2195 PageID #:71205
4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                             5001 S Drexel Boulevard
General Allocation % (Pre 01/29/21):                                                 3.5094030%
General Allocation % (01/29/21 Onward, Claims Only):                            3.7703605360%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     3        5001 S Drexel Boulevard                                                        3.29     $                 805.28                            2.03     $             358.18              5.32    $              1,163.47
                 Asset Disposition [4]                                                        0.01    $                     1.47                               -   $                -                 0.01   $                    1.47
                 Business Operations [5]                                                      1.95    $                  509.00                           0.24     $              33.44               2.19   $                  542.45
                 Claims Administration & Objections [6]                                       1.33    $                  294.80                           1.79     $             324.74               3.12   $                  619.54




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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5001 S Drexel Boulevard                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.03
Specific Allocation Fees:         $         358.18



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 292 of 2195 PageID #:71208
5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 293 of 2195 PageID #:71209
5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 294 of 2195 PageID #:71210
5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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5001 S Drexel Boulevard                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections




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5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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5001 S Drexel Boulevard                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
             Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                   Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                   7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                   Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)




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5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)




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5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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5001 S Drexel Boulevard                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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  Invoice                                            Time                                                                                                                        Allocated    Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333          $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 communicate with J. Wine regarding classification of claims (4520 Drexel, 5001 Drexel) (.2).            0.2          0.1      $14.00
             Administration
             & Objections

June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286         $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667          $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated    Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/13/22 JRW         260 confer with A. Watychowicz regarding claims against properties and related review of prior              0.3         0.15      $39.00
             Administration                                    analysis (4520 Drexel, 5001 Drexel) (.3)
             & Objections

June 2022    Claims                   06/14/22 AW          140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571          $6.00
             Administration                                    Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                      6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                               Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                               Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004        $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667          $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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5001 S Drexel Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                    7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                      7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                               7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                               Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 AW          140 Review claims (8100 Essex, 7834 Ellis, 4317 Michigan, 7237 Bennett, 7508 Essex, 8326 Ellis,            3.9 0.4333333        $60.67
             Administration                                    5001 Drexel, 2736 W 64th, 6355 Talman) (3.9)
             & Objections

June 2022    Claims                   06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                    related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 314 of 2195 PageID #:71230
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                           5450-52 S Indiana Avenue
General Allocation % (Pre 01/29/21):                                                 2.2560448%
General Allocation % (01/29/21 Onward, Claims Only):                            2.4238032017%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     4        5450-52 S Indiana Avenue                                                       2.11     $                 517.68                          19.71    $            2,918.23                21.82    $              3,435.91
                 Asset Disposition [4]                                                        0.01    $                     0.95                          0.04   $                  5.09                0.04   $                     6.04
                 Business Operations [5]                                                      1.25    $                  327.22                           0.73   $                101.82                1.98   $                   429.04
                 Claims Administration & Objections [6]                                       0.86    $                  189.52                          18.95   $               2,811.32              19.80   $                  3,000.84




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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5450-52 S Indiana Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    19.71
Specific Allocation Fees:         $        2,918.23



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/06/22 KBD             390 Exchange correspondence with J. Wine and J. Rak regarding claims analysis (1700 Juneway,                 0.3         0.06      $23.40
               Administration                                          5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.3)
               & Objections

April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545          $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Claims                     04/06/22 AW              140 Upload claims files for J. Rak review (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK,                 0.3         0.06       $8.40
               Administration                                          6949 Merrill).
               & Objections

April 2022     Claims                     04/06/22 JR              140 Conference with J. Wine and K. Duff related to claimant document review and next steps                   0.8         0.16      $22.40
               Administration                                          pertaining to same (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill).
               & Objections




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5450-52 S Indiana Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
April 2022   Claims                  04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
             Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                  7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                  8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022   Claims                  04/07/22 JR              140 update excel spreadsheets related to claimant supporting document review for properties                  0.5          0.1      $14.00
             Administration                                       (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.5)
             & Objections

April 2022   Claims                  04/15/22 AW              140 communicate with J. Wine regarding claims process (1700 Juneway, 5450 Indiana, 7749                      0.1         0.02       $2.80
             Administration                                       Yates, 6160 MLK, 6949 Merrill) (.1).
             & Objections

April 2022   Claims                  04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
             Administration                                       revision of notice email to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                  04/18/22 JRW             260 review and analyze documents produced pursuant to subpoena (5450 Indiana, 6217                           0.8 0.1333333         $34.67
             Administration                                       Dorchester, 6356 California, 6949 Merrill, 701 S 5th, 7600 Kingston) (.8).
             & Objections

April 2022   Claims                  04/19/22 AW              140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259          $0.13
             Administration                                       (all108) (.1).
             & Objections




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5450-52 S Indiana Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                           Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
May 2022     Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                  2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                  (.2)

May 2022     Asset                   05/05/22 KMP             140 Review banking records to verify receipt of post-sale reconciliation funds and related               0.4 0.0363636          $5.09
             Disposition                                          communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                                  4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                                  7450 Luella, 7508 Essex).
May 2022     Business                05/04/22 JR              140 review master property reporting spreadsheet for all of 2021 and further communication               0.9         0.09      $12.60
             Operations                                           with E. Duff and K. Pritchard regarding post-closing reconciliation, review bank statements
                                                                  for same and request confirmation of post-consolidation funds as they relate to property
                                                                  reporting from K. Pritchard (1700 Juneway, 3074 Cheltenham, 4520 Drexel, 5450 Indiana,
                                                                  6437 Kenwood, 7051 Bennett, 7110 Cornell, 7201 Constance, 7450 Luella, 7508 Essex) (.9).




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2022     Claims                  05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296          $1.20
             Administration                                       of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963        $5.06
             Administration
             & Objections

May 2022     Claims                  05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778          $0.39
             Administration
             & Objections

May 2022     Claims                  05/09/22 JR              140 Extensive review of claims for property, update claimant spreadsheet with pertinent                    6.5         3.25     $455.00
             Administration                                       information and save various supporting documents in electronic files (1700 Juneway, 5450
             & Objections                                         Indiana).

May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333          $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 extensive review of claims for property, update claimant spreadsheet with pertinent                    5.3          5.3     $742.00
             Administration                                       information (5450 Indiana) (5.3)
             & Objections




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5450-52 S Indiana Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)               0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and              0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections

May 2022     Claims                  05/10/22 JRW             260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                       correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                         development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                  1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                  78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR              390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/11/22 AW              140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.9       0.012       $1.68
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.9)

May 2022     Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/13/22 JR              140 extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.3 0.4714286        $66.00
             Administration                                       information (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
             & Objections                                         Manistee, 2909 E 78th) (3.3).

May 2022     Claims                  05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931      $33.31
             Administration                                       claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                         Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                  Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                  Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                  Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                  Marquette, 7927 Essex).




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  Invoice                                           Time                                                                                                                      Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
May 2022     Claims                  05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 3.9       0.325       $45.50
             Administration                                       claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
             & Objections                                         Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                  7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022     Claims                  05/19/22 JR              140 Extensive review of claims for property, update claimant spreadsheet with pertinent                   2.1          2.1     $294.00
             Administration                                       claimant's information for property (5450 Indiana).
             & Objections

May 2022     Claims                  05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 4.9 0.1884615         $26.38
             Administration                                       claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                         Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                  6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                  7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                  Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                    0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                      0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                  05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 0.8 0.0571429          $8.00
             Administration                                       claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                         4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                  7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                  05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947         $50.11
             Administration                                       claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                         7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                  7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                  7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022     Claims                  05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 5.3 0.4076923         $57.08
             Administration                                       claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                         7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                  Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022     Claims                  05/26/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 4.9      0.6125       $85.75
             Administration                                       claimant's information for properties (5450 Indiana, 8326 Ellis, 7749 Yates, 7442 Calumet,
             & Objections                                         4533 Calumet, 4611 Drexel, 701 S 5th, 7237 Bennett).




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/21/22 KBD             390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
             Administration                                       regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                       issues (all108) (.2)
             & Objections

June 2022    Claims                  06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                       investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                         1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                  78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765        $47.76
             Operations                                           insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                  W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                  Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                  7109 Calumet) (5.8)




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  Invoice                                           Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2022    Business                06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                  0.2 0.0117647          $1.65
             Operations                                           (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                  5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                  Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022    Business                06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889         $33.44
             Operations                                           update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                  Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                  7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                  Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022    Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
             Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7          0.3      $42.00
             Administration                                       claimant’s information for properties (5201 Washington, 7616 Phillips, 109 Laramie, 5450
             & Objections                                         Indiana, 7750 Muskegon, 2736 W 64th, 7201 Constance, 7635 East End, 6001 Sacramento).




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  Invoice                                           Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2022    Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931         $29.93
             Administration                                       claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                         7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                  638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                  6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                  Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                  06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
             Administration                                       claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                         Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                  Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                  06/07/22 JR              140 communication with J. Wine relating to progress of claim review and additional instructions             0.4          0.4      $56.00
             Administration                                       regarding same (5450 Indiana) (.4).
             & Objections

June 2022    Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364         $36.91
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
June 2022    Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 JR              140 communication with J. Wine and A. Watychowicz regarding progress of claim review and                   0.9          0.9     $126.00
             Administration                                       additional instructions regarding updates to claim numbers pertaining to an EBF Mortgagee
             & Objections                                         spreadsheet for property (5450 Indiana) (.9)

June 2022    Claims                  06/08/22 JR              140 update claim numbers including property numbers for all claims related to EBF Mortgagee                1.4          1.4     $196.00
             Administration                                       spreadsheet (5450 Indiana) (1.4).
             & Objections

June 2022    Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8 0.2181818         $30.55
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                  06/08/22 JRW             260 review claims and confer with J. Rak regarding updates to claims review spreadsheet (5450 S            0.6          0.6     $156.00
             Administration                                       Indiana) (.6).
             & Objections




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5450-52 S Indiana Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                  06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                   upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                     1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                              79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                         W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                  Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                  5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                  Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                  Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                  7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                  7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                  Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                  Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                  06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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5450-52 S Indiana Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                      0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                       related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                       (.5)
             & Objections

June 2022    Claims                  06/30/22 JRW             260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada).




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          7749-59 S Yates Boulevard
General Allocation % (Pre 01/29/21):                                                 1.4100280%
General Allocation % (01/29/21 Onward, Claims Only):                            1.5148770011%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     5        7749-59 S Yates Boulevard                                                      1.32     $                 323.55                            4.67     $             770.43              5.99    $              1,093.98
                 Asset Disposition [4]                                                        0.00    $                     0.59                               -   $                -                 0.00   $                    0.59
                 Business Operations [5]                                                      0.78    $                  204.51                           0.24     $              33.44               1.02   $                  237.95
                 Claims Administration & Objections [6]                                       0.53    $                  118.45                           4.43     $             736.98               4.96   $                  855.43




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7749-59 S Yates Boulevard                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    4.67
Specific Allocation Fees:         $         770.43



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/06/22 KBD             390 Exchange correspondence with J. Wine and J. Rak regarding claims analysis (1700 Juneway,                 0.3         0.06      $23.40
               Administration                                          5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.3)
               & Objections

April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 AW              140 Upload claims files for J. Rak review (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK,                 0.3         0.06       $8.40
               Administration                                          6949 Merrill).
               & Objections

April 2022     Claims                     04/06/22 JR              140 Conference with J. Wine and K. Duff related to claimant document review and next steps                   0.8         0.16      $22.40
               Administration                                          pertaining to same (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill).
               & Objections

April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).




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7749-59 S Yates Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                   Allocated    Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                             Keeper                                                                                                                    Hours         Fees
April 2022   Claims                   04/07/22 JR              140 update excel spreadsheets related to claimant supporting document review for properties            0.5          0.1      $14.00
             Administration                                        (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.5)
             & Objections

April 2022   Claims                   04/15/22 AW              140 communicate with J. Wine regarding claims process (1700 Juneway, 5450 Indiana, 7749                0.1         0.02       $2.80
             Administration                                        Yates, 6160 MLK, 6949 Merrill) (.1).
             & Objections

April 2022   Claims                   04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and               0.2 0.0018519          $0.48
             Administration                                        revision of notice email to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                   0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                   04/19/22 AW              140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259          $0.13
             Administration                                        (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW             260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259          $0.24
             Administration                                        (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW             260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259          $0.24
             Administration                                        hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW              140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519          $0.26
             Administration                                        exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW              140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW              140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778          $0.39
             Administration                                        change of date (all108) (.3)
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 344 of 2195 PageID #:71260
7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                           0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 345 of 2195 PageID #:71261
7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                    Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                         Keeper                                                                                                                     Hours        Fees
April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                    0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.              0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                 0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 350 of 2195 PageID #:71266
7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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7749-59 S Yates Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7749-59 S Yates Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325      $45.50
             Administration                                        claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
             & Objections                                          Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                   7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.3 0.4076923        $57.08
             Administration                                        claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                          7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                   Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).




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7749-59 S Yates Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated    Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/26/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                4.9      0.6125       $85.75
             Administration                                        claimant's information for properties (5450 Indiana, 8326 Ellis, 7749 Yates, 7442 Calumet,
             & Objections                                          4533 Calumet, 4611 Drexel, 701 S 5th, 7237 Bennett).

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                          0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                   05/27/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                4.9         0.49      $68.60
             Administration                                        claimant's information for properties (7749 Yates, 7442 Calumet, 4533 Calumet, 4611 Drexel,
             & Objections                                          6801 East End, 701 S 5th., 7237 Bennett, 7500 Eggleston, 3030 E 79th, 7301 Stewart).

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                 0.1 0.0013333          $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                  0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7749-59 S Yates Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
             Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                   Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                   7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                   Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7749-59 S Yates Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)




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7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated    Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW          140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
             Administration                                    End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
             & Objections                                      1700 Juneway) (3.6)

June 2022    Claims                   06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333          $0.75
             Administration                                    upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                      1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                               79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7749-59 S Yates Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                             0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7749-59 S Yates Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                   5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                    1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                   06/14/22 JRW             260 Analyze claims against property (7107 Bennett, 7255 Euclid, 7508 Essex, 7748 Essex, 7749               2.3 0.3833333        $99.67
             Administration                                        Yates, 8209 S Ellis) (2.3)
             & Objections

June 2022    Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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7749-59 S Yates Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7749-59 S Yates Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022    Claims                   06/28/22 AW              140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571         $6.00
             Administration                                        7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                          7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                   7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                   Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296          $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                         6437-41 S Kenwood Avenue
General Allocation % (Pre 01/29/21):                                                 1.7735019%
General Allocation % (01/29/21 Onward, Claims Only):                            1.9053786280%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     6        6437-41 S Kenwood Avenue                                                       1.66     $                 406.96                            2.84   $               453.69              4.50    $                  860.65
                 Asset Disposition [4]                                                        0.01    $                     0.74                          0.04   $                 5.09               0.04   $                    5.84
                 Business Operations [5]                                                      0.98    $                  257.23                           0.37   $                52.41               1.36   $                  309.64
                 Claims Administration & Objections [6]                                       0.67    $                  148.98                           2.43   $               396.19               3.10   $                  545.17




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6437-41 S Kenwood Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.84
Specific Allocation Fees:         $         453.69



   Invoice                                               Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545         $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 368 of 2195 PageID #:71284
6437-41 S Kenwood Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections




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6437-41 S Kenwood Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
            Administration                                   (all108) (.3)
            & Objections

May 2022    Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
            Administration                                   exchange additional related correspondence (all108) (.3)
            & Objections

May 2022    Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
            Administration                                   communications with claimants regarding claims process, timing, and custodian issues
            & Objections                                     (all108) (.7)

May 2022    Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
            Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
            & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022    Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
            Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
            & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                             2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                             417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                             Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                             Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                             California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                             Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                             Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                             Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                             Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                             7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                             Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                             Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                             Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                             Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                             Woodlawn).

May 2022    Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
            Administration                                   process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
            Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
            & Objections




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
            Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections

May 2022    Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
            Administration
            & Objections

May 2022    Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
            Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
            & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                             71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                             Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                             4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                             5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                             6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                             Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                             Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                             Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                             Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                             7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                             Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                             Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                             Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                             9610 Woodlawn) (.2).


May 2022    Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
            Administration
            & Objections

May 2022    Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections




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  Invoice                                          Time                                                                                                                     Allocated    Allocated
            Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
May 2022    Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
            Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
            & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
            Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                 (.2)

May 2022    Asset                   05/05/22 KMP             140 Review banking records to verify receipt of post-sale reconciliation funds and related               0.4 0.0363636          $5.09
            Disposition                                          communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                                 4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                                 7450 Luella, 7508 Essex).
May 2022    Business                05/04/22 JR              140 review master property reporting spreadsheet for all of 2021 and further communication               0.9         0.09      $12.60
            Operations                                           with E. Duff and K. Pritchard regarding post-closing reconciliation, review bank statements
                                                                 for same and request confirmation of post-consolidation funds as they relate to property
                                                                 reporting from K. Pritchard (1700 Juneway, 3074 Cheltenham, 4520 Drexel, 5450 Indiana,
                                                                 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7201 Constance, 7450 Luella, 7508 Essex) (.9).




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6437-41 S Kenwood Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
            Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
            & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                             W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                             W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                             4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                             Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                             Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                             Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                             Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                             Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                             Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                             7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                             Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                             Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                             Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                             9610 Woodlawn).


May 2022    Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
            Administration                                   hearing (all108) (.8)
            & Objections




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  Invoice                                      Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
May 2022    Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
            Administration
            & Objections

May 2022    Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
            Administration
            & Objections

May 2022    Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
            Administration
            & Objections

May 2022    Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
            Administration
            & Objections

May 2022    Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
            Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                             4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                             Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                             6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                             6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                             Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                             Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                             7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                             7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                             Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                             Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022    Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
            Administration                                   (all108) (.3)
            & Objections

May 2022    Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
            Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296         $1.20
            Administration                                       of claims (all108) (.5).
            & Objections

May 2022    Claims                  05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
            Administration
            & Objections

May 2022    Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
            Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                 Marquette, 8800 Ada) (.7)

May 2022    Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
            Administration
            & Objections

May 2022    Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
            Administration                                       respond accordingly (all) (.2).
            & Objections




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  Invoice                                      Time                                                                                                                         Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
May 2022    Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
            Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
            & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                             1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                             78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                             Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                             Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                             Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                             Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                             7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                             Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                             7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                             Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                             Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                             8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022    Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
            Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                             Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                             5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                             Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                             Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                             7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                             7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                             Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                             7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                             Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                             Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                             Marquette, 8800 Ada) (.9)




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
            Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                  05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325      $45.50
            Administration                                       claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
            & Objections                                         Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                 7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022    Claims                  05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
            Administration                                       claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
            & Objections                                         Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                 6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                 7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                 Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022    Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                  05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  0.8 0.0571429         $8.00
            Administration                                       claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
            & Objections                                         4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                 7051 Bennett, 6437 Kenwood, 5450 Indiana).




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.8 0.3578947        $50.11
            Administration                                       claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
            & Objections                                         7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                 7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                 7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022    Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
            Administration
            & Objections

May 2022    Claims                  05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                  06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
            Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                  06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
            Administration                                       Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
            & Objections                                         64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
            Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
June 2022   Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                     0.2 0.0018519         $0.72
            Administration                                   (all108) (.2)
            & Objections

June 2022   Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
            Administration                                   regarding claims process issues (all108).
            & Objections

June 2022   Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
            Administration                                   issues (all108) (.2)
            & Objections

June 2022   Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
            Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                             68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                             5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                             92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                             6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                             Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                             Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                             Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                             Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                             8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                             Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
            Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
            & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                             78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                             Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                             Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                             Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                             Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                             7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                             Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                             7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                             Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                          Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2022   Business                06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
            Operations                                           update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                 Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                 7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                 Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022   Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
            Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
            Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                 Ellis, 8405 Marquette, 8800 Ada) (.3)




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2022   Claims                  06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931         $29.93
            Administration                                       claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
            & Objections                                         7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                 638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                 6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                 Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022   Claims                  06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
            Administration                                       claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
            & Objections                                         Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                 Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022   Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
            Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                 Marquette, 8800 Ada) (1.1)

June 2022   Claims                  06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
            Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                 Ellis, 8405 Marquette, 8800 Ada) (1.7)




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
            Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
June 2022   Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
            Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
            & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022   Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
            Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
            & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
June 2022   Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
            Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
            Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022   Claims                  06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
            Administration                                       1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
            & Objections                                         Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                 (4.1)




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2022   Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
            Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
            Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
            & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                 Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2022   Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
            Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
            & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                  06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
            Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022   Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
            Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                  06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
            Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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6437-41 S Kenwood Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
June 2022   Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
            Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
            & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                             Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                             5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                             Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                             Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                             7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                             7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                             Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                             Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                             Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022   Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
            Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                             E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                             5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                             MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                             Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                             7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                             7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                             Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                             Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                             7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                             Ellis, 8405 Marquette, 8800 Ada) (1.1)




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
            Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
June 2022   Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
            Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                 Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
            Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
            & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                 Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                  06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
            Administration                                       Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
            & Objections                                         6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                 7749 Yates).
June 2022   Claims                  06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
            Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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6437-41 S Kenwood Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2022   Claims                  06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
            Administration                                   7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
            & Objections                                     7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                             7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                             Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022   Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
            Administration                                   related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
            Administration                                   (.5)
            & Objections

June 2022   Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
            Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                             4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                             Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                             6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                             6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                             Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                             Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                             7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                             7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                             Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8326 Ellis, 8405 Marquette, 8800 Ada).




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
            Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
June 2022   Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
            Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
            & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                             50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                             4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                             Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                             California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                             7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                             7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                             7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                             7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                             7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                             Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 390 of 2195 PageID #:71306
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          7109-19 S Calumet Avenue
General Allocation % (Pre 01/29/21):                                                 1.8783453%
General Allocation % (01/29/21 Onward, Claims Only):                            2.0180181490%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     7        7109-19 S Calumet Avenue                                                       1.76     $                 431.01                            7.70   $            1,258.48               9.46    $              1,689.49
                 Asset Disposition [4]                                                        0.01    $                     0.79                          4.70   $               758.00               4.71   $                  758.79
                 Business Operations [5]                                                      1.04    $                  272.44                           2.15   $               326.61               3.20   $                  599.05
                 Claims Administration & Objections [6]                                       0.71    $                  157.79                           0.84   $               173.87               1.55   $                  331.66




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7109-19 S Calumet Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                     7.70
Specific Allocation Fees:         $        1,258.48



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Asset                      04/11/22 KBD             390 Draft correspondence to K. Pritchard and J. Rak regarding attention to final property                    0.1          0.1      $39.00
               Disposition                                             manager distribution (7109 Calumet).
April 2022     Business                   04/28/22 KBD             390 Exchange correspondence with K. Pritchard and J. Rak regarding account reconciliation and                0.1          0.1      $39.00
               Operations                                              water account issue (7109 Calumet).
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Asset                      04/05/22 JR              140 Review emails related to water credit refund and exchange communication with A. Porter                   0.4          0.4      $56.00
               Disposition                                             and property management requesting status of water credit refund (7109 Calumet).

April 2022     Asset                      04/11/22 KMP             140 Review property bank account relating to post-sale distribution by property manager and                  0.2          0.2      $28.00
               Disposition                                             related communications with K. Duff and J. Rak (7109 Calumet).
April 2022     Asset                      04/20/22 JR              140 Review email from buyer's attorney requesting subsidy payments received for previously                   0.1          0.1      $14.00
               Disposition                                             sold property (7109 Calumet) (.1)
April 2022     Asset                      04/20/22 JR              140 further correspondence with buyer's attorney and property management requesting                          0.4          0.4      $56.00
               Disposition                                             information requested by buyer's counsel pertaining to subsidy payments for March 2022
                                                                       and after property sold (7109 Calumet) (.4).
April 2022     Asset                      04/22/22 JR              140 communication with buyer's counsel and property management regarding March rent                          0.3          0.3      $42.00
               Disposition                                             payment for previously sold property (7109 Calumet) (.3).
April 2022     Asset                      04/27/22 JR              140 Exchange communication with the management company requesting an update on the                           0.1          0.1      $14.00
               Disposition                                             water refund from the City of Chicago (7109 Calumet).
April 2022     Asset                      04/28/22 JR              140 further correspondence with K. Duff, K. Pritchard and property management company                        0.2          0.2      $28.00
               Disposition                                             providing information regarding the water refund check (7109 Calumet) (.2).

April 2022     Asset                      04/28/22 JR              140 Review communication from property management regarding the water application and                        1.1          1.1     $154.00
               Disposition                                             refund status, respond accordingly and further communicate with the City of Chicago water
                                                                       department requesting status of water refund and request to expedite same the process and
                                                                       issue refund check (7109 Calumet) (1.1)

April 2022     Asset                      04/28/22 KMP             140 Review financial records relating to payment of water bills for property in connection with              0.3          0.3      $42.00
               Disposition                                             post-sale refund and related communications with K. Duff and J. Wine (7109 Calumet).

April 2022     Business                   04/05/22 JR              140 exchange correspondence with E. Duff and accountant requesting corrections to be made to                 0.3         0.15      $21.00
               Operations                                              reporting spreadsheet (7255 Euclid, 7109 Calumet) (.3).



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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 392 of 2195 PageID #:71308
7109-19 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
April 2022   Business                04/05/22 JR              140 review and confirm on December 2020 reporting discrepancies related to properties (7255                  0.8          0.4      $56.00
             Operations                                           Euclid, 7109 Calumet) (.8)
April 2022   Business                04/06/22 JR              140 exchange correspondence with property management requesting property reports and save                    0.2          0.2      $28.00
             Operations                                           in electronic files (7109 Calumet) (.2)
April 2022   Claims                  04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
             Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                  7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                  8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022   Claims                  04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
             Administration                                       revision of notice email to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                  04/19/22 AW              140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259          $0.13
             Administration                                       (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW             260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                 0.1 0.0009259          $0.24
             Administration                                       hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW             260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)                0.1 0.0009259          $0.24
             Administration                                       (.1)
             & Objections




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7109-19 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 394 of 2195 PageID #:71310
7109-19 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519          $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259          $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778          $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778          $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Asset                   05/13/22 KBD         390 Exchange correspondence with K. Pritchard and J. Rak regarding post-sale reconciliation of            0.2          0.2      $78.00
             Disposition                                      property manager account (7109 Calumet).
May 2022     Asset                   05/16/22 KBD         390 Exchange correspondence with J. Rak regarding property manager reconciliation of account              0.1          0.1      $39.00
             Disposition                                      (7109 Calumet).
May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778          $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778          $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 395 of 2195 PageID #:71311
7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7109-19 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 397 of 2195 PageID #:71313
7109-19 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
May 2022     Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667          $1.04
             Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                  2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667          $1.04
             Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                  (.2)

May 2022     Asset                   05/13/22 JR              140 Review email from K. Pritchard regarding post-closing reconciliation for sold property and            0.2          0.2      $28.00
             Disposition                                          further communicate with K. Pritchard providing additional water reimbursement
                                                                  information related to the post-closing reconciliation (7109 Calumet) (.2)

May 2022     Asset                   05/13/22 JR              140 further communication with property management requesting update of the water                         0.1          0.1      $14.00
             Disposition                                          reimbursement from the City of Chicago (7109 Calumet) (.1).
May 2022     Asset                   05/13/22 KMP             140 Communications with K. Duff and J. Rak regarding status of post-sale reconciliation for sold          0.2          0.2      $28.00
             Disposition                                          property and review related correspondence with property manager (7109 Calumet).

May 2022     Asset                   05/16/22 JR              140 Communication with K. Duff and property management relating to the status and progress                0.2          0.2      $28.00
             Disposition                                          regarding post-closing final reconciliation (7109 Calumet).




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7109-19 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
May 2022     Asset                   05/18/22 JR              140 Communication with management company regarding instructions related to post-closing                  0.1          0.1      $14.00
             Disposition                                          reconciliation for property (7109 Calumet).
May 2022     Asset                   05/23/22 KMP             140 communicate with property manager to provide information relating to distribution of post-            0.2          0.2      $28.00
             Disposition                                          sale reconciliation funds (7109 Calumet) (.2)
May 2022     Asset                   05/24/22 KMP             140 Communicate with property manager to confirm receipt of post-sale reconciliation funds                0.2          0.2      $28.00
             Disposition                                          (7109 Calumet).
May 2022     Business                05/03/22 KMP             140 Attention to communications with insurance broker regarding issues relating to refunds for            0.2 0.0285714          $4.00
             Operations                                           property and GL insurance on final properties sold and missing endorsements (1102
                                                                  Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                                  Euclid).
May 2022     Business                05/04/22 KMP             140 Attention to further communications with insurance broker regarding issues relating to                0.1 0.0142857          $2.00
             Operations                                           refunds for property and GL insurance on final properties sold and missing endorsements
                                                                  (1102 Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                                  Euclid).
May 2022     Claims                  05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778          $0.39
             Administration
             & Objections




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7109-19 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)               0.2 0.0018519         $0.48
             Administration
             & Objections




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7109-19 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections




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7109-19 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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7109-19 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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7109-19 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections




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7109-19 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
June 2022    Claims                  06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333          $0.52
             Administration                                       investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                         1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                  78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667          $1.04
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                06/13/22 KMP             140 Study correspondence relating to refunds for insurance payments for cancellation of                   0.2          0.2      $28.00
             Operations                                           umbrella and property insurance endorsements (7109 Calumet).
June 2022    Business                06/20/22 KMP             140 Confer with A. Watychowicz regarding deposit for refunds of insurance policy payments for             0.2          0.2      $28.00
             Operations                                           sold property (7109 Calumet).
June 2022    Business                06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                0.2 0.0117647          $1.65
             Operations                                           (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                  5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                  Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022    Business                06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765         $47.76
             Operations                                           insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                  W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                  Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                  7109 Calumet) (5.8)


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7109-19 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2022    Business                06/28/22 JR              140 review property endorsements for properties (6749 Merrill, 4520 Drexel, 7110 Cornell, 6250              2.8         0.28      $39.20
             Operations                                           Mozart, 7109 Calumet, 6217 Dorchester, 4611 Drexel, 7024 Paxton, 7255 Euclid, 638 Avers)
                                                                  (2.8).
June 2022    Business                06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714         $32.00
             Operations                                           update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                  64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                  6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                  Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                  Kingston, 8326 Ellis) (6.4).

June 2022    Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
             Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.3)




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7109-19 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                       claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                         7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                  638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                  6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                  Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7109-19 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7109-19 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7109-19 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7109-19 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                       related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                       (.5)
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 415 of 2195 PageID #:71331
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                             1414-18 East 62nd Place
General Allocation % (Pre 01/29/21):                                                 0.0692155%
General Allocation % (01/29/21 Onward, Claims Only):                            0.0743622822%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     8        1414-18 East 62nd Place                                                        0.06     $                   15.88                           0.63     $             143.94              0.69    $                  159.82
                 Asset Disposition [4]                                                        0.00    $                     0.03                               -   $                -                 0.00   $                    0.03
                 Business Operations [5]                                                      0.04    $                    10.04                               -   $                -                 0.04   $                   10.04
                 Claims Administration & Objections [6]                                       0.03    $                     5.81                          0.63     $             143.94               0.65   $                  149.75




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1414-18 East 62nd Place                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    0.63
Specific Allocation Fees:         $         143.94



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 417 of 2195 PageID #:71333
1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 421 of 2195 PageID #:71337
1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 422 of 2195 PageID #:71338
1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 423 of 2195 PageID #:71339
1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 424 of 2195 PageID #:71340
1414-18 East 62nd Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 427 of 2195 PageID #:71343
1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)




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1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1414-18 East 62nd Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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1414-18 East 62nd Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1414-18 East 62nd Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 436 of 2195 PageID #:71352
1414-18 East 62nd Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 438 of 2195 PageID #:71354
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  8100 S Essex Avenue
General Allocation % (Pre 01/29/21):                                                 1.3786940%
General Allocation % (01/29/21 Onward, Claims Only):                            1.4812130677%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     9        8100 S Essex Avenue                                                            1.29     $                 316.36                            8.17     $          1,252.18                 9.46    $              1,568.54
                 Asset Disposition [4]                                                        0.00    $                     0.58                               -   $                 -                  0.00   $                     0.58
                 Business Operations [5]                                                      0.77    $                  199.97                           0.23     $               32.00                0.99   $                   231.97
                 Claims Administration & Objections [6]                                       0.52    $                  115.82                           7.94     $             1,220.18               8.47   $                  1,335.99




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8100 S Essex Avenue                                                       EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                     8.17
Specific Allocation Fees:         $        1,252.18



   Invoice                                             Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                          Task Hours
   Month                                              Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD           390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                        correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD           390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW           260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                        same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                     W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                     5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                     92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                     6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                     Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                     Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                     Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                     Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                     7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                     8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                     8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW           260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                        revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP           140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW            140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                        (all108) (.1).
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 440 of 2195 PageID #:71356
8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2022     Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                              2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                              3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                              (.2)

May 2022     Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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8100 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778          $0.39
             Administration
             & Objections

May 2022     Claims                  05/10/22 AW              140 start working on review of claims (8100 Essex) (1.3)                                                   1.3          1.3     $182.00
             Administration
             & Objections

May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333          $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667          $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008        $1.12
             Administration
             & Objections




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032        $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012        $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)

May 2022     Claims                  05/11/22 AW          140 review claims (8100 Essex) (1.9).                                                                        1.9          1.9     $266.00
             Administration
             & Objections




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8100 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2022     Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                       claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                         Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                  Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                  Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                  7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                  05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
             Administration                                       claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                         Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                  6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                  7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                  Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259          $0.24
             Administration
             & Objections




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections




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  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related             0.2 0.0018519         $0.72
             Administration                                       issues (all108) (.2)
             & Objections

June 2022    Claims                  06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                       investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                         1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                  78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                           update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                  64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                  6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                  Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                  Kingston, 8326 Ellis) (6.4).




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8100 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                       claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                         7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                  638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                  6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                  Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
June 2022    Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.8 0.2636364         $36.91
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)

June 2022    Claims                  06/08/22 AW              140 call with J. Wine regarding review of claims (8100 Essex) (.3).                                        0.3          0.3      $42.00
             Administration
             & Objections

June 2022    Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8 0.2181818         $30.55
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
June 2022    Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                  06/09/22 AW          140 Call with J. Wine regarding review of claims (8100 Essex) (.4)                                          0.4          0.4      $56.00
             Administration
             & Objections

June 2022    Claims                  06/09/22 AW          140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
             Administration                                   End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
             & Objections                                     1700 Juneway) (3.6)

June 2022    Claims                  06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333          $0.75
             Administration                                   upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                     1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                              79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8100 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                       1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                         Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                  Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                  Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                  (4.1)
June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8100 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                    1.2 0.0428571         $6.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                  06/14/22 JRW             260 confer with A. Watychowicz regarding missing claim (3074 Cheltenham, 7750 Muskegon,                    0.1 0.0333333         $8.67
             Administration                                       8100 Essex) (.1)
             & Objections

June 2022    Claims                  06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                         W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                  Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                  5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                  Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                  Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                  7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                  7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                  Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                  Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                  06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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8100 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004        $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/16/22 JRW             260 review claims analysis and provide comments to J. Rak and A. Watychowicz (8100 Essex) (.4).          0.4          0.4     $104.00
             Administration
             & Objections

June 2022    Claims                  06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143          $8.50
             Administration                                       Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                         6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                  Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                  Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                  7749 Yates).
June 2022    Claims                  06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075       $10.50
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022    Claims                  06/28/22 AW              140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571          $6.00
             Administration                                       7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                         7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                  7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                  Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                  06/29/22 AW              140 Review claims (8100 Essex, 7834 Ellis, 4317 Michigan, 7237 Bennett, 7508 Essex, 8326 Ellis,          3.9 0.4333333         $60.67
             Administration                                       5001 Drexel, 2736 W 64th, 6355 Talman) (3.9)
             & Objections




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8100 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                   related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                   (.5)
             & Objections

June 2022    Claims                  06/30/22 AW          140 Review claims (8100 Essex, 7508 Essex, 2736 W 64th, 6355 Talman, 7549 Essex, 2909 E 78th,              4.8 0.6857143        $96.00
             Administration                                   8047 Manistee) (4.8)
             & Objections

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 462 of 2195 PageID #:71378
8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 463 of 2195 PageID #:71379
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                           7301-09 S Stewart Avenue
General Allocation % (Pre 01/29/21):                                                 0.8146828%
General Allocation % (01/29/21 Onward, Claims Only):                            0.8752622673%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     10       7301-09 S Stewart Avenue                                                       0.76     $                 186.94                            4.45     $             678.84              5.21    $                  865.78
                 Asset Disposition [4]                                                        0.00    $                     0.34                          0.16     $              22.40               0.16   $                   22.74
                 Business Operations [5]                                                      0.45    $                  118.16                                -   $                -                 0.45   $                  118.16
                 Claims Administration & Objections [6]                                       0.31    $                    68.44                          4.29     $             656.44               4.60   $                  724.87




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7301-09 S Stewart Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    4.45
Specific Allocation Fees:         $         678.84



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Asset                      04/22/22 KMP             140 Prepare spreadsheet identifying properties for which sales proceeds were deposited to                    0.8         0.16      $22.40
               Disposition                                             Receiver's accounts and related communications with EB team (7500 Eggleston, 7549 Essex,
                                                                       7301 Stewart, 3030 E 79th, 2909 E 78th).
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/14/22 JR              140 Review and update damage analysis spreadsheet pertaining to property or fund (11117                      1.6          0.4      $56.00
               Administration                                          Longwood, 7500 Eggleston, 3030 E 79th, 7301 Stewart).
               & Objections

April 2022     Claims                     04/15/22 JR              140 Review and update pertinent information related to damage analysis spreadsheet pertaining                6.3         1.05     $147.00
               Administration                                          to property or fund (7500 Eggleston, 3030 E 79th, 7301 Stewart, 2909 E 78th, 7549 Essex,
               & Objections                                            8047 Manistee).

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 465 of 2195 PageID #:71381
7301-09 S Stewart Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
April 2022   Claims                  04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                   0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                        0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                   0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 466 of 2195 PageID #:71382
7301-09 S Stewart Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 467 of 2195 PageID #:71383
7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections




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7301-09 S Stewart Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 469 of 2195 PageID #:71385
7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                              2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                              3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                              (.2)

May 2022     Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                               0.2 0.0018519         $0.72
             Administration
             & Objections




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7301-09 S Stewart Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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  Invoice                                           Time                                                                                                                         Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
May 2022     Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                     1.4 0.0186667          $4.85
             Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/13/22 JR              140 Conference call with J. Wine related to review of claims related to funds, request instructions          0.3         0.05       $7.00
             Administration                                       related to review of same (3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
             & Objections                                         Manistee, 2909 E 78th) (.3)

May 2022     Claims                  05/13/22 JR              140 extensive review of claims for properties, update claimant spreadsheet with pertinent                    3.3 0.4714286         $66.00
             Administration                                       information (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
             & Objections                                         Manistee, 2909 E 78th) (3.3).

May 2022     Claims                  05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                    6.9    0.237931       $33.31
             Administration                                       claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                         Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                  Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                  Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                  Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                  Marquette, 7927 Essex).
May 2022     Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                       0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                         0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                    0.1 0.0009259          $0.24
             Administration
             & Objections




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2022     Claims                  05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                  05/27/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9         0.49      $68.60
             Administration                                       claimant's information for properties (7749 Yates, 7442 Calumet, 4533 Calumet, 4611 Drexel,
             & Objections                                         6801 East End, 701 S 5th., 7237 Bennett, 7500 Eggleston, 3030 E 79th, 7301 Stewart).

June 2022    Claims                  06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333          $0.52
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333          $0.52
             Administration                                       Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                         64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                  Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                  5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                  Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                  Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                  7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                  7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                  Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                  Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519          $0.72
             Administration                                       (all108) (.2)
             & Objections




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections

June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364        $36.91
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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7301-09 S Stewart Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                  06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7301-09 S Stewart Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                       1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                         Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                  Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                  Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                  (4.1)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7301-09 S Stewart Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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7301-09 S Stewart Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                       Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                         6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                  Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                  Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                  7749 Yates).
June 2022    Claims                  06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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7301-09 S Stewart Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                   7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                     7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                              7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                              Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                   related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                   (.5)
             & Objections

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                        7500-06 S Eggleston Avenue
General Allocation % (Pre 01/29/21):                                                 1.2032239%
General Allocation % (01/29/21 Onward, Claims Only):                            1.2926950409%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     11       7500-06 S Eggleston Avenue                                                     1.13     $                 276.10                            4.45     $             678.84              5.58    $                  954.93
                 Asset Disposition [4]                                                        0.00    $                     0.51                          0.16     $              22.40               0.16   $                   22.91
                 Business Operations [5]                                                      0.67    $                  174.52                                -   $                -                 0.67   $                  174.52
                 Claims Administration & Objections [6]                                       0.46    $                  101.08                           4.29     $             656.44               4.75   $                  757.51




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7500-06 S Eggleston Avenue                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    4.45
Specific Allocation Fees:         $         678.84



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Asset                      04/22/22 KMP             140 Prepare spreadsheet identifying properties for which sales proceeds were deposited to                    0.8         0.16      $22.40
               Disposition                                             Receiver's accounts and related communications with EB team (7500 Eggleston, 7549 Essex,
                                                                       7301 Stewart, 3030 E 79th, 2909 E 78th).
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/14/22 JR              140 Review and update damage analysis spreadsheet pertaining to property or fund (11117                      1.6          0.4      $56.00
               Administration                                          Longwood, 7500 Eggleston, 3030 E 79th, 7301 Stewart).
               & Objections

April 2022     Claims                     04/15/22 JR              140 Review and update pertinent information related to damage analysis spreadsheet pertaining                6.3         1.05     $147.00
               Administration                                          to property or fund (7500 Eggleston, 3030 E 79th, 7301 Stewart, 2909 E 78th, 7549 Essex,
               & Objections                                            8047 Manistee).

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections




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7500-06 S Eggleston Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
April 2022   Claims                  04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                   0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                        0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                   0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 490 of 2195 PageID #:71406
7500-06 S Eggleston Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections




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7500-06 S Eggleston Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                              2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                              3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                              (.2)

May 2022     Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                               0.2 0.0018519         $0.72
             Administration
             & Objections




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7500-06 S Eggleston Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections




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7500-06 S Eggleston Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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7500-06 S Eggleston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections




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7500-06 S Eggleston Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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7500-06 S Eggleston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
May 2022     Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                     1.4 0.0186667          $4.85
             Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/13/22 JR              140 extensive review of claims for properties, update claimant spreadsheet with pertinent                    3.3 0.4714286         $66.00
             Administration                                       information (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
             & Objections                                         Manistee, 2909 E 78th) (3.3).

May 2022     Claims                  05/13/22 JR              140 Conference call with J. Wine related to review of claims related to funds, request instructions          0.3         0.05       $7.00
             Administration                                       related to review of same (3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
             & Objections                                         Manistee, 2909 E 78th) (.3)

May 2022     Claims                  05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                    6.9    0.237931       $33.31
             Administration                                       claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                         Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                  Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                  Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                  Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                  Marquette, 7927 Essex).
May 2022     Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                       0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                         0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                    0.1 0.0009259          $0.24
             Administration
             & Objections




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7500-06 S Eggleston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2022     Claims                  05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                  05/27/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9         0.49      $68.60
             Administration                                       claimant's information for properties (7749 Yates, 7442 Calumet, 4533 Calumet, 4611 Drexel,
             & Objections                                         6801 East End, 701 S 5th., 7237 Bennett, 7500 Eggleston, 3030 E 79th, 7301 Stewart).

June 2022    Claims                  06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333          $0.52
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333          $0.52
             Administration                                       Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                         64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                  Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                  5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                  Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                  Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                  7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                  7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                  Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                  Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519          $0.72
             Administration                                       (all108) (.2)
             & Objections




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections

June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7500-06 S Eggleston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364        $36.91
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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7500-06 S Eggleston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                  06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7500-06 S Eggleston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                       1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                         Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                  Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                  Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                  (4.1)




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7500-06 S Eggleston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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7500-06 S Eggleston Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                       Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                         6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                  Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                  Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                  7749 Yates).
June 2022    Claims                  06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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7500-06 S Eggleston Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                   7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                     7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                              7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                              Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                   related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                   (.5)
             & Objections

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                3030-32 E 79th Street
General Allocation % (Pre 01/29/21):                                                 0.5013433%
General Allocation % (01/29/21 Onward, Claims Only):                            0.5386229337%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     12       3030-32 E 79th Street                                                          0.47     $                 115.04                            4.45     $             678.84              4.92    $                  793.88
                 Asset Disposition [4]                                                        0.00    $                     0.21                          0.16     $              22.40               0.16   $                   22.61
                 Business Operations [5]                                                      0.28    $                    72.71                               -   $                -                 0.28   $                   72.71
                 Claims Administration & Objections [6]                                       0.19    $                    42.11                          4.29     $             656.44               4.48   $                  698.55




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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3030-32 E 79th Street                                                       EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    4.45
Specific Allocation Fees:         $         678.84



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Asset                      04/22/22 KMP             140 Prepare spreadsheet identifying properties for which sales proceeds were deposited to                    0.8         0.16      $22.40
               Disposition                                             Receiver's accounts and related communications with EB team (7500 Eggleston, 7549 Essex,
                                                                       7301 Stewart, 3030 E 79th, 2909 E 78th).
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/14/22 JR              140 Review and update damage analysis spreadsheet pertaining to property or fund (11117                      1.6          0.4      $56.00
               Administration                                          Longwood, 7500 Eggleston, 3030 E 79th, 7301 Stewart).
               & Objections

April 2022     Claims                     04/15/22 JR              140 Review and update pertinent information related to damage analysis spreadsheet pertaining                6.3         1.05     $147.00
               Administration                                          to property or fund (7500 Eggleston, 3030 E 79th, 7301 Stewart, 2909 E 78th, 7549 Essex,
               & Objections                                            8047 Manistee).

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections




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3030-32 E 79th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022    Claims                  04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                     0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
              Administration                                   (all108) (.1).
              & Objections

April 2022    Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
              Administration                                   hearing (all108) (.1)
              & Objections

April 2022    Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
              Administration                                   (.1)
              & Objections

April 2022    Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
              Administration                                   change of date (all108) (.3)
              & Objections

April 2022    Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
              Administration                                   exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
              Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 514 of 2195 PageID #:71430
3030-32 E 79th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022    Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                   (all108) (.1)
              & Objections

April 2022    Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                   Duff (all108).
              & Objections

April 2022    Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
April 2022    Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
              Administration                                   (all108) (.3)
              & Objections

May 2022      Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
              Administration                                   exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                   communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                     (all108) (.7)

May 2022      Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022      Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                   process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections

May 2022      Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022      Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections




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  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
May 2022      Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
              Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
              Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022      Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                               0.2 0.0018519         $0.72
              Administration
              & Objections




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3030-32 E 79th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022      Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                   hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections




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3030-32 E 79th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022      Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                   (all108) (.3)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                   of claims (all108) (.5).
              & Objections

May 2022      Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections




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3030-32 E 79th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022      Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections

May 2022      Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                       respond accordingly (all) (.2).
              & Objections




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3030-32 E 79th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022      Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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3030-32 E 79th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated    Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours         Fees
May 2022      Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                     1.4 0.0186667          $4.85
              Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/13/22 JR              140 extensive review of claims for properties, update claimant spreadsheet with pertinent                    3.3 0.4714286         $66.00
              Administration                                       information (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
              & Objections                                         Manistee, 2909 E 78th) (3.3).

May 2022      Claims                  05/13/22 JR              140 Conference call with J. Wine related to review of claims related to funds, request instructions          0.3         0.05       $7.00
              Administration                                       related to review of same (3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
              & Objections                                         Manistee, 2909 E 78th) (.3)

May 2022      Claims                  05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                    6.9    0.237931       $33.31
              Administration                                       claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
              & Objections                                         Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022      Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                       0.1 0.0009259          $0.13
              Administration
              & Objections

May 2022      Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                         0.2 0.0018519          $0.26
              Administration
              & Objections

May 2022      Claims                  05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                              0.1 0.0009259          $0.24
              Administration
              & Objections




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3030-32 E 79th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022      Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259          $0.24
              Administration
              & Objections

May 2022      Claims                  05/27/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9         0.49      $68.60
              Administration                                       claimant's information for properties (7749 Yates, 7442 Calumet, 4533 Calumet, 4611 Drexel,
              & Objections                                         6801 East End, 701 S 5th., 7237 Bennett, 7500 Eggleston, 3030 E 79th, 7301 Stewart).

June 2022     Claims                  06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333          $0.52
              Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333          $0.52
              Administration                                       Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                         64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519          $0.72
              Administration                                       (all108) (.2)
              & Objections




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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022     Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
              Administration                                   regarding claims process issues (all108).
              & Objections

June 2022     Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
              Administration                                   issues (all108) (.2)
              & Objections

June 2022     Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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3030-32 E 79th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
              Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022     Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364        $36.91
              Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
              & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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3030-32 E 79th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
              Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)

June 2022     Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
              Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
              & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022     Claims                  06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022     Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
              Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
              Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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3030-32 E 79th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022     Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
              Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                  06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
              Administration                                       1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
              & Objections                                         Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
              Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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3030-32 E 79th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                  06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
              Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022     Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
              Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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3030-32 E 79th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022     Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
              Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
              Administration                                       Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
              & Objections                                         6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022     Claims                  06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
              Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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3030-32 E 79th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
              Administration                                   7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
              & Objections                                     7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                               7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                               Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022     Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
              Administration                                   related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
              Administration                                   (.5)
              & Objections

June 2022     Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).




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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022     Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
              Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                2909-19 E 78th Street
General Allocation % (Pre 01/29/21):                                                 1.7872888%
General Allocation % (01/29/21 Onward, Claims Only):                            1.9201907587%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     13       2909-19 E 78th Street                                                          1.68     $                 410.12                            5.83     $             872.51              7.51    $              1,282.63
                 Asset Disposition [4]                                                        0.01    $                     0.75                          0.16     $              22.40               0.17   $                    23.15
                 Business Operations [5]                                                      0.99    $                  259.23                                -   $                -                 0.99   $                   259.23
                 Claims Administration & Objections [6]                                       0.68    $                  150.14                           5.67     $             850.11               6.35   $                  1,000.25




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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2909-19 E 78th Street                                                       EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    5.83
Specific Allocation Fees:         $         872.51



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Asset                      04/22/22 KMP             140 Prepare spreadsheet identifying properties for which sales proceeds were deposited to                    0.8         0.16      $22.40
               Disposition                                             Receiver's accounts and related communications with EB team (7500 Eggleston, 7549 Essex,
                                                                       7301 Stewart, 3030 E 79th, 2909 E 78th).
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JR              140 Review and update pertinent information related to damage analysis spreadsheet pertaining                6.3         1.05     $147.00
               Administration                                          to property or fund (7500 Eggleston, 3030 E 79th, 7301 Stewart, 2909 E 78th, 7549 Essex,
               & Objections                                            8047 Manistee).

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 537 of 2195 PageID #:71453
2909-19 E 78th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                   Allocated       Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                             Keeper                                                                                                                    Hours            Fees
April 2022    Claims                  04/18/22 JR              140 Review damage analysis spreadsheet pertaining to property (2909 E 78th, 7549 Essex, 8047           3.0               1     $140.00
              Administration                                       Manistee) (3.0)
              & Objections

April 2022    Claims                  04/19/22 AW              140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259             $0.13
              Administration                                       (all108) (.1).
              & Objections

April 2022    Claims                  04/19/22 JRW             260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259             $0.24
              Administration                                       hearing (all108) (.1)
              & Objections

April 2022    Claims                  04/19/22 JRW             260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259             $0.24
              Administration                                       (.1)
              & Objections

April 2022    Claims                  04/20/22 AW              140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259             $0.13
              Administration
              & Objections

April 2022    Claims                  04/20/22 AW              140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519             $0.26
              Administration                                       exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                  04/20/22 AW              140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778             $0.39
              Administration                                       change of date (all108) (.3)
              & Objections

April 2022    Claims                  04/20/22 JRW             260 Exchange correspondence with court clerk regarding hearing link and related                        0.2 0.0018519             $0.48
              Administration                                       communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                  04/20/22 MR              390 Review order and email regarding status conference (all108) (.1)                                   0.1 0.0009259             $0.36
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW              140 confirm hearing details with claimants (all108) (.1)                                               0.1 0.0009259             $0.13
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 538 of 2195 PageID #:71454
2909-19 E 78th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022    Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                   (all108) (.1)
              & Objections

April 2022    Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                   Duff (all108).
              & Objections

April 2022    Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 539 of 2195 PageID #:71455
2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
April 2022    Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
              Administration                                   (all108) (.3)
              & Objections

May 2022      Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
              Administration                                   exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                   communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                     (all108) (.7)

May 2022      Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                   process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).




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2909-19 E 78th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections

May 2022      Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022      Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
May 2022      Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
              Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
              Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022      Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                               0.2 0.0018519         $0.72
              Administration
              & Objections




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2909-19 E 78th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022      Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                   hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections




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2909-19 E 78th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022      Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                   (all108) (.3)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                   of claims (all108) (.5).
              & Objections

May 2022      Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections




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2909-19 E 78th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022      Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                       respond accordingly (all) (.2).
              & Objections

May 2022      Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections




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2909-19 E 78th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022      Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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2909-19 E 78th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated    Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours         Fees
May 2022      Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                     1.4 0.0186667          $4.85
              Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/13/22 JR              140 Conference call with J. Wine related to review of claims related to funds, request instructions          0.3         0.05       $7.00
              Administration                                       related to review of same (3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
              & Objections                                         Manistee, 2909 E 78th) (.3)

May 2022      Claims                  05/13/22 JR              140 extensive review of claims for properties, update claimant spreadsheet with pertinent                    3.3 0.4714286         $66.00
              Administration                                       information (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
              & Objections                                         Manistee, 2909 E 78th) (3.3).

May 2022      Claims                  05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                    6.9    0.237931       $33.31
              Administration                                       claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
              & Objections                                         Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022      Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                       0.1 0.0009259          $0.13
              Administration
              & Objections

May 2022      Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                         0.2 0.0018519          $0.26
              Administration
              & Objections




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2909-19 E 78th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.3 0.4076923        $57.08
              Administration                                       claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
              & Objections                                         7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                   Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022      Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                  06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
              Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                       Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                         64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada).




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022     Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                     0.2 0.0018519         $0.72
              Administration                                   (all108) (.2)
              & Objections

June 2022     Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
              Administration                                   regarding claims process issues (all108).
              & Objections

June 2022     Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
              Administration                                   issues (all108) (.2)
              & Objections

June 2022     Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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2909-19 E 78th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022     Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
              Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
              Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022     Claims                  06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
              Administration                                       claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
              & Objections                                         Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                   Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022     Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364         $36.91
              Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
              & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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2909-19 E 78th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
              Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)

June 2022     Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
              Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
              & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022     Claims                  06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022     Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
              Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
              Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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2909-19 E 78th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022     Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
              Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                  06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
              Administration                                       1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
              & Objections                                         Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
              Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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2909-19 E 78th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                  06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
              Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022     Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
              Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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2909-19 E 78th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022     Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
              Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
              Administration                                       Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
              & Objections                                         6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022     Claims                  06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
              Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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2909-19 E 78th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
              Administration                                   7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
              & Objections                                     7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                               7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                               Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022     Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
              Administration                                   related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
              Administration                                   (.5)
              & Objections

June 2022     Claims                  06/30/22 AW          140 Review claims (8100 Essex, 7508 Essex, 2736 W 64th, 6355 Talman, 7549 Essex, 2909 E 78th,              4.8 0.6857143        $96.00
              Administration                                   8047 Manistee) (4.8)
              & Objections

June 2022     Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022     Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
              Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                7549-59 S Essex Avenue
General Allocation % (Pre 01/29/21):                                                 1.4726959%
General Allocation % (01/29/21 Onward, Claims Only):                            1.5822048678%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     14       7549-59 S Essex Avenue                                                         1.38     $                 337.93                            5.83     $             872.51              7.21    $              1,210.44
                 Asset Disposition [4]                                                        0.00    $                     0.62                          0.16     $              22.40               0.16   $                   23.02
                 Business Operations [5]                                                      0.82    $                  213.60                                -   $                -                 0.82   $                  213.60
                 Claims Administration & Objections [6]                                       0.56    $                  123.71                           5.67     $             850.11               6.23   $                  973.83




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7549-59 S Essex Avenue                                                      EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    5.83
Specific Allocation Fees:         $         872.51



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Asset                      04/22/22 KMP             140 Prepare spreadsheet identifying properties for which sales proceeds were deposited to                    0.8         0.16      $22.40
               Disposition                                             Receiver's accounts and related communications with EB team (7500 Eggleston, 7549 Essex,
                                                                       7301 Stewart, 3030 E 79th, 2909 E 78th).
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JR              140 Review and update pertinent information related to damage analysis spreadsheet pertaining                6.3         1.05     $147.00
               Administration                                          to property or fund (7500 Eggleston, 3030 E 79th, 7301 Stewart, 2909 E 78th, 7549 Essex,
               & Objections                                            8047 Manistee).

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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7549-59 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated       Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours            Fees
April 2022   Claims                  04/18/22 JR              140 Review damage analysis spreadsheet pertaining to property (2909 E 78th, 7549 Essex, 8047             3.0               1     $140.00
             Administration                                       Manistee) (3.0)
             & Objections

April 2022   Claims                  04/19/22 AW              140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259             $0.13
             Administration                                       (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW             260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259             $0.24
             Administration                                       hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW             260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259             $0.24
             Administration                                       (.1)
             & Objections

April 2022   Claims                  04/20/22 AW              140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519             $0.26
             Administration                                       exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW              140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778             $0.39
             Administration                                       change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW              140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259             $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW             260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519             $0.48
             Administration                                       communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR              390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259             $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW              140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519             $0.26
             Administration
             & Objections




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7549-59 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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7549-59 S Essex Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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7549-59 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections




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7549-59 S Essex Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                              2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                              3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                              (.2)

May 2022     Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                               0.2 0.0018519         $0.72
             Administration
             & Objections




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7549-59 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections




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7549-59 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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7549-59 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections




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7549-59 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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7549-59 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
May 2022     Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                     1.4 0.0186667          $4.85
             Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/13/22 JR              140 extensive review of claims for properties, update claimant spreadsheet with pertinent                    3.3 0.4714286         $66.00
             Administration                                       information (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
             & Objections                                         Manistee, 2909 E 78th) (3.3).

May 2022     Claims                  05/13/22 JR              140 Conference call with J. Wine related to review of claims related to funds, request instructions          0.3         0.05       $7.00
             Administration                                       related to review of same (3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
             & Objections                                         Manistee, 2909 E 78th) (.3)

May 2022     Claims                  05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                    6.9    0.237931       $33.31
             Administration                                       claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                         Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                  Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                  Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                  Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                  Marquette, 7927 Essex).
May 2022     Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                       0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                         0.2 0.0018519          $0.26
             Administration
             & Objections




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7549-59 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.3 0.4076923        $57.08
             Administration                                       claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                         7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                  Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022     Claims                  05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                       Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                         64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                  Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                  5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                  Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                  Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                  7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                  7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                  Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                  Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                     0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections

June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7549-59 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2022    Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
             Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
             Administration                                       claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                         Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                  Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364         $36.91
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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7549-59 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                  06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (1.7)




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7549-59 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                       1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                         Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                  Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                  Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                  (4.1)




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7549-59 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                       Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                         6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                  Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                  Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                  7749 Yates).
June 2022    Claims                  06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                   7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                     7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                              7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                              Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                   related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                   (.5)
             & Objections

June 2022    Claims                  06/30/22 AW          140 Review claims (8100 Essex, 7508 Essex, 2736 W 64th, 6355 Talman, 7549 Essex, 2909 E 78th,              4.8 0.6857143        $96.00
             Administration                                   8047 Manistee) (4.8)
             & Objections

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                         8047-55 S Manistee Avenue
General Allocation % (Pre 01/29/21):                                                 1.2220242%
General Allocation % (01/29/21 Onward, Claims Only):                            1.3128934009%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     15       8047-55 S Manistee Avenue                                                      1.15     $                 280.41                            5.67     $             850.11              6.82    $              1,130.52
                 Asset Disposition [4]                                                        0.00    $                     0.51                               -   $                -                 0.00   $                    0.51
                 Business Operations [5]                                                      0.68    $                  177.24                                -   $                -                 0.68   $                  177.24
                 Claims Administration & Objections [6]                                       0.46    $                  102.66                           5.67     $             850.11               6.14   $                  952.77




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8047-55 S Manistee Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    5.67
Specific Allocation Fees:         $         850.11



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JR              140 Review and update pertinent information related to damage analysis spreadsheet pertaining                6.3         1.05     $147.00
               Administration                                          to property or fund (7500 Eggleston, 3030 E 79th, 7301 Stewart, 2909 E 78th, 7549 Essex,
               & Objections                                            8047 Manistee).

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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8047-55 S Manistee Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated       Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours            Fees
April 2022   Claims                  04/18/22 JR              140 Review damage analysis spreadsheet pertaining to property (2909 E 78th, 7549 Essex, 8047             3.0               1     $140.00
             Administration                                       Manistee) (3.0)
             & Objections

April 2022   Claims                  04/19/22 AW              140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259             $0.13
             Administration                                       (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW             260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259             $0.24
             Administration                                       hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW             260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259             $0.24
             Administration                                       (.1)
             & Objections

April 2022   Claims                  04/20/22 AW              140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519             $0.26
             Administration                                       exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW              140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778             $0.39
             Administration                                       change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW              140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259             $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW             260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519             $0.48
             Administration                                       communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR              390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259             $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW              140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519             $0.26
             Administration
             & Objections




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8047-55 S Manistee Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections




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8047-55 S Manistee Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                              2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                              3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                              (.2)

May 2022     Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                               0.2 0.0018519         $0.72
             Administration
             & Objections




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8047-55 S Manistee Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections




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8047-55 S Manistee Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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8047-55 S Manistee Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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8047-55 S Manistee Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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8047-55 S Manistee Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
May 2022     Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                     1.4 0.0186667          $4.85
             Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/13/22 JR              140 Conference call with J. Wine related to review of claims related to funds, request instructions          0.3         0.05       $7.00
             Administration                                       related to review of same (3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
             & Objections                                         Manistee, 2909 E 78th) (.3)

May 2022     Claims                  05/13/22 JR              140 extensive review of claims for properties, update claimant spreadsheet with pertinent                    3.3 0.4714286         $66.00
             Administration                                       information (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500 Eggleston, 7549 Essex, 8047
             & Objections                                         Manistee, 2909 E 78th) (3.3).

May 2022     Claims                  05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                    6.9    0.237931       $33.31
             Administration                                       claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                         Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                  Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                  Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                  Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                  Marquette, 7927 Essex).
May 2022     Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                       0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                         0.2 0.0018519          $0.26
             Administration
             & Objections




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8047-55 S Manistee Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.3 0.4076923        $57.08
             Administration                                       claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                         7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                  Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022     Claims                  05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                       Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                         64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                  Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                  5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                  Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                  Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                  7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                  7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                  Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                  Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada).




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                     0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections

June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8047-55 S Manistee Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2022    Claims                  06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
             Administration                                       Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
             Administration                                       claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                         Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                  Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364         $36.91
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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8047-55 S Manistee Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                  06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                       11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                         2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (1.7)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8047-55 S Manistee Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                       1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                         Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                  Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                  Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                  (4.1)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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8047-55 S Manistee Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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8047-55 S Manistee Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                       Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                         6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                  Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                  Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                  7749 Yates).
June 2022    Claims                  06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                       Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                         6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                  Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                  Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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8047-55 S Manistee Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                   7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                     7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                              7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                              Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                   related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                   (.5)
             & Objections

June 2022    Claims                  06/30/22 AW          140 Review claims (8100 Essex, 7508 Essex, 2736 W 64th, 6355 Talman, 7549 Essex, 2909 E 78th,              4.8 0.6857143        $96.00
             Administration                                   8047 Manistee) (4.8)
             & Objections

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                7933 S Kingston Avenue
General Allocation % (Pre 01/29/21):                                                 0.1147261%
General Allocation % (01/29/21 Onward, Claims Only):                            0.1232571256%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     22       7933 S Kingston Avenue                                                         0.11     $                   26.33                           1.80     $             451.89              1.91    $                  478.22
                 Asset Disposition [4]                                                        0.00    $                     0.05                               -   $                -                 0.00   $                    0.05
                 Business Operations [5]                                                      0.06    $                    16.64                          0.01     $               1.14               0.07   $                   17.78
                 Claims Administration & Objections [6]                                       0.04    $                     9.64                          1.80     $             450.76               1.84   $                  460.40




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7933 S Kingston Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.80
Specific Allocation Fees:         $         451.89



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/12/22 JRW          260 review and analysis of document production (1017 W 102nd, 1516 E 85th, 2136 W 83rd, 417                  2.0 0.1428571        $37.14
               Administration                                       Oglesby, 7922 Luella, 7925 Kingston, 7933 Kingston, 8030 Marquette, 8104 Kingston, 8403
               & Objections                                         Aberdeen, 8405 Marquette, 8529 Rhodes, 8800 Ada, 9212 Parnell) (2.0)

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections




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7933 S Kingston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
             Administration
             & Objections




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7933 S Kingston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine              0.1    0.002381       $0.33
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)




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7933 S Kingston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
             Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 continued analysis of Midland claims and related conference with A. Watychowicz regarding             2.0 0.0571429        $14.86
             Administration                                   spreadsheets (10012 LaSalle, 1017 W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554
                                                              Rhodes, 6759 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104
                                                              Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.0)

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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7933 S Kingston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
April 2022   Claims                  04/29/22 JRW         260 confer with A. Watychowicz regarding service on lienholders of record (10012 LaSalle, 1017          0.2 0.0057143         $1.49
             Administration                                   W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 3723 W 68th,
             & Objections                                     406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance,
                                                              8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212
                                                              Parnell, 9610 Woodlawn) (.2)

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)




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7933 S Kingston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7933 S Kingston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7933 S Kingston Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                  2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                  (.2)

May 2022     Business                05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
             Operations                                           and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                  1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                  Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                  Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                  Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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7933 S Kingston Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2022     Business                05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
             Operations                                           regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                  2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                  417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                  6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                  Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                  Woodlawn) (.1).
May 2022     Claims                  05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.7).

May 2022     Claims                  05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (2.2).
May 2022     Claims                  05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 617 of 2195 PageID #:71533
7933 S Kingston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections




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7933 S Kingston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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7933 S Kingston Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.2)
May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections




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  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
             Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
             Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
             & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                              406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                              6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                              Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                              8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).




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  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
             Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
             & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                              3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.4)

June 2022    Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).
June 2022    Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
             Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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7933 S Kingston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022    Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022    Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
             Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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7933 S Kingston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2022    Claims                  06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender                 2.1         0.05       $7.00
             Administration                                   production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                  3.9 0.0928571         $24.14
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022    Claims                  06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                  0.7 0.0166667          $2.33
             Administration                                   communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)

June 2022    Claims                  06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                              8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                              Marquette, 8800 Ada) (1.1)




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7933 S Kingston Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                 0.2 0.0047619         $0.67
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022    Claims                  06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of               0.4 0.0095238         $1.33
             Administration                                   same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
             & Objections                                     2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                              E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                  2.4 0.0571429        $14.86
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (2.4)
June 2022    Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7933 S Kingston Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7933 S Kingston Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.7).




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                 1.7 0.0404762        $10.52
             Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                  6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                  Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                  Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                  Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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7933 S Kingston Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.                1.5 0.0357143         $9.29
             Administration                                       Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
             & Objections                                         71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                  Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                  St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                  Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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7933 S Kingston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
             Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022    Claims                  06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
             Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender           1.5 0.0357143         $9.29
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                  06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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7933 S Kingston Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                       related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                       (.5)
             & Objections




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7933 S Kingston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).
June 2022    Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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7933 S Kingston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                           8405 S Marquette Avenue
General Allocation % (Pre 01/29/21):                                                 0.1423451%
General Allocation % (01/29/21 Onward, Claims Only):                            0.1529298630%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     26       8405 S Marquette Avenue                                                        0.13     $                   32.66                           1.80     $             451.89              1.94    $                  484.56
                 Asset Disposition [4]                                                        0.00    $                     0.06                               -   $                -                 0.00   $                    0.06
                 Business Operations [5]                                                      0.08    $                    20.65                          0.01     $               1.14               0.09   $                   21.78
                 Claims Administration & Objections [6]                                       0.05    $                    11.96                          1.80     $             450.76               1.85   $                  462.72




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8405 S Marquette Avenue                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.80
Specific Allocation Fees:         $         451.89



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/12/22 JRW          260 review and analysis of document production (1017 W 102nd, 1516 E 85th, 2136 W 83rd, 417                  2.0 0.1428571        $37.14
               Administration                                       Oglesby, 7922 Luella, 7925 Kingston, 7933 Kingston, 8030 Marquette, 8104 Kingston, 8403
               & Objections                                         Aberdeen, 8405 Marquette, 8529 Rhodes, 8800 Ada, 9212 Parnell) (2.0)

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections




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8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
             Administration
             & Objections




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8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                  0.3 0.0071429         $1.00
             Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)




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8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine               0.1    0.002381       $0.33
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 continued analysis of Midland claims and related conference with A. Watychowicz regarding             2.0 0.0571429        $14.86
             Administration                                   spreadsheets (10012 LaSalle, 1017 W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554
                                                              Rhodes, 6759 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104
                                                              Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.0)

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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8405 S Marquette Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
April 2022   Claims                  04/29/22 JRW         260 confer with A. Watychowicz regarding service on lienholders of record (10012 LaSalle, 1017          0.2 0.0057143         $1.49
             Administration                                   W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 3723 W 68th,
             & Objections                                     406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance,
                                                              8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212
                                                              Parnell, 9610 Woodlawn) (.2)

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)




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8405 S Marquette Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022    Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
            Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
            & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022    Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
            Administration                                    process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
            Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
            & Objections

May 2022    Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
            Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections




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8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022    Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
            Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
            & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022    Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
            Administration
            & Objections

May 2022    Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
            Administration
            & Objections

May 2022    Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections




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8405 S Marquette Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
May 2022    Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
            Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
            & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                  2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
            Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                  (.2)

May 2022    Business                 05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
            Operations                                            and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                  1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                  Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                  Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                  Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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8405 S Marquette Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2022    Business                 05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
            Operations                                            regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                  2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                  417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                  6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                  Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                  Woodlawn) (.1).
May 2022    Claims                   05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
            Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.7).

May 2022    Claims                   05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                   05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
            Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (2.2).
May 2022    Claims                   05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                   05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                   05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022    Claims                   05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
            Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
            & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022    Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
            Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
            & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022    Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
            Administration                                    hearing (all108) (.8)
            & Objections

May 2022    Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
            Administration
            & Objections

May 2022    Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
            Administration
            & Objections




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022    Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
            Administration
            & Objections

May 2022    Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
            Administration
            & Objections

May 2022    Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
            Administration                                    (all108) (.3)
            & Objections

May 2022    Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
            Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections

May 2022    Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
            Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022    Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
            Administration                                    of claims (all108) (.5).
            & Objections

May 2022    Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
            Administration
            & Objections




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022    Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
            Administration
            & Objections

May 2022    Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                   05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
            Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.2)
May 2022    Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
            Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022    Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
            Administration
            & Objections

May 2022    Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
            Administration                                        respond accordingly (all) (.2).
            & Objections




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  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022    Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
            Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
            & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022    Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
            Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022    Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
            Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
            Administration
            & Objections

May 2022    Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
            Administration
            & Objections

May 2022    Claims                   05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
            Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
            & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).




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8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022   Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
            Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
            Administration                                    claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
            & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022   Claims                   06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
            Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
            & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).




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8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022   Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
            Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
            & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                   06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
            Administration                                    claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
            & Objections                                      102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022   Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
            Administration                                    (all108) (.2)
            & Objections

June 2022   Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
            Administration                                    regarding claims process issues (all108).
            & Objections

June 2022   Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
            Administration                                    issues (all108) (.2)
            & Objections




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8405 S Marquette Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022   Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
            Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
            & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
            Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                   06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
            Administration                                    communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
            & Objections                                      W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                              406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                              6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                              Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                              8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).




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8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
June 2022   Claims                   06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
            Administration                                    properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
            & Objections                                      Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                              3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.4)

June 2022   Claims                   06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
            Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).
June 2022   Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
            Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                   06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
            Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
            & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022   Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
            Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022   Claims                   06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
            Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
            & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022   Claims                   06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
            Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
            & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022   Claims                   06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
            Administration                                    Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
            & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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8405 S Marquette Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2022   Claims                   06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender                 2.1         0.05       $7.00
            Administration                                    production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
            & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022   Claims                   06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                  3.9 0.0928571         $24.14
            Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
            & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022   Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
            Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                              8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                              Marquette, 8800 Ada) (1.1)

June 2022   Claims                   06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                  0.7 0.0166667          $2.33
            Administration                                    communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
            & Objections                                      1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)




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8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022   Claims                   06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                 0.2 0.0047619         $0.67
            Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
            & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022   Claims                   06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of               0.4 0.0095238         $1.33
            Administration                                    same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
            & Objections                                      2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                              E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022   Claims                   06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                  2.4 0.0571429        $14.86
            Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (2.4)
June 2022   Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
            Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)




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8405 S Marquette Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022   Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
            Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
            & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022   Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
            Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
            & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8405 S Marquette Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022   Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
            Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
            Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022   Claims                   06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
            Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.7).




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8405 S Marquette Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022   Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
            Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
            Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
            & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                   06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                 1.7 0.0404762        $10.52
            Administration                                        W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
            & Objections                                          3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                  6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                  Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                  Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                  Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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8405 S Marquette Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022   Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
            Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
            & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
            Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                   06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.                1.5 0.0357143         $9.29
            Administration                                        Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
            & Objections                                          71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                  Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                  St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                  Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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8405 S Marquette Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022   Claims                   06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
            Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
            & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022   Claims                   06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
            Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
            & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022   Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
            Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
            & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022   Claims                   06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender           1.5 0.0357143         $9.29
            Administration                                    claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
            & Objections                                      102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 665 of 2195 PageID #:71581
8405 S Marquette Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022   Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
            Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022   Claims                   06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
            Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
            & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022   Claims                   06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
            Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
            & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 666 of 2195 PageID #:71582
8405 S Marquette Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022   Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
            Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
            Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
            & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
            Administration                                        related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
            Administration                                        (.5)
            & Objections




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8405 S Marquette Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022   Claims                   06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
            Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).
June 2022   Claims                   06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
            Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
            & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022   Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
            Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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8405 S Marquette Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022   Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
            Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
            & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                   06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
            Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
            & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                     8800 S Ada Street
General Allocation % (Pre 01/29/21):                                                 0.1646537%
General Allocation % (01/29/21 Onward, Claims Only):                            0.1768972370%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     28       8800 S Ada Street                                                              0.15     $                   37.78                           1.80     $             451.89              1.96    $                  489.67
                 Asset Disposition [4]                                                        0.00    $                     0.07                               -   $                -                 0.00   $                    0.07
                 Business Operations [5]                                                      0.09    $                    23.88                          0.01     $               1.14               0.10   $                   25.02
                 Claims Administration & Objections [6]                                       0.06    $                    13.83                          1.80     $             450.76               1.86   $                  464.59




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8800 S Ada Street                                                        EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.80
Specific Allocation Fees:         $         451.89



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/12/22 JRW          260 review and analysis of document production (1017 W 102nd, 1516 E 85th, 2136 W 83rd, 417                  2.0 0.1428571        $37.14
               Administration                                       Oglesby, 7922 Luella, 7925 Kingston, 7933 Kingston, 8030 Marquette, 8104 Kingston, 8403
               & Objections                                         Aberdeen, 8405 Marquette, 8529 Rhodes, 8800 Ada, 9212 Parnell) (2.0)

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 671 of 2195 PageID #:71587
8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
             Administration
             & Objections




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8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
             Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                  0.3 0.0071429         $1.00
             Administration                                    communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                      1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                               7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                               Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                               Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 673 of 2195 PageID #:71589
8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine               0.1    0.002381       $0.33
             Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 continued analysis of Midland claims and related conference with A. Watychowicz regarding             2.0 0.0571429        $14.86
             Administration                                    spreadsheets (10012 LaSalle, 1017 W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                      W 83rd, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554
                                                               Rhodes, 6759 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104
                                                               Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.0)

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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8800 S Ada Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                    Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                     Hours        Fees
April 2022   Claims                   04/29/22 JRW         260 confer with A. Watychowicz regarding service on lienholders of record (10012 LaSalle, 1017          0.2 0.0057143         $1.49
             Administration                                    W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 3723 W 68th,
             & Objections                                      406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6825 Indiana,
                                                               7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                               Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance,
                                                               8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212
                                                               Parnell, 9610 Woodlawn) (.2)

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)




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8800 S Ada Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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8800 S Ada Street                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
May 2022     Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                   2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                   4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                   5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                   6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                   (.2)

May 2022     Business                 05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
             Operations                                            and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                   Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                   Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                   Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                   Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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8800 S Ada Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
May 2022     Business                 05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
             Operations                                            regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                   2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                   417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                   6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                   Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                   Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                   Woodlawn) (.1).
May 2022     Claims                   05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
             Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (1.7).

May 2022     Claims                   05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
             Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (2.2).
May 2022     Claims                   05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections




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8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
             Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections




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8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
             Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (1.2)
May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
             Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).




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8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
             Administration                                    claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                   06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
             Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
             Administration                                    claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                      102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                               3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
             Administration                                    communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
             & Objections                                      W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                               406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                               6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                               Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                               8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 687 of 2195 PageID #:71603
8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
             Administration                                    properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
             & Objections                                      Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                               3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                               6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                               Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.4)

June 2022    Claims                   06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
             Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).
June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
             Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
             Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022    Claims                   06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
             Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022    Claims                   06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
             Administration                                    Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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8800 S Ada Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender                 2.1         0.05       $7.00
             Administration                                    production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                   06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                  3.9 0.0928571         $24.14
             Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                0.2 0.0047619          $0.67
             Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.2).




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8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                   0.7 0.0166667         $2.33
             Administration                                    communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                      1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                               7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                               Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                               Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)

June 2022    Claims                   06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of               0.4 0.0095238         $1.33
             Administration                                    same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
             & Objections                                      2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                               E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                   06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                  2.4 0.0571429        $14.86
             Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (2.4)
June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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8800 S Ada Street                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8800 S Ada Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
             Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (.7).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 693 of 2195 PageID #:71609
8800 S Ada Street                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                 1.7 0.0404762        $10.52
             Administration                                        W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                          3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                   6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                   Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                   Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                   Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                   Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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8800 S Ada Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.                1.5 0.0357143         $9.29
             Administration                                        Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
             & Objections                                          71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                   Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                   St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                   Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                   Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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8800 S Ada Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
             Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                               6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                               Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).

June 2022    Claims                   06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
             Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                               6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                               Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).

June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender           1.5 0.0357143         $9.29
             Administration                                    claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                      102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                               3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 696 of 2195 PageID #:71612
8800 S Ada Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
             Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                   06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
             Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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8800 S Ada Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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8800 S Ada Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
             Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).
June 2022    Claims                   06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
             Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 699 of 2195 PageID #:71615
8800 S Ada Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
             Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                    3723 W 68th Place
General Allocation % (Pre 01/29/21):                                                 0.1614664%
General Allocation % (01/29/21 Onward, Claims Only):                            0.1734729417%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     33       3723 W 68th Place                                                              0.15     $                   37.05                           1.85     $             465.02              2.01    $                  502.07
                 Asset Disposition [4]                                                        0.00    $                     0.07                               -   $                -                 0.00   $                    0.07
                 Business Operations [5]                                                      0.09    $                    23.42                          0.01     $               1.14               0.10   $                   24.55
                 Claims Administration & Objections [6]                                       0.06    $                    13.56                          1.85     $             463.88               1.91   $                  477.45




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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3723 W 68th Place                                                        EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.85
Specific Allocation Fees:         $         465.02



   Invoice                                            Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/12/22 JRW          260 begin review and analysis of document production (10012 LaSalle, 11318 Church, 3213                      0.8 0.0533333         $13.87
               Administration                                       Throop, 3723 W 68th, 406 E 87th, 61 E 92nd, 6554 Rhodes, 6825 Indiana, 7210 Vernon, 7712
               & Objections                                         Euclid, 7953 Woodlawn, 8107 Kingston, 8346 Constance, 8432 Essex, 8517 Vernon) (.8).

April 2022     Claims                     04/13/22 JRW          260 continued review of production documents (10012 LaSalle, 11318 Church, 3213 Throop, 3723                 2.1         0.14      $36.40
               Administration                                       W 68th, 406 E 87th, 61 E 92nd, 6554 Rhodes, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7953
               & Objections                                         Woodlawn, 8107 Kingston, 8346 Constance, 8432 Essex, 8517 Vernon) (2.1).

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 702 of 2195 PageID #:71618
3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
April 2022   Claims                  04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                        0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 703 of 2195 PageID #:71619
3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 704 of 2195 PageID #:71620
3723 W 68th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
             Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine               0.1    0.002381       $0.33
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022   Claims                  04/25/22 JRW         260 continued analysis of Midland claims and related conference with A. Watychowicz regarding             2.0 0.0571429        $14.86
             Administration                                   spreadsheets (10012 LaSalle, 1017 W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554
                                                              Rhodes, 6759 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104
                                                              Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.0)

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 705 of 2195 PageID #:71621
3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                 0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 confer with A. Watychowicz regarding service on lienholders of record (10012 LaSalle, 1017          0.2 0.0057143         $1.49
             Administration                                   W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 3723 W 68th,
             & Objections                                     406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance,
                                                              8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212
                                                              Parnell, 9610 Woodlawn) (.2)

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                  0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 706 of 2195 PageID #:71622
3723 W 68th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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3723 W 68th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                  2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                  (.2)

May 2022     Business                05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
             Operations                                           and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                  1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                  Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                  Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                  Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 709 of 2195 PageID #:71625
3723 W 68th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2022     Business                05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
             Operations                                           regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                  2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                  417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                  6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                  Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                  Woodlawn) (.1).
May 2022     Claims                  05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.7).

May 2022     Claims                  05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (2.2).
May 2022     Claims                  05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 710 of 2195 PageID #:71626
3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 711 of 2195 PageID #:71627
3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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3723 W 68th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.2)
May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 713 of 2195 PageID #:71629
3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 715 of 2195 PageID #:71631
3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                   0.1    0.002381       $0.93
             Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 716 of 2195 PageID #:71632
3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender            1.2 0.0285714        $11.14
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                       0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                       0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related             0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 717 of 2195 PageID #:71633
3723 W 68th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
             Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
             & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                              406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                              6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                              Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                              8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).




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3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
             Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
             & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                              3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.4)

June 2022    Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).
June 2022    Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
             Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022    Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022    Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
             Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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3723 W 68th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2022    Claims                  06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender                 2.1         0.05       $7.00
             Administration                                   production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                  3.9 0.0928571         $24.14
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022    Claims                  06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                              8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                              Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                  0.7 0.0166667          $2.33
             Administration                                   communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)




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3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                 0.2 0.0047619         $0.67
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022    Claims                  06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of               0.4 0.0095238         $1.33
             Administration                                   same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
             & Objections                                     2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                              E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                  2.4 0.0571429        $14.86
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (2.4)
June 2022    Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)




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3723 W 68th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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3723 W 68th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.7).




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3723 W 68th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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3723 W 68th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
             Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                  6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                  Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                  Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                  Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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3723 W 68th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/13/22 JRW         260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.               1.5 0.0357143         $9.29
             Administration                                   Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
             & Objections                                     71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                  06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
             Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022    Claims                  06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
             Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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3723 W 68th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 728 of 2195 PageID #:71644
3723 W 68th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 MR              390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
             Administration                                       LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                         83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                  6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                  7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                  Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                  8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022    Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                       0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                         0.1 0.0009259         $0.24
             Administration
             & Objections




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3723 W 68th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                   related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                   (.5)
             & Objections

June 2022    Claims                  06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).
June 2022    Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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3723 W 68th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                       61 E 92nd Street
General Allocation % (Pre 01/29/21):                                                 0.1340592%
General Allocation % (01/29/21 Onward, Claims Only):                            0.1440277725%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     35       61 E 92nd Street                                                               0.13     $                   30.76                           1.85     $             465.02              1.98    $                  495.78
                 Asset Disposition [4]                                                        0.00    $                     0.06                               -   $                -                 0.00   $                    0.06
                 Business Operations [5]                                                      0.07    $                    19.44                          0.01     $               1.14               0.08   $                   20.58
                 Claims Administration & Objections [6]                                       0.05    $                    11.26                          1.85     $             463.88               1.90   $                  475.14




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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61 E 92nd Street                                                         EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.85
Specific Allocation Fees:         $         465.02



   Invoice                                            Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/12/22 JRW          260 begin review and analysis of document production (10012 LaSalle, 11318 Church, 3213                      0.8 0.0533333         $13.87
               Administration                                       Throop, 3723 W 68th, 406 E 87th, 61 E 92nd, 6554 Rhodes, 6825 Indiana, 7210 Vernon, 7712
               & Objections                                         Euclid, 7953 Woodlawn, 8107 Kingston, 8346 Constance, 8432 Essex, 8517 Vernon) (.8).

April 2022     Claims                     04/13/22 JRW          260 continued review of production documents (10012 LaSalle, 11318 Church, 3213 Throop, 3723                 2.1         0.14      $36.40
               Administration                                       W 68th, 406 E 87th, 61 E 92nd, 6554 Rhodes, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7953
               & Objections                                         Woodlawn, 8107 Kingston, 8346 Constance, 8432 Essex, 8517 Vernon) (2.1).

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
April 2022    Claims                  04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                        0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
              Administration                                   (all108) (.1).
              & Objections

April 2022    Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
              Administration                                   (.1)
              & Objections

April 2022    Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
              Administration                                   hearing (all108) (.1)
              & Objections

April 2022    Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022    Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
              Administration                                   exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
              Administration                                   change of date (all108) (.3)
              & Objections

April 2022    Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
              Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022    Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
              Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
              Administration                                   (all108) (.1)
              & Objections

April 2022    Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022    Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
              Administration
              & Objections




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61 E 92nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022    Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
              Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                               7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                               Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                               Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022    Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine               0.1    0.002381       $0.33
              Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022    Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/25/22 JRW         260 continued analysis of Midland claims and related conference with A. Watychowicz regarding             2.0 0.0571429        $14.86
              Administration                                   spreadsheets (10012 LaSalle, 1017 W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                     W 83rd, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554
                                                               Rhodes, 6759 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104
                                                               Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.0)

April 2022    Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                   Duff (all108).
              & Objections




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                    Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                         Keeper                                                                                                                     Hours        Fees
April 2022    Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                 0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                  04/29/22 JRW         260 confer with A. Watychowicz regarding service on lienholders of record (10012 LaSalle, 1017          0.2 0.0057143         $1.49
              Administration                                   W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 3723 W 68th,
              & Objections                                     406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6825 Indiana,
                                                               7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                               Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance,
                                                               8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212
                                                               Parnell, 9610 Woodlawn) (.2)

April 2022    Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
              Administration                                   exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
              Administration                                   (all108) (.3)
              & Objections

May 2022      Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
              Administration                                   communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                     (all108) (.7)

May 2022      Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
              Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                     A. Watychowicz and J. Wine (all108) (.4)




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61 E 92nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022      Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                   process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022      Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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61 E 92nd Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
May 2022      Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
              Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                   2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                   4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                   5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                   6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
              Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                   (.2)

May 2022      Business                05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
              Operations                                           and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                   Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                   Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                   Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                   Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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61 E 92nd Street                                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
May 2022      Business                05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
              Operations                                           regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                   2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                   417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                   6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                   Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                   Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                   Woodlawn) (.1).
May 2022      Claims                  05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (1.7).

May 2022      Claims                  05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (2.2).
May 2022      Claims                  05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022      Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022      Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
              Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022      Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
              Administration                                   hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
              Administration
              & Objections




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022      Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                   (all108) (.3)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                   of claims (all108) (.5).
              & Objections

May 2022      Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections




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61 E 92nd Street                                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (1.2)
May 2022      Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022      Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                       respond accordingly (all) (.2).
              & Objections

May 2022      Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022      Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
              Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn).




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
              Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                               3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                   (all108) (.2)
              & Objections

June 2022     Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                   regarding claims process issues (all108).
              & Objections

June 2022     Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                   issues (all108) (.2)
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 748 of 2195 PageID #:71664
61 E 92nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022     Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
              Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
              & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                               406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                               6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                               Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                               8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 749 of 2195 PageID #:71665
61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
June 2022     Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
              Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
              & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                               3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                               6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                               Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.4)

June 2022     Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
              Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).
June 2022     Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
              Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 750 of 2195 PageID #:71666
61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022     Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022     Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022     Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
              Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 751 of 2195 PageID #:71667
61 E 92nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022     Claims                  06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender               2.1         0.05       $7.00
              Administration                                   production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                3.9 0.0928571         $24.14
              Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022     Claims                  06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                0.7 0.0166667          $2.33
              Administration                                   communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                               7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                               Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                               Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)

June 2022     Claims                  06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W              0.2 0.0047619          $0.67
              Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.2).




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61 E 92nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667         $2.05
              Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022     Claims                  06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of              0.4 0.0095238         $1.33
              Administration                                   same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
              & Objections                                     2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                               E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.4 0.0571429        $14.86
              Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (2.4)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 753 of 2195 PageID #:71669
61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022     Claims                  06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
              Administration                                   upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                     1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                               79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 754 of 2195 PageID #:71670
61 E 92nd Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022     Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
              Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
              Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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61 E 92nd Street                                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022     Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (.7).
June 2022     Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                             0.7 0.0093333         $1.31
              Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 756 of 2195 PageID #:71672
61 E 92nd Street                                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                   5.5 0.0733333        $10.27
              Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
              Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                   6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                   Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                   Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                   Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                   Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022     Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)




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61 E 92nd Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022     Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                   2.0 0.0266667         $3.73
              Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.             1.5 0.0357143         $9.29
              Administration                                       Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
              & Objections                                         71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                   Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                   St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                   Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                   Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022     Claims                  06/13/22 MR              390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318           0.5 0.0119048         $4.64
              Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                   6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                   Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn).

June 2022     Claims                  06/14/22 MR              390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                 0.2 0.0047619         $1.86
              Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                   6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                   Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn).




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
              Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                               3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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61 E 92nd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
              Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022     Claims                  06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022     Claims                  06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
              Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 760 of 2195 PageID #:71676
61 E 92nd Street                                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022     Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
              Administration                                       related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                  06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
              Administration                                       (.5)
              & Objections

June 2022     Claims                  06/29/22 MR              390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,             0.2 0.0047619         $1.86
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (.2).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 761 of 2195 PageID #:71677
61 E 92nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022     Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238          $2.48
              Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022     Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
              Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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61 E 92nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
June 2022     Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238         $3.71
              Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                           7953 S Woodlawn Avenue
General Allocation % (Pre 01/29/21):                                                 0.1667781%
General Allocation % (01/29/21 Onward, Claims Only):                            0.1791796517%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     40       7953 S Woodlawn Avenue                                                         0.16     $                   38.27                           1.85     $             465.02              2.01    $                  503.29
                 Asset Disposition [4]                                                        0.00    $                     0.07                               -   $                -                 0.00   $                    0.07
                 Business Operations [5]                                                      0.09    $                    24.19                          0.01     $               1.14               0.10   $                   25.32
                 Claims Administration & Objections [6]                                       0.06    $                    14.01                          1.85     $             463.88               1.91   $                  477.89




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7953 S Woodlawn Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.85
Specific Allocation Fees:         $         465.02



   Invoice                                            Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/12/22 JRW          260 begin review and analysis of document production (10012 LaSalle, 11318 Church, 3213                      0.8 0.0533333         $13.87
               Administration                                       Throop, 3723 W 68th, 406 E 87th, 61 E 92nd, 6554 Rhodes, 6825 Indiana, 7210 Vernon, 7712
               & Objections                                         Euclid, 7953 Woodlawn, 8107 Kingston, 8346 Constance, 8432 Essex, 8517 Vernon) (.8).

April 2022     Claims                     04/13/22 JRW          260 continued review of production documents (10012 LaSalle, 11318 Church, 3213 Throop, 3723                 2.1         0.14      $36.40
               Administration                                       W 68th, 406 E 87th, 61 E 92nd, 6554 Rhodes, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7953
               & Objections                                         Woodlawn, 8107 Kingston, 8346 Constance, 8432 Essex, 8517 Vernon) (2.1).

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 765 of 2195 PageID #:71681
7953 S Woodlawn Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
April 2022   Claims                  04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                        0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections




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7953 S Woodlawn Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
             Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022   Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine               0.1    0.002381       $0.33
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 continued analysis of Midland claims and related conference with A. Watychowicz regarding             2.0 0.0571429        $14.86
             Administration                                   spreadsheets (10012 LaSalle, 1017 W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554
                                                              Rhodes, 6759 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104
                                                              Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.0)

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections




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7953 S Woodlawn Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                 0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 confer with A. Watychowicz regarding service on lienholders of record (10012 LaSalle, 1017          0.2 0.0057143         $1.49
             Administration                                   W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 3723 W 68th,
             & Objections                                     406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance,
                                                              8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212
                                                              Parnell, 9610 Woodlawn) (.2)

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)




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                               Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 769 of 2195 PageID #:71685
7953 S Woodlawn Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
            Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
            & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                             2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                             417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                             Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                             Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                             California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                             Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                             Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                             Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                             Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                             7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                             Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                             Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                             Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                             Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                             Woodlawn).

May 2022    Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
            Administration                                   process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
            Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
            & Objections

May 2022    Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
            Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
            Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
            & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                             71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                             Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                             4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                             5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                             6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                             Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                             Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                             Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                             Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                             7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                             Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                             Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                             Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                             9610 Woodlawn) (.2).


May 2022    Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
            Administration
            & Objections

May 2022    Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
            Administration
            & Objections

May 2022    Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections




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7953 S Woodlawn Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
            Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
May 2022    Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
            Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
            & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
            Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                 (.2)

May 2022    Business                05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
            Operations                                           and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                 Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                 Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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7953 S Woodlawn Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
May 2022    Business                05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
            Operations                                           regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                 Woodlawn) (.1).
May 2022    Claims                  05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
            Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                 9610 Woodlawn) (1.7).

May 2022    Claims                  05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                  05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
            Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                 9610 Woodlawn) (2.2).
May 2022    Claims                  05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                  05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                  05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
May 2022    Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
            Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
            & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                             6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                             7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                             Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                             8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022    Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
            Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
            & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                             W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                             W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                             4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                             Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                             Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                             Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                             Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                             Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                             Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                             7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                             Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                             Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                             Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                             9610 Woodlawn).


May 2022    Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
            Administration                                   hearing (all108) (.8)
            & Objections

May 2022    Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
            Administration
            & Objections

May 2022    Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
            Administration
            & Objections




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
May 2022    Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
            Administration
            & Objections

May 2022    Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
            Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                             4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                             Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                             6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                             6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                             Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                             Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                             7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                             7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                             Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                             Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022    Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
            Administration
            & Objections

May 2022    Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
            Administration                                   (all108) (.3)
            & Objections

May 2022    Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
            Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections

May 2022    Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
            Administration                                   of claims (all108) (.5).
            & Objections

May 2022    Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
            Administration
            & Objections




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7953 S Woodlawn Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
            Administration
            & Objections

May 2022    Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
            Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                 9610 Woodlawn) (1.2)
May 2022    Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
            Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                 Marquette, 8800 Ada) (.7)

May 2022    Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
            Administration
            & Objections

May 2022    Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
            Administration                                       respond accordingly (all) (.2).
            & Objections




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
May 2022    Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
            Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
            & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                             1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                             78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                             Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                             Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                             Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                             Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                             7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                             Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                             7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                             Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                             Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                             8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022    Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
            Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                             Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                             5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                             Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                             Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                             7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                             7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                             Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                             7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                             Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                             Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                             Marquette, 8800 Ada) (.9)




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2022    Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
            Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                             310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                             Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                             6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                             California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                             7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                             7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                             7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                             7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                             Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                             Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
            Administration
            & Objections

May 2022    Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
            Administration
            & Objections

May 2022    Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
            Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
            & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                             Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                             Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                             Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                             Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                             Ada, 9212 Parnell, 9610 Woodlawn).




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
June 2022   Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
            Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                             E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                             5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                             MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                             Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                             7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                             7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                             Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                             Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                             8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                             Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
            Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
            & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                             Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                             St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                             Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                             Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                             Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022   Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
            Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
            & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                             6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                             7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                             Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                             8800 Ada, 9212 Parnell, 9610 Woodlawn).




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2022   Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
            Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
            & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                             Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                             5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                             Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                             Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                             7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                             7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                             Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                             Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                             Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
            Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
            & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                             3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                             6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                             Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                             Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                             Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                             Ada, 9212 Parnell, 9610 Woodlawn).

June 2022   Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
            Administration                                   (all108) (.2)
            & Objections

June 2022   Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
            Administration                                   regarding claims process issues (all108).
            & Objections

June 2022   Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
            Administration                                   issues (all108) (.2)
            & Objections




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7953 S Woodlawn Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
            Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
June 2022   Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
            Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
            & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                             78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                             Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                             Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                             Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                             Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                             7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                             Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                             7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                             Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
            Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                             68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                             5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                             92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                             6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                             Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                             Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                             Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                             Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                             8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                             Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
            Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
            & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                             406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                             6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                             Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                             8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                             Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                             Woodlawn).




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
June 2022   Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
            Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
            & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                             3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                             6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                             Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                             Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                             Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                             9610 Woodlawn) (.4)

June 2022   Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
            Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                             Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                             7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                             Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                             Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                             9610 Woodlawn).
June 2022   Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
            Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                             310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                             Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                             6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                             California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                             7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                             7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                             7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                             7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                             Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                             Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
            Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
            & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                             Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                             Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                             Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                             Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                             Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
June 2022   Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
            Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                             E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                             5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                             MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                             Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                             7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                             7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                             Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                             Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                             7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                             Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022   Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
            Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
            & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                             Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                             Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                             Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                             Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                             Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022   Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
            Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
            & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                             6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                             7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                             Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                             8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022   Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
            Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
            & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                             Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                             St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                             Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                             Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                             Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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7953 S Woodlawn Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
            Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
June 2022   Claims                  06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender               2.1         0.05       $7.00
            Administration                                   production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
            & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                             Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                             St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                             Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                             Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                             Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022   Claims                  06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                3.9 0.0928571         $24.14
            Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
            & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                             92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                             Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                             Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                             Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                             Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022   Claims                  06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W              0.2 0.0047619          $0.67
            Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
            & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                             6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                             Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                             Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                             Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                             Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022   Claims                  06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                0.7 0.0166667          $2.33
            Administration                                   communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
            & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                             417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                             7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                             Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                             Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                             Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)




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7953 S Woodlawn Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
            Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2022   Claims                  06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667         $2.05
            Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                             Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                             5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                             Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                             Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                             7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                             7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                             Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                             7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                             8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                             Marquette, 8800 Ada) (1.1)

June 2022   Claims                  06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of              0.4 0.0095238         $1.33
            Administration                                   same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
            & Objections                                     2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                             E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                             Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                             Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                             Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                             Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022   Claims                  06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.4 0.0571429        $14.86
            Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                             Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                             7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                             Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                             Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                             9610 Woodlawn) (2.4)




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
June 2022   Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
            Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                             4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                             Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                             6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                             6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                             Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                             Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                             7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                             7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                             Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                             Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022   Claims                  06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
            Administration                                   upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
            & Objections                                     1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                             79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                             Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                             6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                             California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                             7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                             7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                             7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                             7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                             7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                             Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7953 S Woodlawn Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
            Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
June 2022   Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
            Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
            Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
            & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7953 S Woodlawn Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
June 2022   Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
            Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022   Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
            Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                 9610 Woodlawn) (.7).
June 2022   Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
            Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7953 S Woodlawn Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2022   Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
            Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
            & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                 Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
            Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
            & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                 Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022   Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
            Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
            & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                 Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7953 S Woodlawn Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
            Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
June 2022   Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                   2.0 0.0266667         $3.73
            Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                  06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.             1.5 0.0357143         $9.29
            Administration                                       Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
            & Objections                                         71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022   Claims                  06/13/22 MR              390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318           0.5 0.0119048         $4.64
            Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
            & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                 9610 Woodlawn).

June 2022   Claims                  06/14/22 MR              390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                 0.2 0.0047619         $1.86
            Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
            & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                 9610 Woodlawn).




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
June 2022   Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
            Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
            & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                             Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                             5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                             Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                             Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                             7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                             7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                             Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                             Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                             Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022   Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
            Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
            & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                             3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                             6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                             Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                             Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                             Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                             Ada, 9212 Parnell, 9610 Woodlawn).

June 2022   Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
            Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                             E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                             5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                             MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                             Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                             7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                             7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                             Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                             Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                             7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                             Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                             Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7953 S Woodlawn Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
            Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
June 2022   Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
            Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
            & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                             92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                             Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                             Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                             Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                             Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022   Claims                  06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
            Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
            & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                             6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                             7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                             Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                             8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022   Claims                  06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
            Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                             68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                             5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                             92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                             6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                             Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                             Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                             Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                             Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                             8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                             Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7953 S Woodlawn Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
            Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
June 2022   Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
            Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
            & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                 Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
            Administration                                       related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                  06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
            Administration                                       (.5)
            & Objections

June 2022   Claims                  06/29/22 MR              390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,             0.2 0.0047619         $1.86
            Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
            & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                 9610 Woodlawn) (.2).




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7953 S Woodlawn Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
            Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
June 2022   Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238          $2.48
            Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
            & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                             6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                             Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                             Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                             Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                             Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022   Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
            Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                             4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                             Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                             6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                             6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                             Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                             Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                             7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                             7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                             Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                             8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
            Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
            & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                             50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                             4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                             Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                             California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                             7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                             7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                             7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                             7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                             7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                             Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7953 S Woodlawn Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
            Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2022   Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238         $3.71
            Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
            & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                             6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                             Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                             Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                             Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                             Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 795 of 2195 PageID #:71711
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                   5437 S Laflin Street
General Allocation % (Pre 01/29/21):                                                 0.0567508%
General Allocation % (01/29/21 Onward, Claims Only):                            0.0609707695%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     47       5437 S Laflin Street                                                           0.05     $                   13.02                           2.93     $             744.08              2.98    $                  757.11
                 Asset Disposition [4]                                                        0.00    $                     0.02                               -   $                -                 0.00   $                    0.02
                 Business Operations [5]                                                      0.03    $                     8.23                          0.01     $               1.14               0.04   $                    9.37
                 Claims Administration & Objections [6]                                       0.02    $                     4.77                          2.92     $             742.95               2.94   $                  747.72




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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5437 S Laflin Street                                                     EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.93
Specific Allocation Fees:         $         744.08



   Invoice                                            Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/14/22 JRW          260 Review and analyze documents produced pursuant to subpoena (2129 W 71st, 5437 Laflin,                    4.8          0.8     $208.00
               Administration                                       6759 Indiana, 7300 St Lawrence, 7760 Coles, 9610 Woodlawn).
               & Objections

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 797 of 2195 PageID #:71713
5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
April 2022     Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
               Administration                                   (all108) (.1).
               & Objections

April 2022     Claims                  04/19/22 JRW         260 Review releases and related analysis from A. Porter (2129 W 71st, 5437 Laflin, 9610                     0.2 0.0666667        $17.33
               Administration                                   Woodlawn) (.2)
               & Objections

April 2022     Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
               Administration                                   hearing (all108) (.1)
               & Objections

April 2022     Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
               Administration                                   (.1)
               & Objections

April 2022     Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
               Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
               & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022     Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
               Administration                                   exchanges with counsel (all108) (.2)
               & Objections

April 2022     Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
               Administration                                   change of date (all108) (.3)
               & Objections

April 2022     Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
               Administration
               & Objections

April 2022     Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
               Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
               & Objections




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                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 798 of 2195 PageID #:71714
5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022     Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
               Administration
               & Objections

April 2022     Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
               Administration
               & Objections

April 2022     Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
               Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
               & Objections

April 2022     Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
               Administration                                   (all108) (.1)
               & Objections

April 2022     Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
               Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
               & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022     Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
               Administration
               & Objections




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                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 799 of 2195 PageID #:71715
5437 S Laflin Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
               Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022     Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
               Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
               & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022     Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
               Administration
               & Objections

April 2022     Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine               0.1    0.002381       $0.33
               Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
               & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022     Claims                  04/25/22 JRW         260 continued analysis of Midland claims and related conference with A. Watychowicz regarding             2.0 0.0571429        $14.86
               Administration                                   spreadsheets (10012 LaSalle, 1017 W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136
               & Objections                                     W 83rd, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554
                                                                Rhodes, 6759 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104
                                                                Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.0)

April 2022     Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
               Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
               & Objections

April 2022     Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
               Administration                                   Duff (all108).
               & Objections




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                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 800 of 2195 PageID #:71716
5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                    Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                          Keeper                                                                                                                     Hours        Fees
April 2022     Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                 0.3 0.0027778         $0.39
               Administration
               & Objections

April 2022     Claims                  04/29/22 JRW         260 confer with A. Watychowicz regarding service on lienholders of record (10012 LaSalle, 1017          0.2 0.0057143         $1.49
               Administration                                   W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 3723 W 68th,
               & Objections                                     406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance,
                                                                8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212
                                                                Parnell, 9610 Woodlawn) (.2)

April 2022     Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
               Administration
               & Objections

May 2022       Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
               Administration                                   exchange additional related correspondence (all108) (.3)
               & Objections

May 2022       Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
               Administration                                   (all108) (.3)
               & Objections

May 2022       Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
               Administration                                   communications with claimants regarding claims process, timing, and custodian issues
               & Objections                                     (all108) (.7)

May 2022       Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
               Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
               & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022       Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                  0.3 0.0027778         $1.08
               Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
               & Objections




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                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 801 of 2195 PageID #:71717
5437 S Laflin Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
               Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022       Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
               Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
               & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022       Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
               Administration                                   process and hearing (all108) (1.1)
               & Objections

May 2022       Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
               Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
               & Objections




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022       Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
               Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
               & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022       Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
               Administration
               & Objections

May 2022       Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
               Administration
               & Objections

May 2022       Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
               Administration
               & Objections

May 2022       Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
               Administration
               & Objections




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5437 S Laflin Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
               Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
May 2022       Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
               Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
               & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                    2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                    4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                    5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                    6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022       Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
               Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
               & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                    (.2)

May 2022       Business                05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
               Operations                                           and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                    Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                    Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                    Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                    Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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5437 S Laflin Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
               Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
May 2022       Business                05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
               Operations                                           regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                    2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                    417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                    6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                    Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                    Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                    Woodlawn) (.1).
May 2022       Claims                  05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
               Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
               & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (1.7).

May 2022       Claims                  05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
               Administration
               & Objections

May 2022       Claims                  05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
               Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
               & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (2.2).
May 2022       Claims                  05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
               Administration
               & Objections

May 2022       Claims                  05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
               Administration
               & Objections

May 2022       Claims                  05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
               Administration
               & Objections




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
               Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022       Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
               Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
               & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022       Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
               Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
               & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022       Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
               Administration                                   hearing (all108) (.8)
               & Objections

May 2022       Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
               Administration
               & Objections

May 2022       Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
               Administration
               & Objections




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
               Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022       Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
               Administration
               & Objections

May 2022       Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
               Administration
               & Objections

May 2022       Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
               Administration
               & Objections

May 2022       Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
               Administration                                   (all108) (.3)
               & Objections

May 2022       Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
               Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
               & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022       Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
               Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
               & Objections

May 2022       Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
               Administration                                   of claims (all108) (.5).
               & Objections

May 2022       Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
               Administration
               & Objections




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5437 S Laflin Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
               Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022       Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
               Administration
               & Objections

May 2022       Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
               Administration
               & Objections

May 2022       Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
               Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
               & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (1.2)
May 2022       Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
               Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
               & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022       Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
               Administration
               & Objections

May 2022       Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
               Administration
               & Objections

May 2022       Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
               Administration                                       respond accordingly (all) (.2).
               & Objections




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022       Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
               Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
               & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022       Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
               Administration
               & Objections

May 2022       Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
               Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
               & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022       Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
               Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
               & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022       Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
               Administration
               & Objections

May 2022       Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
               Administration
               & Objections

May 2022       Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
               Administration
               & Objections

May 2022       Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
               Administration
               & Objections

May 2022       Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
               Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
               & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022      Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
               Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
               & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022      Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
               Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
               & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022      Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
               Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
               & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn).




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022      Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
               Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
               & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022      Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
               Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
               & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                                3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).

June 2022      Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
               Administration                                   (all108) (.2)
               & Objections

June 2022      Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
               Administration                                   regarding claims process issues (all108).
               & Objections

June 2022      Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
               Administration                                   issues (all108) (.2)
               & Objections




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5437 S Laflin Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
               Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
June 2022      Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
               Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
               & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022      Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
               Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
               & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022      Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
               Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
               & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                                406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                                Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                                8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated    Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours         Fees
June 2022      Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238          $3.71
               Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
               & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                                3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.4)

June 2022      Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008        $2.08
               Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
               & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022      Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952          $9.90
               Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
               & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).
June 2022      Claims                  06/02/22 JRW         260 review claim and update claims analysis spreadsheet (5437 Laflin) (.4)                                   0.4          0.4     $104.00
               Administration
               & Objections




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022      Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     1.7 0.0404762        $10.52
               Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
               & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022      Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
               Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
               & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022      Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
               Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
               & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022      Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
               Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
               & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).




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5437 S Laflin Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
               Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022      Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                 2.9 0.0690476         $17.95
               Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
               & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)

June 2022      Claims                  06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender               2.1         0.05       $7.00
               Administration                                   production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
               & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022      Claims                  06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                3.9 0.0928571         $24.14
               Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
               & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022      Claims                  06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W              0.2 0.0047619          $0.67
               Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
               & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.2).




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5437 S Laflin Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
               Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022      Claims                  06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667         $2.05
               Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
               & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022      Claims                  06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                  0.7 0.0166667         $2.33
               Administration                                   communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
               & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)

June 2022      Claims                  06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of              0.4 0.0095238         $1.33
               Administration                                   same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
               & Objections                                     2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                                E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022      Claims                  06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.4 0.0571429        $14.86
               Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
               & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (2.4)




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022      Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
               Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
               & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022      Claims                  06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
               Administration                                   upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
               & Objections                                     1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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5437 S Laflin Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
               Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022      Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
               Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
               & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022      Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
               Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
               & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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5437 S Laflin Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
               Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022      Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
               Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
               & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022      Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
               Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
               & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (.7).
June 2022      Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                             0.7 0.0093333         $1.31
               Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
               & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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5437 S Laflin Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
               Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022      Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                   5.5 0.0733333        $10.27
               Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
               & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022      Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
               Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
               & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                    6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                    Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                    Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                    Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                    Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022      Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
               Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
               & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)




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5437 S Laflin Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
               Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022      Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                   2.0 0.0266667         $3.73
               Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
               & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022      Claims                  06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.             1.5 0.0357143         $9.29
               Administration                                       Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
               & Objections                                         71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                    Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                    St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                    Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                    Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022      Claims                  06/13/22 MR              390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318           0.5 0.0119048         $4.64
               Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
               & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                    6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                    Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn).

June 2022      Claims                  06/14/22 MR              390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                 0.2 0.0047619         $1.86
               Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
               & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                    6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                    Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn).




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022      Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
               Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
               & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022      Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
               Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
               & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                                3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).

June 2022      Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
               Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
               & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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5437 S Laflin Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
               Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022      Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
               Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
               & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022      Claims                  06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
               Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
               & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022      Claims                  06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
               Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
               & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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5437 S Laflin Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
               Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022      Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
               Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022      Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
               Administration
               & Objections

June 2022      Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
               Administration                                       related correspondence to vendor (all108) (.3)
               & Objections

June 2022      Claims                  06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
               Administration                                       (.5)
               & Objections

June 2022      Claims                  06/29/22 MR              390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,             0.2 0.0047619         $1.86
               Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
               & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (.2).




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5437 S Laflin Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
               Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022      Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238          $2.48
               Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
               & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022      Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
               Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
               & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022      Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
               Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
               & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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5437 S Laflin Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
               Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
June 2022      Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238         $3.71
               Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
               & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                      7300-04 S St Lawrence Avenue
General Allocation % (Pre 01/29/21):                                                 0.4136082%
General Allocation % (01/29/21 Onward, Claims Only):                            0.4443639203%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     49       7300-04 S St Lawrence Avenue                                                   0.39     $                   94.91                           2.89     $             682.93              3.28    $                  777.83
                 Asset Disposition [4]                                                        0.00    $                     0.17                               -   $                -                 0.00   $                    0.17
                 Business Operations [5]                                                      0.23    $                    59.99                               -   $                -                 0.23   $                   59.99
                 Claims Administration & Objections [6]                                       0.16    $                    34.74                          2.89     $             682.93               3.05   $                  717.67




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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Specific Allocation Hours:                    2.89
Specific Allocation Fees:         $         682.93



   Invoice                                            Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/14/22 JRW          260 Review and analyze documents produced pursuant to subpoena (2129 W 71st, 5437 Laflin,                    4.8          0.8     $208.00
               Administration                                       6759 Indiana, 7300 St Lawrence, 7760 Coles, 9610 Woodlawn).
               & Objections

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
             Administration
             & Objections




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine              0.1    0.002381       $0.33
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
             Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 continued analysis of Midland claims and related conference with A. Watychowicz regarding             2.0 0.0571429        $14.86
             Administration                                   spreadsheets (10012 LaSalle, 1017 W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554
                                                              Rhodes, 6759 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104
                                                              Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.0)

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                    Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
April 2022   Claims                  04/29/22 JRW         260 confer with A. Watychowicz regarding service on lienholders of record (10012 LaSalle, 1017          0.2 0.0057143         $1.49
             Administration                                   W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 3723 W 68th,
             & Objections                                     406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance,
                                                              8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212
                                                              Parnell, 9610 Woodlawn) (.2)

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims           1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                              2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                              3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                              (.2)

May 2022     Claims                  05/02/22 JRW         260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                1.7 0.0404762        $10.52
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (1.7).




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                      0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 JRW         260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                   2.2    0.052381      $13.62
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (2.2).
May 2022     Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                  0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)            0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                               0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                            0.7 0.0064815         $1.69
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections




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7300-04 S St Lawrence Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.2)
May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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7300-04 S St Lawrence Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2022     Claims                  05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                       conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                         E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                       claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                         Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                  Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                  Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                  Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                  Marquette, 7927 Essex).
May 2022     Claims                  05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                       claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                         Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                  Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                  Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                  7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                  05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259          $0.24
             Administration
             & Objections




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                          0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,              3.0 0.0714286        $18.57
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                 0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                 0.1    0.002381       $0.93
             Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                     0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender            1.2 0.0285714        $11.14
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                       0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                       0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections




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7300-04 S St Lawrence Avenue                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections

June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
             Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
             & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                              406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                              6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                              Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                              8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).




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  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
             Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
             & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                              3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.4)

June 2022    Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).
June 2022    Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
             Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022    Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022    Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
             Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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7300-04 S St Lawrence Avenue                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender               2.1         0.05       $7.00
             Administration                                   production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                3.9 0.0928571         $24.14
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022    Claims                  06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W              0.2 0.0047619          $0.67
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022    Claims                  06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                0.7 0.0166667          $2.33
             Administration                                   communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)




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7300-04 S St Lawrence Avenue                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667         $2.05
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                              8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                              Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of              0.4 0.0095238         $1.33
             Administration                                   same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
             & Objections                                     2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                              E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.4 0.0571429        $14.86
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (2.4)




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                  06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                   upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                     1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                              79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7300-04 S St Lawrence Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.7).
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                             0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7300-04 S St Lawrence Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                   5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
             Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                  6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                  Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                  Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                  Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                   2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.             1.5 0.0357143         $9.29
             Administration                                       Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
             & Objections                                         71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                  Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                  St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                  Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                  06/13/22 MR              390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318           0.5 0.0119048         $4.64
             Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                  6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                  Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn).

June 2022    Claims                  06/14/22 MR              390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                 0.2 0.0047619         $1.86
             Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                  6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                  Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn).




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7300-04 S St Lawrence Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                  06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022    Claims                  06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7300-04 S St Lawrence Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                       related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                       (.5)
             & Objections

June 2022    Claims                  06/29/22 MR              390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,             0.2 0.0047619         $1.86
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.2).




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7300-04 S St Lawrence Avenue                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238          $2.48
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7300-04 S St Lawrence Avenue                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238         $3.71
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  7760 S Coles Avenue
General Allocation % (Pre 01/29/21):                                                 0.3258731%
General Allocation % (01/29/21 Onward, Claims Only):                            0.3501049069%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     50       7760 S Coles Avenue                                                            0.31     $                   74.78                           3.23     $             731.07              3.54    $                  805.85
                 Asset Disposition [4]                                                        0.00    $                     0.14                               -   $                -                 0.00   $                    0.14
                 Business Operations [5]                                                      0.18    $                    47.26                               -   $                -                 0.18   $                   47.26
                 Claims Administration & Objections [6]                                       0.12    $                    27.37                          3.23     $             731.07               3.36   $                  758.44




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7760 S Coles Avenue                                                      EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.23
Specific Allocation Fees:         $         731.07



   Invoice                                            Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/14/22 JRW          260 Review and analyze documents produced pursuant to subpoena (2129 W 71st, 5437 Laflin,                    4.8          0.8     $208.00
               Administration                                       6759 Indiana, 7300 St Lawrence, 7760 Coles, 9610 Woodlawn).
               & Objections

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 861 of 2195 PageID #:71777
7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
             Administration
             & Objections




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine              0.1    0.002381       $0.33
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
             Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 JRW         260 continued analysis of Midland claims and related conference with A. Watychowicz regarding             2.0 0.0571429        $14.86
             Administration                                   spreadsheets (10012 LaSalle, 1017 W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554
                                                              Rhodes, 6759 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104
                                                              Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.0)

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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7760 S Coles Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
April 2022   Claims                  04/29/22 JRW         260 confer with A. Watychowicz regarding service on lienholders of record (10012 LaSalle, 1017          0.2 0.0057143         $1.49
             Administration                                   W 102nd, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 3723 W 68th,
             & Objections                                     406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance,
                                                              8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212
                                                              Parnell, 9610 Woodlawn) (.2)

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 865 of 2195 PageID #:71781
7760 S Coles Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7760 S Coles Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                              2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                              3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                              (.2)

May 2022     Claims                  05/02/22 JRW         260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                1.7 0.0404762        $10.52
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (1.7).




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                      0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 JRW         260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                   2.2    0.052381      $13.62
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (2.2).
May 2022     Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                  0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)            0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                               0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                            0.7 0.0064815         $1.69
             Administration
             & Objections




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections




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7760 S Coles Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.2)
May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
             Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
             Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
             & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                              406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                              6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                              Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                              8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
             Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
             & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                              3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.4)

June 2022    Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).
June 2022    Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
             Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022    Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022    Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
             Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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7760 S Coles Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/07/22 AW              140 Communicate with J. Wine regarding and extract key documents from institutional lender               2.1         0.05       $7.00
             Administration                                       production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                         W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                  Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                  St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                  Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                5.8 0.2636364         $36.91
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)

June 2022    Claims                  06/07/22 JRW             260 continued review and analysis of production documents and update notes regarding same                3.9 0.0928571         $24.14
             Administration                                       (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                         W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                  92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                  Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                  Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022    Claims                  06/08/22 AW              140 complete extraction of key documents from institutional lender production and related                0.7 0.0166667          $2.33
             Administration                                       communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                         1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                  417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                  7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                  Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                  Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)




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7760 S Coles Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667         $2.05
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022    Claims                  06/08/22 AW              140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                0.2 0.0047619         $0.67
             Administration                                       102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                  6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                  Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                  Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                  Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022    Claims                  06/08/22 AW              140 Attention to error messages on a number of produced documents and locate working files of              0.4 0.0095238         $1.33
             Administration                                       same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
             & Objections                                         2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                                  E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                  Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                  Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8 0.2181818        $30.55
             Administration                                       claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                         Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                  7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                  Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
June 2022    Claims                  06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                  2.4 0.0571429         $14.86
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (2.4)
June 2022    Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                  06/09/22 AW          140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
             Administration                                   End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
             & Objections                                     1700 Juneway) (3.6)

June 2022    Claims                  06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333          $0.75
             Administration                                   upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                     1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                              79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7760 S Coles Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7760 S Coles Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.7).
June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7760 S Coles Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
             Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                  6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                  Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                  Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                  Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)




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7760 S Coles Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                   2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.             1.5 0.0357143         $9.29
             Administration                                       Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
             & Objections                                         71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                  Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                  St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                  Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                  06/13/22 MR              390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318           0.5 0.0119048         $4.64
             Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                  6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                  Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn).

June 2022    Claims                  06/14/22 MR              390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                 0.2 0.0047619         $1.86
             Administration                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                         3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                  6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                  Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn).




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7760 S Coles Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                  06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022    Claims                  06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7760 S Coles Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                       related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                       (.5)
             & Objections

June 2022    Claims                  06/29/22 MR              390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,             0.2 0.0047619         $1.86
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.2).




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7760 S Coles Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238          $2.48
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7760 S Coles Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238         $3.71
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 891 of 2195 PageID #:71807
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  1401 W 109th Place
General Allocation % (Pre 01/29/21):                                                 0.0818017%
General Allocation % (01/29/21 Onward, Claims Only):                            0.0878844110%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     51       1401 W 109th Place                                                             0.08     $                   18.77                           2.12     $             512.05              2.19    $                  530.82
                 Asset Disposition [4]                                                        0.00    $                     0.03                               -   $                -                 0.00   $                    0.03
                 Business Operations [5]                                                      0.05    $                    11.86                          0.18     $              25.64               0.23   $                   37.50
                 Claims Administration & Objections [6]                                       0.03    $                     6.87                          1.93     $             486.41               1.96   $                  493.29




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1401 W 109th Place                                                          EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.12
Specific Allocation Fees:         $         512.05



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Business                   04/05/22 JR              140 communication with K. Pritchard pertaining to various property allocation of funds relating              0.5       0.125       $17.50
               Operations                                              to funds wired out and confirmation of same (6751 Merrill, 4520 Drexel, 1401 W 109th, 7237
                                                                       Bennett) (.5)
April 2022     Business                   04/06/22 JR              140 review email communication from K. Pritchard pertaining to various property allocation of                0.1         0.05       $7.00
               Operations                                              funds relating to funds wired out and confirmation of same (1401 W 109th, 7237 Bennett)
                                                                       (.1)
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 893 of 2195 PageID #:71809
1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
April 2022   Claims                  04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
             Administration                                   (all108) (.1).
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 894 of 2195 PageID #:71810
1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,               0.6 0.0142857         $2.00
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 895 of 2195 PageID #:71811
1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2022   Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine              0.1    0.002381       $0.33
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022   Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                  0.3 0.0071429         $1.00
             Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                     0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.               0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                  0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                       0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                  0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 896 of 2195 PageID #:71812
1401 W 109th Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)

May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 897 of 2195 PageID #:71813
1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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1401 W 109th Place                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                  2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                  (.2)

May 2022     Business                05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
             Operations                                           and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                  1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                  Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                  Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                  Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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1401 W 109th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2022     Business                05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
             Operations                                           regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                  2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                  417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                  6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                  Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                  Woodlawn) (.1).
May 2022     Claims                  05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.7).

May 2022     Claims                  05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (2.2).
May 2022     Claims                  05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections




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1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 901 of 2195 PageID #:71817
1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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1401 W 109th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.2)
May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).




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1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
             Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).




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1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections




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1401 W 109th Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
             Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
             & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                              406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                              6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                              Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                              8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).




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1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
             Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
             & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                              3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.4)

June 2022    Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
             Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).
June 2022    Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022    Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022    Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
             Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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1401 W 109th Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2022    Claims                  06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender                 2.1         0.05       $7.00
             Administration                                   production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                  3.9 0.0928571         $24.14
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022    Claims                  06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                  0.7 0.0166667          $2.33
             Administration                                   communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)

June 2022    Claims                  06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                              8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                              Marquette, 8800 Ada) (1.1)




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1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                 0.2 0.0047619         $0.67
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022    Claims                  06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of               0.4 0.0095238         $1.33
             Administration                                   same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
             & Objections                                     2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                              E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                  2.4 0.0571429        $14.86
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (2.4)
June 2022    Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)




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1401 W 109th Place                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1401 W 109th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.7).




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1401 W 109th Place                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/10/22 JRW             260 analyze claims against properties (1401 W 109th, 310 E 50th, 6807 Indiana, 8000 Justine,               2.4 0.3428571        $89.14
             Administration                                       8107 Ellis, 8209 Ellis, 8214 Ingleside) (2.4).
             & Objections




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1401 W 109th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
             Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                  6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                  Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                  Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                  Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 916 of 2195 PageID #:71832
1401 W 109th Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/13/22 JRW         260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.               1.5 0.0357143         $9.29
             Administration                                   Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
             & Objections                                     71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                  06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
             Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022    Claims                  06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
             Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 917 of 2195 PageID #:71833
1401 W 109th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 918 of 2195 PageID #:71834
1401 W 109th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 MR              390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
             Administration                                       LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                         83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                  6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                  7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                  Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                  8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022    Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                       0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                         0.1 0.0009259         $0.24
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 919 of 2195 PageID #:71835
1401 W 109th Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                   related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                   (.5)
             & Objections

June 2022    Claims                  06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).
June 2022    Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 920 of 2195 PageID #:71836
1401 W 109th Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 921 of 2195 PageID #:71837
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                      310 E 50th Street
General Allocation % (Pre 01/29/21):                                                 0.2522647%
General Allocation % (01/29/21 Onward, Claims Only):                            0.2710229412%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     52       310 E 50th Street                                                              0.24     $                   57.89                           1.94     $             487.55              2.18    $                  545.44
                 Asset Disposition [4]                                                        0.00    $                     0.11                               -   $                -                 0.00   $                    0.11
                 Business Operations [5]                                                      0.14    $                    36.59                          0.01     $               1.14               0.15   $                   37.72
                 Claims Administration & Objections [6]                                       0.10    $                    21.19                          1.93     $             486.41               2.03   $                  507.61




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 922 of 2195 PageID #:71838
310 E 50th Street                                                        EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.94
Specific Allocation Fees:         $         487.55



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 923 of 2195 PageID #:71839
310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
April 2022    Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
              Administration                                   hearing (all108) (.1)
              & Objections

April 2022    Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
              Administration                                   (.1)
              & Objections

April 2022    Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022    Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
              Administration                                   change of date (all108) (.3)
              & Objections

April 2022    Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
              Administration                                   exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
              Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)             0.2 0.0018519         $0.26
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 924 of 2195 PageID #:71840
310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022    Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                   (all108) (.1)
              & Objections

April 2022    Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,               0.6 0.0142857         $2.00
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022    Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
              Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                               7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                               Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                               Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022    Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 925 of 2195 PageID #:71841
310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                  Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                         Keeper                                                                                                                   Hours        Fees
April 2022    Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine           0.1    0.002381       $0.33
              Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022    Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                  0.2 0.0018519         $0.48
              Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                  0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.            0.3 0.0027778         $0.39
              Administration                                   Duff (all108).
              & Objections

April 2022    Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                               0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                    0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence               0.3 0.0027778         $1.08
              Administration                                   (all108) (.3)
              & Objections

May 2022      Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and            0.3 0.0027778         $1.08
              Administration                                   exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                         0.7 0.0064815         $2.53
              Administration                                   communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                     (all108) (.7)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 926 of 2195 PageID #:71842
310 E 50th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022      Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                   process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 927 of 2195 PageID #:71843
310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022      Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 928 of 2195 PageID #:71844
310 E 50th Street                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
May 2022      Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
              Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                   2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                   4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                   5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                   6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
              Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                   (.2)

May 2022      Business                05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
              Operations                                           and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                   Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                   Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                   Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                   Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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310 E 50th Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
May 2022      Business                05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
              Operations                                           regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                   2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                   417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                   6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                   Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                   Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                   Woodlawn) (.1).
May 2022      Claims                  05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (1.7).

May 2022      Claims                  05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (2.2).
May 2022      Claims                  05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections




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310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022      Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022      Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
              Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022      Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
              Administration                                   hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
              Administration
              & Objections




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310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022      Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                   (all108) (.3)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                   of claims (all108) (.5).
              & Objections

May 2022      Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections




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310 E 50th Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (1.2)
May 2022      Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022      Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections

May 2022      Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                       respond accordingly (all) (.2).
              & Objections




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310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022      Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).




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310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
              Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn).




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310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
              Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                               3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                   (all108) (.2)
              & Objections

June 2022     Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                   regarding claims process issues (all108).
              & Objections

June 2022     Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                   issues (all108) (.2)
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 937 of 2195 PageID #:71853
310 E 50th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022     Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
              Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
              & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                               406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                               6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                               Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                               8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 938 of 2195 PageID #:71854
310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
June 2022     Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
              Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
              & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                               3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                               6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                               Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.4)

June 2022     Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
              Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
              Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).
June 2022     Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 939 of 2195 PageID #:71855
310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022     Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022     Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022     Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
              Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 940 of 2195 PageID #:71856
310 E 50th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022     Claims                  06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender               2.1         0.05       $7.00
              Administration                                   production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                3.9 0.0928571         $24.14
              Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022     Claims                  06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                0.7 0.0166667          $2.33
              Administration                                   communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                               7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                               Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                               Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)

June 2022     Claims                  06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W              0.2 0.0047619          $0.67
              Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.2).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 941 of 2195 PageID #:71857
310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
              Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022     Claims                  06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of               0.4 0.0095238         $1.33
              Administration                                   same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
              & Objections                                     2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                               E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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310 E 50th Street                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022     Claims                  06/08/22 JRW             260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,               2.4 0.0571429        $14.86
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (2.4)
June 2022     Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
              Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
              Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 943 of 2195 PageID #:71859
310 E 50th Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022     Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
              Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (.7).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 944 of 2195 PageID #:71860
310 E 50th Street                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
              Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                  06/10/22 JRW             260 analyze claims against properties (1401 W 109th, 310 E 50th, 6807 Indiana, 8000 Justine,               2.4 0.3428571        $89.14
              Administration                                       8107 Ellis, 8209 Ellis, 8214 Ingleside) (2.4).
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 945 of 2195 PageID #:71861
310 E 50th Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
              Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                   6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                   Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                   Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                   Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                   Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022     Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 946 of 2195 PageID #:71862
310 E 50th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/13/22 JRW         260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.               1.5 0.0357143         $9.29
              Administration                                   Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
              & Objections                                     71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022     Claims                  06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
              Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                               6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                               Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).

June 2022     Claims                  06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
              Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                               6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                               Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).

June 2022     Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 947 of 2195 PageID #:71863
310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022     Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
              Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                               3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
              Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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310 E 50th Street                                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/15/22 MR              390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
              Administration                                       LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                         83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                   6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                   7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                   Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                   8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022     Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
              Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                       0.3       0.004       $0.56
              Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                  0.3 0.0027778         $0.72
              Administration                                       related correspondence to vendor (all108) (.3)
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 949 of 2195 PageID #:71865
310 E 50th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
              Administration                                   (.5)
              & Objections

June 2022     Claims                  06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
              Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).
June 2022     Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
              Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.4)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 950 of 2195 PageID #:71866
310 E 50th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022     Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
              Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
              Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                     Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 951 of 2195 PageID #:71867
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                6807 S Indiana Avenue
General Allocation % (Pre 01/29/21):                                                 0.1572175%
General Allocation % (01/29/21 Onward, Claims Only):                            0.1689081123%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     53       6807 S Indiana Avenue                                                          0.15     $                   36.08                           3.14     $             799.55              3.29    $                  835.63
                 Asset Disposition [4]                                                        0.00    $                     0.07                               -   $                -                 0.00   $                    0.07
                 Business Operations [5]                                                      0.09    $                    22.80                          0.01     $               1.14               0.10   $                   23.94
                 Claims Administration & Objections [6]                                       0.06    $                    13.21                          3.13     $             798.41               3.19   $                  811.62




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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                                  Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 952 of 2195 PageID #:71868
6807 S Indiana Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.14
Specific Allocation Fees:         $         799.55



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 953 of 2195 PageID #:71869
6807 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
April 2022   Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                   (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                   hearing (all108) (.1)
             & Objections

April 2022   Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                   exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                   change of date (all108) (.3)
             & Objections

April 2022   Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                    0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 954 of 2195 PageID #:71870
6807 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2022   Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                   (all108) (.1)
             & Objections

April 2022   Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,               0.6 0.0142857         $2.00
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
             Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022   Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 955 of 2195 PageID #:71871
6807 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
April 2022   Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine           0.1    0.002381       $0.33
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022   Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                  0.2 0.0018519         $0.48
             Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                  0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.            0.3 0.0027778         $0.39
             Administration                                   Duff (all108).
             & Objections

April 2022   Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                               0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                    0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and            0.3 0.0027778         $1.08
             Administration                                   exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence               0.3 0.0027778         $1.08
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                         0.7 0.0064815         $2.53
             Administration                                   communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                     (all108) (.7)




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6807 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                              2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                              Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                              Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                              Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                              Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                              Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).

May 2022     Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                   process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections




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6807 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                              71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                              Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                              4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                              5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                              6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).


May 2022     Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
May 2022     Claims                  05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                       claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                         79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                  2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                       statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                  (.2)

May 2022     Business                05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
             Operations                                           and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                  1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                  Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                  Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                  Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2022     Business                05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
             Operations                                           regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                  2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                  417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                  6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                  Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                  Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                  Woodlawn) (.1).
May 2022     Claims                  05/02/22 JRW             260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 1.7 0.0404762        $10.52
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.7).

May 2022     Claims                  05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/03/22 JRW             260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (2.2).
May 2022     Claims                  05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                  05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022     Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
             Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                              W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                              W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                              4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                              Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                              Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                              Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                              Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).


May 2022     Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                   hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022     Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                   (all108) (.3)
             & Objections

May 2022     Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                   of claims (all108) (.5).
             & Objections

May 2022     Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                  05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (1.2)
May 2022     Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.7)

May 2022     Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                       respond accordingly (all) (.2).
             & Objections

May 2022     Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2022     Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                              1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                              Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                              Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                              8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                              Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                              Marquette, 8800 Ada) (.9)




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2022     Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                              8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                              Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
             Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn).




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6807 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                   (all108) (.2)
             & Objections

June 2022    Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                   regarding claims process issues (all108).
             & Objections

June 2022    Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                   issues (all108) (.2)
             & Objections




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2022    Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                              68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                              5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                              92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                              6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                              Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                              Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                              Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                              Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                              8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                              78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                              Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                              Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                              Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                              Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                              7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                              Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                              7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
             Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
             & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                              406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                              6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                              Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                              8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                              Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                              Woodlawn).




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  Invoice                                       Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
             Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
             & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                              3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.4)

June 2022    Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).
June 2022    Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
             Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                              310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                              Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                              6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                              Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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  Invoice                                       Time                                                                                                                        Allocated    Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
June 2022    Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                  06/02/22 JRW         260 review claims against property and update claims analysis spreadsheet (6807 S Indiana) (1.2)            1.2          1.2     $312.00
             Administration
             & Objections

June 2022    Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095         $19.19
             Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                              Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022    Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381        $0.33
             Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                              6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                              7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                              Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                              8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).




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6807 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2022    Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                   2.9 0.0690476         $17.95
             Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)

June 2022    Claims                  06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender                 2.1         0.05       $7.00
             Administration                                   production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                  3.9 0.0928571         $24.14
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022    Claims                  06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                              Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                              5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                              Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                              Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                              7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                              7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                              Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                              7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                              8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                              Marquette, 8800 Ada) (1.1)




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  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                   0.7 0.0166667         $2.33
             Administration                                   communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                              417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                              7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                              Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                              Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)

June 2022    Claims                  06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                 0.2 0.0047619         $0.67
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022    Claims                  06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of               0.4 0.0095238         $1.33
             Administration                                   same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
             & Objections                                     2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                              E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                              Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.7)




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2022    Claims                  06/08/22 JRW             260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,               2.4 0.0571429        $14.86
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (2.4)
June 2022    Claims                  06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                       upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                         1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                  06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                       Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                         claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                  1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                  79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                           Time                                                                                                                         Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
June 2022    Claims                  06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                       with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                         109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                  06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
             Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                  Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                  7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                  Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.7).




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6807 S Indiana Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                       spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                  1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                       Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                         W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/10/22 JRW             260 analyze claims against properties (1401 W 109th, 310 E 50th, 6807 Indiana, 8000 Justine,               2.4 0.3428571        $89.14
             Administration                                       8107 Ellis, 8209 Ellis, 8214 Ingleside) (2.4).
             & Objections




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6807 S Indiana Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
             Administration                                       W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                         3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                  6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                  Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                  Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                  Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                  Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022    Claims                  06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                       correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                  2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                  06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                       Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                         Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6807 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/13/22 JRW         260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.               1.5 0.0357143         $9.29
             Administration                                   Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
             & Objections                                     71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                              Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                              St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                  06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
             Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022    Claims                  06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
             Administration                                   Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                     3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                              6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                              Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn).

June 2022    Claims                  06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                     W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                              Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                              5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                              Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                              Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                              7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                              7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                              Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                              Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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6807 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                              E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                              5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                              MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                              Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                              7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                              7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                              Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                              Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                              7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                              Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                              Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                  06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
             Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                              3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                  06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
             Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                              92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                              Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                              Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                              Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                              Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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6807 S Indiana Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
             Billing Category    Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022    Claims                  06/15/22 MR              390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
             Administration                                       LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                         83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                  6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                  7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                  Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                  8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022    Claims                  06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                       (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                         1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                  68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                  06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                       0.3       0.004       $0.56
             Administration                                       process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                  W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                  5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                  92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                  6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                  Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                  Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                  Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                  8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                  Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                  0.3 0.0027778         $0.72
             Administration                                       related correspondence to vendor (all108) (.3)
             & Objections




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
             Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2022    Claims                  06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                  06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                   (.5)
             & Objections

June 2022    Claims                  06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
             Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                              Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                              7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                              Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                              Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                              9610 Woodlawn) (.2).
June 2022    Claims                  06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022    Claims                  06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                              4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                              Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                              6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                              6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                              Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                              Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                              7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                              7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                              Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                              8326 Ellis, 8405 Marquette, 8800 Ada).




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6807 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
             Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022    Claims                  06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                   review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                     1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                              50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                              4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                              Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                              California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                              7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                              7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                              7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                              7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                              7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                              Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                  06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
             Administration                                   102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                     3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                              6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                              Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                              Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                              Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                              Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                8000-02 S Justine Street
General Allocation % (Pre 01/29/21):                                                 0.4700093%
General Allocation % (01/29/21 Onward, Claims Only):                             0.5049590004%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     54       8000-02 S Justine Street                                                       0.44     $                 107.85                            1.93     $             486.41              2.37    $                  594.27
                 Asset Disposition [4]                                                        0.00    $                     0.20                               -   $                -                 0.00   $                    0.20
                 Business Operations [5]                                                      0.26    $                    68.17                               -   $                -                 0.26   $                   68.17
                 Claims Administration & Objections [6]                                       0.18    $                    39.48                          1.93     $             486.41               2.11   $                  525.90




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8000-02 S Justine Street                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.93
Specific Allocation Fees:         $         486.41



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
April 2022    Claims                  04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022    Claims                  04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
              Administration                                   (.1)
              & Objections

April 2022    Claims                  04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
              Administration                                   hearing (all108) (.1)
              & Objections

April 2022    Claims                  04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
              Administration                                   exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                  04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
              Administration                                   change of date (all108) (.3)
              & Objections

April 2022    Claims                  04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
              Administration                                   communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                  04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                    0.1 0.0009259         $0.13
              Administration
              & Objections




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8000-02 S Justine Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022    Claims                  04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                  04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                  04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
              Administration                                   (all108) (.1)
              & Objections

April 2022    Claims                  04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
              Administration                                   claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                  04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022    Claims                  04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine              0.1    0.002381       $0.33
              Administration                                   (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                     W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                               92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                               Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022    Claims                  04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
              Administration                                   communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                     1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                               7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                               Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                               Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022    Claims                  04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                  04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                   regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                  04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                  04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                   Duff (all108).
              & Objections

April 2022    Claims                  04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                  04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
              Administration                                   exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                  05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
              Administration                                   (all108) (.3)
              & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                   communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                     (all108) (.7)

May 2022      Claims                  05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                   requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                     A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                  05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                   102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                     62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022      Claims                  05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                   process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                  05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                   regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                  05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                   correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections




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8000-02 S Justine Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                   process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                     Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022      Claims                  05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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  Invoice                                        Time                                                                                                                     Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
May 2022      Claims                  05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
              Administration                                   claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                     79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
              Administration                                   statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                     109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022      Claims                  05/02/22 JRW         260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                1.7 0.0404762        $10.52
              Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (1.7).




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8000-02 S Justine Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022      Claims                  05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                      0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/03/22 JRW         260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                   2.2    0.052381      $13.62
              Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (2.2).
May 2022      Claims                  05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                  0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                  05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)            0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                               0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                  05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                   (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022      Claims                  05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                   hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                  05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections

May 2022      Claims                  05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                            0.7 0.0064815         $1.69
              Administration
              & Objections




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8000-02 S Justine Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022      Claims                  05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                  05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                   (all108) (.3)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                   11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                     2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                  05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                   regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                  05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                   of claims (all108) (.5).
              & Objections

May 2022      Claims                  05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                  05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
              Administration                                       1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                         68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                   Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                   7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                   Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn) (1.2)
May 2022      Claims                  05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                       1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                         81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022      Claims                  05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                  05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections

May 2022      Claims                  05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                       respond accordingly (all) (.2).
              & Objections




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022      Claims                  05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                   correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                     development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                  05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                  05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                   1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                     81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022      Claims                  05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                   conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                  05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                  05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                  05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                  05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
              Administration                                   claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022     Claims                  06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                   Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                     64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
              Administration                                   claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                               3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                               6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                  06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                   (all108) (.2)
              & Objections

June 2022     Claims                  06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                   regarding claims process issues (all108).
              & Objections

June 2022     Claims                  06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                   issues (all108) (.2)
              & Objections




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8000-02 S Justine Street                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
              Billing Category    Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022     Claims                  06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                   (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                     1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                  06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                   investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                     1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                  06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
              Administration                                   communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
              & Objections                                     W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                               406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                               6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                               Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                               8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
June 2022     Claims                  06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
              Administration                                   properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
              & Objections                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                               3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                               6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                               Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.4)

June 2022     Claims                  06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
              Administration                                   1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                     68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                               Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                               7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                               Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).
June 2022     Claims                  06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
              Administration                                   Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                     E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                  06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
              Billing Category    Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022     Claims                  06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                   Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                     Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022     Claims                  06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
              Administration                                   11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                     Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                               Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                               Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                               Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                               Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022     Claims                  06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
              Administration                                   LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                     83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                               6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                               7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                               Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                               8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022     Claims                  06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
              Administration                                   Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                     W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                               Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                               St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                               Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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8000-02 S Justine Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022     Claims                   06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender               2.1         0.05       $7.00
              Administration                                    production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                3.9 0.0928571         $24.14
              Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022     Claims                   06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W              0.2 0.0047619          $0.67
              Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022     Claims                   06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                0.7 0.0166667          $2.33
              Administration                                    communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                      1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)




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8000-02 S Justine Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667         $2.05
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022     Claims                   06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of              0.4 0.0095238         $1.33
              Administration                                    same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
              & Objections                                      2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                                E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.4 0.0571429        $14.86
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (2.4)




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022     Claims                   06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
              Administration                                    upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                      1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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8000-02 S Justine Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
              Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8000-02 S Justine Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022     Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                   06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
              Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (.7).
June 2022     Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8000-02 S Justine Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/10/22 JRW             260 analyze claims against properties (1401 W 109th, 310 E 50th, 6807 Indiana, 8000 Justine,               2.4 0.3428571        $89.14
              Administration                                        8107 Ellis, 8209 Ellis, 8214 Ingleside) (2.4).
              & Objections

June 2022     Claims                   06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                 1.7 0.0404762        $10.52
              Administration                                        W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                          3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                    6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                    Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                    Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                    Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                    Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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8000-02 S Justine Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.                1.5 0.0357143         $9.29
              Administration                                        Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
              & Objections                                          71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                    Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                    St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                    Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                    Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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8000-02 S Justine Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
              Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).

June 2022     Claims                   06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
              Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).

June 2022     Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                   06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender           1.5 0.0357143         $9.29
              Administration                                    claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                      102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                                3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).




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8000-02 S Justine Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022     Claims                   06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
              Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022     Claims                   06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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8000-02 S Justine Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
              Administration                                        related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
              Administration                                        (.5)
              & Objections




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8000-02 S Justine Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).
June 2022     Claims                   06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
              Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022     Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).




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8000-02 S Justine Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022     Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
              Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
              Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                8107-09 S Ellis Avenue
General Allocation % (Pre 01/29/21):                                                 0.2757388%
General Allocation % (01/29/21 Onward, Claims Only):                            0.2962426135%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     55       8107-09 S Ellis Avenue                                                         0.26     $                   63.27                           2.23     $             564.41              2.49    $                  627.69
                 Asset Disposition [4]                                                        0.00    $                     0.12                               -   $                -                 0.00   $                    0.12
                 Business Operations [5]                                                      0.15    $                    39.99                               -   $                -                 0.15   $                   39.99
                 Claims Administration & Objections [6]                                       0.10    $                    23.16                          2.23     $             564.41               2.34   $                  587.58




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8107-09 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.23
Specific Allocation Fees:         $         564.41



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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8107-09 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
April 2022    Claims                   04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022    Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
              Administration                                    (.1)
              & Objections

April 2022    Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
              Administration                                    hearing (all108) (.1)
              & Objections

April 2022    Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
              Administration                                    exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
              Administration                                    change of date (all108) (.3)
              & Objections

April 2022    Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
              Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                    0.1 0.0009259         $0.13
              Administration
              & Objections




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8107-09 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022    Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
              Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
              Administration                                    (all108) (.1)
              & Objections

April 2022    Claims                   04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
              Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022    Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine              0.1    0.002381       $0.33
              Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)




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8107-09 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022    Claims                   04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                   0.3 0.0071429         $1.00
              Administration                                    communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                      1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022    Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                    Duff (all108).
              & Objections

April 2022    Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
              Administration                                    exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
              Administration                                    (all108) (.3)
              & Objections




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8107-09 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                    communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                      (all108) (.7)

May 2022      Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022      Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                    process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections

May 2022      Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022      Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
May 2022      Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
              Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
              Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022      Claims                   05/02/22 JRW         260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                1.7 0.0404762        $10.52
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (1.7).




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                      0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/03/22 JRW         260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                   2.2    0.052381      $13.62
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (2.2).
May 2022      Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                  0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)            0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                               0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)




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8107-09 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022      Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                    hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                            0.7 0.0064815         $1.69
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                    of claims (all108) (.5).
              & Objections

May 2022      Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                   05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections




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  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
              Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (1.2)
May 2022      Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022      Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                        respond accordingly (all) (.2).
              & Objections

May 2022      Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022      Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
              Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
              Administration                                    claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn).




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
              Administration                                    claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                      102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                                3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                    (all108) (.2)
              & Objections

June 2022     Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                    regarding claims process issues (all108).
              & Objections

June 2022     Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                    issues (all108) (.2)
              & Objections




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  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
              Administration                                    communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
              & Objections                                      W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                                406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                                Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                                8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).




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  Invoice                                         Time                                                                                                                         Allocated    Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours         Fees
June 2022     Claims                   06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238          $3.71
              Administration                                    properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
              & Objections                                      Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                                3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.4)

June 2022     Claims                   06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952          $9.90
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).
June 2022     Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008        $2.08
              Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/02/22 JRW         260 review claim and update claims analysis spreadsheet (8107 Ellis) (.3)                                    0.3          0.3      $78.00
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     1.7 0.0404762        $10.52
              Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022     Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022     Claims                   06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
              Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022     Claims                   06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1031 of 2195 PageID #:71947
8107-09 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022     Claims                   06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                 2.9 0.0690476         $17.95
              Administration                                    Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)

June 2022     Claims                   06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender               2.1         0.05       $7.00
              Administration                                    production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                3.9 0.0928571         $24.14
              Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022     Claims                   06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                0.7 0.0166667          $2.33
              Administration                                    communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                      1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)




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8107-09 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                0.2 0.0047619         $0.67
              Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022     Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667         $2.05
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022     Claims                   06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of              0.4 0.0095238         $1.33
              Administration                                    same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
              & Objections                                      2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                                E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.4 0.0571429        $14.86
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (2.4)




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022     Claims                   06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
              Administration                                    upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                      1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
              Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022     Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                   06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
              Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (.7).
June 2022     Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/10/22 JRW             260 analyze claims against properties (1401 W 109th, 310 E 50th, 6807 Indiana, 8000 Justine,               2.4 0.3428571        $89.14
              Administration                                        8107 Ellis, 8209 Ellis, 8214 Ingleside) (2.4).
              & Objections

June 2022     Claims                   06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                 1.7 0.0404762        $10.52
              Administration                                        W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                          3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                    6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                    Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                    Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                    Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                    Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1037 of 2195 PageID #:71953
8107-09 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/13/22 JRW             260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.                1.5 0.0357143         $9.29
              Administration                                        Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
              & Objections                                          71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                    Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                    St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                    Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                    Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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8107-09 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
              Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).

June 2022     Claims                   06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
              Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).

June 2022     Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                   06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender           1.5 0.0357143         $9.29
              Administration                                    claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                      102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                                3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).




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8107-09 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022     Claims                   06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
              Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022     Claims                   06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1040 of 2195 PageID #:71956
8107-09 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
              Administration                                        related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
              Administration                                        (.5)
              & Objections




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8107-09 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).
June 2022     Claims                   06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
              Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022     Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).




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8107-09 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022     Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
              Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
              Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                   8209 S Ellis Avenue
General Allocation % (Pre 01/29/21):                                                 0.4700093%
General Allocation % (01/29/21 Onward, Claims Only):                            0.5049590004%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     56       8209 S Ellis Avenue                                                            0.44     $                 107.85                            4.62     $          1,172.08                 5.06    $              1,279.93
                 Asset Disposition [4]                                                        0.00    $                     0.20                               -   $                 -                  0.00   $                     0.20
                 Business Operations [5]                                                      0.26    $                    68.17                          0.20     $               40.00                0.46   $                   108.17
                 Claims Administration & Objections [6]                                       0.18    $                    39.48                          4.42     $             1,132.08               4.59   $                  1,171.56




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8209 S Ellis Avenue                                                       EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                     4.62
Specific Allocation Fees:         $        1,172.08



   Invoice                                             Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                          Task Hours
   Month                                              Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD           390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                        correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD           390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Business                   04/04/22 JRW           260 review notice of violation and related correspondence with K. Duff (8209 Ellis) (.1).                    0.1          0.1      $26.00
               Operations
April 2022     Business                   04/04/22 KMP           140 Communicate with K. Duff and J. Wine regarding notice of violation regarding EB property                 0.1          0.1      $14.00
               Operations                                            (8209 Ellis).
April 2022     Claims                     04/06/22 JRW           260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                        same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                     W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                     5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                     92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                     6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                     Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                     Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                     Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                     Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                     7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                     8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                     8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW           260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                        revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP           140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
April 2022    Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                   0.1 0.0009259         $0.13
              Administration                                    (all108) (.1).
              & Objections

April 2022    Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
              Administration                                    (.1)
              & Objections

April 2022    Claims                   04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022    Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
              Administration                                    hearing (all108) (.1)
              & Objections

April 2022    Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
              Administration                                    exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
              Administration                                    change of date (all108) (.3)
              & Objections

April 2022    Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
              Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022    Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                    (all108) (.1)
              & Objections

April 2022    Claims                   04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,               0.6 0.0142857         $2.00
              Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022    Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022    Claims                   04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                  0.3 0.0071429         $1.00
              Administration                                    communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                      1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

April 2022    Claims                   04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine              0.1    0.002381       $0.33
              Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022    Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                     0.2 0.0018519         $0.48
              Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                     0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.               0.3 0.0027778         $0.39
              Administration                                    Duff (all108).
              & Objections

April 2022    Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                  0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                       0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and               0.3 0.0027778         $1.08
              Administration                                    exchange additional related correspondence (all108) (.3)
              & Objections




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                    communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                      (all108) (.7)

May 2022      Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022      Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                    process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022      Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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8209 S Ellis Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
May 2022      Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
              Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
              Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022      Claims                   05/02/22 JRW         260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                1.7 0.0404762        $10.52
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (1.7).




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                      0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/03/22 JRW         260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                   2.2    0.052381      $13.62
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (2.2).
May 2022      Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                  0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)            0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                               0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022      Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                    hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                            0.7 0.0064815         $1.69
              Administration
              & Objections




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                    of claims (all108) (.5).
              & Objections

May 2022      Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections




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8209 S Ellis Avenue                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
              Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (1.2)
May 2022      Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022      Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                        respond accordingly (all) (.2).
              & Objections

May 2022      Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022      Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
              Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
              Administration                                    claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn).




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
              Administration                                    claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                      102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                                3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                    (all108) (.2)
              & Objections

June 2022     Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                    regarding claims process issues (all108).
              & Objections

June 2022     Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                    issues (all108) (.2)
              & Objections




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8209 S Ellis Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
              Administration                                    communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
              & Objections                                      W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                                406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                                Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                                8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
June 2022     Claims                   06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
              Administration                                    properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
              & Objections                                      Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                                3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.4)

June 2022     Claims                   06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).
June 2022     Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
              Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
              Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022     Claims                   06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
              Administration                                    11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
              & Objections                                      Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022     Claims                   06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022     Claims                   06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
              Administration                                    Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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8209 S Ellis Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022     Claims                   06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender                 2.1         0.05       $7.00
              Administration                                    production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
              & Objections                                      W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                  3.9 0.0928571         $24.14
              Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022     Claims                   06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                0.2 0.0047619          $0.67
              Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.2).

June 2022     Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                   0.7 0.0166667         $2.33
              Administration                                    communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
              & Objections                                      1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)

June 2022     Claims                   06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of               0.4 0.0095238         $1.33
              Administration                                    same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
              & Objections                                      2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                                E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                  2.4 0.0571429        $14.86
              Administration                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                      68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (2.4)
June 2022     Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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8209 S Ellis Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
              Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8209 S Ellis Avenue                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022     Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
              Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                   06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
              Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (.7).




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8209 S Ellis Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/10/22 JRW             260 analyze claims against properties (1401 W 109th, 310 E 50th, 6807 Indiana, 8000 Justine,               2.4 0.3428571        $89.14
              Administration                                        8107 Ellis, 8209 Ellis, 8214 Ingleside) (2.4).
              & Objections




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8209 S Ellis Avenue                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
              Administration                                        W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                          3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                    6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                    Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                    Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                    Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                    Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022     Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022     Claims                   06/13/22 JRW         260 analyze claims against property (8209 Ellis) (2.1)                                                   2.1          2.1     $546.00
              Administration
              & Objections

June 2022     Claims                   06/13/22 JRW         260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.             1.5 0.0357143          $9.29
              Administration                                    Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
              & Objections                                      71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022     Claims                   06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318           0.5 0.0119048          $4.64
              Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).

June 2022     Claims                   06/14/22 JRW         260 Analyze claims against property (7107 Bennett, 7255 Euclid, 7508 Essex, 7748 Essex, 7749             2.3 0.3833333         $99.67
              Administration                                    Yates, 8209 S Ellis) (2.3)
              & Objections

June 2022     Claims                   06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                 0.2 0.0047619          $1.86
              Administration                                    Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
              & Objections                                      3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                   06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
              Administration                                    claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
              & Objections                                      102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                                3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).

June 2022     Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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8209 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
              Administration                                    (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
              & Objections                                      W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022     Claims                   06/15/22 MR          390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
              Administration                                    LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
              & Objections                                      83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022     Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
              Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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8209 S Ellis Avenue                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
              Administration                                        related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
              Administration                                        (.5)
              & Objections

June 2022     Claims                   06/29/22 MR              390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,             0.2 0.0047619         $1.86
              Administration                                        1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
              & Objections                                          68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (.2).




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8209 S Ellis Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022     Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238          $2.48
              Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022     Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
              Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1073 of 2195 PageID #:71989
8209 S Ellis Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238         $3.71
              Administration                                    102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
              & Objections                                      3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1074 of 2195 PageID #:71990
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                         8214-16 S Ingleside Avenue
General Allocation % (Pre 01/29/21):                                                 0.4386754%
General Allocation % (01/29/21 Onward, Claims Only):                            0.4712950670%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     57       8214-16 S Ingleside Avenue                                                     0.41     $                 100.66                            1.93     $             486.41              2.34    $                  587.08
                 Asset Disposition [4]                                                        0.00    $                     0.18                               -   $                -                 0.00   $                    0.18
                 Business Operations [5]                                                      0.24    $                    63.63                               -   $                -                 0.24   $                   63.63
                 Claims Administration & Objections [6]                                       0.17    $                    36.85                          1.93     $             486.41               2.10   $                  523.27




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8214-16 S Ingleside Avenue                                               EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.93
Specific Allocation Fees:         $         486.41



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1076 of 2195 PageID #:71992
8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
April 2022   Claims                    04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)               0.1 0.0009259         $0.24
             Administration                                     (.1)
             & Objections

April 2022   Claims                    04/19/22 JRW         260 Review proofs of claim and prior correspondence and notes regarding loan histories (10012               0.9 0.0214286         $5.57
             Administration                                     LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                       83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn).

April 2022   Claims                    04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                0.1 0.0009259         $0.24
             Administration                                     hearing (all108) (.1)
             & Objections

April 2022   Claims                    04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                0.2 0.0018519         $0.26
             Administration                                     exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about                0.3 0.0027778         $0.39
             Administration                                     change of date (all108) (.3)
             & Objections

April 2022   Claims                    04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                   0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                             0.2 0.0018519         $0.48
             Administration                                     communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                        0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                    0.1 0.0009259         $0.13
             Administration
             & Objections




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022   Claims                    04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                    04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                     claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                    04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                     (all108) (.1)
             & Objections

April 2022   Claims                    04/22/22 AW          140 prepare spreadsheets illustrating lender's loan histories (10012 LaSalle, 1017 W 102nd,              0.6 0.0142857         $2.00
             Administration                                     11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                       Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.6).

April 2022   Claims                    04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 AW          140 Attention to production of documents from institutional lender, upload, and related                  0.3 0.0071429         $1.00
             Administration                                     communication with counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                       1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022   Claims                    04/25/22 AW          140 attention to document production from institutional lender and related email to J. Wine               0.1    0.002381       $0.33
             Administration                                     (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                       W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1)

April 2022   Claims                    04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                     regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                    04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                     Duff (all108).
             & Objections

April 2022   Claims                    04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                    04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                     exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                     (all108) (.3)
             & Objections




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8214-16 S Ingleside Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                     communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                       (all108) (.7)

May 2022     Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022     Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                     process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022     Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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8214-16 S Ingleside Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
May 2022     Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022     Claims                    05/02/22 JRW         260 review and summarize production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                1.7 0.0404762        $10.52
             Administration                                     1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                       68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (1.7).




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
May 2022     Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/03/22 JRW         260 continued review of third-party documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                 2.2    0.052381      $13.62
             Administration                                     1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                       68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (2.2).
May 2022     Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1083 of 2195 PageID #:71999
8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022     Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                     0.6 0.0058252         $1.51
             Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022     Claims                    05/05/22 JRW         260 confer with K. Duff and M. Rachlis regarding analysis of third party documents (10012                   0.3 0.0071429         $1.86
             Administration                                     LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                       83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.3)

May 2022     Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                     hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022     Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                     of claims (all108) (.5).
             & Objections

May 2022     Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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8214-16 S Ingleside Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/09/22 JRW             260 continue reviewing third-party production (10012 LaSalle, 1017 W 102nd, 11318 Church,                  1.2 0.0285714         $7.43
             Administration                                         1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                           68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (1.2)
May 2022     Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022     Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                         respond accordingly (all) (.2).
             & Objections

May 2022     Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022     Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                     conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/31/22 JRW         260 Continued review of documents produced by loan originator (10012 LaSalle, 1017 W 102nd,                3.0 0.0714286        $18.57
             Administration                                     11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                       Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                    0.1 0.0013333         $0.52
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/13/22 KBD         390 Study correspondence from J. Wine regarding analysis of produced records and related                    0.1    0.002381       $0.93
             Administration                                     claims issues (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                       W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                    06/15/22 KBD         390 Attention to communication with counsel for claimant regarding produced records (10012                  0.1    0.002381       $0.93
             Administration                                     LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                       83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn).




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/15/22 KBD         390 Confer with M. Rachlis and J. Wine regarding analysis of claims against institutional lender           1.2 0.0285714        $11.14
             Administration                                     claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                       102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                                3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                     (all108) (.2)
             & Objections

June 2022    Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                     regarding claims process issues (all108).
             & Objections

June 2022    Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                     issues (all108) (.2)
             & Objections




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  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
June 2022    Claims                    06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                     investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                     (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                       1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/29/22 KBD         390 Exchange correspondence regarding analysis of single claim properties and related                     0.2 0.0047619         $1.86
             Administration                                     communication with claimant's counsel (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401
             & Objections                                       W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th,
                                                                406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925
                                                                Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston,
                                                                8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
June 2022    Claims                    06/30/22 KBD         390 Confer with J. Wine and M. Rachlis regarding analysis of single claim properties in relation to          0.4 0.0095238         $3.71
             Administration                                     properties involving same lender and other claims (10012 LaSalle, 1017 W 102nd, 11318
             & Objections                                       Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
                                                                3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.4)

June 2022    Claims                    06/01/22 JRW         260 Continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     1.6 0.0380952         $9.90
             Administration                                     1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                       68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).
June 2022    Claims                    06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                     0.6       0.008       $2.08
             Administration                                     Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/02/22 JRW         260 Continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                      1.7 0.0404762        $10.52
             Administration                                     11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                       Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (1.7)




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                    06/03/22 JRW         260 continued review and analysis of production documents (10012 LaSalle, 1017 W 102nd,                     3.1 0.0738095        $19.19
             Administration                                     11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213
             & Objections                                       Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (3.1).

June 2022    Claims                    06/06/22 AW          140 call with J. Wine regarding review of documents produced by institutional lender (10012                 0.1    0.002381       $0.33
             Administration                                     LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                       83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                8800 Ada, 9212 Parnell, 9610 Woodlawn) (.1).

June 2022    Claims                    06/06/22 JRW         260 continued review and analysis of production documents and related conference with A.                    2.9 0.0690476        $17.95
             Administration                                     Watychowicz (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                       W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (2.9)




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8214-16 S Ingleside Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022    Claims                    06/07/22 AW          140 Communicate with J. Wine regarding and extract key documents from institutional lender                 2.1         0.05       $7.00
             Administration                                     production (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129
             & Objections                                       W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                    06/07/22 JRW         260 continued review and analysis of production documents and update notes regarding same                  3.9 0.0928571         $24.14
             Administration                                     (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                       W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (3.9)

June 2022    Claims                    06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022    Claims                    06/08/22 AW          140 further communications with J. Wine regarding produced documents (10012 LaSalle, 1017 W                0.2 0.0047619          $0.67
             Administration                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                       3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.2).




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/08/22 AW          140 complete extraction of key documents from institutional lender production and related                   0.7 0.0166667         $2.33
             Administration                                     communication with J. Wine (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th,
             & Objections                                       1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana,
                                                                7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933
                                                                Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432
                                                                Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (.7)

June 2022    Claims                    06/08/22 AW          140 Attention to error messages on a number of produced documents and locate working files of               0.4 0.0095238         $1.33
             Administration                                     same (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st,
             & Objections                                       2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61
                                                                E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                    06/08/22 JRW         260 Continued analysis of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                  2.4 0.0571429        $14.86
             Administration                                     1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                       68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (2.4)
June 2022    Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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8214-16 S Ingleside Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022    Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8214-16 S Ingleside Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022    Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                    06/09/22 JRW             260 continued review of production documents (10012 LaSalle, 1017 W 102nd, 11318 Church,                     0.7 0.0166667         $4.33
             Administration                                         1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                           68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                    Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                    Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                    Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                    9610 Woodlawn) (.7).




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8214-16 S Ingleside Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/10/22 JRW             260 analyze claims against properties (1401 W 109th, 310 E 50th, 6807 Indiana, 8000 Justine,               2.4 0.3428571        $89.14
             Administration                                         8107 Ellis, 8209 Ellis, 8214 Ingleside) (2.4).
             & Objections




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8214-16 S Ingleside Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/10/22 JRW             260 Analyze and prepare chronology of production documents and claims (10012 LaSalle, 1017                  1.7 0.0404762        $10.52
             Administration                                         W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                           3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                    6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                    Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                    Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                    Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                    Ada, 9212 Parnell, 9610 Woodlawn) (1.7)

June 2022    Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8214-16 S Ingleside Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/13/22 JRW         260 finish preparation of chronology regarding claims and related analysis to K. Duff and M.               1.5 0.0357143         $9.29
             Administration                                     Rachlis (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W
             & Objections                                       71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437
                                                                Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300
                                                                St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)

June 2022    Claims                    06/13/22 MR          390 Attention to notes and issues on claimant's production (10012 LaSalle, 1017 W 102nd, 11318             0.5 0.0119048         $4.64
             Administration                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                       3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).

June 2022    Claims                    06/14/22 MR          390 Attention to email and status regarding claimant (10012 LaSalle, 1017 W 102nd, 11318                   0.2 0.0047619         $1.86
             Administration                                     Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop,
             & Objections                                       3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana,
                                                                6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922
                                                                Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).

June 2022    Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/15/22 JRW         260 Confer with M. Rachlis and K. Duff regarding analysis of claims against institutional lender            1.5 0.0357143         $9.29
             Administration                                     claimant properties and potential procedures for resolution of claims (10012 LaSalle, 1017 W
             & Objections                                       102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
                                                                3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn).

June 2022    Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                    06/15/22 MR          390 Conferences with K. Duff and J. Wine regarding various issues on claimant's properties                  1.5 0.0357143        $13.93
             Administration                                     (10012 LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136
             & Objections                                       W 83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E
                                                                92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St
                                                                Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                Woodlawn, 8000 Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517
                                                                Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610 Woodlawn) (1.5)




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8214-16 S Ingleside Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/15/22 MR              390 further attention to various materials regarding various issues on Midland properties (10012            0.4 0.0095238         $3.71
             Administration                                         LaSalle, 1017 W 102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W
             & Objections                                           83rd, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd,
                                                                    6554 Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence,
                                                                    7712 Euclid, 7760 Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000
                                                                    Justine, 8030 Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8346 Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes,
                                                                    8800 Ada, 9212 Parnell, 9610 Woodlawn) (.4).

June 2022    Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                       0.3       0.004       $0.56
             Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                  0.3 0.0027778         $0.72
             Administration                                         related correspondence to vendor (all108) (.3)
             & Objections




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8214-16 S Ingleside Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                    06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                     (.5)
             & Objections

June 2022    Claims                    06/29/22 MR          390 attention to issues on claimant's properties (10012 LaSalle, 1017 W 102nd, 11318 Church,               0.2 0.0047619         $1.86
             Administration                                     1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th, 3213 Throop, 3723 W
             & Objections                                       68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807
                                                                Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760 Coles, 7922 Luella,
                                                                7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030 Marquette, 8104
                                                                Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).
June 2022    Claims                    06/30/22 JRW         260 Confer with K. Duff and M. Rachlis regarding analysis of claims (10012 LaSalle, 1017 W                 0.4 0.0095238         $2.48
             Administration                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                       3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4)

June 2022    Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).




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8214-16 S Ingleside Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022    Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/30/22 MR          390 conferences regarding claimant's properties with K. Duff and J. Wine (10012 LaSalle, 1017 W          0.4 0.0095238          $3.71
             Administration                                     102nd, 11318 Church, 1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 310 E 50th,
             & Objections                                       3213 Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 5437 Laflin, 61 E 92nd, 6554 Rhodes,
                                                                6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7300 St Lawrence, 7712 Euclid, 7760
                                                                Coles, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8000 Justine, 8030
                                                                Marquette, 8104 Kingston, 8107 Ellis, 8107 Kingston, 8209 Ellis, 8214 Ingleside, 8346
                                                                Constance, 8403 Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                Ada, 9212 Parnell, 9610 Woodlawn) (.4).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          5955 S Sacramento Avenue
General Allocation % (Pre 01/29/21):                                                 0.7144142%
General Allocation % (01/29/21 Onward, Claims Only):                            0.7675376805%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     58       5955 S Sacramento Avenue                                                       0.67     $                 163.93                            1.01     $             197.14              1.68    $                  361.07
                 Asset Disposition [4]                                                        0.00    $                     0.30                               -   $                -                 0.00   $                    0.30
                 Business Operations [5]                                                      0.40    $                  103.62                                -   $                -                 0.40   $                  103.62
                 Claims Administration & Objections [6]                                       0.27    $                    60.01                          1.01     $             197.14               1.28   $                  257.15




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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5955 S Sacramento Avenue                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.01
Specific Allocation Fees:         $         197.14



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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5955 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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5955 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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5955 S Sacramento Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
            Administration                                     exchange additional related correspondence (all108) (.3)
            & Objections

May 2022    Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
            Administration                                     communications with claimants regarding claims process, timing, and custodian issues
            & Objections                                       (all108) (.7)

May 2022    Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
            Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
            & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022    Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
            Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
            & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022    Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
            Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
            & Objections

May 2022    Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
            Administration                                     process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
            Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections




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5955 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
            Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
            & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022    Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections




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5955 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022    Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
            Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
            & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
            Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022    Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
            Administration
            & Objections




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5955 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
            Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
            & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022    Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
            Administration
            & Objections

May 2022    Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
            Administration                                     hearing (all108) (.8)
            & Objections

May 2022    Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
            Administration
            & Objections

May 2022    Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
            Administration
            & Objections




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5955 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022    Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
            Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022    Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
            Administration                                     (all108) (.3)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
            Administration                                     of claims (all108) (.5).
            & Objections

May 2022    Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
            Administration
            & Objections




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5955 S Sacramento Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
            Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022    Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
            Administration                                         respond accordingly (all) (.2).
            & Objections

May 2022    Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
            Administration
            & Objections




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5955 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022    Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
            Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
            & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022    Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
            Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022    Claims                    05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
            Administration                                         conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
            Administration                                         claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
            & Objections                                           Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022    Claims                    05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
            Administration
            & Objections

May 2022    Claims                    05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
            Administration
            & Objections

May 2022    Claims                    05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
            Administration
            & Objections

May 2022    Claims                    05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259          $0.24
            Administration
            & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
            Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
            & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
            Administration                                     (all108) (.2)
            & Objections

June 2022   Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
            Administration                                     regarding claims process issues (all108).
            & Objections

June 2022   Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
            Administration                                     issues (all108) (.2)
            & Objections




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022   Claims                    06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
            Administration                                     investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
            & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
            Administration                                     (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                       1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022   Claims                    06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
            Administration                                         Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                    06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022   Claims                    06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
            Administration                                         claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
            & Objections                                           Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                   Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
            Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022   Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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5955 S Sacramento Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022   Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
            Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
            & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022   Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
            Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
            & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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5955 S Sacramento Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022   Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
            Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
            Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
            & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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5955 S Sacramento Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
            Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
            & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
            & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022   Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022   Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
            Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
            Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
            & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
            Administration                                         related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                    06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                    06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
            Administration                                         (.5)
            & Objections




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  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022   Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
            Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
            & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                      6001-05 S Sacramento Avenue
General Allocation % (Pre 01/29/21):                                                 0.5452108%
General Allocation % (01/29/21 Onward, Claims Only):                            0.5857524404%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     59       6001-05 S Sacramento Avenue                                                    0.51     $                 125.11                            2.38     $             388.91              2.89    $                  514.02
                 Asset Disposition [4]                                                        0.00    $                     0.23                               -   $                -                 0.00   $                    0.23
                 Business Operations [5]                                                      0.30    $                    79.08                               -   $                -                 0.30   $                   79.08
                 Claims Administration & Objections [6]                                       0.21    $                    45.80                          2.38     $             388.91               2.58   $                  434.71




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6001-05 S Sacramento Avenue                                              EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.38
Specific Allocation Fees:         $         388.91



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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6001-05 S Sacramento Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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6001-05 S Sacramento Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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6001-05 S Sacramento Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
            Administration                                     exchange additional related correspondence (all108) (.3)
            & Objections

May 2022    Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
            Administration                                     communications with claimants regarding claims process, timing, and custodian issues
            & Objections                                       (all108) (.7)

May 2022    Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
            Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
            & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022    Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
            Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
            & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022    Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
            Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
            & Objections

May 2022    Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
            Administration                                     process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
            Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections




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6001-05 S Sacramento Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
            Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
            & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022    Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections




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6001-05 S Sacramento Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022    Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
            Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
            & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
            Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022    Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
            Administration
            & Objections




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6001-05 S Sacramento Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
            Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
            & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022    Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
            Administration
            & Objections

May 2022    Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
            Administration                                     hearing (all108) (.8)
            & Objections

May 2022    Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
            Administration
            & Objections

May 2022    Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
            Administration
            & Objections




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022    Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022    Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
            Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
            Administration                                     (all108) (.3)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
            Administration                                     of claims (all108) (.5).
            & Objections

May 2022    Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
            Administration
            & Objections




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
            Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022    Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
            Administration                                         respond accordingly (all) (.2).
            & Objections

May 2022    Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
            Administration
            & Objections




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022    Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
            Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
            & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022    Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
            Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
            Administration                                         conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
            Administration                                         claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
            & Objections                                           Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022    Claims                    05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                    05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                    05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
            Administration
            & Objections

May 2022    Claims                    05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
            Administration
            & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
            Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
            & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
            Administration                                     (all108) (.2)
            & Objections

June 2022   Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
            Administration                                     regarding claims process issues (all108).
            & Objections

June 2022   Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
            Administration                                     issues (all108) (.2)
            & Objections




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022   Claims                    06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
            Administration                                     investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
            & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
            Administration                                     (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                       1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022   Claims                    06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
            Administration                                         Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                    06/02/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7          0.3      $42.00
            Administration                                         claimant’s information for properties (5201 Washington, 7616 Phillips, 109 Laramie, 5450
            & Objections                                           Indiana, 7750 Muskegon, 2736 W 64th, 7201 Constance, 7635 East End, 6001 Sacramento).

June 2022   Claims                    06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022   Claims                    06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364         $36.91
            Administration                                         claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
            & Objections                                           Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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6001-05 S Sacramento Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022   Claims                    06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
            Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)

June 2022   Claims                    06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818         $30.55
            Administration                                         claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
            & Objections                                           Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022   Claims                    06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
            Administration                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                           2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022   Claims                    06/09/22 AW              140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
            Administration                                         End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
            & Objections                                           1700 Juneway) (3.6)




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6001-05 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022   Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
            Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
            & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022   Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6001-05 S Sacramento Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022   Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
            Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
            & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
            Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022   Claims                    06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
            Administration                                         1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
            & Objections                                           Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1145 of 2195 PageID #:72061
6001-05 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
            Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
            & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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6001-05 S Sacramento Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
            Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
            & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                    06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
            Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022   Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
            Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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6001-05 S Sacramento Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
            & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022   Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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6001-05 S Sacramento Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022   Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
            Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
            Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
            & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
            Administration                                         Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
            & Objections                                           6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022   Claims                    06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
            Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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6001-05 S Sacramento Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
            Administration                                     7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
            & Objections                                       7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                               7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                               Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022   Claims                    06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
            Administration                                     related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                    06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                    06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
            Administration                                     (.5)
            & Objections

June 2022   Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).




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6001-05 S Sacramento Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022   Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
            Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
            & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1151 of 2195 PageID #:72067
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                            7026-42 S Cornell Avenue
General Allocation % (Pre 01/29/21):                                                 1.3912276%
General Allocation % (01/29/21 Onward, Claims Only):                            1.4946786411%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     60       7026-42 S Cornell Avenue                                                       1.30     $                 319.24                            2.36     $             386.80              3.67    $                  706.04
                 Asset Disposition [4]                                                        0.00    $                     0.58                               -   $                -                 0.00   $                    0.58
                 Business Operations [5]                                                      0.77    $                  201.78                                -   $                -                 0.77   $                  201.78
                 Claims Administration & Objections [6]                                       0.53    $                  116.87                           2.36     $             386.80               2.89   $                  503.67




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7026-42 S Cornell Avenue                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.36
Specific Allocation Fees:         $         386.80



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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7026-42 S Cornell Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1154 of 2195 PageID #:72070
7026-42 S Cornell Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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7026-42 S Cornell Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7026-42 S Cornell Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7026-42 S Cornell Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7026-42 S Cornell Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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7026-42 S Cornell Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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7026-42 S Cornell Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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7026-42 S Cornell Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7026-42 S Cornell Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                      0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 0.8 0.0571429         $8.00
             Administration                                        claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                          4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                   7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947        $50.11
             Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                 0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                           0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                  0.1 0.0013333         $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7026-42 S Cornell Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                  0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7026-42 S Cornell Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                     0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                   0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7026-42 S Cornell Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                    upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                      1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                               79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7026-42 S Cornell Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7026-42 S Cornell Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                             0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7026-42 S Cornell Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                   5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)




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7026-42 S Cornell Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                    1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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7026-42 S Cornell Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7026-42 S Cornell Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022    Claims                   06/28/22 AW              140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571         $6.00
             Administration                                        7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                          7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                   7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                   Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections




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7026-42 S Cornell Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296          $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                           7237-43 S Bennett Avenue
General Allocation % (Pre 01/29/21):                                                 1.0528209%
General Allocation % (01/29/21 Onward, Claims Only):                            1.1311081608%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     61       7237-43 S Bennett Avenue                                                       0.99     $                 241.58                            3.81     $             599.69              4.80    $                  841.27
                 Asset Disposition [4]                                                        0.00    $                     0.44                               -   $                -                 0.00   $                    0.44
                 Business Operations [5]                                                      0.58    $                  152.70                           0.65     $             101.11               1.24   $                  253.81
                 Claims Administration & Objections [6]                                       0.40    $                    88.44                          3.16     $             498.58               3.56   $                  587.02




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7237-43 S Bennett Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.81
Specific Allocation Fees:         $         599.69



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Business                   04/05/22 JR              140 communication with K. Pritchard pertaining to various property allocation of funds relating              0.5       0.125       $17.50
               Operations                                              to funds wired out and confirmation of same (6751 Merrill, 4520 Drexel, 1401 W 109th, 7237
                                                                       Bennett) (.5)
April 2022     Business                   04/06/22 JR              140 review email communication from K. Pritchard pertaining to various property allocation of                0.1         0.05       $7.00
               Operations                                              funds relating to funds wired out and confirmation of same (1401 W 109th, 7237 Bennett)
                                                                       (.1)
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1177 of 2195 PageID #:72093
7237-43 S Bennett Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1178 of 2195 PageID #:72094
7237-43 S Bennett Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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7237-43 S Bennett Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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7237-43 S Bennett Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7237-43 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                   2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                   4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                   5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                   6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                   (.2)

May 2022     Business                 05/03/22 ED              390 email correspondence with insurance agent following up on requested information                      0.2         0.04      $15.60
             Operations                                            regarding refunds for prepaid premium on cancelled policies (1422 E 68th, 2800 E 81st, 6217
                                                                   Dorchester, 638 Avers, 7237 Bennett) (.2).
May 2022     Business                 05/03/22 JR              140 further communication with E. Duff regarding insurance reconciliation of refund of property          0.2         0.04       $5.60
             Operations                                            insurance premiums (1422 E 68th, 2800 E 81st, 6217 Dorchester, 638 Avers, 7237 Bennett)
                                                                   (.2)
May 2022     Business                 05/03/22 KMP             140 Attention to communications with insurance broker regarding issues relating to refunds for           0.2 0.0285714          $4.00
             Operations                                            property and GL insurance on final properties sold and missing endorsements (1102
                                                                   Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                                   Euclid).




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7237-43 S Bennett Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Business                 05/04/22 KMP         140 Attention to further communications with insurance broker regarding issues relating to                 0.1 0.0142857         $2.00
             Operations                                        refunds for property and GL insurance on final properties sold and missing endorsements
                                                               (1102 Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                               Euclid).
May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).




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7237-43 S Bennett Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections




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7237-43 S Bennett Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 JRW             260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                0.3 0.0027778         $0.72
             Administration                                        (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296         $1.20
             Administration                                        of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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7237-43 S Bennett Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)               0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JRW             260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                        correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                          development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                   1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR              390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW              140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.9)




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7237-43 S Bennett Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  0.8 0.0571429         $8.00
             Administration                                        claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                          4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                   7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.8 0.3578947        $50.11
             Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).




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7237-43 S Bennett Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/26/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                4.9      0.6125       $85.75
             Administration                                        claimant's information for properties (5450 Indiana, 8326 Ellis, 7749 Yates, 7442 Calumet,
             & Objections                                          4533 Calumet, 4611 Drexel, 701 S 5th, 7237 Bennett).

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                          0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                   05/27/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                4.9         0.49      $68.60
             Administration                                        claimant's information for properties (7749 Yates, 7442 Calumet, 4533 Calumet, 4611 Drexel,
             & Objections                                          6801 East End, 701 S 5th., 7237 Bennett, 7500 Eggleston, 3030 E 79th, 7301 Stewart).

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                 0.1 0.0013333          $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7237-43 S Bennett Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                  0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7237-43 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                     0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination           5.8 0.3411765        $47.76
             Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                   W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                   Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                   7109 Calumet) (5.8)
June 2022    Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                 0.2 0.0117647         $1.65
             Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                   5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                   Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                   0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7237-43 S Bennett Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931         $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                   06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
             Administration                                        claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                          Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                   Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)




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7237-43 S Bennett Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                    upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                      1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                               79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7237-43 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7237-43 S Bennett Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7237-43 S Bennett Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)




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7237-43 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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7237-43 S Bennett Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7237-43 S Bennett Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 AW              140 Review claims (8100 Essex, 7834 Ellis, 4317 Michigan, 7237 Bennett, 7508 Essex, 8326 Ellis,          3.9 0.4333333        $60.67
             Administration                                        5001 Drexel, 2736 W 64th, 6355 Talman) (3.9)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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7237-43 S Bennett Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                7834-44 S Ellis Avenue
General Allocation % (Pre 01/29/21):                                                 2.2272175%
General Allocation % (01/29/21 Onward, Claims Only):                            2.3928323830%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     62       7834-44 S Ellis Avenue                                                         2.09     $                 511.07                            2.41     $             393.77              4.50    $                  904.84
                 Asset Disposition [4]                                                        0.01    $                     0.94                               -   $                -                 0.01   $                    0.94
                 Business Operations [5]                                                      1.24    $                  323.04                                -   $                -                 1.24   $                  323.04
                 Claims Administration & Objections [6]                                       0.84    $                  187.10                           2.41     $             393.77               3.26   $                  580.87




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7834-44 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.41
Specific Allocation Fees:         $         393.77



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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7834-44 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022    Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
              Administration                                    (.1)
              & Objections

April 2022    Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
              Administration                                    hearing (all108) (.1)
              & Objections

April 2022    Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
              Administration                                    exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
              Administration                                    change of date (all108) (.3)
              & Objections

April 2022    Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
              Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
              Administration
              & Objections




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7834-44 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022    Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                    (all108) (.1)
              & Objections

April 2022    Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                    Duff (all108).
              & Objections

April 2022    Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
              Administration                                    (all108) (.3)
              & Objections




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7834-44 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
              Administration                                    exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                    communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                      (all108) (.7)

May 2022      Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022      Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                    process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections




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7834-44 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022      Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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7834-44 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
May 2022      Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
              Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
              Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022      Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
              Administration
              & Objections




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7834-44 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022      Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                    hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                    of claims (all108) (.5).
              & Objections

May 2022      Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections




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  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022      Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                        respond accordingly (all) (.2).
              & Objections




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  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022      Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.8 0.3578947        $50.11
              Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
              & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                    7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                    7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022      Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                    (all108) (.2)
              & Objections

June 2022     Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                    regarding claims process issues (all108).
              & Objections

June 2022     Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                    issues (all108) (.2)
              & Objections




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  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
              Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                    7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022     Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
              Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
              & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                    638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                    6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                    Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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7834-44 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours         Fees
June 2022     Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022     Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022     Claims                   06/09/22 AW          140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
              Administration                                    End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
              & Objections                                      1700 Juneway) (3.6)




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7834-44 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
              Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
              Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7834-44 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022     Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
              Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
              & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                    Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                    Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                    (4.1)




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7834-44 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7834-44 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
              Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022     Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
              Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7834-44 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
              Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
              & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                    Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                    Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                    7749 Yates).
June 2022     Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
              Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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7834-44 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
              Administration                                    7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
              & Objections                                      7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022     Claims                   06/29/22 AW          140 Review claims (8100 Essex, 7834 Ellis, 4317 Michigan, 7237 Bennett, 7508 Essex, 8326 Ellis,            3.9 0.4333333        $60.67
              Administration                                    5001 Drexel, 2736 W 64th, 6355 Talman) (3.9)
              & Objections

June 2022     Claims                   06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
              Administration                                    related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                   06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
              Administration                                    (.5)
              & Objections

June 2022     Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).




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7834-44 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022     Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
              Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1223 of 2195 PageID #:72139
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                         4520-26 S Drexel Boulevard
General Allocation % (Pre 01/29/21):                                                 7.6580186%
General Allocation % (01/29/21 Onward, Claims Only):                            8.2274653125%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     63       4520-26 S Drexel Boulevard                                                     7.18     $              1,757.24                             2.78   $               463.83              9.96    $              2,221.08
                 Asset Disposition [4]                                                        0.02    $                     3.22                          0.04   $                 5.09               0.06   $                     8.31
                 Business Operations [5]                                                      4.25    $                 1,110.72                          0.77   $               107.66               5.02   $                  1,218.38
                 Claims Administration & Objections [6]                                       2.90    $                  643.31                           1.98   $               351.08               4.88   $                   994.39




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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4520-26 S Drexel Boulevard                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.78
Specific Allocation Fees:         $         463.83



   Invoice                                               Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545         $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Business                   04/05/22 JR              140 communication with K. Pritchard pertaining to various property allocation of funds relating              0.5       0.125      $17.50
               Operations                                              to funds wired out and confirmation of same (6751 Merrill, 4520 Drexel, 1401 W 109th, 7237
                                                                       Bennett) (.5)
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections




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4520-26 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022   Claims                    04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                     (all108) (.1).
             & Objections

April 2022   Claims                    04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                     hearing (all108) (.1)
             & Objections

April 2022   Claims                    04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                     (.1)
             & Objections

April 2022   Claims                    04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                     exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                     change of date (all108) (.3)
             & Objections

April 2022   Claims                    04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                     communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections




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4520-26 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022   Claims                    04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                    04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                     (all108) (.1)
             & Objections

April 2022   Claims                    04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                     claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                    04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                     regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                    04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                     Duff (all108).
             & Objections

April 2022   Claims                    04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                    04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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4520-26 S Drexel Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                     exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                     communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                       (all108) (.7)

May 2022     Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022     Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                     process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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4520-26 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022     Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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4520-26 S Drexel Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours         Fees
May 2022     Claims                    05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                         claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                           79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                    2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                    4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                    5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                    6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                         statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                    (.2)

May 2022     Asset                     05/05/22 KMP             140 Review banking records to verify receipt of post-sale reconciliation funds and related               0.4 0.0363636          $5.09
             Disposition                                            communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                                    4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                                    7450 Luella, 7508 Essex).
May 2022     Business                  05/04/22 JR              140 review master property reporting spreadsheet for all of 2021 and further communication               0.9         0.09      $12.60
             Operations                                             with E. Duff and K. Pritchard regarding post-closing reconciliation, review bank statements
                                                                    for same and request confirmation of post-consolidation funds as they relate to property
                                                                    reporting from K. Pritchard (1700 Juneway, 3074 Cheltenham, 4520 Drexel, 5450 Indiana,
                                                                    6437 Kenwood, 7051 Bennett, 7110 Cornell, 7201 Constance, 7450 Luella, 7508 Essex) (.9).




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022     Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                     hearing (all108) (.8)
             & Objections




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022     Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                     (all108) (.3)
             & Objections




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  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296         $1.20
             Administration                                         of claims (all108) (.5).
             & Objections

May 2022     Claims                    05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022     Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                         respond accordingly (all) (.2).
             & Objections

May 2022     Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022     Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                         conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.3 0.4076923        $57.08
             Administration                                         claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                           7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                    Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022     Claims                    05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                     (all108) (.2)
             & Objections

June 2022    Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                     regarding claims process issues (all108).
             & Objections

June 2022    Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                     issues (all108) (.2)
             & Objections




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4520-26 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours         Fees
June 2022    Claims                    06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333          $0.52
             Administration                                         investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                           1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667          $1.04
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                  06/28/22 JR              140 review property endorsements for properties (6749 Merrill, 4520 Drexel, 7110 Cornell, 6250              2.8         0.28      $39.20
             Operations                                             Mozart, 7109 Calumet, 6217 Dorchester, 4611 Drexel, 7024 Paxton, 7255 Euclid, 638 Avers)
                                                                    (2.8).
June 2022    Business                  06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714         $32.00
             Operations                                             update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                    64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                    6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                    Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                    Kingston, 8326 Ellis) (6.4).




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4520-26 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                         Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                    7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                    06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                         claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                           7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                    638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                    6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                    Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022    Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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4520-26 S Drexel Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022    Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022    Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                    06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                         1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                           Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                    Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                    Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                    (4.1)




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  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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4520-26 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours         Fees
June 2022    Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333          $2.43
             Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/13/22 AW              140 communicate with J. Wine regarding classification of claims (4520 Drexel, 5001 Drexel) (.2).            0.2          0.1      $14.00
             Administration
             & Objections

June 2022    Claims                    06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286         $17.00
             Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667          $3.73
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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4520-26 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours         Fees
June 2022    Claims                    06/13/22 JRW         260 confer with A. Watychowicz regarding claims against properties and related review of prior              0.3         0.15      $39.00
             Administration                                     analysis (4520 Drexel, 5001 Drexel) (.3)
             & Objections

June 2022    Claims                    06/14/22 AW          140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571          $6.00
             Administration                                     Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                       6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004        $0.56
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667          $3.81
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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4520-26 S Drexel Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022    Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                         Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                           6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                    Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                    Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                    7749 Yates).
June 2022    Claims                    06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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4520-26 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                     7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                       7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                    06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                    06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                     related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                    06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                     (.5)
             & Objections

June 2022    Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).




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4520-26 S Drexel Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022    Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                         4611-17 S Drexel Boulevard
General Allocation % (Pre 01/29/21):                                                 6.1414552%
General Allocation % (01/29/21 Onward, Claims Only):                            6.5981309380%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     64       4611-17 S Drexel Boulevard                                                     5.76     $              1,409.24                             4.61     $             709.09             10.36    $              2,118.33
                 Asset Disposition [4]                                                        0.02    $                     2.58                               -   $                -                 0.02   $                     2.58
                 Business Operations [5]                                                      3.41    $                  890.76                           0.55     $              85.34               3.96   $                   976.09
                 Claims Administration & Objections [6]                                       2.33    $                  515.91                           4.06     $             623.75               6.38   $                  1,139.66




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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4611-17 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    4.61
Specific Allocation Fees:         $         709.09



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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4611-17 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022   Claims                    04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                     hearing (all108) (.1)
             & Objections

April 2022   Claims                    04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                     (.1)
             & Objections

April 2022   Claims                    04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                     exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                     change of date (all108) (.3)
             & Objections

April 2022   Claims                    04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                     communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1250 of 2195 PageID #:72166
4611-17 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022   Claims                    04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                     (all108) (.1)
             & Objections

April 2022   Claims                    04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                     claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                    04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                     regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                    04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                     Duff (all108).
             & Objections

April 2022   Claims                    04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                    04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                     exchange additional related correspondence (all108) (.3)
             & Objections




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4611-17 S Drexel Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                     communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                       (all108) (.7)

May 2022     Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022     Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                     process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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4611-17 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022     Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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4611-17 S Drexel Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
May 2022     Claims                    05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                         claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                           79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                    2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                    4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                    5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                    6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                         statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                    (.2)

May 2022     Business                  05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
             Operations                                             and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                    Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                    Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                    Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                    Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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4611-17 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
May 2022     Business                  05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027         $0.38
             Operations                                             regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                    2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                    417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                    6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                    Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                    Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                    Woodlawn) (.1).
May 2022     Business                  05/12/22 ED              390 Email insurance agent requesting clarification of information provided relating to premium            0.1 0.0333333        $13.00
             Operations                                             refunds (7255 Euclid, 1422 E 68th, 4611 Drexel) (.1)
May 2022     Claims                    05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections




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4611-17 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022     Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                     hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                            0.7 0.0064815         $1.69
             Administration
             & Objections




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4611-17 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022     Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                     of claims (all108) (.5).
             & Objections

May 2022     Claims                    05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections




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4611-17 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022     Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                         respond accordingly (all) (.2).
             & Objections

May 2022     Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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4611-17 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022     Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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  Invoice                                             Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours         Fees
May 2022     Claims                    05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                         conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                         claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                           Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                    Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                    Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                    Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                    Marquette, 7927 Essex).
May 2022     Claims                    05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                         claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                           Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                    Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                    Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                    7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                    05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
             Administration                                         claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                           Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                    6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                    7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                    Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                    05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections




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  Invoice                                             Time                                                                                                                      Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                       Hours         Fees
May 2022     Claims                    05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                      0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                    05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 0.8 0.0571429          $8.00
             Administration                                         claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                           4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                    7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                    05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947         $50.11
             Administration                                         claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                           7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                    7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                    7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022     Claims                    05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 5.3 0.4076923         $57.08
             Administration                                         claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                           7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                    Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022     Claims                    05/26/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 4.9      0.6125       $85.75
             Administration                                         claimant's information for properties (5450 Indiana, 8326 Ellis, 7749 Yates, 7442 Calumet,
             & Objections                                           4533 Calumet, 4611 Drexel, 701 S 5th, 7237 Bennett).

May 2022     Claims                    05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                 0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                           0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                    05/27/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 4.9         0.49      $68.60
             Administration                                         claimant's information for properties (7749 Yates, 7442 Calumet, 4533 Calumet, 4611 Drexel,
             & Objections                                           6801 East End, 701 S 5th., 7237 Bennett, 7500 Eggleston, 3030 E 79th, 7301 Stewart).




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4611-17 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                     (all108) (.2)
             & Objections

June 2022    Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                     regarding claims process issues (all108).
             & Objections

June 2022    Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                     issues (all108) (.2)
             & Objections




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4611-17 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours         Fees
June 2022    Claims                    06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333          $0.52
             Administration                                         investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                           1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667          $1.04
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                  06/28/22 JR              140 review property endorsements for properties (6749 Merrill, 4520 Drexel, 7110 Cornell, 6250              2.8         0.28      $39.20
             Operations                                             Mozart, 7109 Calumet, 6217 Dorchester, 4611 Drexel, 7024 Paxton, 7255 Euclid, 638 Avers)
                                                                    (2.8).
June 2022    Business                  06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714         $32.00
             Operations                                             update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                    64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                    6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                    Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                    Kingston, 8326 Ellis) (6.4).




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  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                         Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                    7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                    06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                         claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                           7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                    638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                    6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                    Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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4611-17 S Drexel Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours         Fees
June 2022    Claims                    06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  2.7         0.18      $25.20
             Administration                                         claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                           Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                    Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                    06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.8 0.2636364         $36.91
             Administration                                         claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                           Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                    7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                    Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)

June 2022    Claims                    06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                    Marquette, 8800 Ada) (1.1)

June 2022    Claims                    06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8 0.2181818         $30.55
             Administration                                         claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                           Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                    7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                    Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)




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4611-17 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                    06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                     upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                       1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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4611-17 S Drexel Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022    Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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4611-17 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022    Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
             Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)




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  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                           W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                    Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                    5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                    Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                    Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                    7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                    7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                    Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                    Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                    06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                     (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                       1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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4611-17 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                      0.3       0.004       $0.56
             Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                         related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                    06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                         (.5)
             & Objections

June 2022    Claims                    06/30/22 JRW             260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                           2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8405 Marquette, 8800 Ada).




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4611-17 S Drexel Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022    Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1273 of 2195 PageID #:72189
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  1131-41 E 79th Place
General Allocation % (Pre 01/29/21):                                                 1.4413619%
General Allocation % (01/29/21 Onward, Claims Only):                            1.5485409344%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     67       1131-41 E 79th Place                                                           1.35     $                 330.74                            1.20     $             241.32              2.55    $                  572.06
                 Asset Disposition [4]                                                        0.00    $                     0.61                               -   $                -                 0.00   $                    0.61
                 Business Operations [5]                                                      0.80    $                  209.06                           0.23     $              32.00               1.03   $                  241.06
                 Claims Administration & Objections [6]                                       0.55    $                  121.08                           0.97     $             209.32               1.51   $                  330.40




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1131-41 E 79th Place                                                     EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.20
Specific Allocation Fees:         $         241.32



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1275 of 2195 PageID #:72191
1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022   Claims                    04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                     hearing (all108) (.1)
             & Objections

April 2022   Claims                    04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                     (.1)
             & Objections

April 2022   Claims                    04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                     exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                     change of date (all108) (.3)
             & Objections

April 2022   Claims                    04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                     communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1276 of 2195 PageID #:72192
1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated    Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours         Fees
April 2022   Claims                    04/21/22 JRW         260 prepare spreadsheet regarding claims and offsets (1131 E 79th, 6749 Merrill, 7024 Paxton,             0.4          0.1      $26.00
             Administration                                     7110 Cornell) (.4)
             & Objections

April 2022   Claims                    04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259          $0.24
             Administration                                     (all108) (.1)
             & Objections

April 2022   Claims                    04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556          $1.44
             Administration                                     claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                    04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519          $0.48
             Administration                                     regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                    04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259          $0.36
             Administration
             & Objections

April 2022   Claims                    04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778          $0.39
             Administration                                     Duff (all108).
             & Objections

April 2022   Claims                    04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778          $0.39
             Administration
             & Objections

April 2022   Claims                    04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259          $0.24
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1277 of 2195 PageID #:72193
1131-41 E 79th Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                     exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                     communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                       (all108) (.7)

May 2022     Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022     Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                     process and hearing (all108) (1.1)
             & Objections




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1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022     Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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1131-41 E 79th Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
May 2022     Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022     Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                    05/03/22 JRW         260 review court order regarding objections to magistrate order and related correspondence               0.1         0.05      $13.00
             Administration                                     (1131 E 79th, 7024 Paxton) (.1)
             & Objections

May 2022     Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                               0.2 0.0018519          $0.72
             Administration
             & Objections




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1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022     Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                     hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1281 of 2195 PageID #:72197
1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022     Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                     of claims (all108) (.5).
             & Objections

May 2022     Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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1131-41 E 79th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022     Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                         respond accordingly (all) (.2).
             & Objections

May 2022     Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022     Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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1131-41 E 79th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                         conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                         claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                           Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                    6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                    7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                    Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                    05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1285 of 2195 PageID #:72201
1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                     (all108) (.2)
             & Objections

June 2022    Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                     regarding claims process issues (all108).
             & Objections

June 2022    Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                     issues (all108) (.2)
             & Objections




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1131-41 E 79th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                         investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                           1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                  06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                             update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                    64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                    6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                    Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                    Kingston, 8326 Ellis) (6.4).




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1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                     Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.3)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1288 of 2195 PageID #:72204
1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022    Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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1131-41 E 79th Place                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022    Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1290 of 2195 PageID #:72206
1131-41 E 79th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022    Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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1131-41 E 79th Place                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1131-41 E 79th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1131-41 E 79th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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1131-41 E 79th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022    Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                         related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                    06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                         (.5)
             & Objections




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1131-41 E 79th Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022    Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1296 of 2195 PageID #:72212
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                       6217-27 S Dorchester Avenue
General Allocation % (Pre 01/29/21):                                                 2.6521060%
General Allocation % (01/29/21 Onward, Claims Only):                            2.8493153194%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     68       6217-27 S Dorchester Avenue                                                    2.49     $                 608.56                            3.86     $             621.93              6.34    $              1,230.49
                 Asset Disposition [4]                                                        0.01    $                     1.11                               -   $                -                 0.01   $                    1.11
                 Business Operations [5]                                                      1.47    $                  384.66                           0.98     $             147.81               2.46   $                  532.47
                 Claims Administration & Objections [6]                                       1.01    $                  222.79                           2.87     $             474.11               3.88   $                  696.90




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6217-27 S Dorchester Avenue                                              EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.86
Specific Allocation Fees:         $         621.93



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/18/22 JRW          260 review and analyze documents produced pursuant to subpoena (5450 Indiana, 6217                           0.8 0.1333333        $34.67
               Administration                                       Dorchester, 6356 California, 6949 Merrill, 701 S 5th, 7600 Kingston) (.8).
               & Objections




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6217-27 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections




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6217-27 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1300 of 2195 PageID #:72216
6217-27 S Dorchester Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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6217-27 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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6217-27 S Dorchester Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                   2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                   4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                   5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                   6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                   (.2)

May 2022     Business                 05/03/22 ED              390 email correspondence with insurance agent following up on requested information                      0.2         0.04      $15.60
             Operations                                            regarding refunds for prepaid premium on cancelled policies (1422 E 68th, 2800 E 81st, 6217
                                                                   Dorchester, 638 Avers, 7237 Bennett) (.2).
May 2022     Business                 05/03/22 JR              140 further communication with E. Duff regarding insurance reconciliation of refund of property          0.2         0.04       $5.60
             Operations                                            insurance premiums (1422 E 68th, 2800 E 81st, 6217 Dorchester, 638 Avers, 7237 Bennett)
                                                                   (.2)
May 2022     Business                 05/03/22 KMP             140 Attention to communications with insurance broker regarding issues relating to refunds for           0.2 0.0285714          $4.00
             Operations                                            property and GL insurance on final properties sold and missing endorsements (1102
                                                                   Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                                   Euclid).




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6217-27 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Business                 05/04/22 KMP         140 Attention to further communications with insurance broker regarding issues relating to                 0.1 0.0142857         $2.00
             Operations                                        refunds for property and GL insurance on final properties sold and missing endorsements
                                                               (1102 Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                               Euclid).
May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).




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6217-27 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections




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6217-27 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW             260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                        regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                        of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                 0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and             0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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6217-27 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)               0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JRW             260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                        correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                          development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                   1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR              390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW              140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.9)




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6217-27 S Dorchester Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325       $45.50
             Administration                                        claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
             & Objections                                          Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                   7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).




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6217-27 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                    0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                      0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947        $50.11
             Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022     Claims                   05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 5.3 0.4076923        $57.08
             Administration                                        claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                          7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                   Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                 0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                           0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                  0.1 0.0013333         $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6217-27 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                     0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6217-27 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667          $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                  0.2 0.0117647          $1.65
             Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                   5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                   Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022    Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination            5.8 0.3411765         $47.76
             Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                   W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                   Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                   7109 Calumet) (5.8)
June 2022    Business                 06/28/22 JR              140 review property endorsements for properties (6749 Merrill, 4520 Drexel, 7110 Cornell, 6250              2.8         0.28      $39.20
             Operations                                            Mozart, 7109 Calumet, 6217 Dorchester, 4611 Drexel, 7024 Paxton, 7255 Euclid, 638 Avers)
                                                                   (2.8).
June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714         $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).




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6217-27 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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6217-27 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
             Administration                                        claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                          Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                   Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)




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6217-27 S Dorchester Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6217-27 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1315 of 2195 PageID #:72231
6217-27 S Dorchester Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6217-27 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6217-27 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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6217-27 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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6217-27 S Dorchester Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  6250 S Mozart Street
General Allocation % (Pre 01/29/21):                                                 1.1593563%
General Allocation % (01/29/21 Onward, Claims Only):                            1.2455655342%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     69       6250 S Mozart Street                                                           1.09     $                 266.03                            2.82     $             451.31              3.91    $                  717.34
                 Asset Disposition [4]                                                        0.00    $                     0.49                               -   $                -                 0.00   $                    0.49
                 Business Operations [5]                                                      0.64    $                  168.15                           0.51     $              71.20               1.15   $                  239.35
                 Claims Administration & Objections [6]                                       0.44    $                    97.39                          2.32     $             380.11               2.75   $                  477.50




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6250 S Mozart Street                                                     EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.82
Specific Allocation Fees:         $         451.31



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1322 of 2195 PageID #:72238
6250 S Mozart Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022   Claims                    04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                     hearing (all108) (.1)
             & Objections

April 2022   Claims                    04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                     (.1)
             & Objections

April 2022   Claims                    04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                     exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                     change of date (all108) (.3)
             & Objections

April 2022   Claims                    04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                     communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1323 of 2195 PageID #:72239
6250 S Mozart Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022   Claims                    04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                     claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                    04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                     (all108) (.1)
             & Objections

April 2022   Claims                    04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                     regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                    04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                     Duff (all108).
             & Objections

April 2022   Claims                    04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                    04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                     exchange additional related correspondence (all108) (.3)
             & Objections




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                     communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                       (all108) (.7)

May 2022     Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022     Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                     process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1325 of 2195 PageID #:72241
6250 S Mozart Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022     Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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6250 S Mozart Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
May 2022     Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022     Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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6250 S Mozart Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022     Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                     hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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6250 S Mozart Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022     Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                     of claims (all108) (.5).
             & Objections

May 2022     Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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6250 S Mozart Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022     Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                         respond accordingly (all) (.2).
             & Objections




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6250 S Mozart Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022     Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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6250 S Mozart Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                         conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                         claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                           Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                    6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                    7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                    Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                    05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  0.8 0.0571429         $8.00
             Administration                                         claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                           4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                    7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                    05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                     (all108) (.2)
             & Objections

June 2022    Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                     regarding claims process issues (all108).
             & Objections

June 2022    Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                     issues (all108) (.2)
             & Objections




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  Invoice                                             Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours         Fees
June 2022    Claims                    06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667          $1.04
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333          $0.52
             Administration                                         investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                           1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                  06/28/22 JR              140 review property endorsements for properties (6749 Merrill, 4520 Drexel, 7110 Cornell, 6250              2.8         0.28      $39.20
             Operations                                             Mozart, 7109 Calumet, 6217 Dorchester, 4611 Drexel, 7024 Paxton, 7255 Euclid, 638 Avers)
                                                                    (2.8).
June 2022    Business                  06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714         $32.00
             Operations                                             update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                    64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                    6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                    Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                    Kingston, 8326 Ellis) (6.4).




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6250 S Mozart Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours         Fees
June 2022    Claims                    06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
             Administration                                         Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                    7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                    06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
             Administration                                         claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                           Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                    Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                    06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364         $36.91
             Administration                                         claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                           Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                    7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                    Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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6250 S Mozart Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours         Fees
June 2022    Claims                    06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                    Marquette, 8800 Ada) (1.1)

June 2022    Claims                    06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818         $30.55
             Administration                                         claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                           Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                    7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                    Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                    06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
             Administration                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                           2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                    06/09/22 AW              140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
             Administration                                         End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
             & Objections                                           1700 Juneway) (3.6)




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6250 S Mozart Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022    Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6250 S Mozart Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022    Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                    06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                         1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                           Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                    Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                    Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                    (4.1)




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6250 S Mozart Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6250 S Mozart Street                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
             Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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6250 S Mozart Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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6250 S Mozart Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022    Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                         Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                           6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                    Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                    Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                    7749 Yates).
June 2022    Claims                    06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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6250 S Mozart Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                     7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                       7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                    06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                    06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                     related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                    06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                     (.5)
             & Objections

June 2022    Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1343 of 2195 PageID #:72259
6250 S Mozart Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022    Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1344 of 2195 PageID #:72260
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                638-40 N Avers Avenue
General Allocation % (Pre 01/29/21):                                                 0.4637425%
General Allocation % (01/29/21 Onward, Claims Only):                            0.4982262137%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     70       638-40 N Avers Avenue                                                          0.43     $                 106.41                            3.99   $               674.68              4.43    $                  781.09
                 Asset Disposition [4]                                                        0.00    $                     0.19                          1.00   $               190.00               1.00   $                  190.19
                 Business Operations [5]                                                      0.26    $                    67.26                          0.98   $               147.81               1.24   $                  215.07
                 Claims Administration & Objections [6]                                       0.18    $                    38.96                          2.01   $               336.87               2.18   $                  375.83




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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638-40 N Avers Avenue                                                       EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.99
Specific Allocation Fees:         $         674.68



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Asset                      04/02/22 KBD             390 Draft correspondence to A. Porter and J. Rak and post-sale accounting reconciliation (638                0.1          0.1      $39.00
               Disposition                                             Avers).
April 2022     Asset                      04/05/22 KBD             390 Exchange correspondence with K. Pritchard and J. Rak regarding recovery of funds following               0.1          0.1      $39.00
               Disposition                                             post-closing reconciliation (638 Avers).
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Asset                      04/04/22 JR              140 Review email from K. Duff requesting information for post-closing reconciliation for property            0.2          0.2      $28.00
               Disposition                                             and provide detailed information regarding same (638 Avers).
April 2022     Asset                      04/05/22 KMP             140 Review prior correspondence with property manager regarding post-closing reconciliation                  0.3          0.3      $42.00
               Disposition                                             for sold property, and related communications with K. Duff and J. Rak (638 Avers) (.3)

April 2022     Asset                      04/05/22 KMP             140 prepare correspondence to property manager requesting disbursement of post-closing funds                 0.1          0.1      $14.00
               Disposition                                             (638 Avers) (.1).
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections




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638-40 N Avers Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                     0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1347 of 2195 PageID #:72263
638-40 N Avers Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1348 of 2195 PageID #:72264
638-40 N Avers Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1349 of 2195 PageID #:72265
638-40 N Avers Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections




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638-40 N Avers Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/06/22 KBD             390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                   2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                   4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                   5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                   6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                   (.2)

May 2022     Asset                    05/23/22 KMP             140 Communicate with property manager to inquire as to status of distribution of post-sale               0.2          0.2      $28.00
             Disposition                                           reconciliation funds for sold property (638 Avers) (.2)
May 2022     Business                 05/03/22 ED              390 email correspondence with insurance agent following up on requested information                      0.2         0.04      $15.60
             Operations                                            regarding refunds for prepaid premium on cancelled policies (1422 E 68th, 2800 E 81st, 6217
                                                                   Dorchester, 638 Avers, 7237 Bennett) (.2).
May 2022     Business                 05/03/22 JR              140 further communication with E. Duff regarding insurance reconciliation of refund of property          0.2         0.04       $5.60
             Operations                                            insurance premiums (1422 E 68th, 2800 E 81st, 6217 Dorchester, 638 Avers, 7237 Bennett)
                                                                   (.2)


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638-40 N Avers Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Business                 05/03/22 KMP         140 Attention to communications with insurance broker regarding issues relating to refunds for            0.2 0.0285714         $4.00
             Operations                                        property and GL insurance on final properties sold and missing endorsements (1102
                                                               Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                               Euclid).
May 2022     Business                 05/04/22 KMP         140 Attention to further communications with insurance broker regarding issues relating to                0.1 0.0142857         $2.00
             Operations                                        refunds for property and GL insurance on final properties sold and missing endorsements
                                                               (1102 Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                               Euclid).
May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections




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638-40 N Avers Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                            0.7 0.0064815         $1.69
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1353 of 2195 PageID #:72269
638-40 N Avers Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1354 of 2195 PageID #:72270
638-40 N Avers Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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638-40 N Avers Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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638-40 N Avers Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                    Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                             Keeper                                                                                                                     Hours        Fees
May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                    0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent               6.8 0.3578947        $50.11
             Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).               0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                         0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                0.1 0.0013333         $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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638-40 N Avers Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                  0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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638-40 N Avers Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333          $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                  0.2 0.0117647          $1.65
             Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                   5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                   Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022    Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination            5.8 0.3411765         $47.76
             Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                   W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                   Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                   7109 Calumet) (5.8)
June 2022    Business                 06/28/22 JR              140 review property endorsements for properties (6749 Merrill, 4520 Drexel, 7110 Cornell, 6250              2.8         0.28      $39.20
             Operations                                            Mozart, 7109 Calumet, 6217 Dorchester, 4611 Drexel, 7024 Paxton, 7255 Euclid, 638 Avers)
                                                                   (2.8).
June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714         $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).




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638-40 N Avers Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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638-40 N Avers Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
             Administration                                        claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                          Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                   Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)




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638-40 N Avers Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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638-40 N Avers Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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638-40 N Avers Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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638-40 N Avers Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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638-40 N Avers Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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638-40 N Avers Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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638-40 N Avers Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  701-13 S 5th Avenue
General Allocation % (Pre 01/29/21):                                                 1.2220242%
General Allocation % (01/29/21 Onward, Claims Only):                            1.3128934009%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     71       701-13 S 5th Avenue                                                            1.15     $                 280.41                            3.12     $             509.06              4.27    $                  789.47
                 Asset Disposition [4]                                                        0.00    $                     0.51                               -   $                -                 0.00   $                    0.51
                 Business Operations [5]                                                      0.68    $                  177.24                                -   $                -                 0.68   $                  177.24
                 Claims Administration & Objections [6]                                       0.46    $                  102.66                           3.12     $             509.06               3.59   $                  611.71




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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701-13 S 5th Avenue                                                      EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.12
Specific Allocation Fees:         $         509.06



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/18/22 JRW          260 review and analyze documents produced pursuant to subpoena (5450 Indiana, 6217                           0.8 0.1333333        $34.67
               Administration                                       Dorchester, 6356 California, 6949 Merrill, 701 S 5th, 7600 Kingston) (.8).
               & Objections




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701-13 S 5th Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections




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701-13 S 5th Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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701-13 S 5th Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections




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701-13 S 5th Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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701-13 S 5th Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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701-13 S 5th Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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701-13 S 5th Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  0.8 0.0571429         $8.00
             Administration                                        claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                          4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                   7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                   05/26/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9      0.6125      $85.75
             Administration                                        claimant's information for properties (5450 Indiana, 8326 Ellis, 7749 Yates, 7442 Calumet,
             & Objections                                          4533 Calumet, 4611 Drexel, 701 S 5th, 7237 Bennett).

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections




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701-13 S 5th Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                   05/27/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9         0.49      $68.60
             Administration                                        claimant's information for properties (7749 Yates, 7442 Calumet, 4533 Calumet, 4611 Drexel,
             & Objections                                          6801 East End, 701 S 5th., 7237 Bennett, 7500 Eggleston, 3030 E 79th, 7301 Stewart).

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333          $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333          $0.52
             Administration                                        Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                          64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519          $0.72
             Administration                                        (all108) (.2)
             & Objections




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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701-13 S 5th Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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701-13 S 5th Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  2.7         0.18      $25.20
             Administration                                        claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                          Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                   Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                   06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.8 0.2636364         $36.91
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8 0.2181818         $30.55
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)




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701-13 S 5th Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                    upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                      1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                               79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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701-13 S 5th Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1387 of 2195 PageID #:72303
701-13 S 5th Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                             0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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701-13 S 5th Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                   5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)




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701-13 S 5th Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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701-13 S 5th Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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701-13 S 5th Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                      0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW             260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada).




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701-13 S 5th Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                            7024-32 S Paxton Avenue
General Allocation % (Pre 01/29/21):                                                 2.2247108%
General Allocation % (01/29/21 Onward, Claims Only):                            2.3901392684%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     72       7024-32 S Paxton Avenue                                                        2.09     $                 510.49                            2.05     $             361.22              4.14    $                  871.71
                 Asset Disposition [4]                                                        0.01    $                     0.93                               -   $                -                 0.01   $                    0.93
                 Business Operations [5]                                                      1.23    $                  322.67                           0.28     $              39.20               1.51   $                  361.87
                 Claims Administration & Objections [6]                                       0.84    $                  186.88                           1.77     $             322.02               2.62   $                  508.91




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7024-32 S Paxton Avenue                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.05
Specific Allocation Fees:         $         361.22



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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7024-32 S Paxton Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1396 of 2195 PageID #:72312
7024-32 S Paxton Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours         Fees
April 2022   Claims                   04/21/22 JRW         260 prepare spreadsheet regarding claims and offsets (1131 E 79th, 6749 Merrill, 7024 Paxton,             0.4          0.1      $26.00
             Administration                                    7110 Cornell) (.4)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259          $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556          $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519          $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259          $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778          $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778          $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259          $0.24
             Administration
             & Objections




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7024-32 S Paxton Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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7024-32 S Paxton Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7024-32 S Paxton Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 JRW         260 review court order regarding objections to magistrate order and related correspondence               0.1         0.05      $13.00
             Administration                                    (1131 E 79th, 7024 Paxton) (.1)
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                               0.2 0.0018519          $0.72
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1400 of 2195 PageID #:72316
7024-32 S Paxton Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections




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7024-32 S Paxton Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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7024-32 S Paxton Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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7024-32 S Paxton Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7024-32 S Paxton Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325      $45.50
             Administration                                        claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
             & Objections                                          Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                   7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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7024-32 S Paxton Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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  Invoice                                            Time                                                                                                                      Allocated    Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours         Fees
June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667          $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333          $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/28/22 JR              140 review property endorsements for properties (6749 Merrill, 4520 Drexel, 7110 Cornell, 6250            2.8         0.28      $39.20
             Operations                                            Mozart, 7109 Calumet, 6217 Dorchester, 4611 Drexel, 7024 Paxton, 7255 Euclid, 638 Avers)
                                                                   (2.8).




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7024-32 S Paxton Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
             Administration                                        claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                          Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                   Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).




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7024-32 S Paxton Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW          140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
             Administration                                    End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
             & Objections                                      1700 Juneway) (3.6)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1409 of 2195 PageID #:72325
7024-32 S Paxton Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7024-32 S Paxton Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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7024-32 S Paxton Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7024-32 S Paxton Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7024-32 S Paxton Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7024-32 S Paxton Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                             7255-57 S Euclid Avenue
General Allocation % (Pre 01/29/21):                                                 1.2157575%
General Allocation % (01/29/21 Onward, Claims Only):                            1.3061606143%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     73       7255-57 S Euclid Avenue                                                        1.14     $                 278.97                            3.42     $             588.66              4.56    $                  867.63
                 Asset Disposition [4]                                                        0.00    $                     0.51                               -   $                -                 0.00   $                    0.51
                 Business Operations [5]                                                      0.67    $                  176.33                           1.49     $             216.61               2.16   $                  392.95
                 Claims Administration & Objections [6]                                       0.46    $                  102.13                           1.93     $             372.05               2.39   $                  474.18




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7255-57 S Euclid Avenue                                                     EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.42
Specific Allocation Fees:         $         588.66



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Business                   04/05/22 JR              140 exchange correspondence with E. Duff and accountant requesting corrections to be made to                 0.3         0.15      $21.00
               Operations                                              reporting spreadsheet (7255 Euclid, 7109 Calumet) (.3).
April 2022     Business                   04/05/22 JR              140 review and confirm on December 2020 reporting discrepancies related to properties (7255                  0.8          0.4      $56.00
               Operations                                              Euclid, 7109 Calumet) (.8)
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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7255-57 S Euclid Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7255-57 S Euclid Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Business                 05/03/22 KMP         140 Attention to communications with insurance broker regarding issues relating to refunds for           0.2 0.0285714         $4.00
             Operations                                        property and GL insurance on final properties sold and missing endorsements (1102
                                                               Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                               Euclid).
May 2022     Business                 05/04/22 KMP         140 Attention to further communications with insurance broker regarding issues relating to               0.1 0.0142857         $2.00
             Operations                                        refunds for property and GL insurance on final properties sold and missing endorsements
                                                               (1102 Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                               Euclid).
May 2022     Business                 05/12/22 ED          390 Email insurance agent requesting clarification of information provided relating to premium           0.1 0.0333333        $13.00
             Operations                                        refunds (7255 Euclid, 1422 E 68th, 4611 Drexel) (.1)




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)




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7255-57 S Euclid Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296         $1.20
             Administration                                        of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7255-57 S Euclid Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
             Administration
             & Objections




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections




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  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                        issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                0.2 0.0117647         $1.65
             Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                   5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                   Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022    Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765        $47.76
             Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                   W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                   Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                   7109 Calumet) (5.8)


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7255-57 S Euclid Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Business                 06/28/22 JR              140 review property endorsements for properties (6749 Merrill, 4520 Drexel, 7110 Cornell, 6250              2.8         0.28      $39.20
             Operations                                            Mozart, 7109 Calumet, 6217 Dorchester, 4611 Drexel, 7024 Paxton, 7255 Euclid, 638 Avers)
                                                                   (2.8).
June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714         $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).

June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7255-57 S Euclid Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7255-57 S Euclid Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)




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7255-57 S Euclid Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1435 of 2195 PageID #:72351
7255-57 S Euclid Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/14/22 JRW         260 Analyze claims against property (7107 Bennett, 7255 Euclid, 7508 Essex, 7748 Essex, 7749                2.3 0.3833333        $99.67
             Administration                                    Yates, 8209 S Ellis) (2.3)
             & Objections

June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7255-57 S Euclid Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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7255-57 S Euclid Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                    7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                      7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                               7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                               Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                    related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).




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7255-57 S Euclid Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                            3074 E Cheltenham Place
General Allocation % (Pre 01/29/21):                                                 1.3285597%
General Allocation % (01/29/21 Onward, Claims Only):                            1.4273507743%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     74       3074 E Cheltenham Place                                                        1.25     $                 304.86                            2.29   $               419.96              3.54    $                  724.82
                 Asset Disposition [4]                                                        0.00    $                     0.56                          0.04   $                 5.09               0.04   $                    5.65
                 Business Operations [5]                                                      0.74    $                  192.69                           0.73   $               101.82               1.46   $                  294.51
                 Claims Administration & Objections [6]                                       0.50    $                  111.60                           1.53   $               313.05               2.03   $                  424.66




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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3074 E Cheltenham Place                                                     EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.29
Specific Allocation Fees:         $         419.96



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/19/22 KBD             390 confer with M. Rachlis and J. Wine regarding potential evidentiary hearing before Judge Lee              0.2         0.04      $15.60
               Administration                                          (Group 1) (.2)
               & Objections

April 2022     Claims                     04/19/22 KBD             390 exchange correspondence with A. Porter regarding release issue (Group 1) (.2)                            0.2         0.04      $15.60
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545          $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Claims                     04/04/22 JR              140 Review email from J. Wine relating to Group 1 property excerpts and saving additional                    0.2         0.04       $5.60
               Administration                                          excerpts for various claimants (3074 Cheltenham, 7625 East End, 7635 East End, 7750
               & Objections                                            Muskegon, 7201 Constance).

April 2022     Claims                     04/07/22 JR              140 Review email from J. Wine requesting the consolidation of additional claimant documents                  1.2         0.24      $33.60
               Administration                                          related to properties (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
               & Objections                                            Constance) (1.2)

April 2022     Claims                     04/07/22 JR              140 further communication with J. Wine regarding additional proof of claim documents (3074                   0.1         0.02       $2.80
               Administration                                          Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201 Constance) (.1)
               & Objections

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1442 of 2195 PageID #:72358
3074 E Cheltenham Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                   Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                         Keeper                                                                                                                    Hours         Fees
April 2022   Claims                   04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                   0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259          $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with M. Rachlis and K. Duff regarding upcoming hearing (Group 1) (.2)                       0.2         0.04      $10.40
             Administration
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259          $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259          $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 MR          390 confer with K. Duff and J. Wine regarding potential evidentiary hearing before Judge Lee           0.5          0.1      $39.00
             Administration                                    (Group 1) (.5).
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519          $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778          $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                        0.2 0.0018519          $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1443 of 2195 PageID #:72359
3074 E Cheltenham Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259          $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111          $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259          $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556          $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/22/22 JRW         260 Appearance at status hearing on issues related to single claim process and Group 1                   0.6 0.0181818          $4.73
             Administration                                    proceedings (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
             & Objections                                      Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W
                                                               83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749 Merrill, 6759 Indiana, 6825
                                                               Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 8030
                                                               Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.6)

April 2022   Claims                   04/22/22 KMP         140 Calculate total funds held in accounts for Group 1 properties and related communication              0.2         0.04       $5.60
             Administration                                    with K. Duff (Group 1).
             & Objections




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3074 E Cheltenham Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/22/22 MR          390 Further prepare for and participate in hearing (3074 Cheltenham, 7625 East End, 7635 East             0.9 0.0272727        $10.64
             Administration                                    End, 7750 Muskegon, 7201 Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E
             & Objections                                      85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749
                                                               Merrill, 6759 Indiana, 6825 Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                               7925 Kingston, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403
                                                               Aberdeen, 8432 Essex, 8517 Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.9)

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                             0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)




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3074 E Cheltenham Place                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                    Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                         Keeper                                                                                                                     Hours         Fees
May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037          $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                  0.3 0.0027778          $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims           1.1 0.0101852          $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                  0.4 0.0037037          $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                               0.7 0.0064815          $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                 0.3 0.0027778          $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)          0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                           0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 KBD         390 Exchange correspondence with A. Porter regarding entities owning properties in relation to          0.1         0.02       $7.80
             Administration                                    potential claims and distribution issues (3074 Cheltenham, 7201 Constance, 7625 East End,
             & Objections                                      7635 East End, 7750 Muskegon) (.1)

May 2022     Asset                    05/05/22 KMP         140 Review banking records to verify receipt of post-sale reconciliation funds and related              0.4 0.0363636          $5.09
             Disposition                                       communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                               4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                               7450 Luella, 7508 Essex).




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3074 E Cheltenham Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated    Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                       Hours         Fees
May 2022     Business                 05/04/22 JR              140 review master property reporting spreadsheet for all of 2021 and further communication                0.9         0.09      $12.60
             Operations                                            with E. Duff and K. Pritchard regarding post-closing reconciliation, review bank statements
                                                                   for same and request confirmation of post-consolidation funds as they relate to property
                                                                   reporting from K. Pritchard (1700 Juneway, 3074 Cheltenham, 4520 Drexel, 5450 Indiana,
                                                                   6437 Kenwood, 7051 Bennett, 7110 Cornell, 7201 Constance, 7450 Luella, 7508 Essex) (.9).

May 2022     Claims                   05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778          $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR              390 Review materials for upcoming hearing (all108) (2.4)                                                  2.4 0.0222222          $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR              390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                 0.8 0.0074074          $2.89
             Administration                                        hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW              140 Participate in hearing on claims (all108) (.7)                                                        0.7 0.0064815          $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW              140 communicate with J. Wine regarding claims (all108) (.1).                                              0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW             260 appearance at status hearing before Judge Lee (all108) (.7)                                           0.7 0.0064815          $1.69
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1447 of 2195 PageID #:72363
3074 E Cheltenham Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW             260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW             260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                        regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW             260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                        (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                        of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                 0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 MR              390 Follow up on May 6, 2022 hearing (all108) (.1)                                                          0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.9    0.237931      $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).


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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1448 of 2195 PageID #:72364
3074 E Cheltenham Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                   0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                     0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                          0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                0.1 0.0009259          $0.24
             Administration
             & Objections

June 2022    Claims                   06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                    0.2 0.0018519          $0.72
             Administration                                        (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD             390 Exchange correspondence with A. Watychowicz regarding communication with claimant                    0.2 0.0018519          $0.72
             Administration                                        regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related          0.2 0.0018519          $0.72
             Administration                                        issues (all108) (.2)
             & Objections

June 2022    Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information               0.2 0.0117647          $1.65
             Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                   5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                   Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1449 of 2195 PageID #:72365
3074 E Cheltenham Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination            5.8 0.3411765         $47.76
             Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                   W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                   Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                   7109 Calumet) (5.8)
June 2022    Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889         $33.44
             Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                   Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                   7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                   Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931         $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                   06/14/22 JRW             260 confer with A. Watychowicz regarding missing claim (3074 Cheltenham, 7750 Muskegon,                     0.1 0.0333333          $8.67
             Administration                                        8100 Essex) (.1)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                         0.1 0.0009259          $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                  0.3 0.0027778          $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)             0.5 0.0046296          $1.20
             Administration                                        (.5)
             & Objections

June 2022    Claims                   06/30/22 AW              140 respond to claimant regarding anticipated ruling (Group 1) (.1)                                         0.1         0.02       $2.80
             Administration
             & Objections




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1450 of 2195 PageID #:72366
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          7625-33 S East End Avenue
General Allocation % (Pre 01/29/21):                                                 1.5666978%
General Allocation % (01/29/21 Onward, Claims Only):                            1.6831966679%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     75       7625-33 S East End Avenue                                                      1.47     $                 359.50                            1.56     $             313.72              3.03    $                  673.22
                 Asset Disposition [4]                                                        0.00    $                     0.66                               -   $                -                 0.00   $                    0.66
                 Business Operations [5]                                                      0.87    $                  227.23                           0.24     $              33.44               1.11   $                  260.68
                 Claims Administration & Objections [6]                                       0.59    $                  131.61                           1.32     $             280.28               1.92   $                  411.89




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7625-33 S East End Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.56
Specific Allocation Fees:         $         313.72



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/19/22 KBD             390 confer with M. Rachlis and J. Wine regarding potential evidentiary hearing before Judge Lee              0.2         0.04      $15.60
               Administration                                          (Group 1) (.2)
               & Objections

April 2022     Claims                     04/19/22 KBD             390 exchange correspondence with A. Porter regarding release issue (Group 1) (.2)                            0.2         0.04      $15.60
               Administration
               & Objections

April 2022     Claims                     04/04/22 JR              140 Review email from J. Wine relating to Group 1 property excerpts and saving additional                    0.2         0.04       $5.60
               Administration                                          excerpts for various claimants (3074 Cheltenham, 7625 East End, 7635 East End, 7750
               & Objections                                            Muskegon, 7201 Constance).

April 2022     Claims                     04/07/22 JR              140 further communication with J. Wine regarding additional proof of claim documents (3074                   0.1         0.02       $2.80
               Administration                                          Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201 Constance) (.1)
               & Objections

April 2022     Claims                     04/07/22 JR              140 Review email from J. Wine requesting the consolidation of additional claimant documents                  1.2         0.24      $33.60
               Administration                                          related to properties (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
               & Objections                                            Constance) (1.2)

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1452 of 2195 PageID #:72368
7625-33 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                   Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                         Keeper                                                                                                                    Hours         Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259          $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with M. Rachlis and K. Duff regarding upcoming hearing (Group 1) (.2)                       0.2         0.04      $10.40
             Administration
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259          $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259          $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 MR          390 confer with K. Duff and J. Wine regarding potential evidentiary hearing before Judge Lee           0.5          0.1      $39.00
             Administration                                    (Group 1) (.5).
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519          $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778          $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                        0.2 0.0018519          $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                   0.1 0.0009259          $0.36
             Administration
             & Objections




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7625-33 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111          $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556          $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259          $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/22/22 JRW         260 Appearance at status hearing on issues related to single claim process and Group 1                   0.6 0.0181818          $4.73
             Administration                                    proceedings (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
             & Objections                                      Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W
                                                               83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749 Merrill, 6759 Indiana, 6825
                                                               Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 8030
                                                               Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.6)

April 2022   Claims                   04/22/22 KMP         140 Calculate total funds held in accounts for Group 1 properties and related communication              0.2         0.04       $5.60
             Administration                                    with K. Duff (Group 1).
             & Objections

April 2022   Claims                   04/22/22 MR          390 Further prepare for and participate in hearing (3074 Cheltenham, 7625 East End, 7635 East            0.9 0.0272727         $10.64
             Administration                                    End, 7750 Muskegon, 7201 Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E
             & Objections                                      85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749
                                                               Merrill, 6759 Indiana, 6825 Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                               7925 Kingston, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403
                                                               Aberdeen, 8432 Essex, 8517 Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.9)




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7625-33 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                             0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                    0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)




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7625-33 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                    Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                         Keeper                                                                                                                     Hours         Fees
May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims           1.1 0.0101852          $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                  0.3 0.0027778          $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                  0.4 0.0037037          $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                               0.7 0.0064815          $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                 0.3 0.0027778          $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)          0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                           0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 KBD         390 Exchange correspondence with A. Porter regarding entities owning properties in relation to          0.1         0.02       $7.80
             Administration                                    potential claims and distribution issues (3074 Cheltenham, 7201 Constance, 7625 East End,
             & Objections                                      7635 East End, 7750 Muskegon) (.1)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                  0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                              0.2 0.0018519          $0.72
             Administration
             & Objections




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7625-33 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                  2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                 0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                        0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                              0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)              0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                           0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted               0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount           0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections




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7625-33 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW          140 access claims and share same with J. Wine (all108) (.2)                                                 0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                          0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                        0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                   0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                             0.1 0.0009259         $0.24
             Administration
             & Objections




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7625-33 S East End Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                       0.2 0.0018519         $0.72
             Administration                                        (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD             390 Exchange correspondence with A. Watychowicz regarding communication with claimant                       0.2 0.0018519         $0.72
             Administration                                        regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related             0.2 0.0018519         $0.72
             Administration                                        issues (all108) (.2)
             & Objections

June 2022    Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
             Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                   Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                   7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                   Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)
June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                     1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).




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7625-33 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022    Claims                   06/27/22 AW          140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075       $10.50
             Administration                                    Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                      6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                               Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                               Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022    Claims                   06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571          $6.00
             Administration                                    7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                      7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                               7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                               Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259          $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778          $0.72
             Administration                                    related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296          $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 AW          140 respond to claimant regarding anticipated ruling (Group 1) (.1)                                      0.1         0.02       $2.80
             Administration
             & Objections




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1460 of 2195 PageID #:72376
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          7635-43 S East End Avenue
General Allocation % (Pre 01/29/21):                                                 1.4664291%
General Allocation % (01/29/21 Onward, Claims Only):                            1.5754720811%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     76       7635-43 S East End Avenue                                                      1.37     $                 336.49                            1.82     $             349.90              3.19    $                  686.39
                 Asset Disposition [4]                                                        0.00    $                     0.62                               -   $                -                 0.00   $                    0.62
                 Business Operations [5]                                                      0.81    $                  212.69                           0.24     $              33.44               1.05   $                  246.14
                 Claims Administration & Objections [6]                                       0.56    $                  123.19                           1.58     $             316.46               2.14   $                  439.64




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7635-43 S East End Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.82
Specific Allocation Fees:         $         349.90



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/19/22 KBD             390 confer with M. Rachlis and J. Wine regarding potential evidentiary hearing before Judge Lee              0.2         0.04      $15.60
               Administration                                          (Group 1) (.2)
               & Objections

April 2022     Claims                     04/19/22 KBD             390 exchange correspondence with A. Porter regarding release issue (Group 1) (.2)                            0.2         0.04      $15.60
               Administration
               & Objections

April 2022     Claims                     04/04/22 JR              140 Review email from J. Wine relating to Group 1 property excerpts and saving additional                    0.2         0.04       $5.60
               Administration                                          excerpts for various claimants (3074 Cheltenham, 7625 East End, 7635 East End, 7750
               & Objections                                            Muskegon, 7201 Constance).

April 2022     Claims                     04/07/22 JR              140 Review email from J. Wine requesting the consolidation of additional claimant documents                  1.2         0.24      $33.60
               Administration                                          related to properties (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
               & Objections                                            Constance) (1.2)

April 2022     Claims                     04/07/22 JR              140 further communication with J. Wine regarding additional proof of claim documents (3074                   0.1         0.02       $2.80
               Administration                                          Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201 Constance) (.1)
               & Objections

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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7635-43 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                   Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                         Keeper                                                                                                                    Hours         Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259          $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with M. Rachlis and K. Duff regarding upcoming hearing (Group 1) (.2)                       0.2         0.04      $10.40
             Administration
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259          $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259          $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 MR          390 confer with K. Duff and J. Wine regarding potential evidentiary hearing before Judge Lee           0.5          0.1      $39.00
             Administration                                    (Group 1) (.5).
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519          $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778          $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                        0.2 0.0018519          $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                   0.1 0.0009259          $0.36
             Administration
             & Objections




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7635-43 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111          $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259          $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556          $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/22/22 JRW         260 Appearance at status hearing on issues related to single claim process and Group 1                   0.6 0.0181818          $4.73
             Administration                                    proceedings (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
             & Objections                                      Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W
                                                               83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749 Merrill, 6759 Indiana, 6825
                                                               Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 8030
                                                               Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.6)

April 2022   Claims                   04/22/22 KMP         140 Calculate total funds held in accounts for Group 1 properties and related communication              0.2         0.04       $5.60
             Administration                                    with K. Duff (Group 1).
             & Objections

April 2022   Claims                   04/22/22 MR          390 Further prepare for and participate in hearing (3074 Cheltenham, 7625 East End, 7635 East            0.9 0.0272727         $10.64
             Administration                                    End, 7750 Muskegon, 7201 Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E
             & Objections                                      85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749
                                                               Merrill, 6759 Indiana, 6825 Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                               7925 Kingston, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403
                                                               Aberdeen, 8432 Essex, 8517 Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.9)




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7635-43 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                             0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                    0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)




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7635-43 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                    Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                         Keeper                                                                                                                     Hours         Fees
May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims           1.1 0.0101852          $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                  0.3 0.0027778          $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                  0.4 0.0037037          $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                               0.7 0.0064815          $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                 0.3 0.0027778          $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)          0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                           0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 KBD         390 Exchange correspondence with A. Porter regarding entities owning properties in relation to          0.1         0.02       $7.80
             Administration                                    potential claims and distribution issues (3074 Cheltenham, 7201 Constance, 7625 East End,
             & Objections                                      7635 East End, 7750 Muskegon) (.1)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                  0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                              0.2 0.0018519          $0.72
             Administration
             & Objections




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7635-43 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)            0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                               0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections




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7635-43 S East End Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                             Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount          0.5 0.0046296          $1.20
             Administration                                        of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                1.4    0.012963        $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                            0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                           0.3 0.0027778          $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                              0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 MR              390 Follow up on May 6, 2022 hearing (all108) (.1)                                                       0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                   0.1 0.0009259          $0.13
             Administration
             & Objections




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7635-43 S East End Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                        0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                             0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                   0.1 0.0009259          $0.24
             Administration
             & Objections

June 2022    Claims                   06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                       0.2 0.0018519          $0.72
             Administration                                        (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD             390 Exchange correspondence with A. Watychowicz regarding communication with claimant                       0.2 0.0018519          $0.72
             Administration                                        regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related             0.2 0.0018519          $0.72
             Administration                                        issues (all108) (.2)
             & Objections

June 2022    Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889         $33.44
             Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                   Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                   7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                   Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022    Claims                   06/02/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7          0.3      $42.00
             Administration                                        claimant’s information for properties (5201 Washington, 7616 Phillips, 109 Laramie, 5450
             & Objections                                          Indiana, 7750 Muskegon, 2736 W 64th, 7201 Constance, 7635 East End, 6001 Sacramento).

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                  0.3 0.0027778          $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                         0.1 0.0009259          $0.24
             Administration
             & Objections




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7635-43 S East End Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296          $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 AW          140 respond to claimant regarding anticipated ruling (Group 1) (.1)                                      0.1         0.02       $2.80
             Administration
             & Objections




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1470 of 2195 PageID #:72386
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                        7750-58 S Muskegon Avenue
General Allocation % (Pre 01/29/21):                                                 0.8773507%
General Allocation % (01/29/21 Onward, Claims Only):                            0.9425901340%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     77       7750-58 S Muskegon Avenue                                                      0.82     $                 201.32                            2.17     $             402.45              2.99    $                  603.77
                 Asset Disposition [4]                                                        0.00    $                     0.37                               -   $                -                 0.00   $                    0.37
                 Business Operations [5]                                                      0.49    $                  127.25                           0.24     $              33.44               0.73   $                  160.70
                 Claims Administration & Objections [6]                                       0.33    $                    73.70                          1.93     $             369.01               2.26   $                  442.71




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7750-58 S Muskegon Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.17
Specific Allocation Fees:         $         402.45



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/19/22 KBD             390 exchange correspondence with A. Porter regarding release issue (Group 1) (.2)                            0.2         0.04      $15.60
               Administration
               & Objections

April 2022     Claims                     04/19/22 KBD             390 confer with M. Rachlis and J. Wine regarding potential evidentiary hearing before Judge Lee              0.2         0.04      $15.60
               Administration                                          (Group 1) (.2)
               & Objections

April 2022     Claims                     04/04/22 JR              140 Review email from J. Wine relating to Group 1 property excerpts and saving additional                    0.2         0.04       $5.60
               Administration                                          excerpts for various claimants (3074 Cheltenham, 7625 East End, 7635 East End, 7750
               & Objections                                            Muskegon, 7201 Constance).

April 2022     Claims                     04/07/22 JR              140 Review email from J. Wine requesting the consolidation of additional claimant documents                  1.2         0.24      $33.60
               Administration                                          related to properties (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
               & Objections                                            Constance) (1.2)

April 2022     Claims                     04/07/22 JR              140 further communication with J. Wine regarding additional proof of claim documents (3074                   0.1         0.02       $2.80
               Administration                                          Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201 Constance) (.1)
               & Objections

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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7750-58 S Muskegon Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                   Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                         Keeper                                                                                                                    Hours         Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259          $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with M. Rachlis and K. Duff regarding upcoming hearing (Group 1) (.2)                       0.2         0.04      $10.40
             Administration
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259          $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259          $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 MR          390 confer with K. Duff and J. Wine regarding potential evidentiary hearing before Judge Lee           0.5          0.1      $39.00
             Administration                                    (Group 1) (.5).
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519          $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778          $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                        0.2 0.0018519          $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                   0.1 0.0009259          $0.36
             Administration
             & Objections




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7750-58 S Muskegon Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111          $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259          $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556          $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/22/22 JRW         260 Appearance at status hearing on issues related to single claim process and Group 1                   0.6 0.0181818          $4.73
             Administration                                    proceedings (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
             & Objections                                      Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W
                                                               83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749 Merrill, 6759 Indiana, 6825
                                                               Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 8030
                                                               Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.6)

April 2022   Claims                   04/22/22 KMP         140 Calculate total funds held in accounts for Group 1 properties and related communication              0.2         0.04       $5.60
             Administration                                    with K. Duff (Group 1).
             & Objections

April 2022   Claims                   04/22/22 MR          390 Further prepare for and participate in hearing (3074 Cheltenham, 7625 East End, 7635 East            0.9 0.0272727         $10.64
             Administration                                    End, 7750 Muskegon, 7201 Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E
             & Objections                                      85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749
                                                               Merrill, 6759 Indiana, 6825 Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                               7925 Kingston, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403
                                                               Aberdeen, 8432 Essex, 8517 Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.9)




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7750-58 S Muskegon Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                             0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                    0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)




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7750-58 S Muskegon Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
            Billing Category     Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
May 2022    Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims           1.1 0.0101852          $3.97
            Administration                                    process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                  0.3 0.0027778          $1.08
            Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
            & Objections

May 2022    Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                  0.4 0.0037037          $1.44
            Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections

May 2022    Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                 0.3 0.0027778          $1.08
            Administration
            & Objections

May 2022    Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                               0.7 0.0064815          $2.53
            Administration
            & Objections

May 2022    Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)          0.2 0.0018519          $0.72
            Administration
            & Objections

May 2022    Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                           0.1 0.0009259          $0.36
            Administration
            & Objections

May 2022    Claims                   05/09/22 KBD         390 Exchange correspondence with A. Porter regarding entities owning properties in relation to          0.1         0.02       $7.80
            Administration                                    potential claims and distribution issues (3074 Cheltenham, 7201 Constance, 7625 East End,
            & Objections                                      7635 East End, 7750 Muskegon) (.1)

May 2022    Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                  0.2 0.0018519          $0.72
            Administration
            & Objections

May 2022    Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                              0.2 0.0018519          $0.72
            Administration
            & Objections




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7750-58 S Muskegon Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
            Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
May 2022    Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)            0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                               0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
            Administration                                    hearing (all108) (.8)
            & Objections

May 2022    Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
            Administration
            & Objections

May 2022    Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
            Administration
            & Objections

May 2022    Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
            Administration
            & Objections

May 2022    Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
            Administration
            & Objections

May 2022    Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
            Administration                                    (all108) (.3)
            & Objections

May 2022    Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
            Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections




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7750-58 S Muskegon Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
            Billing Category     Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
May 2022    Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount          0.5 0.0046296         $1.20
            Administration                                        of claims (all108) (.5).
            & Objections

May 2022    Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                            0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                1.4    0.012963       $5.06
            Administration
            & Objections

May 2022    Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                           0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                              0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                   05/10/22 MR              390 Follow up on May 6, 2022 hearing (all108) (.1)                                                       0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                6.9    0.237931      $33.31
            Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
            & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                  Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                  Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                  Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                  Marquette, 7927 Essex).
May 2022    Claims                   05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                3.9       0.325      $45.50
            Administration                                        claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
            & Objections                                          Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                  7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022    Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                4.9 0.1884615        $26.38
            Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
            & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                  6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                  7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                  Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).




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7750-58 S Muskegon Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
            Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
May 2022    Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                      0.1 0.0009259          $0.13
            Administration
            & Objections

May 2022    Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                        0.2 0.0018519          $0.26
            Administration
            & Objections

May 2022    Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                   0.1 0.0009259          $0.24
            Administration
            & Objections

May 2022    Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                             0.1 0.0009259          $0.24
            Administration
            & Objections

June 2022   Claims                   06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                       0.2 0.0018519          $0.72
            Administration                                        (all108) (.2)
            & Objections

June 2022   Claims                   06/21/22 KBD             390 Exchange correspondence with A. Watychowicz regarding communication with claimant                       0.2 0.0018519          $0.72
            Administration                                        regarding claims process issues (all108).
            & Objections

June 2022   Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related             0.2 0.0018519          $0.72
            Administration                                        issues (all108) (.2)
            & Objections

June 2022   Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889         $33.44
            Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                  Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                  7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                  Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022   Claims                   06/02/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7          0.3      $42.00
            Administration                                        claimant’s information for properties (5201 Washington, 7616 Phillips, 109 Laramie, 5450
            & Objections                                          Indiana, 7750 Muskegon, 2736 W 64th, 7201 Constance, 7635 East End, 6001 Sacramento).

June 2022   Claims                   06/14/22 JRW             260 confer with A. Watychowicz regarding missing claim (3074 Cheltenham, 7750 Muskegon,                     0.1 0.0333333          $8.67
            Administration                                        8100 Essex) (.1)
            & Objections




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7750-58 S Muskegon Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
            Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
June 2022   Claims                   06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778          $0.72
            Administration                                    related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                   06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259          $0.24
            Administration
            & Objections

June 2022   Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296          $1.20
            Administration                                    (.5)
            & Objections

June 2022   Claims                   06/30/22 AW          140 respond to claimant regarding anticipated ruling (Group 1) (.1)                                      0.1         0.02       $2.80
            Administration
            & Objections




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                            7201 S Constance Avenue
General Allocation % (Pre 01/29/21):                                                 1.3786940%
General Allocation % (01/29/21 Onward, Claims Only):                            1.4812130677%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     78       7201 S Constance Avenue                                                        1.29     $                 316.36                            2.40   $               430.44              3.69    $                  746.80
                 Asset Disposition [4]                                                        0.00    $                     0.58                          0.04   $                 5.09               0.04   $                    5.67
                 Business Operations [5]                                                      0.77    $                  199.97                           1.03   $               143.82               1.79   $                  343.79
                 Claims Administration & Objections [6]                                       0.52    $                  115.82                           1.33   $               281.53               1.85   $                  397.35




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7201 S Constance Avenue                                                     EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.40
Specific Allocation Fees:         $         430.44



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/19/22 KBD             390 exchange correspondence with A. Porter regarding release issue (Group 1) (.2)                            0.2         0.04      $15.60
               Administration
               & Objections

April 2022     Claims                     04/19/22 KBD             390 confer with M. Rachlis and J. Wine regarding potential evidentiary hearing before Judge Lee              0.2         0.04      $15.60
               Administration                                          (Group 1) (.2)
               & Objections

April 2022     Business                   04/01/22 JR              140 follow up correspondence with insurance firm requesting confirmation of property refunds                 0.3       0.075       $10.50
               Operations                                              (7201 Constance, 7110 Cornell, 5618 MLK, 6356 California, 7201 Constance) (.3).

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545          $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Business                   04/29/22 JR              140 Continued follow up correspondence with insurance firm requesting confirmation of                        0.2         0.05       $7.00
               Operations                                              property refunds (7201 Constance, 7110 Cornell, 5618 MLK, 6356 California, 7201 Constance)
                                                                       (.2)
April 2022     Claims                     04/04/22 JR              140 Review email from J. Wine relating to Group 1 property excerpts and saving additional                    0.2         0.04       $5.60
               Administration                                          excerpts for various claimants (3074 Cheltenham, 7625 East End, 7635 East End, 7750
               & Objections                                            Muskegon, 7201 Constance).

April 2022     Claims                     04/07/22 JR              140 further communication with J. Wine regarding additional proof of claim documents (3074                   0.1         0.02       $2.80
               Administration                                          Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201 Constance) (.1)
               & Objections

April 2022     Claims                     04/07/22 JR              140 Review email from J. Wine requesting the consolidation of additional claimant documents                  1.2         0.24      $33.60
               Administration                                          related to properties (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
               & Objections                                            Constance) (1.2)




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7201 S Constance Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                   Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                         Keeper                                                                                                                    Hours         Fees
April 2022   Claims                   04/15/22 JRW         260 review court order regarding status hearing and related correspondence with team and               0.2 0.0018519          $0.48
             Administration                                    revision of notice email to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                   0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259          $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with M. Rachlis and K. Duff regarding upcoming hearing (Group 1) (.2)                       0.2         0.04      $10.40
             Administration
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259          $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259          $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 MR          390 confer with K. Duff and J. Wine regarding potential evidentiary hearing before Judge Lee           0.5          0.1      $39.00
             Administration                                    (Group 1) (.5).
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519          $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778          $0.39
             Administration                                    change of date (all108) (.3)
             & Objections




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7201 S Constance Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/22/22 JRW         260 Appearance at status hearing on issues related to single claim process and Group 1                   0.6 0.0181818         $4.73
             Administration                                    proceedings (3074 Cheltenham, 7625 East End, 7635 East End, 7750 Muskegon, 7201
             & Objections                                      Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E 85th, 2129 W 71st, 2136 W
                                                               83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749 Merrill, 6759 Indiana, 6825
                                                               Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 8030
                                                               Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403 Aberdeen, 8432 Essex, 8517
                                                               Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.6)




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7201 S Constance Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours         Fees
April 2022   Claims                   04/22/22 KMP         140 Calculate total funds held in accounts for Group 1 properties and related communication               0.2         0.04       $5.60
             Administration                                    with K. Duff (Group 1).
             & Objections

April 2022   Claims                   04/22/22 MR          390 Further prepare for and participate in hearing (3074 Cheltenham, 7625 East End, 7635 East             0.9 0.0272727         $10.64
             Administration                                    End, 7750 Muskegon, 7201 Constance, 1017 W 102nd, 10012 LaSalle, 11318 Church, 1516 E
             & Objections                                      85th, 2129 W 71st, 2136 W 83rd, 3213 Throop, 406 E 87th, 417 Oglesby, 6554 Rhodes, 6749
                                                               Merrill, 6759 Indiana, 6825 Indiana, 7110 Cornell, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                               7925 Kingston, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8403
                                                               Aberdeen, 8432 Essex, 8517 Vernon, 8529 Rhodes, 9212 Parnell, 9610 Woodlawn) (.9)

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519          $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259          $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778          $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778          $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778          $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778          $1.08
             Administration                                    (all108) (.3)
             & Objections




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7201 S Constance Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                    Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                         Keeper                                                                                                                     Hours         Fees
May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815          $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037          $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                  0.3 0.0027778          $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims           1.1 0.0101852          $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                  0.4 0.0037037          $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                 0.3 0.0027778          $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                               0.7 0.0064815          $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)          0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                           0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 KBD         390 Exchange correspondence with A. Porter regarding entities owning properties in relation to          0.1         0.02       $7.80
             Administration                                    potential claims and distribution issues (3074 Cheltenham, 7201 Constance, 7625 East End,
             & Objections                                      7635 East End, 7750 Muskegon) (.1)




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7201 S Constance Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated    Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                       Hours         Fees
May 2022     Asset                    05/05/22 KMP             140 Review banking records to verify receipt of post-sale reconciliation funds and related                0.4 0.0363636          $5.09
             Disposition                                           communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                                   4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                                   7450 Luella, 7508 Essex).
May 2022     Business                 05/04/22 JR              140 review master property reporting spreadsheet for all of 2021 and further communication                0.9         0.09      $12.60
             Operations                                            with E. Duff and K. Pritchard regarding post-closing reconciliation, review bank statements
                                                                   for same and request confirmation of post-consolidation funds as they relate to property
                                                                   reporting from K. Pritchard (1700 Juneway, 3074 Cheltenham, 4520 Drexel, 5450 Indiana,
                                                                   6437 Kenwood, 7051 Bennett, 7110 Cornell, 7201 Constance, 7450 Luella, 7508 Essex) (.9).

May 2022     Claims                   05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778          $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR              390 Review materials for upcoming hearing (all108) (2.4)                                                  2.4 0.0222222          $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR              390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                 0.8 0.0074074          $2.89
             Administration                                        hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW              140 Participate in hearing on claims (all108) (.7)                                                        0.7 0.0064815          $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW              140 communicate with J. Wine regarding claims (all108) (.1).                                              0.1 0.0009259          $0.13
             Administration
             & Objections




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7201 S Constance Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW          140 access claims and share same with J. Wine (all108) (.2)                                                 0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                          0.1 0.0009259         $0.36
             Administration
             & Objections




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7201 S Constance Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                4.9 0.1884615        $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                   0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                     0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                          0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                    0.2 0.0018519         $0.72
             Administration                                        (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD             390 Exchange correspondence with A. Watychowicz regarding communication with claimant                    0.2 0.0018519         $0.72
             Administration                                        regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related          0.2 0.0018519         $0.72
             Administration                                        issues (all108) (.2)
             & Objections

June 2022    Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information               0.2 0.0117647         $1.65
             Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                   5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                   Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).




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7201 S Constance Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination            5.8 0.3411765         $47.76
             Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                   W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                   Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                   7109 Calumet) (5.8)
June 2022    Business                 06/29/22 JR              140 Review email correspondence from E. Duff related to property endorsement 28 and provide                 0.1       0.025        $3.50
             Operations                                            requested information (7110 Cornell, 5618 MLK, 6356 California, 7201 Constance) (.1)

June 2022    Business                 06/30/22 JR              140 further communication with E. Duff related to reconciliation of refunds for various properties          0.6         0.15      $21.00
             Operations                                            (5618 MLK, 7110 Cornell, 7201 Constance, 6356 California) (.6).
June 2022    Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889         $33.44
             Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                   Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                   7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                   Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022    Claims                   06/02/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7          0.3      $42.00
             Administration                                        claimant’s information for properties (5201 Washington, 7616 Phillips, 109 Laramie, 5450
             & Objections                                          Indiana, 7750 Muskegon, 2736 W 64th, 7201 Constance, 7635 East End, 6001 Sacramento).

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and                  0.3 0.0027778          $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                         0.1 0.0009259          $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)             0.5 0.0046296          $1.20
             Administration                                        (.5)
             & Objections

June 2022    Claims                   06/30/22 AW              140 respond to claimant regarding anticipated ruling (Group 1) (.1)                                         0.1         0.02       $2.80
             Administration
             & Objections




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1490 of 2195 PageID #:72406
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                             6160-6212 S Martin Luther King Drive
General Allocation % (Pre 01/29/21):                                                 0.9838862%
General Allocation % (01/29/21 Onward, Claims Only):                            1.0570475074%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     79       6160-6212 S Martin Luther King Drive                                           0.92     $                 225.77                            4.03     $             635.57              4.95    $                  861.34
                 Asset Disposition [4]                                                        0.00    $                     0.41                               -   $                -                 0.00   $                    0.41
                 Business Operations [5]                                                      0.55    $                  142.70                           0.23     $              32.00               0.77   $                  174.70
                 Claims Administration & Objections [6]                                       0.37    $                    82.65                          3.80     $             603.57               4.18   $                  686.22




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6160-6212 S Martin Luther King Drive                                        EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    4.03
Specific Allocation Fees:         $         635.57



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/06/22 KBD             390 Exchange correspondence with J. Wine and J. Rak regarding claims analysis (1700 Juneway,                 0.3         0.06      $23.40
               Administration                                          5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.3)
               & Objections

April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 AW              140 Upload claims files for J. Rak review (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK,                 0.3         0.06       $8.40
               Administration                                          6949 Merrill).
               & Objections

April 2022     Claims                     04/06/22 JR              140 Conference with J. Wine and K. Duff related to claimant document review and next steps                   0.8         0.16      $22.40
               Administration                                          pertaining to same (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill).
               & Objections

April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).




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6160-6212 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                   Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                              Keeper                                                                                                                    Hours         Fees
April 2022    Claims                   04/07/22 JR              140 update excel spreadsheets related to claimant supporting document review for properties            0.5          0.1      $14.00
              Administration                                        (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.5)
              & Objections

April 2022    Claims                   04/15/22 AW              140 communicate with J. Wine regarding claims process (1700 Juneway, 5450 Indiana, 7749                0.1         0.02       $2.80
              Administration                                        Yates, 6160 MLK, 6949 Merrill) (.1).
              & Objections

April 2022    Claims                   04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and               0.2 0.0018519          $0.48
              Administration                                        revision of notice email to claimants (all108) (.2)
              & Objections

April 2022    Claims                   04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                   0.2 0.0018519          $0.26
              Administration
              & Objections

April 2022    Claims                   04/19/22 AW              140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259          $0.13
              Administration                                        (all108) (.1).
              & Objections

April 2022    Claims                   04/19/22 JRW             260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259          $0.24
              Administration                                        hearing (all108) (.1)
              & Objections

April 2022    Claims                   04/19/22 JRW             260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259          $0.24
              Administration                                        (.1)
              & Objections

April 2022    Claims                   04/20/22 AW              140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519          $0.26
              Administration                                        exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 AW              140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778          $0.39
              Administration                                        change of date (all108) (.3)
              & Objections

April 2022    Claims                   04/20/22 AW              140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259          $0.13
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1493 of 2195 PageID #:72409
6160-6212 S Martin Luther King Drive                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022    Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                           0.2 0.0018519         $0.48
              Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                    (all108) (.1)
              & Objections

April 2022    Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections




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6160-6212 S Martin Luther King Drive                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                    Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                          Keeper                                                                                                                     Hours        Fees
April 2022    Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                    0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.              0.3 0.0027778         $0.39
              Administration                                    Duff (all108).
              & Objections

April 2022    Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                 0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
              Administration                                    exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
              Administration                                    communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                      (all108) (.7)

May 2022      Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
              Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                      A. Watychowicz and J. Wine (all108) (.4)




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6160-6212 S Martin Luther King Drive                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022      Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                    process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections




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6160-6212 S Martin Luther King Drive                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022      Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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6160-6212 S Martin Luther King Drive                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
May 2022      Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
              Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
              Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022      Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
              Administration
              & Objections




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6160-6212 S Martin Luther King Drive                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022      Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                    hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1499 of 2195 PageID #:72415
6160-6212 S Martin Luther King Drive                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                    of claims (all108) (.5).
              & Objections

May 2022      Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1500 of 2195 PageID #:72416
6160-6212 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022      Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                        respond accordingly (all) (.2).
              & Objections

May 2022      Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections




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6160-6212 S Martin Luther King Drive                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022      Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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6160-6212 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours         Fees
May 2022      Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
              Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
              Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
              & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                    Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                    Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                    Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                    Marquette, 7927 Essex).
May 2022      Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
              Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
              & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                    Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                    Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                    7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022      Claims                   05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325       $45.50
              Administration                                        claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
              & Objections                                          Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                    7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022      Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
              Administration
              & Objections

May 2022      Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
              Administration
              & Objections




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6160-6212 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.8 0.3578947        $50.11
              Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
              & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                    7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                    7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022      Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                        Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                          64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                    Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                    5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                    Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                    Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                    7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                    7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                    Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                    Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8405 Marquette, 8800 Ada).




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6160-6212 S Martin Luther King Drive                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                     0.2 0.0018519         $0.72
              Administration                                    (all108) (.2)
              & Objections

June 2022     Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
              Administration                                    regarding claims process issues (all108).
              & Objections

June 2022     Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
              Administration                                    issues (all108) (.2)
              & Objections

June 2022     Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6160-6212 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
              Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                    64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                    6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                    Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                    Kingston, 8326 Ellis) (6.4).

June 2022     Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
              Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                    7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.3)




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6160-6212 S Martin Luther King Drive                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours         Fees
June 2022     Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.2 0.2137931         $29.93
              Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
              & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                    638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                    6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                    Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022     Claims                   06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  2.7         0.18      $25.20
              Administration                                        claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
              & Objections                                          Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                    Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022     Claims                   06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.8 0.2636364         $36.91
              Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
              & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                    7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                    Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)

June 2022     Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 1.1 0.0146667          $2.05
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                    Marquette, 8800 Ada) (1.1)

June 2022     Claims                   06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8 0.2181818         $30.55
              Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
              & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                    7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                    Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)




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6160-6212 S Martin Luther King Drive                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours         Fees
June 2022     Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022     Claims                   06/09/22 AW          140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
              Administration                                    End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
              & Objections                                      1700 Juneway) (3.6)

June 2022     Claims                   06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333          $0.75
              Administration                                    upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                      1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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6160-6212 S Martin Luther King Drive                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
              Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6160-6212 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022     Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
              Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
              & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                    Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                    Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                    (4.1)
June 2022     Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6160-6212 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
              Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
              Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)




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6160-6212 S Martin Luther King Drive                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                    1.2 0.0428571         $6.00
              Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022     Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
              Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                    Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                    5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                    Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                    Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                    7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                    7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                    Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                    Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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6160-6212 S Martin Luther King Drive                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022     Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
              Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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6160-6212 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
              Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
              & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                    Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                    Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                    7749 Yates).
June 2022     Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
              Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
              & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                    Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                    Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022     Claims                   06/28/22 AW              140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571         $6.00
              Administration                                        7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
              & Objections                                          7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                    7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                    Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022     Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
              Administration                                        related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1514 of 2195 PageID #:72430
6160-6212 S Martin Luther King Drive                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022     Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296          $1.20
              Administration                                    (.5)
              & Objections

June 2022     Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
              Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                2736-44 W 64th Street
General Allocation % (Pre 01/29/21):                                                 0.5239037%
General Allocation % (01/29/21 Onward, Claims Only):                            0.5628609657%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     80       2736-44 W 64th Street                                                          0.49     $                 120.22                            2.98     $             515.02              3.47    $                  635.23
                 Asset Disposition [4]                                                        0.00    $                     0.22                               -   $                -                 0.00   $                    0.22
                 Business Operations [5]                                                      0.29    $                    75.99                          0.58     $              81.41               0.87   $                  157.40
                 Claims Administration & Objections [6]                                       0.20    $                    44.01                          2.40     $             433.61               2.60   $                  477.62




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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2736-44 W 64th Street                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.98
Specific Allocation Fees:         $         515.02



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections




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2736-44 W 64th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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2736-44 W 64th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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2736-44 W 64th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                0.2 0.0117647         $1.65
             Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                   5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                   Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022    Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765        $47.76
             Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                   W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                   Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                   7109 Calumet) (5.8)




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2736-44 W 64th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714         $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).

June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7          0.3      $42.00
             Administration                                        claimant’s information for properties (5201 Washington, 7616 Phillips, 109 Laramie, 5450
             & Objections                                          Indiana, 7750 Muskegon, 2736 W 64th, 7201 Constance, 7635 East End, 6001 Sacramento).




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1531 of 2195 PageID #:72447
2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                    upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                      1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                               79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1532 of 2195 PageID #:72448
2736-44 W 64th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1533 of 2195 PageID #:72449
2736-44 W 64th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1534 of 2195 PageID #:72450
2736-44 W 64th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1535 of 2195 PageID #:72451
2736-44 W 64th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667          $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/13/22 JRW             260 analyze claim against properties (1102 Bingham, 2736 W 64th) (.7).                                     0.7         0.35      $91.00
             Administration
             & Objections

June 2022    Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004        $0.56
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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2736-44 W 64th Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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2736-44 W 64th Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 AW              140 Review claims (8100 Essex, 7834 Ellis, 4317 Michigan, 7237 Bennett, 7508 Essex, 8326 Ellis,          3.9 0.4333333        $60.67
             Administration                                        5001 Drexel, 2736 W 64th, 6355 Talman) (3.9)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections

June 2022    Claims                   06/30/22 AW              140 Review claims (8100 Essex, 7508 Essex, 2736 W 64th, 6355 Talman, 7549 Essex, 2909 E 78th,            4.8 0.6857143        $96.00
             Administration                                        8047 Manistee) (4.8)
             & Objections




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2736-44 W 64th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1539 of 2195 PageID #:72455
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                         4315-19 S Michigan Avenue
General Allocation % (Pre 01/29/21):                                                 1.0653545%
General Allocation % (01/29/21 Onward, Claims Only):                            1.1445737341%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     81       4315-19 S Michigan Avenue                                                      1.00     $                 244.46                            2.24     $             369.85              3.24    $                  614.31
                 Asset Disposition [4]                                                        0.00    $                     0.45                               -   $                -                 0.00   $                    0.45
                 Business Operations [5]                                                      0.59    $                  154.52                           0.23     $              32.00               0.82   $                  186.52
                 Claims Administration & Objections [6]                                       0.40    $                    89.49                          2.01     $             337.85               2.42   $                  427.34




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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4315-19 S Michigan Avenue                                                EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.24
Specific Allocation Fees:         $         369.85



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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4315-19 S Michigan Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1542 of 2195 PageID #:72458
4315-19 S Michigan Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections




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4315-19 S Michigan Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1544 of 2195 PageID #:72460
4315-19 S Michigan Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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4315-19 S Michigan Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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4315-19 S Michigan Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related             0.2 0.0018519         $0.72
             Administration                                        issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).




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4315-19 S Michigan Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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4315-19 S Michigan Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW          140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
             Administration                                    End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
             & Objections                                      1700 Juneway) (3.6)




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4315-19 S Michigan Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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4315-19 S Michigan Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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4315-19 S Michigan Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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4315-19 S Michigan Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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4315-19 S Michigan Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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4315-19 S Michigan Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 AW              140 Review claims (8100 Essex, 7834 Ellis, 4317 Michigan, 7237 Bennett, 7508 Essex, 8326 Ellis,          3.9 0.4333333        $60.67
             Administration                                        5001 Drexel, 2736 W 64th, 6355 Talman) (3.9)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1561 of 2195 PageID #:72477
4315-19 S Michigan Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296          $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1562 of 2195 PageID #:72478
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                           6355-59 S Talman Avenue
General Allocation % (Pre 01/29/21):                                                 0.7231877%
General Allocation % (01/29/21 Onward, Claims Only):                            0.7769635819%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     82       6355-59 S Talman Avenue                                                        0.68     $                 165.95                            3.67     $             569.94              4.35    $                  735.88
                 Asset Disposition [4]                                                        0.00    $                     0.30                               -   $                -                 0.00   $                    0.30
                 Business Operations [5]                                                      0.40    $                  104.89                           0.58     $              81.41               0.98   $                  186.30
                 Claims Administration & Objections [6]                                       0.27    $                    60.75                          3.09     $             488.53               3.36   $                  549.28




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6355-59 S Talman Avenue                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.67
Specific Allocation Fees:         $         569.94



   Invoice                                            Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/13/22 AW           140 Review claim and related email response to claimants' representative (6355 Talman) (.2)                  0.2          0.2      $28.00
               Administration
               & Objections

April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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6355-59 S Talman Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1565 of 2195 PageID #:72481
6355-59 S Talman Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1566 of 2195 PageID #:72482
6355-59 S Talman Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
            Administration                                     exchange additional related correspondence (all108) (.3)
            & Objections

May 2022    Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
            Administration                                     (all108) (.3)
            & Objections

May 2022    Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
            Administration                                     communications with claimants regarding claims process, timing, and custodian issues
            & Objections                                       (all108) (.7)

May 2022    Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
            Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
            & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022    Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
            Administration                                     process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
            Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
            & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022    Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
            Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
            & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1567 of 2195 PageID #:72483
6355-59 S Talman Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
            Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections

May 2022    Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
            Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
            & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022    Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections




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6355-59 S Talman Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022    Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
            Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
            & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
            Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022    Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
            Administration
            & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1569 of 2195 PageID #:72485
6355-59 S Talman Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
            Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
            & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022    Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
            Administration                                     hearing (all108) (.8)
            & Objections

May 2022    Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
            Administration
            & Objections

May 2022    Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
            Administration
            & Objections

May 2022    Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
            Administration
            & Objections




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6355-59 S Talman Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022    Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022    Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
            Administration                                     (all108) (.3)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
            Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
            Administration                                     of claims (all108) (.5).
            & Objections

May 2022    Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
            Administration
            & Objections




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6355-59 S Talman Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
            Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022    Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
            Administration                                         respond accordingly (all) (.2).
            & Objections

May 2022    Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
            Administration
            & Objections




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6355-59 S Talman Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022    Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
            Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
            & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022    Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
            Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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6355-59 S Talman Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
            Administration                                         conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325      $45.50
            Administration                                         claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
            & Objections                                           Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                   7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022    Claims                    05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
            Administration                                         claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
            & Objections                                           Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022    Claims                    05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                    05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                    05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  0.8 0.0571429         $8.00
            Administration                                         claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
            & Objections                                           4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                   7051 Bennett, 6437 Kenwood, 5450 Indiana).




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6355-59 S Talman Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.8 0.3578947        $50.11
            Administration                                         claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
            & Objections                                           7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022    Claims                    05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
            Administration
            & Objections

May 2022    Claims                    05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                    06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
            Administration                                         Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
            & Objections                                           64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada).




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6355-59 S Talman Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022   Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                     0.2 0.0018519         $0.72
            Administration                                     (all108) (.2)
            & Objections

June 2022   Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
            Administration                                     regarding claims process issues (all108).
            & Objections

June 2022   Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
            Administration                                     issues (all108) (.2)
            & Objections

June 2022   Claims                    06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
            Administration                                     investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
            & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
            Administration                                     (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                       1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6355-59 S Talman Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022   Business                  06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination            5.8 0.3411765        $47.76
            Operations                                             insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                   W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                   Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                   7109 Calumet) (5.8)
June 2022   Business                  06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                  0.2 0.0117647         $1.65
            Operations                                             (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                   5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                   Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022   Business                  06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
            Operations                                             update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).

June 2022   Claims                    06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
            Administration                                         Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)




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6355-59 S Talman Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022   Claims                    06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
            Administration                                         claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
            & Objections                                           7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022   Claims                    06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
            Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)




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6355-59 S Talman Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022   Claims                    06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
            Administration                                     upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
            & Objections                                       1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                               79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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6355-59 S Talman Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022   Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
            Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
            & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6355-59 S Talman Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022   Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
            Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022   Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                             0.7 0.0093333         $1.31
            Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
            & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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6355-59 S Talman Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                   5.5 0.0733333        $10.27
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
            Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
            & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)




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6355-59 S Talman Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
            Administration                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
            & Objections                                           W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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6355-59 S Talman Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022   Claims                    06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
            Administration                                     (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                       1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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6355-59 S Talman Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022   Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
            Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
            & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/29/22 AW              140 Review claims (8100 Essex, 7834 Ellis, 4317 Michigan, 7237 Bennett, 7508 Essex, 8326 Ellis,          3.9 0.4333333        $60.67
            Administration                                         5001 Drexel, 2736 W 64th, 6355 Talman) (3.9)
            & Objections

June 2022   Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
            Administration                                         related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                    06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                    06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
            Administration                                         (.5)
            & Objections

June 2022   Claims                    06/30/22 AW              140 Review claims (8100 Essex, 7508 Essex, 2736 W 64th, 6355 Talman, 7549 Essex, 2909 E 78th,            4.8 0.6857143        $96.00
            Administration                                         8047 Manistee) (4.8)
            & Objections




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6355-59 S Talman Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022   Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
            Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
            & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1586 of 2195 PageID #:72502
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                            6356 S California Avenue
General Allocation % (Pre 01/29/21):                                                 0.4700093%
General Allocation % (01/29/21 Onward, Claims Only):                            0.5049590004%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     83       6356 S California Avenue                                                       0.44     $                 107.85                            1.64     $             302.02              2.08    $                  409.87
                 Asset Disposition [4]                                                        0.00    $                     0.20                               -   $                -                 0.00   $                    0.20
                 Business Operations [5]                                                      0.26    $                    68.17                          0.88     $             123.41               1.14   $                  191.58
                 Claims Administration & Objections [6]                                       0.18    $                    39.48                          0.76     $             178.61               0.94   $                  218.09




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6356 S California Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.64
Specific Allocation Fees:         $         302.02



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 follow up correspondence with insurance firm requesting confirmation of property refunds                 0.3       0.075       $10.50
               Operations                                              (7201 Constance, 7110 Cornell, 5618 MLK, 6356 California, 7201 Constance) (.3).

April 2022     Business                   04/29/22 JR              140 Continued follow up correspondence with insurance firm requesting confirmation of                        0.2         0.05       $7.00
               Operations                                              property refunds (7201 Constance, 7110 Cornell, 5618 MLK, 6356 California, 7201 Constance)
                                                                       (.2)
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1588 of 2195 PageID #:72504
6356 S California Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                   Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                          Keeper                                                                                                                    Hours        Fees
April 2022    Claims                   04/18/22 JRW         260 review and analyze documents produced pursuant to subpoena (5450 Indiana, 6217                     0.8 0.1333333        $34.67
              Administration                                    Dorchester, 6356 California, 6949 Merrill, 701 S 5th, 7600 Kingston) (.8).
              & Objections

April 2022    Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259         $0.13
              Administration                                    (all108) (.1).
              & Objections

April 2022    Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259         $0.24
              Administration                                    hearing (all108) (.1)
              & Objections

April 2022    Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259         $0.24
              Administration                                    (.1)
              & Objections

April 2022    Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519         $0.26
              Administration                                    exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778         $0.39
              Administration                                    change of date (all108) (.3)
              & Objections

April 2022    Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                        0.2 0.0018519         $0.48
              Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                   0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                               0.1 0.0009259         $0.13
              Administration
              & Objections




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6356 S California Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022    Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                    (all108) (.1)
              & Objections

April 2022    Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                    Duff (all108).
              & Objections

April 2022    Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections




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6356 S California Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
April 2022    Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
              Administration                                    exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                    communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                      (all108) (.7)

May 2022      Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022      Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                    process and hearing (all108) (1.1)
              & Objections




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6356 S California Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections

May 2022      Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022      Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections




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6356 S California Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
May 2022      Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
              Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
              Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022      Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                               0.2 0.0018519         $0.72
              Administration
              & Objections




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6356 S California Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022      Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                    hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections




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6356 S California Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                    of claims (all108) (.5).
              & Objections

May 2022      Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections




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6356 S California Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022      Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                        respond accordingly (all) (.2).
              & Objections

May 2022      Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections




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6356 S California Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022      Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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6356 S California Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                    (all108) (.2)
              & Objections

June 2022     Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                    regarding claims process issues (all108).
              & Objections

June 2022     Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                    issues (all108) (.2)
              & Objections




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  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                0.2 0.0117647         $1.65
              Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                    5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                    Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022     Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765        $47.76
              Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                    W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                    Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                    7109 Calumet) (5.8)
June 2022     Business                 06/29/22 JR              140 Review email correspondence from E. Duff related to property endorsement 28 and provide               0.1       0.025       $3.50
              Operations                                            requested information (7110 Cornell, 5618 MLK, 6356 California, 7201 Constance) (.1)




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  Invoice                                             Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours         Fees
June 2022     Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714         $32.00
              Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                    64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                    6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                    Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                    Kingston, 8326 Ellis) (6.4).

June 2022     Business                 06/30/22 JR              140 further communication with E. Duff related to reconciliation of refunds for various properties          0.6         0.15      $21.00
              Operations                                            (5618 MLK, 7110 Cornell, 7201 Constance, 6356 California) (.6).
June 2022     Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
              Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                    7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.3)




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6356 S California Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022     Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
              Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1603 of 2195 PageID #:72519
6356 S California Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022     Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
              Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1604 of 2195 PageID #:72520
6356 S California Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6356 S California Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6356 S California Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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6356 S California Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
              Administration                                        related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
              Administration                                        (.5)
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1608 of 2195 PageID #:72524
6356 S California Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022     Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
              Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1609 of 2195 PageID #:72525
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                7051 S Bennett Avenue
General Allocation % (Pre 01/29/21):                                                 0.7520149%
General Allocation % (01/29/21 Onward, Claims Only):                            0.8079344006%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     84       7051 S Bennett Avenue                                                          0.70     $                 172.56                            4.92   $            1,140.41                 5.62    $              1,312.97
                 Asset Disposition [4]                                                        0.00    $                     0.32                          0.04   $                  5.09                0.04   $                     5.41
                 Business Operations [5]                                                      0.42    $                  109.07                           0.14   $                 18.96                0.55   $                   128.04
                 Claims Administration & Objections [6]                                       0.29    $                    63.17                          4.75   $               1,116.36               5.03   $                  1,179.53




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7051 S Bennett Avenue                                                       EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                     4.92
Specific Allocation Fees:         $        1,140.41



   Invoice                                               Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545         $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections




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7051 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1612 of 2195 PageID #:72528
7051 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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7051 S Bennett Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1614 of 2195 PageID #:72530
7051 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7051 S Bennett Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                   2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                   4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                   5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                   6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                   (.2)

May 2022     Asset                    05/05/22 KMP             140 Review banking records to verify receipt of post-sale reconciliation funds and related               0.4 0.0363636          $5.09
             Disposition                                           communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                                   4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                                   7450 Luella, 7508 Essex).
May 2022     Business                 05/04/22 JR              140 review master property reporting spreadsheet for all of 2021 and further communication               0.9         0.09      $12.60
             Operations                                            with E. Duff and K. Pritchard regarding post-closing reconciliation, review bank statements
                                                                   for same and request confirmation of post-consolidation funds as they relate to property
                                                                   reporting from K. Pritchard (1700 Juneway, 3074 Cheltenham, 4520 Drexel, 5450 Indiana,
                                                                   6437 Kenwood, 7051 Bennett, 7110 Cornell, 7201 Constance, 7450 Luella, 7508 Essex) (.9).




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7051 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections




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7051 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections




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7051 S Bennett Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296         $1.20
             Administration                                        of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7051 S Bennett Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  0.8 0.0571429         $8.00
             Administration                                        claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                          4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                   7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.8 0.3578947        $50.11
             Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931         $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                   06/07/22 JRW             260 conduct claims analysis for property (7051 Bennett) (3.1).                                              3.1          3.1     $806.00
             Administration
             & Objections




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7051 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7051 S Bennett Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1626 of 2195 PageID #:72542
7051 S Bennett Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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7051 S Bennett Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7051 S Bennett Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7051 S Bennett Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004        $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 Analyze claims against property (7051 Bennett) (.2)                                                     0.2          0.2      $52.00
             Administration
             & Objections

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667          $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7051 S Bennett Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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7051 S Bennett Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                       7201-07 S Dorchester Avenue
General Allocation % (Pre 01/29/21):                                                 0.6204123%
General Allocation % (01/29/21 Onward, Claims Only):                            0.6665458805%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     85       7201-07 S Dorchester Avenue                                                    0.58     $                 142.36                            2.85     $             454.43              3.43    $                  596.79
                 Asset Disposition [4]                                                        0.00    $                     0.26                               -   $                -                 0.00   $                    0.26
                 Business Operations [5]                                                      0.34    $                    89.98                          0.58     $              81.41               0.93   $                  171.40
                 Claims Administration & Objections [6]                                       0.24    $                    52.12                          2.26     $             373.01               2.50   $                  425.13




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7201-07 S Dorchester Avenue                                              EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.85
Specific Allocation Fees:         $         454.43



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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7201-07 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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7201-07 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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7201-07 S Dorchester Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7201-07 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7201-07 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7201-07 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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7201-07 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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7201-07 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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7201-07 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7201-07 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325       $45.50
             Administration                                        claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
             & Objections                                          Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                   7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections




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7201-07 S Dorchester Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/21/22 KBD             390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
             Administration                                        regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                        issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765        $47.76
             Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                   W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                   Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                   7109 Calumet) (5.8)




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7201-07 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                  0.2 0.0117647         $1.65
             Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                   5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                   Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).

June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7201-07 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931         $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                   06/06/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   2.7         0.18      $25.20
             Administration                                        claimant's information for properties (5450 Indiana, 5955 Sacramento, 4615 Drexel, 7237
             & Objections                                          Bennett, 6437 Kenwood, 7201 Dorchester, 701 S 5th, 6160 MLK, 7024 Paxton, 6217
                                                                   Dorchester, 6250 Mozart, 638 Avers, 2909 E 78th, 7549 Essex, 8047 Manistee).

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667          $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)




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7201-07 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                    upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                      1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                               79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7201-07 S Dorchester Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7201-07 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7201-07 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)




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7201-07 S Dorchester Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                    1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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7201-07 S Dorchester Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7201-07 S Dorchester Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022    Claims                   06/28/22 AW              140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571         $6.00
             Administration                                        7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                          7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                   7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                   Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1655 of 2195 PageID #:72571
7201-07 S Dorchester Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296          $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          7442-54 S Calumet Avenue
General Allocation % (Pre 01/29/21):                                                 0.7081474%
General Allocation % (01/29/21 Onward, Claims Only):                            0.7608048939%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     86       7442-54 S Calumet Avenue                                                       0.66     $                 162.49                            2.51     $             407.35              3.17    $                  569.85
                 Asset Disposition [4]                                                        0.00    $                     0.30                               -   $                -                 0.00   $                    0.30
                 Business Operations [5]                                                      0.39    $                  102.71                           0.23     $              32.00               0.62   $                  134.71
                 Claims Administration & Objections [6]                                       0.27    $                    59.49                          2.28     $             375.35               2.55   $                  434.84




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7442-54 S Calumet Avenue                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.51
Specific Allocation Fees:         $         407.35



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1658 of 2195 PageID #:72574
7442-54 S Calumet Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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7442-54 S Calumet Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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7442-54 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7442-54 S Calumet Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7442-54 S Calumet Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1663 of 2195 PageID #:72579
7442-54 S Calumet Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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7442-54 S Calumet Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1665 of 2195 PageID #:72581
7442-54 S Calumet Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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7442-54 S Calumet Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7442-54 S Calumet Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9      0.6125       $85.75
             Administration                                        claimant's information for properties (5450 Indiana, 8326 Ellis, 7749 Yates, 7442 Calumet,
             & Objections                                          4533 Calumet, 4611 Drexel, 701 S 5th, 7237 Bennett).

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
             Administration
             & Objections




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7442-54 S Calumet Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/27/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9         0.49      $68.60
             Administration                                        claimant's information for properties (7749 Yates, 7442 Calumet, 4533 Calumet, 4611 Drexel,
             & Objections                                          6801 East End, 701 S 5th., 7237 Bennett, 7500 Eggleston, 3030 E 79th, 7301 Stewart).

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333          $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD             390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333          $0.52
             Administration                                        Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                          64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD             390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519          $0.72
             Administration                                        (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD             390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519          $0.72
             Administration                                        regarding claims process issues (all108).
             & Objections




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7442-54 S Calumet Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related             0.2 0.0018519         $0.72
             Administration                                        issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).




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7442-54 S Calumet Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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7442-54 S Calumet Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7442-54 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7442-54 S Calumet Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)




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7442-54 S Calumet Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7442-54 S Calumet Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1676 of 2195 PageID #:72592
7442-54 S Calumet Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1677 of 2195 PageID #:72593
7442-54 S Calumet Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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7442-54 S Calumet Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1679 of 2195 PageID #:72595
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  7508 S Essex Avenue
General Allocation % (Pre 01/29/21):                                                 0.9462854%
General Allocation % (01/29/21 Onward, Claims Only):                            1.0166507874%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     87       7508 S Essex Avenue                                                            0.89     $                 217.14                            3.01   $               523.46              3.90    $                  740.60
                 Asset Disposition [4]                                                        0.00    $                     0.40                          0.04   $                 5.09               0.04   $                    5.49
                 Business Operations [5]                                                      0.53    $                  137.25                           0.36   $                50.96               0.89   $                  188.21
                 Claims Administration & Objections [6]                                       0.36    $                    79.49                          2.61   $               467.41               2.97   $                  546.90




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7508 S Essex Avenue                                                         EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.01
Specific Allocation Fees:         $         523.46



   Invoice                                               Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545         $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1681 of 2195 PageID #:72597
7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections




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7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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7508 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1684 of 2195 PageID #:72600
7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7508 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours         Fees
May 2022     Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                   2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                   4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                   5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                   6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                   (.2)

May 2022     Asset                    05/05/22 KMP             140 Review banking records to verify receipt of post-sale reconciliation funds and related               0.4 0.0363636          $5.09
             Disposition                                           communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                                   4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                                   7450 Luella, 7508 Essex).
May 2022     Business                 05/04/22 JR              140 review master property reporting spreadsheet for all of 2021 and further communication               0.9         0.09      $12.60
             Operations                                            with E. Duff and K. Pritchard regarding post-closing reconciliation, review bank statements
                                                                   for same and request confirmation of post-consolidation funds as they relate to property
                                                                   reporting from K. Pritchard (1700 Juneway, 3074 Cheltenham, 4520 Drexel, 5450 Indiana,
                                                                   6437 Kenwood, 7051 Bennett, 7110 Cornell, 7201 Constance, 7450 Luella, 7508 Essex) (.9).




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7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections




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7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)




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7508 S Essex Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296         $1.20
             Administration                                        of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1691 of 2195 PageID #:72607
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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).




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7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)




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7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7508 S Essex Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)




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7508 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7508 S Essex Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/14/22 JRW         260 Analyze claims against property (7107 Bennett, 7255 Euclid, 7508 Essex, 7748 Essex, 7749                2.3 0.3833333        $99.67
             Administration                                    Yates, 8209 S Ellis) (2.3)
             & Objections

June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7508 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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7508 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                    7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                      7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                               7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                               Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 AW          140 Review claims (8100 Essex, 7834 Ellis, 4317 Michigan, 7237 Bennett, 7508 Essex, 8326 Ellis,            3.9 0.4333333        $60.67
             Administration                                    5001 Drexel, 2736 W 64th, 6355 Talman) (3.9)
             & Objections

June 2022    Claims                   06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                    related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 AW          140 Review claims (8100 Essex, 7508 Essex, 2736 W 64th, 6355 Talman, 7549 Essex, 2909 E 78th,              4.8 0.6857143        $96.00
             Administration                                    8047 Manistee) (4.8)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).




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7508 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          7546-48 S Saginaw Avenue
General Allocation % (Pre 01/29/21):                                                 0.7833489%
General Allocation % (01/29/21 Onward, Claims Only):                            0.8415983339%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     88       7546-48 S Saginaw Avenue                                                       0.73     $                 179.75                            3.25     $             511.33              3.99    $                  691.09
                 Asset Disposition [4]                                                        0.00    $                     0.33                               -   $                -                 0.00   $                    0.33
                 Business Operations [5]                                                      0.43    $                  113.62                                -   $                -                 0.43   $                  113.62
                 Claims Administration & Objections [6]                                       0.30    $                    65.80                          3.25     $             511.33               3.55   $                  577.14




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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Specific Allocation Hours:                    3.25
Specific Allocation Fees:         $         511.33



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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7546-48 S Saginaw Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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7546-48 S Saginaw Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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7546-48 S Saginaw Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7546-48 S Saginaw Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7546-48 S Saginaw Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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7546-48 S Saginaw Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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7546-48 S Saginaw Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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7546-48 S Saginaw Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7546-48 S Saginaw Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                      0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 0.8 0.0571429         $8.00
             Administration                                        claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                          4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                   7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947        $50.11
             Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022     Claims                   05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 5.3 0.4076923        $57.08
             Administration                                        claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                          7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                   Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                 0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                           0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                  0.1 0.0013333         $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                  0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                     0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                   0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                   06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364        $36.91
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)




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7546-48 S Saginaw Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                   06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7546-48 S Saginaw Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7546-48 S Saginaw Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7546-48 S Saginaw Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)




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7546-48 S Saginaw Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                    1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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7546-48 S Saginaw Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7546-48 S Saginaw Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022    Claims                   06/28/22 AW              140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571         $6.00
             Administration                                        7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                          7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                   7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                   Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections




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7546-48 S Saginaw Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296          $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1727 of 2195 PageID #:72643
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          7600-10 S Kingston Avenue
General Allocation % (Pre 01/29/21):                                                 1.9176380%
General Allocation % (01/29/21 Onward, Claims Only):                            2.0602327215%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     89       7600-10 S Kingston Avenue                                                      1.80     $                 440.03                            3.21     $             520.92              5.00    $                  960.95
                 Asset Disposition [4]                                                        0.01    $                     0.81                               -   $                -                 0.01   $                    0.81
                 Business Operations [5]                                                      1.06    $                  278.13                           0.23     $              32.00               1.29   $                  310.13
                 Claims Administration & Objections [6]                                       0.73    $                  161.09                           2.98     $             488.92               3.71   $                  650.01




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7600-10 S Kingston Avenue                                                EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.21
Specific Allocation Fees:         $         520.92



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/18/22 JRW          260 review and analyze documents produced pursuant to subpoena (5450 Indiana, 6217                           0.8 0.1333333        $34.67
               Administration                                       Dorchester, 6356 California, 6949 Merrill, 701 S 5th, 7600 Kingston) (.8).
               & Objections




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7600-10 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1730 of 2195 PageID #:72646
7600-10 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1731 of 2195 PageID #:72647
7600-10 S Kingston Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1732 of 2195 PageID #:72648
7600-10 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7600-10 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7600-10 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1735 of 2195 PageID #:72651
7600-10 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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7600-10 S Kingston Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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7600-10 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7600-10 S Kingston Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                      0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 0.8 0.0571429         $8.00
             Administration                                        claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                          4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                   7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947        $50.11
             Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                 0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                           0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                  0.1 0.0013333         $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7600-10 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                     0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7600-10 S Kingston Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).

June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                   06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364        $36.91
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)




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7600-10 S Kingston Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                   06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7600-10 S Kingston Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                             0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1746 of 2195 PageID #:72662
7600-10 S Kingston Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                   5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)




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7600-10 S Kingston Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                    1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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7600-10 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7600-10 S Kingston Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022    Claims                   06/28/22 AW              140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571         $6.00
             Administration                                        7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                          7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                   7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                   Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections




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7600-10 S Kingston Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296          $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          7656-58 S Kingston Avenue
General Allocation % (Pre 01/29/21):                                                 0.4010746%
General Allocation % (01/29/21 Onward, Claims Only):                            0.4308983470%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     90       7656-58 S Kingston Avenue                                                      0.38     $                   92.03                           1.37     $             247.82              1.75    $                  339.86
                 Asset Disposition [4]                                                        0.00    $                     0.17                               -   $                -                 0.00   $                    0.17
                 Business Operations [5]                                                      0.22    $                    58.17                          0.23     $              32.00               0.45   $                   90.17
                 Claims Administration & Objections [6]                                       0.15    $                    33.69                          1.14     $             215.82               1.29   $                  249.52




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7656-58 S Kingston Avenue                                                EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.37
Specific Allocation Fees:         $         247.82



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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7656-58 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1754 of 2195 PageID #:72670
7656-58 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1756 of 2195 PageID #:72672
7656-58 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7656-58 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7656-58 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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7656-58 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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7656-58 S Kingston Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325      $45.50
             Administration                                        claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
             & Objections                                          Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                   7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7656-58 S Kingston Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7656-58 S Kingston Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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7656-58 S Kingston Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7656-58 S Kingston Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7656-58 S Kingston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                7701-03 S Essex Avenue
General Allocation % (Pre 01/29/21):                                                 0.8773507%
General Allocation % (01/29/21 Onward, Claims Only):                            0.9425901340%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     91       7701-03 S Essex Avenue                                                         0.82     $                 201.32                            1.07     $             205.87              1.89    $                  407.19
                 Asset Disposition [4]                                                        0.00    $                     0.37                               -   $                -                 0.00   $                    0.37
                 Business Operations [5]                                                      0.49    $                  127.25                           0.23     $              32.00               0.72   $                  159.25
                 Claims Administration & Objections [6]                                       0.33    $                    73.70                          0.84     $             173.87               1.17   $                  247.57




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7701-03 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.07
Specific Allocation Fees:         $         205.87



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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7701-03 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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7701-03 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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7701-03 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7701-03 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7701-03 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7701-03 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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7701-03 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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7701-03 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7701-03 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7701-03 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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7701-03 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7701-03 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7701-03 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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7701-03 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                7748-52 S Essex Avenue
General Allocation % (Pre 01/29/21):                                                 1.6920336%
General Allocation % (01/29/21 Onward, Claims Only):                            1.8178524013%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     92       7748-52 S Essex Avenue                                                         1.59     $                 388.26                            5.96   $            1,161.00               7.55    $              1,549.26
                 Asset Disposition [4]                                                        0.01    $                     0.71                          1.50   $               385.00               1.51   $                  385.71
                 Business Operations [5]                                                      0.94    $                  245.41                           0.53   $               123.00               1.47   $                  368.41
                 Claims Administration & Objections [6]                                       0.64    $                  142.14                           3.94   $               653.00               4.58   $                  795.14




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7748-52 S Essex Avenue                                                      EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                     5.96
Specific Allocation Fees:         $        1,161.00



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Asset                      04/18/22 KBD             390 Exchange correspondence with A. Porter and J. Rak regarding recovery of closing funds from               0.2          0.2      $78.00
               Disposition                                             title company and related issues (7748 Essex).
April 2022     Asset                      04/19/22 KBD             390 Exchange correspondence with A. Porter and J. Rak regarding recovery of closing funds from               0.1          0.1      $39.00
               Disposition                                             title company (7748 Essex).
April 2022     Business                   04/20/22 KBD             390 Attention to disposition of state court action (7748 Essex).                                             0.1          0.1      $39.00
               Operations
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Asset                      04/03/22 AEP             390 Review title indemnity associated with receivership property, review administrative                      0.4          0.4     $156.00
               Disposition                                             judgment and purported release thereof, and prepare e-mail to outside counsel for City of
                                                                       Chicago requesting preparation and recording of amended release containing correct legal
                                                                       description (7748 Essex).
April 2022     Asset                      04/18/22 JR              140 Review email from K. Duff regarding a refund check received from the title company related               0.1          0.1      $14.00
               Disposition                                             to a post-closing holdback and refund of same (7748 Essex) (.1)
April 2022     Asset                      04/18/22 JR              140 further communication with the title company, K. Pritchard and K. Duff related to a                      0.3          0.3      $42.00
               Disposition                                             discrepancy regarding amount refunded and further investigate same (7748 Essex) (.3).

April 2022     Asset                      04/18/22 KMP             140 Communicate with K. Duff, A. Porter, and J. Rak regarding title company's post-sale release              0.2          0.2      $28.00
               Disposition                                             of funds (7748 Essex).
April 2022     Asset                      04/19/22 KMP             140 Further communication with K. Duff, A. Porter, and J. Rak regarding title company's post-sale            0.2          0.2      $28.00
               Disposition                                             release of funds (7748 Essex).
April 2022     Business                   04/27/22 JRW             260 Review order and transcript in state court matter (7748 Essex) (.2)                                      0.2          0.2      $52.00
               Operations




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7748-52 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
April 2022   Claims                   04/06/22 JRW         260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
             Administration                                    same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                      68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                               W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                               7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                               8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022   Claims                   04/15/22 JRW         260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
             Administration                                    revision of notice email to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)                0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled                 0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email                 0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections




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7748-52 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                 0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export              0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                      0.1 0.0009259         $0.13
             Administration
             & Objections




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7748-52 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                             0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                    0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)




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7748-52 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7748-52 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7748-52 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7748-52 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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7748-52 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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7748-52 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7748-52 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                      0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 0.8 0.0571429         $8.00
             Administration                                        claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
             & Objections                                          4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                   7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022     Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947        $50.11
             Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
             & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022     Claims                   05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 5.3 0.4076923        $57.08
             Administration                                        claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                          7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                   Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                 0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                           0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                  0.1 0.0013333         $0.52
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                     0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7748-52 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).

June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7748-52 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).

June 2022    Claims                   06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364        $36.91
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)

June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)




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7748-52 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818         $30.55
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                   06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667          $5.89
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022    Claims                   06/09/22 AW              140 work on review of claims (8100 Essex Avenue, 7834 Ellis, 7024 Paxton, 6160 MLK, 6801 East               3.6          0.3      $42.00
             Administration                                        End, 7749 Yates, 6250 Mozart, 7760 Coles, 6001 Sacramento, 4317 Michigan, 7748 Essex,
             & Objections                                          1700 Juneway) (3.6)

June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333          $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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7748-52 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7748-52 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                             0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7748-52 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                   5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)




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7748-52 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                    1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022    Claims                   06/14/22 JRW             260 Analyze claims against property (7107 Bennett, 7255 Euclid, 7508 Essex, 7748 Essex, 7749               2.3 0.3833333        $99.67
             Administration                                        Yates, 8209 S Ellis) (2.3)
             & Objections

June 2022    Claims                   06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                          W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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7748-52 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022    Claims                   06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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7748-52 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022    Claims                   06/28/22 AW              140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571         $6.00
             Administration                                        7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                          7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                   7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                   Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections




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7748-52 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296          $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                          7957-59 S Marquette Road
General Allocation % (Pre 01/29/21):                                                 0.4399287%
General Allocation % (01/29/21 Onward, Claims Only):                            0.4726416243%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     93       7957-59 S Marquette Road                                                       0.41     $                 100.95                            1.07     $             205.87              1.48    $                  306.82
                 Asset Disposition [4]                                                        0.00    $                     0.18                               -   $                -                 0.00   $                    0.18
                 Business Operations [5]                                                      0.24    $                    63.81                          0.23     $              32.00               0.47   $                   95.81
                 Claims Administration & Objections [6]                                       0.17    $                    36.96                          0.84     $             173.87               1.01   $                  210.83




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7957-59 S Marquette Road                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.07
Specific Allocation Fees:         $         205.87



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1824 of 2195 PageID #:72740
7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1825 of 2195 PageID #:72741
7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections




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7957-59 S Marquette Road                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1829 of 2195 PageID #:72745
7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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7957-59 S Marquette Road                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1834 of 2195 PageID #:72750
7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1835 of 2195 PageID #:72751
7957-59 S Marquette Road                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).




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7957-59 S Marquette Road                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
             Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
             & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                   638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                   6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                   Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1837 of 2195 PageID #:72753
7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7957-59 S Marquette Road                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7957-59 S Marquette Road                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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7957-59 S Marquette Road                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7957-59 S Marquette Road                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7957-59 S Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7957-59 S Marquette Road                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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7957-59 S Marquette Road                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1845 of 2195 PageID #:72761
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                           816-22 E Marquette Road
General Allocation % (Pre 01/29/21):                                                 1.0089534%
General Allocation % (01/29/21 Onward, Claims Only):                            1.0839786541%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     94       816-22 E Marquette Road                                                        0.95     $                 231.52                            1.70     $             294.33              2.65    $                  525.84
                 Asset Disposition [4]                                                        0.00    $                     0.42                               -   $                -                 0.00   $                    0.42
                 Business Operations [5]                                                      0.56    $                  146.34                           0.23     $              32.00               0.79   $                  178.34
                 Claims Administration & Objections [6]                                       0.38    $                    84.76                          1.47     $             262.33               1.86   $                  347.08




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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816-22 E Marquette Road                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.70
Specific Allocation Fees:         $         294.33



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1848 of 2195 PageID #:72764
816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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816-22 E Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1850 of 2195 PageID #:72766
816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1851 of 2195 PageID #:72767
816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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816-22 E Marquette Road                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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816-22 E Marquette Road                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                   05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  5.3 0.4076923         $57.08
             Administration                                        claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
             & Objections                                          7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                   Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).




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816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections




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816-22 E Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                     0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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816-22 E Marquette Road                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).

June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)




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816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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816-22 E Marquette Road                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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816-22 E Marquette Road                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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816-22 E Marquette Road                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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816-22 E Marquette Road                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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816-22 E Marquette Road                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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816-22 E Marquette Road                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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816-22 E Marquette Road                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                8201 S Kingston Avenue
General Allocation % (Pre 01/29/21):                                                 0.5013433%
General Allocation % (01/29/21 Onward, Claims Only):                            0.5386229337%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
     95       8201 S Kingston Avenue                                                         0.47     $                 115.04                            1.53     $             269.78              2.00    $                  384.82
                 Asset Disposition [4]                                                        0.00    $                     0.21                               -   $                -                 0.00   $                    0.21
                 Business Operations [5]                                                      0.28    $                    72.71                          0.23     $              32.00               0.51   $                  104.71
                 Claims Administration & Objections [6]                                       0.19    $                    42.11                          1.30     $             237.78               1.49   $                  279.89




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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Specific Allocation Hours:                    1.53
Specific Allocation Fees:         $         269.78



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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8201 S Kingston Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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8201 S Kingston Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
             Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                   64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                   6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                   Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                   Kingston, 8326 Ellis) (6.4).




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364        $36.91
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                   06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)




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8201 S Kingston Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8201 S Kingston Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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8201 S Kingston Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8201 S Kingston Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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8201 S Kingston Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                8326-58 S Ellis Avenue
General Allocation % (Pre 01/29/21):                                                 2.0179067%
General Allocation % (01/29/21 Onward, Claims Only):                            2.1679573082%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
   96-99      8326-58 S Ellis Avenue                                                         1.89     $                 463.04                            8.27     $          1,349.16                10.16    $              1,812.20
                 Asset Disposition [4]                                                        0.01    $                     0.85                               -   $                 -                  0.01   $                     0.85
                 Business Operations [5]                                                      1.12    $                  292.68                           0.23     $               32.00                1.35   $                   324.68
                 Claims Administration & Objections [6]                                       0.77    $                  169.51                           8.04     $             1,317.16               8.80   $                  1,486.68




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8326-58 S Ellis Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                     8.27
Specific Allocation Fees:         $        1,349.16



   Invoice                                             Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                          Task Hours
   Month                                              Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD           390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                        correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD           390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW           260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                        same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                     W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                     5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                     92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                     6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                     Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                     Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                     Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                     Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                     7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                     8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                     8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW           260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                        revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP           140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW            140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                        (all108) (.1).
               & Objections




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8326-58 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022    Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
              Administration                                    (.1)
              & Objections

April 2022    Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
              Administration                                    hearing (all108) (.1)
              & Objections

April 2022    Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
              Administration                                    exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
              Administration                                    change of date (all108) (.3)
              & Objections

April 2022    Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
              Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
              Administration
              & Objections




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8326-58 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022    Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                    (all108) (.1)
              & Objections

April 2022    Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                    Duff (all108).
              & Objections

April 2022    Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
              Administration                                    exchange additional related correspondence (all108) (.3)
              & Objections




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8326-58 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                    communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                      (all108) (.7)

May 2022      Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022      Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                    process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections




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8326-58 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022      Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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8326-58 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
May 2022      Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
              Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
              Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022      Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
              Administration
              & Objections




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8326-58 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022      Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                    hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                    of claims (all108) (.5).
              & Objections

May 2022      Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections




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  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022      Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                        respond accordingly (all) (.2).
              & Objections

May 2022      Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022      Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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  Invoice                                             Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours         Fees
May 2022      Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
              Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
              Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
              & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                    Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                    Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                    Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                    Marquette, 7927 Essex).
May 2022      Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
              Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
              & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                    Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                    Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                    7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022      Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615         $26.38
              Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
              & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                    6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                    7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                    Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022      Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
              Administration
              & Objections




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  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
May 2022      Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                      0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/23/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 0.8 0.0571429         $8.00
              Administration                                        claimant's information for properties (6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett,
              & Objections                                          4611 Drexel, 8326 Ellis, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman,
                                                                    7051 Bennett, 6437 Kenwood, 5450 Indiana).
May 2022      Claims                   05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947        $50.11
              Administration                                        claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
              & Objections                                          7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                    7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                    7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022      Claims                   05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 5.3 0.4076923        $57.08
              Administration                                        claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
              & Objections                                          7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                    Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022      Claims                   05/26/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 4.9      0.6125      $85.75
              Administration                                        claimant's information for properties (5450 Indiana, 8326 Ellis, 7749 Yates, 7442 Calumet,
              & Objections                                          4533 Calumet, 4611 Drexel, 701 S 5th, 7237 Bennett).

May 2022      Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                           0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                 0.1 0.0009259         $0.24
              Administration
              & Objections




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  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022     Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333          $0.52
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333          $0.52
              Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/17/22 KBD         390 Telephone conference with A. Watychowicz regarding claims against property and (8326                   0.1          0.1      $39.00
              Administration                                    Ellis) (.1)
              & Objections

June 2022     Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519          $0.72
              Administration                                    (all108) (.2)
              & Objections

June 2022     Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519          $0.72
              Administration                                    regarding claims process issues (all108).
              & Objections




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  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related             0.2 0.0018519         $0.72
              Administration                                        issues (all108) (.2)
              & Objections

June 2022     Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
              Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Business                 06/29/22 JR              140 review files for properties related to institutional lenders, review endorsements and refunds,          6.4 0.2285714        $32.00
              Operations                                            update spreadsheet and update files with the requested information (1131 E 79th, 2736 W
                                                                    64th, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 6160 MLK, 6217 Dorchester,
                                                                    6250 Mozart, 6355 Talman, 6356 California, 638 Avers, 6749 Merrill, 7109 Calumet, 7110
                                                                    Cornell, 7201 Dorchester, 7255 Euclid, 7442 Calumet, 7508 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7953 Marquette, 8100 Essex, 816 Marquette, 8201
                                                                    Kingston, 8326 Ellis) (6.4).




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8326-58 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
              Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                    7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022     Claims                   06/03/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   6.2 0.2137931        $29.93
              Administration                                        claimant's information for properties (5450 Indiana, 7109 Calumet, 6160 MLK, 7026 Cornell,
              & Objections                                          7201 Dorchester, 3074 Cheltenham, 4533 Calumet, 4520 Drexel, 6751 Merrill, 7110 Cornell,
                                                                    638 Avers, 7834 Ellis, 4611 Drexel, 7237 Bennett, 6217 Dorchester, 7749 Yates, 8326 Ellis,
                                                                    6437 Kenwood, 4315 Michigan, 6355 Talman, 701 S 5th, 7051 Bennett, 7442 Calumet, 7546
                                                                    Saginaw, 7600 Kingston, 7701 Essex, 7748 Essex, 7957 Marquette, 8100 Essex).




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8326-58 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022     Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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8326-58 S Ellis Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
              Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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8326-58 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours         Fees
June 2022     Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667          $1.49
              Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667          $4.85
              Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022     Claims                   06/10/22 AW              140 review claims and draft communications to claimants regarding errors (8326 Ellis) (1.4).                 1.4          1.4     $196.00
              Administration
              & Objections

June 2022     Claims                   06/10/22 AW              140 attention to issue regarding error in proof of claims and related communication with J. Wine             0.3          0.3      $42.00
              Administration                                        (8326 Ellis) (.3)
              & Objections




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8326-58 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours         Fees
June 2022     Claims                   06/10/22 JR              140 exchange communication with A. Watychowicz regarding a property address error found as                 0.5          0.5      $70.00
              Administration                                        it relates to various claimants, corrected property address and claimant information (8326
              & Objections                                          Ellis) (.5).

June 2022     Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333          $1.31
              Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333         $10.27
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/10/22 JRW             260 confer with A. Watychowicz regarding misidentified claims (8326 Ellis) (.1)                            0.1          0.1      $26.00
              Administration
              & Objections

June 2022     Claims                   06/10/22 JRW             260 review and revise notice to claimants regarding corrections to Master Claims sheet and                 0.2          0.2      $52.00
              Administration                                        related correspondence with A. Watychowicz (8326 Ellis) (.2).
              & Objections




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8326-58 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours         Fees
June 2022     Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333          $2.43
              Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/13/22 AW              140 follow up with J. Wine regarding email to claimants and counsel (8326 Ellis) (.1)                       0.1          0.1      $14.00
              Administration
              & Objections

June 2022     Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667          $3.73
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1912 of 2195 PageID #:72828
8326-58 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated    Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours         Fees
June 2022     Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004        $0.56
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667          $3.81
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022     Claims                   06/16/22 AW          140 communicate with claimants regarding update to claims documents for property (8326 Ellis)               0.2          0.2      $28.00
              Administration                                    (.2)
              & Objections

June 2022     Claims                   06/16/22 AW          140 respond to emails regarding update to claims documents (8326 Ellis) (.2)                                0.2          0.2      $28.00
              Administration
              & Objections




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8326-58 S Ellis Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours         Fees
June 2022     Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008        $1.12
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004        $0.56
              Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/17/22 AW              140 call with claimant regarding update to claims documents (8326 Ellis) (.2)                            0.2          0.2      $28.00
              Administration
              & Objections

June 2022     Claims                   06/17/22 AW              140 communicate with K. Duff and M. Rachlis regarding and responses to multiple emails and               1.1          1.1     $154.00
              Administration                                        voice messages from claimant regarding property (8326 Ellis) (1.1).
              & Objections

June 2022     Claims                   06/17/22 MR              390 Attention to issues raised by claimant and follow up regarding same (8326 Ellis) (.3)                0.3          0.3     $117.00
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1914 of 2195 PageID #:72830
8326-58 S Ellis Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/29/22 AW          140 Review claims (8100 Essex, 7834 Ellis, 4317 Michigan, 7237 Bennett, 7508 Essex, 8326 Ellis,            3.9 0.4333333        $60.67
              Administration                                    5001 Drexel, 2736 W 64th, 6355 Talman) (3.9)
              & Objections

June 2022     Claims                   06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
              Administration                                    related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                   06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
              Administration                                    (.5)
              & Objections

June 2022     Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1915 of 2195 PageID #:72831
8326-58 S Ellis Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
June 2022     Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
              Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1916 of 2195 PageID #:72832
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                     11117-11119 S Longwood Drive
General Allocation % (Pre 01/29/21):                                                 2.1933769%
General Allocation % (01/29/21 Onward, Claims Only):                            2.3564753350%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    100       11117-11119 S Longwood Drive                                                   2.06     $                 503.30                            3.12   $               492.52              5.17    $                  995.82
                 Asset Disposition [4]                                                        0.01    $                     0.92                          0.04   $                 5.09               0.04   $                    6.01
                 Business Operations [5]                                                      1.22    $                  318.13                           0.05   $                 6.36               1.26   $                  324.49
                 Claims Administration & Objections [6]                                       0.83    $                  184.25                           3.04   $               481.06               3.87   $                  665.32




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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11117-11119 S Longwood Drive                                                EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.12
Specific Allocation Fees:         $         492.52



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545          $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/14/22 JR              140 Review and update damage analysis spreadsheet pertaining to property or fund (11117                      1.6          0.4      $56.00
               Administration                                          Longwood, 7500 Eggleston, 3030 E 79th, 7301 Stewart).
               & Objections

April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1918 of 2195 PageID #:72834
11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                   Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                         Keeper                                                                                                                    Hours        Fees
April 2022   Claims                   04/15/22 KMP         140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                   0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about           0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                        0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                   0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1919 of 2195 PageID #:72835
11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections




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11117-11119 S Longwood Drive                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
            Administration                                     process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
            Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections

May 2022    Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
            Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
            & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022    Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
            Administration
            & Objections




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11117-11119 S Longwood Drive                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
May 2022    Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
            Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
            & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
            Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022    Asset                     05/05/22 KMP         140 Review banking records to verify receipt of post-sale reconciliation funds and related               0.4 0.0363636         $5.09
            Disposition                                        communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                               4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                               7450 Luella, 7508 Essex).
May 2022    Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                   0.2 0.0018519         $0.72
            Administration
            & Objections




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11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
            Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
            & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022    Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
            Administration
            & Objections

May 2022    Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
            Administration                                     hearing (all108) (.8)
            & Objections




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11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022    Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
            Administration
            & Objections

May 2022    Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022    Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
            Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
            Administration                                     (all108) (.3)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
            Administration                                     of claims (all108) (.5).
            & Objections




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11117-11119 S Longwood Drive                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
            Administration
            & Objections

May 2022    Claims                    05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
            Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022    Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
            Administration                                         respond accordingly (all) (.2).
            & Objections

May 2022    Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
            Administration
            & Objections




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11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022    Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
            Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
            & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022    Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
            Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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11117-11119 S Longwood Drive                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022    Claims                    05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
            Administration                                         conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
            Administration                                         claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
            & Objections                                           Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022    Claims                    05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
            Administration                                         claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
            & Objections                                           Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022    Claims                    05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325       $45.50
            Administration                                         claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
            & Objections                                           Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                   7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022    Claims                    05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
            Administration
            & Objections

May 2022    Claims                    05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
            Administration
            & Objections




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11117-11119 S Longwood Drive                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
May 2022    Claims                    05/24/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 6.8 0.3578947        $50.11
            Administration                                         claimant's information for properties (5450 Indiana, 7748 Essex, 8326 Ellis, 7026 Cornell,
            & Objections                                           7546 Saginaw, 7600 Kingston, 7051 Bennett, 6355 Talman, 6437 Kenwood, 4533 Calumet,
                                                                   7844 Ellis, 4611 Drexel, 4611 Drexel, 6160 MLK, 1700 Juneway, 11117 Longwood, 638 Avers,
                                                                   7237 Bennett, 5450 Indiana, 6217 Dorchester, 9212 Parnell).

May 2022    Claims                    05/25/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                 5.3 0.4076923        $57.08
            Administration                                         claimant's information for properties (5450 Indiana, 4615 Drexel, 4520 Drexel, 7549 Saginaw,
            & Objections                                           7748 Essex, 816 Marquette, 11117 Longwood, 2909 E 78th, 7549 Essex, 8047 Manistee, 7549
                                                                   Essex, 8047 Manistee, 6217 Dorchester, 8326 Ellis, 7749 Yates).

May 2022    Claims                    05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                 0.1 0.0009259         $0.24
            Administration
            & Objections

May 2022    Claims                    05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                           0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                    06/01/22 KBD             390 Attention to correspondence with claimant regarding supplemental documentation (1102                  0.1 0.0013333         $0.52
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
            Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
            & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
            Administration                                     (all108) (.2)
            & Objections

June 2022   Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
            Administration                                     regarding claims process issues (all108).
            & Objections

June 2022   Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
            Administration                                     issues (all108) (.2)
            & Objections

June 2022   Claims                    06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                     0.1 0.0013333         $0.52
            Administration                                     investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
            & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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11117-11119 S Longwood Drive                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                  0.2 0.0026667         $1.04
            Administration                                     (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                       1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                   0.6       0.008       $2.08
            Administration                                     Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)




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11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022   Claims                    06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
            Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)




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11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)

June 2022   Claims                    06/09/22 AW          140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed               0.4 0.0053333         $0.75
            Administration                                     upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
            & Objections                                       1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                               79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).




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11117-11119 S Longwood Drive                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022   Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                 0.8 0.0106667         $1.49
            Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
            & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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11117-11119 S Longwood Drive                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022   Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
            Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022   Claims                    06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
            Administration                                         1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
            & Objections                                           Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)
June 2022   Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                    5.5 0.0733333        $10.27
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1935 of 2195 PageID #:72851
11117-11119 S Longwood Drive                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                            0.7 0.0093333         $1.31
            Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
            & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
            Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
            & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                    06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
            Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)




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11117-11119 S Longwood Drive                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                     2.0 0.0266667         $3.73
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                    1.2 0.0428571         $6.00
            Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).

June 2022   Claims                    06/15/22 AW              140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,              0.3       0.004       $0.56
            Administration                                         11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
            & Objections                                           W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                   Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                   5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                   Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                   Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                   7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                   7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                   Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                   Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8405 Marquette, 8800 Ada) (.3)




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1937 of 2195 PageID #:72853
11117-11119 S Longwood Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)


June 2022   Claims                    06/16/22 AW          140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                    0.6       0.008       $1.12
            Administration                                     (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                       1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)




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11117-11119 S Longwood Drive                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022   Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
            Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
            & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
            Administration                                         Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
            & Objections                                           6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022   Claims                    06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
            Administration                                         Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
            & Objections                                           6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)

June 2022   Claims                    06/28/22 AW              140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                 1.2 0.0428571         $6.00
            Administration                                         7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
            & Objections                                           7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                                   7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                                   Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022   Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
            Administration                                         related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                    06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
            Administration
            & Objections




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11117-11119 S Longwood Drive                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022   Claims                    06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296          $1.20
            Administration                                     (.5)
            & Objections

June 2022   Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
            Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
            & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                            6949-59 S Merrill Avenue
General Allocation % (Pre 01/29/21):                                                 1.9051045%
General Allocation % (01/29/21 Onward, Claims Only):                            2.0467671481%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    101       6949-59 S Merrill Avenue                                                       1.79     $                 437.15                            1.80     $             339.46              3.59    $                  776.61
                 Asset Disposition [4]                                                        0.01    $                     0.80                               -   $                -                 0.01   $                    0.80
                 Business Operations [5]                                                      1.06    $                  276.32                           0.59     $              82.86               1.65   $                  359.17
                 Claims Administration & Objections [6]                                       0.72    $                  160.04                           1.21     $             256.61               1.93   $                  416.64




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6949-59 S Merrill Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.80
Specific Allocation Fees:         $         339.46



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/06/22 KBD             390 Exchange correspondence with J. Wine and J. Rak regarding claims analysis (1700 Juneway,                 0.3         0.06      $23.40
               Administration                                          5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.3)
               & Objections

April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 AW              140 Upload claims files for J. Rak review (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK,                 0.3         0.06       $8.40
               Administration                                          6949 Merrill).
               & Objections

April 2022     Claims                     04/06/22 JR              140 Conference with J. Wine and K. Duff related to claimant document review and next steps                   0.8         0.16      $22.40
               Administration                                          pertaining to same (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill).
               & Objections

April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).




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6949-59 S Merrill Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                   Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                              Keeper                                                                                                                    Hours         Fees
April 2022   Claims                    04/07/22 JR              140 update excel spreadsheets related to claimant supporting document review for properties            0.5          0.1      $14.00
             Administration                                         (1700 Juneway, 5450 Indiana, 7749 Yates, 6160 MLK, 6949 Merrill) (.5)
             & Objections

April 2022   Claims                    04/15/22 AW              140 communicate with J. Wine regarding claims process (1700 Juneway, 5450 Indiana, 7749                0.1         0.02       $2.80
             Administration                                         Yates, 6160 MLK, 6949 Merrill) (.1).
             & Objections

April 2022   Claims                    04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and               0.2 0.0018519          $0.48
             Administration                                         revision of notice email to claimants (all108) (.2)
             & Objections

April 2022   Claims                    04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                   0.2 0.0018519          $0.26
             Administration
             & Objections

April 2022   Claims                    04/18/22 JRW             260 review and analyze documents produced pursuant to subpoena (5450 Indiana, 6217                     0.8 0.1333333         $34.67
             Administration                                         Dorchester, 6356 California, 6949 Merrill, 701 S 5th, 7600 Kingston) (.8).
             & Objections

April 2022   Claims                    04/19/22 AW              140 communicate with counsel regarding claimants' requests for dial info for next hearing              0.1 0.0009259          $0.13
             Administration                                         (all108) (.1).
             & Objections

April 2022   Claims                    04/19/22 JRW             260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled           0.1 0.0009259          $0.24
             Administration                                         hearing (all108) (.1)
             & Objections

April 2022   Claims                    04/19/22 JRW             260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)          0.1 0.0009259          $0.24
             Administration                                         (.1)
             & Objections

April 2022   Claims                    04/20/22 AW              140 confirm hearing details with claimants (all108) (.1).                                              0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                    04/20/22 AW              140 Attention to entered order providing dial-in info for upcoming hearing and related email           0.2 0.0018519          $0.26
             Administration                                         exchanges with counsel (all108) (.2)
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1943 of 2195 PageID #:72859
6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022   Claims                    04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about              0.3 0.0027778         $0.39
             Administration                                     change of date (all108) (.3)
             & Objections

April 2022   Claims                    04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                           0.2 0.0018519         $0.48
             Administration                                     communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                  0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)           0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                    04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                     (all108) (.1)
             & Objections

April 2022   Claims                    04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                     claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                    04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections




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6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                    Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                          Keeper                                                                                                                     Hours        Fees
April 2022   Claims                    04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                    0.2 0.0018519         $0.48
             Administration                                     regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                    04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                    0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.              0.3 0.0027778         $0.39
             Administration                                     Duff (all108).
             & Objections

April 2022   Claims                    04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                 0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                    04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                      0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                 0.3 0.0027778         $1.08
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and              0.3 0.0027778         $1.08
             Administration                                     exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                           0.7 0.0064815         $2.53
             Administration                                     communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                       (all108) (.7)

May 2022     Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                  0.4 0.0037037         $1.44
             Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                       A. Watychowicz and J. Wine (all108) (.4)




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6949-59 S Merrill Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022     Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                     process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022     Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
May 2022     Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022     Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022     Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                     hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022     Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                     of claims (all108) (.5).
             & Objections

May 2022     Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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6949-59 S Merrill Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022     Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                         respond accordingly (all) (.2).
             & Objections




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6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022     Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
May 2022     Claims                    05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                     conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/18/22 AW          140 Communicate with J. Wine regarding counsel for institutional lender (1700 Juneway, 6949                0.1         0.05       $7.00
             Administration                                     Merrill) (.1)
             & Objections

May 2022     Claims                    05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                    05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259          $0.24
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
             Administration
             & Objections




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6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                     (all108) (.2)
             & Objections

June 2022    Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                     regarding claims process issues (all108).
             & Objections

June 2022    Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                     issues (all108) (.2)
             & Objections




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6949-59 S Merrill Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022    Claims                    06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                         investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                           1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                  06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765        $47.76
             Operations                                             insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                    W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                    Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                    7109 Calumet) (5.8)
June 2022    Business                  06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                0.2 0.0117647         $1.65
             Operations                                             (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                    5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                    Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).




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6949-59 S Merrill Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Business                  06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
             Operations                                             update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                    Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                    7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                    Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022    Claims                    06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                         Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                    7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.3)




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6949-59 S Merrill Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022    Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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6949-59 S Merrill Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022    Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6949-59 S Merrill Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022    Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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6949-59 S Merrill Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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6949-59 S Merrill Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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6949-59 S Merrill Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022    Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                         related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                    06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                    06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                         (.5)
             & Objections




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  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022    Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                7927-49 S Essex Avenue
General Allocation % (Pre 01/29/21):                                                 1.0966884%
General Allocation % (01/29/21 Onward, Claims Only):                            1.1782376675%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
 102-106 7927-49 S Essex Avenue                                                              1.03     $                 251.65                            3.73     $             781.84              4.76    $              1,033.49
                 Asset Disposition [4]                                                        0.00    $                     0.46                               -   $                -                 0.00   $                    0.46
                 Business Operations [5]                                                      0.61    $                  159.06                                -   $                -                 0.61   $                  159.06
                 Claims Administration & Objections [6]                                       0.42    $                    92.13                          3.73     $             781.84               4.14   $                  873.96




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7927-49 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    3.73
Specific Allocation Fees:         $         781.84



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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7927-49 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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7927-49 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections




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7927-49 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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7927-49 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7927-49 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7927-49 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections




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  Invoice                                        Time                                                                                                                         Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours         Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032        $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 JRW         260 review and analyze claims (7927 Essex) (1.7).                                                            1.7          1.7     $442.00
             Administration
             & Objections

May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259          $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012        $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
             Administration                                        claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
             & Objections                                          Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022     Claims                   05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
             Administration                                        claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
             & Objections                                          Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections




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  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related           0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections

June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                   7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.3)


June 2022    Claims                   06/07/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   5.8 0.2636364        $36.91
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (5.8)




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7927-49 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                   8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                   Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                   4.8 0.2181818        $30.55
             Administration                                        claimant's information for properties (5450 Indiana, 7546 Saginaw, 1700 Juneway, 6250
             & Objections                                          Mozart, 4533 Calumet, 8201 Kingston, 4611 Drexel, 7760 Coles, 7500 Eggleston, 3030 E. 79th,
                                                                   7301 Stewart, 8100 Essex, 7748 Essex, 7927 Essex, 6001 Sacramento, 701 S 5th, 7600
                                                                   Kingston, 6160 MLK, 2909 E 78th, 7549 Essex, 8047 Manistee, 7420 Colfax) (4.8)

June 2022    Claims                   06/08/22 JRW             260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                        11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                          2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7927-49 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7927-49 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)


June 2022    Claims                   06/10/22 AW              140 Work on review of claims (8100 Essex, 7026 Cornell, 701 S 5th, 7442 Calumet, 7508 Essex,                 4.1 0.1366667        $19.13
             Administration                                        1700 Juneway, 5001 Drexel, 6437 Kenwood, 6001 Sacramento, 7834 Ellis, 4520 Drexel, 6250
             & Objections                                          Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7546 Saginaw, 7600
                                                                   Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500
                                                                   Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates)
                                                                   (4.1)




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7927-49 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7927-49 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 AW              140 Work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     3.4 0.1214286        $17.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (3.4)

June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/14/22 AW              140 work on review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                     1.2 0.0428571         $6.00
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2).




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7927-49 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7927-49 S Essex Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/22/22 AW              140 Continued work on review of claims and related email to J. Wine (1700 Juneway, 5001                  1.7 0.0607143         $8.50
             Administration                                        Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel,
             & Objections                                          6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK, 7201 Dorchester, 7508 Essex, 7546
                                                                   Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood, 7616 Phillips, 6801 East End, 7301
                                                                   Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549 Essex, 2909 E 78th, 8047 Manistee,
                                                                   7749 Yates).
June 2022    Claims                   06/27/22 AW              140 Continue review of claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001                 2.1       0.075      $10.50
             Administration                                        Sacramento, 7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End,
             & Objections                                          6160 MLK, 7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117
                                                                   Longwood, 7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927
                                                                   Essex, 7549 Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (2.1)




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7927-49 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/28/22 AW          140 Review claims (1700 Juneway, 5001 Drexel, 6437 Kenwood, 8100 Essex, 6001 Sacramento,                   1.2 0.0428571         $6.00
             Administration                                    7026 Cornell, 7834 Ellis, 4520 Drexel, 6250 Mozart, 7255 Euclid, 7625 East End, 6160 MLK,
             & Objections                                      7201 Dorchester, 7508 Essex, 7546 Saginaw, 7600 Kingston, 7748 Essex, 11117 Longwood,
                                                               7616 Phillips, 6801 East End, 7301 Stewart, 7500 Eggleston, 3030 E 79th, 7927 Essex, 7549
                                                               Essex, 2909 E 78th, 8047 Manistee, 7749 Yates) (1.2)

June 2022    Claims                   06/29/22 JRW         260 follow up call with T. Gale regarding document database and data (all108) (.1).                        0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW         260 Telephone conference with claimants' counsel regarding EB document database export and                 0.3 0.0027778         $0.72
             Administration                                    related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW         260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)            0.5 0.0046296         $1.20
             Administration                                    (.5)
             & Objections

June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).




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7927-49 S Essex Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims           1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1988 of 2195 PageID #:72904
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                             1422-24 East 68th Street
General Allocation % (Pre 01/29/21):                                                 0.5013433%
General Allocation % (01/29/21 Onward, Claims Only):                            0.5386229337%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    107       1422-24 East 68th Street                                                       0.47     $                 115.04                            1.38     $             266.99              1.85    $                  382.04
                 Asset Disposition [4]                                                        0.00    $                     0.21                               -   $                -                 0.00   $                    0.21
                 Business Operations [5]                                                      0.28    $                    72.71                          0.75     $             123.06               1.03   $                  195.77
                 Claims Administration & Objections [6]                                       0.19    $                    42.11                          0.63     $             143.94               0.82   $                  186.05




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1422-24 East 68th Street                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.38
Specific Allocation Fees:         $         266.99



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1990 of 2195 PageID #:72906
1422-24 East 68th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022    Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
              Administration                                    (.1)
              & Objections

April 2022    Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
              Administration                                    hearing (all108) (.1)
              & Objections

April 2022    Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
              Administration                                    change of date (all108) (.3)
              & Objections

April 2022    Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
              Administration                                    exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
              Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1991 of 2195 PageID #:72907
1422-24 East 68th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022    Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                    (all108) (.1)
              & Objections

April 2022    Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                    Duff (all108).
              & Objections

April 2022    Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
              Administration                                    exchange additional related correspondence (all108) (.3)
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1992 of 2195 PageID #:72908
1422-24 East 68th Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                    communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                      (all108) (.7)

May 2022      Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022      Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                    process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections




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1422-24 East 68th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022      Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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1422-24 East 68th Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours         Fees
May 2022      Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
              Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                    2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                    4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                    5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                    6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
              Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                    (.2)

May 2022      Business                 05/03/22 ED              390 email correspondence with insurance agent following up on requested information                      0.2         0.04      $15.60
              Operations                                            regarding refunds for prepaid premium on cancelled policies (1422 E 68th, 2800 E 81st, 6217
                                                                    Dorchester, 638 Avers, 7237 Bennett) (.2).
May 2022      Business                 05/03/22 JR              140 further communication with E. Duff regarding insurance reconciliation of refund of property          0.2         0.04       $5.60
              Operations                                            insurance premiums (1422 E 68th, 2800 E 81st, 6217 Dorchester, 638 Avers, 7237 Bennett)
                                                                    (.2)
May 2022      Business                 05/03/22 KMP             140 Attention to communications with insurance broker regarding issues relating to refunds for           0.2 0.0285714          $4.00
              Operations                                            property and GL insurance on final properties sold and missing endorsements (1102
                                                                    Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                                    Euclid).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 1995 of 2195 PageID #:72911
1422-24 East 68th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Business                 05/04/22 KMP         140 Attention to further communications with insurance broker regarding issues relating to                 0.1 0.0142857         $2.00
              Operations                                        refunds for property and GL insurance on final properties sold and missing endorsements
                                                                (1102 Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                                Euclid).
May 2022      Business                 05/12/22 ED          390 Email insurance agent requesting clarification of information provided relating to premium             0.1 0.0333333        $13.00
              Operations                                        refunds (7255 Euclid, 1422 E 68th, 4611 Drexel) (.1)
May 2022      Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).




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1422-24 East 68th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
              Administration                                    hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections




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1422-24 East 68th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/06/22 JRW             260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                0.3 0.0027778         $0.72
              Administration                                        (all108) (.3)
              & Objections

May 2022      Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296         $1.20
              Administration                                        of claims (all108) (.5).
              & Objections

May 2022      Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022      Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections




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1422-24 East 68th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
May 2022      Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and              0.2 0.0026667         $0.37
              Administration                                        respond accordingly (all) (.2).
              & Objections

May 2022      Claims                   05/10/22 JRW             260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                        correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                          development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                    1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                   05/10/22 MR              390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/11/22 AW              140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.9)




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1422-24 East 68th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections




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1422-24 East 68th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                    (all108) (.2)
              & Objections

June 2022     Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                    regarding claims process issues (all108).
              & Objections

June 2022     Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                    issues (all108) (.2)
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2001 of 2195 PageID #:72917
1422-24 East 68th Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Business                 06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765        $47.76
              Operations                                            insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                    W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                    Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                    7109 Calumet) (5.8)
June 2022     Business                 06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                0.2 0.0117647         $1.65
              Operations                                            (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                    5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                    Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).




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1422-24 East 68th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
              Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                    Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                    7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                    Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022     Claims                   06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
              Administration                                        Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                    310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                    Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                    Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                    8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                    7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.3)




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1422-24 East 68th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022     Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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1422-24 East 68th Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
              Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1422-24 East 68th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022     Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
              Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2006 of 2195 PageID #:72922
1422-24 East 68th Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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1422-24 East 68th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1422-24 East 68th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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1422-24 East 68th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
              Administration                                        related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
              Administration                                        (.5)
              & Objections




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1422-24 East 68th Street                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022     Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
              Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2011 of 2195 PageID #:72927
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  2800-06 E 81st Street
General Allocation % (Pre 01/29/21):                                                 0.5389440%
General Allocation % (01/29/21 Onward, Claims Only):                            0.5790196537%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    108       2800-06 E 81st Street                                                          0.51     $                 123.67                            0.96     $             199.72              1.46    $                  323.39
                 Asset Disposition [4]                                                        0.00    $                     0.23                               -   $                -                 0.00   $                    0.23
                 Business Operations [5]                                                      0.30    $                    78.17                          0.33     $              55.78               0.63   $                  133.95
                 Claims Administration & Objections [6]                                       0.20    $                    45.27                          0.63     $             143.94               0.83   $                  189.21




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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2800-06 E 81st Street                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    0.96
Specific Allocation Fees:         $         199.72



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022    Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
              Administration                                    (.1)
              & Objections

April 2022    Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
              Administration                                    hearing (all108) (.1)
              & Objections

April 2022    Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
              Administration                                    exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
              Administration                                    change of date (all108) (.3)
              & Objections

April 2022    Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
              Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
              Administration
              & Objections




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022    Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                    (all108) (.1)
              & Objections

April 2022    Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                    Duff (all108).
              & Objections

April 2022    Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
              Administration                                    exchange additional related correspondence (all108) (.3)
              & Objections




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2800-06 E 81st Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                    communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                      (all108) (.7)

May 2022      Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022      Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                    process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022      Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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2800-06 E 81st Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
May 2022      Claims                   05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
              Administration                                        claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                          79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                    2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                    4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                    5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                    6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
              Administration                                        statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                    (.2)

May 2022      Business                 05/02/22 JR              140 Follow up communication with the insurance firm requesting property refund information               0.2 0.0054054         $0.76
              Operations                                            and confirmation of property insurance refunds (10012 LaSalle, 1017 E 102nd, 11318 Church,
                                                                    1401 W 109th, 1516 E 85th, 2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213
                                                                    Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554
                                                                    Rhodes, 6759 Indiana, 6807 Indiana, 6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella,
                                                                    7925 Kingston, 7933 Kingston, 7953 Woodlawn, 8030 Marquette, 8104 Kingston, 8107
                                                                    Kingston, 8346 Constance, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800
                                                                    Ada, 9212 Parnell, 9610 Woodlawn) (.2)




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2800-06 E 81st Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated    Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                       Hours         Fees
May 2022      Business                 05/02/22 JR              140 exchange communication with E. Duff regarding status of refunds and set up conference call            0.1 0.0027027          $0.38
              Operations                                            regarding same (10012 LaSalle, 1017 E 102nd, 11318 Church, 1401 W 109th, 1516 E 85th,
                                                                    2129 W 71st, 2136 W 83rd, 2800 E 81st, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                    417 Oglesby, 4611 Drexel, 5437 Laflin, 61 E 92nd, 6554 Rhodes, 6759 Indiana, 6807 Indiana,
                                                                    6825 Indiana, 7210 Vernon, 7712 Euclid, 7922 Luella, 7925 Kingston, 7933 Kingston, 7953
                                                                    Woodlawn, 8030 Marquette, 8104 Kingston, 8107 Kingston, 8346 Constance, 8405
                                                                    Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                    Woodlawn) (.1).
May 2022      Business                 05/03/22 ED              390 email correspondence with insurance agent following up on requested information                       0.2         0.04      $15.60
              Operations                                            regarding refunds for prepaid premium on cancelled policies (1422 E 68th, 2800 E 81st, 6217
                                                                    Dorchester, 638 Avers, 7237 Bennett) (.2).
May 2022      Business                 05/03/22 JR              140 further communication with E. Duff regarding insurance reconciliation of refund of property           0.2         0.04       $5.60
              Operations                                            insurance premiums (1422 E 68th, 2800 E 81st, 6217 Dorchester, 638 Avers, 7237 Bennett)
                                                                    (.2)
May 2022      Claims                   05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519          $0.72
              Administration
              & Objections

May 2022      Claims                   05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519          $0.72
              Administration
              & Objections

May 2022      Claims                   05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259          $0.13
              Administration
              & Objections

May 2022      Claims                   05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                             0.3 0.0027778          $0.39
              Administration
              & Objections




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022      Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                    hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections

May 2022      Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                            0.7 0.0064815         $1.69
              Administration
              & Objections




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022      Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                    (all108) (.3)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                    of claims (all108) (.5).
              & Objections

May 2022      Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/09/22 AW          140 Call with J. Wine regarding review of claims (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections




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2800-06 E 81st Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022      Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections

May 2022      Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                        respond accordingly (all) (.2).
              & Objections




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022      Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022      Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                    (all108) (.2)
              & Objections

June 2022     Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                    regarding claims process issues (all108).
              & Objections

June 2022     Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                    issues (all108) (.2)
              & Objections




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2800-06 E 81st Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
              Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
              Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                    Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                    7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                    Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
              Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.3)




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2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
              Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022     Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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2800-06 E 81st Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022     Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
              Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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2800-06 E 81st Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022     Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
              Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2030 of 2195 PageID #:72946
2800-06 E 81st Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022     Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
              Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2031 of 2195 PageID #:72947
2800-06 E 81st Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2032 of 2195 PageID #:72948
2800-06 E 81st Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022     Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2033 of 2195 PageID #:72949
2800-06 E 81st Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022     Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
              Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
              Administration                                        related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
              Administration                                        (.5)
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2034 of 2195 PageID #:72950
2800-06 E 81st Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022     Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
              Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
              Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2035 of 2195 PageID #:72951
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                           4750-52 S Indiana Avenue
General Allocation % (Pre 01/29/21):                                                 0.8735907%
General Allocation % (01/29/21 Onward, Claims Only):                            0.9385504620%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    109       4750-52 S Indiana Avenue                                                       0.82     $                 200.46                            0.87     $             177.38              1.69    $                  377.84
                 Asset Disposition [4]                                                        0.00    $                     0.37                               -   $                -                 0.00   $                    0.37
                 Business Operations [5]                                                      0.48    $                  126.71                           0.24     $              33.44               0.72   $                  160.15
                 Claims Administration & Objections [6]                                       0.33    $                    73.39                          0.63     $             143.94               0.96   $                  217.32




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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4750-52 S Indiana Avenue                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    0.87
Specific Allocation Fees:         $         177.38



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2037 of 2195 PageID #:72953
4750-52 S Indiana Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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4750-52 S Indiana Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2039 of 2195 PageID #:72955
4750-52 S Indiana Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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4750-52 S Indiana Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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4750-52 S Indiana Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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4750-52 S Indiana Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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4750-52 S Indiana Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections




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  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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4750-52 S Indiana Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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4750-52 S Indiana Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
             Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                   Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                   7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                   Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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4750-52 S Indiana Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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4750-52 S Indiana Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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4750-52 S Indiana Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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4750-52 S Indiana Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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4750-52 S Indiana Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2058 of 2195 PageID #:72974
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                5618-20 S Martin Luther King Drive
General Allocation % (Pre 01/29/21):                                                 0.8096694%
General Allocation % (01/29/21 Onward, Claims Only):                            0.8698760380%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    110       5618-20 S Martin Luther King Drive                                             0.76     $                 185.79                            1.52     $             268.79              2.28    $                  454.58
                 Asset Disposition [4]                                                        0.00    $                     0.34                               -   $                -                 0.00   $                    0.34
                 Business Operations [5]                                                      0.45    $                  117.43                           0.89     $             124.86               1.34   $                  242.29
                 Claims Administration & Objections [6]                                       0.31    $                    68.02                          0.63     $             143.94               0.94   $                  211.95




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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5618-20 S Martin Luther King Drive                                          EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.52
Specific Allocation Fees:         $         268.79



   Invoice                                               Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 follow up correspondence with insurance firm requesting confirmation of property refunds                 0.3       0.075       $10.50
               Operations                                              (7201 Constance, 7110 Cornell, 5618 MLK, 6356 California, 7201 Constance) (.3).

April 2022     Business                   04/29/22 JR              140 Continued follow up correspondence with insurance firm requesting confirmation of                        0.2         0.05       $7.00
               Operations                                              property refunds (7201 Constance, 7110 Cornell, 5618 MLK, 6356 California, 7201 Constance)
                                                                       (.2)
April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2060 of 2195 PageID #:72976
5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category       Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
April 2022    Claims                     04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
              Administration                                      (all108) (.1).
              & Objections

April 2022    Claims                     04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
              Administration                                      hearing (all108) (.1)
              & Objections

April 2022    Claims                     04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
              Administration                                      (.1)
              & Objections

April 2022    Claims                     04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                     04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
              Administration                                      exchanges with counsel (all108) (.2)
              & Objections

April 2022    Claims                     04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
              Administration                                      change of date (all108) (.3)
              & Objections

April 2022    Claims                     04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
              Administration                                      communications with A. Watychowicz regarding notice to claimants (all108) (.2)
              & Objections

April 2022    Claims                     04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                     04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                     04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
              Administration
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2061 of 2195 PageID #:72977
5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category       Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2022    Claims                     04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
              Administration
              & Objections

April 2022    Claims                     04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
              Administration                                      claimant inquiries regarding upcoming hearing (all108) (.6)
              & Objections

April 2022    Claims                     04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
              Administration                                      (all108) (.1)
              & Objections

April 2022    Claims                     04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                     04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
              Administration
              & Objections

April 2022    Claims                     04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
              Administration                                      regarding court hearing and notice to claimants regarding order (all108) (.2)
              & Objections

April 2022    Claims                     04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
              Administration
              & Objections

April 2022    Claims                     04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
              Administration                                      Duff (all108).
              & Objections

April 2022    Claims                     04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
              Administration
              & Objections

April 2022    Claims                     04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
              Administration
              & Objections




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5618-20 S Martin Luther King Drive                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category       Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022      Claims                     05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
              Administration                                      exchange additional related correspondence (all108) (.3)
              & Objections

May 2022      Claims                     05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
              Administration                                      (all108) (.3)
              & Objections

May 2022      Claims                     05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
              Administration                                      communications with claimants regarding claims process, timing, and custodian issues
              & Objections                                        (all108) (.7)

May 2022      Claims                     05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
              Administration                                      requesting opportunity to participate at hearing, and exchange related correspondence with
              & Objections                                        A. Watychowicz and J. Wine (all108) (.4)

May 2022      Claims                     05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
              Administration                                      102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
              & Objections                                        62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                  2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                  417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                  Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                  Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                  Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                  Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                  Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                  Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                  Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                  Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                  Woodlawn).

May 2022      Claims                     05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
              Administration                                      process and hearing (all108) (1.1)
              & Objections

May 2022      Claims                     05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
              Administration                                      regarding hearing before Judge Lee regarding claims (all108) (.3)
              & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2063 of 2195 PageID #:72979
5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category       Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022      Claims                     05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
              Administration                                      correspondence with M. Rachlis and J. Wine (all108) (.4).
              & Objections

May 2022      Claims                     05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
              Administration                                      process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
              & Objections                                        Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                  71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                  Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                  Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                  Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                  Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                  Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn) (.2).


May 2022      Claims                     05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
              Administration
              & Objections

May 2022      Claims                     05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
              Administration
              & Objections

May 2022      Claims                     05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                     05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
              Administration
              & Objections




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5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category       Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2022      Claims                     05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
              Administration                                      claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
              & Objections                                        79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                  2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                  4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                  5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                  6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                     05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
              Administration                                      statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                        109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                  3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                  (.2)

May 2022      Claims                     05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                     05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
              Administration
              & Objections

May 2022      Claims                     05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
              Administration
              & Objections




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5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category       Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022      Claims                     05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                     05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
              Administration                                      (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
              & Objections                                        1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                  W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                  W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                  4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                  Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                  Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                  Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                  Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                  Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                  Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                  9610 Woodlawn).


May 2022      Claims                     05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
              Administration                                      hearing (all108) (.8)
              & Objections

May 2022      Claims                     05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
              Administration
              & Objections

May 2022      Claims                     05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
              Administration
              & Objections

May 2022      Claims                     05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
              Administration
              & Objections




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5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category       Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
May 2022      Claims                     05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
              Administration
              & Objections

May 2022      Claims                     05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
              Administration
              & Objections

May 2022      Claims                     05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
              Administration                                      (all108) (.3)
              & Objections

May 2022      Claims                     05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
              Administration                                      regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
              & Objections

May 2022      Claims                     05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
              Administration                                      11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                        2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022      Claims                     05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
              Administration                                      of claims (all108) (.5).
              & Objections

May 2022      Claims                     05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
              Administration
              & Objections

May 2022      Claims                     05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
              Administration
              & Objections




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5618-20 S Martin Luther King Drive                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                               Time                                                                                                                       Allocated   Allocated
              Billing Category       Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                                Keeper                                                                                                                        Hours        Fees
May 2022      Claims                     05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
              Administration
              & Objections

May 2022      Claims                     05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
              Administration                                          1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                            81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                      Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                      5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                      Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                      Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                      7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                      7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                      Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                      7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                      Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                      Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                      Marquette, 8800 Ada) (.7)

May 2022      Claims                     05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                     05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
              Administration
              & Objections

May 2022      Claims                     05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
              Administration                                          respond accordingly (all) (.2).
              & Objections




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5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category       Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
May 2022      Claims                     05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
              Administration                                      correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
              & Objections                                        development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                  1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                  78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                  Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                  Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                  Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                  Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                  7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                  Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                  7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                  Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                  Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                  8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022      Claims                     05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
              Administration
              & Objections

May 2022      Claims                     05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
              Administration                                      1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                        81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                  Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                  Marquette, 8800 Ada) (.9)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2069 of 2195 PageID #:72985
5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category       Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2022      Claims                     05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
              Administration                                      conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                        E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                  310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                  Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                  6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                  Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022      Claims                     05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
              Administration
              & Objections

May 2022      Claims                     05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
              Administration
              & Objections

May 2022      Claims                     05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
              Administration
              & Objections

May 2022      Claims                     05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
              Administration
              & Objections




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5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category       Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2022     Claims                     06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
              Administration                                      Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                        Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                  8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                  Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                     06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
              Administration                                      Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
              & Objections                                        64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                  Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                  5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                  Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                  Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                  7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                  7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                  Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                  Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                     06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
              Administration                                      (all108) (.2)
              & Objections

June 2022     Claims                     06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
              Administration                                      regarding claims process issues (all108).
              & Objections

June 2022     Claims                     06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
              Administration                                      issues (all108) (.2)
              & Objections




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5618-20 S Martin Luther King Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                               Time                                                                                                                      Allocated   Allocated
              Billing Category       Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                                Keeper                                                                                                                       Hours        Fees
June 2022     Claims                     06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
              Administration                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                            1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                      68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                      5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                      92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                      6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                      Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                      Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                      Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                      Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                      8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                      Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                     06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
              Administration                                          investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
              & Objections                                            1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                      78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                      Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                      Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                      Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                      Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                      7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                      Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                      7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                      Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                      Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Business                   06/27/22 JR              140 further communication with E. Duff related to property insurance requested information                0.2 0.0117647         $1.65
              Operations                                              (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736 W 64th, 6356 California, 6355 Talman,
                                                                      5618 MLK, 7201 Constance, 7201 Dorchester, 6949 Merrill, 4533 Calumet, 1422 E 68th, 7255
                                                                      Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers, 7109 Calumet) (.2).

June 2022     Business                   06/27/22 JR              140 research emails related to various inquiries and requests pertaining to property termination          5.8 0.3411765        $47.76
              Operations                                              insurance, endorsements and refunds (7110 Cornell, 5450 Indiana, 3074 Cheltenham, 2736
                                                                      W 64th, 6356 California, 6355 Talman, 5618 MLK, 7201 Constance, 7201 Dorchester, 6949
                                                                      Merrill, 4533 Calumet, 1422 E 68th, 7255 Euclid, 7237 Bennett, 6217 Dorchester, 638 Avers,
                                                                      7109 Calumet) (5.8)
June 2022     Business                   06/29/22 JR              140 Review email correspondence from E. Duff related to property endorsement 28 and provide               0.1       0.025       $3.50
              Operations                                              requested information (7110 Cornell, 5618 MLK, 6356 California, 7201 Constance) (.1)




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5618-20 S Martin Luther King Drive                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                               Time                                                                                                                        Allocated    Allocated
              Billing Category       Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                                Keeper                                                                                                                         Hours         Fees
June 2022     Business                   06/30/22 JR              140 further communication with E. Duff related to reconciliation of refunds for various properties          0.6         0.15      $21.00
              Operations                                              (5618 MLK, 7110 Cornell, 7201 Constance, 6356 California) (.6).
June 2022     Business                   06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889         $33.44
              Operations                                              update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                      Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                      7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                      Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)

June 2022     Claims                     06/01/22 JRW             260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008        $2.08
              Administration                                          Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
              & Objections                                            E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                      310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                      Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                      6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                      California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                      7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                      7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                      7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                      7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                      Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                      Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                      8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                     06/02/22 JRW             260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004        $1.04
              Administration                                          Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                            Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                      E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                      5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                      MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                      Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                      7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                      7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                      Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                      Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                      7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                      Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                      Ellis, 8405 Marquette, 8800 Ada) (.3)




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5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category       Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022     Claims                     06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
              Administration                                      1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
              & Objections                                        81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                  Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                  5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                  Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                  Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                  7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                  7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                  Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                  7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                  8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                  Marquette, 8800 Ada) (1.1)

June 2022     Claims                     06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
              Administration                                      11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                        2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                  Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (1.7)




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5618-20 S Martin Luther King Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                               Time                                                                                                                     Allocated   Allocated
              Billing Category       Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                                Keeper                                                                                                                      Hours        Fees
June 2022     Claims                     06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
              Administration                                          upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
              & Objections                                            1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                      79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                      Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                      6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                      California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                      7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                      7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                      7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                      7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                      7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                      Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022     Claims                     06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
              Administration                                          Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
              & Objections                                            claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                      1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                      79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                      Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                      6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                      California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                      7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                      7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                      7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                      7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                      7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                      Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2075 of 2195 PageID #:72991
5618-20 S Martin Luther King Drive                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                               Time                                                                                                                         Allocated   Allocated
              Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                                Keeper                                                                                                                          Hours        Fees
June 2022     Claims                     06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
              Administration                                          Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                            W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                      3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                      Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                      Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                      Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                      Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                      7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                      Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                      7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                      Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                      Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                     06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
              Administration                                          with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
              & Objections                                            109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                      3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                      Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                      Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                      Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                      Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                      7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                      Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                      7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                      Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                      Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                      8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2076 of 2195 PageID #:72992
5618-20 S Martin Luther King Drive                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                               Time                                                                                                                       Allocated   Allocated
              Billing Category       Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                                Keeper                                                                                                                        Hours        Fees
June 2022     Claims                     06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
              Administration                                          Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
              & Objections                                            W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                      3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                      Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                      Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                      Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                      Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                      7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                      Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                      7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                      Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                      Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                     06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
              Administration                                          spreadsheet relating to pertinent information for the remainder of the proof of claims review
              & Objections                                            (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                      68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                      5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                      92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                      6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                      Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                      Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                      Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                      Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                      8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                      Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2077 of 2195 PageID #:72993
5618-20 S Martin Luther King Drive                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                               Time                                                                                                                        Allocated   Allocated
              Billing Category       Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                                Keeper                                                                                                                         Hours        Fees
June 2022     Claims                     06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
              Administration                                          correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
              & Objections                                            11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                      4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                      Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                      6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                      6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                      Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                      Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                      7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                      7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                      Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                      Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                      Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022     Claims                     06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
              Administration                                          Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                            Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                      E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                      5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                      MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                      Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                      7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                      7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                      Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                      Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                      8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                      Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2078 of 2195 PageID #:72994
5618-20 S Martin Luther King Drive                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category       Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2022     Claims                     06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
              Administration                                      11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
              & Objections                                        W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                  Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                  5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                  Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                  Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                  7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                  7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                  Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                  Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022     Claims                     06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
              Administration                                      Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
              & Objections                                        Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                  E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                  5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                  MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                  Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                  7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                  7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                  Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                  Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                  7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                  Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                  Ellis, 8405 Marquette, 8800 Ada) (1.1)




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5618-20 S Martin Luther King Drive                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                               Time                                                                                                                     Allocated   Allocated
              Billing Category       Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                                Keeper                                                                                                                      Hours        Fees
June 2022     Claims                     06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
              Administration                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
              & Objections                                            1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                      68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                      5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                      92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                      6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                      Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                      Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                      Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                      Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                      8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                      Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022     Claims                     06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
              Administration                                          process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
              & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                      W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                      5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                      92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                      6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                      Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                      Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                      Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                      Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                      8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                      Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022     Claims                     06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
              Administration
              & Objections

June 2022     Claims                     06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
              Administration                                          related correspondence to vendor (all108) (.3)
              & Objections

June 2022     Claims                     06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
              Administration                                          (.5)
              & Objections




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5618-20 S Martin Luther King Drive                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category       Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
June 2022     Claims                     06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
              Administration                                      11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
              & Objections                                        2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                  4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                  Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                  6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                  6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                  Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                  Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                  7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                  7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                  Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                  8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022     Claims                     06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
              Administration                                      review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
              & Objections                                        1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                  50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                  4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                  Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                  California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                  7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                  7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                  7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                  7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                  7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                  Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                           6554-58 S Vernon Avenue
General Allocation % (Pre 01/29/21):                                                 0.7219343%
General Allocation % (01/29/21 Onward, Claims Only):                            0.7756170246%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    111       6554-58 S Vernon Avenue                                                        0.68     $                 165.66                            1.31     $             238.69              1.98    $                  404.35
                 Asset Disposition [4]                                                        0.00    $                     0.30                               -   $                -                 0.00   $                    0.30
                 Business Operations [5]                                                      0.40    $                  104.71                           0.24     $              33.44               0.64   $                  138.15
                 Claims Administration & Objections [6]                                       0.27    $                    60.65                          1.07     $             205.25               1.34   $                  265.89




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6554-58 S Vernon Avenue                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.31
Specific Allocation Fees:         $         238.69



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections




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6554-58 S Vernon Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
            Administration                                     (all108) (.3)
            & Objections

May 2022    Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
            Administration                                     communications with claimants regarding claims process, timing, and custodian issues
            & Objections                                       (all108) (.7)

May 2022    Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
            Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
            & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022    Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
            Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
            & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022    Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
            Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
            & Objections

May 2022    Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
            Administration                                     process and hearing (all108) (1.1)
            & Objections

May 2022    Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
            Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
            & Objections




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
            Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
            & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022    Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
            Administration
            & Objections




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022    Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
            Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
            & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
            Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022    Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
            Administration
            & Objections

May 2022    Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
            Administration
            & Objections




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
            Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
            & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022    Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
            Administration                                     hearing (all108) (.8)
            & Objections

May 2022    Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
            Administration
            & Objections

May 2022    Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
            Administration
            & Objections

May 2022    Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
            Administration
            & Objections




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022    Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
            Administration
            & Objections

May 2022    Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022    Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
            Administration                                     (all108) (.3)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
            Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
            & Objections

May 2022    Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
            Administration                                     of claims (all108) (.5).
            & Objections

May 2022    Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
            Administration
            & Objections




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6554-58 S Vernon Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
            Administration
            & Objections

May 2022    Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
            Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022    Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
            Administration
            & Objections

May 2022    Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
            Administration
            & Objections

May 2022    Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
            Administration                                         respond accordingly (all) (.2).
            & Objections




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022    Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
            Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
            & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022    Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
            Administration
            & Objections

May 2022    Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
            Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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6554-58 S Vernon Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022    Claims                    05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667          $4.85
            Administration                                         conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                           E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022    Claims                    05/16/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  6.9    0.237931       $33.31
            Administration                                         claimant's information for properties (5450 Indiana, 3030 E 79th, 7301 Stewart, 7500
            & Objections                                           Eggleston, 7549 Essex, 8047 Manistee, 2909 E 78th, 7750 Muskegon, 6558 Vernon, 7300
                                                                   Lawrence, 7635 East End, 7026 Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748
                                                                   Essex, 7201 Dorchester, 7255 Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611
                                                                   Drexel, 6160 MLK, 8326 Ellis, 6217 Dorchester, 1700 Juneway, 11117 Longwood, 816
                                                                   Marquette, 7927 Essex).
May 2022    Claims                    05/17/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.8          0.2      $28.00
            Administration                                         claimant's information for properties (6558 Vernon, 7300 Lawrence, 7635 East End, 7026
            & Objections                                           Cornell, 7600 Kingston, 7546 Saginaw, 4317 Michigan, 7748 Essex, 7201 Dorchester, 7255
                                                                   Euclid, 3074 Cheltenham, 4533 Calumet, 638 Avers, 4611 Drexel, 6160 MLK, 8326 Ellis, 6217
                                                                   Dorchester, 1700 Juneway, 11117 Longwood, 816 Marquette, 7927 Essex, 5955 Sacramento,
                                                                   7442 Calumet, 8100 Essex, 4615 Drexel, 6217 Dorchester, 11117 Longwood, 7927 Essex).

May 2022    Claims                    05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259          $0.13
            Administration
            & Objections

May 2022    Claims                    05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519          $0.26
            Administration
            & Objections

May 2022    Claims                    05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259          $0.24
            Administration
            & Objections




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022    Claims                    05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
            Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
            & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
            Administration                                     (all108) (.2)
            & Objections

June 2022   Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
            Administration                                     regarding claims process issues (all108).
            & Objections




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  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/22/22 KBD             390 Telephone conference with M. Rachlis regarding settlement of third party action and related             0.2 0.0018519         $0.72
            Administration                                         issues (all108) (.2)
            & Objections

June 2022   Claims                    06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
            Administration                                         investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
            & Objections                                           1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
            Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Business                  06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
            Operations                                             update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                   Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                   7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                   Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
            Administration                                     Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
            & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                    06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)




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6554-58 S Vernon Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
            Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
            & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022   Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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6554-58 S Vernon Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022   Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
            Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
            & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022   Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
            Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
            & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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6554-58 S Vernon Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022   Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
            Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
            & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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6554-58 S Vernon Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022   Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
            Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
            & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
            Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
            & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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6554-58 S Vernon Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
            Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
            & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022   Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
            Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022   Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
            & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022   Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
            Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
            & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022   Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
            Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
            & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022   Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
            Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
            & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022   Claims                    06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
            Administration
            & Objections

June 2022   Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
            Administration                                         related correspondence to vendor (all108) (.3)
            & Objections

June 2022   Claims                    06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
            Administration                                         (.5)
            & Objections




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  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022   Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
            Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
            & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022   Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
            Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
            & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  7450 S Luella Avenue
General Allocation % (Pre 01/29/21):                                                 0.3484336%
General Allocation % (01/29/21 Onward, Claims Only):                            0.3743429389%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    112       7450 S Luella Avenue                                                           0.33     $                   79.95                           1.04   $               201.44              1.37    $                  281.39
                 Asset Disposition [4]                                                        0.00    $                     0.15                          0.04   $                 5.09               0.04   $                    5.24
                 Business Operations [5]                                                      0.19    $                    50.54                          0.37   $                52.41               0.57   $                  102.94
                 Claims Administration & Objections [6]                                       0.13    $                    29.27                          0.63   $               143.94               0.76   $                  173.21




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7450 S Luella Avenue                                                        EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    1.04
Specific Allocation Fees:         $         201.44



   Invoice                                               Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date                 Rate                                          Task Description                                          Task Hours
   Month                                                Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD             390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                          correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD             390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Business                   04/01/22 JR              140 exchange correspondence with tax consultant and request missing property reports (7450                   0.5 0.0454545         $6.36
               Operations                                              Luella, 4520 Drexel, 5450 Indiana, 6437 Kenwood, 11117 Longwood, 7110 Cornell, 7051
                                                                       Bennett, 3074 Cheltenham, 7201 Constance, 1700 Juneway, 7508 Essex) (.5)

April 2022     Claims                     04/06/22 JRW             260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                          same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                            68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                       W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                       5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                       92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                       6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                       Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                       Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                       Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                       Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                       7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                       8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                       8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW             260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                          revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP             140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections




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7450 S Luella Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022   Claims                    04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                     (all108) (.1).
             & Objections

April 2022   Claims                    04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                     (.1)
             & Objections

April 2022   Claims                    04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                     hearing (all108) (.1)
             & Objections

April 2022   Claims                    04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                     exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                     change of date (all108) (.3)
             & Objections

April 2022   Claims                    04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                     communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2107 of 2195 PageID #:73023
7450 S Luella Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022   Claims                    04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111         $1.56
             Administration
             & Objections

April 2022   Claims                    04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                     claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                    04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                     (all108) (.1)
             & Objections

April 2022   Claims                    04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                     regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                    04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                     Duff (all108).
             & Objections

April 2022   Claims                    04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                    04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections




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7450 S Luella Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                     exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                     communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                       (all108) (.7)

May 2022     Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022     Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                     process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections




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7450 S Luella Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022     Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7450 S Luella Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated    Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours         Fees
May 2022     Claims                    05/10/22 KBD             390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667          $1.04
             Administration                                         claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                           79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                    2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                    4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                    5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                    6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/24/22 KBD             390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667          $1.04
             Administration                                         statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                    (.2)

May 2022     Asset                     05/05/22 KMP             140 Review banking records to verify receipt of post-sale reconciliation funds and related               0.4 0.0363636          $5.09
             Disposition                                            communications with E. Duff and J. Rak (11117 Longwood, 1700 Juneway, 3074 Cheltenham,
                                                                    4520 Drexel, 5450 Indiana, 6437 Kenwood, 7051 Bennett, 7110 Cornell, 7021 Constance,
                                                                    7450 Luella, 7508 Essex).
May 2022     Business                  05/04/22 JR              140 review master property reporting spreadsheet for all of 2021 and further communication               0.9         0.09      $12.60
             Operations                                             with E. Duff and K. Pritchard regarding post-closing reconciliation, review bank statements
                                                                    for same and request confirmation of post-consolidation funds as they relate to property
                                                                    reporting from K. Pritchard (1700 Juneway, 3074 Cheltenham, 4520 Drexel, 5450 Indiana,
                                                                    6437 Kenwood, 7051 Bennett, 7110 Cornell, 7201 Constance, 7450 Luella, 7508 Essex) (.9).




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7450 S Luella Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022     Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                     hearing (all108) (.8)
             & Objections




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7450 S Luella Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022     Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections




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7450 S Luella Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296         $1.20
             Administration                                         of claims (all108) (.5).
             & Objections

May 2022     Claims                    05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022     Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                         respond accordingly (all) (.2).
             & Objections

May 2022     Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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7450 S Luella Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022     Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                     conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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7450 S Luella Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                     (all108) (.2)
             & Objections

June 2022    Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                     regarding claims process issues (all108).
             & Objections

June 2022    Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                     issues (all108) (.2)
             & Objections




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7450 S Luella Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                         investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                           1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                    78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Business                  06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
             Operations                                             update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                    Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                    7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                    Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)




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  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                     Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.3)




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7450 S Luella Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022    Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7450 S Luella Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022    Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7450 S Luella Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022    Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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7450 S Luella Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7450 S Luella Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7450 S Luella Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7450 S Luella Avenue                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022    Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                         related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                    06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                         (.5)
             & Objections




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7450 S Luella Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022    Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2127 of 2195 PageID #:73043
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                7840-42 S Yates Avenue
General Allocation % (Pre 01/29/21):                                                 0.4386754%
General Allocation % (01/29/21 Onward, Claims Only):                            0.4712950670%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    113       7840-42 S Yates Avenue                                                         0.41     $                 100.66                            0.87     $             177.38              1.28    $                  278.04
                 Asset Disposition [4]                                                        0.00    $                     0.18                               -   $                -                 0.00   $                    0.18
                 Business Operations [5]                                                      0.24    $                    63.63                          0.24     $              33.44               0.48   $                   97.07
                 Claims Administration & Objections [6]                                       0.17    $                    36.85                          0.63     $             143.94               0.79   $                  180.79




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7840-42 S Yates Avenue                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    0.87
Specific Allocation Fees:         $         177.38



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2130 of 2195 PageID #:73046
7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                   0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2131 of 2195 PageID #:73047
7840-42 S Yates Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).

May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2132 of 2195 PageID #:73048
7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Claims                   05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                    (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                               W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                               W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                               4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn).


May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                    of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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7840-42 S Yates Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                         Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                    correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                      development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                               1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                               Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                               Marquette, 8800 Ada) (.9)




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                    conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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7840-42 S Yates Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/27/22 KBD             390 Review correspondence from A. Watychowicz regarding communication with counsel for                      0.1 0.0013333         $0.52
             Administration                                        investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD             390 Exchange correspondence with counsel for claimants regarding status pf claims process                   0.2 0.0026667         $1.04
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Business                 06/30/22 JR              140 Review files for properties related to institutional lenders, review endorsements and refunds,          4.3 0.2388889        $33.44
             Operations                                            update spreadsheet and update files with the requested information (5450 Indiana, 6437
                                                                   Kenwood, 7749 Yates, 1700 Juneway, 6949 Merrill, 1422 E 68th, 2800 E 81st, 4750 Indiana,
                                                                   7840 Yates, 5618 MLK, 6558 Vernon, 7450 Luella, 5001 Drexel, 3074 Cheltenham, 7201
                                                                   Constance, 7625 East End, 7635 East End, 7750 Muskegon) (4.3)




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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7840-42 S Yates Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7840-42 S Yates Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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7840-42 S Yates Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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7840-42 S Yates Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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7840-42 S Yates Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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7840-42 S Yates Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2149 of 2195 PageID #:73065
7840-42 S Yates Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2150 of 2195 PageID #:73066
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                      431 E 42nd Place
General Allocation % (Pre 01/29/21):                                                 0.1034021%
General Allocation % (01/29/21 Onward, Claims Only):                            0.1110909801%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    115       431 E 42nd Place                                                               0.10     $                   23.73                           0.63     $             143.94              0.73    $                  167.67
                 Asset Disposition [4]                                                        0.00    $                     0.04                               -   $                -                 0.00   $                    0.04
                 Business Operations [5]                                                      0.06    $                    15.00                               -   $                -                 0.06   $                   15.00
                 Claims Administration & Objections [6]                                       0.04    $                     8.69                          0.63     $             143.94               0.67   $                  152.62




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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431 E 42nd Place                                                         EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    0.63
Specific Allocation Fees:         $         143.94



   Invoice                                            Time                                                                                                                         Allocated   Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours        Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259         $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259         $0.36
               Administration
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016       $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519         $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519         $0.26
               Administration
               & Objections

April 2022     Claims                     04/19/22 AW           140 communicate with counsel regarding claimants' requests for dial info for next hearing                    0.1 0.0009259         $0.13
               Administration                                       (all108) (.1).
               & Objections




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431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
April 2022   Claims                    04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                     hearing (all108) (.1)
             & Objections

April 2022   Claims                    04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                     (.1)
             & Objections

April 2022   Claims                    04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                     exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                     change of date (all108) (.3)
             & Objections

April 2022   Claims                    04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                     communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                    04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                    04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).               1.2 0.0111111         $1.56
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2153 of 2195 PageID #:73069
431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
April 2022   Claims                    04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259         $0.24
             Administration                                     (all108) (.1)
             & Objections

April 2022   Claims                    04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556         $1.44
             Administration                                     claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                    04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                    04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519         $0.48
             Administration                                     regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                    04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                    04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778         $0.39
             Administration                                     Duff (all108).
             & Objections

April 2022   Claims                    04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778         $0.39
             Administration
             & Objections

April 2022   Claims                    04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                        0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                0.3 0.0027778         $1.08
             Administration                                     exchange additional related correspondence (all108) (.3)
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2154 of 2195 PageID #:73070
431 E 42nd Place                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                     communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                       (all108) (.7)

May 2022     Claims                    05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                     requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                       A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                    05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                     process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                     102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                       62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                                2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                                417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                                Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                                Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                                Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                                Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                                Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                                Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                                Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                                Woodlawn).

May 2022     Claims                    05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                     regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                    05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                     correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2155 of 2195 PageID #:73071
431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                     process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                       Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                                71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                                Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn) (.2).


May 2022     Claims                    05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2156 of 2195 PageID #:73072
431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
May 2022     Claims                    05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                  0.2 0.0026667         $1.04
             Administration                                     claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                       79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                                2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                                4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                                5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                                6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                    0.2 0.0026667         $1.04
             Administration                                     statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                       109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                                (.2)

May 2022     Claims                    05/02/22 MR          390 Attention to upcoming status conference and communication regarding same (all108).                    0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/03/22 MR          390 attention to order and upcoming hearing (all108) (.2).                                                0.2 0.0018519         $0.72
             Administration
             & Objections

May 2022     Claims                    05/04/22 AW          140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)          0.1 0.0009259         $0.13
             Administration
             & Objections




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431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/05/22 AW          140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/05/22 JRW         260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252         $1.51
             Administration                                     (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                9610 Woodlawn).


May 2022     Claims                    05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                  0.8 0.0074074         $2.89
             Administration                                     hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                   2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                         0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                    05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                               0.1 0.0009259         $0.13
             Administration
             & Objections




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431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
May 2022     Claims                    05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                    05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                     regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                    05/06/22 JRW         260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                 0.3 0.0027778         $0.72
             Administration                                     (all108) (.3)
             & Objections

May 2022     Claims                    05/06/22 JRW         260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount             0.5 0.0046296         $1.20
             Administration                                     of claims (all108) (.5).
             & Objections

May 2022     Claims                    05/06/22 MR          390 attention to various follow up matters relating to hearing (all108) (.1).                               0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/06/22 MR          390 Prepare for and participate in hearing (all108) (1.4)                                                   1.4    0.012963       $5.06
             Administration
             & Objections




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431 E 42nd Place                                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                    05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                         1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                           81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                    Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                    5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                    Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                    Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                    7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                    7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                    Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                    7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                    Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                    Marquette, 8800 Ada) (.7)

May 2022     Claims                    05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections

May 2022     Claims                    05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and            0.2 0.0026667         $0.37
             Administration                                         respond accordingly (all) (.2).
             & Objections




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431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
May 2022     Claims                    05/10/22 JRW         260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                     correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                       development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                    05/10/22 MR          390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                    05/11/22 AW          140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                Marquette, 8800 Ada) (.9)




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431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2022     Claims                    05/11/22 JRW         260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                     conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                    05/23/22 AW          140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                    05/23/22 AW          140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW         260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                    05/26/22 JRW         260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                     Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                       64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                     (all108) (.2)
             & Objections

June 2022    Claims                    06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                     regarding claims process issues (all108).
             & Objections

June 2022    Claims                    06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                     issues (all108) (.2)
             & Objections




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431 E 42nd Place                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
June 2022    Claims                    06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                     (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                       1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                     investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                       1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                     Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                       E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (.3)




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431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                     1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                       81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                                Marquette, 8800 Ada) (1.1)

June 2022    Claims                    06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.7)




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431 E 42nd Place                                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                      Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                              Keeper                                                                                                                       Hours        Fees
June 2022    Claims                    06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed             0.4 0.0053333         $0.75
             Administration                                         upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                           1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                    06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                 3.9       0.052       $7.28
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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431 E 42nd Place                                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                         Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                              Keeper                                                                                                                          Hours        Fees
June 2022    Claims                    06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                    0.8 0.0106667         $1.49
             Administration                                         Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                           claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                    1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                    79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                    Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                    6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                    California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                    7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                    7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                    7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                    7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                    7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                    Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                         with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                           109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                    Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                    Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                    8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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431 E 42nd Place                                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                       Allocated   Allocated
              Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                        Hours        Fees
June 2022    Claims                    06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                         spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                           (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                    1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                         Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                           W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                    3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                    Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                    Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                    Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                    Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                    7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                    Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                    7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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431 E 42nd Place                                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                              Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333         $2.43
             Administration                                         correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                           11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                    2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                    4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                    Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                    6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                    6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                    Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                    Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                    7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                    7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                    Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                    Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                    Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                    06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667         $3.73
             Administration                                         Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                           Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                    E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                    5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                    MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                    Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                    7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                    7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                    Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                    Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                    8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                    Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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431 E 42nd Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
              Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2022    Claims                    06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                       W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                                Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                                5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                                Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                                Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                                7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                                7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                                Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                                Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                    06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                     Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                       Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                                7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                Ellis, 8405 Marquette, 8800 Ada) (1.1)




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                                 Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2171 of 2195 PageID #:73087
431 E 42nd Place                                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                             Time                                                                                                                     Allocated   Allocated
              Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                              Keeper                                                                                                                      Hours        Fees
June 2022    Claims                    06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                         (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                           1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                    68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                    06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                         process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                           68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                    8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                    Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                    06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                         related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                    06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                    06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                         (.5)
             & Objections




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431 E 42nd Place                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
              Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2022    Claims                    06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                     11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                       2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                    06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                     review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                       1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                                50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                                4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                                Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                    Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2173 of 2195 PageID #:73089
                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                        1102 Bingham (Houston, TX)
General Allocation % (Pre 01/29/21):                                                 1.1186222%
General Allocation % (01/29/21 Onward, Claims Only):                            1.2018024209%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                       Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees            Hours                          Fees
    116       1102 Bingham (Houston, TX)                                                     1.05     $                 256.68                            2.73     $             580.82              3.78    $                  837.51
                 Asset Disposition [4]                                                        0.00    $                     0.47                               -   $                -                 0.00   $                    0.47
                 Business Operations [5]                                                      0.62    $                  162.24                           0.84     $             118.00               1.46   $                  280.24
                 Claims Administration & Objections [6]                                       0.42    $                    93.97                          1.89     $             462.82               2.32   $                  556.79




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1102 Bingham (Houston, TX)                                               EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    2.73
Specific Allocation Fees:         $         580.82



   Invoice                                            Time                                                                                                                         Allocated    Allocated
               Billing Category       Entry Date              Rate                                          Task Description                                          Task Hours
   Month                                             Keeper                                                                                                                          Hours         Fees
April 2022     Claims                     04/15/22 KBD          390 attention to order setting hearing, notice to claimants, and exchange related                            0.1 0.0009259          $0.36
               Administration                                       correspondence (all108) (.1).
               & Objections

April 2022     Claims                     04/18/22 KBD          390 review list of pending claims matters before the Court in preparation for hearing (all108) (.1)          0.1 0.0009259          $0.36
               Administration
               & Objections

April 2022     Claims                     04/21/22 KBD          390 attention to communications from claimant regarding status of claims process related to                  0.2          0.2      $78.00
               Administration                                       property (1102 Bingham) (.2)
               & Objections

April 2022     Claims                     04/06/22 JRW          260 Conference with J. Rak and K. Duff regarding claims analysis and related preparation for                 1.2       0.016        $4.16
               Administration                                       same (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
               & Objections                                         68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                    W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                    5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                    92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                    6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                    Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                    Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                    Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                    Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex,
                                                                    7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                                    8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis,
                                                                    8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


April 2022     Claims                     04/15/22 JRW          260 review court order regarding status hearing and related correspondence with team and                     0.2 0.0018519          $0.48
               Administration                                       revision of notice email to claimants (all108) (.2)
               & Objections

April 2022     Claims                     04/15/22 KMP          140 Communications with K. Duff and J. Wine regarding claims database fees (all108).                         0.2 0.0018519          $0.26
               Administration
               & Objections




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1102 Bingham (Houston, TX)                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
April 2022   Claims                   04/19/22 AW          140 communicate with counsel regarding claimants' requests for dial info for next hearing                0.1 0.0009259         $0.13
             Administration                                    (all108) (.1).
             & Objections

April 2022   Claims                   04/19/22 JRW         260 confer with A. Watychowicz regarding correspondence with claimants regarding rescheduled             0.1 0.0009259         $0.24
             Administration                                    hearing (all108) (.1)
             & Objections

April 2022   Claims                   04/19/22 JRW         260 correspondence to court clerk regarding call-in information for upcoming hearing (all108)            0.1 0.0009259         $0.24
             Administration                                    (.1)
             & Objections

April 2022   Claims                   04/20/22 AW          140 communicate with J. Wine regarding email to claimants and send out email notifying about             0.3 0.0027778         $0.39
             Administration                                    change of date (all108) (.3)
             & Objections

April 2022   Claims                   04/20/22 AW          140 confirm hearing details with claimants (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

April 2022   Claims                   04/20/22 AW          140 Attention to entered order providing dial-in info for upcoming hearing and related email             0.2 0.0018519         $0.26
             Administration                                    exchanges with counsel (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 JRW         260 Exchange correspondence with court clerk regarding hearing link and related                          0.2 0.0018519         $0.48
             Administration                                    communications with A. Watychowicz regarding notice to claimants (all108) (.2)
             & Objections

April 2022   Claims                   04/20/22 MR          390 Review order and email regarding status conference (all108) (.1)                                     0.1 0.0009259         $0.36
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 Attention to email responses related to hearing and work on responses to same (all108) (.2)          0.2 0.0018519         $0.26
             Administration
             & Objections

April 2022   Claims                   04/21/22 AW          140 confirm hearing details with claimants (all108) (.1)                                                 0.1 0.0009259         $0.13
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2176 of 2195 PageID #:73092
1102 Bingham (Houston, TX)                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated    Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                       Hours         Fees
April 2022   Claims                   04/21/22 AW          140 prepare materials for upcoming hearing and related email to M. Rachlis (all108) (1.2).                1.2 0.0111111          $1.56
             Administration
             & Objections

April 2022   Claims                   04/21/22 JRW         260 correspondence with claimants' counsel and vendor regarding EB document database export               0.1 0.0009259          $0.24
             Administration                                    (all108) (.1)
             & Objections

April 2022   Claims                   04/21/22 JRW         260 Attention to claimant inquiries and related correspondence and drafts of response to                  0.6 0.0055556          $1.44
             Administration                                    claimant inquiries regarding upcoming hearing (all108) (.6)
             & Objections

April 2022   Claims                   04/21/22 MR          390 attention to communications to investor (1102 Bingham) (.2).                                          0.2          0.2      $78.00
             Administration
             & Objections

April 2022   Claims                   04/22/22 AW          140 communicate with K. Duff regarding hearing and prepared materials (all108) (.1)                       0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 AW          140 communicate with J. Wine regarding past hearing potential update to claimants (all108) (.1).          0.1 0.0009259          $0.13
             Administration
             & Objections

April 2022   Claims                   04/25/22 JRW         260 correspond with K. Duff, M. Rachlis and telephone conference with A. Watychowicz                      0.2 0.0018519          $0.48
             Administration                                    regarding court hearing and notice to claimants regarding order (all108) (.2)
             & Objections

April 2022   Claims                   04/25/22 MR          390 attention to communications regarding next hearing (all108) (.1)                                      0.1 0.0009259          $0.36
             Administration
             & Objections

April 2022   Claims                   04/28/22 KMP         140 Review language of claims form approved by the court and related communication with K.                0.3 0.0027778          $0.39
             Administration                                    Duff (all108).
             & Objections

April 2022   Claims                   04/29/22 AW          140 Respond to claimants' emails regarding status hearing (all108) (.3)                                   0.3 0.0027778          $0.39
             Administration
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2177 of 2195 PageID #:73093
1102 Bingham (Houston, TX)                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
April 2022   Claims                   04/29/22 JRW         260 work with A. Watychowicz on notice to claimants (all108) (.1).                                         0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/02/22 KBD         390 review court order, study and revise correspondence to claimants relating to same, and                 0.3 0.0027778         $1.08
             Administration                                    exchange additional related correspondence (all108) (.3)
             & Objections

May 2022     Claims                   05/02/22 KBD         390 Exchange correspondence with claimant's counsel and exchange related correspondence                    0.3 0.0027778         $1.08
             Administration                                    (all108) (.3)
             & Objections

May 2022     Claims                   05/03/22 KBD         390 Exchange correspondence with A. Watychowicz and J. Wine regarding various                              0.7 0.0064815         $2.53
             Administration                                    communications with claimants regarding claims process, timing, and custodian issues
             & Objections                                      (all108) (.7)

May 2022     Claims                   05/04/22 KBD         390 Work on communication with claimants regarding hearing before Judge Lee, claimants                     0.4 0.0037037         $1.44
             Administration                                    requesting opportunity to participate at hearing, and exchange related correspondence with
             & Objections                                      A. Watychowicz and J. Wine (all108) (.4)

May 2022     Claims                   05/05/22 KBD         390 confer with M. Rachlis and J. Wine to prepare for hearing with Judge Lee regarding claims              1.1 0.0101852         $3.97
             Administration                                    process and hearing (all108) (1.1)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 Study correspondence from J. Wine regarding property groupings (10012 LaSalle, 1017 W                  0.1 0.0009709         $0.38
             Administration                                    102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church, 1401 W 109th, 1414 E
             & Objections                                      62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136 W 83rd, 2736 W 64th,
                                                               2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723 W 68th, 406 E 87th,
                                                               417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750
                                                               Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749 Merrill, 6759
                                                               Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237 Bennett, 7255
                                                               Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508
                                                               Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7712 Euclid,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925 Kingston, 7927
                                                               Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030 Marquette, 8047
                                                               Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403 Aberdeen, 8405
                                                               Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell, 9610
                                                               Woodlawn).




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1102 Bingham (Houston, TX)                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/05/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimants                     0.3 0.0027778         $1.08
             Administration                                    regarding hearing before Judge Lee regarding claims (all108) (.3)
             & Objections

May 2022     Claims                   05/05/22 KBD         390 prepare for hearing before Judge Lee regarding claims process and exchange related                     0.4 0.0037037         $1.44
             Administration                                    correspondence with M. Rachlis and J. Wine (all108) (.4).
             & Objections

May 2022     Claims                   05/06/22 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding claims groups and claims                 0.2 0.0019417         $0.76
             Administration                                    process (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318
             & Objections                                      Church, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W
                                                               71st, 2136 W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213
                                                               Throop, 3723 W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                               Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                               Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                               Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                               Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                               Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                               9610 Woodlawn) (.2).


May 2022     Claims                   05/06/22 KBD         390 appear before Judge Lee (all108) (.7)                                                                  0.7 0.0064815         $2.53
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 Prepare for hearing on claims status before Judge Lee (all108) (.3)                                    0.3 0.0027778         $1.08
             Administration
             & Objections

May 2022     Claims                   05/06/22 KBD         390 telephone conference with SEC and J. Wine regarding hearing before Judge Lee (all108) (.2)             0.2 0.0018519         $0.72
             Administration
             & Objections




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1102 Bingham (Houston, TX)                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                         Keeper                                                                                                                      Hours        Fees
May 2022     Claims                   05/06/22 KBD         390 study correspondence from J. Wine regarding claims amounts (all108) (.1).                            0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/10/22 KBD         390 Exchange correspondence with J. Wine and A. Watychowicz regarding communication with                 0.2 0.0026667         $1.04
             Administration                                    claimants regarding claims process and timing (1102 Bingham, 11117 Longwood, 1131 E
             & Objections                                      79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st,
                                                               2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel,
                                                               4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK,
                                                               5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart,
                                                               6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                               Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                               Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                               8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/24/22 KBD         390 Work with A. Watychowicz on communication with claimants regarding claims position                   0.2 0.0026667         $1.04
             Administration                                    statement and remaining groups (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                      109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                               3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada)
                                                               (.2)

May 2022     Business                 05/03/22 KMP         140 Attention to communications with insurance broker regarding issues relating to refunds for           0.2 0.0285714         $4.00
             Operations                                        property and GL insurance on final properties sold and missing endorsements (1102
                                                               Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                               Euclid).
May 2022     Business                 05/04/22 KMP         140 Attention to further communications with insurance broker regarding issues relating to               0.1 0.0142857         $2.00
             Operations                                        refunds for property and GL insurance on final properties sold and missing endorsements
                                                               (1102 Bingham, 1422 E 68th, 6217 Dorchester, 638 Avers, 7109 Calumet, 7237 Bennett, 7255
                                                               Euclid).


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1102 Bingham (Houston, TX)                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours         Fees
May 2022     Business                 05/13/22 JR              140 Review paper copy of a violation notice related to sold property, communicate with title               0.8          0.8     $112.00
             Operations                                            company providing notice, telephone the City of Houston requesting additional information,
                                                                   and related draft letter to the City of Houston providing notice (1102 Bingham).

May 2022     Claims                   05/02/22 MR              390 Attention to upcoming status conference and communication regarding same (all108).                     0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/03/22 MR              390 attention to order and upcoming hearing (all108) (.2).                                                 0.2 0.0018519          $0.72
             Administration
             & Objections

May 2022     Claims                   05/04/22 AW              140 correspond with J. Wine regarding entered order providing hearing dial-in info (all108) (.1)           0.1 0.0009259          $0.13
             Administration
             & Objections

May 2022     Claims                   05/05/22 AW              140 email claimants regarding access to hearing (all108) (.3)                                              0.3 0.0027778          $0.39
             Administration
             & Objections

May 2022     Claims                   05/05/22 JRW             260 Review property groupings and prepare notes regarding potential adjustments to same                    0.6 0.0058252          $1.51
             Administration                                        (10012 LaSalle, 1017 W 102nd, 1102 Bingham, 11117 Longwood, 1131 E 79th, 11318 Church,
             & Objections                                          1401 W 109th, 1414 E 62nd, 1422 E 68th, 1516 E 85th, 1700 W Juneway, 2129 W 71st, 2136
                                                                   W 83rd, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3213 Throop, 3723
                                                                   W 68th, 406 E 87th, 417 Oglesby, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet,
                                                                   4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Rhodes, 6554 Vernon, 6749
                                                                   Merrill, 6759 Indiana, 6807 Indiana, 6825 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7110 Cornell, 7201 Dorchester, 7210 Vernon, 7237
                                                                   Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7712 Euclid, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7922 Luella, 7925
                                                                   Kingston, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8030
                                                                   Marquette, 8047 Manistee, 8100 Essex, 8104 Kingston, 8107 Ellis, 8107 Kingston, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8346 Constance, 8403
                                                                   Aberdeen, 8405 Marquette, 8432 Essex, 8517 Vernon, 8529 Rhodes, 8800 Ada, 9212 Parnell,
                                                                   9610 Woodlawn).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2181 of 2195 PageID #:73097
1102 Bingham (Houston, TX)                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
May 2022     Claims                   05/05/22 MR          390 Review materials for upcoming hearing (all108) (2.4)                                                    2.4 0.0222222         $8.67
             Administration
             & Objections

May 2022     Claims                   05/05/22 MR          390 call with J. Wine and K. Duff regarding various issues on claims process and upcoming                   0.8 0.0074074         $2.89
             Administration                                    hearing (all108) (.8)
             & Objections

May 2022     Claims                   05/06/22 AW          140 Participate in hearing on claims (all108) (.7)                                                          0.7 0.0064815         $0.91
             Administration
             & Objections

May 2022     Claims                   05/06/22 AW          140 communicate with J. Wine regarding claims (all108) (.1).                                                0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 exchange correspondence with M. Rachlis regarding property groupings (1102 Bingham,                     0.2 0.0026667         $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.2)

May 2022     Claims                   05/06/22 JRW         260 telephone conference with SEC and K. Duff regarding upcoming court hearing (all108) (.2)                0.2 0.0018519         $0.48
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 appearance at status hearing before Judge Lee (all108) (.7)                                             0.7 0.0064815         $1.69
             Administration
             & Objections

May 2022     Claims                   05/06/22 JRW         260 Prepare for hearing and related correspondence with court clerk and claimants' counsel                  0.8 0.0074074         $1.93
             Administration                                    regarding claimants who provided notice of intention to address court at hearing (all108) (.8)
             & Objections




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1102 Bingham (Houston, TX)                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/06/22 JRW             260 confer with A. Watychowicz regarding court hearing and amount of total claims submitted                0.3 0.0027778         $0.72
             Administration                                        (all108) (.3)
             & Objections

May 2022     Claims                   05/06/22 JRW             260 conduct analysis of related correspondence to K. Duff and M. Rachlis regarding total amount            0.5 0.0046296         $1.20
             Administration                                        of claims (all108) (.5).
             & Objections

May 2022     Claims                   05/06/22 MR              390 Prepare for and participate in hearing (all108) (1.4)                                                  1.4    0.012963       $5.06
             Administration
             & Objections

May 2022     Claims                   05/06/22 MR              390 attention to various follow up matters relating to hearing (all108) (.1).                              0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/09/22 AW              140 Call with J. Wine regarding review of claims (all108) (.3)                                             0.3 0.0027778         $0.39
             Administration
             & Objections

May 2022     Claims                   05/10/22 AW              140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                 0.7 0.0093333         $1.31
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.7)

May 2022     Claims                   05/10/22 AW              140 access claims and share same with J. Wine (all108) (.2)                                                0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/10/22 JR              140 Conference call with J. Wine and A. Watychowicz related to review of all claims (all) (.6)             0.6       0.008       $1.12
             Administration
             & Objections




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1102 Bingham (Houston, TX)                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
May 2022     Claims                   05/10/22 JR              140 review email from J. Wine related to follow up instructions related to review of claims and              0.2 0.0026667         $0.37
             Administration                                        respond accordingly (all) (.2).
             & Objections

May 2022     Claims                   05/10/22 JRW             260 confer with J. Rak and A. Watychowicz regarding claims review process, related                           2.4       0.032       $8.32
             Administration                                        correspondence with A. Porter regarding mortgagee spreadsheets, and attention to
             & Objections                                          development of new claims review protocol (1102 Bingham, 11117 Longwood, 1131 E 79th,
                                                                   1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                                   78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (2.4)


May 2022     Claims                   05/10/22 MR              390 Follow up on May 6, 2022 hearing (all108) (.1)                                                           0.1 0.0009259         $0.36
             Administration
             & Objections

May 2022     Claims                   05/11/22 AW              140 Call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                   0.9       0.012       $1.68
             Administration                                        1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                          81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                                   Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                                   5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                                   Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                                   Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                                   7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                                   7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                                   Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                                   7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957
                                                                   Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405
                                                                   Marquette, 8800 Ada) (.9)




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1102 Bingham (Houston, TX)                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
May 2022     Claims                   05/11/22 JRW             260 Conference call with J. Rak and A. Watychowicz regarding review protocol and related                   1.4 0.0186667         $4.85
             Administration                                        conference with K. Duff (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                          E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                                   310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                                   Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                                   Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                                   8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada).


May 2022     Claims                   05/18/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  3.9       0.325      $45.50
             Administration                                        claimant's information for properties (5450 Indiana, 6355 Talman, 6160 MLK, 11117
             & Objections                                          Longwood, 7201 Dorchester, 7024 Paxton, 6437 Kenwood, 6217 Dorchester, 7750 Muskegon,
                                                                   7656 Kingston, 7749 Yates, 1102 Bingham).
May 2022     Claims                   05/20/22 JR              140 Extensive review of claims for properties, update claimant spreadsheet with pertinent                  4.9 0.1884615        $26.38
             Administration                                        claimant's information for properties (5450 Indiana, 7750 Muskegon, 7656 Kingston, 7749
             & Objections                                          Yates, 1102 Bingham, 7024 Paxton, 7201 Constance, 8100 Essex, 8326 Ellis, 6217 Dorchester,
                                                                   6001 Sacramento, 638 Avers, 8201 Kingston, 1131 E 79th, 6437 Kenwood, 7051 Bennett,
                                                                   7600 Kingston, 7749 Yates, 6250 Mozart, 4533 Calumet, 701 S 5th, 7237 Bennett, 4611
                                                                   Drexel, 7026 Cornell, 7546 Saginaw, 7600 Kingston, 7748 Essex, 6355 Talman).

May 2022     Claims                   05/23/22 AW              140 Communicate with K. Duff regarding claimants' request for transcript (all108) (.1)                     0.1 0.0009259         $0.13
             Administration
             & Objections

May 2022     Claims                   05/23/22 AW              140 communicate with K. Duff regarding database files and review files (all108) (.2)                       0.2 0.0018519         $0.26
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 exchange correspondence with claimants' counsel regarding EB documents (all108) (.1).                  0.1 0.0009259         $0.24
             Administration
             & Objections

May 2022     Claims                   05/26/22 JRW             260 Confer with vendor regarding chain of custody (all108) (.1)                                            0.1 0.0009259         $0.24
             Administration
             & Objections




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1102 Bingham (Houston, TX)                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/01/22 KBD         390 Attention to correspondence with claimant regarding supplemental documentation (1102                   0.1 0.0013333         $0.52
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                               8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                               Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/15/22 KBD         390 Telephone conference with J. Wine regarding analysis of claims (1102 Bingham, 11117                    0.1 0.0013333         $0.52
             Administration                                    Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W
             & Objections                                      64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/17/22 KBD         390 attention to multiple communications from claimant regarding claims documentation                      0.2 0.0018519         $0.72
             Administration                                    (all108) (.2)
             & Objections

June 2022    Claims                   06/21/22 KBD         390 Exchange correspondence with A. Watychowicz regarding communication with claimant                      0.2 0.0018519         $0.72
             Administration                                    regarding claims process issues (all108).
             & Objections

June 2022    Claims                   06/22/22 KBD         390 Telephone conference with M. Rachlis regarding settlement of third party action and related            0.2 0.0018519         $0.72
             Administration                                    issues (all108) (.2)
             & Objections




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2186 of 2195 PageID #:73102
1102 Bingham (Houston, TX)                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                      Allocated   Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                         Keeper                                                                                                                       Hours        Fees
June 2022    Claims                   06/27/22 KBD         390 Review correspondence from A. Watychowicz regarding communication with counsel for                    0.1 0.0013333         $0.52
             Administration                                    investor regarding status pf claims process (1102 Bingham, 11117 Longwood, 1131 E 79th,
             & Objections                                      1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E
                                                               78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                               Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                               Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                               Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                               Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                               7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                               Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                               7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/27/22 KBD         390 Exchange correspondence with counsel for claimants regarding status pf claims process                 0.2 0.0026667         $1.04
             Administration                                    (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                      1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                               68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                               5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                               92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                               6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                               Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                               Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                               Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                               Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                               8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                               Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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1102 Bingham (Houston, TX)                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/01/22 JRW         260 Prepare list of key documents for claims analysis and related correspondence with A.                    0.6       0.008       $2.08
             Administration                                    Watychowicz and J. Rak (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414
             & Objections                                      E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th,
                                                               310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                               Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                               6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937
                                                               Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/02/22 JRW         260 Confer with J. Rak and A. Watychowicz regarding claims review process and progress (1102                0.3       0.004       $1.04
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (.3)




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1102 Bingham (Houston, TX)                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/08/22 AW          140 call with J. Wine and J. Rak regarding review of claims (1102 Bingham, 11117 Longwood,                  1.1 0.0146667         $2.05
             Administration                                    1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E
             & Objections                                      81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520
                                                               Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana,
                                                               5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250
                                                               Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807
                                                               Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet,
                                                               7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet,
                                                               7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656
                                                               Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex,
                                                               7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex,
                                                               8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405
                                                               Marquette, 8800 Ada) (1.1)

June 2022    Claims                   06/08/22 JRW         260 work with A. Watychowicz and J. Rak on streamlining claims review process (1102 Bingham,                1.7 0.0226667         $5.89
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                               Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.7)




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1102 Bingham (Houston, TX)                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/09/22 AW              140 email exchanges with J. Wine and J. Rak regarding consistency of claims review and agreed            0.4 0.0053333         $0.75
             Administration                                        upon format of spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
             & Objections                                          1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.4).


June 2022    Claims                   06/09/22 JR              140 Exchange communication with A. Watychowicz and J. Wine regarding restructuring of EBF                0.8 0.0106667         $1.49
             Administration                                        Mortgagee spreadsheet relating to pertinent information for the remainder of the proof of
             & Objections                                          claims review for properties (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th,
                                                                   1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E
                                                                   79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611
                                                                   Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento,
                                                                   6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                                   California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                                   7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                                   7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                                   7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                                   7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                                   7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                                   Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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                                Case: 1:18-cv-05587 Document #: 1293 Filed: 08/15/22 Page 2190 of 2195 PageID #:73106
1102 Bingham (Houston, TX)                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                         Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                             Keeper                                                                                                                          Hours        Fees
June 2022    Claims                   06/09/22 JR              140 Continue working on claims review project and the modification and standardization of                    3.9       0.052       $7.28
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/09/22 JRW             260 Attention to claims review procedures and related telephone and email communications                     1.4 0.0186667         $4.85
             Administration                                        with J. Rak and A. Watychowicz (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W
             & Objections                                          109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933
                                                                   Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953 Woodlawn, 7957 Marquette, 8000
                                                                   Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis,
                                                                   8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352 Ellis, 8405 Marquette, 8800 Ada) (1.4)




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1102 Bingham (Houston, TX)                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                       Allocated   Allocated
             Billing Category     Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                        Hours        Fees
June 2022    Claims                   06/10/22 JR              140 Continue working on claims review project and the modification and standardization of                  5.5 0.0733333        $10.27
             Administration                                        Receiver's claims review spreadsheets (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401
             & Objections                                          W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th,
                                                                   3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533
                                                                   Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955
                                                                   Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355
                                                                   Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949
                                                                   Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester,
                                                                   7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500
                                                                   Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex,
                                                                   7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/10/22 JR              140 Exchange communication with J. Wine regarding restructuring of EBF Mortgagee                           0.7 0.0093333         $1.31
             Administration                                        spreadsheet relating to pertinent information for the remainder of the proof of claims review
             & Objections                                          (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
                                                                   1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.7)




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1102 Bingham (Houston, TX)                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                        Allocated    Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                             Keeper                                                                                                                         Hours         Fees
June 2022    Claims                   06/10/22 JRW             260 Telephone conference with J. Rak regarding claims review procedures and related                         0.7 0.0093333          $2.43
             Administration                                        correspondence regarding standardized format of analysis spreadsheets (1102 Bingham,
             & Objections                                          11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
                                                                   2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                                   4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                                   Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                                   6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                                   6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                                   Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                                   Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                                   7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                                   7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex, 7953
                                                                   Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                                   Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                                   Ellis, 8405 Marquette, 8800 Ada) (.7)


June 2022    Claims                   06/13/22 JR              140 Update claim information for all claims related to EBF Mortgagee spreadsheet (1102                      2.0 0.0266667          $3.73
             Administration                                        Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                          Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                                   E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                                   5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                                   MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                                   Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                                   7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                                   7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                                   Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                                   Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine,
                                                                   8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214
                                                                   Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/13/22 JRW             260 analyze claim against properties (1102 Bingham, 2736 W 64th) (.7).                                      0.7         0.35      $91.00
             Administration
             & Objections




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1102 Bingham (Houston, TX)                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                        Allocated   Allocated
             Billing Category     Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                         Hours        Fees
June 2022    Claims                   06/15/22 AW          140 Communicate with J. Wine and J. Rak regarding progress in review of claims (1102 Bingham,               0.3       0.004       $0.56
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 Juneway, 2736
             & Objections                                      W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd, 4315
                                                               Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437 Laflin,
                                                               5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK, 6217
                                                               Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood, 6554
                                                               Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051 Bennett,
                                                               7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301 Stewart,
                                                               7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex, 7600
                                                               Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis, 7840
                                                               Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada) (.3)

June 2022    Claims                   06/15/22 JRW         260 study notes regarding Midland claims and claims against properties securing notes (1102                 1.1 0.0146667         $3.81
             Administration                                    Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W
             & Objections                                      Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431
                                                               E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel,
                                                               5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160
                                                               MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437
                                                               Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell,
                                                               7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence,
                                                               7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549
                                                               Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834
                                                               Ellis, 7840 Yates, 7927 Essex, 7933 Essex, 7933 Kingston, 7937 Essex, 7943 Essex, 7947 Essex,
                                                               7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E
                                                               Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8334 Ellis, 8342 Ellis, 8352
                                                               Ellis, 8405 Marquette, 8800 Ada) (1.1)




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1102 Bingham (Houston, TX)                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                            Time                                                                                                                     Allocated   Allocated
             Billing Category     Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                             Keeper                                                                                                                      Hours        Fees
June 2022    Claims                   06/16/22 AW              140 Communicate with J. Wine regarding claims review and attention to claims spreadsheet                 0.6       0.008       $1.12
             Administration                                        (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th,
             & Objections                                          1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W
                                                                   68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada) (.6)


June 2022    Claims                   06/16/22 JR              140 Review email correspondence from J. Wine and respond accordingly regarding claims                    0.3       0.004       $0.56
             Administration                                        process (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E
             & Objections                                          68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723
                                                                   W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana,
                                                                   5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E
                                                                   92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers,
                                                                   6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026
                                                                   Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St
                                                                   Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546
                                                                   Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760
                                                                   Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette,
                                                                   8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209
                                                                   Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).


June 2022    Claims                   06/29/22 JRW             260 follow up call with T. Gale regarding document database and data (all108) (.1).                      0.1 0.0009259         $0.24
             Administration
             & Objections

June 2022    Claims                   06/29/22 JRW             260 Telephone conference with claimants' counsel regarding EB document database export and               0.3 0.0027778         $0.72
             Administration                                        related correspondence to vendor (all108) (.3)
             & Objections

June 2022    Claims                   06/29/22 JRW             260 conference call with claimants' counsel and vendors regarding reprocessing of data (all108)          0.5 0.0046296         $1.20
             Administration                                        (.5)
             & Objections




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1102 Bingham (Houston, TX)                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                        Time                                                                                                                       Allocated    Allocated
             Billing Category     Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                         Keeper                                                                                                                        Hours         Fees
June 2022    Claims                   06/30/22 JRW         260 Telephone conference with A. Watychowicz regarding claims review issues (1102 Bingham,                 0.2 0.0026667          $0.69
             Administration                                    11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd, 1422 E 68th, 1700 W Juneway,
             & Objections                                      2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E 50th, 3723 W 68th, 431 E 42nd,
                                                               4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel, 4750 Indiana, 5001 Drexel, 5437
                                                               Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001 Sacramento, 61 E 92nd, 6160 MLK,
                                                               6217 Dorchester, 6250 Mozart, 6355 Talman, 6356 California, 638 N Avers, 6437 Kenwood,
                                                               6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th, 7024 Paxton, 7026 Cornell, 7051
                                                               Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett, 7255 Euclid, 7300 St Lawrence, 7301
                                                               Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston, 7508 Essex, 7546 Saginaw, 7549 Essex,
                                                               7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex, 7749 Yates, 7760 Coles, 7834 Ellis,
                                                               7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn, 7957 Marquette, 8000 Justine, 8047
                                                               Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201 Kingston, 8209 Ellis, 8214 Ingleside,
                                                               8326 Ellis, 8405 Marquette, 8800 Ada).

June 2022    Claims                   06/30/22 JRW         260 Research in document database regarding rollovers and return of principal and other claims             1.5         0.02       $5.20
             Administration                                    review issues (1102 Bingham, 11117 Longwood, 1131 E 79th, 1401 W 109th, 1414 E 62nd,
             & Objections                                      1422 E 68th, 1700 W Juneway, 2736 W 64th, 2800 E 81st, 2909 E 78th, 3030 E 79th, 310 E
                                                               50th, 3723 W 68th, 431 E 42nd, 4315 Michigan, 4520 Drexel, 4533 Calumet, 4611 Drexel,
                                                               4750 Indiana, 5001 Drexel, 5437 Laflin, 5450 Indiana, 5618 MLK, 5955 Sacramento, 6001
                                                               Sacramento, 61 E 92nd, 6160 MLK, 6217 Dorchester, 6250 Mozart, 6355 Talman, 6356
                                                               California, 638 N Avers, 6437 Kenwood, 6554 Vernon, 6807 Indiana, 6949 Merrill, 701 S 5th,
                                                               7024 Paxton, 7026 Cornell, 7051 Bennett, 7109 Calumet, 7201 Dorchester, 7237 Bennett,
                                                               7255 Euclid, 7300 St Lawrence, 7301 Stewart, 7442 Calumet, 7450 Luella, 7500 Eggleston,
                                                               7508 Essex, 7546 Saginaw, 7549 Essex, 7600 Kingston, 7656 Kingston, 7701 Essex, 7748 Essex,
                                                               7749 Yates, 7760 Coles, 7834 Ellis, 7840 Yates, 7927 Essex, 7933 Kingston, 7953 Woodlawn,
                                                               7957 Marquette, 8000 Justine, 8047 Manistee, 8100 Essex, 8107 Ellis, 816 E Marquette, 8201
                                                               Kingston, 8209 Ellis, 8214 Ingleside, 8326 Ellis, 8405 Marquette, 8800 Ada).




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